Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 1 of 555 PageID #: 56852




                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF DELAWARE

  SHURE INCORPORATED,                        )
                                             )
                   and                       )
  SHURE ACQUISITION                          )
  HOLDINGS, INC.,                            )
                                             )
                   Plaintiffs,               )   C.A. No.: 19-1343-RGA-CJB
                                             )
        v.                                   )
                                             )
                                                 PUBLIC VERSION FILED:
  CLEARONE, INC.                             )   NOVEMBER 19, 2021
                                             )
                   Defendant.                )



                     PARTIES’ JOINT PROPOSED FINAL PRETRIAL ORDER




 ME1 37849439v.1
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 2 of 555 PageID #: 56853




                                                  TABLE OF CONTENTS

I.      NATURE OF THE ACTION AND THE PLEADINGS ........................................................ 2

        A.        Pleadings ..................................................................................................................... 2

        B.        Claim Construction ..................................................................................................... 3

        C.        Summary Judgment and Daubert Motions ................................................................. 4

        D.        Statements Regarding the Scope of the Issues to be Tried ......................................... 6

                  1.         Shure’s Statement ........................................................................................... 6

                  2.         ClearOne’s Statement ..................................................................................... 8

II.     FEDERAL JURISDICTION .................................................................................................. 8

III.    JOINT STATEMENT OF ADMITTED FACTS ................................................................... 9

        A.        The Parties .................................................................................................................. 9

        B.        The Asserted Patent .................................................................................................... 9

        C.        The Accused Products................................................................................................. 9

        D.        Shure’s MXA910 and Patent Applications ............................................................... 10

IV.     STATEMENTS OF ISSUES OF FACT THAT REMAIN TO BE LITIGATED ................ 10

V.      STATEMENTS OF ISSUES OF LAW THAT REMAIN TO BE LITIGATED ................. 10

VI.     TRIAL EXHIBITS................................................................................................................ 10

        A.        Stipulations Concerning Trial Exhibits and Demonstrative Exhibits ....................... 10

        B.        Procedures for the Disclosure of Trial Exhibits and Demonstrative Exhibits .......... 16

VII.    TRIAL WITNESSES ............................................................................................................ 17

        A.        Witnesses to be Called .............................................................................................. 17

        B.        Testimony by Deposition and Procedures for the Disclosure Thereof ..................... 18

VIII.   STATEMENTS OF INTENDED PROOFS ......................................................................... 20

        A.        Shure’s Statement ..................................................................................................... 20

        B.        ClearOne’s Statement ............................................................................................... 23



ME1 37849439v.1
                                                                      ii
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 3 of 555 PageID #: 56854




IX.     AMENDMENTS TO THE PLEADINGS ............................................................................ 23

X.      CERTIFICATION OF GOOD FAITH EFFORTS AT SETTLEMENT .............................. 23

XI.     MOTIONS IN LIMINE ......................................................................................................... 23

XII.    OTHER MATTERS.............................................................................................................. 24

        A.        Jury Trial ................................................................................................................... 24

        B.        Order of Presentation of Evidence ............................................................................ 24

        C.        Length of Trial .......................................................................................................... 25

        D.        Number of Jurors ...................................................................................................... 25

        E.        Jury Procedures ......................................................................................................... 25

        F.        Handling of Confidential Information at Trial.......................................................... 26

        G.        Sequestration of Witnesses ....................................................................................... 26

        H.        Set-Up of Electronic and Computer Devices ............................................................ 27

        I.        Federal Judicial Center Introduction to the Patent System Video ............................ 27

        J.        Voir Dire, Jury Instructions, Verdict Form ............................................................... 28

        K.        Presumption of Validity ............................................................................................ 28

        L.        Issues Related to COVID-19 .................................................................................... 29

        M.        Order to Control the Course of Action ..................................................................... 29




ME1 37849439v.1
                                                                     iii
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 4 of 555 PageID #: 56855




        On October 15, 2021, at 9:00 a.m., counsel for Shure Incorporated and Shure Acquisition

Holdings, Inc. (collectively, “Shure” or “Plaintiffs”) and Defendant ClearOne, Inc. (“ClearOne” or

“Defendant”) participated in a pretrial conference before this Court pursuant to Rule 16 of the

Federal Rules of Civil Procedure and Local Rule 16.3. D.I. 73 ¶ 19. This Joint Proposed Final

Pretrial Order incorporates the Court’s guidance from the pretrial conference.

        Pursuant to the Court’s Amended Scheduling Order (D.I. 73), a jury trial will take place

beginning on November 1, 2021. The trial will address Shure’s claim that ClearOne infringes U.S.

Patent No. D865,723 (“the ’723 Patent”) and Shure’s request for damages,1 as well as ClearOne’s


1
  [ClearOne’s Position: Now that ClearOne’s counterclaims have been severed, and the Court has
struck Shure’s damages expert’s reasonable royalty opinions, see D.I. 575, the only damages issue
remaining is Shure’s request for disgorgement under 35 U.S.C. § 289. This is an equitable remedy.
See, e.g., Red Carpet Studios v. Midwest Trading Group, Inc., Case No. 12-cv-501, 2021 WL
1172218. *2-3 (S.D. Ohio Mar. 29, 2021) (court, without jury, determining article of manufacture
and disgorgement, because “a claim for damages under § 289 is one for equitable relief”); Texas
Advanced Optoelectronic Sols., Inc. v. Renesas Elecs. Am., Inc., 895 F.3d 1304, 1324 (Fed. Cir.
2018) (“The apparent fact is that for patent infringement, disgorgement of profits was not
historically available at law.”). Accordingly, it (and the article of manufacture determination
underlying it) should be decided by the judge, not the jury. Cf. Am. Calcar v. Am. Honda Motor,
651 F.3d 1318, 1333 (Fed. Cir. 2011) (“Inequitable conduct is equitable in nature, with no right to a
jury, and the trial court has the obligation to resolve the underlying facts of materiality and intent.”)
(citations omitted). ClearOne did not raise this issue previously because, until October 15, 2021,
when the Court severed ClearOne’s counterclaims, there were damages theories in the case that it
was appropriate for the experts to address before the jury. In addition, on October 15, 2021, the
Court stated its strong preference that equitable issues not be tried before the jury. 2021-10-15 Tr.
at 9:1-3 (“I have pretty much a 100-percent record of not trying equitable defenses to a jury with an
advisory verdict.”). During claim construction briefing in this matter, the parties treated the article
of manufacture issue, which underlies the disgorgement question, as an issue for the judge to
decide. See, e.g., D.I. 268 at 31-33. Shure then determined that the issue should be decided later,
but never took the position that it should not be decided by the judge. Id. at 78, n.15.] [Shure’s
Position: ClearOne waived its untimely request to have infringers’ profits under 35 U.S.C. § 289
tried separate from the jury because ClearOne failed to include any such request in the parties’
pretrial order on October 12, 2021 (D.I. 594) or in any other fashion. Not only did ClearOne fail to
raise such a position, but both sides provided proposed jury instructions on the issue of infringers’
total profits under 35 U.S.C. § 289. See D.I. 598 at 50-53. This is also consistent with the Court’s
handling of the same issue in Gavrieli Brands LLC v. Soto Massini (USA) Corp., No. 1:18-cv-
00462, D.I. 141 at 27 (D. Del. May 3, 2019) (final jury instructions for infringers’ total profits). In
addition, the related issue of defining the “article of manufacture” is a factual question for the jury,
and ClearOne does not contend that determining the “article of manufacture” is an equitable issue.

ME1 37849439v.1
                                                   1
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 5 of 555 PageID #: 56856




defenses of noninfringement and invalidity. ClearOne’s counterclaims have been severed for a

separate trial.

        The following matters as to the conduct of the trial have been stipulated by the parties and

are hereby ordered by the Court:

I.      NATURE OF THE ACTION AND THE PLEADINGS

        1.        This is an action for design patent infringement. Shure alleges that ClearOne has

infringed, and continues to infringe, the ’723 patent.

        2.        Shure alleges that the ’723 patent protects an ornamental design for an array

microphone assembly. Shure further alleges that ClearOne infringes the ’723 patent by making,

using, selling, offering to sell, and importing microphone products including the BMA CT, BMA

CTH, COLLABORATE Versa Pro CT, COLLABORATE Versa Lite CT, COLLABORATE Versa

Room CT, BMA 360, Aura Xceed BMA, and BMA CTX, including all versions and variants of the

foregoing.

        3.        ClearOne alleges that the ’723 patent is invalid and not infringed.

        A.        Pleadings

        4.        Shure filed its original complaint on July 18, 2019, asserting U.S. Patent No.

9,565,493 (“the ’493 patent”), and alleging unfair competition under the Lanham Act, false

advertising under the Lanham act, violation of the Delaware Deceptive Trade Practices Act, and

tortious interference with business relations. D.I. 1. In its amended complaint filed on September

9, 2019, Shure removed its claim of unfair competition under the Lanham Act and added a claim of

unfair competition under Delaware common law. D.I. 19. Through its second amended complaint

filed on November 19, 2019, Shure added a claim of infringement of the ’723 patent. D.I. 64.

        5.        Shure’s claim of infringement under the ’493 patent was stayed on November 1,

2019. D.I. 53. That stay remains in effect pending ClearOne’s appeal to the U.S. Court of Appeals


ME1 37849439v.1
                                                     2
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 6 of 555 PageID #: 56857




for the Federal Circuit. D.I. 391.

        6.        On September 17, 2021, Shure confirmed to the Court and ClearOne that it was

withdrawing its four non-patent claims from assertion at trial. D.I. 548. ClearOne moved for

dismissal of these claims with prejudice. D.I. 562. Shure has filed its opposition (D.I. 589) to that

motion and ClearOne filed its reply (D.I. 604).

        7.        ClearOne’s currently operative response to Shure’s second amended complaint is

ClearOne’s amended answer and counterclaims filed on July 27, 2020. D.I. 295. In ClearOne’s

pleading, it denied infringement of the ’723 patent and contended the patent is invalid, and also

asserted violation of the Delaware Deceptive Trade Practices Act, tortious interference with

business relations, and unfair competition under Delaware common law. D.I. 295. Shure filed its

answer to ClearOne’s counterclaims on August 11, 2020. D.I. 314. While ClearOne’s amended

answer and counterclaims also included a defense and counterclaim of unenforceability of the ’493

patent, D.I. 295, and Shure moved to dismiss that defense and counterclaim, D.I. 312, the Court

denied without prejudice that motion to dismiss in view of the stay of the ’493 patent, D.I. 389 &

396.

        B.        Claim Construction

        8.        On October 15, 2020, the Court issued its Report and Recommendation on claim

construction. D.I. 359. The Court construed the ’723 patent’s claimed design as follows: “The

ornamental design for an array microphone assembly, as shown in the solid lines and associated

claimed surfaces of Figures 1-6 and described in the specification of the ’723 patent. The broken

lines in Figures 1-6 of the ’723 patent form no part of the claimed design. The square shape of the

claimed design is functional.” Id. at 20. The Court also did not accept ClearOne’s arguments that

the claim was indefinite and not enabled at that stage, and instead decided that those arguments

should go to the jury. Id. at 23-25. This Report and Recommendation was adopted by the Court on


ME1 37849439v.1
                                                  3
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 7 of 555 PageID #: 56858




November 12, 2020. D.I. 375.

        C.        Summary Judgment and Daubert Motions

        9.        Shure has filed the following summary judgment and Daubert motions:

                  a. Motion for summary judgment on ClearOne’s non-patent claims and defense of

                     unclean hands (D.I. 433);

                  b. Motion for summary judgment on ClearOne’s inventorship invalidity theory

                     (D.I. 435);

                  c. Motion to exclude testimony of ClearOne’s damages expert, Julia Rowe (D.I.

                     437); and

                  d. Motion to exclude and strike testimony of ClearOne’s market expert, Paul

                     Waadevig (D.I. 439).

        10.       ClearOne has filed the following summary judgment and Daubert motions:

                  a. Motion for summary judgment of invalidity (D.I. 441);

                  b. Motion for summary judgment of noninfringement (D.I. 443);

                  c. Motion to exclude opinions of Shure’s design expert, Paul Hatch (D.I. 445);

                  d. Combined motion for summary judgment of no lost profits or disgorgement for

                     Shure’s false advertising claims and motion to exclude opinions of Shure’s

                     damages expert, Thomas Vander Veen (D.I. 447); and

                  e. Motion for partial summary judgment of no liability for certain alleged false

                     statements (D.I. 449).

        11.       Of these motions:

                  a. The Court has granted-in-part and denied-in-part Shure’s motion to exclude and

                     strike testimony of ClearOne’s market expert, Paul Waadevig. D.I. 533.

                  b. On October 7, 2021, the Court denied ClearOne’s Motion for Summary


ME1 37849439v.1
                                                    4
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 8 of 555 PageID #: 56859




                     Judgment of Invalidity (D.I. 441). D.I. 571.

                  c. On September 16, 2021, the Court denied Shure’s Motion for Summary

                     Judgment on ClearOne’s Inventorship Invalidity Theory (D.I. 435). D.I. 543.

                  d. On September 16, 2021, Magistrate Judge Burke issued a Report and

                     Recommendation (D.I. 541) recommending that Shure’s Motion for Summary

                     Judgment for Defendant’s Business Tort Counterclaims and Affirmative Defense

                     of Unclean Hands (D.I. 433) be granted as to ClearOne’s counterclaim under the

                     Delaware Deceptive Trade Practices Act, denied as to ClearOne’s counterclaims

                     of tortious interference with business relations and unfair competition, and

                     denied as to ClearOne’s unclean hands defense to Shure’s then-pending business

                     tort claims. Shure has filed an objection to that Report and Recommendation.

                     D.I. 556. ClearOne has filed a response to Shure’s objection. D.I. 566.

                  e. On September 17, 2021, Magistrate Judge Burke issued an Order (D.I. 544)

                     granting-in-part and denying-in-part ClearOne’s motion to strike certain

                     opinions of Shure’s expert, Paul Hatch (D.I. 445). ClearOne has filed an

                     objection to that Report and Recommendation. D.I. 560. Shure has filed a

                     response to ClearOne’s objection. D.I. 569.

                  f. On September 17, 2021, Magistrate Judge Burke issued a Report and

                     Recommendation (D.I. 545) recommending that ClearOne’s Motion for

                     Summary Judgment of Non-Infringement (D.I. 443) be denied. ClearOne has

                     filed an objection to that Report and Recommendation. D.I. 559. Shure has

                     filed a response to ClearOne’s objection. D.I. 568.

                  g. In light of Shure’s withdrawal of its non-patent claims, on October 8, 2021, the

                     Court dismissed as moot ClearOne’s partial motion for summary judgment of no


ME1 37849439v.1
                                                    5
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 9 of 555 PageID #: 56860




                       liability for certain alleged false statement (D.I. 449). D.I. 572.

                  h. On October 5, 2021, Magistrate Judge Burke issued a Memorandum Order (D.I.

                       570) denying Shure’s Motion to Exclude Testimony of ClearOne’s Damages

                       Expert, Julia Rowe (D.I. 437).

                  i. On October 8, 2021, Magistrate Judge Burke issued a Memorandum Order (D.I.

                       575) granting ClearOne’s Motion to Exclude Opinions of Shure’s Damages

                       Expert, Thomas Vander Veen. Shure filed objections to this decision on October

                       14, 2021 (D.I. 605).

         12.      ClearOne also filed a motion to strike the supplemental expert reports of Paul Hatch,

Ira Weinstein, and Thomas Vander Veen, as well as portions of Shure’s Opposition to ClearOne’s

Motion for Summary Judgment of Non-Infringement. D.I. 484. That motion was granted on

September 10, 2021. D.I. 539.

         D.       Statements Regarding the Scope of the Issues to Be Tried

                  1.      Shure’s Statement

         13.      Shure alleges that ClearOne infringes the ’723 patent by making, using, selling,

offering to sell, and importing microphone products including the BMA CT, BMA CTH,

COLLABORATE Versa Pro CT, COLLABORATE Versa Lite CT, COLLABORATE Versa Room

CT, BMA 360, Aura Xceed BMA, and BMA CTX, including all versions and variants of the

foregoing.

         14.      Upon a finding of infringement, Shure is entitled to recover ClearOne’s total profits

realized from selling the articles of manufacture to which the infringing design has been applied

and/or a reasonable royalty.2 Shure also seeks recovery of its attorneys’ fees in this case because of


2
    [ClearOne’s Position: On Friday, October 8, Magistrate Judge Burke issued a Memorandum


ME1 37849439v.1
                                                        6
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 10 of 555 PageID #: 56861




 the exceptional nature of the infringement and the litigation. Shure further seeks pre-judgment and

 post-judgment interest on any damages award. Shure also seeks a permanent injunction for

 ClearOne’s infringement of the ’723 patent.




 Order (D.I. 575) granting ClearOne’s motion to exclude the reasonable royalty opinions of Shure’s
 damages expert, Dr. Vander Veen. While Shure has refused to meet and confer on this issue, Shure
 did not disclose an alternate reasonable royalty theory at any point in fact or expert discovery. As
 such, Shure should not be allowed to present a new, previously undisclosed reasonable royalty
 opinion to the jury. See MLC Intell. Prop., LLC v. Micron Tech., Inc., No. 2020-1413, 2021 WL
 3778405, at *9 (Fed. Cir. Aug. 26, 2021) (“[B]ecause Rule 26(a)(1)(A)(iii) requires timely
 disclosure of damages information, the district court properly excluded the damages information
 under Rule 37.”). Further, contrary to Shure’s suggestion, it is not entitled to reasonable royalty
 damages if it cannot prove them: “[t]he statute [35 U.S.C. § 284] does not require an award of
 damages if none are proven[.]” TecSec, Inc. v. Adobe Inc., 978 F.3d 1278, 1291-92 (Fed. Cir. 2020)
 (affirming an award of zero damages despite a finding of infringement). In addition, assuming that
 Shure no longer has a reasonable royalty case, now that ClearOne’s counterclaims have been
 severed, the only damages issue remaining is Shure’s request for disgorgement under 35 U.S.C.
 § 289. This is an equitable remedy. See, e.g., Red Carpet Studios v. Midwest Trading Group, Inc.,
 Case No. 12-cv-501, 2021 WL 1172218. *2-3 (S.D. Ohio Mar. 29, 2021) (court, without jury,
 determining article of manufacture and disgorgement, because “a claim for damages under § 289 is
 one for equitable relief”); Texas Advanced Optoelectronic Sols., Inc. v. Renesas Elecs. Am., Inc.,
 895 F.3d 1304, 1324 (Fed. Cir. 2018) (“The apparent fact is that for patent infringement,
 disgorgement of profits was not historically available at law.”). Accordingly, it should be decided
 by the judge, not the jury.] [Shure’s Response: Shure has not refused to meet-and-confer. Instead,
 on October 11, 2021, the day this Pretrial Order was due to be filed, ClearOne asked that Shure
 agree to drop all references to a “reasonable royalty” in the parties’ pretrial submissions. Shure
 declined to do so and noted that “[t]here does not appear to be a need to meet and confer on this”
 specific issue. ClearOne is also wrong to state that reasonable royalty theories are out of the case.
 ClearOne’s own damages expert asserts a reasonable royalty theory. And moreover, a reasonable
 royalty is required by law as the minimum statutory compensation for patent infringement. 35
 U.S.C. § 284. The Federal Circuit has explained that even where expert testimony is not available
 on a reasonable royalty, the factfinder may still consider the available evidence to set a royalty.
 Dow Chem. Co. v. Mee Indus., 341 F.3d 1370, 1381-1382 (Fed. Cir. 2003). “A party need not
 present expert testimony on damages or, as a corollary, on every aspect of damages, such as a
 single royalty rate.” Bayer HealthCare LLC v. Baxalta Inc., 989 F.3d 964, 985 (Fed. Cir. 2021).
 ClearOne’s suggestion that “Shure did not disclose an alternate reasonable royalty theory at any
 point in fact or expert discovery” is also misleading; ClearOne never served an interrogatory
 inquiring about a reasonable royalty. In terms of the remedy of infringers’ total profits under 35
 U.S.C. § 289, Shure explained above (supra note 1) that ClearOne waived such a request and
 ClearOne is incorrect in any event in urging that infringers’ total profits be tried separate from the
 jury.]

 ME1 37849439v.1
                                                   7
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 11 of 555 PageID #: 56862




                   2.     ClearOne’s Statement

         15.       ClearOne disputes that it infringes the ’723 patent, and asserts the ’723 patent is

 invalid. Specifically, the ’723 patent is invalid under 35 U.S.C. ¶¶ 102, 103, and 112. Shure

 cannot claim priority earlier than the August 6, 2019 filing date of the ’723 patent, so it is invalid as

 anticipated by Shure’s prior sales of its MXA910 product. Even if Shure can claim an earlier filing

 date, the patent is invalid as obvious. The patent is further invalid because it fails to satisfy the

 requirements of 35 U.S.C ¶ 112, including enablement and definiteness. ClearOne further contends

 that Shure’s disgorgement request (which, as explained in footnotes 1 and 2 above, should be tried

 to the judge, not the jury) is inflated, and does not reflect appropriate disgorgement of profits for

 any alleged infringement. ClearOne contends that pursuant to D.I. 575, Shure’s request for a

 reasonable royalty is no longer at issue in this case in any way. See TecSec, Inc. v. Adobe Inc., 978

 F.3d 1278 (Fed. Cir. 2020). As a result, Shure’s request for a trebling of damages is also no longer

 at issue in this case in any way, because such trebling applies only to reasonable royalty or lost

 profits damages under 35 U.S.C. § 284, and not to disgorgement under 35 U.S.C. § 289. ClearOne

 further seeks its attorneys’ fees and expenses.

 II.     FEDERAL JURISDICTION

         16.       This is a civil action arising under the Patent Laws of the United States, 35 U.S.C.

 § 101 et seq., including §§ 271 and 281-289. The Court has subject matter jurisdiction over this

 action pursuant to 28 U.S.C. §§ 1331 and 1338(a). No party contests personal or subject matter

 jurisdiction.

         17.       Venue is proper in this judicial district under 28 U.S.C. §§ 1391(b), (c) and 1400(b).

 No party contests venue.




 ME1 37849439v.1
                                                      8
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 12 of 555 PageID #: 56863




 III.     JOINT STATEMENT OF ADMITTED FACTS

          A.       The Parties

          18.      Plaintiff Shure3 is a corporation organized under the laws of Illinois with a principal

 place of business at 5800 W. Touhy Avenue, Niles, Illinois 60714.

          19.      Defendant ClearOne is a corporation organized and existing under the laws of the

 State of Delaware, and is headquartered at 5225 Wiley Post Way, Suite 500, Salt Lake City, Utah

 84116.

          B.       The Asserted Patent

          20.      The ’723 patent is titled “Array Microphone Assembly” and was issued on

 November 5, 2019. The ’723 patent issued from U.S. App. No. 29/700,875, filed on August 6,

 2019, which claims on its face to be a continuation of U.S. App. No. 15/833,404, filed on

 December 6, 2017, which claims to be a continuation of U.S. App. No. 15/631,310, filed on June

 23, 2017, which claims to be a continuation of U.S. App. No. 15/403,765, filed on January 11,

 2017, which claims to be a continuation of U.S. App. No. 14/701,376, filed on April 30, 2015.

          21.      The ’723 patent names three inventors: Elizabeth Ahra Cho, Gregory William Lantz,

 and John Matthew Miller.

          C.       The Accused Products

          22.      The ClearOne products accused of infringing the ’723 patent include the BMA CT,

 BMA CTH, COLLABORATE Versa Pro CT, COLLABORATE Versa Lite CT, COLLABORATE

 Versa Room CT, BMA 360, Aura Xceed BMA, and BMA CTX, including all versions and variants

 of the foregoing. ClearOne has made, used, sold, offered for sale, and imported these products in

 the United States.



 3
     “Shure” includes Shure Incorporated and Plaintiff Shure Acquisition Holdings, Inc.

 ME1 37849439v.1
                                                      9
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 13 of 555 PageID #: 56864




         D.        Shure’s MXA910 and Patent Applications

         23.       The MXA910 was publicly known, in public use, offered for sale, and sold at least

 as early as February 2016.

         24.       U.S. Patent No. 9,565,493 is based on U.S. Patent Application No. 14/701,376, filed

 on April 30, 2015.

         25.       U.S. Patent Application Publication No. 2016/0323668 was published on November

 3, 2016.

 IV.     STATEMENTS OF ISSUES OF FACT THAT REMAIN TO BE LITIGATED

         26.       Shure’s Statement of Issues of Fact That Remain to Be Litigated is attached as

 Exhibit 2.

         27.       ClearOne’s Statement of Issues of Fact That Remain to Be Litigated is attached as

 Exhibit 3.

         28.       If the Court determines that any issue identified in a party’s statement of contested

 issues of fact is more properly considered an issue of law, it should be so considered.

 V.      STATEMENTS OF ISSUES OF LAW THAT REMAIN TO BE LITIGATED

         29.       Shure’s Statement of Issues of Law That Remain to Be Litigated is attached as

 Exhibit 4.

         30.       ClearOne’s Statement of Issues of Law That Remain to Be Litigated is attached as

 Exhibit 5.

         31.       If the Court determines that any issue identified in a party’s statement of contested

 issues of law is more properly considered an issue of fact, it should be so considered.

 VI.     TRIAL EXHIBITS

         A.        Stipulations Concerning Trial Exhibits and Demonstrative Exhibits

         32.       Shure’s list of exhibits it may offer at trial, including ClearOne’s objections, is


 ME1 37849439v.1
                                                      10
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 14 of 555 PageID #: 56865




 attached hereto as Exhibit 6. Shure’s trial exhibits will be identified with exhibit numbers, starting

 with X 0001. Shure’s demonstrative trial exhibits will be identified starting with D 001. Shure

 reserves the right to use any exhibit identified by ClearOne, and use exhibits not listed for

 impeachment. A party’s inclusion of an exhibit on their exhibit list in no way, however, waives

 any objection to the other party’s introduction of such exhibit.

         33.       ClearOne’s list of exhibits it may offer at trial, including Shure’s objections, is

 attached hereto as Exhibit 7. ClearOne’s trial exhibits will be identified with exhibit numbers,

 starting with X 0010. ClearOne’s demonstrative trial exhibits will be identified starting with D

 010. ClearOne reserves the right to use any exhibit identified by Shure, and use exhibits not listed

 for impeachment. A party’s inclusion of an exhibit on their exhibit list in no way, however, waives

 any objection to the other party’s introduction of such exhibit.

         34.       The parties’ respective trial exhibits shall alternate between numerical ranges as

 follows:

                      a. Shure: X 0001– X 0009

                      b. ClearOne: X 0010 – X 0019

                      c. Shure: X 0020 – X 0029

                      d. ClearOne: X 0030 – X 0039

                      e. Shure: X 0040 – X 0049

                      f. ClearOne: X 0050 – X 0059

                      g. Shure: X 0060 – X 0069

                      h. ClearOne: X 0070 – X 0079

                      i. Shure: X 0080 – X 0089

                      j. ClearOne: X 0090 – X 0099

                      k. ClearOne: X 0100 – X 0199


 ME1 37849439v.1
                                                      11
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 15 of 555 PageID #: 56866




                      l. Shure: X 0200 – X 0299

                      m. ClearOne: X 0300 – X 0399

                      n. … alternate by hundreds

                      o. ClearOne: X 1000 – X 1999

                      p. Shure: X 2000 – X 2999

                      q. ClearOne: X 3000 – X 3999

         35.       The same numbering scheme shall apply for demonstrative exhibits, except that a

 single demonstrative slide deck (e.g., D 0001) will be numbered with its page numbers coming

 after a decimal point, such that page one will be D 0001.1, page two will be D 0001.2, etc.

         36.       The parties have agreed to a procedure with respect to demonstrative exhibits that

 does not require demonstrative exhibits to be included on the trial exhibit lists. Those procedures

 for the exchange of demonstrative exhibits are addressed separately herein. For purposes of this

 Pretrial Order, the following “demonstrative exhibits” are not subject to the exchange provisions set

 forth herein: (1) exhibits created in the courtroom during testimony or opening at trial or (2) the

 enlargement, highlighting, ballooning, excerption, or other emphasis of a trial exhibit (or parts of a

 trial exhibit) or a transcript of testimony, as long as the party has identified its intent to use the trial

 exhibit and/or deposition testimony according to the provisions of this Order, and such ballooning,

 excerption, highlighting, etc., accurately reflects the content of the exhibit.

         37.       The exhibit lists attached as Exhibit 6 and Exhibit 7 include citations to the Federal

 Rules of Evidence to note any objections lodged by the parties. In addition, any exhibits implicated

 by the parties’ motions in limine are deemed objected to. Exhibits not objected to may be

 introduced into evidence by the identifying party through any witness competent to testify

 regarding the exhibit, without the need for additional foundation testimony, provided, however, that

 an expert may not introduce any exhibit that was not relied upon in any of that expert’s respective


 ME1 37849439v.1
                                                      12
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 16 of 555 PageID #: 56867




 report(s) submitted pursuant to Fed. R. Civ. P. 26(a)(2)(B) with the exception of different versions

 of an exhibit (e.g., more legible copies of the same document).

         38.       Any description of a document, or any date associated with a document, on an

 exhibit list is provided for convenience only and shall not be used as an admission or otherwise as

 evidence regarding that document or any other listed document. Similarly, failing to list a date is

 neither evidence nor an admission of whether the document is dated.

         39.       This pretrial order contains the maximum universe of exhibits to be used at trial, as

 well as all objections to the admission of such exhibits, neither of which shall be supplemented

 without approval of all parties or leave of the Court, on good cause shown. Exhibits not listed on

 any party’s exhibit list will not be admitted into evidence absent good cause shown or by agreement

 of the parties. However, any documents, deposition transcripts, or portion thereof, or other items,

 not specifically identified in any of the exhibit lists or offered into evidence, may still be used at

 trial for purposes of impeachment, or rehabilitation, if otherwise competent for such purposes, and

 may be admitted into evidence to the extent consistent with the requirements of the Federal Rules

 of Evidence.

         40.       Each party may use an exhibit that is listed on the other party’s exhibit list, to the

 same effect as though it were listed on its own exhibit list, subject to evidentiary objections, and if

 such evidentiary objections are overruled, any such exhibit may be admitted into evidence. Any

 exhibit, once admitted, may be used equally by each party. The listing of an exhibit by a party on

 its exhibit list does not waive any evidentiary or other objections to that exhibit by the listing party

 should the opposing party attempt to offer it into evidence.

         41.       The parties agree that any exhibit identified in the lists attached hereto and otherwise

 unobjected to may be used and published to the jury in opening statements by the identifying party

 if the exhibit will be the subject of testimony and introduced by a witness at trial.


 ME1 37849439v.1
                                                      13
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 17 of 555 PageID #: 56868




         42.       Each party may use a subset or excerpt of an exhibit as a standalone exhibit, subject

 to evidentiary objections. Such subset exhibit shall be marked with the entire exhibit’s number

 followed by a letter, for example, X 0001-A.

         43.       The parties will meet and confer regarding replacing any poor print or digital quality

 copies of exhibits with substantively identical improved or higher quality or color copies.

         44.       Legible copies of exhibits may be offered into evidence in lieu of originals, subject

 to all foundational requirements and other objections that might be made to the admissibility of

 originals, and subject to the right of the party against whom it is offered to inspect an original upon

 request reasonably in advance of any proposed use of the copy. Electronic versions of document

 exhibits in their native format, such as spreadsheets or presentations, may be offered into evidence

 in lieu of paper or PDF versions. The parties will exchange replacement versions and/or native

 versions of exhibits prior to use in trial.

         45.       Legible copies of United States patents and patent applications, including the ’723

 patent, and their file histories, may be offered into evidence in lieu of certified copies thereof.

 Further, nothing precludes a party from offering into evidence an original document where the

 party previously produced a PDF or other electronic copy of the document, provided that party

 provides the copy it intends to introduce into evidence to the other party.

         46.       The parties agree that documents created by a party or third party and thereafter

 produced by that party or third party during the discovery phase of this litigation and identified in

 Exhibit 6 and Exhibit 7 to this Order are presumed prima facie genuine and authentic. Nothing,

 however, shall prohibit a party from offering evidence to rebut the presumption, at which point the

 party presenting the exhibit into evidence must establish its authenticity.

         47.       The parties will meet and confer in a further effort to refine and shorten their exhibit

 lists and to resolve objections without the Court’s intervention. On or before the first day of trial,


 ME1 37849439v.1
                                                      14
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 18 of 555 PageID #: 56869




 each party will deliver to the Courtroom Deputy a completed AO Form 187 exhibit list

 corresponding to their respective final exhibit lists.

         48.       Each party shall be permitted, in the morning before a trial day begins, to make an

 omnibus motion for submission into evidence of exhibits used during the prior trial day. The

 parties anticipate resolving objections to exhibits before witnesses take the stand, as described in

 Section B, below.

         49.       Demonstratives are to be used for illustrative purposes only and will not be entered

 into evidence. Following the conclusion of trial, demonstratives shown to the jury may be lodged

 with the Court. The parties do not waive any objection to the admissibility of evidence cited or

 referenced in any demonstrative exhibit.

         50.       For purposes of disclosure to the other party, a party shall provide either (1) a color

 PDF or PowerPoint copy of the demonstrative exhibit it is intending to use; or (2) for videos or

 animations, a digital interactive format, including, as applicable, flash format, PPT format, MPEG

 or other video format, of demonstrative video or animation it is intending to use. Further, to the

 extent necessary, the parties will confer to the extent they are unable to provide a demonstrative in

 the specified format. For irregularly sized physical demonstrative exhibits, the party seeking to use

 it shall provide a color representation in 8.5” x 11” PDF format.

         51.       For each demonstrative exhibit that is based in whole or in part on an admissible

 trial exhibit, the party intending to use the demonstrative exhibit will disclose, either on the face of

 the demonstrative exhibit or in an accompanying writing provided at the time the demonstrative

 exhibit is disclosed to the opposing party, all trial exhibits that form the basis of the demonstrative

 exhibit.

         52.       The provisions regarding the exchange of demonstrative exhibits do not apply to

 demonstrative exhibits created during testimony, demonstrative exhibits to be used for cross


 ME1 37849439v.1
                                                      15
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 19 of 555 PageID #: 56870




 examination, or demonstrative exhibits to be used in closing statements, none of which need to be

 provided to the other side in advance of their use. The parties further agree that notice of a party’s

 intended use of enlargements of trial exhibits and/or deposition testimony and of ballooning,

 excerption, highlighting, jumping-to-a-page, or other emphasis of the particular trial exhibit and/or

 deposition testimony, need not be provided to the other side in advance of their use, subject to the

 parties’ evidentiary objections and compliance with the provisions of this Pretrial Order governing

 the use of trial exhibits and/or deposition testimony.

         53.       During trial, a party providing an exhibit to a witness shall contemporaneously

 provide a copy to the court reporter.

         B.        Procedures for the Disclosure of Trial Exhibits and Demonstrative Exhibits

         54.       A party shall provide, together with its identification of a witness to be called (as

 provided in Section VII below) a list of trial exhibits to be used in connection with a direct

 examination of that witness, including any opposing party the party intends to call adversely, by

 7:00 p.m. ET two calendar days before their intended use. Any objections by the opposing party

 will be provided no later than 7:00 p.m. ET the following day. The parties shall meet and confer

 within three hours of the exchange of objections to resolve any objections. If the parties cannot

 resolve all objections, the parties will present the outstanding issue or issues to the Court at 9:00

 a.m. ET on the trial day when the relevant witnesses or exhibits are intended to be presented.

         55.       For non-documentary demonstratives, such as physical exhibits, that the parties plan

 to use at trial during direct examination, but not for cross examination: the parties will identify and

 make available such non-documentary demonstratives/physical exhibits at 7:00 p.m. ET two

 calendar days before anticipated use. The following day, the offering party will make the non-

 documentary demonstrative/physical exhibit available for inspection. The parties will exchange

 any objections the following day by 7:00 p.m. ET, one calendar day before anticipated use, and


 ME1 37849439v.1
                                                      16
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 20 of 555 PageID #: 56871




 meet and confer by 10:00 p.m. ET. If the parties cannot resolve all objections, the parties will

 present the outstanding issue or issues to the Court at 9:00 a.m. ET on the trial day when the

 relevant witnesses or exhibits are intended to be presented.

         56.       A party shall provide demonstrative exhibits to be used in connection with a direct

 examination by 7:00 p.m. ET one calendar day before their intended use. Objections to any such

 demonstrative exhibits shall be made by 9:00 p.m. ET that same day. The parties will meet and

 confer on any objections by 10:00 p.m. ET that same day. If the parties cannot resolve all

 objections, the parties will present the outstanding issue or issues to the Court at 9:00 a.m. ET on

 the trial day when the relevant witnesses or exhibits are intended to be presented.

         57.       With respect to opening statements, the parties shall identify any trial exhibits and

 demonstrative exhibits they intend to use by 5:00 p.m. ET one calendar day before opening

 statements. Objections to any such trial exhibits shall be made by 7:00 p.m. ET that same day. The

 parties will meet and confer on any objections by 8:00 p.m. ET that same day. If the parties cannot

 resolve any objections, the parties will present the outstanding issue or issues to the Court at 9:00

 a.m. ET on the first day of trial.

 VII.    TRIAL WITNESSES

         A.        Witnesses to Be Called

         58.       Shure may call the witnesses identified in Exhibit 8 to testify, either in person or by

 deposition, at trial in its case-in-chief or in its rebuttal case.

         59.       ClearOne may call the witnesses identified in Exhibit 9 to testify, either in person or

 by deposition, at trial in its case-in-chief or in its rebuttal case.

         60.       Any witness not listed on a party’s witness list is precluded from testifying, absent

 good cause shown, except that each party reserves the right to call rebuttal witnesses as may be

 necessary, on reasonable notice to the opposing party. No party shall be required to present


 ME1 37849439v.1
                                                       17
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 21 of 555 PageID #: 56872




 testimony from any witness on its list of witnesses.

         61.       Should a party call a witness on the other party’s witness list as part of their case in

 chief, the other party is limited to the scope of the direct examination in cross examination. To the

 extent cross examination is limited to the scope of direct examination, the parties agree that any

 such witness will be fully available to be called during that other party’s next presentation of

 evidence.

         62.       The parties shall each provide a final list of those witnesses they will call in-person

 in their respective case-in-chief by 7:00 p.m. ET seven calendar days before the beginning of trial,

 including any opposing party witnesses they intend to call adversely as part of their case in chief.

 The parties shall each provide a final list of those witnesses they will call in-person in their rebuttal

 case by 7:00 p.m. ET five calendar days before the beginning of trial. Should a party no longer

 wish to call a witness and instead wish to just present deposition testimony from them, the party

 shall notify the other party by 7:00 p.m. ET two (2) calendar days before they are to be called.

 Further, a party shall identify the specific witnesses it intends to call to testify, excluding opposing

 party witness they intend to call adversely, on each trial day by 7:00 p.m. ET two (2) calendar days

 before they are to be called.

         B.        Testimony by Deposition and Procedures for the Disclosure Thereof

         63.       With respect to witnesses who will be called to testify by deposition, the parties

 have designated specific page and line numbers of deposition testimony that they intend to read or

 play back at trial. New material may not be added without good cause.

         64.       Shure’s preliminary list of designations and ClearOne’s objections and counter

 designations are attached hereto as Exhibit 10.

         65.       ClearOne’s preliminary list of designations and Shure’s objections and counter

 designations are attached hereto as Exhibit 11.


 ME1 37849439v.1
                                                      18
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 22 of 555 PageID #: 56873




         66.       A party intending to offer a witness by deposition shall provide the other party with

 a list of final deposition designations (from the previously designated testimony, and including

 counter-designations) it intends to introduce by 7:00 p.m. ET two calendar days before the

 deposition testimony is expected to be read or played in Court. The parties will meet and confer on

 any objections by 10:00 p.m. ET that same day.

         67.       Disputed designations shall be submitted to the Court by the party offering the

 testimony by 9:00 a.m. ET on the day before such deposition testimony is expected to be read or

 played in Court, except disputed designations expected to be read or played in Court on the first

 day of trial shall be submitted that day. The submissions of disputed designations to the Court shall

 include highlighted copies of the disputed materials and an itemized list of the remaining

 objections.

         68.       All of the parties’ designations, counter-designations, and rebuttal designations will

 be read or played in chronological order. The party offering the deposition testimony will provide

 a final video to be played, if applicable, by 10:00 p.m. the night before it is expected to be played in

 Court. Regardless of whether deposition testimony is read or played by video, the time available

 for each party’s trial presentation shall be reduced by the length of its own designations, counter-

 designations, and rebuttal designations.

         69.       The parties will meet and confer to remove irrelevant and redundant material such as

 objections and colloquy between counsel when the deposition is read or viewed at trial to the extent

 feasible.

         70.       Any party may use as a counter designation or rebuttal designation deposition

 testimony that was previously designated by another party (subject to any objection of the

 designating party), to the same effect as if it had initially designated the testimony as its own.

         71.       Subject to the above provisions, the parties may offer some or all of the deposition


 ME1 37849439v.1
                                                     19
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 23 of 555 PageID #: 56874




 testimony set forth in the attachments hereto at trial. A party’s decision not to introduce some or all

 of the deposition testimony of a witness designated herein shall not be commented upon at trial.

         72.       Prior to playing any deposition testimony, the party offering the testimony shall

 provide the court reporter with an excerpt of the relevant transcript with the relevant designations

 highlighted.

         73.       Any deposition testimony may be used at trial for the purpose of impeachment,

 regardless of whether a party identified that testimony on its list of deposition designations, if the

 testimony is otherwise competent for such purpose.

         74.       In order to reduce the number of duplicative exhibits, where a deposition excerpt

 refers to a document by exhibit number and that identical document was also marked as a different

 exhibit number, a party may substitute one exhibit for another.

 VIII. STATEMENTS OF INTENDED PROOFS

         A.        Shure’s Statement

         75.       Shure’s statement is limited to its expected proof with regard to its patent

 infringement and damages claims, and does not address the proof that it may choose to present in

 rebuttal to the defenses that ClearOne may present in its case-in-chief or rebuttal case at trial.

 Shure’s statement is based upon the current status of the case and the Court’s current rulings.

 Shure reserves the right to revise this statement in light of any further decisions or orders of the

 Court or any new issues raised by ClearOne.

         76.       Shure intends to establish through its presentation of evidence that ClearOne’s

 making, using, selling, and/or offering for sale of the accused products infringes under 35 U.S.C.

 § 271(a) the ’723 patent.

         77.       Shure intends to establish through its presentation of evidence that it is entitled to




 ME1 37849439v.1
                                                      20
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 24 of 555 PageID #: 56875




 ClearOne’s profits and a reasonable royalty4 due to ClearOne’s infringement of the ’723 patent.

         78.       In the event of a finding of infringement, Shure intends to seek an equitable

 accounting of any recoverable damages not captured by the verdict, including, but not limited to (1)



 4
   [ClearOne’s Position: On Friday, October 8, Magistrate Judge Burke issued a Memorandum
 Order (D.I. 575) granting ClearOne’s motion to exclude the reasonable royalty opinions of Shure’s
 damages expert, Dr. Vander Veen. While Shure has refused to meet and confer on this issue, Shure
 did not disclose an alternate reasonable royalty theory at any point in fact or expert discovery. As
 such, Shure should not be allowed to present a new, previously undisclosed reasonable royalty
 opinion to the jury. See MLC Intell. Prop., LLC v. Micron Tech., Inc., No. 2020-1413, 2021 WL
 3778405, at *9 (Fed. Cir. Aug. 26, 2021) (“[B]ecause Rule 26(a)(1)(A)(iii) requires timely
 disclosure of damages information, the district court properly excluded the damages information
 under Rule 37.”). Further, contrary to Shure’s suggestion, it is not entitled to reasonable royalty
 damages if it cannot prove them: “[t]he statute [35 U.S.C. § 284] does not require an award of
 damages if none are proven[.]” TecSec, Inc. v. Adobe Inc., 978 F.3d 1278, 1291-92 (Fed. Cir. 2020)
 (affirming an award of zero damages despite a finding of infringement). In addition, assuming that
 Shure no longer has a reasonable royalty case, now that ClearOne’s counterclaims have been
 severed, the only damages issue remaining is Shure’s request for disgorgement under 35 U.S.C.
 § 289. This is an equitable remedy. See, e.g., Red Carpet Studios v. Midwest Trading Group, Inc.,
 Case No. 12-cv-501, 2021 WL 1172218. *2-3 (S.D. Ohio Mar. 29, 2021) (court, without jury,
 determining article of manufacture and disgorgement, because “a claim for damages under § 289 is
 one for equitable relief”); Texas Advanced Optoelectronic Sols., Inc. v. Renesas Elecs. Am., Inc.,
 895 F.3d 1304, 1324 (Fed. Cir. 2018) (“The apparent fact is that for patent infringement,
 disgorgement of profits was not historically available at law.”). Accordingly, it should be decided
 by the judge, not the jury.] [Shure’s Response: As discussed above, supra note 3, Shure has not
 refused to meet-and-confer. Instead, on October 11, 2021, the day this Pretrial Order was due to be
 filed, ClearOne asked that Shure agree to drop all references to a “reasonable royalty” in the
 parties’ pretrial submissions. Shure declined to do so and noted that “[t]here does not appear to be
 a need to meet and confer on this” specific issue. ClearOne is also wrong to state that reasonable
 royalty theories are out of the case. ClearOne’s own damages expert asserts a reasonable royalty
 theory. And moreover, a reasonable royalty is required by law as the minimum statutory
 compensation for patent infringement. 35 U.S.C. § 284. The Federal Circuit has explained that
 even where expert testimony is not available on a reasonable royalty, the factfinder may still
 consider the available evidence to set a royalty. Dow Chem. Co. v. Mee Indus., 341 F.3d 1370,
 1381-1382 (Fed. Cir. 2003). “A party need not present expert testimony on damages or, as a
 corollary, on every aspect of damages, such as a single royalty rate.” Bayer HealthCare LLC v.
 Baxalta Inc., 989 F.3d 964, 985 (Fed. Cir. 2021). ClearOne’s suggestion that “Shure did not
 disclose an alternate reasonable royalty theory at any point in fact or expert discovery” is also
 misleading; ClearOne never served an interrogatory inquiring about a reasonable royalty. In terms
 of the remedy of infringers’ total profits under 35 U.S.C. § 289, Shure explained above (supra note
 1) that ClearOne waived such a request and ClearOne is incorrect in any event in urging that
 infringers’ profits be tried separate from the jury.]


 ME1 37849439v.1
                                                     21
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 25 of 555 PageID #: 56876




 any damages for infringement between the period last addressed by the damages experts and the

 date of the verdict and (2) any damages for infringement between the date of the verdict and the

 date of entry of judgment, and/or ClearOne’s cessation of infringement and (3) any damages for the

 accused products not specifically covered by the jury’s verdict.5

         79.       In the event of a finding of infringement and award of damages, Shure intends to

 seek any and all recoverable pre-judgment and post-judgment interest.

         80.       In the event of a finding of infringement, Shure intends to seek an award of an on-

 going royalty6 and attorneys’ fees and costs in this action, including on the basis that this case is an

 exceptional case under 35 U.S.C. § 285. Shure will also seek a permanent injunction against


 5
   ClearOne objects to the language in point (3) in this sentence. ClearOne believes that Shure has
 added this language in an attempt to recapture damages theories that the Court struck from the case
 in striking: (1) the reasonable royalty opinion of Shure’s damages expert; and (2) some of the
 disgorgement opinion of Shure’s damages expert. D.I. 575. ClearOne disagrees that Shure should
 be able to seek from the court damages, such as these, for which Shure failed to present admissible
 expert testimony. See, e.g., TecSec, Inc. v. Adobe Inc., 978 F.3d 1278, 1291-92 (Fed. Cir. 2020)
 (affirming an award of zero damages despite a finding of infringement because “[t]he statute [35
 U.S.C. § 284] does not require an award of damages if none are proven[.]”)
 6
   [ClearOne’s Position: On Friday, October 8, Magistrate Judge Burke issued a Memorandum
 Order (D.I. 575) granting ClearOne’s motion to exclude the reasonable royalty opinions of Shure’s
 damages expert, Dr. Vander Veen. While Shure has refused to meet and confer on this issue, Shure
 has not disclosed an alternate reasonable royalty theory at any point in fact or expert discovery. See
 fn 8, supra. As such, Shure should not be able to present any “on-going” royalty theory after trial.]
 [Shure’s Response: As discussed above, Shure has not refused to meet-and-confer. Instead, on
 October 11, 2021, the day this Pretrial Order was due to be filed, ClearOne asked that Shure agree
 to drop all references to a “reasonable royalty” in the parties’ pretrial submissions. Shure declined
 to do so and noted that “[t]here does not appear to be a need to meet and confer on this” specific
 issue. ClearOne is also wrong to state that reasonable royalty theories are out of the case.
 ClearOne’s own damages expert asserts a reasonable royalty theory. And moreover, a reasonable
 royalty is required by law as the minimum statutory compensation for patent infringement. 35
 U.S.C. § 284. The Federal Circuit has explained that even where expert testimony is not available
 on a reasonable royalty, the factfinder may still consider the available evidence to set a royalty.
 Dow Chem. Co. v. Mee Indus., 341 F.3d 1370, 1381-1382 (Fed. Cir. 2003). “A party need not
 present expert testimony on damages or, as a corollary, on every aspect of damages, such as a
 single royalty rate.” Bayer HealthCare LLC v. Baxalta Inc., 989 F.3d 964, 985 (Fed. Cir. 2021).
 ClearOne’s suggestion that “Shure did not disclose an alternate reasonable royalty theory at any
 point in fact or expert discovery” is also misleading; ClearOne never served an interrogatory
 inquiring about a reasonable royalty.]

 ME1 37849439v.1
                                                     22
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 26 of 555 PageID #: 56877




 ClearOne’s ongoing infringement of the ’723 patent.

          B.       ClearOne’s Statement

          81.      ClearOne’s statement is limited to its expected proof with regard to its affirmative

 defenses and does not address the proof that it may choose to present in rebuttal to the claims or

 defenses that Shure may present at trial or in its rebuttal case. ClearOne’s statement is based upon

 the current status of the case and the Court’s current rulings. ClearOne reserves the right to revise

 this statement in light of any further decisions or orders of the Court or any new issues raised by

 Shure.

          82.      ClearOne intends to establish through its presentation of evidence that Shure has not

 proven that ClearOne has infringed the ’723 patent.

          83.      ClearOne intends to establish through its presentation of evidence that the ’723

 patent is invalid.

          84.      In the event of a finding of non-infringement or invalidity, ClearOne intends to seek

 an award of attorneys’ fees and costs incurred in this action, including under 35 U.S.C. § 285.

 IX.      AMENDMENTS TO THE PLEADINGS

          85.      Other than ClearOne’s pending motion to dismiss certain of Shure’s claims with

 prejudice, described above, the parties do not propose amendments to the pleadings at this time.

 X.       CERTIFICATION OF GOOD FAITH EFFORTS AT SETTLEMENT

          86.      The parties have discussed settlement on prior occasions and respectfully submit

 that a resolution by settlement is not contemplated at this time.

 XI.      MOTIONS IN LIMINE

          87.      In accordance with the Court’s Amended Scheduling Order, the parties filed motions

 in limine. D.I. 73 ¶ 20. Copies of the parties’ motions are not attached. The Court ruled on some

 but not all of the motions in limine at the pretrial conference and thereafter on October 15, 2021.


 ME1 37849439v.1
                                                     23
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 27 of 555 PageID #: 56878




 See D.I. 606 & 607.

 XII.    OTHER MATTERS

         A.        Jury Trial

         88.       This is a jury trial.

         89.       In the morning of each trial day, before trial begins, the parties shall each provide

 the court reporter a glossary of terms and names that they anticipate being used in the presentation

 of evidence for that day.

         90.       The parties shall provide to each other, to the Court, and to the court reporter, copies

 of any witness binders used during trial.

         B.        Order of Presentation of Evidence

         91.       Unless the Court specifies otherwise, the order of presentation of evidence will

 generally follow the burden of proof, as stated below:

                   a. Opening statements (Shure first, followed by ClearOne);

                   b. Shure’s presentation of evidence for issues for which Shure bears the burden of

                       proof (Shure’s case-in-chief);

                   c. ClearOne’s presentation of evidence rebutting Shure’s presentation of evidence

                       in support of Shure’s case-in-chief (ClearOne’s rebuttal), and ClearOne’s

                       presentation of evidence for issues for which ClearOne bears the burden of proof

                       (ClearOne’s case-in-chief);

                   d. Shure’s presentation of evidence rebutting ClearOne’s presentation of evidence

                       in support of ClearOne’s case-in-chief;

                   e. Closing arguments (Shure first, followed by ClearOne, [Shure’s Position:

                       followed by Shure’s rebuttal]).

         92.       The parties reserve the right to request a different order of presentation of evidence


 ME1 37849439v.1
                                                        24
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 28 of 555 PageID #: 56879




 depending on the Court’s rulings on dispositive motions, Daubert motions, and other

 considerations.

         C.        Length of Trial

         93.       The case is currently scheduled for a three-day jury trial beginning on November 1,

 2021. Each trial day will begin at 9:30 a.m. and the jury will be excused at 5:00 p.m. The trial will

 be timed, including six hours per side for opening statements and presentation of evidence, not

 including time for closing statements.

         D.        Number of Jurors

         94.       There shall be eight jurors. The Court will conduct jury selection through the struck

 jury method.

         E.        Jury Procedures

         95.       On the first day of trial, each member of the jury will be provided a binder

 containing the ’723 patent, including single-sided printouts of high-resolution SCORE versions of

 the figures, the figure descriptions, the claim of the ’723 patent and its construction, the ’493

 patent, and several blank sheets for notes. The parties agree to meet and confer on the preparation

 of the jury binder such that agreement is reached on its content by three calendar days before trial.

         96.       The parties agree that the jurors be permitted to write notes by hand during the

 presentations of the parties and that jurors be permitted to bring these notes as well as the provided

 jury notebook into the deliberation room. The parties further propose that the jurors be instructed

 not to exchange or share their notes with each other (though they may discuss the contents of their

 notes) and that the jurors’ binders and notes be collected by the clerk each evening after daily

 recess, and collected and destroyed without review after the jury’s discharge.

         97.       Upon the end of all parties’ presentation of evidence, the parties will compile one

 (1) set of binders for the jury containing copies of all exhibits in evidence. The binders will include


 ME1 37849439v.1
                                                     25
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 29 of 555 PageID #: 56880




 a list of any physical exhibits admitted into evidence during the trial, which shall be available to the

 jury upon request. This set of binders shall be distributed to the jurors before they commence

 deliberation and shall be collected from the jurors each night before they retire from deliberation.

         F.        Handling of Confidential Information at Trial

         98.       The parties agree to follow the provisions in the Protective Order entered in this case

 (D.I. 92) regarding the confidentiality of exhibits used at trial. The Protective Order, insofar as it

 restricts the dissemination and use of “Protected Information,” including documents marked

 “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL,” shall not apply to the introduction of

 evidence at trial.

         99.       The parties’ corporate representatives may view another party’s “Protected

 Information” trial exhibits when shown in the courtroom during trial, though no employee or

 representative of a party may possess or review the “Protected Information” trial exhibits of the

 opposing party outside the courtroom.

         100.      Persons entitled to have access to “CONFIDENTIAL” or “HIGHLY

 CONFIDENTIAL” information under the Protective Order shall not be excluded from the

 courtroom and shall have the right to review any information presented by either party at trial,

 including, but not limited to, exhibits and trial transcripts.

         G.        Sequestration of Witnesses

         101.      Pursuant to Federal Rule of Evidence 615, the parties request that the Court prevent

 fact witnesses, other than witnesses who have already testified and been excused because they are

 not expected to be further called, from hearing the testimony of other witnesses. The parties further

 request that in accordance with provision (b) of Rule 615, this exclusion rule will not apply to the

 officer or employee designated by each party as its representative. The parties further request that

 expert witnesses disclosed under Federal Rule of Civil Procedure 26(a)(2)(B) not be excluded for


 ME1 37849439v.1
                                                     26
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 30 of 555 PageID #: 56881




 either fact or expert testimony.

         H.        Set-Up of Electronic and Computer Devices

         102.      The parties request that the Court grant access to the Courtroom on Friday, October

 29, 2021, the business day before trial begins, to allow them to set up electronic and computer

 devices to be used during trial. To the extent that both sides will be sharing common equipment in

 the Courtroom, each side will share the cost of that equipment.

         I.        Federal Judicial Center Introduction to the Patent System Video

         103.      The Court will play the Federal Judicial Center Introduction to the Patent System

 video (2013 version). Before playing the video, the parties propose that the Court provide the

 following additional commentary regarding design patents:

                      a. Patents are granted by the United States Patent and Trademark Office

                          (sometimes called the “Patent Office,” “PTO” or “USPTO”). A patent gives

                          the owner the right to exclude others from making, using, offering to sell, or

                          selling the claimed invention within the United States or importing it into the

                          United States.

                      b. I will now show you a video made by the Federal Judicial Center that

                          provides a description of the U.S. Patent System.

                      c. The video focuses on utility patents. As the video will note, utility patents

                          focus on “inventions,” and may be granted to anyone who invents or

                          discovers any new and useful process, machine, article of manufacture, or

                          composition of matter, or any new and useful improvement thereof.

                      d. This case focuses on a different kind of patent: a design patent.

                      a. A design patent focuses on “ornamental design” and may be granted to

                          anyone who invents a new, original, and ornamental design for an article of


 ME1 37849439v.1
                                                    27
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 31 of 555 PageID #: 56882




                          manufacture.

                      e. While the subject matter of these two types of patents differs, the patents

                          themselves and the application process at the USPTO are similar.

                      f. [Shure Proposal: A patent includes what is called a “specification.” For a

                          design patent, the specification must contain one or more drawings of the

                          design as well as a description of the drawings, and it serves as a single

                          claim. The “claim” for design patents generally refers to the drawings and

                          how they are described. While the USPTO design patent examiners review

                          the description, the examination process for design patent applications has a

                          special focus on the figures because the claim of the design patent is closely

                          related to the figures.] [ClearOne Proposal: Generally speaking, a design

                          patent has more figures than a utility patent and a shorter “specification,”

                          typically limited to a few paragraphs of figure descriptions. Also, a design

                          patent is limited to a single patent claim and a design patent claim is required

                          to incorporate the figures of the patent].

         J.        Voir Dire, Jury Instructions, Verdict Form

         104.      In accordance with the Court’s Amended Scheduling Order and guidance at the

 pretrial conference, the parties have filed their (i) proposed voir dire, (ii) proposed preliminary jury

 instructions, and (iii) proposed verdict forms concurrently herewith. D.I. 73 ¶ 21. Areas of dispute

 are identified therein. Copies of these documents are not attached.

         105.      The parties will submit their proposed final jury instructions by 8:00 pm on

 November 1, 2021.

         K.        Presumption of Validity

         106.      No party shall make reference to the presumption of validity of a patent in front of


 ME1 37849439v.1
                                                     28
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 32 of 555 PageID #: 56883




 the jury, except in the context of the reasonable royalty hypothetical negotiation.

          L.       Issues Related to COVID-19

          107.     Given the evolving travel restrictions and guidelines related to the COVID-19

 pandemic, the parties will meet-and-confer in good faith to address any accommodations necessary

 to facilitate witness participation at trial, including any adjustments to whether certain testimony

 will be presented live or via deposition transcripts.

          M.       Order to Control the Course of Action

          108.     This Order shall control the subsequent course of the action, unless modified by the

 Court.

          109.     Subject to the approval of the Court, the parties reserve the right to seek leave to

 supplement or amend this final pretrial order based on subsequent events or by agreement.



 Dated: October 19, 2021                                   Respectfully submitted,

  MCCARTER & ENGLISH, LLP                                MORRIS, NICHOLS, ARSHT & TUNNELL
                                                         LLP
  /s/ Alexandra M. Joyce
  Michael P. Kelly (#2295)                               /s/ Michael J. Flynn
  Brian R. Lemon (#4730)                                 Michael J. Flynn (#5333)
  Alexandra M. Joyce (#6423)                             1201 North Market Street
  405 N. King St., 8th Floor                             P.O. Box 1347
  Wilmington, DE 19801                                   Wilmington, DE 19899
  (302) 984-6300                                         (302) 658-9200
  mkelly@mccarter.com                                    mflynn@morrisnichols.com
  blemon@mccarter.com
  ajoyce@mccarter.com




 ME1 37849439v.1
                                                      29
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 33 of 555 PageID #: 56884




  OF COUNSEL:                            OF COUNSEL:

  Gerald F. Ivey                         Douglas J. Dixon
  Mareesa A. Frederick                   Christina V. Rayburn
  Elizabeth D. Ferrill                   Sourabh Mishra
  FINNEGAN, HENDERSON, FARABOW,          HUESTON HENNIGAN LLP
  GARRETT & DUNNER, LLP                  620 Newport Center Drive
  901 New York Avenue, N.W.              Suite 1300
  Washington, D.C. 20001-4413            Newport Beach, CA 92660
  (202) 408-4000                         (949) 226-6741
  gerald.ivey@finnegan.com
  mareesa.frederick@finnegan.com         Christine Woodin
  elizabeth.ferrill@finnegan.com         HUESTON HENNIGAN LLP
                                         523 West 6th St., Suite 400
  Elliot C. Cook                         Los Angeles, CA 90014
  J. Derek McCorquindale                 (213) 788-4340
  Alexander M. Boyer
  David N. Lefcowitz                     Attorneys For Defendant
  Luke H. MacDonald                      ClearOne, Inc.
  Joseph M. Schaffner
  FINNEGAN, HENDERSON, FARABOW,
  GARRETT & DUNNER, LLP
  1875 Explorer Street, Suite 800
  Reston, VA 20190-6023
  (571) 203-2700
  elliot.cook@finnegan.com
  derek.mccorquindale@finnegan.com
  alexander.boyer@finnegan.com
  david.lefcowitz@finnegan.com
  luke.macdonald@finnegan.com
  joseph.schaffner@finnegan.com

  Vladimir I. Arezina
  VIA Legal, LLC
  (312) 574-3050
  vladimir@arezina.com

  Attorneys For Plaintiffs
  Shure Incorporated and
  Shure Acquisition Holdings, Inc.




 ME1 37849439v.1
                                       30
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 34 of 555 PageID #: 56885




                     EXHIBIT 1
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 35 of 555 PageID #: 56886




                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

  SHURE INCORPORATED,                                )
                                                     )
                         and                         )
                                                     )
  SHURE ACQUISITION HOLDINGS, INC.,                  )
                                                     )
                         Plaintiffs,                 )
                                                     )
                    v.                               )   C.A. No. 19-1343 (RGA)(CJB)
                                                     )
  CLEARONE, INC.,                                    )   JURY TRIAL DEMANDED
                                                     )
                         Defendant.                  )

      PLAINTIFFS’ SUPPLEMENTAL INITIAL DISCLOSURES IDENTIFYING
   DEFENDANT’S ACCUSED PRODUCTS AND PLAINTIFFS’ ASSERTED PATENTS

          Plaintiffs Shure Incorporated and Shure Acquisition Holdings, Inc. (collectively,

  “Shure”), provide these initial disclosures to Defendant ClearOne, Inc. (“ClearOne”), in

  accordance with Paragraph 7(a) of the Amended Scheduling Order and Paragraph 4(a) of the

  Court’s Default Standard for Discovery, Including Discovery of Electronically Stored

  Information. These disclosures are based on information reasonably available to Shure as of this

  date. Shure reserves the right to supplement or modify these disclosures as additional

  information becomes available, as its investigation continues, or through discovery in this action.

  I.      Accused Products

          Based upon information reasonably available to Shure at this time, the accused products

  in this case include ClearOne’s BMA CT, for example as identified by Part Numbers 910-3200-

  205 and 910-3200-205-I, as well as any reasonably similar products (e.g., the COLLABORATE

  Versa Pro CT, BMA CTH, etc.) that ClearOne may introduce in the future. As alleged in

  Shure’s Second Amended Complaint, the accused products infringe through ClearOne and/or its



                                                  -1-
  ME1 32229821v.1
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 36 of 555 PageID #: 56887




  customers making, using, offering to sell, selling, and/or importing the accused products in the

  United States. Dkt. 19 ¶¶ 26-41, 71-81.

  II.     Asserted Patent

          Based on information reasonably available to Shure at this time, the asserted patents

  include U.S. Patent Nos. 9,565,493, titled “Array Microphone System and Method of

  Assembling the Same” (the “’493 patent”) and D865,723, titled “Array Microphone Assembly”

  (the “’723 patent”).

  III.    File Histories

          Shure has produced certified copies of the file histories for the ’493 patent

  (SHURE00000001 - SHURE00000494) and ’723 patent (SHURE00000495 -

  SHURE00000665).

  IV.     Damages Model

          Based on information reasonably available to Shure at this time, Shure seeks a reasonable

  royalty and compensation for its lost profits based on ClearOne’s direct and indirect

  infringement of the ’493 and ’723 patents, as well as for ClearOne’s willful infringement of both

  patents. Shure also seeks recovery based on ClearOne’s “total profit” with respect to ClearOne’s

  infringement of the ’723 patent under 35 U.S.C. § 289. In addition, Shure seeks recovery for

  convoyed sales and derivative sales tied to ClearOne’s infringement. Shure also seeks to recover

  pre-judgment and post-judgment interest based on its recoverable damages.

          With respect to Shure’s non-patent claims, and without admitting that disclosures are

  required here for such claims, Shure seeks damages as set forth in the Second Amended

  Complaint in the Prayer for Relief. This includes, without limitation, damages based on

  ClearOne’s violation of 15 U.S.C. § 1125(a)(1)(B); damages pursuant to 6 Del. C. §§ 2532, 2533



                                                   -2-
  ME1 32229821v.1
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 37 of 555 PageID #: 56888




  based on ClearOne’s violation of the Delaware Deceptive Trade Practices Act, 6 Del. C. § 2532;

  attorneys’ fees, costs, and enhanced damages under 6 Del. C. § 2533(b), (c) based on ClearOne’s

  violation of 6 Del. C. § 2532; and damages based on ClearOne’s common law torts of

  interference with business relations and unfair competition.



  Dated: December 23, 2019
                                                       McCARTER & ENGLISH, LLP

  OF COUNSEL:                                           /s/ Brian R. Lemon
                                                       Michael P. Kelly (#2295)
  Gerald F. Ivey                                       Brian R. Lemon (#4730)
  Mareesa A. Frederick                                 Alexandra M. Joyce (#6423)
  Elizabeth D. Ferrill                                 405 N. King St., 8th Floor
  FINNEGAN, HENDERSON, FARABOW,                        Wilmington, DE 19801
   GARRETT & DUNNER, LLP                               (302) 984-6300
  901 New York Avenue, N.W.                            mkelly@mccarter.com
  Washington, D.C. 20001-4413                          blemon@mccarter.com
  (202) 408-4000                                       ajoyce@mccarter.com

  Elliot C. Cook                                       Counsel for Plaintiffs
  Alexander M. Boyer
  Joseph M. Schaffner
  FINNEGAN, HENDERSON, FARABOW,
   GARRETT & DUNNER, LLP
  Two Freedom Square
  11955 Freedom Drive
  Reston, VA 20190-5675
  (571) 203-2700




                                                 -3-
  ME1 32229821v.1
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 38 of 555 PageID #: 56889




                         EXHIBIT 2
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 39 of 555 PageID #: 56890




                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

   SHURE INCORPORATED,
                                                  )
                and                               )
   SHURE ACQUISITION                              )       C.A. No.: 19-1343-RGA-CJB
   HOLDINGS, INC.,                                )
                                                  )
                Plaintiffs,                       )
                                                  )
        v.                                        )
                                                  )
  CLEARONE, INC.                                  )
                                                  )
                Defendant.                        )



                 Shure’s Statement of Issues of Fact that Remain to Be Litigated

        Plaintiffs Shure Incorporated and Shure Acquisition Holdings, Inc. (collectively, “Shure” or

 “Plaintiffs”) allege that defendant ClearOne, Inc. (“ClearOne”) infringes U.S. Patent No. D865,723

 (“the ’723 Patent”). At trial, Shure will seek damages to compensate for ClearOne’s infringement.

 Following trial, to the extent appropriate, Shure further intends to seek pre-judgment and post-

 judgment interest, an accounting for any infringement excluded from the jury verdict, ongoing

 royalties, costs pursuant to 35 U.S.C. § 284, attorneys’ fees pursuant to 35 U.S.C. § 285, and a

 permanent injunction.

        This Statement of Issues of Fact that Remain to be Litigated is based on the arguments

 Shure expects to make to establish infringement and Shure’s understanding of the arguments that

 ClearOne is likely to make in support of its defenses. This Statement of Issues of Fact that Remain

 to be Litigated is also based on the Court’s ruling at the pretrial conference on October 15, 2021,

 bifurcating ClearOne’s counterclaims into a separate trial. Shure thus does not address here issues

 relating to ClearOne’s counterclaims. Shure reserves the right to modify and/or supplement this


                                                      1
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 40 of 555 PageID #: 56891




 statement should the Court issue any subsequent rulings.

          To the extent the factual arguments ClearOne puts forth are different from or additional to

 Shure’s understanding, Shure reserves the right to modify and/or supplement this statement and

 contest those factual arguments and to present any and all rebuttal evidence in response to those

 arguments. By providing this statement, Shure does not concede that all the recited issues are

 appropriate for trial.

          This statement is not exhaustive and Shure reserves the right to prove or rebut any issues

 identified in the pleadings, discovery, or expert reports. To the extent any issue identified in

 Shure’s Statement of Issues of Law that Remain to be Litigated, set forth in Exhibit 4, is more

 appropriately considered an issue of fact, those issues are incorporated herein by reference.

 Likewise, to the extent any issue identified in this Exhibit is more appropriately considered an issue

 of law, Shure incorporates such issue by reference to Exhibit 4.

     I.        INFRINGEMENT

          1.      Whether Shure has proven by a preponderance of the evidence that ClearOne has

 infringed the sole claim of the ’723 patent under 35 U.S.C. §§ 271(a), 289 through the making, use,

 sale, offer for sale, and importation in the United States of microphone array products, including

 the BMA CT, BMA CTH, COLLABORATE Versa Pro CT, COLLABORATE Versa Lite CT,

 COLLABORATE Versa Room CT, BMA 360, Aura Xceed BMA, and BMA CTX (“BMA

 Products”).

          2.      Who the ordinary observer is for the ’723 patent, which Shure contends is a typical

 purchaser of microphone arrays, i.e., a purchaser or IT technician employed at a corporation, and/or

 an individual who duties include, among other things, the selection of fixtures or electronic devices

 for commercial spaces. The ordinary observer may encounter such devices either in a retail

 environment or online.


                                                    2
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 41 of 555 PageID #: 56892




    II.        ARTICLE OF MANUFACTURE

          3.      Whether ClearOne has proven by a preponderance of the evidence that the claimed

 design of the ’723 patent is directed to a multi-component article of manufacture, and if so, the

 identity of the component of the article of manufacture to which the claimed design has been

 applied.

   III.        DAMAGES FOR INFRINGEMENT AND OTHER RELIEF

          4.      Whether Shure’s MXA-910 products practice the sole claim of the ’723 patent.

          5.      The amount of total profits under 35 U.S.C. § 289 that Shure is owned from

 ClearOne due to ClearOne’s infringement of the ’723 patent.

          6.      The amount of reasonable royalty damages that Shure is owed from ClearOne due to

 ClearOne’s infringement of the ’723 patent.

          7.      Whether Shure has established that this is an exceptional case and that it is entitled

 to an award of attorneys’ fees and costs under 35 U.S.C. § 285, and if so, the amount.

          8.      Whether Shure is entitled to permanent injunctive relief enjoining ClearOne from

 further infringement of the ’723 patent, or alternatively, whether it is entitled to an on-going

 royalty, and if so, how much.

   IV.         VALIDITY

          9.      Whether ClearOne has proven by clear and convincing evidence that the sole claim

 of the ’723 patent is invalid under 35 U.S.C. § 102 by operation of the on-sale bar.

          10.     Whether the claim of the ’723 patent is entitled to a priority date of April 30, 2015.

          11.     Who a designer of ordinary skill is for the ’723 patent, which Shure contends is a

 designer of ordinary skill is an Industrial Designer with a degree in Industrial Design or Product

 Design, with approximately two (2) years of professional design experience, including experience

 in consumer product design, or a designer without a degree may be an ordinary designer if they


                                                     3
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 42 of 555 PageID #: 56893




 have approximately two (2) to four (4) years of experience designing electronic devices, such as

 microphone array assemblies.

        12.     Whether ClearOne has proven by clear and convincing evidence that the sole claim

 of the ’723 patent is invalid under 35 U.S.C. § 103 as obvious.

        a.      The scope and content of the prior art.

        b.      The differences between the claimed inventions and the prior art.

        c.      The level of ordinary skill in the pertinent art.

        d.      Whether a person of ordinary skill in the art would be motivated to combine

                references relied upon by ClearOne in its obviousness combination.

        e.      Whether the design of the Nailor 4330 CB product is basically the same as the

                design claimed in the ’723 patent.

        f.      Whether other prior art references are “so related” to the primary reference that

                each may be used to modify the Nailor 4330 CB design to create a design that has

                the same overall visual appearance as the design claimed in the ’723 patent.

        g.      Whether secondary considerations support a finding of non-obviousness, including

                whether they outweigh any prima facie showing of obviousness, such

                considerations including commercial success, copying, long-standing problem or

                need, prior failure of others, commercial acquiescence of competitors, skepticism,

                lack of independent development by others, prior litigation, and unexpected

                results.

        13.     Whether copying as a secondary consideration supports a finding of non-

 obviousness regarding the ’723 patent.

        14.     Whether commercial success as a secondary consideration supports a finding of

 non-obviousness regarding the ’723 patent.

                                                     4
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 43 of 555 PageID #: 56894




         15.    Whether industry praise as a secondary consideration supports a finding of non-

 obviousness regarding the ’723 patent.

         16.    Whether secondary considerations of non-obviousness outweigh any showing

 regarding the alleged obviousness of the sole claim of the ’723 patent.

         17.    Whether ClearOne has proven by clear and convincing evidence that the sole claim

 of the ’723 patent is invalid under 35 U.S.C. § 112 for lack of definiteness or enablement.

    V.     PRE-JUDGMENT INTEREST

         18.    The amount of pre-judgment interest on any damages awarded to Shure.

   VI.     POST-JUDGMENT INTEREST

         19.    The amount of any post-judgment interest on any damages awarded to Shure.

  VII.     COSTS

         20.    The amount of Shure’s recoverable costs.

 VIII.     ATTORNEYS’ FEES

         21.    The amount of Shure’s recoverable attorneys’ fees.




                                                   5
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 44 of 555 PageID #: 56895




                         EXHIBIT 3
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 45 of 555 PageID #: 56896




                          IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF DELAWARE


   SHURE INCORPORATED, and               )
   SHURE ACQUISITION HOLDINGS, INC.,     )
                                         )
                     Plaintiffs,         )
                                         )
              v.                         ) C.A. No. 19-1343 (RGA)
                                         )
   CLEARONE, INC.,                       )
                                         )
                     Defendant.          )


   DEFENDANT AND COUNTERCLAIM PLAINTIFF CLEARONE’S STATEMENT OF
              ISSUES OF FACT REMAINING TO BE LITIGATED
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 46 of 555 PageID #: 56897




         Defendant and Counterclaim Plaintiff ClearOne, Inc. (“ClearOne”) respectfully submits

  the following Statement of Facts Remaining to Be Litigated at the November 1, 2021 trial based

  on ClearOne’s current understanding of the claims asserted by Plaintiff and Counterclaim

  Defendant Shure Incorporated and Shure Acquisition Holdings, Inc. (collectively, “Shure”), and

  particularly in light of the Court’s ruling at the pretrial conference on October 15, 2021, severing

  ClearOne’s counterclaims into a separate trial.

         ClearOne reserves the right to revise, amend, supplement or modify its statement based

  upon any pretrial rulings by the Court and/or to address any additional issues, arguments, evidence

  or other developments in the case, including edits to the draft pretrial order, any meet and confers

  or other negotiations between the parties, pending and anticipated motions, and similar

  developments. ClearOne further reserves the right to supplement this statement to rebut or

  otherwise address the contested facts identified by Shure. Should the Court determine that any

  issue identified in this statement is more properly considered an issue of law, it shall be so

  considered and ClearOne incorporates it by reference into its Statement of Issues of Law

  Remaining to Be Litigated. ClearOne contends that the issues of fact (or mixed questions of fact

  and law) that remain to be litigated at trial are as follows:

  I.     INVALIDITY OF THE ’723 PATENT

         1.      Whether ClearOne has shown by clear and convincing evidence that U.S. Patent

  No. D865,723 (“the ’723 patent”) cannot claim priority to the disclose of U.S. Patent No. 9,565,493

  (“the ’493 patent”) and is invalid as anticipated by Shure’s MXA910 and/or ClearOne’s BMA

  Accused Products.

         2.      Whether ClearOne has shown by clear and convincing evidence that the design of

  the ’723 patent would have been obvious to one of ordinary skill in the art at the time of the alleged

  invention.
                                                     1
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 47 of 555 PageID #: 56898




          3.      Whether ClearOne has shown by clear and convincing evidence that the ’723 patent

  is indefinite and/or not enabled.

          4.      If ClearOne prevails on invalidity or non-infringement of the ’723 patent, whether

  ClearOne is entitled to attorneys’ fees and expenses under 35 U.S.C. § 285.

  II.     SHURE’S PATENT CLAIM1
          A.      Infringement

          5.      Whether Shure has proven by a preponderance of the evidence that ClearOne has

  infringed the ’723 patent through the making, use, sale, offer for sale, and importation in the United

  States of microphone array products, including the BMA CT, BMA CTH, COLLABORATE Versa

  Pro CT, COLLABORATE Versa Lite CT, COLLABORATE Versa Room CT, BMA 360, Aura

  Xceed BMA, and BMA CTX (“BMA Products”).

          6.      Who the ordinary observer is for the ’723 patent, which ClearOne contends is

  either: (1) a sophisticated organizational end-user purchaser of installed audio-conferencing

  equipment; or (2) a specialized intermediary in the audio-visual market, such as a distributor,

  integrator, consultant, and installer.

          B.      Damages2

          7.      Whether Shure has proven by a preponderance of the evidence that the BMA

  Products are the “article of manufacture” to which the claimed design has been applied.

          8.      What amount of total profits under 35 U.S.C. § 289 Shure has proven it is owned


  1
   ClearOne reserves the right to identify issues of fact on all issues on which Shure bears the burden
  of proof, regardless of whether those issues are raised by a Shure claim or a ClearOne affirmative
  defense, including, for example, non-infringement of the ’723 Patent. ClearOne reserves all rights
  with respect to the stayed and severed claims in the case.
  2
   ClearOne reserves the right to identify additional issues of fact related to reasonable royalty
  damages if the Court sustains Shure’s forthcoming objection on D.I. 575.


                                                    2
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 48 of 555 PageID #: 56899




  by a preponderance of the evidence from ClearOne due to ClearOne’s alleged infringement of the

  ’723 patent.

         9.      Whether Shure has established that this is an exceptional case and that it is entitled

  to an award of attorneys’ fees and costs under 35 U.S.C. § 285, and if so, the amount.

         10.     Whether Shure is entitled to permanent injunctive relief enjoining ClearOne from

  further infringement of the ’723 patent, or alternatively, whether it is entitled to an on-going

  royalty, and if so, how much.

  III.   COSTS
         11.     The amount of ClearOne’s recoverable costs.

  IV.    ATTORNEYS’ FEES
         12.     The amount of ClearOne’s recoverable attorneys’ fees.




                                                   3
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 49 of 555 PageID #: 56900




                         EXHIBIT 4
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 50 of 555 PageID #: 56901




                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

   SHURE INCORPORATED,
                                                  )
                and                               )
   SHURE ACQUISITION                              )       C.A. No.: 19-1343-RGA-CJB
   HOLDINGS, INC.,                                )
                                                  )
                Plaintiffs,                       )
                                                  )
        v.                                        )
                                                  )
  CLEARONE, INC.                                  )
                                                  )
                Defendant.                        )



                 Shure’s Statement of Issues of Law that Remain to Be Litigated

         Plaintiffs Shure Incorporated and Shure Acquisition Holdings, Inc. (collectively, “Shure”

  or “Plaintiffs”) allege that defendant ClearOne, Inc. (“ClearOne”) infringes U.S. Patent No.

  D865,723 (“the ’723 Patent”). At trial, Shure will seek damages to compensate for ClearOne’s

  infringement. Following trial, to the extent appropriate, Shure further intends to seek pre-

  judgment and post-judgment interest, an accounting for any infringement excluded from the jury

  verdict, ongoing royalties, costs pursuant to 35 U.S.C. § 284, attorneys’ fees pursuant to 35

  U.S.C. § 285, and a permanent injunction.

         This Statement of Issues of Law that Remain to be Litigated is based on the arguments

  Shure expects to make to establish infringement and Shure’s understanding of the arguments that

  ClearOne is likely to make in support of its defenses. This Statement of Issues of Law that

  Remain to be Litigated is also based on the Court’s ruling at the pretrial conference on October

  15, 2021, bifurcating ClearOne’s counterclaims into a separate trial. Shure thus does not address

  here issues relating to ClearOne’s counterclaims. Shure reserves the right to modify and/or


                                                      1
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 51 of 555 PageID #: 56902




   supplement this statement should the Court issue any subsequent rulings.

           To the extent the legal arguments ClearOne puts forth are different from or additional to

   Shure’s understanding, Shure reserves the right to modify and/or supplement this statement and

   contest those legal arguments and to present any and all rebuttal evidence in response to those

   arguments. By providing this statement, Shure does not concede that all the recited issues are

   appropriate for trial.

           This statement is not exhaustive and Shure reserves the right to prove or rebut any issues

   identified in the pleadings, discovery, or expert reports. To the extent any issue identified in

   Shure’s Statement of Issues of Fact that Remain to be Litigated, set forth in Exhibit 2, is more

   appropriately considered an issue of law, those issues are incorporated herein by reference.

   Likewise, to the extent any issue identified in this Exhibit is more appropriately considered an

   issue of fact, Shure incorporates such issue by reference to Exhibit 2.


 I.        ISSUES ON WHICH SHURE BEARS THE BURDEN OF PROOF

           A.      Design Patents Generally

           1.      In general, statutes and cases that apply to utility patents apply to design patents,

   unless there is a design-specific statute or decision. See 35 U.S.C. § 171(b) (“The provisions of

   [Title 35, Patents] relating to patents for inventions shall apply to patents for designs, except as

   otherwise provided.”); Automotive Body Parts Assoc. v. Ford Global Techs., LLC, 930 F.3d

   1314, 1322 (Fed. Cir. 2019) (“[W]e apply the same rules to design and utility patents whenever

   possible.”).


           B.      Patent Infringement

           2.      Shure will prove by a preponderance of the evidence that ClearOne directly

   infringes the claim and the figures of the ’723 patent by making, using, selling, offering for sale,

                                                      2
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 52 of 555 PageID #: 56903




  and/or importing into the United States the accused products, including ClearOne’s BMA CT,

  BMA CTH, COLLABORATE Versa Pro CT, COLLABORATE Versa Lite CT,

  COLLABORATE Versa Room CT, BMA 360, Aura Xceed BMA, and BMA CTX (“BMA

  Products”).

         3.      Design patent infringement like utility patent infringement is governed by 35

  U.S.C. § 271, but 35 U.S.C. § 289 also applies to design patent infringement and sets forth an

  additional remedy of “to the extent of [the infringer’s] total profit” for applying to an article of

  manufacture the patented design, or any colorable imitation for the purpose of sale or selling or

  exposing for sale any such article of manufacture. See 35 U.S.C. § 289.

         4.      “Design patent infringement is a question of fact, which a patentee must prove by

  a preponderance of the evidence.” Richardson v. Stanley Works, Inc., 597 F.3d 1288, 1295 (Fed.

  Cir. 2010).

         5.      The standard for assessing design patent infringement is whether, “in the eye of

  an ordinary observer, giving such attention as a purchaser usually gives, two designs are

  substantially the same, if the resemblance is such as to deceive such an observer, inducing him to

  purchase one supposing it to be the other, the first one patented is infringed by the other.”

  Gorham Co. v. White, 81 U.S. 511, 528 (1871). “[M]inor differences” should not prevent a

  finding of infringement. Id. at 517. In 2008, the Federal Circuit modified the Gorham test to

  make clear that the test is conducted “in light of the prior art” by “applying the ordinary observer

  test through the eyes of an observer familiar with the prior art.” Egyptian Goddess, Inc. v. Swisa,

  Inc., 543 F.3d 665, 677 (Fed. Cir. 2008) (en banc).

         6.      The analysis of design patent infringement is conducted in two parts. The first

  step is to consider whether the claimed design and accused products are “sufficiently distinct,”



                                                    3
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 53 of 555 PageID #: 56904




  also known as “plainly dissimilar.” Ethicon Endo-Surgery, Inc. v. Covidien, Inc., 796 F.3d 1312,

  1335 (Fed. Cir. 2015) (citing Egyptian Goddess, 543 F.3d at 678).

            7.    “[W]hen the claimed and accused designs are not plainly dissimilar, resolution of

  the question whether the ordinary observer would consider the two designs to be substantially the

  same will benefit from a comparison of the claimed and accused designs with the prior art[.]”

  Egyptian Goddess, 543 F.3d at 678. “[I]f the accused design has copied a particular feature of

  the claimed design that departs conspicuously from the prior art, the accused design is naturally

  more likely to be regarded as deceptively similar to the claimed design, and thus infringing.” Id.

  at 677.

            8.    “Differences, however, must be evaluated in the context of the claimed design as

  a whole, and not in the context of separate elements in isolation. Where . . . the claimed design

  includes several elements, the fact finder must apply the ordinary observer test by comparing

  similarities in overall designs, not similarities of ornamental features in isolation.” Ethicon, 796

  F.3d at 1335 (citing Richardson, 597 F.3d at 1295). See also Crocs, Inc. v. Int’l Trade Comm’n,

  598 F.3d 1294, 1303-04 (Fed. Cir. 2010). “The mandated overall comparison is a comparison

  taking into account significant differences between the two designs, not minor or trivial

  differences that necessarily exist between any two designs that are not exact copies of one

  another.” Int’l Seaway Trading Corp. v. Walgreens Corp., 589 F.3d 1233, 1243 (Fed. Cir.

  2009).

            9.    “[I]f the accused infringer elects to rely on the comparison [to] prior art as part of

  its defense against the claim of infringement, the burden of production of that prior art is on the

  accused infringer.” Egyptian Goddess, 543 F.3d at 678-79.

            10.   Design patent infringement is determined through the “eyes of the ordinary



                                                     4
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 54 of 555 PageID #: 56905




  observer.” Gorham, 81 U.S. at 528. The ordinary observer is a hypothetical person who is “not

  an expert in the claimed designs” but rather “one of ordinary acuteness who is a principal

  purchaser[]” of the product. Ethicon, 796 F.3d at 1337. Under Gorham, the ordinary observer is

  seeing through the “eyes of men generally” and not individuals “versed in designs in the

  particular trade in question” or “engaged in the manufacture or sale of articles containing such

  designs.” Gorham, 81 U.S. at 527-28. See also Goodyear Tire & Rubber Co. v. Hercules Tire &

  Rubber Co., Inc., 162 F.3d 1113, 1117 (Fed. Cir. 1998) (finding no error in considering “only the

  actual use of the accused infringing tread as the field of purchase by the ordinary observer” who

  is not an expert). More recently, the Federal Circuit has noted that the ordinary observer is one

  who is “aware of the great number of closely similar prior art designs” and “conversant with the

  prior art.” Egyptian Goddess, 543 F.3d at 676, 678.


         C.      Article of Manufacture

         11.     35 U.S.C. § 289 sets forth an infringer’s total profits as an additional remedy for

  design patent infringement. Section 289 states (emphasis added):

         Whoever during the term of a patent for a design, without license of the owner, (1)
         applies the patented design, or any colorable imitation thereof, to any article of
         manufacture for the purpose of sale, or (2) sells or exposes for sale any article of
         manufacture to which such design or colorable imitation has been applied shall be liable
         to the owner to the extent of his total profit, but not less than $250, recoverable in any
         United States district court having jurisdiction of the parties.

         Nothing in this section shall prevent, lessen, or impeach any other remedy which an
         owner of an infringed patent has under the provisions of this title, but he shall not twice
         recover the profit made from the infringement.


         12.     Section 289 allows a patent holder to recover the total profit an infringer makes

  from the infringement. “The ‘total profit’ for which §289 makes an infringer liable is thus all of

  the profit made from the prohibited conduct, that is, from the manufacture or sale of the ‘article


                                                   5
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 55 of 555 PageID #: 56906




  of manufacture to which [the patented] design or colorable imitation has been applied.’”

  Samsung Elecs. Co. Ltd. v. Apple, 137 S. Ct. 429, 434 (2016).

         13.     The Supreme Court found the calculation of total profits to be a two-step process.

  First, “identify the ‘article of manufacture’ to which the infringed design has been applied.” Id.

  Second, “calculate the infringer’s total profit made on that article of manufacture.” Id.

         14.     With respect to the first step, the Court started by making a distinction between

  single-component articles of manufacture and multi-component articles of manufacture. “In the

  case of a design for a single-component product, such as a dinner plate, the product is the ‘article

  of manufacture’ to which the design has been applied. In the case of a design for a

  multicomponent product, such as a kitchen oven, identifying the ‘article of manufacture’ to

  which the design has been applied is a more difficult task.” Id.

         15.     The Supreme Court held that in the case of a multicomponent product, the

  relevant “article of manufacture” for arriving at a § 289 damages award need not be the end

  product sold to the consumer but may be only a component of that product. But the Supreme

  Court declined to adopt a test for identifying whether an infringing product was a single

  component or multi-component article of manufacture.

         16.     No appellate court has further considered this test. However, the Solicitor

  General’s brief to the Supreme Court in Samsung v. Apple is instructive. “While the plaintiff

  bears the ultimate burden of establishing the infringer’s total profit, the defendant, as the

  manufacturer or seller of the product in question, should bear the burden of identifying any

  component that it views as the relevant article of manufacture.” Solicitor General’s Brief at 9,

  available at http://www.scotusblog.com/wpcontent/uploads/2016/ 06/15-777npUnitedStates.pdf

  (accessed April 17, 2020).



                                                    6
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 56 of 555 PageID #: 56907




         17.    Further in its brief, the Solicitor General set forth a four-factor test for

  determining the underlying article of manufacture:

         a.     “the scope of the design claimed in the plaintiff’s patent, including the drawing

         and written description, provides insight into which portions of the underlying product

         the design is intended to cover, and how the design relates to the product as a whole. In

         addition, the patent identifies the article of manufacture that the patentee views as the

         article to which the design is applied. MPEP § 1503.01.” Id. at 27-28.

         b.     “the factfinder should examine the relative prominence of the design within the

         product as a whole. If the design is a minor component of the product, like a latch on a

         refrigerator, or if the product has many other components unaffected by the design, that

         fact suggests that the “article” should be the component embodying the design.

         Conversely, if the design is a significant attribute of the entire product, affecting the

         appearance of the product as a whole, that fact might suggest that the “article” should be

         the product[.]” Id. at 28.

         c.     “the factfinder should consider whether the design is conceptually distinct from

         the product as a whole… If the product contains other components that embody

         conceptually distinct innovations, it may be appropriate to conclude that a component is

         the relevant article.” Id. at 29-30.

         d.     “the physical relationship between the patented design and the rest of the product

         may reveal that the design adheres only to a component of the product. If the design

         pertains to a component that a user or seller can physically separate from the product as a

         whole, that fact suggests that the design has been applied to the component alone rather

         than to the complete product.” Id. at 29.



                                                     7
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 57 of 555 PageID #: 56908




          18.     According to the Solicitor General, “[t]he task of identifying the relevant article

  of manufacture is properly assigned to the finder of fact. Context-specific judgments about the

  relationship of the design to the article as a whole—the design’s effect on the product’s

  appearance, the components’ physical separability, how the components are manufactured—are

  quintessentially factual in nature.” Id. at 29. Further, “[t]reating the identification of the relevant

  “article of manufacture” as a jury question is consistent with the jury’s role in determining

  design patent infringement, and with this Court’s longstanding recognition across a variety of

  doctrinal contexts that, when the relevant question is how an ordinary person or community

  would make an assessment, the jury is generally the decisionmaker that ought to provide the fact-

  intensive answer.” Id. at 30 (internal citations omitted).

          19.     Finally, in the Solicitor General’s view, “[t]he defendant should bear the burden

  of producing evidence that the relevant ‘article of manufacture’ in a particular case is a portion of

  an entire product as sold. The plaintiff bears the ultimate burden of establishing the amount of

  the defendant’s total profit. But once the plaintiff has shown that the defendant profited by

  exploiting a product containing the plaintiff’s patented design, the defendant should be required

  to identify, through the introduction of admissible evidence, the component that the defendant

  asserts is the article to which the design was applied. The defendant, as the manufacturer or

  seller of the accused product, has superior knowledge of the identity of the product’s

  components, as well as of some of the factors relevant to the “article” determination, including

  the physical relationship between the design and the product; the manner in which the product is

  manufactured; and the extent to which the product reflects the innovations of parties other than

  the plaintiff.” Id. at 30 (internal citations omitted).


          D.      Patent Damages


                                                      8
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 58 of 555 PageID #: 56909




         20.     “[T]he amount of a prevailing party’s damages is a finding of fact on which the

  plaintiff bears the burden of proof by a preponderance of the evidence.” Smithkline Diagnostics,

  Inc. v. Helena Labs. Corp., 926 F.2d 1161, 1164 (Fed. Cir. 1991).

         21.     Upon a finding of infringement of valid patent claims, a patentee is entitled to

  “damages adequate to compensate for the infringement, but in no event less than a reasonable

  royalty for the use made of the invention by the infringer, together with interest and costs as

  fixed by the court.” 35 U.S.C. § 284; Dow Chem. Co. v. Mee Indus., Inc., 341 F.3d 1370, 1381-

  82 (Fed. Cir. 2003). The reasonable royalty may be based on a determination of “the royalty

  upon which the parties wouldhave agreed had they successfully negotiated an agreement just

  before infringement began” the “hypothetical negotiation.” Lucent Techs., Inc. v. Gateway, Inc.,

  580 F.3d 1301, 1324 (Fed. Cir. 2009). In determining a reasonable royalty, courts apply the

  fifteen factors enunciated in Georgia-Pacific Corp. v. U.S. Plywood Corp., 318 F. Supp. 1116,

  1120 (S.D.N.Y. 1970), modified and aff’d, 446 F.2d 295 (2d Cir. 1971). See Unisplay, S.A. v.

  Am. Elec. Sign Co., 69 F.3d 512, 517 n.7 (Fed. Cir. 1995) (citing Georgia- Pacific factors).

         22.     The presence or absence of “non-infringing alternatives” is a “core economic

  question” in a hypothetical negotiation. See Aqua Shield v. Inter Pool Cover Team, 774 F.3d

  766,770 (Fed. Cir. 2014) (“In hypothetical negotiation terms, the core economic question is what

  the infringer, in a hypothetical pre-infringement negotiation under hypothetical conditions,

  would have anticipated the profit-making potential of use of the patented technology to be,

  compared tousing noninfringing alternatives.”); AstraZeneca AB v. Apotex Corp., 782 F.3d 1324,

  1334-35 (Fed. Cir. 2015) (“[I]f avoiding the patent would be difficult, expensive, and time-

  consuming, the amount the infringer would be willing to pay for a license is likely to be

  greater”).



                                                   9
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 59 of 555 PageID #: 56910




           23.    A patentee need not prove its damages with absolute certainty. See W.R. Grace &

  Co.-Conn. v. Intercat, Inc., 60 F. Supp. 2d 316, 321 (D. Del. 1999) (citing Lam, Inc. v. Johns-

  Manville Corp., 718 F.2d 1056, 1065 (Fed. Cir. 1983)). “[I]t will be enough if the evidence

  show [sic] the extent of the damages as a matter of just and reasonable inference, although the

  result be only approximate.” Story Parchment Co. v. Paterson Paper Co., 282 U.S. 555, 563

  (1931). Moreover, “[a]ny doubt about the correctness [of damages] is resolved against the

  infringer.” State Indus., Inc. v. Mor-Flo Indus., Inc., 883 F.2d 1573, 1577 (Fed. Cir. 1989); Lam,

  718 F.2d at 1064; W.R. Grace, 60 F. Supp. 2d at 321. “[F]undamental principles of justice

  require us to throw the risk of any uncertainty upon the wrongdoer instead of upon the injured

  party.” Paper Converting Mach. Co. v. Magna-GraphicsCorp., 745 F.2d 11, 22 (Fed. Cir.

  1984).

           24.    Under 35 U.S.C. § 289 and the Supreme Court’s decision in Samsung, upon a

  finding of infringement of a design patent, the defendant is liable for its total profits on the article

  of manufacture. Absent marking, total profits is calculated as the profits from the article of

  manufacture the time the patent owner gave notice of the infringement.

           25.    Profit is determined by deducting certain expenses from gross revenue. Gross

  revenue is all of the infringer’s receipts from using the design in the sale of the infringing

  products (for a single component article of manufacture) or sale of the infringing component(s)

  (for multi-component articles of manufacture). Shure has the burden of proving ClearOne’s

  gross revenue by a preponderance of the evidence. Nike, Inc. v. Wal-Mart Stores, Inc., 138 F.3d

  1437, 1447-48 (Fed. Cir. 1998); Braun, Inc. v. Dynamics Corp. of Am., 975 F.2d 815, 824 (Fed.

  Cir. 1992); Trans-World Mfg. Corp. v. A1 Nyman & Sons, Inc., 750 F.2d 1552, 1566-68 (Fed.

  Cir. 1984); Bergstrom v. Sears, Roebuck & Co., 496 F. Supp. 476, 495 (D. Minn. 1980).



                                                    10
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 60 of 555 PageID #: 56911




          26.     Expenses can include costs incurred in producing the gross revenue, such as the

  cost of the goods. Other costs may be included as deductible expenses if they are directly

  attributable to the sales of the infringing products resulting in a nexus between the infringing

  products and the expense. ClearOne has the burden of proving the deductible expenses and the

  portion of the profit attributable to factors other than use of the infringed design by a

  preponderance of the evidence. Nike, Inc. v. Wal-Mart Stores, Inc., 138 F.3d 1437, 1447-48

  (Fed. Cir. 1998).

          27.     To obtain a permanent injunction, a patent holder must show “(1) that it has

  suffered an irreparable injury; (2) that remedies available at law . . . are inadequate to

  compensate for that injury; (3) that, considering the balance of hardships between the plaintiff

  and defendant, a remedy in equity is warranted; and (4) that the public interest would not be

  disserved by a permanent injunction.” eBay Inc. v. MercExchange, L.L.C., 547 U.S. 388, 391

  (2006). The moving party “bears the burden of producing evidence sufficient to convince the

  court that [the preliminary injunction factors weigh in favor of granting an injunction.]” Bus Air,

  LLC v. Woods, No. CV 19-1435-RGA-CJB, 2019 WL 6329046, at *7 (D. Del. Nov. 26, 2019)

  (citing ECRI v. McGraw-Hill, Inc., 809 F.2d 223, 226 (3d Cir. 1987)), report and

  recommendation adopted 2019 WL 8137577 (D. Del. Dec. 17, 2019). “[T]he decision whether

  to grant or deny injunctive relief rests within the equitable discretion of the district courts, and ...

  such discretion must be exercised consistent with traditional principles of equity[.]” eBay, 547

  U.S. at 394.


          E.      Pre-Judgment Interest

          28.     Upon a finding of damages, Shure may recover its costs and pretrial interest on

  damages. Rule 54 of the Federal Rules of Civil Procedure states that “[u]nless a federal statute,


                                                     11
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 61 of 555 PageID #: 56912




  these rules, or a court order provides otherwise, costs—other than attorney’s fees—should be

  allowed to the prevailing party.” “Prejudgment interest shall ordinarily be awarded absent some

  justification for withholding such an award.” Nickson Indus., Inc. v. Rol Mfg. Co., Ltd., 847 F.2d

  795, 800 (Fed. Cir. 1988) (quoted source omitted). “[P]rejudgment interest should be awarded

  from the date of infringement to the date of judgment.” Id.


         F.      Post-Judgment Interest

         29.     Section 1961(a) of Title 28 of the United States Code states that “interest shall be

  allowed on any money judgment in a civil case recovered in a district court.” 28 U.S.C.

  § 1961(a). “Post judgment interest is awarded on monetary judgments recovered in all civil

  cases,” including ones for patent infringement. Transmatic, Inc. v. Gulton Indus., Inc., 180 F.3d

  1343, 1347 (Fed. Cir. 1999). Post-judgment interest is governed by regional circuit law. Id. at

  1348. In the Third Circuit, interest begins to accrue on the date of the entry of judgment.

  Loughman v. Consol-Pennsylvania Coal Co., 6 F.3d 88, 97 (3d Cir. 1993). Courts in this

  District routinely award post-judgment interest in patent infringement cases. See nCUBE Corp.

  v. SeaChange Int’l, Inc., 313 F. Supp. 2d 361, 392 (D. Del. 2004), aff’d, 436 F.3d 1317 (Fed. Cir.

  2006) (awarding post-judgment interest to patentee for defendant’s willful infringement);

  TruePosition Inc. v. Andrew Corp., 611 F. Supp. 2d 400, 414 (D. Del. 2009), aff’d, 389 F. App’x

  1000 (Fed. Cir. 2010) (awarding post-judgment interest for patent infringement).


         G.      Costs

         30.     Pursuant to Rule 54(d) of the Federal Rules of Civil Procedure, costs should be

  allowed to the prevailing party. Under 28 U.S.C. § 1920, the prevailing party may recover the

  following costs: (1) fees of the clerk and marshal; (2) fees for printed or electronically recorded

  transcripts necessarily obtained for use in this case; (3) fees and disbursements for printing and

                                                   12
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 62 of 555 PageID #: 56913




      witnesses; (4) fees for exemplification and the costs of making copies of any materials where the

      copies are necessarily obtained for use in the case; (5) docket fees under 28 U.S.C. § 1923; and

      (6) compensation of court appointed experts, compensation of interpreters, and salaries, fees,

      expenses, and costs of special interpretation services under 28 U.S.C. § 1828.


II.          ISSUES ON WHICH CLEARONE BEARS THE BURDEN OF PROOF
             31.  ClearOne cannot prove by clear and convincing evidence that the sole claim of

      the ’723 patent is invalid under 35 U.S.C. §§ 102, 103, 112, or 115.

             32.     Every issued patent claim is presumed valid. 35 U.S.C. § 282. The presumption

      of validity “exists at every stage of the litigation.” Canon Computer Sys., Inc. v. Nu-Kote Int’l,

      Inc., 134 F.3d 1085, 1088 (Fed. Cir. 1998). A challenger bears the burden of establishing the

      invalidity of each asserted claim. Id.; see also Microsoft Corp. v. i4i Ltd. P’ship, 564 U.S. 91, 95

      (2011). Design patents enjoy the same presumption of validity as utility patents under 35 U.S.C.

      § 282. L.A. Gear, Inc. v. Thom McAn Shoe Co., 988 F.2d 1117, 1123 (Fed. Cir. 1993).

             33.     Invalidity must be proven by clear and convincing evidence. Takeda Chem.

      Indus. v. Alphapharm Pty., Ltd., 492 F.3d 1350, 1355 (Fed. Cir. 2007); Glaxo Grp. Ltd. v.

      Apotex, Inc., 376 F.3d 1339, 1348 (Fed. Cir. 2004). Accordingly, the sole claim of a design

      patent is presumed to be valid unless the defendant proves by clear and convincing evidence that

      it is invalid. That burden remains on the defendant, as the patent challenger, at all times. Eurand,

      Inc. v. Mylan Pharms., Inc. (In re Cyclobenzaprine Hydrochloride Extended-Release Capsule

      Pat. Litig.), 676 F.3d 1063, 1077-78 (Fed. Cir. 2012).

             34.     The clear-and-convincing evidence standard is meant to convey a significant

      additional burden for the party challenging validity. Buildex, Inc. v. Kason Indus., Inc., 849 F.2d

      1461, 1463 (Fed. Cir. 1988). The Federal Circuit has likened the standard to “well-nigh



                                                       13
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 63 of 555 PageID #: 56914




  irrefragable” proof, which is “evidence that cannot be refuted or disproved; incontrovertible,

  incontestable, indisputable, irrefutable, undeniable.” Am-Pro Protective Agency, Inc. v. United

  States, 281 F.3d 1234, 1240 (Fed. Cir. 2002) (internal quotation marks omitted).

            35.   The ordinary observer test, the test used for design patent infringement, is “the

  sole test for anticipation” under 35 U.S.C. § 102. Int’l Seaway Trading Corp. v. Walgreens

  Corp., 589 F.3d 1233, 1239-40 (Fed. Cir. 2009).

            36.    Obviousness is determined as of the effective filing date of the claimed

  invention, from the viewpoint of a hypothetical person of ordinary skill in the art (“POSA”),

  which for design patents is sometimes referred to as the hypothetical designer of ordinary skill

  in the art. 35 U.S.C. § 103.

            37.    The factors relevant to determining the attributes of the POSA are the “‘(1)

  educational level of the inventor; (2) type of problems encountered in the art; (3) prior art

  solutions to those problems; (4) rapidity with which innovations are made; (5) sophistication of

  the technology; and (6) educational level of active workers in the field.’” Daiichi Sankyo Co. v.

  Apotex, Inc., 501 F.3d 1254, 1256-58 (Fed. Cir. 2007) (quoting Envt’l Designs, Ltd. v. Union

  Oil Co., 713 F.2d 693, 696 (Fed. Cir. 1983)).

            38.    A patent claim is invalid under 35 U.S.C. § 103 only “if the differences

  between the subject matter sought to be patented and the prior art are such that the subject

  matter as a whole would have been obvious at the time the invention was made to a person

  having ordinary skill in the art to which said subject matter pertains.” 35 U.S.C. § 103(a)

  (2006).

            39.   Obviousness is a question of law based on several underlying issues of fact: (1)

  the level of skill of the person of ordinary skill in the art; (2) the scope and content of the prior



                                                    14
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 64 of 555 PageID #: 56915




  art; (3) the differences between the claimed invention and the teachings of the prior art; and (4)

  objective indicia of nonobviousness. KSR Int’l Co. v. Teleflex Inc., 550 U.S. 398, 406 (2007);

  Graham v. John Deere Co., 383 U.S. 1, 17-18 (1966). A determination of obviousness requires

  consideration of all four factors, “and it is error to reach a conclusion of obviousness until all

  those factors are considered.” Apple Inc. v. Samsung Elecs. Co., 839 F.3d 1034, 1048 (Fed. Cir.

  2016) (en banc) (citing Eurand, Inc. v. Mylan Pharms., Inc. (In re Cyclobenzaprine

  Hydrochloride Extended- Release Capsule Patent Litig.), 676 F.3d 1063, 1075-76 (Fed. Cir.

  2012)). To overcome a patent’s statutory presumption of validity, a patent challenger must prove

  each of the four Graham factors by clear and convincing evidence. Beckson Marine, Inc. v.

  NFM Inc., 292 F.3d 718, 725 (Fed. Cir. 2002).

         40.     “In the design patent context, the ultimate inquiry under section 103 is whether

  the claimed design would have been obvious to a designer of ordinary skill who designs articles

  of the type involved.” Durling v. Spectrum Furniture Co., 101 F.3d 100, 103 (Fed. Cir. 1996)

  (citing In re Rosen, 673 F.2d 388, 390, 213 (C.C.P.A. 1982)). Moreover, this inquiry “focuses

  on the visual impression of the claimed design as a whole and not on selected individual

  features.” In re Borden, 90 F.3d 1570, 1574 (Fed. Cir. 1996) (citing Petersen Mfg. Co. v.

  Central Purchasing, Inc., 740 F.2d 1541, 1548-49 (Fed. Cir. 1984)) (emphasis added). In

  applying the law of § 103 to the particular facts pertinent to the claimed design, the issue of

  obviousness is reviewed from the viewpoint of a designer of ordinary skill in the art to which the

  design pertains. In re Nalbandian, 661 F.2d 1214, 1216, 211 USPQ 782, 784 (CCPA 1981).

         41.     Establishing “whether one of ordinary skill would have combined teachings of the

  prior art to create the same overall visual appearance as the claimed design” involves a multi-

  step process. Apple, Inc. v. Samsung Elec. Co., 678 F.3d 1314, 1329 (Fed. Cir. 2012) (internal



                                                    15
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 65 of 555 PageID #: 56916




  quotation marks and citation omitted).

         42.     First, there must be a primary reference which is “in existence” where “the design

  characteristics [] are basically the same as the claimed design.” Durling, 101 F.3d at 103. The

  Federal Circuit has provided some guidance for determining when the reference is not basically

  the same, such as: (1) where the reference needs a major modification to make it look like the

  claimed design, Jore Corp. v. Kouvato, Inc., 117 F. App’x. 761, 763 (Fed. Cir. 2005) (citing In

  re Harvey, 12 F.3d 1061, 1063 (Fed. Cir. 1993)), and (2) where the court must revert to a design

  concept, Durling v. Spectrum Furniture Co., 101 F.3d 100, 104 (Fed. Cir. 1996) (citing In re

  Harvey, 12 F.3d 1061, 1064 (Fed. Cir. 1993)), instead of the visual appearance as a whole to find

  the references basically the same, Titan Tire Corp. v. Case New Holland, Inc., 566 F.3d 1372,

  1383-84 (Fed. Cir. 2009) (cautioning courts from focusing on searching for a specific element, or

  point of novelty, in the primary reference).

         43.     Second, “other references may be used to modify [the primary reference] to create

  a design that has the same overall visual appearance as the claimed design.” Apple, 678 F.3d at

  1329 (alteration in original) (quoting Durling, 101 F.3d at 103). The “secondary references[,

  however,] may only be used to modify the primary reference if they are so related [to the primary

  reference] that the appearance of certain ornamental features in one would suggest the

  application of those features to the other.” Durling, 101 F.3d at 103 (alternation in original)

  (internal quotation marks and citation omitted). Additionally, the “teaching of prior art designs

  may be combined only when the designs are ‘so related that the appearance of certain

  ornamental features in one would suggest the application of those features to the other.’”

  Borden, 90 F.3d at 1575 (emphasis added).

         44.     Finally, if appropriate, the primary reference and any secondary references are



                                                   16
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 66 of 555 PageID #: 56917




  combined together into a single prior art reference for comparison with the claimed design. See

  Int’l Seaway Trading Corp. v. Walgreens Corp., 589 F.3d 1233, 1240 (Fed. Cir. 2009). “Once

  that piece of prior art has been constructed, obviousness, like anticipation, requires application of

  the ordinary observer test, not the view of one skilled in the art.” Id.

         45.     As with utility patents, obviousness is not determined as if the designer had

  hindsight knowledge of the patented design. L.A. Gear, Inc. v. Thom McAn Shoe Co., 988 F.2d

  1117 (Fed. Cir. 1993); see also Graham v. John Deere Co., 383 U.S. 1, 36 (1966) (internal

  quotation marks omitted); Procter & Gamble Co. v. Teva Pharm. USA, Inc., 566 F.3d at 997;

  Ecolochem, Inc. v. S. Cal. Edison Co., 227 F.3d 1361, 1371-72 (Fed. Cir. 2000).

         46.     For a claim to be obvious, the POSA must “have been motivated to combine the

  teachings of the prior art references to achieve the claimed invention.” Procter & Gamble Co. v.

  Teva Pharm. USA, Inc., 566 F.3d at 994 (internal quotation marks omitted); KSR Int’l Co. v.

  Teleflex Inc., 550 U.S. 398, 418-19 (2007); Innogenetics, N.V. v. Abbott Labs., 512 F.3d 1363,

  1373-74 (Fed. Cir. 2008). When the patented design is a combination of selected elements in the

  prior art, “to support a rejection of a design patent application under 35 U.S.C. § 103, the

  teachings of references must be such as to have suggested the overall appearance of the claimed

  design.” In re Cho, 813 F.2d 378, 382 (Fed.Cir.1987) (citing Rosen, 673 F.2d at 390). “Thus, if

  the combined teachings suggest only components of the claimed design but not its overall

  appearance, a rejection under section 103 is inappropriate.” Id.

         47.     “[T]o establish a prima facie case of obviousness based on a combination of

  elements in the prior art, the law requires a motivation to select the references and to combine

  them in the particular claimed manner to reach the claimed invention.” Eli Lilly & Co. v. Zenith

  Goldline Pharm., Inc., 471 F.3d 1369, 1379 (Fed. Cir. 2006). In other words, the party alleging



                                                    17
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 67 of 555 PageID #: 56918




  obviousness must prove that the POSA would have had an affirmative reason to both select

  particular features of the prior art and to modify or combine those features to achieve those

  inventions. See, e.g., Unigene Labs., Inc. v. Apotex, Inc., 655 F.3d 1352, 1361 (Fed. Cir. 2011).

  If prior art designs are to be modified in more than one respect to render a claimed design

  obvious, then those modifications must be “de minimis” in nature and unrelated to the overall

  aesthetic appearance of the design. In re Harvey, 12 F.3d 1061, 1065 (Fed. Cir. 1993) (citing In

  re Carter, 673 F.2d 1378, 1380 (C.C.P.A. 1982)).

         48.     Each prior art reference must be considered in its entirety; a party may not cherry-

  pick portions of references based on their relevance to the claim. It is improper to “‘pick and

  choose from any one reference only so much of it as will support a given position, to the

  exclusion of other parts necessary to the full appreciation of what such reference fairly suggests

  to one skilled in the art.’” Bausch & Lomb, Inc. v. Barnes-Hind/Hydrocurve, Inc., 796 F.2d 443,

  448 (Fed. Cir. 1986) (quoting In re Wesslau, 353 F.2d 238, 241 (C.C.P.A. 1965)).

         49.     To rebut an allegation of obviousness, a patentee may refute the elements of the

  prima facie case. Thus, even where the prior art discloses each of the claimed elements, a

  patentee can establish that the invention would not have been prima facie obvious by showing

  that the POSA would have been motivated or had reason not to make the invention. Star

  Scientific v. R.J. Reynolds Tobacco Co., 655 F.3d 1364, at 1375.

         50.     The patentee may also refute the prima facie case through evidence of secondary

  considerations of non-obviousness. See Transocean Offshore Deepwater Drilling, Inc. v.

  Maersk Drilling USA, Inc., 699 F.3d 1340, 1348 (Fed. Cir. 2012) (affirming jury’s decision

  finding claims non-obvious, despite it having been established as a matter of law that the prior

  art taught “every limitation of the asserted claims and provide[d] a motivation to combine their



                                                  18
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 68 of 555 PageID #: 56919




  respective teachings,” because the patentee “presented compelling objective evidence of

  nonobviousness”).

         51.     “Objective indicia of nonobviousness must be considered in every case where

  present.” Apple, 839 F.3d at 1048. A court’s reliance on objective indicia of nonobviousness

  helps “guard against slipping into use of hindsight.” Graham, 383 U.S. at 36 (internal quotation

  marks omitted). Objective indicia “must be considered before a conclusion on obviousness is

  reached and is not merely ‘icing on the cake.’” Hybritech Inc. v. Monoclonal Antibodies, Inc.,

  802 F.2d 1367, 1380 (Fed. Cir. 1986). Rather, objective indicia are “independent evidence of

  nonobviousness.” Ortho-McNeil Pharm., 520 F.3d at 1365. Id. Indeed, objective indicia “may

  often be the most probative and cogent evidence” of nonobviousness. Stratoflex, Inc. v.

  Aeroquip Corp., 713 F.2d 1530, 1538 (Fed. Cir. 1983).

         52.     For “the evidence to be given substantial weight in an obviousness decision,”

  there must be “a nexus between the merits of the claimed invention and” the objective indicia of

  nonobviousness. Muniacution, Inc. v. Thomson Corp., 532 F.3d 1318, 1327 (Fed. Cir. 2008)

  (quotation marks and citation omitted), overruled in part on other grounds by Akamai Techs., Inc.

  v. Limelight Networks, Inc., 797 F.3d 1020 (Fed. Cir. 2015). The patent challenger bears the

  burden of clearly and convincingly proving the obviousness of the claimed invention in light of

  all the evidence, including objective indicia of nonobviousness. In re Cyclobenzaprine

  Hydrochloride Extended-Release Capsule Patent Litig., 676 F.3d at 1077-79.

         53.     Relevant objective indicia of nonobviousness may arise after the filing of the

  patent, and need not be described in the specification. See Genetics Inst. LLC v. Novartis

  Vaccines & Diagnostics, Inc., 655 F.3d 1291, 1307-08 (Fed. Cir. 2011) (“[I]t would be error to

  prohibit a patent applicant or patentee from presenting relevant indicia of nonobviousness,



                                                  19
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 69 of 555 PageID #: 56920




  whether or not this evidence was available or expressly contemplated at the filing of the patent

  application.”).

        54.     The Federal Circuit has consistently held that any objective indicia of

 nonobviousness presented by a patentee can only strengthen, not weaken, a conclusion of

 nonobviousness, since such evidence is not a requirement for patentability. See Miles Labs., Inc. v.

 Shandon Inc., 997 F.2d 870, 878 (Fed. Cir. 1993) (“[The patentee] did not show objective indicia of

 non-obviousness. Such evidence, if present, would weigh in favor of non-obviousness, although

 the lack of such evidence does not weigh in favor of obviousness.”).

        55.     “Copying may indeed be another form of flattering praise for inventive features.”

 Crocs, Inc. v. Int’l Trade Comm’n, 598 F.3d 1294, 1311 (Fed. Cir. 2010). The fact that a

 competitor copied technology suggests how it is nonobvious. WBIP, LLC v. Kohler Co., 829 F.3d

 1317, 1336 (Fed. Cir. 2016). Evidence of copying relevant to secondary considerations of non-

 obviousness may be shown, for example, evidence that the competitor analyzed the strengths of the

 patented design in comparison to its own approach and opted to copy the patented design.

 Plantronics, Inc. v. Aliph, Inc., 724 F.3d 1343, 1356-57 (Fed. Cir. 2013).

        56.     “Commercial success is relevant because the law presumes an idea would

 successfully have been brought to market sooner, in response to market forces, had the idea been

 obvious to persons skilled in the art.” Merck & Co. v. Teva Pharm. USA, Inc., 395 F.3d 1364, 1376

 (Fed. Cir. 2005). Evidence of commercial success can be the most probative evidence of

 nonobviousness in the record. Truswal Sys. Corp. v. Hydro-Air Eng’g, Inc., 813 F.2d 1207, 1212

 (Fed. Cir. 1987) (citing Stratoflex, 713 F.2d at 1538).

        57.     “A prima facie case of nexus is generally made out when the patentee shows both

 that there is commercial success, and that the thing . . . that is commercially successful is the



                                                    20
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 70 of 555 PageID #: 56921




 invention disclosed in and claimed in the patent.” Demaco Corp. v. F. von Langsdorff Licensing,

 Ltd., 851 F.2d 1387,1392 (Fed. Cir. 1998). “A nexus to the design may be presumed when the

 patented product is coextensive with the claimed invention, i.e., it is the invention disclosed and

 claimed.” Campbell Soup Co. v. Gamon Plus, Inc., Nos. 20-2344 and 21-1019 (Fed. Cir. Aug. 19,

 2021) (citing Fox Factory, Inc. v. SRAM, LLC, 944 F.3d 1366, 1373 (Fed. Cir. 2019)). Once the

 patentee has established a prima facie case of nexus, “the burden of coming forward with evidence

 in rebuttal shifts to the challenger.” Id. at 1393 (holding that challenger did not rebut prima facie

 case); see also J.T. Eaton & Co. v. Atl. Paste & Glue Co., 106 F.3d 1563, 1571 (Fed. Cir. 1997)

 (“If a patentee makes the requisite showing of nexus between commercial success and the patented

 invention, the burden shifts to the challenger to prove that the commercial success is instead due to

 other factors extraneous to the patented invention, such as advertising or superior workmanship.”).

        58.     Commercial success is “usually shown by significant sales in a relevant market.”

 Galderma Labs. L.P. v. Tolmar, Inc., 737 F.3d 731, 740 (Fed. Cir. 2013); see also Symbol Techs.,

 Inc. v. Opticon, Inc., 935 F.2d 1569, 1579 (Fed. Cir. 1991).

        59.     “Evidence that the industry praised a claimed invention or a product that embodies

 the patent claims weighs against an assertion that the same claimed invention would have been

 obvious.” Apple, 839 F.3d at 1053-54. “Industry participants, especially competitors, are not likely

 to praise an obvious advance over the known art.” Id.; Power-One, Inc. v. Artesyn Techs., Inc, 599

 F.3d 1343, 1352 (Fed. Cir. 2010) (“evidence of praise in the industry that specifically related to

 features of the patented invention” supported jury’s verdict of non-obviousness).

        60.     ClearOne challenges the priority date of the ’723 patent. When the alleged infringer

 argues invalidity by challenging the patentee’s entitlement to an earlier priority date, the alleged

 infringer must first show by clear and convincing evidence that the asserted patent is

 invalid. PowerOasis, Inc. v. T-Mobile USA, Inc., 522 F.3d 1299, 1305 (Fed Cir. 2008). When a

                                                   21
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 71 of 555 PageID #: 56922




 party claims invalidity due to anticipation, the alleged infringer must present evidence that the

 claimed design is invalid based on prior art known or available before the filing date of the patent.

 See id. Once the alleged infringer has done so, the patentee must come forward with evidence that

 it is entitled to claim priority to an earlier filing date that predates the prior art. Id. at 1305-06.

         61.     An application for patent for an invention disclosed in the manner provided by

 section 112(a) . . . in an application previously filed in the United States, . . ., which names an

 inventor or joint inventor in the previously filed application shall have the same effect, as to such

 invention, as though filed on the date of the prior application, if filed before the patenting or

 abandonment of or termination of proceedings on the first application or on an application similarly

 entitled to the benefit of the filing date of the first application and if it contains or is amended to

 contain a specific reference to the earlier filed application. 35 U.S.C. § 120.

         62.     The test for sufficient written description, under 35 U.S.C. § 112, is “whether the

 disclosure of the application relied upon reasonably conveys to those skilled in the art that the

 inventor had possession of the claimed subject matter as of the filing date.” Ariad Pharms., Inc. v.

 Eli Lilly & Co., 598 F.3d 1336, 1351 (Fed. Cir. 2010). “[P]ossession” does not mean actual,

 physical possession of the claimed invention; the specification need only “describe an invention

 understandable to [the] skilled artisan and show that the inventor actually invented the invention

 claimed.” Ariad Pharms., 598 F.3d at 1351. “Written description is a question of fact, judged from

 the perspective of one of ordinary skill in the art as of the relevant filing date.” Falkner v. Inglis,

 448 F.3d 1357, 1363 (Fed. Cir. 2006). In the context of design patents, “[a]s a practical matter,

 meeting the remaining requirements of § 112 is, in the case of an ornamental design, simply a

 question of whether the earlier application contains illustrations, whatever form they may take,

 depicting the ornamental design illustrated in the later application and claimed therein by the

 prescribed formal claim.” Racing Strollers, Inc. v. TRI Indus., Inc., 878 F.2d 1418, 1420 (Fed. Cir.

                                                      22
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 72 of 555 PageID #: 56923




 1989).

          63.   Section 112 does not require the patentee to describe unrecited elements or all

 compositions comprising the claimed invention; the patent’s specification need only allow the

 POSA to recognize that the inventor possessed the claimed invention, not all potential infringing

 products. In re Application of Wakefield, 422 F.2d 897, 903 (C.C.P.A. 1970); see also Alcon

 Research Ltd. v. Barr Labs., Inc., 745 F.3d 1180, 1189 (Fed. Cir. 2014).

          64.   The definiteness requirements for a patent claim come from 35 U.S.C. § 112(b). See

 id. (“The specification shall conclude with one or more claims particularly pointing out and

 distinctly claiming the subject matter which the inventor or a joint inventor regards as the

 invention.”) (emphasis added).

          65.   A design patent claim may potentially be indefinite if it includes multiple internally

 inconsistent drawings. In re Maatita, 900 F.3d 1369, 1375 (Fed. Cir. 2018). Errors and

 inconsistencies between drawings do not necessarily mean the claim is indefinite, however, if they

 “do not preclude the overall understanding of the drawing as a whole.” See id. at 1376 (citing Ex

 Parte Asano, 201 U.S.P.Q. 315, 317 (B.P.A.I. 1978)); see also Antonious v. Spalding & Evenflo

 Cos., 217 F.3d 849, 1999 WL 777450, at *8 (Fed. Cir. 1999) (unpublished) (reversing summary

 judgment of indefiniteness when alleged inconsistencies between drawings could have been based

 on perspective and were not “sufficient to preclude a person from gaining an overall understanding

 of the total substance of the designs”); Deckers Outdoor Corp. v. Romeo & Juliette, Inc., Case No.

 2:15-cv-02812, 2016 WL 7017219, at *3-5 (C.D. Cal. Dec. 1, 2016) (holding that two patents

 covering a boot design met § 112’s definiteness requirement, despite the fact that some figures

 showed a small “v-shaped notch” on the inward-facing side of the boot and other figures arguably

 did not).

          66.   The Federal Circuit has held that it is clear that the standard for indefiniteness is

                                                   23
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 73 of 555 PageID #: 56924




 connected to the standard for infringement. Maatita, 900 F.3d at 1376. In the design patent

 context, one skilled in the art would look to the perspective of the ordinary observer since that is

 the perspective from which infringement is judged. Id. at 1377. Given that the purpose of

 indefiniteness is to give notice of what would infringe, in the design patent context, one skilled in

 the art would assess indefiniteness from the perspective of an ordinary observer. Id. Thus, a design

 patent is indefinite under § 112 if one skilled in the art, viewing the design as would an ordinary

 observer, would not understand the scope of the design with reasonable certainty based on the

 claim and visual disclosure. Id.




                                                   24
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 74 of 555 PageID #: 56925




                         EXHIBIT 5
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 75 of 555 PageID #: 56926




                          IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF DELAWARE


   SHURE INCORPORATED, and                   )
   SHURE ACQUISITION HOLDINGS, INC.,         )
                                             )
                     Plaintiffs,             )
                                             )
              v.                             ) C.A. No. 19-1343 (RGA)
                                             )
   CLEARONE, INC.,                           )
                                             )
                     Defendant.              )


   DEFENDANT AND COUNTERCLAIM PLAINTIFF CLEARONE’S STATEMENT OF
              ISSUES OF LAW REMAINING TO BE LITIGATED




                                         i
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 76 of 555 PageID #: 56927




         Defendant and Counterclaim Plaintiff ClearOne, Inc. (“ClearOne”) respectfully submits

  the following Statement of Issues of Law Remaining to Be Litigated at the November 1, 2021 trial

  based on ClearOne’s current understanding of the claims asserted by Plaintiff and Counterclaim

  Defendant Shure Incorporated and Shure Acquisition Holdings, Inc. (collectively, “Shure”), and

  particularly in light of the Court’s ruling at the pretrial conference on October 15, 2021, severing

  ClearOne’s counterclaims into a separate trial.

         To the extent ClearOne’s Statement of Issues of Fact Remaining to be Litigated contains

  issues of law, those issues are incorporated here by reference. Likewise, should the Court

  determine that any issue identified in this statement is more appropriately considered an issue of

  fact, ClearOne incorporates such issue by reference into ClearOne’s Statement of Issues of Fact

  Remaining to be Litigated. By including a fact herein, ClearOne does not assume the burden of

  proof or production with regard to that fact. ClearOne reserves the right to revise this statement

  in light of the Court’s rulings and in light of Shure’s identification of issues of law and fact to be

  litigated. To the extent Shure intends or attempts to introduce different or additional legal

  arguments to those identified below, ClearOne reserves its right to contest those legal arguments

  and to present any and all rebuttal evidence in response to those arguments without being bound

  by this summary of remaining legal issues.

  I.     INVALIDITY OF THE ’723 PATENT
         A.      Issues

         1.      Whether ClearOne has shown by clear and convincing evidence that U.S. Patent

  No. D865,723 (“the ’723 patent”) cannot claim priority to the disclose of U.S. Patent No. 9,565,493

  (“the ’493 patent”) and is invalid as anticipated by Shure’s MXA910.

         2.      Whether ClearOne has shown by clear and convincing evidence that the design of

  the ’723 patent would have been obvious to one of ordinary skill in the art at the time of the alleged
                                                    1
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 77 of 555 PageID #: 56928




  invention.

         3.       Whether ClearOne has shown by clear and convincing evidence that the ’723 patent

  is indefinite and/or not enabled.

         4.       If ClearOne prevails on invalidity or non-infringement of the ’723 patent, whether

  ClearOne is entitled to attorneys’ fees and expenses under 35 U.S.C. § 285.

         B.       Invalidity under 35 U.S.C. § 102

         5.       35 U.S.C. § 102(a) states that a person shall be entitled to a patent unless “the

  claimed invention was patented, described in a printed publication, or in public use, on sale, or

  otherwise available to the public before the effective filing date of the claimed invention.” 35

  U.S.C. § 102.

         6.       A design patent is invalid under the “on-sale bar” if, more than one year before the

  application was filed: “(1) [a] product embodying the claimed invention was the subject of a

  commercial offer for sale; and (2) the claimed invention was ready for patenting.” Fisher-Price,

  Inc. v. Safety 1st, Inc., 109 F. App’x 387, 391 (Fed. Cir. 2004).

         7.       A design patent is invalid under the “public use bar” if, more than one year before

  the application was filed, the invention was “in public use and ready for patenting.” Barry v.

  Medtronic, Inc., 914 F.3d 1310, 1320 (Fed. Cir. 2019), cert. denied, 140 S. Ct. 869 (2020).

         8.       In order for a patent to claim priority to an earlier filing date, the original application

  must have sufficient disclosure to support the claims. “[T]he test for sufficiency is whether the

  disclosure of the application relied upon reasonably conveys to those skilled in the art that the

  inventor had possession of the claimed subject matter as of the filing date.” Ariad Pharms., Inc.

  v. Eli Lilly & Co., 598 F.3d 1336, 1351 (Fed. Cir. 2010).

         9.       For a design patent to obtain the benefit of the earlier-filed disclosure, the drawings
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 78 of 555 PageID #: 56929




  of the application must specifically provide adequate written description. In re Owens, 710 F.3dd

  1362, 1366 (Fed. Cir. 2013).

         C.      Invalidity under 35 U.S.C. § 112

         10.     Under 35 U.S.C. § 112, a patent must have a clear description, enabling a person

  of skill in the art to make or use the invention.

         11.     A design patent is indefinite for purposes of § 112 “whenever its claim, read in light

  of the [drawings], fails to inform, with reasonable certainty, those skilled in the art about the scope

  of the invention.” In re Maatita, 900 F.3d 1369, 1376 (Fed. Cir. 2018).

         12.     “Given that the purpose of indefiniteness is to give notice of what would infringe,

  … in the design patent context, one skilled in the art would assess indefiniteness from the

  perspective of an ordinary observer” because that is the perspective from which infringement is

  judged. In re Maatita, 900 F.3d 1369, 1377 (Fed. Cir. 2018). “Thus, a design patent is indefinite

  … if one skilled in the art, viewing the design as would an ordinary observer, would not understand

  the scope of the design with reasonable certainty based on the claim and visual disclosure.” Id.

         13.     “A visual disclosure may be inadequate—and its associated claim indefinite—if it

  includes multiple, internally inconsistent drawings.” Maatita, 900 F.3d at 1375-76 (citing Times

  Three Clothier, LLC v. Spanx, Inc., 2014 WL 1688130 *7–9 (S.D.N.Y. Apr. 29, 2014)).

         D.      Invalidity under 35 U.S.C. § 103

         14.     Under 35 U.S.C. § 171, the Design Patent provision, a person may receive a patent

  for a “new, original and ornamental design.” 35 U.S.C. § 171.

         15.     “A patent for a claimed invention may not be obtained, notwithstanding that the

  claimed invention is not identically disclosed as set forth in section 102, if the differences between

  the claimed invention and the prior art are such that the claimed invention as a whole would have
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 79 of 555 PageID #: 56930




  been obvious before the effective filing date of the claimed invention to a person having ordinary

  skill in the art to which the claimed invention pertains.” 35 U.S.C. § 103.

         16.     “The obviousness inquiry is whether one of ordinary skill would have combined

  teachings of the prior art to create the same overall visual appearance as the claimed design.”

  Durling v. Spectrum Furniture Co., Inc., 101 F.3d 100, 103 (Fed. Cir. 1996).

         17.     For design patents, the question is “whether the claimed design would have been

  obvious to a designer of ordinary skill who designs articles of the type involved.” Titan Tire Corp.

  v. Case New Holland, Inc., 566 F.3d 1372, 1380-81 (Fed. Cir. 2009), and that the obviousness

  inquiry “focuses on the visual impression of the claimed design as a whole and not on selected

  individual features,” In re Borden, 90 F.3d 1570, 1574 (Fed. Cir. 1996.) Importantly, the

  obviousness inquiry is limited to the ornamental aspects of the claimed design. See OddzOn Prod.,

  Inc. v. Just Toys, Inc., 122 F.3d 1396 1406-07 (Fed. Cir. 1997) (“Invalidating prior art must show

  or render obvious the ornamental features of a patented design.”).

         18.     The obviousness inquiry is a two-step process. “First, the court must identify a

  single reference, a something in existence, the design characteristics of which are basically the

  same as the claimed design. The basically the same test requires consideration of the visual

  impression created by the patented design as a whole.” Then, second, “[o]nce the primary

  reference is found, other secondary references may be used to modify it to create a design that has

  the same overall visual appearance as the claimed design. These secondary references must be so

  related [to the primary reference] that the appearance of certain ornamental features in one would

  suggest the application of those features to the other.” MRC Innovations, Inc. v. Hunter Mfg.,

  LLP, 747 F.3d 1326, 1331 (Fed. Cir. 2014).

         19.     An “obvious extension[s] of the prior art” to a designer with ordinary skill can
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 80 of 555 PageID #: 56931




  support a finding of obviousness. See Grand Gen. Accessories Mfg. v. United Pac. Indus. Inc., 732

  F. Supp. 2d 1014, 1025 (C.D. Cal. 2010). Slight differences between the prior art and the claimed

  design may not defeat a claim of obviousness, even if those differences are entirely absent from

  prior art designs. See MRC Innovations, Inc. v. Hunter Mfg., LLP, 747 F.3d 1326, 1333 (Fed. Cir.

  2014), 1335 (“on numerous occasions we have invalidated design patents despite the inclusion of

  ornamental features that were entirely absent from prior art designs”).

         E.      Exceptional Case

         20.     The patent statute authorizes the Court “in exceptional cases” to award reasonable

  attorney fees to the prevailing party. 35 U.S.C. § 285. “This text is patently clear. It imposes one

  and only one constraint on district courts' discretion to award attorney's fees in patent litigation:

  The power is reserved for ‘exceptional’ cases.” Octane Fitness, LLC v. ICON Health & Fitness,

  Inc., 572 U.S. 545, 553 (2014). “[A]n ‘exceptional’ case is simply one that stands out from others

  with respect to the substantive strength of a party's litigating position (considering both the

  governing law and the facts of the case) or the unreasonable manner in which the case was litigated.

  District courts may determine whether a case is ‘exceptional’ in the case-by-case exercise of their

  discretion, considering the totality of the circumstances.” Id. at 554. Entitlement to fees is

  established by a preponderance of the evidence. Id.

  II.    SHURE’S PATENT CLAIM
         A.      Issues

         21.     Whether Shure has proven by a preponderance of the evidence that ClearOne has

  infringed the ’723 patent through the making, use, sale, offer for sale, and importation in the United

  States of microphone array products, including the BMA CT, BMA CTH, COLLABORATE Versa

  Pro CT, COLLABORATE Versa Lite CT, COLLABORATE Versa Room CT, BMA 360, Aura
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 81 of 555 PageID #: 56932




  Xceed BMA, and BMA CTX (“BMA Products”).

          22.     Who the ordinary observer is for the ’723 patent, which ClearOne contends is

  either: (1) a sophisticated organizational end-user purchaser of installed audio-conferencing

  equipment; or (2) a specialized intermediary in the audio-visual market, such as a distributor,

  integrator, consultant, and installer.

          23.     Whether Shure has proven by a preponderance of the evidence that the BMA

  Products are the “article of manufacture” to which the claimed design has been applied.

          24.     What amount of total profits under 35 U.S.C. § 289 Shure has proven it is owned

  by a preponderance of the evidence from ClearOne due to ClearOne’s alleged infringement of the

  ’723 patent.

          25.     Whether Shure has established that this is an exceptional case and that it is entitled

  to an award of attorneys’ fees and costs under 35 U.S.C. § 285, and if so, the amount.

          26.     Whether Shure is entitled to permanent injunctive relief enjoining ClearOne from

  further infringement of the ’723 patent, or alternatively, whether it is entitled to an on-going

  royalty, and if so, how much.

          B.      Infringement

          27.     “[I]f, in the eye of an ordinary observer, giving such attention as a purchaser usually

  gives, two designs are substantially the same, if the resemblance is such as to deceive such an

  observer, inducing him to purchase one supposing it to be the other, the first one patented is

  infringed by the other.” Egyptian Goddess, 543 F.3d 665, 670 (Fed. Cir. 2008) (quoting Gorham

  Co. v. White, 81 U.S. 511, 528 (1871)); Samsung Elecs. Co. v. Apple Inc., 137 S. Ct. 429, 432

  (2016). A patent owner must prove design patent infringement by a “preponderance of the

  evidence.” L.A. Gear, Inc. v. Thom McAn Shoe Co., 988 F.2d 1117,1124 (Fed. Cir. 1993.).
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 82 of 555 PageID #: 56933




         28.     Only the novel, ornamental features of a patented design are protected by a design

  patent. In other words, the scope of a design patent does not extend to any functional elements.

  Richardson v. Stanley Works, Inc., 597 F. 3d 1288, 1293 (Fed. Cir. 2010) (district court “properly

  factored out the functional aspects of Richardson’s design as part of its claim construction.”);

  Amini Innovation Corp. v. Anthony California, Inc., 439 F.3d 1365, 78 U.S.P.Q.2d 1147 (Fed. Cir.

  2006) (“The trial court is correct to factor out the functional aspects of various design elements”).

  To that end, a claimed design “must be construed in order to identify the non-functional aspects of

  the design as shown in the patent.” Richardson, 597 F.3d at 1293; see also Egyptian Goddess, 543

  F.3d at 680 (“a trial court can usefully guide the finder of fact by addressing a number of other

  issues that bear on the scope of the claim [such as] distinguishing between those features of the

  claimed design that are ornamental and those that are purely functional . . .”).

         29.     The “ordinary observer” test is used to determine whether a design patent is

  infringed: “if, in the eye of an ordinary observer, giving such attention as a purchaser usually gives,

  two designs are substantially the same, if the resemblance is such as to deceive such an ordinary

  observer, inducing him to purchase one supposing it to be the other, the first one patented is

  infringed by the other. Gorham Mfg. Co. v. White, 81 U.S. 511, 528, 20 L. Ed. 731 (1871); see

  also Egyptian Goddess, 543 F. 3d at 678. This comparison is limited to the ornamental features of

  a design. See, e.g., Read Corp. v. Portec, Inc., 970 F.2d 816, 825 (Fed. Cir. 1992), overruled in

  part on other grounds by Markman v. Westview Instruments, Inc., 52 F.3d 967 (Fed. Cir. 1995),

  aff'd, 517 U.S. 370 (1996) (“[A] design is composed of functional as well as ornamental features,

  to prove infringement a patent owner must establish that an ordinary person would be deceived by

  reason of the common features in the claimed and accused design which are ornamental.”);

  OddzOn Products, Inc. v. Just Toys, Inc., 122 F.3d 1396, 1405 (Fed. Cir. 1997) (“If … a design
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 83 of 555 PageID #: 56934




  contains both functional and ornamental features, the patentee must show that the perceived

  similarity is based on the ornamental features of the design. The patentee must establish that an

  ordinary person would be deceived by reasons of the common features in the claimed and accused

  designs which are ornamental.” (internal quotes omitted).

          30.     The first step of the infringement analysis is a direct comparison of the claimed and

  accused designs. If a properly construed claimed design and accused design are “sufficiently

  distinct,” the analysis ends. Egyptian Goddess, 543 F.3d at 678. If not, then “resolution of the

  question whether the ordinary observer would consider the two designs to be substantially the

  same will benefit from a comparison of the claimed and accused designs with the prior art.”

  Egyptian Goddess, 543 F.3d at 678. This three-way comparison of (1) the accused design with (2)

  the patented design and (3) the prior art is intended to provide a frame of reference for the

  infringement analysis, which can help the hypothetical ordinary observer better notice differences

  among the designs. See Egyptian Goddess, 543 F.3d 665, 678 (“differences between the claimed

  and accused designs that might not be noticeable in the abstract can become significant to the

  hypothetical ordinary observer who is conversant with the prior art.”) The burden of production of

  that prior art is on the accused infringer because “[t]he accused infringer is the party with the

  motivation to point out close prior art, and in particular to call to the court's attention the prior art

  that an ordinary observer is most likely to regard as highlighting the differences between the

  claimed and accused design.” Egyptian Goddess, 543 F. 3d at 678. The ordinary observer is

  presumed to be aware of all the pertinent prior art. In re Carlson, 983 F.2d 1032 (Fed. Cir. 1993);

  Egyptian Goddess, 543 F.3d at 678.

          31.     The overall appearance of the designs must be substantially similar for infringement

  to be found. Infringement analysis requires a determination of whether the patented design as a
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 84 of 555 PageID #: 56935




  whole is substantially similar in appearance to the accused design, and the patented and accused

  designs do not have to be identical for design patent infringement to be found. Braun Inc. v.

  Dynamics Corp. of Am., 975 F.2d 815, 820 (Fed. Cir. 1992). It is the visual appearance of a design

  as a whole, and the visual impression it creates, which is key to determining infringement. OddzOn,

  122 F.3d 1396. Because the focus should be on the design as a whole, courts have cautioned against

  doing an “element by element” analysis. Amini Innovation Corp. v. Anthony California, Inc., 439

  F.3d 1365, 1372 (Fed. Cir. 2006) (“the trial court mistakenly analyzed each element separately

  instead of analyzing the design as a whole from the perspective of an ordinary observer.”). I

  understand that the ornamental features illustrated in all figures of a design patent must be

  considered in the infringement analysis. See Tristar Prod., Inc. v. E. Mishan & Sons, Inc., No. CV

  17-1204 (RMB/JS), 2017 WL 1404315, at *3 (D.N.J. Apr. 19, 2017).

         32.     Differences between the claimed and accused designs cannot be ignored. I, 836

  F.2d 521, 527–28 (Fed. Cir. 1987) (“Contrary to [the patentee]'s intimation, differences between

  patented and accused designs are not irrelevant. Courts should take into account similarities and

  differences in determining ‘if in the eye of an ordinary observer, giving such attention as a

  purchaser usually gives, two designs are substantially the same, if the resemblance is such as to

  deceive such an observer, inducing him to purchase one supposing one to be the other.’”)

         C.      Damages1

         33.     “[T]he amount of a prevailing party’s damages is a finding of fact on which the

  plaintiff bears the burden of proof by a preponderance of the evidence.” Smithkline Diagnostics,

  Inc. v. Helena Labs. Corp., 926 F.2d 1161, 1164 (Fed. Cir. 1991).



  1
   ClearOne reserves the right to identify additional issues of law related to reasonable royalty
  damages if the Court sustains Shure’s forthcoming objection on D.I. 575.
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 85 of 555 PageID #: 56936




         34.     Under 35 U.S.C. § 289, upon a finding of infringement of a design patent, the

  defendant can be liable for its total profits on the article of manufacture.

         35.     “[I]n the case of a multicomponent product, the relevant ‘article of manufacture’

  for arriving at a §289 damages award need not be the end product sold to the consumer but may

  be only a component of that product.” Samsung Elecs. Co. v. Apple Inc., 137 S. Ct. 429, 431

  (2016). However, the Supreme Court did not set out a “test” by which to determine whether the

  relevant Article of Manufacture is a component of the infringing product, or the entirety of the

  infringing product, but instead reasoned that “the factfinder should identify the article in which the

  design prominently features, and that most fairly may be said to embody the defendant’s

  appropriation of the plaintiff’s innovation.” Id.; Apple Inc. v. Samsung Elecs. Co., 2017 WL

  4776443 at *7 (N.D. Cal. Oct. 22, 2017).

         36.     The following four-factor test, to assist the finder of fact in determining the

  appropriate article of manufacture, was proposed by the DOJ and adopted by the Northern District

  of California Court in its ruling in Apple v Samsung as well as other district courts. See Apple Inc.

  v. Samsung Elecs. Co., 2017 WL 4776443 at *8 (N.D. Cal. Oct. 22, 2017); see also Final Jury

  Instructions, Apple Inc. v. Samsung Electronics Co. Ltd., No. 5:11-cv-01846-LHK (N.D. Cal. May

  18, 2018), p. 41; Jury Instructions, Columbia Sportswear North America, Inc. v. Seirus Innovative

  Accessories, Inc., No. 3:17-cv-1781-HZ (S.D. Cal. Sept. 29, 2017), p. 16. In determining the article

  of manufacture, the DOJ test consists of the following proposed factors that the finder of fact

  should look to when determining the proper article of manufacture: (1) The scope of the design

  claimed in the plaintiff’s patent, including the drawing and written description; (2) The relative

  prominence of the design within the product as a whole; (3)Whether the design is conceptually

  distinct from the product as a whole; and (4) The physical relationship between the patented design
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 86 of 555 PageID #: 56937




  and the rest of the product, including whether the design pertains to a component that a user or

  seller can physically separate from the product as a whole, and whether the design is embodied in

  a component that is manufactured separately from the rest of the product, or if the component can

  be sold separately. Apple Inc. v. Samsung Elecs. Co., 2017 WL 4776443 at *8 (N.D. Cal. Oct. 22,

  2017).

           37.    “If the rule be established that a design for a case enables the owner to collect

  damages for the case not only, but for the contents of the case as well, it will lead to results which

  shock the conscience.” Bush & Lan Piano Co. v. Becker Bros. (“Piano I”), 222 F. 904, 905 (2d

  Cir. 1915). “We are clearly of the opinion that … giving the owner of a design patent [of] a

  receptacle intended to hold an expensive article of manufacture the profits made on the sale of the

  receptacle and its contents, must certainly lead to inequitable results and cannot be sustained.” Id.

  at 904-905; see also Bush & Lane Piano Co. v. Becker Bros. (“Piano II”), 234 F. 79, 81-82 (2d

  Cir. 1916) (noting that a “[book] binding and the printed record of thought respond to different

  concepts; they are different articles.”).

           38.    The plaintiff bears both the burden of production and persuasion in identifying the

  article of manufacture and total profit on the sale of that article. Apple Inc. v. Samsung Elecs. Co.

  Ltd., No. 11-1846, 2017 WL 4776443, at *13–14 (N.D. Cal. Oct. 22, 2017); Junker v. Med.

  Components, Inc., No. CV 13-4606, 2021 WL 131340, at *31 (E.D. Pa. Jan. 14, 2021). If the

  plaintiff satisfies its burden on these issues, then the burden shifts to the defendant to produce

  evidence of an alternative article of manufacture and any deductible expenses. Apple Inc., 2017

  WL 4776443, at *13–14; Junker, 2021 WL 131340 at *31 (citing Henry Hanger & Display Fixture

  Corp. of Am. V. Sel-O-Rak Corp., 270 F.2d 635, 643 (5th Cir. 1959) (“The burden of establishing

  the nature and amount of [deductible costs], as well as their relationship to the infringing product,
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 87 of 555 PageID #: 56938




  is on the defendants.”)).

         39.     Profit is determined by deducting certain expenses from gross revenue. Gross

  revenue is all of the infringer’s receipts from using the design in the sale of the infringing products

  (for a single component article of manufacture) or sale of the infringing component(s) (for multi-

  component articles of manufacture). Shure has the burden of proving ClearOne’s gross revenue

  by a preponderance of the evidence. Nike, Inc. v. Wal-Mart Stores, Inc., 138 F.3d 1437, 1447-48

  (Fed. Cir. 1998); Braun, Inc. v. Dynamics Corp. of Am., 975 F.2d 815, 824 (Fed. Cir. 1992); Trans-

  World Mfg. Corp. v. A1 Nyman & Sons, Inc., 750 F.2d 1552, 1566-68 (Fed. Cir. 1984); Bergstrom

  v. Sears, Roebuck & Co., 496 F. Supp. 476, 495 (D. Minn. 1980).

         40.     Expenses can include costs incurred in producing the gross revenue, such as the

  cost of the goods. Other costs may be included as deductible expenses if they are directly

  attributable to the sales of the infringing products resulting in a nexus between the infringing

  products and the expense. ClearOne has the burden of proving the deductible expenses and the

  portion of the profit attributable to factors other than use of the infringed design by a preponderance

  of the evidence. Nike, Inc. v. Wal-Mart Stores, Inc., 138 F.3d 1437, 1447-48 (Fed. Cir. 1998).

         41.     To obtain a permanent injunction, a patent holder must show “(1) that it has suffered

  an irreparable injury; (2) that remedies available at law . . . are inadequate to compensate for that

  injury; (3) that, considering the balance of hardships between the plaintiff and defendant, a remedy

  in equity is warranted; and (4) that the public interest would not be disserved by a permanent

  injunction.” eBay Inc. v. MercExchange, L.L.C., 547 U.S. 388, 391 (2006). The moving party

  “bears the burden of producing evidence sufficient to convince the court that [the preliminary

  injunction factors weigh in favor of granting an injunction.]” Bus Air, LLC v. Woods, No. CV 19-

  1435-RGA-CJB, 2019 WL 6329046, at *7 (D. Del. Nov. 26, 2019) (citing ECRI v. McGraw-Hill,
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 88 of 555 PageID #: 56939




  Inc., 809 F.2d 223, 226 (3d Cir. 1987)), report and recommendation adopted 2019 WL 8137577

  (D. Del. Dec. 17, 2019). “[T]he decision whether to grant or deny injunctive relief rests within the

  equitable discretion of the district courts, and ... such discretion must be exercised consistent with

  traditional principles of equity[.]” eBay, 547 U.S. at 394.
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 89 of 555 PageID #: 56940




                     EXHIBIT 6
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 90 of 555 PageID #: 56941
                                          Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 91 of 555 PageID #: 56942
Trial Exhibit No.     Date                                                    Description                                                Begin Bates         End Bates           Depo. Ex. No.   Deponent              Depo. Date        C1 Objection


     X0048          2019 01 25 Press release: ClearOne Prevails Against Shure in Trial Before the U S Patent & Trademark Office -                                                Oates 010       Oates, Patrick        2020 05 13   401; 402/403
                                 U S Patent and Trademark Office upholds validity of ClearOne beamforming patent
     X0049          2019 03 11                                                                                                           HWPCO000078         HWPCO000079         Oates 011       Oates, Patrick        2020 05 13   401; 402/403; 602; 802;
                                                                                                                                                                                                                                    901
     X0060          2019 12 19                                                                                                           HWPCO000204         HWPCO000206         Oates 013       Oates, Patrick        2020 05 13   401; 402/403; 602; 802;
                                                                                                                                                                                                                                    901
     X0061          2019 03 12                                                                                                           HWPCO000080         HWPCO000081         Oates 014       Oates, Patrick        2020 05 13   401; 402/403; 602; 802;
                                                                                                                                                                                                                                    901
     X0062          2019 05 17                                                                                                           HIGHWAY_0020        HIGHWAY_0020        Yates 002       Yates, Glenn          2020 05 15   401; 402/403; 602; 802;
                                                                                                                                                                                                                                    901; Cumulative
     X0063          2019 05 14                                                                                                           HIGHWAY_0032        HIGHWAY_0032        Yates 003       Yates, Glenn          2020 05 15   401; 402/403; 602; 901


     X0064          2019 08 09                                                                                                           HIGHWAY_0122        HIGHWAY_0125        Yates 004       Yates, Glenn          2020 05 15   402/403; 602; 802; 901


     X0065          2019 08 29 Letter from N Narayanan re Installation of Shure MXA910 in a Drop-Ceiling Mounting Configuration                                                  Yates 005       Yates, Glenn          2020 05 15   401; 402/403; Cumulative


     X0066                       TeamConnect Ceiling 2 Ceiling microphone array Product Specification from Sennheiser electronic GmbH                                            Yates 007       Yates, Glenn          2020 05 15   401; 402/403; 602; 802;
                               & Co KG                                                                                                                                                                                              901
     X0067          2020 03 23 Email from G Yates to K Smith, T Valley re C1 Follow-up                                                   HIGHWAY_0018        HIGHWAY_0019        Yates 012       Yates, Glenn          2020 05 15   401; 402/403; 602; 802;
                                                                                                                                                                                                                                    901
     X0068          2019 05 13 Commerical Integrator article: ClearOne and Shure: History of Their Legal Dispute Over Beamforming                                                Yates 013       Yates, Glenn          2020 05 15   401; 402/403; 602; 701;
                                 Microphone Arrays                                                                                                                                                                                  802; 901
     X0069                       Bencsik line card                                                                                       BENCSIK_000001      BENCSIK_000001      Bencsik 001     Bencsik, Chris        2020 05 28   401; 402/403; 602; 901


     X0080          2020 04 15 Subpoena to Testify at a Deposition issued to Bencsik Associates, Inc                                                                             Bencsik 002     Bencsik, Chris        2020 05 28   401; 402/403
     X0081                     TeamConnect Ceiling 2 Ceiling microphone array Product Specification from Sennheiser electronic GmbH                                              Bencsik 003     Bencsik, Chris        2020 05 28   401; 402/403; 602; 802;
                                 & Co KG                                                                                                                                                                                            901; Cumulative
     X0082          2019 04 11                                                                                                           BENCSIK_000099      BENCSIK_000101      Bencsik 004     Bencsik, Chris        2020 05 28   402/403; 602; 901




     X0083          2019 05 30                                                                                                           BENCSIK_000016      BENCSIK_000017      Bencsik 005     Bencsik, Chris        2020 05 28   401; 402/403; 602; 802;
                                                                                                                                                                                                                                    901
     X0084                       ClearOne North America Dealer Pricing Guide, effective February 26, 2019                                                                        Bencsik 006     Bencsik, Chris        2020 05 28   402/403; 602; 901
     X0085          2019 05 28                                                                                                           BENCSIK_000021      BENCSIK_000022      Bencsik 007     Bencsik, Chris        2020 05 28   401; 402/403; 602; 802;
                                                                                                                                                                                                                                    901; Cumulative
     X0086          2019 06 04                                                                                                           BENCSIK_000026      BENCSIK_000026      Bencsik 008     Bencsik, Chris        2020 05 28   401; 402/403; 602; 802;
                                                                                                                                                                                                                                    901; Cumulative
     X0087          2019 01 25                                                                                                           BENCSIK_000112      BENCSIK_000114      Bencsik 010     Bencsik, Chris        2020 05 28   401; 402/403; 602; 901
                                                      e
     X0088          2019 01 25                                                                                                           CLRONEDE-00004445   CLRONEDE-00004447   Bencsik 014     Bencsik, Chris        2020 05 28   401; 402/403


     X0089          2019 01 25                                                                                                           CLRONEDE-00005711   CLRONEDE-00005713   Bencsik 015     Bencsik, Chris        2020 05 28   401; 402/403; Cumulative


     X0200          2020 00 00                                                                                                                                                   Kessler 002     Kessler, Richard Alan 2020 06 05   401; 402/403; 602; 901


     X0201          2019 08 29 Letter from N Narayanan re Installation of Shure MXA910 in a Drop-Ceiling Mounting Configuration          WPS_000016          WPS_000016          Kessler 012     Kessler, Richard Alan 2020 06 05   401; 402/403; 602; 901;
                                                                                                                                                                                                                                    Cumulative
     X0202                       ClearOne Connections Tour                                                                               CLRONEDE-00008749   CLRONEDE-00008749   Kessler 017     Kessler, Richard Alan 2020 06 05   401; 402/403


     X0203          2019 08 09                                                                                                           WPS_000025          WPS_000027          Kessler 018     Kessler, Richard Alan 2020 06 05   402/403; 602; 802; 901


     X0204                       Nailor, Ceiling Diffusers                                                                               CLRONEDE-00007756   CLRONEDE-00007756   Bullard 005     Bullard, Jonathan R   2020 06 08   106; Cumulative




                                                                                                                                    Page 2
                                          Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 92 of 555 PageID #: 56943
Trial Exhibit No.      Date                                                    Description                                               Begin Bates         End Bates           Depo. Ex. No.   Deponent              Depo. Date           C1 Objection


     X0205          2019 03 26                                                                                                           UNIFED_008802       UNIFED_008802       Bullard 008     Bullard, Jonathan R   2020 06 08   401; 402/403; 602; 802;
                                                                                                                                                                                                                                    901
     X0206          2016 00 00 ClearOne Beamforming Microphone Array Data Sheet                                                                                                  Bullard 010     Bullard, Jonathan R   2020 06 08   401; 402/403


     X0207                       Nailor, Ceiling Diffusers                                                                               CLRONEDE-00007756   CLRONEDE-00007756   Staples 004     Staples, Jason        2020 06 10   106; Cumulative
     X0208          2019 05 17                                                             its                                           HIGHWAY_0020        HIGHWAY_0020        Staples 009     Staples, Jason        2020 06 10   401; 402/403; 602; 802;
                                                                                                                                         SHUREDDEL00050813   SHUREDDEL00050813                                                      901; Cumulative
     X0209                     Pre Acoustics, Drop Ceiling Tile 2x2 Speakers                                                                                                     Staples 010     Staples, Jason        2020 06 10   602; 802; 901
     X0210          2016 00 00 ClearOne Beamforming Microphone Array Data Sheet                                                                                                  Staples 011     Staples, Jason        2020 06 10   401; 402/403; Cumulative


     X0211                       Global Sales Leadership Meeting - Hong Kong Dec 14-15, 2018                                             SHUREDDEL00033191   SHUREDDEL00033204   Schanz1 002     Schanz, James         2020 06 22   401; 402/403; 602; 802;
                                                                                                                                                                                                                                    901
     X0212                       BMA CT Diagram                                                                                          SHUREDDEL00034332   SHUREDDEL00034332   Schanz1 005     Schanz, James         2020 06 22   401; 402/403; 602; 802;
                                                                                                                                                                                                                                    901
     X0213          2019 03 07                                                                                                           SHUREDDEL00035618   SHUREDDEL00035619   Schanz1 007     Schanz, James         2020 06 22   602; 802; 901
     X0214                       Shure PowerPoint presentation                                                                           SHURE598972         SHURE599004         Schanz1 009     Schanz, James         2020 06 22   401; 402/403; 602; 802;
                                                                                                                                                                                                                                    901
     X0215          2019 11 05 U S Patent No D865,723 (Cho et al ), Array Microphone Assembly                                                                                    Lantz 011       Lantz, Gregory        2020 06 23   Cumulative; Technical
                                                                                                                                                                                                                                    Issue
     X0216          2020 00 00 Partners + Certifications - CTSI                                                                                                                  Wilson 001      Wilson, Michael       2020 06 23   401; 402/403; 602; 802;
                                                                                                                                                                                                                                    901; Technical Issue


     X0217          2019 02 22                                                                                                           CTSI_001            CTSI_001            Wilson 002      Wilson, Michael       2020 06 23   401; 402/403; 602; 901


     X0218          2016 00 00 ClearOne Beamforming Microphone Array Data Sheet                                                                                                  Wilson 008      Wilson, Michael       2020 06 23   401; 402/403; Cumulative


     X0219                       Q&A in Response to Recent Us Court Ruling on Shure MXA910                                                                                       Wilson 009      Wilson, Michael       2020 06 23   402/403; 602; 802; 901


     X0220          2019 08 29                                                                                                           CTSI_025            CTSI_026            Wilson 010      Wilson, Michael       2020 06 23   401; 402/403; 602; 901


     X0221          2019 01 25 Press release: ClearOne Prevails Against Shure in Trial Before the U S Patent & Trademark Office -                                                Wilson 011      Wilson, Michael       2020 06 23   401; 402/403; 602; 901
                                 U S Patent and Trademark Office upholds validity of ClearOne beamforming patent
     X0222                       Stem Ceiling, Conference Room Ceiling Microphone                                                                                                Graham1-1343    Graham, Derek         2020 07 10   401; 402/403; 602; 802;
                                                                                                                                                                                 001                                                901
     X0223                       Armstrong Random Textured Square Edge 2 ft x 2 ft x 5/8 in Lay-in Panel                                                                         Graham1-1343    Graham, Derek         2020 07 10   401; 402/403; 602; 802;
                                                                                                                                                                                 002                                                901
     X0224                       ClearOne BMA CT fact sheet                                                                                                                      Graham1-1343    Graham, Derek         2020 07 10   602; 901; Cumulative;
                                                                                                                                                                                 003                                                Technical Issue
     X0225          2020 05 22 ClearOne, Inc 's Supplemental Objections and Responses to Shure Incorporated and Shure Acquisition                                                Graham1-1343    Graham, Derek         2020 07 10   106; 402/403; 602; 901
                               Holdings, Inc 's First Set of Interrogatories (Nos 4, 5, 6, 12), Case No 19-1343 (D Del )                                                         004
     X0226          2019 11 05 U S Patent No D865,723 (Cho et al ), Array Microphone Assembly                                                                                    Graham1-1343    Graham, Derek         2020 07 10   Cumulative
                                                                                                                                                                                 005
     X0227                       ClearOne BMA Ceiling Tile drawings                                                                      CLRONE-00339555     CLRONE-00339568     Graham1-1343    Graham, Derek         2020 07 10   401; 402/403
                                                                                                                                                                                 006
     X0228          2018 00 00                                                                                                           CLRONE-00730846     CLRONE-00730847     Graham1-1343    Graham, Derek         2020 07 10   402/403
                                                                                                                                                                                 009
     X0229          2018 09 05                                                                                                           CLRONE-00582594     CLRONE-00582595     Graham1-1343    Graham, Derek         2020 07 10   401; 402/403
                                                                                                                                                                                 010
     X0230                                                                                                                               CLRONEDE-00009372   CLRONEDE-00009372   Long 001        Long, Ashanti         2020 07 16
     X0231                       Armstrong Random Textured Square Edge 2 ft x 2 ft x 5/8 in Lay-in Panel                                                                         Long 002        Long, Ashanti         2020 07 16   401; 402/403; 602; 802;
                                                                                                                                                                                                                                    901; Cumulative
     X0232                       ClearOne BMA CT fact sheet                                                                                                                      Long 003        Long, Ashanti         2020 07 16   602; 901; Cumulative;
                                                                                                                                                                                                                                    Technical Issue
     X0233          2016 00 00 ClearOne Beamforming Microphone Array Data Sheet                                                                                                  Long 005        Long, Ashanti         2020 07 16   401; 402/403; Cumulative



                                                                                                                                    Page 3
                                          Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 93 of 555 PageID #: 56944
Trial Exhibit No.     Date                                                      Description                                            Begin Bates         End Bates           Depo. Ex. No.    Deponent           Depo. Date            C1 Objection


     X0234          2019 01 02                                                                                                         CLRONE-00599126     CLRONE-00599130     Long 006         Long, Ashanti      2020 07 16       402/403
     X0235          2019 08 28                                                                                                         CLRONE-00669727     CLRONE-00669770     Long 007         Long, Ashanti      2020 07 16       402/403
     X0236          2019 09 17                                                                                                         CLRONE-00725043     CLRONE-00725046     Long 008         Long, Ashanti      2020 07 16       106; 401; 402/403; 802


     X0237          2020 02 25 Email from Clearone News re Contempt Order against Shure Coverage                                       CLRONEDE-00001041   CLRONEDE-00001044   Long 009         Long, Ashanti      2020 07 16       402/403
     X0238                     Native Excel document - Weekly Travel Report - Pro Voice & AV Distribution Daily Visits Report          CLRONEDE-00001461   CLRONEDE-00001461   Long 010         Long, Ashanti      2020 07 16       402/403
     X0239                       Native Excel document - Weekly Report - Pro Voice & AV Distribution Daily Visits Report               CLRONEDE-00006116   CLRONEDE-00006116   Long 011         Long, Ashanti      2020 07 16       402/403
     X0240          2019 01 25                                                                                                         CLRONEDE-00004440   CLRONEDE-00004441   Long 012         Long, Ashanti      2020 07 16       401; 402/403


     X0241          2019 09 10                                                                                                         CLRONEDE-00005929   CLRONEDE-00005930   Long 013         Long, Ashanti      2020 07 16       401; 402/403


     X0242          2019 04 11 Email from Z Hakimoglu to A Long and S Floisand re Trailer BMA Demo                                     CLRONEDE-00008091   CLRONEDE-00008094   Long 014         Long, Ashanti      2020 07 16       402/403; 802; Cumulative


     X0243                       Sennheiser, TeamConnect Ceiling 2: Raise your meetings to a higher level                                                                      DiCampello 002 DiCampello, Jason    2020 07 22       401; 402/403; 602; 901


     X0244          2019 03 00 Presentation, BMA CT: Beamforming Microphone Array Ceiling Tile                                         CLRONE-00659320     CLRONE-00659348     DiCampello 003 DiCampello, Jason    2020 07 22       402/403; Cumulative


     X0245          2017 03 08                                                                                                         CLRONE-00168585     CLRONE-00168588     DiCampello 004 DiCampello, Jason    2020 07 22       401; 402/403


     X0246          2017 04 05                                                                                                         CLRONE-00168195     CLRONE-00168204     DiCampello 006 DiCampello, Jason    2020 07 22       402/403


     X0247          2019 10 22                                                                                                         CLRONE-00828866     CLRONE-00828870     DiCampello 008 DiCampello, Jason    2020 07 22       401; 402/403


     X0248          2019 09 27                                                                                                         CLRONE-00828794     CLRONE-00828797     DiCampello 010 DiCampello, Jason    2020 07 22       401; 402/403


     X0249                       Native Excel document - Weekly Travel Report - Pro Voice & AV Distribution Daily Visits Report        CLRONEDE-00001461   CLRONEDE-00001461   DiCampello 015 DiCampello, Jason    2020 07 22       402/403


     X0250                                                                                                                             CLRONEDE-00009372   CLRONEDE-00009372   Schnibbe 001     Schnibbe, John     2020 07 24       Cumulative
     X0251          2019 08 28                                                                                                         CLRONE-00669727     CLRONE-00669770     Schnibbe 002     Schnibbe, John     2020 07 24       402/403; Cumulative
     X0252          2019 01 16                                                                                                         CLRONE-00656438     CLRONE-00656445     Schnibbe 003     Schnibbe, John     2020 07 24       402/403


     X0253                       Native Excel document - Weekly Report - Pro Voice & AV Distribution Daily Visits Report                                                       Schnibbe 004     Schnibbe, John     2020 07 24       402/403
     X0254                       Native Excel document - Weekly Report - Pro Voice & AV Distribution Daily Visits Report                                                       Schnibbe 005     Schnibbe, John     2020 07 24       402/403
     X0255          2019 05 29                                                                                                         CLRONE-00832187     CLRONE-00832195     Schnibbe 006     Schnibbe, John     2020 07 24       401; 402/403


     X0256          2019 03 16                                                                                                         CLRONEDE-00005769   CLRONEDE-00005770   Schnibbe   007   Schnibbe,   John   2020   07   24   401; 402/403
     X0257                       Native Excel document - Weekly Report - Pro Voice & AV Distribution Daily Visits Report                                                       Schnibbe   009   Schnibbe,   John   2020   07   24   402/403
     X0258                       Native Excel document - Weekly Report - Pro Voice & AV Distribution Daily Visits Report                                                       Schnibbe   010   Schnibbe,   John   2020   07   24   402/403
     X0259                       Native Excel document - Weekly Report - Pro Voice & AV Distribution Daily Visits Report                                                       Schnibbe   011   Schnibbe,   John   2020   07   24   402/403
     X0260          2019 08 05                                                                                                         CLRONEDE-00004973   CLRONEDE-00004975   Schnibbe   012   Schnibbe,   John   2020   07   24
     X0261          2020 04 01 ClearOne, Inc 's Second Supplemental Objections and Responses to Shure Incorporated and Shure                                                   Schnibbe   013   Schnibbe,   John   2020   07   24   401; 402/403; 602; 901
                                 Acquisition Holdings, Inc 's First Set of Interrogatories (No 3), Case No 19-1343 (D Del )
     X0262          2019 09 10                                                                                                         CLRONEDE-00005929   CLRONEDE-00005930   Schnibbe 014     Schnibbe, John     2020 07 24       401; 402/403


     X0263                     Native Excel document - Weekly Report - Pro Voice & AV Distribution Daily Visits Report                                                         Schnibbe 015     Schnibbe, John     2020   07   24   402/403
     X0264          2019 11 19 Second Amended Complaint, Case No 19-1343 (D Del )                                                                                              Schnibbe 016     Schnibbe, John     2020   07   24   402/403
     X0265                     ClearOne BYOD Conferencing, Visual Collaboration, Collaborate Versa Pro CT                                                                      Schnibbe 017     Schnibbe, John     2020   07   24   602; 901
     X0266                     Native Excel document - Weekly Travel Report - Pro Voice & AV Distribution Daily Visits Report                                                  Schnibbe 018     Schnibbe, John     2020   07   24   402/403
     X0267                     ClearOne BMA CT fact sheet                                                                                                                      Weinstein3 010   Weinstein, Ira     2020   07   24   Cumulative
     X0268                                                                                                                                                                     Wolffe 001       Wolffe, Ed         2020   08   14   401; 402/403; 602; 802;
                                                                                                                                                                                                                                    901
     X0269                                                                                                                                                                     Wolffe 002       Wolffe, Ed         2020 08 14       401; 402/403; 602; 802;
                                                                                                                                                                                                                                    901
     X0270                                                                                                                                                                     Wolffe 003       Wolffe, Ed         2020 08 14       401; 402/403; 602; 802;
                                                                                                                                                                                                                                    901


                                                                                                                                  Page 4
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 94 of 555 PageID #: 56945
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 95 of 555 PageID #: 56946
                                          Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 96 of 555 PageID #: 56947
Trial Exhibit No.     Date                                                       Description                                                   Begin Bates         End Bates           Depo. Ex. No.   Deponent               Depo. Date         C1 Objection


     X0424          2013 04 29                                                                                                                 CLRONE-00339754     CLRONE-00339756     Christensen 002 Christensen, Clifton   2020 10 07   401; 402/403


     X0425                       ClearOne BMA CT fact sheet                                                                                                                            Christensen 003 Christensen, Clifton   2020 10 07   Cumulative


     X0426          2018 07 31 Exhibit 16 -                                                                                                                                            Christensen 004 Christensen, Clifton   2020 10 07   402/403


     X0427                       Document Change Request (DCR) - Produced in Native Format                                                     CLRONE-00640843     CLRONE-00640843     Christensen 005 Christensen, Clifton   2020 10 07   402/403


     X0428                       Document Change Request (DCR) - Produced in Native Format                                                     CLRONE-00737594     CLRONE-00737594     Christensen 006 Christensen, Clifton   2020 10 07   402/403


     X0429                       Exhibit 4 to the Declaration of Paul Hatch in Support of Plaintiffs' Motion for Preliminary Injunction                                                Christensen 007 Christensen, Clifton   2020 10 07   402/403; 602; 802; 901;
                                                                                                                                                                                                                                           Inadmissible expert report


     X0430          2017 04 18 U S Patent No D784,299 S (Cho et al ), Array Microphone Assembly                                                                                        Christensen 009 Christensen, Clifton   2020 10 07   402/403; Cumulative;
                                                                                                                                                                                                                                           Technical Issue
     X0431          2019 11 05 U S Patent No D865,723 S (Cho et al ), Array Microphone Assembly                                                                                        Christensen 010 Christensen, Clifton   2020 10 07   Cumulative; Technical
                                                                                                                                                                                                                                           Issue
     X0432          2019 00 00 ClearOne Concise Catalog AV Solutions & Cloud Collaboration Services 2019                                                                               Hakimoglu1-     Hakimoglu, Zee         2020 10 08   Technical Issue
                                                                                                                                                                                       1343 001
     X0433                       ClearOne Beamforming Microphone Array Data Sheet                                                                                                      Hakimoglu1-     Hakimoglu, Zee         2020 10 08   401; 402/403; Cumulative;
                                                                                                                                                                                       1343 002                                            Technical Issue


     X0434          2020 03 30 SEC Form 10-K for ClearOne, 2019                                                                                                                        Hakimoglu1-     Hakimoglu, Zee         2020 10 08   402/403
                                                                                                                                                                                       1343 003
     X0435          2020 05 22 ClearOne, Inc 's Supplemental Objections and Responses to Shure Incorporated and Shure Acquisition                                                      Hakimoglu1-     Hakimoglu, Zee         2020 10 08   402/403; 602; 901
                                 Holdings, Inc 's First Set of Interrogatories (Nos 4, 5, 6, 12), Case No 19-1343 (D Del )                                                             1343 004
     X0436          2018 09 21                                                                                                                 CLRONE-00573552     CLRONE-00573552     Hakimoglu1-     Hakimoglu, Zee         2020 10 08
                                                                                                                                                                                       1343 005
     X0437          2018 10 01                                                                                                                 CLRONEDE-00040526   CLRONEDE-00040526   Hakimoglu1-     Hakimoglu, Zee         2020 10 08
                                                                                                                                                                                       1343 006
     X0438          2020 07 14 ClearOne, Inc 's Supplemental Objections and Responses to Shure Incorporated and Shure Acquisition                                                      Hakimoglu1-     Hakimoglu, Zee         2020 10 08   402/403; 602; 901
                                 Holdings, Inc 's Second Set of Interrogatories (Nos 16 & 17), Case No 19-1343 (D Del )                                                                1343 007
     X0439                       4 Photographs                                                                                                 CLRONEDE-00047566   CLRONEDE-00047569   Hakimoglu1-     Hakimoglu, Zee         2020 10 08   402/403; Technical Issue
                                                                                                                                                                                       1343 009
     X0440                       Engineering Deliverable - Weekly Progress Tracking - September 29, 2020                                                                               Hakimoglu1-     Hakimoglu, Zee         2020 10 08   402/403
                                                                                                                                                                                       1343 010
     X0441          2019 03 18                                                                                                                 CLRONE-00724740     CLRONE-00724742     Hakimoglu1-     Hakimoglu, Zee         2020 10 08   402/403; 701; 802
                                                                                                                                                                                       1343 012
     X0442          2017 04 27                                                                                                                 CLRONE-00289454     CLRONE-00289455     Hakimoglu1-     Hakimoglu, Zee         2020 10 08   402/403
                                                                                                                                                                                       1343 013
     X0443          2017 07 07                                                                                                                 CLRONEDE-00003518   CLRONEDE-00003522   Hakimoglu1-     Hakimoglu, Zee         2020 10 08   402/403; 802
                                                                                                                                                                                       1343 014
     X0444          2019 04 11                                                                                                                 CLRONEDE-00008087   CLRONEDE-00008090   Hakimoglu1-     Hakimoglu, Zee         2020 10 08   401; 402/403; 802;
                                                                                                                                                                                       1343 015                                            Cumulative
     X0445          2019 08 29 Letter from N Narayanan re Installation of Shure MXA910 in a Drop-Ceiling Mounting Configuration                CLRONEDE-00009367   CLRONEDE-00009367   Hakimoglu1-     Hakimoglu, Zee         2020 10 08   401; 402/403; Cumulative
                                                                                                                                                                                       1343 016
     X0446                       Linkedin Post regarding ClearOne and Shure                                                                                                            Hakimoglu1-     Hakimoglu, Zee         2020 10 08   401; 402/403; 602; 802;
                                                                                                                                                                                       1343 017                                            901; Technical Issue


     X0447          2015 03 10                                                                                                                 CLRONE-00357655     CLRONE-00357655     Hakimoglu1-     Hakimoglu, Zee         2020 10 08   106; 401; 402/403
                                                                                                                                                                                       1343 018
     X0448          2018 08 09                                                                                                                 CLRONE-00648749     CLRONE-00648752     Hakimoglu1-     Hakimoglu, Zee         2020 10 08   401; 402/403; 701; 802
                                                                                                                                                                                       1343 019
     X0449          2019 02 04                                                                                                                 CLRONEDE-00011404   CLRONEDE-00011405   Ambion 001      Ambion, Jason          2020 10 27   401; 402/403
     X0450          2019 02 28                                                                                                                 CLRONEDE-00011494   CLRONEDE-00011496   Ambion 002      Ambion, Jason          2020 10 27   402/403

                                                                                                                                          Page 7
                                          Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 97 of 555 PageID #: 56948
Trial Exhibit No.     Date                                                    Description                                              Begin Bates         End Bates           Depo. Ex. No.   Deponent           Depo. Date             C1 Objection


     X0451          2019 04 02                                                                                                         CLRONEDE-00015821   CLRONEDE-00015823   Ambion   003    Ambion,   Jason    2020   10   27   401; 402/403
     X0452          2019 05 30                                                                                                         CLRONEDE-00011556   CLRONEDE-00011558   Ambion   004    Ambion,   Jason    2020   10   27   401; 402/403
     X0453                       Excel spreadsheet of weekly MC & UC IT Channel Distribution Daily Visits Reports                      CLRONEDE-00013757   CLRONEDE-00013757   Ambion   005    Ambion,   Jason    2020   10   27   402/403
     X0454          2019 06 30                                                                                                         CLRONEDE-00013907   CLRONEDE-00013911   Ambion   006    Ambion,   Jason    2020   10   27   401; 402/403
     X0455          2019 08 05                                                                                                         CLRONEDE-00013509   CLRONEDE-00013509   Ambion   007    Ambion,   Jason    2020   10   27   402/403


     X0456          2019 08 06                                                                                                         CLRONEDE-00013934   CLRONEDE-00013934   Ambion 008      Ambion, Jason      2020 10 27       402/403
     X0457          2019 08 29                                                                                                         CLRONEDE-00002792   CLRONEDE-00002793   Ambion 009      Ambion, Jason      2020 10 27       401; 402/403



     X0458          2019 09 20                                                                                                         CLRONEDE-00025602   CLRONEDE-00025603   Ambion 010      Ambion, Jason      2020 10 27       401; 402/403


     X0459          2019 09 23                                                                                                         CLRONEDE-00013403   CLRONEDE-00013410   Ambion 011      Ambion, Jason      2020 10 27       401; 402/403
     X0460                       Excel spreadsheet of weekly MC & UC IT Channel Distribution Daily Visits Reports                      CLRONEDE-00014027   CLRONEDE-00014027   Ambion 012      Ambion, Jason      2020 10 27       402/403
     X0461          2020 03 11                                                                                                         CLRONEDE-00013774   CLRONEDE-00013775   Ambion 013      Ambion, Jason      2020 10 27       401; 402/403


     X0462                       Web page of Pro Tech Marketing                                                                                                                Tunnell 001     Tunnell, Shane M   2020 11 10       401; 402/403; 602; 802;
                                                                                                                                                                                                                                   901
     X0463          2016 02 09 Shure, Shure Debuts Microflex Advance Ceiling and Table Array Microphones                                                                       Tunnell 002     Tunnell, Shane M   2020 11 10       402/403; 602; 802; 901;
                                                                                                                                                                                                                                   Technical Issue
     X0464          2019 12 17                                                                                                         PROTECH002231       PROTECH002234       Tunnell 004     Tunnell, Shane M   2020 11 10       402/403; 602; 802; 901



     X0465          2019 09 03                                                                                                         SHURE943691         SHURE943692         Valley 027      Valley, Timothy    2020 11 17       401; 402/403; 602; 802;
                                                                                                                                                                                                                                   901
     X0466          2020 01 16                                                                                                         SHURE940813         SHURE940813         Valley 051      Valley, Timothy    2020 11 17       402/403; 802


     X0467                       Photograph of ceiling tile                                                                            CLRONEDE-00048218   CLRONEDE-00048218   Graham2-1343    Graham, Derek      2020 11 19       Technical Issue
                                                                                                                                                                               004
     X0468                       Photograph of ceiling tile pattern                                                                    CLRONEDE-00047984   CLRONEDE-00047984   Graham2-1343    Graham, Derek      2020 11 19       402/403; 602; 901;
                                                                                                                                                                               005                                                 Technical Issue
     X0469                       Photograph of ceiling tile pattern                                                                    CLRONEDE-00047988   CLRONEDE-00047988   Graham2-1343    Graham, Derek      2020 11 19       402/403; 602; 901;
                                                                                                                                                                               006                                                 Cumulative; Technical
                                                                                                                                                                                                                                   Issue
     X0470                       Exhibits 16 through 30                                                                                                                        Graham2-1343    Graham, Derek      2020 11 19       402/403; Cumulative
                                                                                                                                                                               007
     X0471                       ClearOne BMA CT fact sheet                                                                                                                    Hakimoglu2-     Hakimoglu, Zee     2020 11 19       Cumulative
                                                                                                                                                                               1343 001
     X0472                       ClearOne BMA 360 fact sheet                                                                                                                   Hakimoglu2-     Hakimoglu, Zee     2020 11 19
                                                                                                                                                                               1343 002
     X0473          2019 02 20 ClearOne Organizational Charts                                                                          CLRONE-00561399     CLRONE-00561410     Hakimoglu2-     Hakimoglu, Zee     2020 11 19       401; 402/403
                                                                                                                                                                               1343 003
     X0474          2019 08 29 Exhibit 2 of ClearOne's amended answer and counterclaims - Letter from N Narayanan re Installation of                                           Hakimoglu2-     Hakimoglu, Zee     2020 11 19       401; 402/403
                                 Shure MXA910 in a Drop-Ceiling Mounting Configuration                                                                                         1343 004
     X0475          2019 09 17                                                                                                         CLRONEDE-00016094   CLRONEDE-00016097   Hakimoglu2-     Hakimoglu, Zee     2020 11 19       106; 402/403; 702; 802
                                                                                                                                                                               1343 005
     X0476          2019 12 16                                                                                                         SHURE864044         SHURE864047         DiFalco 024     DiFalco, Joseph    2020 11 20       402/403; 602; 701; 802;
                                                                                                                                                                                                                                   901
     X0477          2019 12 18                                                                                                         SHURE864048         SHURE864048         DiFalco 025     DiFalco, Joseph    2020 11 20       401; 402/403; 602; 802;
                                                                                                                                                                                                                                   901
     X0478          2019 08 29                                                                                                         SHURE943692         SHURE943692         DiFalco 035    DiFalco, Joseph     2020 11 20       401; 402/403
     X0479                       ClearOne Beamforming Microphone Array Data Sheet                                                                                              Narayanan-1343 Narayanan, Narsi    2020 11 23       401; 402/403; Cumulative
                                                                                                                                                                               001
     X0480          2019 08 29 Letter from N Narayanan re Installation of Shure MXA910 in a Drop-Ceiling Mounting Configuration        CLRONEDE-00002794   CLRONEDE-00002794   Narayanan-1343 Narayanan, Narsi    2020 11 23       401; 402/403
                                                                                                                                                                               002

                                                                                                                                  Page 8
                                          Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 98 of 555 PageID #: 56949
Trial Exhibit No.      Date                                                     Description                                                  Begin Bates         End Bates           Depo. Ex. No.   Deponent            Depo. Date        C1 Objection


     X0481          2019 08 29                                                                                                               CLRONEDE-00002792   CLRONEDE-00002793   Narayanan-1343 Narayanan, Narsi     2020 11 23   401; 402/403
                                                                                                                                                                                     003

     X0482                       Excel spreadsheet                                                                                           CLRONEDE-00871577   CLRONEDE-00871577   Narayanan-1343 Narayanan, Narsi     2020 11 23   402/403; Demonstrative
                                                                                                                                                                                     004
     X0483                       Excel spreadsheet                                                                                           CLRONEDE-00096663   CLRONEDE-00096663   Narayanan-1343 Narayanan, Narsi     2020 11 23   402/403; Demonstrative
                                                                                                                                                                                     005
     X0484                       Document Produced Nativley slipsheet referring to Exhibit 5                                                 CLRONEDE-00009663   CLRONEDE-00009663   Narayanan-1343 Narayanan, Narsi     2020 11 23   401; 402/403;
                                                                                                                                                                                     006                                              Demonstrative
     X0485                       Versa Pro CT from inception through 2020-01 Excel spreadsheet                                                                                       Narayanan-1343 Narayanan, Narsi     2020 11 23   402/403; Demonstrative
                                                                                                                                                                                     007
     X0486          2020 10 26 Plaintiffs Shure Incorporated and Shure Acquisition Holdings, Inc 's Objections to Defendant ClearOne,                                                Schanz2 001     Schanz, James       2020 11 23   402/403; 602; 802; 901
                               Inc 's Notice of 30(b)(6) Video Deposition of Shure Incorporated
     X0487          2020 04 22 Declaration of James Schanz, Case No 1:17-cv-03078 (N D Ill )                                                                                         Schanz2 002     Schanz, James       2020 11 23   402/403; 602; 802; 901


     X0488          2019 11 19 Second Amended Complaint, Case No 19-1343 (D Del )                                                                                                    Schanz2 004     Schanz, James       2020 11 23                         802
     X0489          2019 01 23 Shure Organizational Charts                                                                                   SHURE780802         SHURE780860         Schanz2 005     Schanz, James       2020 11 23   402/403; 602; 802; 901


     X0490          2019 08 29                                                                                                               SHURE943692         SHURE943692         Schanz2 014     Schanz, James       2020 11 23   401; 402/403; Cumulative


     X0491          2017 04 18 U S Patent No D784,299 S (Cho et al ), Array Microphone Assembly                                                                                      Miller 010      Miller, John        2020 12 01   402/403; Cumulative;
                                                                                                                                                                                                                                      Technical Issue
     X0492                       Instructions for FyreWrap Fire Protection Wrap System Installation, Installing the Array Microphone,        SHURE947521         SHURE947522         Smith 023       Smith, Kevin        2020 12 02   402/403; 602; 802; 901
                                 Ceiling Installation (MXA910W-A)
     X0493          2019 12 05                                                                                                               SHURE947567         SHURE947568         Smith 024       Smith, Kevin        2020 12 02   402/403; 602; 802; 901


     X0494          2020 02 17                                                                                                               SHURE939893         SHURE939893         Smith 032       Smith, Kevin        2020 12 02   402/403; 602; 802; 901


     X0495          2019 08 29 Memorandum from N Narayanan regarding Installation of Shure MXA910 in a Drop-Ceilling Mounting                                                        Smith 035       Smith, Kevin        2020 12 02   401; 402/403
                                 Configuration
     X0496          2019 11 05                                                                                                               SHURE944763         SHURE944764         Peden 004       Peden, Todd Allen   2020 12 07   402/403; 602; 802; 901


     X0497          2020 12 07 Page Vault Reference and document entitled, "Tony (Stephen) Durham" LinkedIn Profile                                                                  Durham 002      Durham, Stephen     2020 12 08   402/403; 602; 802; 901
                                                                                                                                                                                                     Anthony
     X0498          2020 12 07 Page Vault Reference and document entitled, "Industry Partners / Vision Technologies"                                                                 Durham 003      Durham, Stephen     2020 12 08   401; 402/403; 602; 802;
                                                                                                                                                                                                     Anthony                          901
     X0499          2017 11 14 Page Vault Reference and document entitled, "ClearOne Appoints Tony Durham National Pro AV                                                            Durham 004      Durham, Stephen     2020 12 08   402/403
                               Consultant Liaison"                                                                                                                                                   Anthony
     X0600          2020 12 07 Page Vault Reference and document entitled, "Facebook - Welcome to the Vision Team, Tony Durham"                                                      Durham 005      Durham, Stephen     2020 12 08   401; 402/403; 602; 802;
                                                                                                                                                                                                     Anthony                          901
     X0601          2018 03 12 Weekly Report - Pro Voice & AV Distribution Daily Visits Report                                                                                       Durham 007      Durham, Stephen     2020 12 08   402/403; 602; 802; 901
                                                                                                                                                                                                     Anthony
     X0602          2018 08 27 Weekly Report - Pro Voice & AV Distribution Daily Visits Report                                                                                       Durham 008      Durham, Stephen     2020 12 08   402/403; 602; 802; 901
                                                                                                                                                                                                     Anthony
     X0603          2019 06 06 Page Vault Reference and document entitled, "ClearOne to Offer Exclusive New BMA CT Product Briefing                                                  Durham 014      Durham, Stephen     2020 12 08   402/403; 602; 802; 901
                                 at InfoComm 2019"                                                                                                                                                   Anthony
     X0604          2019 04 26                                                                                                               CLRONE-00666527     CLRONE-00666569     Durham 015      Durham, Stephen     2020 12 08   402/403
                                                                                                                                                                                                     Anthony
     X0605          2019 09 10                                                                                                               CLRONE-00725029     CLRONE-00725032     Durham 017      Durham, Stephen     2020 12 08   402/403; 602; 701; 802;
                                                                                                                                                                                                     Anthony                          901; Cumulative
     X0606          2019 08 29 Letter from N Narayanan regarding Installation of Shure MXA910 in a Drop-Ceiling Mounting                                                             Durham 018      Durham, Stephen     2020 12 08   401; 402/403; Cumulative
                                 Configuration                                                                                                                                                       Anthony
     X0607          2019 10 21                                                                                                               CLRONE-00828862     CLRONE-00828865     Durham 023      Durham, Stephen     2020 12 08   402/403; 802
                                                                                                                                                                                                     Anthony


                                                                                                                                        Page 9
                                          Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 99 of 555 PageID #: 56950
Trial Exhibit No.     Date                                                     Description                                            Begin Bates         End Bates           Depo. Ex. No.   Deponent           Depo. Date         C1 Objection


     X0608          2018 04 25                                                                                                        CLRONE-00407386     CLRONE-00407388     Thurmond 002    Thurmond, Edgar    2020 12 08   401; 402/403


     X0609          2018 05 08                                                                                                        CLRONE-00553389     CLRONE-00553390     Thurmond 003    Thurmond, Edgar    2020 12 08   402/403; 701


     X0610          2018 05 02                                                                                                        CLRONE-00725379     CLRONE-00725379     Thurmond 004    Thurmond, Edgar    2020 12 08   402/403
     X0611          2018 06 02                                                                                                        CLRONE-00549504     CLRONE-00549507     Thurmond 005    Thurmond, Edgar    2020 12 08   402/403


     X0612          2018 05 15                                                                                                        CLRONE-00549649     CLRONE-00549651     Thurmond 007    Thurmond, Edgar    2020 12 08   402/403


     X0613          2018 04 24 ClearOne Confidential 2018 Moab Preliminary Requirements                                               CLRONE-00728418     CLRONE-00728418     Thurmond 011    Thurmond, Edgar    2020 12 08   402/403
     X0614          2018 09 05                                                                                                        CLRONE-00582594     CLRONE-00582595     Thurmond 015    Thurmond, Edgar    2020 12 08   401; 402/403


     X0615                       Diagram from patent of device                                                                                                                Thurmond 016    Thurmond, Edgar    2020 12 08   106; 401; 402/403
     X0616                       Diagram                                                                                              CLRONE-00047726     CLRONE-00047727     Thurmond 017    Thurmond, Edgar    2020 12 08   401; 402/403
     X0617          2017 04 05                                                                                                        CLRONE-00211808     CLRONE-00211808     Thurmond 023    Thurmond, Edgar    2020 12 08   401; 402/403


     X0618          2012 01 09 ClearOne Ceiling Microphone Array Installation Manual                                                  CLRONE-00342659     CLRONE-00342678     Thurmond 024    Thurmond, Edgar    2020 12 08   401; 402/403
     X0619          2009 12 07                                                                                                        CLRONE-00373180     CLRONE-00373181     Thurston 009    Thurston, Darrin   2020 12 09   401; 402/403
     X0620          2018 00 00 Date sheet for BMA CT and BMA CTD,                                                                     CLRONE-00733761     CLRONE-00733763     Graham-2421     Graham, Derek      2020 12 11   Cumulative
                                                                                                                                                                              010
     X0621          2020 12 08 Page Vault Reference and document entitled, "ClearOne Announces New BMA 360 Beamforming                                                        Graham-2421     Graham, Derek      2020 12 11   602; 901
                                 Microphone Array Ceiling Tile - Setting Unrivaled Audio Performance Standard in the Industry"                                                011
     X0622                       Screenshot of YouTube Video titled, "BMA 360"                                                                                                Graham-2421     Graham, Derek      2020 12 11   401; 402/403; 602; 901;
                                                                                                                                                                              012                                             1002
     X0623                       Article entitled, Xceed BMA                                                                                                                  Waadevig3 017 Waadevig, Paul       2021 04 01   602; 901; Technical Issue


     X0624          2016 00 00 ClearOne Beamforming Microphone Array Data Sheet                                                                                               Waadevig3 020 Waadevig, Paul       2021 04 01   401; 402/403


     X0625          2016 00 00                                                                                                        SHURE413828         SHURE413858         Weinstein4 002 Weinstein, Ira      2021 04 05   402/403; 602; 702; 802;
                                                                                                                                                                                                                              901
     X0626          2019 00 00                                                                                                        CLRONEDE-00006619   CLRONEDE-00006661   Weinstein4 003 Weinstein, Ira      2021 04 05   402/403; 602; 702; 802;
                                                                                                                                                                                                                              901
     X0627          2019 10 25                                                                                                        CLRONEDE-00006616   CLRONEDE-00006618   Weinstein4 004 Weinstein, Ira      2021 04 05   402/403; 602; 702; 802;
                                                                                                                                                                                                                              901
     X0628          2018 00 00 Competitive Overview ISE 2018 - Global Marketing                                                       SHURE707069         SHURE707087         Weinstein4 005 Weinstein, Ira      2021 04 05   402/403; 602; 702; 802;
                                                                                                                                                                                                                              901
     X0629          2017 07 18                                                                                                        CLRONE-00413006     CLRONE-00413020     Weinstein4 006 Weinstein, Ira      2021 04 05   402/403; 802


     X0630          2019 01 28 Email from ClearOne News regarding ClearOne Shure Patent Case Win Media Coverage                       CLRONEDE-00004501   CLRONEDE-00004501   Weinstein4 007 Weinstein, Ira      2021 04 05   401; 402/403
     X0631          2021 04 04 Article entitled, ClearOne Wins Patent Case Against Shure for Beamforming Technology - Commercial                                              Weinstein4 008 Weinstein, Ira      2021 04 05   401; 402/403; 602; 802;
                                 Integrator                                                                                                                                                                                   901; Technical Issue


     X0632          2019 08 06                                                                                                        BENCSIK_000087      BENCSIK_000088      Weinstein4 018 Weinstein, Ira      2021 04 05   402/403; 602; 802; 901



     X0633                       Table 10: Internal Components of the MXA910 and BMA 360 - Annotated Shure MXA910 from P Hatch                                                Hatch 014       Hatch, Paul        2021 04 06   401; 402/403; 602; 901;
                                 Opening Expert Report                                                                                                                                                                        Demonstrative;
                                                                                                                                                                                                                              Inadmissible expert report


     X0634                       Annotated ClearOne BMA 360 from P Hatch's Opening Expert Report                                                                              Hatch 015       Hatch, Paul        2021 04 06   401; 402/403; 602; 901;
                                                                                                                                                                                                                              Demonstrative;
                                                                                                                                                                                                                              Inadmissible expert report


     X0635          2014 08 05                                                                                                        SHUREDDEL00141399   SHUREDDEL00141418   Hatch 017       Hatch, Paul        2021 04 06   402/403; 602; 802; 901



                                                                                                                                 Page 10
                                        Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 100 of 555 PageID #: 56951
Trial Exhibit No.     Date                                                     Description                                         Begin Bates         End Bates           Depo. Ex. No.   Deponent            Depo. Date         C1 Objection


     X0636          2019 01 28 Email from ClearOne News (news@clearone com) regarding ClearOne Shure Patent Case Win Media         CLRONEDE-00004501   CLRONEDE-00004501   Vander Veen     Vander Veen, Thomas 2021 04 07   401; 402/403
                               Coverage                                                                                                                                    004
     X0637          2019 12 31 ClearOne's 10-K Form from U S Securities and Exchange Commission for the year ending December 31,                                           Rowe 003        Rowe, Julia         2021 04 09   402/403
                               2019
     X0638          2021 01 26 Tabs 3-9 to the Expert Report of Thomas D Vander Veen, Ph D                                                                                                                                  402/403; 702; 703
                                                                                                                                                                                                                            (improper bases for expert
                                                                                                                                                                                                                            testimony); Inadmissible
                                                                                                                                                                                                                            expert report


     X0639          2021 02 22 Tabs 1-3 to the Rebuttal Expert Report of Thomas D Vander Veen, Ph D                                                                                                                         402/403; 602; 802; 901;
                                                                                                                                                                                                                            Inadmissible expert report


     X0640          2021 03 22 Appendix A and Exhibit A to the Expert Reply Report of Paul Hatch                                                                                                                            402/403; 602; 802; 901;
                                                                                                                                                                                                                            Inadmissible expert report


     X0641                       Physical Exhibit Product Model BiAmp Parle                                                        Physical Exhibit                                                                         Physical Evaluation
                                                                                                                                                                                                                            Required
     X0642                       Physical Exhibit Product Model BiAmp Parle - packaging                                            Physical Exhibit                                                                         Physical Evaluation
                                                                                                                                                                                                                            Required
     X0643                       Physical Exhibit Product Model Sennheiser                                                         Physical Exhibit                                                                         Physical Evaluation
                                                                                                                                                                                                                            Required
     X0644                       Physical Exhibit Product Model Sennheiser - packaging                                             Physical Exhibit                                                                         Physical Evaluation
                                                                                                                                                                                                                            Required
     X0645                       Physical Exhibit Product Model MXA 910 60cm                                                       Physical Exhibit                                                                         Physical Evaluation
                                                                                                                                                                                                                            Required
     X0646                       Physical Exhibit Product Model MXA 910 60cm - packaging                                           Physical Exhibit                                                                         Physical Evaluation
                                                                                                                                                                                                                            Required
     X0647                       Physical Exhibit Product Model BMA 360                                                            Physical Exhibit                                                                         Physical Evaluation
                                                                                                                                                                                                                            Required
     X0648                       Physical Exhibit Product Model BMA 360 - packaging                                                Physical Exhibit                                                                         Physical Evaluation
                                                                                                                                                                                                                            Required
     X0649                       Physical Exhibit Product Model Stem Audio                                                         Physical Exhibit                                                                         Physical Evaluation
                                                                                                                                                                                                                            Required
     X0650                       Physical Exhibit Product Model Stem Audio - packaging                                             Physical Exhibit                                                                         Physical Evaluation
                                                                                                                                                                                                                            Required
     X0651                       Physical Exhibit Product Model MXA 910 US                                                         Physical Exhibit                                                                         Physical Evaluation
                                                                                                                                                                                                                            Required
     X0652                       Physical Exhibit Product Model MXA 910 US - packaging                                             Physical Exhibit                                                                         Physical Evaluation
                                                                                                                                                                                                                            Required
     X0653                       Physical Exhibit Product Model BMA CT (24")                                                       Physical Exhibit                                                                         Physical Evaluation
                                                                                                                                                                                                                            Required
     X0654                       Physical Exhibit Product Model BMA CT (24") - packaging                                           Physical Exhibit                                                                         Physical Evaluation
                                                                                                                                                                                                                            Required
     X0655                       Physical Exhibit Product Model MXA 910 W                                                          Physical Exhibit                                                                         Physical Evaluation
                                                                                                                                                                                                                            Required
     X0656                       Physical Exhibit Product Model MXA 910 W - packaging                                              Physical Exhibit                                                                         Physical Evaluation
                                                                                                                                                                                                                            Required
     X0657                       Physical Exhibit Product Model Yamaha                                                             Physical Exhibit                                                                         Physical Evaluation
                                                                                                                                                                                                                            Required
     X0658                       Physical Exhibit Product Model Yamaha - packaging                                                 Physical Exhibit                                                                         Physical Evaluation
                                                                                                                                                                                                                            Required
     X0659          2020 03 26                                                                                                     AUDIOBIZ_000778     AUDIOBIZ_000778                                                      402/403; 602; 802; 901




                                                                                                                             Page 11
                                        Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 101 of 555 PageID #: 56952
Trial Exhibit No.     Date                                                      Description                                          Begin Bates         End Bates         Depo. Ex. No.   Deponent   Depo. Date        C1 Objection


     X0660          2020 03 11 Declaration of Ted Collier with Exhibits 1-2, Case No 19-1343 (D Del )                                AVEX_000026         AVEX_000033                                               402/403; 602; 802; 901


     X0661          2019 05 30                                                                                                       BENCSIK_000016      BENCSIK_000017                                            401; 402/403; 602; 901


     X0662          2019 06 04                                                                                                       BENCSIK_000026      BENCSIK_000026                                            401; 402/403; 602; 901


     X0663          2019 08 06                                                                                                       BENCSIK_000087      BENCSIK_000088                                            402/403; 602; 802; 901


                                 Microphone
     X0664          2019 01 25                                                                                                       BENCSIK_000112      BENCSIK_000114                                            401; 402/403; 602; 901


     X0665          2019 08 12                                                                                                       CCS_000044          CCS_000045                                                402/403; 602; 802; 901


     X0666          2013 07 00 ClearOne White Paper, Advanced Beamforming Microphone Array Technology for Corporate Conferencing CLRONE-00000233         CLRONE-00000242                                           402/403
                               Systems
     X0667          2017 00 00 ClearOne Beamforming Microphone Array 2 data sheet                                                    CLRONE-00000249     CLRONE-00000251                                           401; 402/403; Cumulative


     X0668          2016 09 09                                                                                                       CLRONE-00132302     CLRONE-00132307                                           402/403; 802


     X0669          2015 11 04                                                                                                       CLRONE-00138158     CLRONE-00138159                                           401; 402/403


     X0670          2017 02 17 Exhibit D - Competitive Manufacturers, Effective 2017-02-17                                           CLRONE-00154573     CLRONE-00154573                                           402/403; 602; 701; 802


     X0671          2017 04 27 Email from Z Hakimoglu to E Wolffe re ClearOne patent lawsuit news                                    CLRONE-00289454     CLRONE-00289455                                           402/403


     X0672          2015 09 00 Frost & Sullivan presentation, Changing Landscape in Audio Conferencing Endpoints Market: Need for    CLRONE-00339906     CLRONE-00339939                                           402/403
                                 Smarter Work Environments Drives Demand for High-Quality Audio Conferencing Endpoints
     X0673          2017 07 18                                                                                                       CLRONE-00413006     CLRONE-00413020                                           402/403; 802



     X0674          2018 04 04 Exhibit D - Competitive Manufacturers, Effective 2018-04-04                                           CLRONE-00597647     CLRONE-00597647                                           402/403; 602; 702


     X0675          2019 03 00 ClearOne presentation, BMA CT: Beamforming Microphone Array Ceiling Tile                              CLRONE-00659320     CLRONE-00659348                                           402/403; 802


     X0676          2019 02 04 ClearOne press release, ClearOne Debuts Patented Ceiling Tile Beamforming Mic Array with a Superior   CLRONE-00665753     CLRONE-00665755
                                 Architecture for Reduced Complexity and Cost
     X0677          2014 04 18                                                                                                       CLRONE-00808302     CLRONE-00808303                                           402/403; 602; 702


     X0678          2016 06 26 ClearOne Product Portfolio and Market Opportunity                                                     CLRONE-00818269     CLRONE-00818270                                           402/403; 602


     X0679          2019 05 29                                                                                                       CLRONE-00832187     CLRONE-00832195                                           401; 402/403


     X0680          2017 09 00 Frost & Sullivan presentation, Global Audio Conferencing Endpoints Market, Forecast to 2021: The Huddle CLRONE-00839745   CLRONE-00839788                                           402/403; 602; 802
                                 Room Era Provides Growth Opportunities for Tabletop Audio Conferencing Endpoints
     X0681          2019 09 16                                                                                                       CLRONE-00882500     CLRONE-00882503                                           402/403


     X0682          2019 08 08                                                                                                       CLRONE-00882504     CLRONE-00882514                                           402/403; 802


     X0683          2019 04 29                                                                                                       CLRONE-00882524     CLRONE-00882526                                           402/403


     X0684          2019 09 05                                                                                                       CLRONE-00882632     CLRONE-00882634                                           401; 402/403


     X0685          2019 09 23                                                                                                       CLRONE-00882703     CLRONE-00882703                                           401; 402/403




                                                                                                                                Page 12
                                        Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 102 of 555 PageID #: 56953
Trial Exhibit No.     Date                                                    Description                                    Begin Bates         End Bates           Depo. Ex. No.   Deponent   Depo. Date        C1 Objection


     X0686          2019 10 22                                                                                               CLRONE-00882814     CLRONE-00882814                                             401; 402/403


     X0687          2019 09 04                                                                                               CLRONE-00882917     CLRONE-00882918                                             402/403; 802; Cumulative


     X0688          2019 09 04                                                                                               CLRONE-00882919     CLRONE-00882922                                             402/403; 802; Cumulative


     X0689          2019 09 04                                                                                               CLRONE-00882923     CLRONE-00882928                                             402/403; 802


     X0690          2019 09 04                                                                                               CLRONE-00882933     CLRONE-00882934                                             402/403; 802


     X0691          2019 09 10                                                                                               CLRONE-00882985     CLRONE-00882987                                             402/403; 602; 802


     X0692          2019 10 21                                                                                               CLRONE-00883103     CLRONE-00883105                                             402/403


     X0693          2019 10 22                                                                                               CLRONE-00883106     CLRONE-00883110                                             402/403; 802; Cumulative


     X0694          2019 10 14                                                                                               CLRONE-00883179     CLRONE-00883179                                             401; 402/403


     X0695          2019 10 21                                                                                               CLRONE-00883260     CLRONE-00883263                                             402/403; 802; Cumulative


     X0696          2019 08 06                                                                                               CLRONEDE-00000230   CLRONEDE-00000230                                           402/403


     X0697          2020 02 04                                                                                               CLRONEDE-00000494   CLRONEDE-00000495


     X0698          2019 01 28 Email from Clearone News re ClearOne Shure Patent Case Win Media Coverage                     CLRONEDE-00004501   CLRONEDE-00004501                                           402/403


     X0699          2019 02 25                                                                                               CLRONEDE-00004614   CLRONEDE-00004614                                           402/403; 802; Cumulative


     X0800          2019 04 12                                                                                               CLRONEDE-00004778   CLRONEDE-00004781                                           402/403; 802


     X0801          2019 03 16                                                                                               CLRONEDE-00005769   CLRONEDE-00005770                                           401; 402/403


     X0802          2019 00 00 Futuresource Consulting, Dedicated Audio Conferencing Hardware Market Assesment               CLRONEDE-00006619   CLRONEDE-00006661                                           402/403; 602; 802


     X0803                       ClearOne Connections Tour                                                                   CLRONEDE-00008749   CLRONEDE-00008749                                           401; 402/403; Cumulative


     X0804                       Declaration of Steven Athaide (unexecuted), Case No 19-1343 (D Del )                        CLRONEDE-00009486   CLRONEDE-00009490                                           401; 402/403; 602; 802;
                                                                                                                                                                                                             901; 1002
     X0805                       Declaration of John Scruggs with Exhibits A-B (unexecuted), Case No 19-1343 (D Del )        CLRONEDE-00009492   CLRONEDE-00009500                                           401; 402/403; 602; 802;
                                                                                                                                                                                                             901; 1002
     X0806          2019 02 04                                                                                               CLRONEDE-00011404   CLRONEDE-00011405                                           401; 402/403


     X0807          2019 02 28                                                                                               CLRONEDE-00011494   CLRONEDE-00011496                                           401; 402/403; Cumulative


     X0808          2019 05 30                                                                                               CLRONEDE-00011556   CLRONEDE-00011558                                           401; 402/403; Cumulative


     X0809          2019 08 05                                                                                               CLRONEDE-00013509   CLRONEDE-00013509                                           401; 402/403


     X0810          2020 03 11                                                                                               CLRONEDE-00013774   CLRONEDE-00013775                                           401; 402/403; Cumulative


     X0811          2019 06 30                                                                                               CLRONEDE-00013907   CLRONEDE-00013911                                           401; 402/403


     X0812          2019 08 06                                                                                               CLRONEDE-00013934   CLRONEDE-00013934                                           401; 402/403; Cumulative




                                                                                                                        Page 13
                                         Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 103 of 555 PageID #: 56954
Trial Exhibit No.     Date                                                     Description                                          Begin Bates         End Bates           Depo. Ex. No.   Deponent   Depo. Date        C1 Objection


     X0813          2020 01 13                                                                                                      CLRONEDE-00015739   CLRONEDE-00015741                                           401; 402/403


     X0814          2019 04 02                                                                                                      CLRONEDE-00015821   CLRONEDE-00015823                                           401; 402/403; Cumulative


     X0815          2019 08 29 ClearOne letter from N Narayanan re Installation of Shure MXA910 in a Drop-Ceiling Mounting          CLRONEDE-00036642   CLRONEDE-00036642                                           401; 402/403; Cumulative
                                 Configuration
     X0816                       Griffin360 chart regarding ClearOne Placements and Distributions                                   CLRONEDE-00037395   CLRONEDE-00037397                                           401; 402/403; 802


     X0817          2019 09 06 Email from E Cornell to J Budzinski re Preliminary Injunction - SHURE MX910x                         CLRONEDE-00038192   CLRONEDE-00038193                                           402/403; 802


     X0818                       Presentation on ClearOne Professional Microphones BMA 360                                          CLRONEDE-00047741   CLRONEDE-00047771                                           402/403


     X0819          2018 00 00                                                                                                      CQUENCE_000625      CQUENCE_000688                                              401; 402/403; 602; 802;
                                                                                                                                                                                                                    901
     X0820          2019 09 18                                                                                                      DEB-00001159        DEB-00001162                                                402/403; 602; 802; 901


     X0821          2019 08 12                                                                                                      DOBBS00000026       DOBBS00000026                                               402/403; 602; 802; 901;
                                                                                                                                                                                                                    Cumulative
     X0822          2019 09 13                                                                                                      DOBBS00000033       DOBBS00000033                                               402/403; 602; 802; 901;
                                                                                                                                                                                                                    Cumulative
     X0823          2019 08 06                                                                                                      DOBBS00000061       DOBBS00000062                                               402/403; 602; 802; 901;
                                                                                                                                                                                                                    Cumulative
     X0824          2019 08 15                                                                                                      DOBBS00002371       DOBBS00002371                                               402/403; 602; 802; 901;
                                                                                                                                                                                                                    Cumulative
     X0825          2019 08 12                                                                                                      EPAAV_000047        EPAAV_000047                                                402/403; 602; 802; 901;
                                                                                                                                                                                                                    Cumulative
     X0826          2019 11 05                                                                                                      EPAAV_000061        EPAAV_000065



     X0827          2019 05 17                                                                                                      HIGHWAY_0020        HIGHWAY_0020                                                401; 402/403; 602; 802;
                                                                                                                                                                                                                    901
     X0828          2019 02 21                                                                                                      HWPCO000074         HWPCO000075                                                 401; 402/403; 602; 802;
                                                                                                                                                                                                                    901; Cumulative
     X0829          2019 03 11                                                                                                      HWPCO000077         HWPCO000077                                                 401; 402/403; 602; 802;
                                                                                                                                                                                                                    901; Cumulative
     X0830          2019 08 09                                                                                                      HWPCO000145         HWPCO000149                                                 401; 402/403; 602; 802;
                                                                                                                                                                                                                    901
     X0831          2019 09 04                                                                                                      HWPCO000160         HWPCO000161                                                 401; 402/403; 602; 802;
                                                                                                                                                                                                                    901
     X0832          2019 10 09                                                                                                      MCFADDEN000451      MCFADDEN000452                                              402/403; 602; 802; 901


     X0833          2018 03 06                                                                                                      MCFADDEN000925      MCFADDEN000925                                              402/403; 602; 802; 901


     X0834          2016 08 03                                                                                                      NETFLIX_000560      NETFLIX_000561                                              402/403; 602; 802; 901


     X0835          2016 08 23                                                                                                      NETFLIX_000613      NETFLIX_000614                                              402/403; 602; 802; 901


     X0836          2020 06 09                                                                                                      PROTECH001036       PROTECH001040                                               402/403; 602; 802; 901


     X0837          2014 03 00                                                                                                      SHURE000597         SHURE000675                                                 402/403; 602; 802; 901


     X0838          2016 00 00 Illuminas, 2016 United States Audio/Video Conferencing Study with C-level IT Decision-Makers,        SHURE244551         SHURE244583                                                 402/403; 602; 702; 802;
                                 Comprehensive Report                                                                                                                                                               901; Cumulative




                                                                                                                               Page 14
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 104 of 555 PageID #: 56955
                                        Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 105 of 555 PageID #: 56956
Trial Exhibit No.     Date                                                    Description                                                Begin Bates         End Bates           Depo. Ex. No.   Deponent   Depo. Date         C1 Objection


     X0866          2020 06 17                                                                                                           TEXADIA_004008      TEXADIA_004008                                              402/403; 602; 802; 901


     X0867          2020 10 07                                                                                                           TEXASAM_017417      TEXASAM_017420                                              402/403; 602; 802; 901


     X0868          2019 02 00                                                                                                           UNIFIED_006956      UNIFIED_007018                                              402/403; 602; 802; 901


     X0869          2019 03 26                                                                                                           UNIFIED_008802      UNIFIED_008802                                              401; 402/403; 602; 802;
                                                                                                                                                                                                                         901; Cumulative
     X0870          2019 00 00                                                                                                           UNIFIED_010780      UNIFIED_010831                                              402/403; 602; 802; 901


     X0871          2019 02 05                                                                                                           UNIFIED_012085      UNIFIED_012087                                              402/403; 602; 802; 901


     X0872          2019 01 28                                                                                                           UNIFIED_013378      UNIFIED_013379                                              402/403; 602; 901


     X0873          2019 08 07                                                                                                910        UNIFIED_014481      UNIFIED_014482                                              402/403; 602; 802; 901


     X0874          2019 00 00 Clockaudio Products, Boundary                                                                             WEINSTEIN000128     WEINSTEIN000129                                             402/403; 602; 802; 901


     X0875          2017 04 00 Logitech MeetUp data sheet                                                                                WEINSTEIN000133     WEINSTEIN000134                                             401; 402/403; 602; 802;
                                                                                                                                                                                                                         901
     X0876          2019 09 10 Audinate, Dante Audio Networking Debuts at CEDIA 2019                                                     WEINSTEIN000140     WEINSTEIN000141                                             402/403; 602; 802; 901


     X0877          2019 02 27 ClearOne, ClearOne Now Shipping CONVERGE Pro 2 48VTD DSP Mixer Featuring VoIP, Telco and Dante WEINSTEIN000154                WEINSTEIN000156                                             402/403
                               Interfaces
     X0878          2017 02 00 Audinate, Dante Now Integrated in Over 1,000 Commercially Available Products                              WEINSTEIN000345     WEINSTEIN000346                                             402/403; 602; 802; 901


     X0879          2019 00 00 Biamp, Parle Beamtracking Microphones                                                                     WEINSTEIN000357     WEINSTEIN000361                                             402/403; 602; 802; 901


     X0880          2019 09 04 Commercial Integrator, AVIXA Research: Pro AV Market in Americas to Reach $112B in 2024, Trail Asia- WEINSTEIN000382          WEINSTEIN000385                                             402/403; 602; 702; 802;
                               Pacific                                                                                                                                                                                   901
     X0881          2019 00 00 Nureva HDL300 system, Advanced audio conferencing for mid-size rooms                                      WEINSTEIN000419     WEINSTEIN000424                                             402/403; 602; 802; 901


     X0882          2019 03 01 Reuters Plus, Global Pro Audio Equipment Market Size, Share, Trends and Analysis by Leading Brands,       WEINSTEIN000446     WEINSTEIN000449                                             402/403; 602; 702; 802;
                               Equipment Types, Demand, Sales and Forecast 2024                                                                                                                                          901
     X0883          2019 00 00 Sennheiser, TeamConnect Ceiling 2 Ceiling microphon                                                       WEINSTEIN000585     WEINSTEIN000591                                             402/403; 602; 802; 901


     X0884                       Sennheiser, TeamConnect Ceiling 2 Ceiling array microphone Product Specification (Preliminary)          WEINSTEIN000613     WEINSTEIN000616                                             402/403; 602; 802; 901


     X0885          2020 03 27 Affidavit in Support of Service of Process by F Schoenhofer                                               iVideo_000045       iVideo_000046


     X0886          2020 03 27 Affidavit in Support of Service of Process by T Czyzak                                                    iVideo_000049       iVideo_000050


     X0887          2019 09 16                                                                                                           CLRONE-00882500     CLRONE-00882503                                             402/403; 802


     X0888          2019 09 10                                                                                                           CLRONE-00882985     CLRONE-00882987                                             402/403; 802; Cumulative


     X0889          2019 10 21                                                                                                           CLRONE-00883103     CLRONE-00883105                                             402/403; Cumulative


     X0890          2019 10 22                                                                                                           CLRONE-00883106     CLRONE-00883110                                             402/403; 802; Cumulative


     X0891          2019 00 00 Futuresource Consulting, Dedicated Audio Conferencing Hardware Market Assesment                           CLRONEDE-00006619   CLRONEDE-00006661                                           402/403; 602; 802; 901;
                                                                                                                                                                                                                         Cumulative
     X0892                       PCB Silkscreen Top and Bottom Overlay                                                                   CLRONEDE-00047726   CLRONEDE-00047727                                           401; 402/403; Cumulative




                                                                                                                                    Page 16
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 106 of 555 PageID #: 56957
                                         Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 107 of 555 PageID #: 56958
Trial Exhibit No.     Date                                                  Description                                          Begin Bates          End Bates         Depo. Ex. No.   Deponent   Depo. Date        C1 Objection


     X2020          2019 08 12                                                                                                   CCS_000044           CCS_000045                                                402/403; 602; 802; 901;
                                                                                                                                                                                                                Cumulative
     X2021          2015 10 23                                                                                                   CLRONE-00234545      CLRONE-00234548                                           401; 402/403


     X2022          2017 04 27                                                                                                   CLRONE-00289454      CLRONE-00289455                                           401; 402/403; 802


     X2023          2016 11 12                                                                                                   CLRONE-00344892      CLRONE-00344892                                           402/403; 802


     X2024          2018 12 21                                                                                                   CLRONE-00575575      CLRONE-00575577                                           401; 402/403


     X2025          2018 10 11                                                                                                   CLRONE-00580642      CLRONE-00580643                                           401; 402/403


     X2026          2018 09 05                                                                                                   CLRONE-00582594      CLRONE-00582595                                           401; 402/403; Cumulative


     X2027          2014 12 24                                                                                                   CLRONE-00659395      CLRONE-00659398                                           402/403


     X2028          2014 02 18                                                                                                   CLRONE-00659399      CLRONE-00659412                                           402/403


     X2029          2019 02 04 ClearOne Debuts Patented Ceiling Tile Beamforming Mic Array with a Superior Architecture for Reduced CLRONE-00672472   CLRONE-00672474
                                 Complexity and Costs
     X2030          2018 04 24                                                                                                   CLRONE-00728418      CLRONE-00728418                                           401; 402/403; Cumulative


     X2031          2018 03 15                                                                                                   CLRONE-00728851      CLRONE-00728851                                           401; 402/403


     X2032          2019 01 02                                                                                                   CLRONE-00729007      CLRONE-00729010                                           401; 402/403


     X2033          2019 01 02                                                                                                   CLRONE-00729069      CLRONE-00729074                                           401; 402/403


     X2034          2020 04 13                                                                                                   CLRONE-00751750      CLRONE-00751754                                           401; 402/403; 802


     X2035          2020 04 13 Spreadsheet, ClearOne Project Registration - Communication to Dealer                              CLRONE-00756152      CLRONE-00756152                                           401; 402/403; Technical
                                                                                                                                                                                                                Issue
     X2036                       Collaborate Versa Lite CT                                                                       CLRONE-00787723      CLRONE-00787727                                           402/403; Demonstrative


     X2037                       Collaborate Versa Room CT                                                                       CLRONE-00787728      CLRONE-00787732                                           402/403; Demonstrative;
                                                                                                                                                                                                                Cumulative


     X2038          2019 05 29                                                                                                   CLRONE-00832187      CLRONE-00832195                                           401; 402/403; 802


     X2039                       Spreadsheet ( ods) with various reports                                                         CLRONE-00871577      CLRONE-00871577                                           401; 402/403; Technical
                                                                                                                                                                                                                Issue
     X2040          2020 12 02                                                                                                   CLRONE-00881514      CLRONE-00881514                                           402/403


     X2041          2019 09 16                                                                                                   CLRONE-00882500      CLRONE-00882503                                           401; 402/403; Cumulative


     X2042          2019 09 05                                                                                                   CLRONE-00882632      CLRONE-00882634                                           401; 402/403; 802


     X2043          2019 09 23                                                                                                   CLRONE-00882703      CLRONE-00882703                                           401; 402/403; 802;
                                                                                                                                                                                                                Cumulative
     X2044          2019 09 04                                                                                                   CLRONE-00882919      CLRONE-00882922                                           401; 402/403; 802;
                                                                                                                                                                                                                Cumulative
     X2045          2019 09 04                                                                                                   CLRONE-00882933      CLRONE-00882934                                           401; 402/403; 802;
                                                                                                                                                                                                                Cumulative




                                                                                                                           Page 18
                                        Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 108 of 555 PageID #: 56959
Trial Exhibit No.     Date                                                   Description                                             Begin Bates            End Bates           Depo. Ex. No.   Deponent   Depo. Date         C1 Objection


     X2046          2019 10 21                                                                                                       CLRONE-00883103        CLRONE-00883105                                             401; 402/403; 802;
                                                                                                                                                                                                                        Cumulative
     X2047          2019 10 22                                                                                                       CLRONE-00883106        CLRONE-00883110                                             401; 402/403; 802;
                                                                                                                                                                                                                        Cumulative
     X2048          2019 10 14                                                                                                       CLRONE-00883179        CLRONE-00883179                                             401; 402/403; 802;
                                                                                                                                                                                                                        Cumulative
     X2049          2019 01 28                                                                                                       CLRONEDE-00004501      CLRONEDE-00004501                                           401; 402/403


     X2050          2019 02 25                                                                                                       CLRONEDE-00004614      CLRONEDE-00004614                                           401; 402/403; 802;
                                                                                                                                                                                                                        Cumulative
     X2051          2019 03 16                                                                                                       CLRONEDE-00005769      CLRONEDE-00005770                                           401; 402/403; 802;
                                                                                                                                                                                                                        Cumulative
     X2052          2019 00 00 ClearOne Connections Tour                                                                             CLRONEDE-00008749      CLRONEDE-00008749                                           401; 402/403; Cumulative


     X2053          2019 02 04                                                                                                       CLRONEDE-00011404      CLRONEDE-00011405                                           401; 402/403


     X2054          2019 02 28                                                                                                       CLRONEDE-00011494      CLRONEDE-00011496                                           401; 402/403; Cumulative


     X2055          2019 09 06                                                                                                       CLRONEDE-00038192      CLRONEDE-00038193                                           401; 402/403; 802;
                                                                                                                                                                                                                        Cumulative
     X2056          2018 11 26                                                                                                       CLRONEDE-00041277      CLRONEDE-00041279                                           402/403; Demonstrative


     X2057          2020 00 00 ClearOne Microphones BMA 360 Audio Conferencing                                                       CLRONEDE-00047737      CLRONEDE-00047740                                           402/403; Cumulative


     X2058          2020 12 29 Spreadsheet contains various ClearOne Sales Worksheets                                                CLRONEDE-00048650      CLRONEDE-00048650                                           401; 402/403; Technical
                                                                                                                                                                                                                        Issue
     X2059          2019 08 06                                                                                                       DOBBS00000061          DOBBS00000062                                               401; 402/403; 802;
                                                                                                                                                                                                                        Cumulative
     X2060          2019 08 12                                                                                                       EPAAV_000047           EPAAV_000047                                                401; 402/403; 602; 802;
                                                                                                                                                                                                                        901; Cumulative
     X2061          2019 05 17                                                                                                       HIGHWAY_0020           HIGHWAY_0020                                                401; 402/403; 602; 802;
                                                                                                                                                                                                                        901; Cumulative
     X2062          2019 10 09                                                                                                       MCFADDEN000451         MCFADDEN000452                                              402/403; 602; 802; 901;
                                                                                                                                                                                                                        Cumulative
     X2063          2010 07 22                                                                                                       SHURE057476            SHURE057497                                                 401; 402/403; 602; 802;
                                                                                                                                                                                                                        901
     X2064          2016 04 13                                                                                                       SHURE614867            SHURE614868                                                 401; 402/403; 602; 802;
                                                                                                                                                                                                                        901
     X2065          2019 05 09 MXA910 with IntlliMix Pre-Launch Training                                                             SHURE779580            SHURE779624                                                 402/403; 602; 802; 901


     X2066                       Spreadsheet containing worksheets of MXA910 and P300-IMX Sales Summaries                            SHURE891679            SHURE891679                                                 401; 402/403; 802;
                                                                                                                                                                                                                        Technical Issue
     X2067                       Spreadsheet containing worksheets of Gross Sales Data from US, Canada, Latin America, Europe, and Asia SHURE891681         SHURE891681                                                 401; 402/403; 602; 802;
                                                                                                                                                                                                                        901; Technical Issue


     X2068          2019 12 12                                                                                                       SHUREDDEL00046679      SHUREDDEL00046680                                           402/403; 602; 802; 901


     X2069          2020 07 16                                                                                                       SHUREDDEL00129837      SHUREDDEL00129839                                           401; 402/403; 602; 802;
                                                                                                                                                                                                                        901; Cumulative
     X2070                       Spreadsheet containing worksheets of Gross Sales Data from US, Canada, Latin America, Europe, and Asia SHUREDDEL00141450   SHUREDDEL00141450                                           401; 402/403; 602; 802;
                                                                                                                                                                                                                        901; Technical Issue;
                                                                                                                                                                                                                        Cumulative
     X2071                       Spreadsheet containing worksheets of MXA910 and P300-IMX Sales Summaries                            SHUREDDEL00140688      SHUREDDEL00140688                                           402/403; 602; 802; 901;
                                                                                                                                                                                                                        Cumulative


                                                                                                                               Page 19
                                         Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 109 of 555 PageID #: 56960
Trial Exhibit No.     Date                                                     Description                                          Begin Bates          End Bates          Depo. Ex. No.   Deponent   Depo. Date        C1 Objection


     X2072          2020 06 17                                                                                                      TEXADIA_004008       TEXADIA_004008                                             402/403; 602; 802; 901;
                                                                                                                                                                                                                    Cumulative
     X2073                       Picture of ceiling unit                                                                            UILLINOIS_000081     UILLINOIS_000081                                           402/403; 602; 802; 901


     X2074                       Bencsik Associates, Inc Electronic Systems listing of coporate information and websites            BENCSIK_000001                                                                  401; 402/403; 602; 802;
                                                                                                                                                                                                                    901; Cumulative
     X2075          2019 01 16                                                                                                      CLRONE-00656438                                                                 401; 402/403


     X2076          2019 10 19 Spreadsheet with various worksheets of revenue and sales data                                        CLRONE-00659768                                                                 402/403


     X2077          2019 00 00 Spreadsheet with various Weekly Reports from April 2019 - July 2019 - Pro Voice & AV Distribution Daily CLRONE-00666924                                                              402/403
                               Visits Report
     X2078          2019 00 00 Spreadsheet with various Weekly Reports from April 2019 - July 2019 - Pro Voice & AV Distribution Daily CLRONE-00667149                                                              402/403
                               Visits Report
     X2079          2019 00 00 Spreadsheet with various Weekly Reports from April 2019 - July 2019 - Pro Voice & AV Distribution Daily CLRONE-00667189                                                              402/403
                               Visits Report
     X2080          2019 00 00 Spreadsheet with various Weekly Reports from April 2019 - July 2019 - Pro Voice & AV Distribution Daily CLRONE-00667191                                                              402/403; Cumulative
                               Visits Report
     X2081          2019 00 00 Spreadsheet with various Weekly Reports from April 2019 - July 2019 - Pro Voice & AV Distribution Daily CLRONE-00667193                                                              402/403; Cumulative
                               Visits Report
     X2082          2019 00 00 Spreadsheet with various Weekly Reports from April 2019 - July 2019 - Pro Voice & AV Distribution Daily CLRONE-00669406                                                              402/403; Cumulative
                               Visits Report
     X2083          2019 08 28 Presentation, Q2 2019 Board of Directors Meeting - Great Ideas Need to be Heard                      CLRONE-00669727                                                                 402/403; 802; Cumulative


     X2084          2019 08 28 Presentation, Board of Directors Meeting - Executive Overview - Great Ideas Need to be Heard         CLRONE-00670276                                                                 402/403; 802; Cumulative


     X2085          2019 00 00 Spreadsheet with various Weekly Reports from April 2019 - July 2019 - Pro Voice & AV Distribution Daily CLRONE-00670377                                                              402/403; Cumulative
                               Visits Report
     X2086          2019 00 00 Spreadsheet with various Weekly Reports from April 2019 - July 2019 - Pro Voice & AV Distribution Daily CLRONE-00670548                                                              402/403; Cumulative
                               Visits Report
     X2087          2019 00 00 Spreadsheet with various Weekly Reports from April 2019 - July 2019 - Pro Voice & AV Distribution Daily CLRONE-00672399                                                              402/403; Cumulative
                                 Visits Report
     X2088          2019 00 00 Spreadsheet with various Weekly Reports from April 2019 - July 2019 - Pro Voice & AV Distribution Daily CLRONE-00672625                                                              402/403; Cumulative
                               Visits Report
     X2089          2019 00 00 Spreadsheet with various Weekly Reports from April 2019 - July 2019 - Pro Voice & AV Distribution Daily CLRONE-00673210                                                              402/403; Cumulative
                               Visits Report
     X2090          2019 00 00 Spreadsheet with various Weekly Reports from April 2019 - July 2019 - Pro Voice & AV Distribution Daily CLRONE-00673218                                                              402/403; Cumulative
                               Visits Report
     X2091          2019 07 02 Presentation, Board of Directors Meeting - Executive Overview - Great Ideas Need to be Heard         CLRONE-00673368                                                                 402/403; 802; Cumulative


     X2092          2019 00 00 Spreadsheet with various Weekly Reports from April 2019 - July 2019 - Pro Voice & AV Distribution Daily CLRONE-00732518                                                              402/403; Cumulative;
                               Visits Report                                                                                                                                                                        Technical Issue
     X2093          2020 00 00 Spreadsheet with various Weekly Reports from Dec 2019 - March 2020 - Pro Voice & AV Distribution     CLRONE-00732523                                                                 402/403; Cumulative
                                 Daily Visits Report
     X2094          2020 01 27                                                                                                      CLRONE-00732524                                                                 401; 402/403


     X2095          2019 04 18                                                                                                      CLRONE-00734689                                                                 402/403


     X2096          2019 04 26                                                                                                      CLRONE-00734692                                                                 402/403


     X2097          2019 05 03                                                                                                      CLRONE-00734695                                                                 402/403; Cumulative


     X2098          2019 10 22                                                                                                      CLRONE-00828866                                                                 402/403; 802; Cumulative




                                                                                                                              Page 20
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 110 of 555 PageID #: 56961
                                        Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 111 of 555 PageID #: 56962
Trial Exhibit No.     Date                                                   Description                                                Begin Bates         End Bates           Depo. Ex. No.   Deponent   Depo. Date        C1 Objection


     X2123          2019 02 04                                                                                                          CLRONEDE-00011404   CLRONEDE-00011405                                           401; 402/403; Cumulative



     X2124          2019 02 28                                                                                                          CLRONEDE-00011494   CLRONEDE-00011496                                           401; 402/403; 802;
                                                                                                                                                                                                                        Cumulative


     X2125          2019 05 30                                                                                                          CLRONEDE-00011556   CLRONEDE-00011558                                           401; 402/403; Cumulative



     X2126          2019 08 05                                                                                                          CLRONEDE-00013509   CLRONEDE-00013509                                           401; 402/403; Cumulative



     X2127          2020 03 11                                                                                                          CLRONEDE-00013774   CLRONEDE-00013775                                           401; 402/403



     X2128          2019 08 06                                                                                                          CLRONEDE-00013934   CLRONEDE-00013934                                           401; 402/403; Cumulative



     X2129          2019 01 13                                                                                                          CLRONEDE-00015739   CLRONEDE-00015741                                           401; 402/403; Cumulative



     X2130          2019 04 02                                                                                                          CLRONEDE-00015821   CLRONEDE-00015823                                           401; 402/403; 802;
                                                                                                                                                                                                                        Cumulative


     X2131          2019 08 29 Narsi Narayanan letter regarding Installation of Shure MXA910 in a Drop-Ceiling Mounting Configuration   CLRONEDE-00036642   CLRONEDE-00036642                                           401; 402/403; Cumulative



     X2132          2019 05 17                                                                                                          HIGHWAY _0020       HIGHWAY _0020                                               401; 402/403; 602; 802;
                                                                                                                                                                                                                        901; Cumulative


     X2133          2019 01 28                                                                                                          HWPCO000048         HWPCO000051                                                 402/403; 602; 802; 901;
                                                                                                                                                                                                                        Cumulative


     X2134          2019 02 21                                                                                                          HWPCO000074         HWPCO000075                                                 402/403; 602; 802; 901;
                                                                                                                                                                                                                        Cumulative


     X2135          2019 03 11                                                                                                          HWPCO000077         HWPCO000077                                                 402/403; 602; 802; 901;
                                                                                                                                                                                                                        Cumulative


     X2136          2019 04 11                                                                                                          SECOM_000340        SECOM_000343                                                402/403; 602; 802; 901



     X2137          2020 06 01 Shure MXA910 with IntelliMix, https://www shure com/en-US/products/microphones/mxa910 (June 1, 2020) SHURE891638             SHURE891647                                                 402/403; 602; 802; 901



     X2138          2014 08 13                                                                                                          SHUREDDEL00001296   SHUREDDEL00001301                                           402/403; 602; 802; 901



     X2139          2014 04 16                                                                                                          SHUREDDEL00052410   SHUREDDEL00052416                                           402/403; 602; 802; 901;
                                                                                                                                                                                                                        Cumulative


     X2140          2014 08 13                                                                                                          SHUREDDEL00052431   SHUREDDEL00052432                                           602; 802; 901




                                                                                                                                 Page 22
                                         Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 112 of 555 PageID #: 56963
Trial Exhibit No.     Date                                                     Description                                         Begin Bates         End Bates           Depo. Ex. No.   Deponent   Depo. Date         C1 Objection


     X2141          2014 08 14                                                                                                     SHUREDDEL00052442   SHUREDDEL00052442                                           602; 802; 901



     X2142          2014 08 05                                                                                                     SHUREDDEL00124754   SHUREDDEL00124754                                           602; 802; 901; Cumulative



     X2143          2014 08 05                                                                                                     SHUREDDEL00141398   SHUREDDEL00141398                                           602; 802; 901; Cumulative



     X2144          2019 08 09                                                                                                     UNIFIED_006470      UNIFIED_006473                                              402/403; 602; 802; 901



     X2145          2019 03 26                                                                                                     UNIFIED_008802      UNIFIED_008802                                              401; 402/403; 602; 802;
                                                                                                                                                                                                                   901; Cumulative


     X2146          2013 07 00 ClearOne White Paper, Advanced Beamforming Microphone Array Technology for Corporate Conferencing CLRONE-00000233       CLRONE-00000242                                             401; 402/403; Cumulative
                               Systems
     X2147          2016 11 00 Modern Meeting Rooms, Conferencing Mics and Systems by B Liles, SVCONLINE COM                       CLRONE-00129707     CLRONE-00129713                                             402/403; 602; 802


     X2148          2017 05 01                                                                                                     CLRONE-00164003     CLRONE-00164009                                             401; 402/403


     X2149          2012 08 23                                                                                                     CLRONE-00023545     CLRONE-00023556                                             401; 402/403; 802


     X2150          2017 07 18                                                                                                     CLRONE-00413006     CLRONE-00413020                                             401; 402/403; 802;
                                                                                                                                                                                                                   Cumulative
     X2151          2014 03 00 Shure MX net (Project: Olympus) Developmenet Panel presentation                                     SHURE000597         SHURE000675                                                 402/403; 602; 802; 901


     X2152                                                                                                                         SHURE250900         SHURE250902                                                 401; 402/403; 602; 802;
                                                                                                                                                                                                                   901
     X2153          2017 07 18                                                                                                     SHURE353101         SHURE353102                                                 401; 402/403; 602; 802;
                                                                                                                                                                                                                   901
     X2154                       Picture of Shure ceiling speaker                                                                  SHURE779672                                                                     402/403; 602; 802; 901;
                                                                                                                                                                                                                   Cumulative
     X2155          2019 11 19 Clockaudio, Products, Boundary                                                                      WEINSTEIN000128     WEINSTEIN000129                                             401; 402/403; 602; 802;
                                                                                                                                                                                                                   901; Cumulative
     X2156          2017 04 00 Logitech Super-Wide Field of View for Small Spaces, Logitech Meetup                                 WEINSTEIN000133     WEINSTEIN000134                                             401; 402/403; 602; 802;
                                                                                                                                                                                                                   901; Cumulative
     X2157          2019 09 10 Dante Audio Networking Debuts at CEDIA 2019                                                         WEINSTEIN000140     WEINSTEIN000141                                             401; 402/403; 602; 802;
                                                                                                                                                                                                                   901; Cumulative
     X2158          2019 02 27 ClearOne Now Shipping CONVERGE Pro 2 48VTD DSP Mixer Featuring VoIP, Telco and Dante Interfaces WEINSTEIN000154         WEINSTEIN000156                                             401; 402/403; 802;
                                                                                                                                                                                                                   Cumulative
     X2159          2019 11 04 Zoom Enchances Interoperability with Zoom Rooms Direct Guest Join Capability for Microsoft Teams    WEINSTEIN000184     WEINSTEIN000186                                             401; 402/403; 602; 802;
                               Meetings - Zoom Blog                                                                                                                                                                901; Cumulative
     X2160          2017 08 00 Global Audio Conferencing Endpoints Market, Forecast to 2021, Frost & Sullivan                      WEINSTEIN000202     WEINSTEIN000213                                             401; 402/403; 702; 802;
                                                                                                                                                                                                                   Cumulative
     X2161          2018 04 19 CEO Refuses to Pay for Frost & Sullivan Award                                                       WEINSTEIN000218     WEINSTEIN000223                                             401; 402/403; 602; 802;
                                                                                                                                                                                                                   901
     X2162          2015 03 11 Cisco and Microsoft Extend Relationship with New Cloud Platform                                     WEINSTEIN000257     WEINSTEIN000260                                             401; 402/403; 602; 802;
                                                                                                                                                                                                                   901
     X2163          2019 09 13 The Pulse - Q2 2019 - Hardware Video Conferencing Solutions                                         WEINSTEIN000271     WEINSTEIN000273                                             402/403; 602; 702; 802;
                                                                                                                                                                                                                   901
     X2164          2019 01 11 Spreadsheet: Shure Customer Price List                                                              WEINSTEIN000297     WEINSTEIN000297                                             401; 402/403; 602; 802;
                                                                                                                                                                                                                   901
     X2165                       Acoustic Design Guide, Rooms for Video Conferences, Marshall Day Acoustics                        WEINSTEIN000312     WEINSTEIN000322                                             401; 402/403; 602; 802;
                                                                                                                                                                                                                   901

                                                                                                                              Page 23
                                         Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 113 of 555 PageID #: 56964
Trial Exhibit No.      Date                                                    Description                                                    Begin Bates         End Bates           Depo. Ex. No.   Deponent   Depo. Date         C1 Objection


     X2166          2019 11 21 Architectural Acoustics - Acceptable Room Sounds Levels - archtoolbox com                                      WEINSTEIN000335     WEINSTEIN000340                                             401; 402/403; 602; 802;
                                                                                                                                                                                                                              901
     X2167          2017 00 00 Dante Now Integrated in Over 1,000 Commercially Available Products - Audinate                                  WEINSTEIN000345     WEINSTEIN000346                                             402/403; 602; 802; 901


     X2168          2019 00 00 Parle TCM-X Ceiling Beamtracking Microphones                                                                   WEINSTEIN000357     WEINSTEIN000361                                             401; 402/403; 602; 802;
                                                                                                                                                                                                                              901
     X2169          2019 00 00 Sennheiser TeamConnect Ceiling Mic 2 Microphone - 507488 - Microphones & Accessories - CDW com                 WEINSTEIN000364     WEINSTEIN000367                                             402/403; 602; 802; 901


     X2170          2019 09 04 AVIXA Research: Pro AV Market in Americas to Reach $112B in 2024, Trail Asia-Pacific                           WEINSTEIN000382     WEINSTEIN000385                                             402/403; 602; 702; 802;
                                                                                                                                                                                                                              901
     X2171          2019 00 00 Event Info - InfoComm 2020 - The Audiovisual and Integrated Experience Event, June 13-19, 2020, Las            WEINSTEIN000400     WEINSTEIN000402                                             401; 402/403; 602; 802;
                               Vegas, Nevada                                                                                                                                                                                  901
     X2172          2019 00 00 Advanced audio conferencing for mid-size rooms, Nureva HDL300                                                  WEINSTEIN000419     WEINSTEIN000424                                             402/403; 602; 802; 901


     X2173          2019 03 01 Global Pro Audio Equipment Market Size, Share, Trends and Analysis by Leading Brands, Equipment                WEINSTEIN000446     WEINSTEIN000449                                             402/403; 602; 702; 802;
                               Types, Demand, Sales and Forecast 2024                                                                                                                                                         901
     X2174          2019 00 00 TeamConnect Ceiling 2 Ceiling microphon - Sennheiser                                                           WEINSTEIN000585     WEINSTEIN000591                                             402/403; 602; 802; 901


     X2175                       TeamConnect Ceiling 2 Ceiling array microphone, product specification                                        WEINSTEIN000613     WEINSTEIN000616                                             402/403; 602; 802; 901;
                                                                                                                                                                                                                              Cumulative
     X2176          2015 00 00 QSC brings Dante into Q-Sys                                                                                    WEINSTEIN000637     WEINSTEIN000639                                             402/403; 602; 802; 901


     X2177          2017 03 22                                                                                                                ZURICH 0024         ZURICH 0026                                                 401; 402/403; 602; 802;
                                                                                                                                                                                                                              901
     X2178                       Loudspeakers, Spot SoundMasking Speaker with Noise Generator by Valcom                                       CLRONEDE-00008001   CLRONEDE-00008001


     X2179                       Spot Soundmasking Ceiling Speaker Model V-9422 by Valcom - Technical Specification                           CLRONEDE-00007999   CLRONEDE-00008000


     X2180          2010 00 00 Lay-in Tile Packaged Speaker System specifications by Lowell                                                   CLRONEDE-00007991   CLRONEDE-00007992


     X2181          2020 05 13 Speedi-Grille TB-Pra 10 24-inch by 24-inch White Drop Ceiling T-Bar Perforated Face Return Air Vent            CLRONEDE-00007726   CLRONEDE-00007730
                               Grille with a 10-inch Collar - Heating Vents on Amazon com
     X2182          2020 05 13 Amazon com: Lay-In Ceiling Mount Speaker (5Q, 25/75V): Home Audio & Theater                                    CLRONEDE-00007672   CLRONEDE-00007675


     X2183          2013 08 19 AMK - Innovators In High Performance Commerical Loudspeaker System                                             CLRONEDE-00007637   CLRONEDE-00007639


     X2184          2012 04 22 CSD2X2/CSD2X2VR/CSD2X2L Image                                                                                  CLRONEDE-00007654   CLRONEDE-00007655


     X2185          2015 02 17 Extron Ceiling Speakers - SF 228T                                                                              CLRONEDE-00007710   CLRONEDE-00007711


     X2186          2018 06 05 Ex 4 to Declaration of P Hatch ISO Plaintiff's Opening Claim Construction Brief (D I 238): U S Patent                                                                                          Technical Issue
                               No D819,607 (Chui et al )
     X2187          2015 02 22 Ex 5 to Declaration of P Hatch ISO Plaintiff's Opening Claim Construction Brief (D I 238): Audix                                                                                               402/403; 602; 802; 901
                               Microphones - Installed Sound Microphone - Tri-Element Ceiling Mircophone
     X2188          2012 03 00 Ex 6 to Declaration of P Hatch ISO Plaintiff's Opening Claim Construction Brief (D I 238): ClearOne                                                                                            401; 402/403; Technical
                               Beamforming Microphone Array                                                                                                                                                                   Issue
     X2189          2020 04 21 Ex 7 to Declaration of P Hatch ISO Plaintiff's Opening Claim Construction Brief (D I 238): Sennheiser                                                                                          402/403; 602; 802; 901
                               TeamConnect C2 Mounting Configurations
     X2190          2020 04 14 Exhibits 1-25 to Ex F (D I No 154) P Hatch's Declaration Opening Brief In Support of Plaintiffs' Motion                                                                                        402/403; Cumulative;
                                 for Preliminary Injunction & Limited Temporary Restraining Order                                                                                                                             Inadmissible expert report;
                                                                                                                                                                                                                              Technical Issue
     X2191          2020 01 03 ClearOne, Inc 's Objections and Responses to Shure Incorporated and Shure Acquisition Holdings, Inc 's First                                                                                   106; 402/403; 602; 901
                                 Set of Interrogatories (Nos 1-12)



                                                                                                                                     Page 24
                                         Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 114 of 555 PageID #: 56965
Trial Exhibit No.      Date                                                      Description                                                    Begin Bates         End Bates           Depo. Ex. No.   Deponent   Depo. Date        C1 Objection


     X2192          2020 02 18 ClearOne, Inc 's Supplemental Objections and Responses to Shure Incorporated and Shure Acquisition                                                                                               106; 402/403; 602; 901
                               Holdings, Inc 's First Set of Interrogatories (Nos 1-12) - Highly Confidential - Attorneys' Eyes Only
     X2193          2020 04 01 ClearOne, Inc 's Second Supplemental Objections and Responses to Shure Incorporated and Shure                                                                                                    402/403; 602; 901
                                Acquisition Holdings, Inc 's First Set of Interrogatories (No 3) - Highly Confidential - Attorneys' Eyes Only


     X2194          2020 05 01 ClearOne, Inc 's Objections and Responses to Shure Incorporated and Shure Acquisition Holdings, Inc 's                                                                                           106; 402/403; 602; 901
                               Second Set of Interrogatories (Nos 13-17)
     X2195          2020 05 22 ClearOne, Inc 's Supplemental Objections and Responses to Shure Incorporated and Shure Acquisition                                                                                               402/403; 602; 901
                                Holdings, Inc 's First Set of Interrogatories (Nos 4, 5, 6, 12) - Highly Confidential - Attorneys' Eyes Only


     X2196          2020 06 22 ClearOne, Inc 's Objections and Responses to Shure Incorporated and Shure Acquisition Holdings, Inc 's                                                                                           402/403
                               Third Set of Interrogatories (Nos 18-19)
     X2197          2020 07 14 ClearOne, Inc 's Second Supplemental Objections and Responses to Shure Incorporated and Shure                                                                                                    106; 402/403; 602; 901
                                Acquisition Holdings, Inc 's First Set of Interrogatories (No 12) - Highly Confidential - Attorneys' Eyes
                               Only
     X2198          2020 07 14 ClearOne, Inc 's Supplemental Objections and Responses to Shure Incorporated and Shure Acquisition                                                                                               402/403; 602; 901
                                Holdings, Inc 's Second Set of Interrogatories (Nos 16 & 17) - Highly Confidential - Attorneys' Eyes Only


     X2199          2020 08 07 ClearOne, Inc 's Objections and Responses to Shure Incorporated and Shure Acquisition Holdings, Inc 's                                                                                           106; 402/403; 602; 901
                               Fourth Set of Interrogatories (Nos 20-21) - Highly Confidential - Attorneys' Eyes Only
     X2200          2020 09 18 ClearOne, Inc 's First Supplemental Objections and Responses to Shure Incorporated and Shure Acquisition                                                                                         402/403; 602; 901
                               Holdings, Inc 's Interrogatories (No 20) - Highly Confidential - Attorneys' Eyes Only
     X2201          2020 11 16 ClearOne, Inc 's Objections and Responses to Shure Incorporated and Shure Acquisition Holdings, Inc 's                                                                                           402/403; 602; 901
                               Fifth Set of Interrogatories (Nos 22-25)
     X2202          2020 11 23 ClearOne, Inc 's Supplemental Objections and Responses to Shure Incorporated and Shure Acquisition                                                                                               402/403; 602; 901
                               Holdings, Inc 's Fourth Set of Interrogatories (No 21)
     X2203          2020 04 23 ClearOne, Inc 's Second Supplemental Objections and Responses to Shure Incorporated and Shure                                                                                                    402/403
                                Acquisition Holdings, Inc 's Second Set of Interrogatories (No 17) - Highly Confidential - Attorneys' Eyes
                               Only
     X2204          2018 03 00 Letter from Dr Zec to P Wilkie regarding Red Dot Award                                                           SHUREDDEL00004874   SHUREDDEL00004874                                           402/403; 602; 802; 901


     X2205          2018 00 00 Red Dot Design Awards 2018 Press Release                                                                         SHUREDDEL00050013   SHUREDDEL00050014                                           402/403; 602; 802; 901


     X2206          2019 00 00 2019 Infocomm Daily - Day One                                                                                    SHUREDDEL00050015   SHUREDDEL00050128                                           402/403; 602; 802; 901


     X2207          2019 06 12 Sound & Communcations - Changes In Auditorium Uses and Auditorium AV: Networked and Immersive                    SHUREDDEL00050129   SHUREDDEL00050270                                           402/403; 602; 802; 901


     X2208          2018 06 07 Ex 2008 - Shure Wins Two Red Dot Design Awards In 2018 - Lighting&Sound America -                                SHUREDDEL00050271   SHUREDDEL00050271                                           402/403; 602; 802; 901
                               www Lightingandsoundamerica Com
     X2209          2016 06 08 Ex 2002 - 52 Best Products Of 2016 - Commercial Integrator - www Commercialintegrator Com                        SHUREDDEL00050272   SHUREDDEL00050272                                           402/403; 602; 802; 901


     X2210          2019 06 14 Ex 2009 - Sound & Video Contractor Announces Best Of Show Infocomm 2019 Awards -                                 SHUREDDEL00050273   SHUREDDEL00050273                                           402/403; 602; 802; 901
                               www Svconline Com
     X2211          2017 03 03 Ex 2005 - Nsca Announces 2017 Excellence In Product Innovation Award Winners - Www Nsca Org                      SHUREDDEL00050274   SHUREDDEL00050274                                           402/403; 602; 802; 901


     X2212          2017 02 12 Ex 2004 - 15 Products Win Top New Technology (Tnt) @ Ise Award - My Techdecisio -                                SHUREDDEL00050275   SHUREDDEL00050275                                           402/403; 602; 802; 901
                               Mytechdecisions Com
     X2213          2017 00 00 Ex 2006 - Winners 2017 Installawards - Www Nbmevents Uk                                                          SHUREDDEL00050276   SHUREDDEL00050276                                           402/403; 602; 802; 901


     X2214          2019 08 07 Ex 2011 - The Best Of Infocomm 2019 Awards – Rave [Pubs] - www Ravepubs Com                                      SHUREDDEL00050277   SHUREDDEL00050277                                           402/403; 602; 802; 901


     X2215          2016 07 11 Ex 2003 - Infocomm Best Of Show Awards 2016                                                                      SHUREDDEL00050278   SHUREDDEL00050290                                           402/403; 602; 802; 901


     X2216          2019 06 03 Ex 2010 - Here Are The Winners Of The 2019 Rave Readers’ Choice Awards! – Rave -                                 SHUREDDEL00050291   SHUREDDEL00050291                                           402/403; 602; 802; 901
                                www Ravepubs Com

                                                                                                                                         Page 25
                                         Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 115 of 555 PageID #: 56966
Trial Exhibit No.     Date                                                   Description                                               Begin Bates         End Bates           Depo. Ex. No.   Deponent   Depo. Date        C1 Objection


     X2217          2017 03 08 Ex 2007 - Shure Wins Three Awards At Ise 2017 - www Shure Com                                           SHUREDDEL00050292   SHUREDDEL00050292                                           402/403; 602; 802; 901


     X2218          2016 06 08 52 Best Products Of 2016 - Commercial Integrator                                                        SHUREDDEL00050293   SHUREDDEL00050299                                           402/403; 602; 802; 901


     X2219          2016 06 10 3rd Annual Best Of Infocomm Winners                                                                     SHUREDDEL00050300   SHUREDDEL00050306                                           402/403; 602; 802; 901


     X2220          2016 06 15 Show Central News New Products From Infocomm 2016 - Prosoundweb                                         SHUREDDEL00050307   SHUREDDEL00050310                                           402/403; 602; 802; 901


     X2221          2016 04 08 Watch Shure Microflex Advance Table And Ceiling Mic Briefing In Nyc - My Techde                         SHUREDDEL00050311   SHUREDDEL00050319                                           402/403; 602; 802; 901


     X2222          2016 07 20 Advice And Reflections On The Best Of Infocomm 2016 -- Campus Technology                                SHUREDDEL00050320   SHUREDDEL00050323                                           402/403; 602; 802; 901


     X2223          2016 08 11 Shure Now Shipping Microflex Advance Microphones                                                        SHUREDDEL00050324   SHUREDDEL00050328                                           402/403; 602; 802; 901


     X2224          2016 09 02 Live From The Us Open In Year 2 Of Rights Deal, Espn Looks To Refine, Enhance P                         SHUREDDEL00050329   SHUREDDEL00050338                                           401; 402/403; 602; 802;
                                                                                                                                                                                                                       901
     X2225          2016 11 17 28 Products Redefining Meeting Spaces - Commercial Integrator                                           SHUREDDEL00050339   SHUREDDEL00050344                                           402/403; 602; 802; 901


     X2226          2016 11 28 Creating Conference Room Standards For Av – Rave [Pubs]                                                 SHUREDDEL00050345   SHUREDDEL00050351                                           402/403; 602; 802; 901


     X2227          2016 07 13 The Best Of Infocomm 2016 Awards Are Announced – Rave [Pubs]                                            SHUREDDEL00050352   SHUREDDEL00050358                                           402/403; 602; 802; 901


     X2228          2016 06 16 Minimalistic & Modern_ Infocomm Booth Designs Hint At Trends To Come (And Stay)                         SHUREDDEL00050359   SHUREDDEL00050365                                           402/403; 602; 802; 901;
                                                                                                                                                                                                                       Technical Issue
     X2229          2017 01 10 Shure Microflex Integrated Into Q-Sys                                                                   SHUREDDEL00050366   SHUREDDEL00050369                                           402/403; 602; 802; 901


     X2230          2017 02 12 15 Products Win Top New Technology (Tnt) @ Ise Award - My Techdecisions                                 SHUREDDEL00050370   SHUREDDEL00050377                                           402/403; 602; 802; 901


     X2231          2017 03 06 Santa Clara University Refreshes Graduate School Of Business Classrooms With Shure - Prosoundweb        SHUREDDEL00050378   SHUREDDEL00050387                                           402/403; 602; 802; 901;
                                                                                                                                                                                                                       Technical Issue
     X2232          2017 03 20 18 Av Products Fit For The Network Answering All Your Nodes’ Needs With Solid Av Avnetwork              SHUREDDEL00050388   SHUREDDEL00050411                                           401; 402/403; 602; 802;
                                                                                                                                                                                                                       901; Technical Issue


     X2233          2017 04 04 Preparing For The Collaborative Classrooms Of Tomorrow _ Avnetwork                                      SHUREDDEL00050412   SHUREDDEL00050429                                           401; 402/403; 602; 802;
                                                                                                                                                                                                                       901; Technical Issue


     X2234          2017 03 23 Shure Provides Microphones Inside Jailhouse Walls For Reality Show 60 Days In                           SHUREDDEL00050430   SHUREDDEL00050440                                           401; 402/403; 602; 802;
                                                                                                                                                                                                                       901; Technical Issue


     X2235          2016 02 10 Shure Lays Its Cards On Table    And Ceiling With Microflex Advance - Commercial                        SHUREDDEL00050441   SHUREDDEL00050449                                           402/403; 602; 802; 901


     X2236          2019 07 17 Shure'S MXA910 Ceiling Mic                                                                              SHUREDDEL00050450   SHUREDDEL00050453                                           402/403; 602; 802; 901


     X2237          2018 02 22 Aesthetics, Part The First — Minimalism And The Tyranny Of The Black Rectangle – Rave [Pubs]            SHUREDDEL00050454   SHUREDDEL00050459                                           402/403; 602; 802; 901


     X2238          2018 06 07 Shure Wins Two Red Dot Design Awards In 2018 - Lighting&Sound America Online - News                     SHUREDDEL00050460   SHUREDDEL00050460                                           402/403; 602; 802; 901;
                                                                                                                                                                                                                       Cumulative
     X2239          2018 08 24 Shure’s New Experience Center Showcases Av Products In Action Avnetwork                                 SHUREDDEL00050461   SHUREDDEL00050474                                           401; 402/403; 602; 802;
                                                                                                                                                                                                                       901; Cumulative; Technical
                                                                                                                                                                                                                       Issue
     X2240          2018 09 06 Building Values, Culture & Relationships                                                                SHUREDDEL00050475   SHUREDDEL00050485                                           401; 402/403; 602; 802;
                                                                                                                                                                                                                       901
     X2241          2019 06 13 Infocomm 2019 Chris Lyons Of Shure Focuses On Mxa910 Ceiling Array Mic With Intellimix Dsp – Rave       SHUREDDEL00050486   SHUREDDEL00050488                                           106; 401; 402/403; 602;
                                [Pubs]                                                                                                                                                                                 802; 901



                                                                                                                                  Page 26
                                       Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 116 of 555 PageID #: 56967
Trial Exhibit No.     Date                                                   Description                                       Begin Bates         End Bates           Depo. Ex. No.   Deponent   Depo. Date         C1 Objection


     X2242          2019 06 13 Shure Is Making Audio The Number One Priority At Infocomm 2019 - Youtube                        SHUREDDEL00050489   SHUREDDEL00050491                                           106; 402/403; 602; 802;
                                                                                                                                                                                                               901
     X2243          2020 05 14 1st Day Of Infocomm 2019                                                                        SHUREDDEL00050492   SHUREDDEL00050492                                           106; 402/403; 602; 802;
                                                                                                                                                                                                               901
     X2244          2019 05 22 Previewing Infocomm 2019 With Shure - Avnation                                                  SHUREDDEL00050493   SHUREDDEL00050498                                           106; 401; 402/403; 602;
                                                                                                                                                                                                               802; 901
     X2245          2019 06 14 Shure Unveils Mxa910 With Intellimix Dsp At Infocomm 2019 - Broadcastpro Me                     SHUREDDEL00050499   SHUREDDEL00050506                                           402/403; 602; 802; 901;
                                                                                                                                                                                                               Technical Issue
     X2246          2019 06 14 Sound Video Contractor Announces Best Of Show Infocomm 2019 Awards - Sound Vi                   SHUREDDEL00050507   SHUREDDEL00050513                                           401; 402/403; 602; 802;
                                                                                                                                                                                                               901; Technical Issue


     X2247          2019 06 15 Infocomm 2019 Shure Adds Intellimixdsp                                                          SHUREDDEL00050514   SHUREDDEL00050516                                           401; 402/403; 602; 802;
                                                                                                                                                                                                               901
     X2248          2019 06 18 Infocomm 2019 Big Sound For Sports Is Big Business                                              SHUREDDEL00050517   SHUREDDEL00050522                                           401; 402/403; 602; 802;
                                                                                                                                                                                                               901
     X2249          2019 06 12 2019 Best Awards The 46 Winning Av Products In Every Category - Commercial Inte                 SHUREDDEL00050523   SHUREDDEL00050531                                           401; 402/403; 602; 802;
                                                                                                                                                                                                               901
     X2250          2020 05 14 Microflex Gets Smarter At Infocomm 2019 Pro Avl Asia                                            SHUREDDEL00050532   SHUREDDEL00050534                                           402/403; 602; 802; 901


     X2251          2019 06 14 Sound Video Contractor Announces Best Of Show Infocomm 2019 Awards - Sound                      SHUREDDEL00050535   SHUREDDEL00050541                                           401; 402/403; 602; 802;
                                                                                                                                                                                                               901; Cumulative; Technical
                                                                                                                                                                                                               Issue
     X2252          2019 06 03 Here Are The Winners Of The 2019 Rave Readers’ Choice Awards! – Rave [Pubs]                     SHUREDDEL00050542   SHUREDDEL00050546                                           401; 402/403; 602; 802;
                                                                                                                                                                                                               901
     X2253          2019 08 07 The Best Of Infocomm 2019 Awards – Rave [Pubs]                                                  SHUREDDEL00050547   SHUREDDEL00050555                                           401; 402/403; 602; 802;
                                                                                                                                                                                                               901; Cumulative
     X2254          2016 04 22 Proav@Nab Best Of Show Winners                                                                  SHUREDDEL00050556   SHUREDDEL00050560                                           401; 402/403; 602; 802;
                                                                                                                                                                                                               901; Technical Issue


     X2255          2016 06 10 3rd Annual Best Of Infocomm Winners                                                             SHUREDDEL00050561   SHUREDDEL00050567                                           401; 402/403; 602; 802;
                                                                                                                                                                                                               901; Technical Issue


     X2256          2020 00 00 Winners 2017 - Av Awards                                                                        SHUREDDEL00050568   SHUREDDEL00050571                                           401; 402/403; 602; 802;
                                                                                                                                                                                                               901
     X2257          2018 00 00 Winners 2017 Installawards                                                                      SHUREDDEL00050572   SHUREDDEL00050574                                           401; 402/403; 602; 802;
                                                                                                                                                                                                               901
     X2258          2017 02 07 2nd Annual Top New Technology (TNT) @ Ise 2017 Award Winners Announced - Commer                 SHUREDDEL00050575   SHUREDDEL00050582                                           401; 402/403; 602; 802;
                                                                                                                                                                                                               901
     X2259          2017 06 13 SCN and Rental Staging Announce 2017 Infocomm Award Winners - Avnetworkcom                      SHUREDDEL00050583   SHUREDDEL00050587                                           401; 402/403; 602; 802;
                                                                                                                                                                                                               901
     X2260          2016 06 13 Government video - Government Video Announces Recipients of 2016 Infocomm16                     SHUREDDEL00050588   SHUREDDEL00050589                                           401; 402/403; 602; 802;
                                                                                                                                                                                                               901
     X2261          2016 06 08 52 Best Products of 2016 - Commercial Integrator                                                SHUREDDEL00050590   SHUREDDEL00050596                                           401; 402/403; 602; 802;
                                                                                                                                                                                                               901; Cumulative
     X2262          2017 03 03 NSCA Announces 2017 Excellence In Product Innovation Award Winners                              SHUREDDEL00050597   SHUREDDEL00050600                                           401; 402/403; 602; 802;
                                                                                                                                                                                                               901
     X2263          2017 09 30 Presenting Our Av News Awards 2017 Winners!                                                     SHUREDDEL00050601   SHUREDDEL00050609                                           401; 402/403; 602; 802;
                                                                                                                                                                                                               901
     X2264          2018 06 07 Lighting & Sound America - Shure Wins Two Red Dot Design Awards In 2018 Digital Edition:        SHUREDDEL00050610   SHUREDDEL00050610                                           401; 402/403; 602; 802;
                                                                                                                                                                                                               901; Cumulative
     X2265          2019 00 00 Video: Previewing Infocomm 2019 With Shure (Mp4)                                                SHUREDDEL00050611   SHUREDDEL00050611                                           401; 402/403; 602; 802;
                                                                                                                                                                                                               901
     X2266          2019 00 00 Video: Shure Is Making Audio The Number One Priority At Infocomm 2019 (Mp4)                     SHUREDDEL00050612   SHUREDDEL00050612                                           401; 402/403; 602; 802;
                                                                                                                                                                                                               901



                                                                                                                          Page 27
                                        Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 117 of 555 PageID #: 56968
Trial Exhibit No.      Date                                                   Description                                                  Begin Bates         End Bates           Depo. Ex. No.   Deponent   Depo. Date         C1 Objection


     X2267          2019 06 12- Video: 1St Day Of Infocomm 2019 (Mp4)                                                                      SHUREDDEL00050613   SHUREDDEL00050613                                           401; 402/403; 602; 802;
                        14                                                                                                                                                                                                 901
     X2268          2019 06 12- Video: Infocomm 2019 Chris Lyons Of Shure Focuses On Mxa910 Ceiling Array Mic With Intellimix Dsp          SHUREDDEL00050614   SHUREDDEL00050614                                           402/403; 602; 802; 901
                        14     (Mp4)
     X2269          2019 07 04 KPMG Enjoys Better Meetings With Shure Voice Lift                                                           SHUREDDEL00050615   SHUREDDEL00050620                                           401; 402/403; 602; 802;
                                                                                                                                                                                                                           901
     X2270          2019 09 03 Sounds Like A Winner, AV Magazine                                                                           SHUREDDEL00050621   SHUREDDEL00050629                                           401; 402/403; 602; 802;
                                                                                                                                                                                                                           901
     X2271          2019 06 12- Video: Infocomm 2019 Shure Adds Intellimixdsp To Mxa910 Ceiling Array Microphone (Mp4)                     SHUREDDEL00050630   SHUREDDEL00050630                                           402/403; 602; 802; 901
                        14
     X2272          2019 02 10 Desk Mics Go Beyond The Operational Ceiling, AV Magazine                                                    SHUREDDEL00050631   SHUREDDEL00050637                                           401; 402/403; 602; 802;
                                                                                                                                                                                                                           901
     X2273          2019 06 11 Institute of Acoustics Selects Shure Microflex Advance Mics For Voice Lift                                  SHUREDDEL00050638   SHUREDDEL00050643                                           401; 402/403; 602; 802;
                                                                                                                                                                                                                           901
     X2274          2020 00 00 Interbee 2016 Shure Microflex Advance Mxa910 - A Mic Array For Your Ceiling                                 SHUREDDEL00050644   SHUREDDEL00050650                                           401; 402/403; 602; 802;
                                                                                                                                                                                                                           901
     X2275          2019 07 22 Spinitar Meeting Room Overhaul Helps Customers And Employees - Commercial Integ                             SHUREDDEL00050651   SHUREDDEL00050661                                           401; 402/403; 602; 802;
                                                                                                                                                                                                                           901
     X2276          2018 02 26 Microphone Systems Six Of The Best Wired And Wireless Options                                               SHUREDDEL00050662   SHUREDDEL00050672                                           401; 402/403; 602; 802;
                                                                                                                                                                                                                           901; Technical Issue


     X2277          2020 00 00 Shure History                                                                                               SHUREDDEL00125818   SHUREDDEL00125821                                           401; 402/403; 602; 802;
                                                                                                                                                                                                                           901
     X2278                      Product Photos                                                                                                                                                                             401; 402/403; 602; 802;
                                                                                                                                                                                                                           901; Demonstrative;
                                                                                                                                                                                                                           Technical Issue


     X2279          2019 10 01 Declaration of Derek Graham In Support of Defendant ClearOne, Inc 's Motion to Transfer Venue (D I No                                                                                       402/403
                               32)
     X2280          2019 10 01 Declaration of Narsi Narayanan In Support of Defendant ClearOne, Inc 's Motion to Transfer Venue (D I                                                                                       401; 402/403
                               No 33)
     X2281          2019 10 01 Declaration of Jim Mergens In Support of Defendant ClearOne, Inc 's Motion to Transfer Venue with                                                                                           401; 402/403
                               Exhibits 1-4 (D I No 34) - Filed Under Seal
     X2282          2019 10 01 Declaration of Jason DiCampello In Support of Defendant ClearOne, Inc 's Motion to Transfer Venue (D I                                                                                      401; 402/403
                               No 35)
     X2283          2020 04 17 Declaration of Zee Hakimoglu In Support of ClearOne, Inc 's Opposition to Shure's Motion for a Temporary                                                                                    Technical Issue
                               Restraining Order with Exhibits 1-3 (D I No 163, Ex D)
     X2284          2020 07 31 Declaration of Derek Graham In Support of ClearOne, Inc 's Opposition to Shure's Motion for a Preliminary
                               Injunction with Exhibits A-D (D I No 303, Ex 4)
     X2285          2020 04 17 Declaration of Zee Hakimoglu In Support of ClearOne, Inc 's Opposition to Shure's Motion for a Temporary                                                                                    Technical Issue
                               Restraining Order D I No 451, Ex 15)
     X2286          2017 08 06 Declaration of Zee Hakimoglu In Support of ClearOne, Inc 's Motion for Preliminary Injunction (D I No                                                                                       402/403
                                480, Ex 114)
     X2287                      Physical Exhibit Product Model – ClearOne BMA 2                                                            Physical Exhibit
     X2288                      Physical Exhibit Product Model – ClearOne BMA 2 - packaging                                                Physical Exhibit




                                                                                                                                   Page 28
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 118 of 555 PageID #: 56969




                     EXHIBIT 7
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 119 of 555 PageID #: 56970




                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

   SHURE INCORPORATED,
                                                  )
                 and                              )
   SHURE ACQUISITION                              )     C.A. No.: 19-1343-RGA-CJB
   HOLDINGS, INC.,                                )
                                                  )
                 Plaintiffs,                      )
                                                  )
        v.                                        )
                                                  )
   CLEARONE, INC.                                 )
                                                  )
                 Defendant.                       )



        PLAINTIFFS’ UPDATED OBJECTIONS TO DEFENDANT’S EXHIBIT LIST

        Pursuant to the Court’s Amended Scheduling Order (D.I. 73), Plaintiffs Shure Incorporated

 and Shure Acquisition Holdings, Inc. (“Shure”) hereby provide their updated objections to the

 exhibit list served by Defendant ClearOne, Inc. on August 27, 2021, and revised on September 15,

 2021, September 17, 2021, September 22, 2021, October 1, 2021, and October 11, 2021.

        In Shure’s objections, the following abbreviations are used:

                A = authenticity (Fed. R. Evid. 901-903)

                H = hearsay (Fed. R. Evid. 801-05)

                P = prejudice, confusing issues, misleading jury, undue delay, wasting time,

                 needlessly presenting cumulative evidence (Fed. R. Evid. 403)

                R = relevance (Fed. R. Evid. 401-02)

                S = settlement communication Fed. R. Evid. 408
                 Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 120 of 555 PageID #: 56971
                                               Defendant ClearOne, Inc.'s Trial Exhibit List
                                                    C.A. No. 19-1343 (RGA) (CJB)
Exhibit   Date                      Description                          BegBates                   EndBates       Shure's Objections
                   Cerra Deposition, Exhibit 32, "R. 367-1,
                   Exhibit 20 filed in Shure Incorporated v.
                   ClearOne Inc., Case No. 1:17-CV-03078,
X0010     1997                                                                 N/A                    N/A                  R
                   Applications Engineering Technical
                   Bulletin re Microphones on the Ceiling?
                   Shure Strongly Advises NO!'"
                   Donahoe Deposition, Exhibit 5, " Advanced
X0011     2015                                                        SHURE070281                SHURE070296               R
                   Network Devices PoE Product Catalog"
                   Weinstein Deposition, Exhibit 2, "Illuminas
                   Presentation, "2016 United States
X0012     2016                                                        SHURE413828                SHURE413858               R
                   Audio/Video Conferencing Study with C-
                   level IT Decision-Makers""
                   Klegon Deposition, Exhibit 16,
X0013     2017     "Spreadsheet, "Chris Rieger Project Task           SHURE013284                                          R
                   List""
                   Weinstein Deposition, Exhibit 5, "ISE 2018
X0014     2018                                                        SHURE707069                SHURE707087
                   Competitive Overview: Global Marketing"
                   Shure Supplier Partnership Handbook,
X0015     2019                                                                 N/A                    N/A                  R
                   Volume 1
                   Kessler Deposition, Exhibit 17, "ClearOne
X0016     2019                                                    CLRONEDE-00008749            CLRONEDE-00008749
                   Connections Tour Brochure"
                   Weinstein Deposition, Exhibit 3,
                   "Futuresource Consulting Presentation,
X0017     2019                                                    CLRONEDE-00006619            CLRONEDE-00006661
                   "Dedicated Audio Conferencing Hardware
                   Market Assessment""




                                                               Page 1 of 183
                 Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 121 of 555 PageID #: 56972
                                              Defendant ClearOne, Inc.'s Trial Exhibit List
                                                   C.A. No. 19-1343 (RGA) (CJB)
                Cerra Deposition, Exhibit 27, "Patel Exhibit
                21 - Broadband Digital Array Microphone
                Research Summary with Emphasis on
X0018 12/9/2002                                                      SHURE364389                SHURE364632         R
                Improved Low Frequency Beamforming
                Techniques: Technology Summary/Transfer
                by Steve Smith"
                Guerra Deposition, Exhibit 3,
X0019 12/7/2005                                                      SHURE389261                SHURE389261         R

                 Weinstein Deposition, Exhibit 8; Wiggins
                 Deposition, Exhibit 4, "Shure slide deck
X0030 12/13/2006                                                     SHURE000355                SHURE000382         R
                 titled "2006 U.S. Corporate Boardroom
                 Research""
                 Excel spreadsheet with filename, "1st Qrt
X0031 3/9/2010                                                  CLRONEDE-00001461             CLRONEDE-00001461     R
                 2020 Pro Voice AV"
                 Article by Colin B. Harris and Andrew M.
                 Ollis published in Landslide , Volume 2,
X0032 6/1/2010 No. 5 titled, "Design Patent Damages: An                      N/A                    N/A           R, H, A
                 Additional Remedy and Other
                 Considerations"
                 Abraham Deposition, Exhibit 1, "




X0033 10/10/2011                                                     SHURE053093                SHURE053094         R




                                                             Page 2 of 183
                 Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 122 of 555 PageID #: 56973
                                                Defendant ClearOne, Inc.'s Trial Exhibit List
                                                     C.A. No. 19-1343 (RGA) (CJB)
                    Miller Deposition, Exhibit 22, "Research
X0034 11/10/2011                                                       SHURE053543              SHURE053554     R
                    Panel Summary: Microflex Millennium"
                    Miller Deposition, Exhibit 21, "


X0035 12/6/2011                                                        SHURE053542              SHURE053542     R



                 Cho Deposition, Exhibit 11, "Page Vault
                 screen capture taken of archived McNichols
                 online product page with item specifications
X0036 12/13/2011 and description for McNichols Quality                         N/A                 N/A        R, A, H
                 Round Perforated, 24 Gauge Galvanized,
                 1/8" Round on 3/16" Staggered, 48.0000" x
                 120.0000""
                 ClearOne press release titled, "ClearOne to
                 Unveil Beamforming Microphone Array
X0037 1/4/2012 with Adaptive Steering and Next                                 N/A                 N/A         R, H
                 Generation Acoustic Echo Cancellation
                 Technology, at InfoComm 2012"
                 Miller Deposition, Exhibit 24, "Shure Blue
X0038 1/27/2012                                                        SHURE748667              SHURE748685
                 Ribbon Project Charter"

X0039    2/6/2012                                                      SHURE282623                              R

                    Exhibit 28 to Joint Claim Construction
X0050    2/7/2012                                                              N/A                 N/A        R, P, H
                    Brief, US Patent 8,109,360 at D.I. 246
                    Miller Deposition, Exhibit 23,

X0051    2/8/2012                                                      SHURE748666              SHURE748666     R




                                                               Page 3 of 183
               Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 123 of 555 PageID #: 56974
                                               Defendant ClearOne, Inc.'s Trial Exhibit List
                                                    C.A. No. 19-1343 (RGA) (CJB)
                   Schyvinck Deposition, Exhibit 21, "Shure
X0052 3/12/2012                                                       SHURE053830              SHURE053848
                   Blue Ribbon Project Charter Olympus"
                   Schyvinck Deposition, Exhibit 19, "




X0053   6/9/2012                                                      SHURE053817              SHURE053817    R




                   Corporate Boardroom Microphone Array
X0054 8/23/2012                                                       SHURE282861              SHURE282872
                   Phase 1 Report
                   Klegon Deposition, Exhibit 3, "


X0055   4/5/2013                                                      SHURE783253              SHURE783253   R, P



                   Klegon Deposition 12/14/2018, Exhibit 13;
                   Klegon Deposition 11/17/2020, Exhibit 1,
X0056 4/17/2013                                                       SHURE282951              SHURE282951   R, P


                   Klegon Deposition, Exhibit 2,
X0057 5/30/2013                                                       SHURE407739              SHURE407739   R, P


X0058   6/6/2013                                                      SHURE283156              SHURE283167

X0059   6/6/2013                                                      SHURE271673              SHURE271684



                                                              Page 4 of 183
                Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 124 of 555 PageID #: 56975
                                              Defendant ClearOne, Inc.'s Trial Exhibit List
                                                   C.A. No. 19-1343 (RGA) (CJB)
                  Klegon Deposition, Exhibit 4,

X0070 8/26/2013                                                      SHURE783284              SHURE783284    R, P



                  Abraham Deposition, Exhibit 5, "
X0071 8/26/2013                                                      SHURE065612              SHURE065613


                Abraham Deposition, Exhibit 8, "Screen
                capture taken via Page Vault of Reliable
X0072 8/28/2013                                                              N/A                 N/A        R, A, H
                Hardware Custom Speaker Grills product
                webpage"
                  Abraham Deposition, Exhibit 6; Lantz
                  Deposition, Exhibit 1,




X0073 8/31/2013                                                      SHURE065608              SHURE065609




                                                             Page 5 of 183
               Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 125 of 555 PageID #: 56976
                                                   Defendant ClearOne, Inc.'s Trial Exhibit List
                                                        C.A. No. 19-1343 (RGA) (CJB)
                   Abraham Deposition, Exhibit 7; Lantz
                   Deposition, Exhibit 2, "

X0074   9/8/2013                                                          SHURE279442                 SHURE279442


                                        ""
                   Miller Deposition, Exhibit 1,


X0075 9/11/2013                                                      SHUREDDEL00052297             SHUREDDEL00052297




X0076 9/27/2013                                                           SHURE108282                 SHURE108282

                   Cho Deposition, Exhibit 1,
X0077 10/1/2013                                                      SHUREDDEL00000436             SHUREDDEL00000446

                   Cho Deposition, Exhibit 3, "


X0078 1/27/2014                                                      SHUREDDEL00000721             SHUREDDEL00000729




X0079   3/1/2014                                                          SHURE000597                 SHURE000675




                                                                  Page 6 of 183
               Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 126 of 555 PageID #: 56977
                                                  Defendant ClearOne, Inc.'s Trial Exhibit List
                                                       C.A. No. 19-1343 (RGA) (CJB)
                   Lantz Deposition, Exhibit 3,




X0090 3/10/2014                                                          SHURE065007                 SHURE065008




X0091 3/25/2014                                                     SHUREDDEL00052337             SHUREDDEL00052343


                   Abraham Deposition, Exhibit 9,


X0092 3/28/2014                                                          SHURE064903                 SHURE064982




                   Excepted page from Shure internal slide
                   deck titled,
X0093 4/16/2014                                                     SHUREDDEL00001133             SHUREDEL00001133


                   Cerra Deposition, Exhibit 34, "Shure Blue
X0094   5/5/2014                                                         SHURE064775                 SHURE064802
                   Ribbon Charter for Olympus"
                   Lantz Deposition, Exhibit 4,
X0095 7/19/2014                                                          SHURE367209                 SHURE367264


                   Hatch Deposition, Exhibit 17, "
X0096   8/5/2014                                                    SHUREDDEL00141399             SHUREDDEL00141418


                                                                 Page 7 of 183
               Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 127 of 555 PageID #: 56978
                                                Defendant ClearOne, Inc.'s Trial Exhibit List
                                                     C.A. No. 19-1343 (RGA) (CJB)
                   Klegon Deposition, Exhibit 1,
X0097   8/5/2014                                                   SHUREDDEL00124775            SHUREDDEL00124776

                   Exhibit 18 to Delman Expert Report,
X0098   8/5/2014                                                   SHUREDDEL00124755            SHUREDDEL00124756

                   Exhibit 17 to Delman Expert Report,
X0099   8/5/2014                                                   SHUREDDEL00124754            SHUREDDEL00124754


                   Deposition of Cho, Exhibit 6, "Exhibit 42 to
                   Declaration of Christina Von Der Ahe
                   Rayburn in Support of ClearOne Inc.'s
                   Opposition to Shure's Motion for a
                   Preliminary Injunction,


X0100 8/13/2014                                                    SHUREDDEL00052431            SHUREDDEL00052433   R, H, P




                   Cho Deposition, Exhibit 8,
X0101 8/14/2014                                                    SHUREDDEL00052444            SHUREDDEL00052444
                                                               "




                                                               Page 8 of 183
               Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 128 of 555 PageID #: 56979
                                               Defendant ClearOne, Inc.'s Trial Exhibit List
                                                    C.A. No. 19-1343 (RGA) (CJB)
                   Email from Elizabeth Cho to Gregory
                   Lantz, Robert Klegon, Bob Abraham,
                   Melanie Koskamp, and John Miller
X0102 8/21/2014                                                  SHUREDDEL00052445             SHUREDDEL00052446



                   Cho Deposition, Exhibit 13, "


X0103 8/22/2014                                                  SHUREDDEL00001432             SHUREDDEL00001432




                   Cho Deposition, Exhibit 10, "


X0104 8/22/2014                                                       SHURE279662                 SHURE279662




X0105   9/1/2014                                                      SHURE000784
                   Abraham Deposition, Exhibit 10,
X0106 9/11/2014                                                               N/A                     N/A          R, A, H
                                     "
                   Abraham Deposition, Exhibit 11; Lantz
                   Deposition, Exhibit 5,
X0107 10/8/2014                                                       SHURE279751                 SHURE279752




                                                              Page 9 of 183
              Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 129 of 555 PageID #: 56980
                                               Defendant ClearOne, Inc.'s Trial Exhibit List
                                                    C.A. No. 19-1343 (RGA) (CJB)

                   Schanz Deposition, Exhibit 20; Klegon
                   Deposition, Exhibit 14, "


X0108 10/17/2014                                                      SHURE261148              SHURE261148




X0109 11/3/2014                                                       SHURE412009              SHURE412015




X0110 11/5/2014                                                       SHURE064387              SHURE064388




                   Klegon Deposition, Exhibit 9,



X0111 11/20/2014                                                      SHURE233571              SHURE233571   R, P




                                                             Page 10 of 183
               Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 130 of 555 PageID #: 56981
                                                Defendant ClearOne, Inc.'s Trial Exhibit List
                                                     C.A. No. 19-1343 (RGA) (CJB)
                   Lantz Deposition, Exhibit 7, "




X0112 12/22/2014                                                       SHURE442962              SHURE442970




                   Lantz Deposition, Exhibit 9, "




X0113   3/2/2015                                                       SHURE442631              SHURE442638




                   Lantz Deposition, Exhibit 10,
X0114 3/20/2015                                                        SHURE279826              SHURE279832


X0115   6/8/2015                                                       SHURE125505              SHURE125509




                                                              Page 11 of 183
                 Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 131 of 555 PageID #: 56982
                                               Defendant ClearOne, Inc.'s Trial Exhibit List
                                                    C.A. No. 19-1343 (RGA) (CJB)
                   Guerra Deposition, Exhibit 5; Klegon
                   Deposition, Exhibit 6, "


X0116 7/20/2015                                                       SHURE783362              SHURE783363




                   Guerra Deposition, Exhibit 6, "


X0117 8/20/2015                                                       SHURE783375              SHURE783380




                   Wiggins Deposition, Exhibit 4; Klegon
                   Deposition, Exhibit 7, "


X0118 8/21/2015                                                       SHURE783387              SHURE783393




                Capture taken via Page Vault of article in
                Harvard Business Review by Amy Gallo
X0119 8/21/2015 titled, "A Refresher on Price Elasticity",                  N/A                   N/A        R, H, A
                accessed at https://hbr.org/2015/08/a-
                refresher-on-price-elasticity




                                                             Page 12 of 183
                Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 132 of 555 PageID #: 56983
                                               Defendant ClearOne, Inc.'s Trial Exhibit List
                                                    C.A. No. 19-1343 (RGA) (CJB)

                   Wiggins Deposition, Exhibit 5; Guerra
                   Deposition, Exhibit 8; Klegon Deposition,
                   Exhibit 8, "
X0120 8/31/2015                                                       SHURE783460               SHURE783467       R, P



                                                        e"
                   Wiggins Deposition, Exhibit 2; Guerra
                   Deposition, Exhibit 1,
X0121   9/1/2015                                                      SHURE344816               SHURE344820


                   Vander Veen Deposition, Exhibit 5,



X0122 9/28/2015                                                     CLRONE-00005737            CLRONE-00005737    R, H




                Frost and Sullivan Presentation, "Changing
X0123 10/9/2015 Landscape in Audio Conferencing                     CLRONE-00339906            CLRONE-00339939   R, A, H
                Endpoints Market"
                   Klegon Deposition, Exhibit 15,
X0124 10/14/2015                                                      SHURE350468               SHURE350468




                                                               Page 13 of 183
                 Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 133 of 555 PageID #: 56984
                                                Defendant ClearOne, Inc.'s Trial Exhibit List
                                                     C.A. No. 19-1343 (RGA) (CJB)
                 Cho Deposition, Exhibit 12, "Page Vault
                 screen capture taken of archived McNichols
                 online product page with item specifications
                 and description for McNichols Quality
                 Round Perforated, 24 Gauge Galvanized,
X0125 11/17/2015 1/8" Round on 3/16" Staggered, 48.0000" x                   N/A                     N/A          R, A, H
                 120.0000" - product page contains same
                 content as Cho Deposition Exhibit 11 but is
                 dated as the closest capture after the date of
                 Cho Deposition Exhibit 10 (August 22,
                 2014)"
                 Ramachandiran Deposition, Exhibit 337,
X0126 1/21/2016                                                     CLRONE-00184173             CLRONE-00184175    R, H


                    Shure press release titled, "Shure Debuts
X0127    2/9/2016   Microflex Advance Ceiling and Table Array                N/A                     N/A
                    Microphones"
                    Cerra Deposition, Exhibit 29, "

X0128 2/15/2016                                                        SHURE087043               SHURE087044




X0129 2/16/2016 U.S. Patent No. 9,264,553 (Pandey et al.)                    N/A                     N/A          R, P, H
                    Schanz Deposition, Exhibit 7,
X0130    3/1/2016                                                      SHURE244585               SHURE244585       R, P
                    Klegon Deposition, Exhibit 22,
X0131 3/22/2016                                                        SHURE252844               SHURE252850




                                                              Page 14 of 183
                Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 134 of 555 PageID #: 56985
                                              Defendant ClearOne, Inc.'s Trial Exhibit List
                                                   C.A. No. 19-1343 (RGA) (CJB)

                   Donahoe Deposition, Exhibit 4, "




X0132 3/31/2016                                                      SHURE070267              SHURE070267




                   Klegon Deposition, Exhibit 17,
X0133   4/6/2016                                                     SHURE252726              SHURE252731


                Weinstein Deposition, Exhibit 4, "Executed
                consulting agreement entered between
X0134 4/18/2016                                                            N/A                   N/A        R, P
                ClearOne and Ira Weinstein (affiliated with
                Wainhouse Research)"
                Cerra Deposition, Exhibit 38, "
X0135 4/21/2016                                                       SHURE06701              SHURE06714
                   ClearOne press release titled, "ClearOne
                   Launches Second Generation of its
X0136   6/1/2016                                                           N/A                   N/A        R, H
                   Groundbreaking Beamforming Microphone
                   Array"
                   Klegon Deposition, Exhibit 10,



X0137   6/3/2016                                                     SHURE783663              SHURE783663   R, P




                                                            Page 15 of 183
                Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 135 of 555 PageID #: 56986
                                               Defendant ClearOne, Inc.'s Trial Exhibit List
                                                    C.A. No. 19-1343 (RGA) (CJB)
                   Wiggins Deposition, Exhibit 2; Klegon
                   Deposition, Exhibit 20,
X0138   6/7/2016                                                      SHURE251500              SHURE251501    R


                   Klegon Deposition, Exhibit 23,
X0139 6/20/2016                                                       SHURE412188              SHURE412189   R, P

                   Klegon Deposition, Exhibit 27,
X0140 6/22/2016                                                       SHURE251276              SHURE249378    R

                Klegon Deposition, Exhibit 3, "Shure Press
                Release by Rob Klegon, "Achieve Invisible
X0141 6/27/2016                                                             N/A                   N/A
                Audio with the MXA910 Ceiling Array
                Microphone""
                   Cerra Deposition, Exhibit 31, "Screenshot
X0142   8/6/2016   of article on Shure website 'Shure Microflex             N/A                   N/A
                   Advance Microphones Are Now Shipping'"
                   Schyvinck Deposition, Exhibit 5, "




X0143   8/8/2016                                                      SHURE635153              SHURE635155




                                                             Page 16 of 183
                Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 136 of 555 PageID #: 56987
                                                Defendant ClearOne, Inc.'s Trial Exhibit List
                                                     C.A. No. 19-1343 (RGA) (CJB)

                   Capture taken via Page Vault of Shure
                   online press release titled, "Shure Microflex
                   Advance Microphones Are Now Shipping",
X0144   8/8/2016                                                             N/A                     N/A
                   accessed at https://www.shure.com/en-
                   US/about-us/press/shure-microflex-advance-
                   microphones-are-now-shipping
                   Klegon Deposition, Exhibit 18,
X0145 8/17/2016                                                        SHURE412959               SHURE412959        R


                   Klegon Deposition, Exhibit 2,
X0146   9/2/2016                                                       SHURE254767               SHURE254767        R


                Schanz Deposition, Exhibit 25; Klegon
X0147 9/19/2016 Deposition, Exhibit 34,                                SHURE254556               SHURE254563        R


                   Weinstein Deposition, Exhibit 9,

X0148 10/4/2016                                                        SHURE413931               SHURE413931        R


                 Roy Deposition, Exhibit 41, "Shure blog
                 post by Criss Niemann, "The IT
X0149 10/10/2016                                                      Schonfeld002888           Schonfe1d002900   R, H, A
                 Professional's Guide to Great Corporate
                 Sound""
                 Klegon Deposition, Exhibit 13,
X0150 10/12/2016                                                       SHURE606312               SHURE606312       R, P




                                                              Page 17 of 183
                 Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 137 of 555 PageID #: 56988
                                               Defendant ClearOne, Inc.'s Trial Exhibit List
                                                    C.A. No. 19-1343 (RGA) (CJB)
                   Klegon Deposition, Exhibit 8,

X0151 10/27/2016                                                       SHURE16565                SHURE16565        R


                   Klegon Deposition, Exhibit 41,
X0152 11/16/2016                                                      SHURE015793               SHURE015794        R


                   Morrow Deposition, Exhibit 4, "

X0153 11/21/2016                                                      SHURE414906               SHURE414906



                   Klegon Deposition, Exhibit 9,

X0154 11/27/2016                                                      SHURE607815               SHURE607821

                                                             "
                   Klegon Deposition, Exhibit 12,
X0155 12/2/2016                                                       SHURE255636               SHURE255637       R, P
                                                         "
                   Klegon Deposition, Exhibit 30,
X0156 12/5/2016                                                       SHURE249370               SHURE249372        R


                 Frost and Sullivan Presentation, "The
                 Growth of Collaborative Spaces and the
X0157 12/22/2016 Proliferation of Collaborative Services           CLRONE-00339989             CLRONE-00340019   R, A, H
                 Cultivate the Growth of the Audio
                 Conferencing Endpoints Market"


                                                             Page 18 of 183
               Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 138 of 555 PageID #: 56989
                                               Defendant ClearOne, Inc.'s Trial Exhibit List
                                                    C.A. No. 19-1343 (RGA) (CJB)
                   Schanz Deposition, Exhibit 21; Klegon
                   Deposition, Exhibit 19,
X0158 1/23/2017                                                       SHURE404210              SHURE404210   R, P



                   Klegon Deposition, Exhibit 32,
X0159   2/1/2017                                                      SHURE256474              SHURE256478    R

                   Klegon Deposition, Exhibit 6, "


X0160   2/1/2017                                                      SHURE244503              SHURE244504   R, P



                   Exhibit 07 to Delman Expert Report, US
X0161   2/7/2017                                                            N/A                   N/A
                   Patent No. 9,565,493
                   Hatch Deposition, Exhibit 3, "U.S. Patent
X0162   2/7/2017                                                            N/A                   N/A
                   No. 9,565,493 ('493 Patent)"
                   Hatch Deposition, Exhibit 3A, "U.S. Patent
X0163   2/7/2017   No. 9,565,493 ('493 Patent) with Highlights              N/A                   N/A
                   to Pages with Fig. 2 and Fig. 3"
                   Morrow Deposition, Exhibit 2, "
X0164 2/27/2017                                                       SHURE248504              SHURE248507


X0165 2/28/2017                                                       SHURE612108              SHURE612111




                                                             Page 19 of 183
                 Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 139 of 555 PageID #: 56990
                                               Defendant ClearOne, Inc.'s Trial Exhibit List
                                                    C.A. No. 19-1343 (RGA) (CJB)

                   Klegon Deposition, Exhibit 43, "




X0166 3/10/2017                                                       SHURE418412              SHURE418414      R




                   ClearOne Inc. Form 10-K Annual Report
X0167 3/15/2017                                                             N/A                    N/A         R, H
                   for Year Ended December 31, 2016
X0168 4/25/2017 U.S. Patent No. 9,635,186 (Pandey et al.)                   N/A                    N/A        R, P, H
                   Wolffe Deposition, Exhibit 14,
X0169 4/27/2017                                                       SECOM_000099             SECOM_000099   R, A, H


                   Klegon Deposition, Exhibit 11,
X0170   5/9/2017                                                      SHURE008877              SHURE008881     R, P


                   Miller Deposition, Exhibit 10, "US Design
X0171 5/18/2017                                                             N/A                    N/A         R, P
                   Patent, "US D784,299 S""
                   Klegon Deposition, Exhibit 10,

X0172 5/19/2017                                                       SHURE008285              SHURE008293      R

                                                    "




                                                               Page 20 of 183
                Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 140 of 555 PageID #: 56991
                                               Defendant ClearOne, Inc.'s Trial Exhibit List
                                                    C.A. No. 19-1343 (RGA) (CJB)
                Schyvinck Deposition, Exhibit 8, "Crain's
X0173 5/20/2017 Chicago Business Article by John Pletz, "A                  N/A                     N/A          R, H, A
                microphone industry leader's next act""

X0174 5/31/2017                                                       SHURE247288               SHURE247292       R, P

                   Klegon Deposition, Exhibit 21,
X0175 6/19/2017                                                       SHURE007032               SHURE007042
                   Cerra Deposition, Exhibit 35, "
X0176 6/19/2017                                                       SHURE095283               SHURE095293
                   Cerra Deposition, Exhibit 36,
X0177 7/17/2017                                                       SHURE264509               SHURE264524

                   Weinstein Deposition, Exhibit 6,


X0178 7/18/2017                                                    CLRONE-00413006             CLRONE-00413020    R, H




                   Klegon Deposition, Exhibit 5,

X0179   8/1/2017                                                      SHURE259918               SHURE254767        R



                   Guerra Deposition, Exhibit 4, "


X0180 8/14/2017                                                       SHURE352274               SHURE352274       R, P




                                                             Page 21 of 183
                 Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 141 of 555 PageID #: 56992
                                                  Defendant ClearOne, Inc.'s Trial Exhibit List
                                                       C.A. No. 19-1343 (RGA) (CJB)
                    Schyvinck Deposition, Exhibit 9, "


X0181 8/23/2017                                                          SHURE629134              SHURE629135     R




                    Morrow Deposition, Exhibit 5, "
X0182 8/23/2017                                                          SHURE260336              SHURE260337     R

                    Schanz Deposition, Exhibit 19,
X0183    9/8/2017                                                        SHURE711733              SHURE711736     R

                Exhibit Deposition, Exhibit 2, "Declaration
                of James Schanz in Support of Shure's
X0184 9/15/2017                                                          SHURE714136              SHURE714138    R, P
                Motion to Quash Third-Party Subpoenas
                and for a Protective Order"
                    Shure Incorporated's Response to ClearOne,
X0185 9/15/2017                                                                N/A                   N/A         R, P
                    Inc.'s First Set of Interrogatories (Nos. 1-9)

                    Wiggins Deposition, Exhibit 9, "
X0186 10/12/2017                                                         SHURE675824              SHURE675843     R


X0187 11/7/2017 U.S. Patent No. 9,813,806 (Graham et al.)                      N/A                   N/A        R, P, H
                Shure Incorporated's First Supplemental
X0188 12/5/2017 Response to ClearOne, Inc.'s First Set of                      N/A                   N/A         R, P
                Interrogatories (Nos. 1-9)




                                                                Page 22 of 183
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 142 of 555 PageID #: 56993
               Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 143 of 555 PageID #: 56994
                                                Defendant ClearOne, Inc.'s Trial Exhibit List
                                                     C.A. No. 19-1343 (RGA) (CJB)

X0198 4/10/2018                                                        SHURE684607              SHURE684634
                Donahoe Deposition, Exhibit 11,
                "Advanced Network Devices Web Page,
X0199 4/10/2018                                                              N/A                    N/A        R, A, H
                "Advanced Network Devices Dealer
                Portal""
                Wolffe Deposition, Exhibit 15, "


X0300 4/16/2018                                                       SECOM_000057              SECOM_000057   R, A, H



                   Shure Incorporated's Response to ClearOne,
X0301   5/1/2018   Inc.'s Second Set of Interrogatories (Nos. 10-            N/A                    N/A         R, P
                   18)
                   Donahoe Deposition, Exhibit 6, "
X0302 6/15/2018                                                         AND-000100               AND-000100     R, P

                   Donahoe Deposition, Exhibit 9, "



X0303 6/21/2018                                                         AND-000032               AND-000042     R, P




                   Donahoe Deposition, Exhibit 8,
X0304 6/29/2018                                                              N/A                    N/A        R, A, H
                   "Declaration of Brian Donahoe in 03078"
                   Morrow Deposition, Exhibit 6,
X0305 7/12/2018                                                        SHURE786917              SHURE786917      R




                                                              Page 24 of 183
                 Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 144 of 555 PageID #: 56995
                                               Defendant ClearOne, Inc.'s Trial Exhibit List
                                                    C.A. No. 19-1343 (RGA) (CJB)
                   Abraham Deposition, Exhibit 13,




X0306 7/12/2018                                                        SHURE786914              SHURE786914        R, P




                   Exhibits 16-27 to Declaration of Christina
                   von der Ahe Rayburn in Support of
                   ClearOne's Opposition to Shure's Motion
                   for a Preliminary Injunction,
X0307 7/31/2018                                                      CLRONE-00552600           CLRONE-00552625    R, P, H




                Donahoe Deposition, Exhibit 10,
X0308 8/20/2018 "Advanced Network Devices Web Page,                          N/A                    N/A              R
                "Where to Purchase""
                Donahoe Deposition, Exhibit 12, "Starin
X0309 8/20/2018                                                              N/A                    N/A          R, P, H, A
                Web Page, "ClearOne Dealer Portal""
                Donahoe Deposition, Exhibit 13,
X0310 8/20/2018 "VoipSupply.com page, "Voip Supply                           N/A                    N/A          R, P, H, A
                Works with the Best Brands in VoIP""
                Newman Deposition, Exhibit 1, "Subpoena
                to Testify at a Deposition in a Civil Action
X0311 9/6/2018                                                               N/A                    N/A           R, P, H
                to Conference Technology Group, LLC c/o
                David Newman"


                                                                Page 25 of 183
              Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 145 of 555 PageID #: 56996
                                               Defendant ClearOne, Inc.'s Trial Exhibit List
                                                    C.A. No. 19-1343 (RGA) (CJB)


X0312 10/19/2018                                                      SHURE955595                 SHURE955595        R

                   Cerra Deposition, Exhibit 25, "Declaration
                   of David Cerra filed in Shure Incorporated
X0313 10/22/2018                                                            N/A                       N/A           R, P
                   v. ClearOne Inc., Case No. 1:17-CV-03078
                   (N.D. Ill.)
                   R. 417, SEALED Declaration of David
                   Cerra in Support of Shure's Opposition to
X0314 10/24/2018                                                            N/A                       N/A           R, P
                   ClearOne's Motion for Preliminary
                   Injunction as to '806 Patent
                   R. 413, SEALED Shure's Memorandum in
X0315 10/24/2018   Opposition to ClearOne's Motion for                      N/A                       N/A           R, P
                   Preliminary Injunction as to '806 Patent
                   Hatch Deposition, Exhibit 9, "Docket No.
                   175-32 to Spigen Korea Co., Ltd. v.
                   Ultraproof, Inc., Case No. 2:16-cv-09185,
X0316 10/29/2018                                                            N/A                       N/A           R, H
                   Declaration of Benjamin A. Campbell in
                   Support of Defendants' Motion for
                   Summary Judgment"
                   Klegon Deposition, Exhibit 24,
                   "AcousticMagic Product Page, "Voice
X0317 10/29/2018                                                            N/A                       N/A          R, H, A
                   Tracker I Array Microphone (Multiple
                   Options)"
                   Schanz Deposition, Exhibit 1, "Notice of
                   Deposition of Shure Incorporated Pursuant
X0318 11/21/2018                                                            N/A                       N/A           R, P
                   to Federal Rule of Civil Procedure
                   30(b)(6)"
                   Schanz Deposition, Exhibit 1,
X0319 1/11/2019                                                  SHUREDDEL00033142             SHUREDDEL00033142     R




                                                             Page 26 of 183
                Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 146 of 555 PageID #: 56997
                                               Defendant ClearOne, Inc.'s Trial Exhibit List
                                                    C.A. No. 19-1343 (RGA) (CJB)
                   DiFalco Deposition, Exhibit 5
X0320 1/23/2019                                                       SHURE821760                SHURE821761        R

                DiFalco Deposition, Exhibit 1; Schanz
X0321 1/23/2019 Deposition, Exhibit 5, "Shure Slide Deck              SHURE780802                SHURE780860        R
                Entitled, "Organizational Charts""
                Shure Incorporated's Second Supplemental
X0322 1/23/2019 and Amended Response to ClearOne, Inc.'s                    N/A                      N/A           R, P
                First Set of Interrogatories (Nos. 1-9)
                Wolffe Deposition, Exhibit 17, "USPTO
X0323 1/24/2019 Inter Partes Review Final Written Decision           SECOM_000220                SECOM_000269      R, P
                re 9,264,553"
                Wolffe Deposition, Exhibit 18,

X0324 1/25/2019                                                      SECOM_000125                SECOM_000125      R, P


                   Bencsik Deposition, Exhibit 14,

X0325 1/25/2019                                                  CLRONEDE-00004445             CLRONEDE-00004447   R, P



                   Wolffe Deposition, Exhibit 16, "


X0326 1/26/2019                                                      SECOM_000218                SECOM_000219      R, P




                                                             Page 27 of 183
               Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 147 of 555 PageID #: 56998
                                               Defendant ClearOne, Inc.'s Trial Exhibit List
                                                    C.A. No. 19-1343 (RGA) (CJB)
                   Weinstein Deposition, Exhibit 7; Vander
                   Veen Deposition, Exhibit 4, "
X0327 1/28/2019                                                    CLRONEDE-00004501           CLRONEDE-00004501   R, P, H


X0328 1/29/2019                                                        SHURE864865               SHURE864867         R
                   Exhibits 28-39 to Declaration of Christina
                   von der Ahe Rayburn in Support of
                   ClearOne's Opposition to Shure's Motion
                   for a Preliminary Injunction,
X0329 1/29/2019                                                      CLRONE-00737595            CLRONE-00737629      R




X0330 1/31/2019                                                        HWPCO000052               HWPCO000053        R, P



                   ClearOne press release titled, "ClearOne
                   Debuts Patented Ceiling Tile Beamforming
X0331   2/4/2019                                                             N/A                     N/A
                   Mic Array with a Superior Architecture for
                   Reduced Complexity and Cost"
                   ClearOne press release titled, "ClearOne
                   Debuts Patented Ceiling Tile Beamforming
X0332   2/4/2019                                                             N/A                     N/A
                   Mic Array with a Superior Architecture for
                   Reduced Complexity and Cost"




                                                                Page 28 of 183
               Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 148 of 555 PageID #: 56999
                                                Defendant ClearOne, Inc.'s Trial Exhibit List
                                                     C.A. No. 19-1343 (RGA) (CJB)

                   Payne Deposition, Exhibit 12, "


X0333   2/5/2019                                                     UNIFIED_012067               UNIFIED_012071




                   Shure Incorporated's Second Supplemental
X0334   2/5/2019   Response to ClearOne, Inc.'s Interrogatories              N/A                       N/A          R, P
                   (No. 16)
                   Schanz Deposition, Exhibit 4,
X0335   2/6/2019                                                  SHUREDDEL00034331             SHUREDDEL00034331


                   Wiggins Deposition, Exhibit 4,
X0336   2/6/2019                                                       SHURE784159                 SHURE784159



                   Schanz Deposition, Exhibit 3,

X0337 2/13/2019                                                   SHUREDDEL00034627             SHUREDDEL00034630



                   Wiggins Deposition, Exhibit 6,
X0338 2/26/2019                                                        SHURE865141                 SHURE865141


                   Miller Deposition, Exhibit 12,
X0339   3/1/2019                                                  SHUREDDEL00125503             SHUREDDEL00125534    R




                                                              Page 29 of 183
                Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 149 of 555 PageID #: 57000
                                                  Defendant ClearOne, Inc.'s Trial Exhibit List
                                                       C.A. No. 19-1343 (RGA) (CJB)

                   Schanz Deposition, Exhibit 7,
X0340   3/7/2019                                                    SHUREDDEL00035618             SHUREDDEL00035619    R


X0341 3/12/2019                                                     SHUREDDEL00005092             SHUREDDEL00005093   R, P
                Email chain from John Schnibbe to Zee
X0342 3/16/2019 Hakimoglu, cc Stephanie Floisand re Bi-             CLRONEDE-00005769             CLRONEDE-00005770
                Weekly Update
X0343 3/25/2019                                                         HWPCO000092                 HWPCO000092
                Bencsik Deposition, Exhibit 20, "Email
                from John Scnibbe to Ed Wolffe, Stephen
                Scheffer, Carl Yandle, Jon Ferren, Todd
X0344 3/25/2019 Koebke, Victor Clites, Tim Dykes, Chris             CLRONEDE-00005774             CLRONEDE-00005774
                Bencsik re PDF-BMA CT with attachment
                re BMA CT sales presentation rev12.pdf
                (Attachment not included)"
                Payne Deposition, Exhibit 3,
X0345 3/26/2019                                                        UNIFIED_008802               UNIFIED_008802


                   Payne Deposition, Exhibit 4,
X0346 3/26/2019                                                        UNIFIED_008800               UNIFIED_008801


                   Bencsik Deposition, Exhibit 16, "

X0347 4/11/2019                                                        BENCSIK_000108              BENCSIK_000109     R, P

                                   "




                                                                Page 30 of 183
                 Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 150 of 555 PageID #: 57001
                                               Defendant ClearOne, Inc.'s Trial Exhibit List
                                                    C.A. No. 19-1343 (RGA) (CJB)
                   Bencsik Deposition, Exhibit 19, "
X0348 4/11/2019                                                     BENCSIK_000104             BENCSIK_000107     R, P


                   ClearOne Inc. Form 10-K Annual Report
X0349 4/12/2019                                                             N/A                     N/A           R, H
                   for Year Ended December 31, 2018
                   Bencsik Deposition, Exhibit 17, "
X0350 4/12/2019                                                     BENCSIK_000030             BENCSIK_000032   R, P, H, A


                Shure Incorporated's Response to ClearOne,
X0351 4/15/2019 Inc.'s Third Set of Interrogatories (Nos. 19-               N/A                     N/A           R, P
                22)
                Shure Incorporated's Third Supplemental
X0352 4/15/2019 and Amended Response to ClearOne, Inc.'s                    N/A                     N/A           R, P
                First Set of Interrogatories
                Shure Incorporated's Second Supplemental
X0353 4/15/2019 and Amended Response to ClearOne, Inc.'s                    N/A                     N/A           R, P
                Second Set of Interrogatories
                   Bencsik Deposition, Exhibit 18, "
X0354 4/16/2019                                                     BENCSIK_000093             BENCSIK_000098   R, P, H, A

                Shure Incorporated's Responses to
                ClearOne's First Set of Requests for
X0355 4/30/2019                                                             N/A                     N/A           R, P
                Admission to Shure Incorporated (Nos. 1-
                140)
                R. 508, SEALED Shure's Opening Claim
X0356 5/7/2019 Construction Brief Pursuant to Local Patent                  N/A                     N/A           R, P
                Rule 4.2
                Yates Deposition, Exhibit 3, "
X0357 5/14/2019                                                     HIGHWAY_0032               HIGHWAY_0032



                                                             Page 31 of 183
                Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 151 of 555 PageID #: 57002
                                               Defendant ClearOne, Inc.'s Trial Exhibit List
                                                    C.A. No. 19-1343 (RGA) (CJB)
                  Yates Deposition, Exhibit 2, "
X0358 5/17/2019                                                     HIGHWAY_0020               HIGHWAY_0020
                                "
                  Staples Deposition, Exhibit 9,
X0359 5/17/2019                                                     HIGHWAY _0020              HIGHWAY _0020

                  Klegon Deposition, Exhibit 36,

X0360 5/21/2019                                                             N/A                     N/A           R, P


                Maselbas Deposition, Exhibit J, "Excel
X0361 5/28/2019 spreadsheet with filename, "Revised                   SHURE784272               SHURE784272       R, P
                MSRP""




X0362 5/29/2019                                                    CLRONE-00832187             CLRONE-00832195   R, H, P




                  Clingman Deposition, Exhibit 18,

X0363 6/18/2019                                                     DOBBS00000054              DOBBS00000054




                                                             Page 32 of 183
                Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 152 of 555 PageID #: 57003
                                              Defendant ClearOne, Inc.'s Trial Exhibit List
                                                   C.A. No. 19-1343 (RGA) (CJB)
                   Clingman Deposition, Exhibit 14,

X0364 6/18/2019                                                    DOBBS00000030              DOBBS00000030


                   Clingman Deposition, Exhibit 13,

X0365 6/18/2019                                                    DOBBS00000029              DOBBS00000029


                Staples Deposition, Exhibit 8, "Audio
X0366 6/19/2019 Video System Bulletin 16 for GCGV                     FISK000004               FISK000027
                Infrastructure"
                   Clingman Deposition, Exhibit 19,
                   "


X0367 6/19/2019                                                    DOBBS00000092              DOBBS00000092




                   Clingman Deposition, Exhibit 17,

X0368 6/19/2019                                                    DOBBS00000044              DOBBS00000044


                   Clingman Deposition, Exhibit 11,


X0369 6/19/2019                                                    DOBBS00000028              DOBBS00000028




                                                            Page 33 of 183
               Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 153 of 555 PageID #: 57004
                                               Defendant ClearOne, Inc.'s Trial Exhibit List
                                                    C.A. No. 19-1343 (RGA) (CJB)
                   R. 535, Shure's Claim Construction Reply
X0370 6/25/2019                                                             N/A                    N/A         R, P
                   Brief
                   Schanz Deposition, Exhibit 6, "


X0371 6/26/2019                                                       SHURE910073              SHURE910081     R, P




                   Wiggins Deposition, Exhibit 7,
X0372 6/26/2019                                                       SHURE865429              SHURE865431      R
                                     ""
                   DiFalco Deposition, Exhibit 6, "
X0373   7/1/2019                                                      SHURE840896              SHURE840897      R


                   Clingman Deposition, Exhibit 3,

X0374   7/5/2019                                                            N/A                    N/A
                                     MXA910 Ceiling Array
                   with IntelliMix""
                   Clingman Deposition, Exhibit 15,

X0375   7/8/2019                                                    DOBBS00000043              DOBBS00000043


                   Clingman Deposition, Exhibit 15,

X0376   7/8/2019                                                    DOBBS00000031              DOBBS00000031




                                                              Page 34 of 183
               Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 154 of 555 PageID #: 57005
                                                Defendant ClearOne, Inc.'s Trial Exhibit List
                                                     C.A. No. 19-1343 (RGA) (CJB)
                   Guerra Deposition, Exhibit 10,
X0377 7/18/2019                                                        SHURE784290                 SHURE784290

                   Guerra Deposition, Exhibit 9; Klegon
                   Deposition, Exhibit 11,
X0378 7/18/2019                                                        SHURE784289                 SHURE784290



                   Clingman Deposition, Exhibit 12,

X0379 7/18/2019                                                      DOBBS00000023                DOBBS00000023




X0380 7/26/2019                                                   SHUREDDEL00005098             SHUREDDEL00005101     R

                   Memorandum Opinion and Order (PI
X0381   8/4/2019   Order) in Shure Inc. v. ClearOne, Inc. (Case              N/A                       N/A           R, P
                   No. 17-cv-03078)
                   R. 550, Memorandum Opinion and Order
                   (Under Seal) Granting ClearOne's Motion
                   for Preliminary Injunction as to United
X0382   8/5/2019                                                             N/A                       N/A           R, P
                   States Patent No. 9,813,806, filed in Shure
                   Incorporated v. ClearOne, Inc., Case No.
                   1:17-cv-03078 (N.D. Ill.)
                   Schnibbe Deposition, Exhibit 12,
X0383   8/5/2019                                                  CLRONEDE-00004973             CLRONEDE-00004975   R, P, H



X0384   8/5/2019                                                   CLRONED-00004973             CLRONED-00004975    R, P, H


                                                              Page 35 of 183
               Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 155 of 555 PageID #: 57006
                                               Defendant ClearOne, Inc.'s Trial Exhibit List
                                                    C.A. No. 19-1343 (RGA) (CJB)

                   Kessler Deposition, Exhibit 16, "ClearOne
                   Press Release, "ClearOne Wins Preliminary
X0385   8/6/2019                                                       WPS_000010                WPS_000010      R, P, H
                   Injunction Against Shure's MXA910
                   Ceiling Array Microphone""
                   Kessler Deposition, Exhibit 15, "


X0386   8/6/2019                                                       WPS_000009                WPS_000009      R, P, H




X0387   8/6/2019                                                  SHUREDDEL093354              SHUREDDEL093354   R, P, H


                   Valley Deposition, Exhibit 5,
X0388   8/6/2019                                                      SHURE942973                SHURE942973      R, P
                            '"


X0389   8/6/2019                                                      SHURE939359                SHURE939360      R, P


                   Valley Deposition, Exhibit 4,

X0390   8/6/2019                                                      SHURE865747                SHURE865748      R, P

                                      "
                   Valley Deposition, Exhibit 3,
X0391   8/6/2019                                                      SHURE865746                SHURE865746      R, P



                                                             Page 36 of 183
               Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 156 of 555 PageID #: 57007
                                               Defendant ClearOne, Inc.'s Trial Exhibit List
                                                    C.A. No. 19-1343 (RGA) (CJB)
                   Valley Deposition, Exhibit 2,
X0392   8/6/2019                                                      SHURE865691               SHURE865691      R, P

                   Valley Deposition, Exhibit 1,
X0393   8/6/2019                                                      SHURE865684               SHURE865684      R, P


X0394   8/6/2019                                                      SHURE858589               SHURE858591      R, P

                   Wolffe Deposition, Exhibit 9,



X0395   8/6/2019                                                     SECOM_000213              SECOM_000215      R, P




                   Tunnell Deposition, Exhibit 9, "
X0396   8/6/2019                                                     PROTECH02422              PROTECH02422    R, P, H, A
                   Tunnell Deposition, Exhibit 8,
X0397   8/6/2019                                                    PROTECH000416              PROTECH000416   R, P, H, A


                   Manning Deposition, Exhibit 2, "
X0398   8/6/2019                                                    KONTEK_000120              KONTEK_000121     R, P


                   Clingman Deposition, Exhibit 25, "


X0399   8/6/2019                                                    DOBBS00000081              DOBBS00000082     R, P




                                                             Page 37 of 183
               Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 157 of 555 PageID #: 57008
                                                Defendant ClearOne, Inc.'s Trial Exhibit List
                                                     C.A. No. 19-1343 (RGA) (CJB)
                   Clingman Deposition, Exhibit 23, "
X0500   8/6/2019                                                       DOBBS00000061            DOBBS00000062    R, P


                   Clingman Deposition, Exhibit 22,
                   "

X0501   8/6/2019                                                       DOBBS00000036            DOBBS00000036




                   ClearOne-DeBusschere Deposition, Exhibit
                   4, "ClearOne press release titled, "ClearOne
X0502   08/06/19   Wins Preliminary Injunction Against                  DEB-00000008            DEB-00000008    R, P, H
                   Shure's MXA910 Ceiling Array
                   Microphone""
                   ClearOne-DeBusschere Deposition, Exhibit
                   3,


X0503   08/06/19                                                        DEB-00000006            DEB-00000007     R, P




                   Wilson Deposition, Exhibit 12,
X0504   8/6/2019                                                           CTSI_020               CTSI_020        R
                                                             "




                                                                 Page 38 of 183
               Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 158 of 555 PageID #: 57009
                                               Defendant ClearOne, Inc.'s Trial Exhibit List
                                                    C.A. No. 19-1343 (RGA) (CJB)


X0505   8/6/2019                                                 CLRONEDE-00013934             CLRONEDE-00013934   R, P


                   Weinstein Deposition, Exhibit 18; Bencsik
                   Deposition, Exhibit 9, "


X0506   8/6/2019                                                    BENCSIK_000087              BENCSIK_000088     R, P




                   Bencsik Deposition, Exhibit 21, "
X0507   8/6/2019                                                    BENCSIK_000004              BENCSIK_000005     R, P
                                     "

X0508   8/6/2019                                                   AUDIOBIZ_000545              AUDIOBIZ_000546    R, P


X0509   8/6/2019                                                   AUDIOBIZ_000278              AUDIOBIZ_000278    R, P


X0510   8/7/2019                                                  SHUREDDEL124538              SHUREDDEL124539     R, P


X0511   8/7/2019                                                      SHURE957221                SHURE957224       R, P

X0512   8/7/2019                                                      SHURE957214                SHURE957220       R, P



X0513   8/7/2019                                                      SHURE957204                SHURE957206       R, P




                                                             Page 39 of 183
               Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 159 of 555 PageID #: 57010
                                                Defendant ClearOne, Inc.'s Trial Exhibit List
                                                     C.A. No. 19-1343 (RGA) (CJB)
                   Moore Deposition, Exhibit 12,
X0514   8/7/2019                                                       SHURE953020              SHURE953021   R, P

                   Valley Deposition, Exhibit 11, "
X0515   8/7/2019                                                       SHURE941164              SHURE941166   R, P
                                         "

X0516   8/7/2019                                                       SHURE939378              SHURE939381   R, P

                   DiFalco Deposition, Exhibit 1; Valley
                   Deposition, Exhibit 10,
X0517   8/7/2019                                                       SHURE939368              SHURE939369   R, P


                   Valley Deposition, Exhibit 9, "


X0518   8/7/2019                                                       SHURE865863              SHURE865865   R, P



                   Valley Deposition, Exhibit 8, "


X0519   8/7/2019                                                       SHURE865855              SHURE865856   R, P


                                     "
                   Wiggins Deposition, Exhibit 3,
X0520   8/7/2019                                                       SHURE865840              SHURE865840   R, P

                   Valley Deposition, Exhibit 7,
X0521   8/7/2019                                                       SHURE865836              SHURE865836   R, P




                                                              Page 40 of 183
               Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 160 of 555 PageID #: 57011
                                               Defendant ClearOne, Inc.'s Trial Exhibit List
                                                    C.A. No. 19-1343 (RGA) (CJB)

                   Wolffe Deposition, Exhibit 6,
X0522   8/7/2019                                                     SECOM_000001               SECOM_000022      R, P



                   Rogina Deposition, Exhibit 2,


X0523   8/7/2019                                                            N/A                      N/A          R, P




X0524   8/8/2019                                                      SHURE953026                                 R, P
                   R.I 787, SEALED Exhibit 28 to Rayburn
                   Declaration in support of ClearOne Reply in
                   support of Motion for Contempt and
X0525   8/8/2019                                                   MCFADDEN000862              MCFADDEN000863    R, P, H
                   Additional Discovery,




X0526   8/9/2019                                                    UNIFIED_006470              UNIFIED_006473    R, P




X0527   8/9/2019                                                  SHUREDDEL079857              SHUREDDEL079857    R, P



X0528   8/9/2019                                                  SHUREDDEL079844              SHUREDDEL079844    R, P




                                                             Page 41 of 183
               Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 161 of 555 PageID #: 57012
                                               Defendant ClearOne, Inc.'s Trial Exhibit List
                                                    C.A. No. 19-1343 (RGA) (CJB)
                   Valley Deposition, Exhibit 15, "
X0529   8/9/2019                                                  SHUREDDEL079842              SHUREDDEL079843     R, P



X0530   8/9/2019                                                 SHUREDDEL00040045             SHUREDDEL00040051   R, P

                   Valley Deposition, Exhibit 14; DiFalco
                   Deposition, Exhibit 2, "


X0531   8/9/2019                                                      SHURE964595                 SHURE964596      R, P




X0532   8/9/2019                                                      SHURE959471                 SHURE959475      R, P

                   Ramsayer Deposition, Exhibit 3, "

X0533   8/9/2019                                                      SHURE957298                 SHURE957309      R, P


                   Valley Deposition, Exhibit 13,
X0534   8/9/2019                                                      SHURE939389                 SHURE939393      R, P


                   Valley Deposition, Exhibit 12, "
X0535   8/9/2019                                                      SHURE865884                 SHURE865885      R, P




                                                             Page 42 of 183
               Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 162 of 555 PageID #: 57013
                                                Defendant ClearOne, Inc.'s Trial Exhibit List
                                                     C.A. No. 19-1343 (RGA) (CJB)
                   Schanz Deposition, Exhibit 8, "Declaration
                   of James Schanz in Support of Shure's
X0536   8/9/2019   Response re Bond to be Set for Proposed                   N/A                     N/A         R, P
                   Preliminary Injunction related to '806 Patent
                   [Dkt. No. 579]"
                   Wiggins Deposition, Exhibit 10,
                   "Declaration of Chad Wiggins in Support of
X0537   8/9/2019   Shure's Response re Bond to be Set for                    N/A                     N/A         R, P
                   Proposed Preliminary Injunction related to
                   '806 Patent [Dkt. No. 576]"
                   [DKT 575] Shure's Response re Bond to be
X0538   8/9/2019   Set for Proposed PI Injunction related to                 N/A                     N/A         R, P
                   '806 Patent
                   Declaration of Chad Wiggins in Support of
                   Shure's Response re Bond to be Set for
                   Proposed Preliminary Injunction related to
X0539   8/9/2019                                                             N/A                     N/A         R, P
                   '806 Patent [Dkt. No. 576] in Shure Inc. v.
                   ClearOne, Inc. , Case No 17-cv-03078
                   (N.D. Ill.)
                   R. 577, SEALED Declaration of David
                   Cerra in Support of Shure's Response
X0540   8/9/2019   Regarding Bond to be Set for Proposed                     N/A                     N/A         R, P
                   Preliminary Injunction Related to '806
                   Patent

X0541   8/9/2019                                                      HWPCO000145                HWPCO000149     R, P

                   Bencsik Deposition, Exhibit 22, "
X0542   8/9/2019                                                     BENCSIK_000064             BENCSIK_000066   R, P




                                                              Page 43 of 183
               Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 163 of 555 PageID #: 57014
                                               Defendant ClearOne, Inc.'s Trial Exhibit List
                                                    C.A. No. 19-1343 (RGA) (CJB)
                   Mickel Deposition, Exhibit 10, "
X0543   8/9/2019                                                   AUDIOBIZ_000996              AUDIOBIZ_000997    R, P


                   Mickel Deposition, Exhibit 11,
X0544   8/9/2019                                                   AUDIOBIZ_000740              AUDIOBIZ_000744    R, P

                   Valley Deposition, Exhibit 17, "


X0545 8/10/2019                                                   SHUREDDEL079862              SHUREDDEL079862     R, P



                   Miller Deposition, Exhibit 20,
X0546 8/10/2019                                                       SHURE942052                 SHURE942054      R, P

                   Berger Deposition, Exhibit 2, "

X0547 8/10/2019                                                       SHURE939411                 SHURE939421      R, P




X0548 8/12/2019                                                  SHUREDDEL00005105             SHUREDDEL00005107   R, P



                   Valley Deposition, Exhibit 21, "
X0549 8/12/2019                                                       SHURE960685                 SHURE960692      R, P




                                                             Page 44 of 183
              Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 164 of 555 PageID #: 57015
                                              Defendant ClearOne, Inc.'s Trial Exhibit List
                                                   C.A. No. 19-1343 (RGA) (CJB)
                  DiFalco Deposition, Exhibit 4, "
X0550 8/12/2019                                                      SHURE943157               SHURE943158      R, P


                  Valley Deposition, Exhibit 20, "


X0551 8/12/2019                                                      SHURE865894               SHURE865896      R, P



                  Valley Deposition, Exhibits 18 and 19,
X0552 8/12/2019                                                    PROTECH001551              PROTECH001551     R, P




X0553 8/12/2019                                                     EPAAV 000047               EPAAV 000047     R, P



                  Clingman Deposition, Exhibit 21,


X0554 8/12/2019                                                    DOBBS00000024              DOBBS00000024     R, P


                                                       "

X0555 8/12/2019                                                       CCS 000044                CCS 000045      R, P

                  Mickel Deposition, Exhibit 12,
X0556 8/12/2019                                                   AUDIOBIZ_000733             AUDIOBIZ_000735   R, P
                                                       "

                                                            Page 45 of 183
                Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 165 of 555 PageID #: 57016
                                               Defendant ClearOne, Inc.'s Trial Exhibit List
                                                    C.A. No. 19-1343 (RGA) (CJB)




X0557 8/13/2019                                                       SHURE938828              SHURE938837    R, P




                   Valley Deposition, Exhibit 22, "
X0558 8/13/2019                                                       SHURE865925              SHURE865927    R, P


                   Klegon Deposition, Exhibit 35,
X0559 8/13/2019                                                             N/A                    N/A        R, P


                Schanz Deposition, Exhibit 28, "Surreply
X0560 8/13/2019                                                             N/A                    N/A        R, P
                Declaration of James Schanz"
                R. 586, Shure's Sur-Reply Regarding Bond
X0561 8/13/2019 to be Set for Proposed Preliminary                          N/A                    N/A        R, P
                Injunction Related to '806 Patent
                   ClearOne-DeBusschere Deposition, Exhibit
                   5,
X0562   08/13/19                                                      DEB-00000345             DEB-00000347   R, P




                   Wilson Deposition, Exhibit 13, "


X0563 8/13/2019                                                          CTSI_022                CTSI_022     R, P




                                                             Page 46 of 183
              Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 166 of 555 PageID #: 57017
                                              Defendant ClearOne, Inc.'s Trial Exhibit List
                                                   C.A. No. 19-1343 (RGA) (CJB)

X0564 8/14/2019                                                      SHURE943233                SHURE943234     R, P
                  Bond Order in Shure Inc. v. ClearOne, Inc.,
X0565 8/14/2019                                                            N/A                      N/A         R, P
                  Case No. 17-cv-03078 (N.D. Ill.)
                  Yates Deposition, Exhibit 18, "
X0566 8/14/2019                                                    HIGHWAY_0110                HIGHWAY_0110     R, P
                                                            "

                  Yates Deposition, Exhibit 19, "
X0567 8/14/2019                                                    HIGHWAY_0102                HIGHWAY_0105     R, P
                                                             "
                  Valley Deposition, Exhibit 23,
X0568 8/15/2019                                                  SHUREDDEL079999              SHUREDDEL079999   R, P
                                                      "
X0569 8/15/2019                                                      SHURE942097                SHURE942097     R, P


X0570 8/15/2019                                                      SHURE939485                SHURE939485     R, P



X0571 8/15/2019                                                      SHURE938989                SHURE938992     R, P




X0572 8/15/2019                                                      SHURE938971                SHURE938973     R, P
                                   Crust profile ID - meeting
                  notes & actions
                  Tunnell Deposition, Exhibit 10, "


X0573 8/15/2019                                                    PROTECH002419               PROTECH002420    R, P




                                                            Page 47 of 183
              Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 167 of 555 PageID #: 57018
                                                 Defendant ClearOne, Inc.'s Trial Exhibit List
                                                      C.A. No. 19-1343 (RGA) (CJB)
                  Clingman Deposition, Exhibit 27;
                  Clingman Deposition, Exhibit 28, "
X0574 8/15/2019                                                       DOBBS00002372               DOBBS00002372     R, P




                  Clingman Deposition, Exhibit 26, "
X0575 8/15/2019                                                       DOBBS00002371               DOBBS00002371     R, P
                                                             …"
                  Clingman Deposition, Exhibit 24,


X0576 8/15/2019                                                       DOBBS00002370               DOBBS00002370     R, P


                           "
                  Bencsik Deposition, Exhibit 23, "

X0577 8/15/2019                                                       BENCSIK_000043              BENCSIK_000044    R, P




X0578 8/16/2019                                                     SHUREDDEL080021              SHUREDDEL080026    R, P

                  Valley Deposition, Exhibit 24, "


X0579 8/16/2019                                                     SHUREDDEL080015              SHUREDDEL080020    R, P


                          "
                  Smith Deposition, Exhibit 8,
X0580 8/16/2019                                                    SHUREDDDEL080021              SHUREDDDEL080026   R, P


                                                               Page 48 of 183
                Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 168 of 555 PageID #: 57019
                                               Defendant ClearOne, Inc.'s Trial Exhibit List
                                                    C.A. No. 19-1343 (RGA) (CJB)




X0581 8/16/2019                                                       SHURE939064              SHURE939072    R, P




                   Weinstein Deposition, Exhibit 22; DiFalco
                   Deposition, Exhibit 6,
X0582 8/19/2019                                                       SHURE943257              SHURE943257    R, P


                   Valley Deposition, Exhibit 25, "

X0583 8/19/2019                                                       SHURE866000              SHURE866001    R, P

                                                      "
                   Wiggins Deposition, Exhibit 1, "


X0584 8/19/2019                                                       SHURE865984              SHURE865987    R, P



                R. 786, SEALED Exhibit 5 to Rayburn
                Declaration in support of ClearOne Reply in
                support of Motion for Contempt and
X0585 8/19/2019                                                       SHURE846491              SHURE846492   R, P, H
                Additional Discovery,


                   Klegon Deposition, Exhibit 34,
X0586 8/19/2019                                                             N/A                   N/A         R, P




                                                             Page 49 of 183
              Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 169 of 555 PageID #: 57020
                                              Defendant ClearOne, Inc.'s Trial Exhibit List
                                                   C.A. No. 19-1343 (RGA) (CJB)


X0587 8/20/2019                                                      SHURE943340               SHURE943346    R, P

                  Tunnell Deposition, Exhibit 11, "Email
                  chain from Jaylon Shane to Dale
X0588 8/20/2019                                                    PROTECH002467              PROTECH002470   R, P


                  Berger Deposition, Exhibit 7, "


X0589 8/21/2019                                                      SHURE943403               SHURE943403    R, P



                  Daube Deposition, Exhibit 2, "
X0590 8/21/2019                                                      SHURE942135               SHURE942136    R, P


                  Klegon Deposition, Exhibit 7; Daube
                  Deposition, Exhibit 3,
X0591 8/22/2019                                                      SHURE939118               SHURE939119    R, P


                  Tunnell Deposition, Exhibit 12, "

X0592 8/23/2019                                                    PROTECH002248              PROTECH002251   R, P


                  Clingman Deposition, Exhibit 8, "
X0593 8/23/2019                                                    DOBBS00002349              DOBBS00002351   R, P




                                                            Page 50 of 183
                Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 170 of 555 PageID #: 57021
                                              Defendant ClearOne, Inc.'s Trial Exhibit List
                                                   C.A. No. 19-1343 (RGA) (CJB)
                R. 613, Memorandum Opinion and Order
                Regarding Parties' Remaining Claim
X0594 8/25/2019                                                            N/A                     N/A          R, P
                Construction Disputes on the '806 Patent
                and '186 Patent
                Smith Deposition, Exhibit 10; Schanz
                Deposition, Exhibit 12,
X0595 8/26/2019                                                      SHURE959567               SHURE959571      R, P



                  Valley Deposition, Exhibit 26, "
X0596 8/26/2019                                                      SHURE939558               SHURE939558      R, P


                  Tunnell Deposition, Exhibit 13, "
X0597 8/26/2019                                                     PROTECH001550             PROTECH001550     R, P
                                           "
                  Mickel Deposition, Exhibit 14,
X0598 8/26/2019                                                    AUDIOBIZ_000449            AUDIOBIZ_000449   R, P
                             "

X0599 8/27/2019                                                      SHURE939152               SHURE939163      R, P



X0700 8/28/2019                                                      SHURE939210               SHURE939211      R, P


                  Klegon Deposition, Exhibit 10,
X0701 8/28/2019                                                      SHURE939179               SHURE939192      R, P
                                                          "


                                                              Page 51 of 183
                Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 171 of 555 PageID #: 57022
                                               Defendant ClearOne, Inc.'s Trial Exhibit List
                                                    C.A. No. 19-1343 (RGA) (CJB)
                   Kessler Deposition, Exhibit 12,



X0702 8/29/2019                                                        WPS_000016              WPS_000016     R, P




                   Moore Deposition, Exhibit 15,
X0703 8/29/2019                                                       SHURE953071              SHURE953071    R, P
                                                       -"

                Berger Deposition, Exhibit 12; Schanz
                Deposition, Exhibit 14; DiFalco Deposition,
                Exhibit 35, "Letter from Narsi Narayanan to
                channel partners re "Installation of Shure
X0704 8/29/2019 MXA910 in a Drop-Ceiling Mounting                     SHURE943692              SHURE943692   R, P, H
                Configuration" - providing update about
                aftermath of August 5, 2019 court ruling
                granting ClearOne's PI Motion against
                Shure as to '806 Patent"




                                                             Page 52 of 183
              Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 172 of 555 PageID #: 57023
                                      Defendant ClearOne, Inc.'s Trial Exhibit List
                                           C.A. No. 19-1343 (RGA) (CJB)




X0705 8/29/2019                                              SHURE939219              SHURE939221   R, P




X0706 8/29/2019                                              SHURE783164              SHURE783164   R, P




                                                    Page 53 of 183
                Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 173 of 555 PageID #: 57024
                                              Defendant ClearOne, Inc.'s Trial Exhibit List
                                                   C.A. No. 19-1343 (RGA) (CJB)




X0707 8/29/2019                                                      SHURE783162              SHURE783166    R, P




                   Abraham Deposition, Exhibit 53, "
X0708 8/29/2019                                                      SHURE783093              SHURE783093    R, P
                                ""
                   Abraham Deposition, Exhibit 47,
X0709 8/29/2019                                                      SHURE782889              SHURE782889    R, P
                                      "
                R. 295-1, Exhibit 2 to ClearOne's Amended
                Answer to Shure's Second Amended
                Complaint (D.I. 64), Affirmative Defenses,
X0710 8/29/2019 and Counterclaims Against Shure, Channel                   N/A                    N/A       R, P, H
                Letter from Narsi Narayanan re Installation
                of Shure MXA910 in a Drop-Ceiling
                Mounting Configuration



                                                            Page 54 of 183
                Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 174 of 555 PageID #: 57025
                                             Defendant ClearOne, Inc.'s Trial Exhibit List
                                                  C.A. No. 19-1343 (RGA) (CJB)

                Smith Deposition, Exhibit 35, "Letter from
                Narsi Narayanan to channel partners re
                "Installation of Shure MXA910 in a Drop-
X0711 8/29/2019 Ceiling Mounting Configuration" -                         N/A                      N/A           R, P, H
                providing update about aftermath of August
                5, 2019 court ruling granting ClearOne's PI
                Motion against Shure as to '806 Pate"
                Letter from Narsi Narayanan to unspecified
                channel partner re Installation of Shure
X0712 8/29/2019                                                CLRONEDE-00036642             CLRONEDE-00036642    R, H
                MXA910 in a Drop-Ceiling Mounting
                Configuration
                Letter from Narsi Narayanan to unspecified
                channel partner re Installation of Shure
X0713 8/29/2019                                                CLRONEDE-00002794             CLRONEDE-00002794    R, H
                MXA910 in a Drop-Ceiling Mounting
                Configuration
                Kessler Deposition, Exhibit 11, "


X0714 8/30/2019                                                      WPS_000015                 WPS_000015        R, P




                                                           Page 55 of 183
               Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 175 of 555 PageID #: 57026
                                               Defendant ClearOne, Inc.'s Trial Exhibit List
                                                    C.A. No. 19-1343 (RGA) (CJB)




X0715 8/30/2019                                                       SHURE783167               SHURE783172      R, P




                   Mickel Deposition, Exhibit 15,
X0716 8/30/2019                                                    AUDIOBIZ_000393             AUDIOBIZ_000394   R, P


                   DiFalco Deposition, Exhibit 30, "
X0717   9/3/2019                                                      SHURE964743               SHURE964743      R, P




X0718   9/3/2019                                                      SHURE964600               SHURE964600      R, P




                                                             Page 56 of 183
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 176 of 555 PageID #: 57027
               Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 177 of 555 PageID #: 57028
                                                Defendant ClearOne, Inc.'s Trial Exhibit List
                                                     C.A. No. 19-1343 (RGA) (CJB)

                   Berger Deposition, Exhibit 3; Smith
                   Deposition, Exhibit 14; Klegon Deposition,
                   Exhibit 21; Schanz Deposition, Exhibit 13;
                   Valley Deposition, Exhibit 29, "




X0725   9/4/2019                                                       SHURE943705               SHURE943707      R, P




                                          of Recent Court
                   Ruling in the U.S.""

                   Tunnell Deposition, Exhibit 3, "
X0726   9/4/2019                                                     PROTECH002176              PROTECH002178     R, P


X0727   9/4/2019                                                     HIGHWAY_0022               HIGHWAY_0025      R, P

X0728   9/4/2019                                                    CLRONE-00882933             CLRONE-00882934   R, P


X0729   9/4/2019                                                    CLRONE-00882919             CLRONE-00882922   R, P




                                                              Page 58 of 183
               Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 178 of 555 PageID #: 57029
                                               Defendant ClearOne, Inc.'s Trial Exhibit List
                                                    C.A. No. 19-1343 (RGA) (CJB)

                   ClearOne-DeBusschere Deposition, Exhibit
                   35,
X0730   9/5/2019                                                      DEB-00001780                DEB-00001780       R, P




                   Schanz Deposition, Exhibit 24,
X0731   9/6/2019                                                 SHUREDDEL00040505             SHUREDDEL00040506     R, P



X0732   9/6/2019                                                 SHUREDDEL00005108             SHUREDDEL00005111     R, P

                   Valley Deposition, Exhibit 32, "
X0733   9/6/2019                                                      SHURE960462                 SHURE960466        R, P


X0734   9/6/2019                                                      SHURE943850                 SHURE943851        R, P


X0735   9/6/2019                                                      SHURE943832                 SHURE943834        R, P


                   Moore Deposition, Exhibit 16,
X0736   9/6/2019                                                      SHURE943798                 SHURE943798        R, P



                   Rogina Deposition, Exhibit 3, "
X0737   9/6/2019                                                            N/A                       N/A          R, P, A, H



                                                             Page 59 of 183
               Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 179 of 555 PageID #: 57030
                                                Defendant ClearOne, Inc.'s Trial Exhibit List
                                                     C.A. No. 19-1343 (RGA) (CJB)
                   Maselbas Deposition, Exhibit H, "


X0738   9/9/2019                                                       SHURE964602               SHURE964603       R, P




                   Valley Deposition, Exhibit 34, "
X0739   9/9/2019                                                       SHURE960470               SHURE960474       R, P



X0740   9/9/2019                                                       SHURE942189               SHURE942191       R, P

                   Valley Deposition, Exhibit 33,
X0741   9/9/2019                                                       SHURE847806               SHURE847809       R, P

                   Clingman Deposition, Exhibit 7, "


X0742   9/9/2019                                                     DOBBS00002329              DOBBS00002330    R, P, A, H

                                                      orm"
                   (attachment not included)"


X0743 9/10/2019                                                      UNIFIED_008772             UNIFIED_008775   R, P, A, H




                                                              Page 60 of 183
              Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 180 of 555 PageID #: 57031
                                                Defendant ClearOne, Inc.'s Trial Exhibit List
                                                     C.A. No. 19-1343 (RGA) (CJB)




X0744 9/10/2019                                                        SHURE943902               SHURE943905        R, P



                  DiFalco Deposition, Exhibit 31, "
X0745 9/10/2019                                                        SHURE943883               SHURE943885        R, P



X0746 9/11/2019                                                      SPINITAR_009673            SPINITAR_009674   R, P, A, H


X0747 9/11/2019                                                        SHURE943980               SHURE943981        R, P
                                            "
                  Mickel Deposition, Exhibit 16,
X0748 9/11/2019                                                     AUDIOBIZ_000275             AUDIOBIZ_000275   R, P, A, H


                  Valley Deposition, Exhibit 35, "
X0749 9/12/2019                                                        SHURE959690               SHURE959696        R, P


                  DiFalco Deposition, Exhibit 32, "


X0750 9/12/2019                                                        SHURE943985               SHURE943985        R, P




                                                              Page 61 of 183
              Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 181 of 555 PageID #: 57032
                                              Defendant ClearOne, Inc.'s Trial Exhibit List
                                                   C.A. No. 19-1343 (RGA) (CJB)


X0751 9/13/2019                                                    SPINITAR_009666            SPINITAR_009667   R, P, A, H


                  DiFalco Deposition, Exhibit 33, "
X0752 9/13/2019                                                      SHURE944008               SHURE944012        R, P


                  ClearOne-DeBusschere Deposition, Exhibit
                  7,
X0753 9/13/2019                                                      DEB-00007068              DEB-00007068       R, P


                  ClearOne-DeBusschere Deposition, Exhibit
                  6,
X0754 9/13/2019                                                      DEB-00001041              DEB-00001041     R, P, A, H


                  DiFalco Deposition, Exhibit 11, "


X0755 9/16/2019                                                      SHURE944030               SHURE944034        R, P



                  Abraham Deposition, Exhibit 48,
X0756 9/16/2019                                                      SHURE782894               SHURE782894        R, P




                                                            Page 62 of 183
                Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 182 of 555 PageID #: 57033
                                              Defendant ClearOne, Inc.'s Trial Exhibit List
                                                   C.A. No. 19-1343 (RGA) (CJB)
                  Clingman Deposition, Exhibit 29;
                  Clingman Deposition, Exhibit 30, "




X0757 9/16/2019                                                    DOBBS00002041              DOBBS00002043     R, P, A, H




X0758 9/16/2019                                                   CLRONE-00882500             CLRONE-00882503   R, P, A, H


                  Valley Deposition, Exhibit 37, "
X0759 9/17/2019                                                      SHURE960498               SHURE960502        R, P




X0760 9/17/2019                                                      SHURE960489               SHURE960491        R, P




                ClearOne-DeBusschere Deposition, Exhibit
X0761 9/18/2019 14,                                                  DEB-00007086              DEB-00007086     R, P, A, H
                                              "



                                                            Page 63 of 183
               Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 183 of 555 PageID #: 57034
                                              Defendant ClearOne, Inc.'s Trial Exhibit List
                                                   C.A. No. 19-1343 (RGA) (CJB)
                  ClearOne-DeBusschere Deposition, Exhibit
                  12, "

X0762 9/18/2019                                                      DEB-00001159               DEB-00001162      R, P, A, H




                  ClearOne-DeBusschere Deposition, Exhibit
                  10, "

X0763 9/18/2019                                                      DEB-00001131               DEB-00001133      R, P, A, H




                ClearOne all products revenue and costs
X0764 9/18/2019 worldwide spanning from 2013-Q1 through         CLRONEDE-00048650             CLRONEDE-00048650
                2020-Q2
X0765 9/18/2019                                                    ADTECH_002846               ADTECH_002847      R, P, A, H
                  Abraham Deposition, Exhibit 52, "
X0766 9/19/2019                                                      SHURE783092                SHURE783092         R, P
                  DiFalco Deposition, Exhibit 12, "
X0767 9/20/2019                                                      SHURE849063                SHURE849064         R, P




                                                            Page 64 of 183
                 Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 184 of 555 PageID #: 57035
                                               Defendant ClearOne, Inc.'s Trial Exhibit List
                                                    C.A. No. 19-1343 (RGA) (CJB)

                R. 660-1, SEALED Attachment A to
                Memorandum in Support of Shure's
                Expedited Motion for Modification of the
                Preliminary Injunction Order with Respect
                to its Redesigned Product, email chain from
                attorney for Shure Tanvi Patel to ClearOne
                186 Patent [INT/EXT] distribution list, cc
                Shure_ClearOne Lit distribution list re
X0768 9/20/2019 Shure MXA910-A [Contains Shure Highly                       N/A                    N/A          R, P
                Confidential Information], attaching Figures
                1-5 comprising engineering drawings and
                images of an installed prototype of the
                MXA910-A "to identify any concerns that
                ClearOne may have regarding the new
                design and the scope of the Court's
                preliminary injunction order" (attachments
                included)

                   Yates Deposition, Exhibit 16, "
X0769 9/20/2019                                                     HIGHWAY_0118               HIGHWAY_0121   R, P, A, H


                Excerpt from Shure Product Sales
X0770 9/25/2019 Spreadsheet specifically pertaining to                SHURE780794              SHURE780794        R
                Shure’s Sales of the A910-25mm




                                                             Page 65 of 183
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 185 of 555 PageID #: 57036
                Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 186 of 555 PageID #: 57037
                                               Defendant ClearOne, Inc.'s Trial Exhibit List
                                                    C.A. No. 19-1343 (RGA) (CJB)
                   Mickel Deposition, Exhibit 17,
X0775 9/25/2019                                                    AUDIOBIZ_001096             AUDIOBIZ_001097     R, P

                R. 658-3, Exhibit C to Shure's Expedited
                Motion for Modification of the Preliminary
                Injunction Order with Respect to its
                Redesigned Product, email chain from
                attorney for Shure Michael Turner to
X0776 9/26/2019                                                             N/A                     N/A            R, P
                attorney for ClearOne Christina Rayburn, cc
                ClearOne 186 Patent [INT/EXT]
                distribution list and Shure_ClearOne Lit
                distribution list re MXA910-A - Potential
                Motion to Clarify / Modify
                   ClearOne-DeBusschere Deposition, Exhibit
                   8,
X0777 9/27/2019                                                       DEB-00002234              DEB-00002234     R, P, A, H




                   Clingman Deposition, Exhibit 33, "
X0778 9/30/2019                                                     DOBBS00000079              DOBBS00000080     R, P, A, H

                R. 658-4, Exhibit D to Shure's Expedited
                Motion for Modification of the Preliminary
                Injunction Order with Respect to its
                Redesigned Product, email chain from
                attorney for ClearOne Christina Rayburn to
X0779 10/1/2019                                                             N/A                     N/A            R, P
                attorney for Shure Michael Turner, cc
                ClearOne 186 Patent [INT/EXT]
                distribution list and Shure_ClearOne Lit
                distribution list re MXA910-A - Potential
                Motion to Clarify / Modify

                                                             Page 67 of 183
              Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 187 of 555 PageID #: 57038
                                            Defendant ClearOne, Inc.'s Trial Exhibit List
                                                 C.A. No. 19-1343 (RGA) (CJB)
                  ClearOne-DeBusschere Deposition, Exhibit
                  33,
X0780 10/1/2019                                                    DEB-00018882             DEB-00018884   R, P, A, H


                  ClearOne-DeBusschere Deposition, Exhibit
                  30,
X0781 10/1/2019                                                    DEB-00002430             DEB-00002430   R, P, A, H




                  ClearOne-DeBusschere Deposition, Exhibit
                  29,
X0782 10/1/2019                                                    DEB-00002424             DEB-00002424   R, P, A, H




                  ClearOne-DeBusschere Deposition, Exhibit
                  28,
X0783 10/1/2019                                                    DEB-00002418             DEB-00002418   R, P, A, H



                  ClearOne-DeBusschere Deposition, Exhibit
                  22,
X0784 10/1/2019                                                    DEB-00002412             DEB-00002412   R, P, A, H




                                                          Page 68 of 183
                Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 188 of 555 PageID #: 57039
                                              Defendant ClearOne, Inc.'s Trial Exhibit List
                                                   C.A. No. 19-1343 (RGA) (CJB)

                  ClearOne-DeBusschere Deposition, Exhibit
                  16,
X0785 10/1/2019                                                      DEB-00002406             DEB-00002406    R, P, A, H



                  Miller Deposition, Exhibit 14,
X0786 10/2/2019                                                      SHURE850788              SHURE850791       R, P
                             "
                R. 658, SEALED Memorandum in Support
                of Shure's Expedited Motion for
X0787 10/2/2019 Modification of the Preliminary Injunction                 N/A                    N/A           R, P
                Order with Respect to its Redesigned
                Product
                ClearOne-DeBusschere Deposition, Exhibit
                31,
X0788 10/2/2019                                                      DEB-00002438             DEB-00002438    R, P, A, H


                  Klegon Deposition, Exhibit 14,
X0789 10/3/2019                                                      SHURE871744              SHURE871744       R, P

                  Miller Deposition, Exhibit 16,

X0790 10/3/2019                                                      SHURE821744              SHURE821744       R, P


                  Clingman Deposition, Exhibit 9, "
X0791 10/3/2019                                                    DOBBS00001880              DOBBS00001881   R, P, H, A




                                                            Page 69 of 183
                 Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 189 of 555 PageID #: 57040
                                                Defendant ClearOne, Inc.'s Trial Exhibit List
                                                     C.A. No. 19-1343 (RGA) (CJB)
                    Clingman Deposition, Exhibit 31, "
X0792 10/4/2019                                                      DOBBS00000084               DOBBS00000084    R, P, H, A

                    Valley Deposition, Exhibit 38,

X0793 10/7/2019                                                    SHUREDDEL080614              SHUREDDEL080614

                            "
                    ClearOne-DeBusschere Deposition, Exhibit
                    2A, "
X0794    10/08/19                                                      DEB-00002573               DEB-00002573    R, P, H, A


                Shure's Provisional Responses to ClearOne,
X0795 10/9/2019 Inc.'s Fourth Set of Interrogatories (Nos. 23-               N/A                      N/A           R, P
                25)
X0796 10/9/2019                                                     MCFADDEN000451              MCFADDEN000452      R, P
                    Ramsayer Deposition, Exhibit 6, "
X0797 10/10/2019                                                       SHURE941608                SHURE941613       R, P


                    Shure-DeBusschere Deposition, Exhibit 1,


X0798 10/10/2019                                                       DEB-00002597               DEB-00002598    R, P, H, A


                                                         "




                                                               Page 70 of 183
                 Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 190 of 555 PageID #: 57041
                                               Defendant ClearOne, Inc.'s Trial Exhibit List
                                                    C.A. No. 19-1343 (RGA) (CJB)
                 Hatch Deposition, Exhibit 6, "Docket No.
                 44-1 to Hunter Fan Company v. Luminex
                 International Co., Ltd., Case No. 18-cv-344,
X0799 10/11/2019                                                            N/A                       N/A          R, P, H
                 Exhibit A to Rebuttal Expert Report of Paul
                 Hatch re Expert Reports of Peter Bressler
                 and Alan Ball "
                 Schanz Deposition, Exhibit 15,
X0900 10/12/2019                                                 SHUREDDEL00041355             SHUREDDEL00041356    R, P


                   Ramsayer Deposition, Exhibit 5, "


X0901 10/14/2019                                                      SHURE957664                 SHURE957664       R, P




                   Abraham Deposition, Exhibit 51, "


X0902 10/14/2019                                                      SHURE782921                 SHURE782921       R, P



                   Clingman Deposition, Exhibit 39, "


X0903 10/15/2019                                                    DOBBSS00001582              DOBBSS00001582      R, P



                   DiFalco Deposition, Exhibit 14, "
X0904 10/17/2019                                                     HWPCO000177                 HWPCO000178        R, P




                                                             Page 71 of 183
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 191 of 555 PageID #: 57042
                 Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 192 of 555 PageID #: 57043
                                               Defendant ClearOne, Inc.'s Trial Exhibit List
                                                    C.A. No. 19-1343 (RGA) (CJB)
                 Opening Expert Report of Dan Schonfeld,
                 Ph.D., submitted in Shure Incorporated v.
X0913 10/22/2019                                                            N/A                      N/A         R, P, H
                 ClearOne, Inc., Case No. 1:17-cv-03078
                 (N.D. Ill.)
X0914 10/22/2019 Expert Report of Dan Schonfeld                             N/A                      N/A         R, P, H
                 Valley Deposition, Exhibit 40, "
X0915 10/23/2019                                                  SHUREDDEL081008              SHUREDDEL081009    R, P

                   Valley Deposition, Exhibit 39,

X0916 10/23/2019                                                      SHURE963795                SHURE963795      R, P


                 Capture taken via Page Vault of video
                 posted on Shure YouTube channel titled,
X0917 10/23/2019                                                            N/A                      N/A           R
                 "Microflex Advance Training: How to
                 Install MXA910 Ceiling Array"
                 Extracted .MP4 file for video posted on
                 Shure's channel titled, "Microflex Advance
X0918 10/23/2019                                                            N/A                      N/A           R
                 Training How to Install MXA910 Ceiling
                 Array Shure"
                 DiFalco Deposition, Exhibit 34, "
X0919 10/24/2019                                                      SHURE964682                SHURE964683      R, P




X0920 10/24/2019                                                      SHURE939696                SHURE939696      R, P




                                                             Page 73 of 183
              Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 193 of 555 PageID #: 57044
                                               Defendant ClearOne, Inc.'s Trial Exhibit List
                                                    C.A. No. 19-1343 (RGA) (CJB)
                   Mickel Deposition, Exhibit 19, "


X0921 10/24/2019                                                   AUDIOBIZ_000485              AUDIOBIZ_000487     R, P



                   Klegon Deposition, Exhibit 19, "


X0922 10/25/2019                                                      SHURE878666                SHURE878669         R,




                   Weinstein Deposition, Exhibit 4,


X0923 10/25/2019                                                 CLRONEDE-00006616             CLRONEDE-00006618   R, P, H




                   Valley Deposition, Exhibit 42, "

X0924 10/28/2019                                                      SHURE963814                SHURE963815        R, P




X0925 10/29/2019                                                      SHURE940712                SHURE940714        R, P

                   Ramsayer Deposition, Exhibit 11, "

X0926 10/29/2019                                                      SHURE940707                SHURE940709        R, P




                                                             Page 74 of 183
                 Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 194 of 555 PageID #: 57045
                                             Defendant ClearOne, Inc.'s Trial Exhibit List
                                                  C.A. No. 19-1343 (RGA) (CJB)
                Miller Deposition, Exhibit 13, "SCORE
X0927 11/1/2019 Placeholder Sheet for IFW Content,             SHUREDDEL00125192             SHUREDDEL00125223   R, P
                "Application Number: 29711744""
                R. 670, Order Denying Shure's Expedited
                Motion for Modification of the Preliminary
X0928 11/3/2019                                                           N/A                       N/A          R, P
                Injunction Order with Respect to its
                Redesigned Product




X0929 11/4/2019                                                     SHURE939697                 SHURE939697      R, P




                Schanz Deposition, Exhibit 20; Abraham
                Deposition, Exhibit 59, "Shure Press
                Release, "New Version of Shure Microflex
X0930 11/4/2019                                                     SHURE782972                 SHURE782975      R, P
                Advance MXA910 Microphone for Drop-
                Ceiling Installation Now Available for Pre-
                Order in U.S.""
                Shure Press Release, "New Version of
                Shure Microflex Advance MXA910
X0931 11/4/2019                                                     SHURE782946                 SHURE782947      R, P
                Microphone for Drop-Ceiling Installation
                Now Available for Pre-Order in U.S."
                Shure Press Release, "New Version of
                Shure Microflex Advance MXA910
X0932 11/4/2019                                                   PROTECH002160                PROTECH002161     R, P
                Microphone for Drop-Ceiling Installation
                Now Available for Pre-Order in U.S."

                                                           Page 75 of 183
                 Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 195 of 555 PageID #: 57046
                                               Defendant ClearOne, Inc.'s Trial Exhibit List
                                                    C.A. No. 19-1343 (RGA) (CJB)
                Capture taken through Page Vault of Shure
                webpage titled, "New Version of Shure
                Microflex Advance MXA910 Microphone
                For Drop-Ceiling Installation Now
                Available for Pre-Order in U.S.", accessed
X0933 11/4/2019                                                             N/A                     N/A            R, P
                at https://www.shure.com/en-US/about-
                us/press/new-version-of-shure-microflexr-
                advance-mxa910-microphone-for-drop-
                ceiling-installation-now-available-for-pre-
                order-in-us
                DiFalco Deposition, Exhibit 16, "Copy of
                Shure article entitled, "New Version Of
X0934 11/4/2019 Shure Microflex® Advance™ MXA910                            N/A                     N/A            R, P
                Microphone For Drop-Ceiling Installation
                Now Available For Pre-Order In U.S.""
                Mickel Deposition, Exhibit 20, "




X0935 11/4/2019                                                    AUDIOBIZ_000117             AUDIOBIZ_000119   R, P, H, A




                   Valley Deposition, Exhibit 45,
X0936 11/5/2019                                                       SHURE963917               SHURE963917        R, P


X0937 11/5/2019                                                       SHURE953118               SHURE953120        R, P



                                                             Page 76 of 183
               Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 196 of 555 PageID #: 57047
                                              Defendant ClearOne, Inc.'s Trial Exhibit List
                                                   C.A. No. 19-1343 (RGA) (CJB)
                  Smith Deposition, Exhibit 18; Guerra
                  Deposition, Exhibit 6; Guerra Deposition,
                  Exhibit 8, "
X0938 11/5/2019                                                      SHURE947244              SHURE947248   R, P




X0939 11/5/2019                                                      SHURE940718              SHURE940721   R, P




                  Wiggins Deposition, Exhibit 8,
X0940 11/5/2019                                                      SHURE854816              SHURE854817   R, P
                                                              ""

                Roy Deposition, Exhibit 42, "PageVault
                Capture, "November 5, 2019, Q&A Update-
X0941 11/5/2019                                                      SHURE782948              SHURE782952   R, P
                New MXA910 Ceiling Array Microphone
                Variant available for Pre-Order""




                                                              Page 77 of 183
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 197 of 555 PageID #: 57048
                Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 198 of 555 PageID #: 57049
                                              Defendant ClearOne, Inc.'s Trial Exhibit List
                                                   C.A. No. 19-1343 (RGA) (CJB)
                  Rogina Deposition, Exhibit 4, "
X0945 11/5/2019                                                            N/A                     N/A          R, P, H, A


                Abraham Deposition, Exhibit 58, "Capture
                extracted via Page Vault of Shure webpage
X0946 11/5/2019 titled, "November 5, 2019 Q & A Update -                   N/A                     N/A            R, P
                New MXA910 Ceiling Array Microphone
                Variant available for Pre-Order""
                Hatch Deposition, Exhibit 2A, "U.S. Patent
X0947 11/5/2019 No. D865,723 ('723 Patent) with Highlights                 N/A                     N/A          R, P, A, H
                to Page 12 (Page with Fig. 4)"
                Weinstein Deposition, Exhibit 20, "


X0948 11/5/2019                                                     EPAAV_000061               EPAAV_000065     R, P, H, A




                  Mickel Deposition, Exhibit 22, "


X0949 11/5/2019                                                   AUDIOBIZ_000946             AUDIOBIZ_000950   R, P, H, A




                  Mickel Deposition, Exhibit 21,
X0950 11/5/2019                                                   AUDIOBIZ_000690             AUDIOBIZ_000692   R, P, H, A




                                                            Page 79 of 183
               Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 199 of 555 PageID #: 57050
                                              Defendant ClearOne, Inc.'s Trial Exhibit List
                                                   C.A. No. 19-1343 (RGA) (CJB)

                Smith Deposition, Exhibit 5, "PageVault
                Capture, "November 5, 2019, Q&A Update-
X0951 11/5/2019                                                      SHURE782948               SHURE782952     R, P
                New MXA910 Ceiling Array Microphone
                Variant available for Pre-Order"

                  Valley Deposition, Exhibit 46, "
X0952 11/6/2019                                                      SHURE963929              SHURE963929      R, P
                                                     "
                  Yates Deposition, Exhibit 17, "




X0953 11/6/2019                                                    HIGHWAY_0043               HIGHWAY_0047   R, P, H, A




                  Moore Deposition, Exhibit 9,
X0954 11/7/2019                                                      SHURE944885              SHURE944893      R, P


                  Guerra Deposition, Exhibit 5; Moore
                  Deposition, Exhibit 8,
X0955 11/7/2019                                                      SHURE944866              SHURE944874      R, P

                            "
                  Moore Deposition, Exhibit 7; Guerra
                  Deposition, Exhibit 4,
X0956 11/7/2019                                                      SHURE944839              SHURE944847      R, P




                                                            Page 80 of 183
                Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 200 of 555 PageID #: 57051
                                              Defendant ClearOne, Inc.'s Trial Exhibit List
                                                   C.A. No. 19-1343 (RGA) (CJB)


X0957 11/8/2019                                                    UNIFIED_014331             UNIFIED_014334    R, P, H, A


                R. 969-3 filed in Shure Incorporated v.
                ClearOne, Inc., Case No. 1:17-cv-03078
                (N.D. Ill.), [Sealed] Exhibit 53 to
                ClearOne’s Supplemental Brief Regarding
X0958 11/8/2019                                                      SHURE939271               SHURE939281       R, P, H
                Contempt Pursuant to ECF No. 912,
                internal document titled, "


                   Moore Deposition, Exhibit 20, "


X0959 11/11/2019                                                     SHURE953555               SHURE953558        R, P



                 Capture taken via Page Vault of AudioBiz
                 online post titled, "New Shure MXA910
                 Variant", accessed at
X0960 11/11/2019                                                           N/A                     N/A          R, P, H, A
                 https://www.audiobiz.com/latest-
                 news/2019/11/11/new-shure-mxa910-
                 variant
                 Mickel Deposition, Exhibit 23,
X0961 11/11/2019                                                  AUDIOBIZ_000067             AUDIOBIZ_000068   R, P, H, A


                   Manning Deposition, Exhibit 3, "
X0962 11/14/2019                                                   KONTEK_000127              KONTEK_000127     R, P, H, A




                                                            Page 81 of 183
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 201 of 555 PageID #: 57052
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 202 of 555 PageID #: 57053
                Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 203 of 555 PageID #: 57054
                                              Defendant ClearOne, Inc.'s Trial Exhibit List
                                                   C.A. No. 19-1343 (RGA) (CJB)
                   Smith Deposition, Exhibit 20; Guerra
                   Deposition, Exhibit 9,
X0978 11/26/2019                                                     SHURE881297              SHURE881300       R, P


                 Roy Deposition, Exhibit 28, "Rebuttal
                 Expert Report of Dr. Kenneth Roy, Ph.D.,
X0979 11/26/2019 submitted in Shure Incorporated v.                        N/A                    N/A          R, P, H
                 ClearOne, Inc., Case No. 1:17-CV-03078
                 (N.D. Ill.)"
                 Clingman Deposition, Exhibit 35, "
X0980 11/26/2019                                                   DOBBS00000073              DOBBS00000073   R, P, H, A

                 Letter from Christine Schyvinck, President
X0981 11/26/2019 and CEO, to Zeynep Hakimoglu, Chairman,                   N/A                    N/A          R, P, S
                 CEO, and President


X0982 11/27/2019                                                     SHURE953668                                R, P



X0983 11/27/2019                                                     SHURE947453              SHURE947457       R, P
                   Ramsayer Deposition, Exhibit 7, "


X0984 11/27/2019                                                     SHURE945503              SHURE945507       R, P




                                                            Page 84 of 183
              Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 204 of 555 PageID #: 57055
                                                 Defendant ClearOne, Inc.'s Trial Exhibit List
                                                      C.A. No. 19-1343 (RGA) (CJB)




X0985 11/27/2019                                                        SHURE945472              SHURE945473   R, P




                   Moore Deposition, Exhibit 22, "


X0986 11/27/2019                                                        SHURE945470              SHURE945471   R, P




                   DiFalco Deposition, Exhibit 19, "

X0987 11/27/2019                                                        SHURE945468              SHURE945469   R, P




X0988 11/27/2019                                                        SHURE881359              SHURE881362   R, P


                   Valley Deposition, Exhibit 48,
X0989 12/2/2019                                                         SHURE964239              SHURE964239   R, P


                   Shure Incorporated's Response to ClearOne,
X0990 12/2/2019                                                               N/A                   N/A        R, P
                   Inc.'s First Set of Interrogatories (Nos. 1-10)




                                                                Page 85 of 183
                Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 205 of 555 PageID #: 57056
                                              Defendant ClearOne, Inc.'s Trial Exhibit List
                                                   C.A. No. 19-1343 (RGA) (CJB)
                  Smith Deposition, Exhibit 21,

X0991 12/3/2019                                                      SHURE947478              SHURE947480   R, P


                  Klegon Deposition, Exhibit 26,
X0992 12/3/2019                                                      SHURE883845              SHURE883846   R, P


                Abraham Deposition, Exhibit 57, "Shure's
X0993 12/4/2019 Responses to ClearOne, Inc.'s Fifth Set of                 N/A                   N/A        R, P
                Interrogatories (Nos. 26-30)"
                Shure Incorporated's Responses to
                ClearOne's Second Set of Requests for
X0994 12/4/2019                                                            N/A                   N/A        R, P
                Admission to Shure Incorporated (Nos. 141-
                143)
X0995 12/5/2019                                                      SHURE960012              SHURE960013   R, P
                  Ramsayer Deposition, Exhibit 8, "
X0996 12/5/2019                                                      SHURE958029              SHURE958030   R, P
                          "
                  Smith Deposition, Exhibit 27,
X0997 12/5/2019                                                      SHURE947570              SHURE947571   R, P


                  Smith Deposition, Exhibit 26,

X0998 12/5/2019                                                      SHURE947569              SHURE947569   R, P




                                                            Page 86 of 183
                Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 206 of 555 PageID #: 57057
                                               Defendant ClearOne, Inc.'s Trial Exhibit List
                                                    C.A. No. 19-1343 (RGA) (CJB)
                   Smith Deposition, Exhibit 24,
X0999 12/5/2019                                                       SHURE947567               SHURE947568        R, P


                   Smith Deposition, Exhibit 22,

X1000 12/5/2019                                                       SHURE947519               SHURE947520        R, P

                                                            )"

                Guerra Deposition, Exhibit 3; Smith
                Deposition, Exhibit 25; Klegon Deposition,
X1001 12/5/2019 Exhibit 27; DiFalco Deposition, Exhibit 21,           SHURE863988               SHURE864005        R, P
                "Shure presentation slick deck titled,
                “MXA910W-A Update”"
                   Horton Deposition, Exhibit 2,
X1002 12/5/2019                                                      HORTON000007              HORTON000007      R, P, H, A


                   Mickel Deposition, Exhibit 24,
X1003 12/5/2019                                                    AUDIOBIZ_000096             AUDIOBIZ_000099   R, P, H, A


                   Valley Deposition, Exhibit 49, "
X1004 12/6/2019                                                       SHURE945631               SHURE945632        R, P


                PageVault Capture, "New Version of Shure
                Microflex Advance MXA 910 Microphone
X1005 12/6/2019                                                       SHURE783086               SHURE783089        R, P
                for Drop-Ceiling Installation Now
                Available for Pre-Order in U.S."




                                                             Page 87 of 183
                 Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 207 of 555 PageID #: 57058
                                               Defendant ClearOne, Inc.'s Trial Exhibit List
                                                    C.A. No. 19-1343 (RGA) (CJB)

                Abraham Deposition, Exhibit 62; Daube
                Deposition, Exhibit 8; Roy Deposition,
                Exhibit 43, "Capture extracted via Page
X1006 12/6/2019                                                       SHURE783065                 SHURE783068        R, P
                Vault of online copy of Shure bulletin letter
                titled, "New MXA910 Variant: Compliant
                with Drop Ceiling Installations""
                   DiFalco Deposition, Exhibit 3, "
X1007 12/8/2019                                                       SHURE943148                 SHURE943149        R, P


X1008 12/9/2019                                                    WESUPPLY_000013             WESUPPLY_000014       R, P
                   Valley Deposition, Exhibit 50, "

X1009 12/9/2019                                                       SHURE964329                 SHURE964331        R, P

                            )"


X1010 12/12/2019                                                 SHUREDDEL00046679             SHUREDDEL00046680     R, P


                   Schanz Deposition, Exhibit 22; Abraham
                   Deposition, Exhibit 61,
X1011 12/12/2019                                                      SHURE783103                 SHURE783104        R, P
                                                         "
                   Tunnell Deposition, Exhibit 19, "


X1012 12/12/2019                                                    PROTECH000074                PROTECH000078     R, P, H, A




                                                             Page 88 of 183
              Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 208 of 555 PageID #: 57059
                                               Defendant ClearOne, Inc.'s Trial Exhibit List
                                                    C.A. No. 19-1343 (RGA) (CJB)




X1013 12/12/2019                                                    PROTECH000068              PROTECH000073   R, P, H, A




                   Ramsayer Deposition, Exhibit 9, "
X1014 12/13/2019                                                      SHURE958089               SHURE958091      R, P

                   Guerra Deposition, Exhibit 2,
X1015 12/13/2019                                                      SHURE947688               SHURE947691      R, P


                   Smith Deposition, Exhibit 30,




X1016 12/13/2019                                                      SHURE940775               SHURE940776      R, P




X1017 12/13/2019                                                      SHURE940773               SHURE940774      R, P




                                                             Page 89 of 183
              Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 209 of 555 PageID #: 57060
                                               Defendant ClearOne, Inc.'s Trial Exhibit List
                                                    C.A. No. 19-1343 (RGA) (CJB)
                   Manning Deposition, Exhibit 4, "
X1018 12/13/2019                                                    KONTEK_000155              KONTEK_000156   R, P, H, A
                                     "
                   Horton Deposition, Exhibit 1,

X1019 12/13/2019                                                     HORTON000001              HORTON000001    R, P, H, A



                   DiFalco Deposition, Exhibit 24, "
X1020 12/16/2019                                                      SHURE864044               SHURE864047      R, P


                   Tunnell Deposition, Exhibit 4, "




X1021 12/17/2019                                                    PROTECH002231              PROTECH002234   R, P, H, A




                                                             Page 90 of 183
                 Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 210 of 555 PageID #: 57061
                                               Defendant ClearOne, Inc.'s Trial Exhibit List
                                                    C.A. No. 19-1343 (RGA) (CJB)
                   Weinstein Deposition, Exhibit 2, "


X1022 12/17/2019                                                            N/A                      N/A          R, P




                   DiFalco Deposition, Exhibit 25, "
X1023 12/18/2019                                                      SHURE864048               SHURE864048       R, P


                   Excel spreadsheet with filename, "Results
X1024 12/18/2019                                                    CLRONE-00753220            CLRONE-00753220    R, H
                   for 2019 - 121819"

X1025 12/19/2019                                                      SHURE960149               SHURE960150       R, P


                 Capture extracted via Page Vault of Shure
                 webpage titled, "How do I install the
X1026 12/19/2019                                                     Schonfeld003039            Schonfeld003042   R, P
                 MXA910W-A in a drop ceiling (FAQ
                 #5910)?" (Captured on January 16, 2020)
                   Yates Deposition, Exhibit 15, "

X1027 12/19/2019                                                     HIGHWAY_0112              HIGHWAY_0117       R, P




X1028 12/23/2019                                                      SHURE945914               SHURE945914       R, P




                                                               Page 91 of 183
                 Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 211 of 555 PageID #: 57062
                                                Defendant ClearOne, Inc.'s Trial Exhibit List
                                                     C.A. No. 19-1343 (RGA) (CJB)
                 Weinstein Deposition, Exhibit 9, "Plaintiff
                 Shure Incorporated and Shure Acquisition
X1029 12/24/2019 Holdings, Inc.'s Objections and Responses                    N/A                  N/A         R, P
                 to Defendant ClearOne, Inc.'s First Set of
                 Interrogatories (Nos. 1-6)"
                 Guerra Deposition, Exhibit 7,
X1030 12/27/2019                                                        SHURE947713             SHURE947714    R, P


                    DiFalco Deposition, Exhibit 27, "
X1031 12/28/2019                                                        SHURE864054             SHURE864056    R, P
                                                             "
                    Letter from Zee Hakimoglu to Christine
X1032 12/31/2019                                                              N/A                  N/A        R, P, S
                    Schyvinck
                    Klegon Deposition, Exhibit 28, "
X1033    1/2/2020                                                       SHURE884417             SHURE884417    R, P

                    Moore Deposition, Exhibit 23,
X1034    1/8/2020                                                       SHURE953738             SHURE953740    R, P


                    Abraham Deposition, Exhibit 46,
X1035    1/8/2020                                                       SHURE783145             SHURE783145    R, P


                    Roy Deposition, Exhibit 52, "Email chain
                    from Christina V. Rayburn to Bradley F.
                    Rademaker, cc ClearOne 186 Patent
X1036    1/8/2020                                                             N/A                  N/A         R, P
                    [INT/EXT]; Shure_ClearOneLit; Vlad
                    Arezina re ClearOne's proposed modified
                    schedule"




                                                                 Page 92 of 183
               Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 212 of 555 PageID #: 57063
                                               Defendant ClearOne, Inc.'s Trial Exhibit List
                                                    C.A. No. 19-1343 (RGA) (CJB)
                   Yates Deposition, Exhibit 6, "
X1037   1/9/2020                                                    HIGHWAY_0101                 HIGHWAY_0101      R, P


                   Wiggins Deposition, Exhibit 2,



X1038 1/15/2020                                                  SHUREDDEL00043633             SHUREDDEL00043637   R, P




                   Valley Deposition, Exhibit 51, "


X1039 1/16/2020                                                       SHURE940813                 SHURE940813      R, P



                   Berger Deposition, Exhibit 10, "


X1040 1/20/2020                                                       SHURE940831                 SHURE940833      R, P




                   Mickel Deposition, Exhibit 25,
X1041 1/20/2020                                                    AUDIOBIZ_000047              AUDIOBIZ_000049    R, P


                   Ramsayer Deposition, Exhibit 14, "
X1042 1/21/2020                                                  SHUREDDEL00046818             SHUREDDEL00046818   R, P




                                                             Page 93 of 183
                Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 213 of 555 PageID #: 57064
                                               Defendant ClearOne, Inc.'s Trial Exhibit List
                                                    C.A. No. 19-1343 (RGA) (CJB)

X1043 1/21/2020                                                       SHURE953742               SHURE953744       R, P
                                                    !
                Vander Veen Deposition, Exhibit 1,
X1044 1/24/2020 "Curriculum Vitae of Thomas D. Vander                       N/A                     N/A           R, H
                Veen, Ph.D."
                Attachment A to Rowe Opening Expert
                Report, Julia Rowe, Background, including
                Speeches and Publications, CPA
X1045 1/27/2020                                                             N/A                     N/A           R, H
                Professional, and Business History,
                Education, and Professional Associations
                and Certifications
                Attachment B to Rowe Opening Expert
X1046 1/27/2020 Report, Documents Considered for Expert                     N/A                     N/A           R, H
                Report
                Mickel Deposition, Exhibit 26,
X1047   2/4/2020                                                   AUDIOBIZ_000425             AUDIOBIZ_000426    R, H


                   Smith Deposition, Exhibit 31,
X1048   2/5/2020                                                      SHURE947794               SHURE947796       R, H
                                                              "
                   Berger Deposition, Exhibit 14; Mickel
                   Deposition, Exhibit 27,
X1049   2/5/2020                                                   AUDIOBIZ_000427             AUDIOBIZ_000428    R, H



                   Roy Deposition, Exhibit 53, "Supplemental
                   Expert Report of Dan Schonfeld, Ph.D.
X1050   2/7/2020   Regarding MXA910-A, submitted in Shure                   N/A                     N/A          R, P, H
                   Incorporated v. ClearOne, Inc., Case No.
                   1:17-cv-03078 (N.D. Ill.)"


                                                             Page 94 of 183
                Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 214 of 555 PageID #: 57065
                                               Defendant ClearOne, Inc.'s Trial Exhibit List
                                                    C.A. No. 19-1343 (RGA) (CJB)
                   Supplemental Expert Report of Dan
                   Schonfeld, Ph.D. Regarding MXA910-A,
X1051   2/7/2020   submitted in Shure Incorporated v.                       N/A                       N/A           R, P, H
                   ClearOne, Inc., Case No. 1:17-cv-03078
                   (N.D. Ill.)
                   Roy Deposition, Exhibit 37, "Supplement to
                   Opening Expert Report of Dr. Kenneth Roy,
X1052   2/7/2020                                                            N/A                       N/A           R, P, H
                   Ph. D. submitted in Case No. 17-CV-
                   03078"
                   DiFalco Deposition, Exhibit 28, "

X1053 2/12/2020                                                  SHUREDDEL00043993             SHUREDDEL00043993     R, P


                   Smith Deposition, Exhibit 32,
X1054 2/17/2020                                                       SHURE939893                 SHURE939893        R, P


                Klegon Deposition, Exhibit 29, "PageVault
X1055 2/19/2020 Capture, "How do I install the MXA910 in              SHURE784425                 SHURE784427        R, P
                a drop ceiling?""
                Horton Deposition, Exhibit 4,

X1056 2/19/2020                                                      HORTON000008                HORTON000008      R, P, H, A




X1057 2/20/2020                                                       SHURE939895                 SHURE939903        R, P




                                                             Page 95 of 183
                Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 215 of 555 PageID #: 57066
                                            Defendant ClearOne, Inc.'s Trial Exhibit List
                                                 C.A. No. 19-1343 (RGA) (CJB)
                R. 711, Declaration of Derek Graham in
                support of ClearOne's Motion for an Order
X1058 2/20/2020                                                          N/A                       N/A           R, P, H
                Holding Shure in Contempt and Allowing
                Additional Discovery
                Shure Incorporated's First Supplemental
X1059 2/21/2020 Responses to ClearOne, Inc.'s                            N/A                       N/A            R, P
                Interrogatories Nos. 1, 6-8, and 10
                Horton Deposition, Exhibit 3, "


X1060 2/21/2020                                                   HORTON000002                HORTON000002      R, P, H, A



                Sound & Video Contractor Article by
X1061 2/25/2020 Cynthia Wisehart, "Shure responds to          SHURE960287                      SHURE960295       R, P, H
                ClearOne court order request"
                Weinstein Deposition, Exhibit 13,
X1062 2/26/2020                                             STRATEGIC_000001                STRATEGIC_000003    R, P, H, A
                "Declaration of Curtis Church"
                Roy Deposition, Exhibit 48, "PageVault
X1063 2/26/2020 Capture, "StrictlyCeilings 9/16 Suspended     SHURE784517                      SHURE784519      R, P, H, A
                Ceiling Grid""
                Hatch Deposition, Exhibit 4, "Supplement
X1064 2/28/2020 to Rebuttal Expert Report of Shure Expert         N/A                              N/A           R, P, H
                Dr. Kenneth Roy"
                Roy Deposition, Exhibit 38, "Supplement to
                Rebuttal Expert Report of Dr. Kenneth Roy,
X1065 2/28/2020                                                   N/A                              N/A           R, P, H
                Ph. D. submitted in Case No. 17-CV-
                03078"
                Shure Executive Management Business
X1066 3/1/2020                                             SHUREDDEL00029201                SHUREDDEL00029222     R, P
                Review
                Ramsayer Deposition, Exhibit 12, "
X1067 3/2/2020                                                SHURE958541                      SHURE958543        R, P


                                                            Page 96 of 183
               Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 216 of 555 PageID #: 57067
                                               Defendant ClearOne, Inc.'s Trial Exhibit List
                                                    C.A. No. 19-1343 (RGA) (CJB)
                   Ramsayer Deposition, Exhibit 10, "
X1068   3/5/2020                                                      SHURE958597               SHURE958597      R, P

                   Ramsayer Deposition, Exhibit 18, "
X1069   3/6/2020                                                      SHURE958615               SHURE958615      R, P


                   Ramsayer Deposition, Exhibit 16, "


X1070   3/6/2020                                                      SHURE958610               SHURE958612      R, P




                   Mickel Deposition, Exhibit 28, "Email

X1071   3/6/2020                                                   AUDIOBIZ_000212             AUDIOBIZ_000214   R, P


                   R. 731, Shure's SEALED Opposition to
X1072   3/9/2020   Motion for Contempt and Additional                       N/A                     N/A          R, P
                   Discovery
                   R. 737, SEALED Decl. of James Schanz in
                   support of Shure's Opposition to ClearOne's
X1073   3/9/2020                                                            N/A                     N/A          R, P
                   Motion for Contempt and Allowing
                   Additional Discovery
                   R. 738, SEALED Decl. of Rob Klegon in
                   support of Shure Opposition to ClearOne's
X1074   3/9/2020                                                            N/A                     N/A          R, P
                   Motion for Contempt and Allowing
                   Additional Discovery




                                                             Page 97 of 183
                Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 217 of 555 PageID #: 57068
                                                Defendant ClearOne, Inc.'s Trial Exhibit List
                                                     C.A. No. 19-1343 (RGA) (CJB)
                Klegon Deposition, Exhibit 33,
                "Declaration of Robert Klegon in Support
                of Shure Incorporated's Opposition to
X1075 3/9/2020                                                                N/A                     N/A             R, P
                ClearOne's Motion for Contempt and
                Allowing Additional Discovery or Order to
                Show Cause"
                Schanz Deposition, Exhibit 23, "Shure
                Press Release, "March 10, 2020: Customer
X1076 3/10/2020                                                               N/A                     N/A             R, P
                Q&A on '553 Patent Decision for Shure
                MXA910""
                Roy Deposition, Exhibit 49, "PageVault
X1077 3/10/2020 Capture, "StrictlyCeilings 15/16 Suspended                    N/A                     N/A           R, P, H, A
                Ceiling Grid""


X1078 3/11/2020                                                     CLRONEDE-00013774           CLRONEDE-00013775   R, P, H, A


                   Weinstein Deposition, Exhibit 10,
X1079 3/11/2020                                                         AVEX_000026               AVEX_000033       R, P, H, A
                   "Declaration of Ted Collier with Exhibits"
                   Shure's Responses to ClearOne, Inc.'s First
X1080 3/16/2020                                                               N/A                     N/A             R, P
                   Set of Requests for Admission (Nos. 1-4)

                   Shure's Responses to ClearOne, Inc's
X1081 3/16/2020                                                               N/A                     N/A             R, P
                   Second Set of Interrogatories (Nos. 11-16)

                Plaintiff Shure Incorporated and Shure
                Acquisition Holdings, Inc.'s Objections and
X1082 3/19/2020                                                               N/A                     N/A             R, P
                Responses to Defendant ClearOne, Inc.'s
                Second Set of Interrogatories (Nos. 7-9)




                                                                 Page 98 of 183
                 Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 218 of 555 PageID #: 57069
                                                 Defendant ClearOne, Inc.'s Trial Exhibit List
                                                      C.A. No. 19-1343 (RGA) (CJB)
                Wiggins Deposition, Exhibit 1, "Notice of
                Deposition of Shure Incorporated Pursuant
X1083 3/20/2020                                                               N/A                     N/A            R, P
                to Federal Rule of Civil Procedure
                30(b)(6)"
                Plaintiff Shure Incorporated and Shure
                Acquisition Holdings, Inc.'s Objections and
X1084 3/23/2020                                                               N/A                     N/A            R, P
                Responses to Defendant ClearOne, Inc.'s
                Third Set of Interrogatories (Nos. 10-12)
                    Yates Deposition, Exhibit 12, "
X1085 3/23/2020                                                       HIGHWAY_0018               HIGHWAY_0019        R, P
                                      "
                ClearOne Inc. Form 10-K Annual Report
X1086 3/25/2020                                                               N/A                     N/A            R, H
                for Year Ended December 31, 2019
                Mickel Deposition, Exhibit 29,
X1087 3/26/2020                                                      AUDIOBIZ_000778             AUDIOBIZ_000778     R, P

                Plaintiffs Shure Incorporated and Shure
                Acquisition Holdings, Inc.'s Objections and
X1088 3/27/2020 Supplemental Responses to Defendant                           N/A                     N/A            R, P
                ClearOne, Inc's First Set of Interrogatories
                (Nos. 3 & 5)
                    Weinstein Deposition, Exhibit 12,
X1089 3/27/2020                                                         iVideo_000049             iVideo_000050    R, P, H, A
                    "Affidavit in Support of Service of Process"

                    Weinstein Deposition, Exhibit 11,
X1090 3/27/2020                                                         iVideo_000045             iVideo_000046    R, P, H, A
                    "Affidavit in Support of Service of Process"
                    Klegon Deposition, Exhibit 31, "Shure
X1091    4/6/2020   Presentation,                                       SHURE887330               SHURE887336        R, P




                                                               Page 99 of 183
                 Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 219 of 555 PageID #: 57070
                                                Defendant ClearOne, Inc.'s Trial Exhibit List
                                                     C.A. No. 19-1343 (RGA) (CJB)
                   Staples Deposition, Exhibit 6,
X1092   4/8/2020                                                        FISK000002              FISK000002      R, P


                ClearOne-DeBusschere Deposition, Exhibit
X1093 4/14/2020 9, "STL file of his 3D print design uploaded                 N/A                   N/A        R, P, H, A
                by witness during the deposition"
                R. 154-1, [Sealed] Exhibit C to Shure's
                Opening Brief in Support of Motion for
                Preliminary Injunction and Limited
X1094 4/14/2020 Temporary Restraining Order, Supporting                      N/A                   N/A          R, P
                Declaration of Chad Wiggins, filed in
                Shure Incorporated, et al. v. ClearOne,
                Inc. , Case No. 1:19-cv-01343 (D. Del.)
                R. 154-1, [Sealed] Exhibit C to Shure's
                Opening Brief in Support of Motion for
X1095 4/14/2020 Preliminary Injunction and Limited                           N/A                   N/A          R, P
                Temporary Restraining Order, Declaration
                of Chad Wiggins
                   Berger Deposition, Exhibit 16, "



X1096 4/22/2020                                                        SHURE940077              SHURE940079     R, P




                                                              Page 100 of 183
                Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 220 of 555 PageID #: 57071
                                                Defendant ClearOne, Inc.'s Trial Exhibit List
                                                     C.A. No. 19-1343 (RGA) (CJB)
                   Smith Deposition, Exhibit 34,




X1097 4/22/2020                                                        SHURE940074                 SHURE940076       R, P




                   Schanz Deposition, Exhibit 2, "Declaration
X1098 4/22/2020                                                              N/A                       N/A           R, P
                   of James Schanz"
                R. 786, SEALED Exhibit 8 to Rayburn
                Declaration in support of ClearOne Reply in
                support of Motion for Contempt and
X1099 4/24/2020 Additional Discovery, Email chain from                       N/A                       N/A          R, P, H
                Tanvi Patel to Christina V. Rayburn,
                cshih@nge.com, ClearOne 186 Patent
                [INT/EXT], cc shure_claeronets@nge.com
                   Plaintiffs' Objections and Responses to
                   Defendant ClearOne's Fourth Set of
X1100   5/1/2020   Interrogatories (No. 13), served in Shure                 N/A                       N/A           R, P
                   Incorporated, et al. v. ClearOne, Inc ., Case
                   No. 1:19-cv-01343 (D. Del.)
                   Plaintiff Shure Incorporated and Shure
                   Acquisition Holdings, Inc.'s Objections and
X1101   5/1/2020                                                             N/A                       N/A           R, P
                   Responses to Defendant ClearOne, Inc.'s
                   Fourth Set of Interrogatories (No. 13)

X1102   5/4/2020                                                   SHUREDDEL00126475            SHUREDDEL00126479    R, P




                                                              Page 101 of 183
                 Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 221 of 555 PageID #: 57072
                                                Defendant ClearOne, Inc.'s Trial Exhibit List
                                                     C.A. No. 19-1343 (RGA) (CJB)
                    Schanz Deposition, Exhibit 29,
X1103    5/4/2020                                                 SHUREDDEL001264 72 SHUREDDEL001264 74        R, P

                    R.I 787, SEALED Exhibit 26 to Rayburn
                    Declaration in support of ClearOne Reply in
                    support of Motion for Contempt and
                    Additional Discovery, Email chain from
                    Bradley F. Rademaker to Christina V.
X1104    5/5/2020                                                            N/A                   N/A        R, P, H
                    Rayburn, shure_ClearOnelit@nge.com,
                    vladimir@arezina.com, cc ClearOne 186
                    Patent [INT/EXT re Shure v. ClearOne -
                    Inquiry regarding DEB-00001134 produced
                    by 3rd party Mr. DeBusschere
                    Moore Deposition, Exhibit 11,
X1105 5/11/2020                                                        SHURE954437              SHURE954440    R, P

                Shure Incorporated's Response to ClearOne,
X1106 5/11/2020 Inc's Second Set of Interrogatories (Nos. 17-                N/A                   N/A         R, P
                18)
                 Deposition, Exhibit , "Shure's Objections
X1107 5/15/2020 and Responses to ClearOne's First Set of                     N/A                   N/A         R, P
                Requests for Admission"
                Plaintiffs Shure Incorporated and Shure
                Acquisition Holdings, Inc.'s Objections and
X1108 5/15/2020                                                              N/A                   N/A         R, P
                Responses to Defendant ClearOne, Inc's
                Fifth Set of Interrogatories (Nos. 14-21)
                Shure Incorporated's Response to ClearOne,
X1109 5/15/2020 Inc.'s Third Set of Interrogatories (Nos. 17-                N/A                   N/A         R, P
                18)




                                                              Page 102 of 183
                 Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 222 of 555 PageID #: 57073
                                              Defendant ClearOne, Inc.'s Trial Exhibit List
                                                   C.A. No. 19-1343 (RGA) (CJB)
                Plaintiffs' Objections and Responses to
                Defendant ClearOne's Fifth Set of
                Interrogatories (Nos. 14-21) Pursuant to
X1110 5/15/2020 Order Setting Hearing on Preliminary                       N/A                    N/A          R, P
                Injunction, served in Shure Incorporated, et
                al. v. ClearOne, Inc ., Case No. 1:19-cv-
                01343 (D. Del.)
                Plaintiffs' Objections and Responses to
                Defendant ClearOne's First Set of Requests
                for Admission Pursuant to Order Setting
X1111 5/15/2020                                                            N/A                    N/A          R, P
                Hearing on Preliminary Injunction, served
                in Shure Incorporated, et al. v. ClearOne,
                Inc ., Case No. 1:19-cv-01343 (D. Del.)

                Plaintiffs' Objections and Responses to
                Defendant ClearOne's First Set of Requests
                for Admission Pursuant to Order Setting
X1112 5/15/2020                                                            N/A                    N/A          R, P
                Hearing on Preliminary Injunction, served
                in Shure Incorporated, et al. v. ClearOne,
                Inc. , Case No. 1:19-cv-01343 (D. Del.)
                Bullard Deposition, Exhibit 3, "Amazon
X1113 5/19/2020 Product Page for Valcom Lay-in Ceiling                     N/A                    N/A        R, P, H, A
                Speaker - 2 X 2"
                Kessler Deposition, Exhibit 5, "Amazon
X1114 5/19/2020 Product Page for Valcom Lay-in Ceiling                     N/A                    N/A        R, P, H, A
                Speaker - 2 X 2"
                Horton Deposition, Exhibit 5, "


X1115 5/19/2020                                                     HORTON000003              HORTON000004     R, P




                                                            Page 103 of 183
                 Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 223 of 555 PageID #: 57074
                                                Defendant ClearOne, Inc.'s Trial Exhibit List
                                                     C.A. No. 19-1343 (RGA) (CJB)
                    Clingman Deposition, Exhibit 36, "
X1116 5/19/2020                                                      DOBBSS00000237             DOBBSS00000240    R, P
                                     in"
                Abraham Deposition, Exhibit 14; Lantz
                Deposition, Exhibit 13, "Declaration of
X1117 5/20/2020 Michael Hudson in Support of Defendant                       N/A                     N/A         R, P, H
                ClearOne's Responsive Claim Construction
                Brief"
                Miller Deposition, Exhibit 7; Cho
                Deposition, Exhibit 18, "Defendant
X1118 5/20/2020                                                              N/A                     N/A         R, P, H
                ClearOne Responsive Claim Construction
                Brief"
                ClearOne's Supplemental Objections and
                Responses to Plaintiffs' First Set of
X1119 5/22/2020 Interrogatories (Nos. 4, 5, 6, 12), served in                N/A                     N/A          R, P
                Shure Incorporated, et al. v. ClearOne,
                Inc ., Case No. 1:19-cv-01343 (D. Del.)
                    Tunnell Deposition, Exhibit 20, "
X1120    6/1/2020                                                    PROTECH000152              PROTECH000155     R, P


                    Shure's Supplemental Objections and
X1121    6/1/2020   Responses to ClearOne's First Set of                     N/A                     N/A          R, P
                    Requests for Admission (Nos. 9,10, and 11)
                    Plaintiffs Shure Incorporated and Shure
                    Acquisition Holdings, Inc.'s Objections and
X1122    6/1/2020   Responses to Defendant ClearOne, Inc's                   N/A                     N/A          R, P
                    Fifth Set of Interrogatories (Nos. 15, 18,
                    and 19)
                    Shure's Responses to ClearOne, Inc.'s Sixth
X1123    6/1/2020                                                            N/A                     N/A          R, P
                    Set of Interrogatories (Nos. 31-32)

                                                              Page 104 of 183
               Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 224 of 555 PageID #: 57075
                                                 Defendant ClearOne, Inc.'s Trial Exhibit List
                                                      C.A. No. 19-1343 (RGA) (CJB)
                   Kessler Deposition, Exhibit 9, "Shure Press
X1124   6/1/2020   Release, "Updated MXA910 Variant Now                       N/A                     N/A          R, P
                   Available""
                   R. 788, SEALED Fry's Declaration in
                   support of ClearOne's Reply in support of
X1125   6/1/2020   Motion for Order Holding Shure in                          N/A                     N/A        R, P, H, A
                   Contempt and Allowing Additional
                   Discovery
                   Plaintiffs Shure Incorporated and Shure
                   Acquisition Holdings, Inc.'s Objections and
X1126   6/2/2020   Supplemental Responses to Defendant                        N/A                     N/A          R, P
                   ClearOne, Inc.'s First Set of Interrogatories
                   (Nos. 1-6)
                   R. 790, SEALED Gordon's Declaration in
                   support of ClearOne's Reply in support of
X1127   6/2/2020   Motion for Order Holding Shure in                          N/A                     N/A        R, P, H, A
                   Contempt and Allowing Additional
                   Discovery
                   R. 791, SEALED Wall's Declaration in
                   support of ClearOne's Reply in support of
X1128   6/2/2020   Motion for Order Holding Shure in                          N/A                     N/A        R, P, H, A
                   Contempt and Allowing Additional
                   Discovery
                   R. 794, SEALED Mergen's Declaration in
                   support of ClearOne's Reply in support of
X1129   6/2/2020   Motion for Order Holding Shure in                          N/A                     N/A        R, P, H, A
                   Contempt and Allowing Additional
                   Discovery with attached exhibits
                   Tunnell Deposition, Exhibit 21, "
X1130   6/3/2020                                                      PROTECH000117              PROTECH000121       R




                                                               Page 105 of 183
               Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 225 of 555 PageID #: 57076
                                               Defendant ClearOne, Inc.'s Trial Exhibit List
                                                    C.A. No. 19-1343 (RGA) (CJB)
                   R. 785, ClearOne's [Sealed] Reply in
                   Support of Its Motion for An Order Holding
                   Shure in Contempt and Allowing
X1131   6/3/2020                                                            N/A                      N/A            R, P, H
                   Additional Discovery, filed in Shure
                   Incorporated v. ClearOne, Inc., Case No.
                   1:17-cv-03078 (N.D. Ill.)
                   ClearOne’s Reply in Support Of Its Motion
                   For An Order Holding Shure In Contempt
X1132   6/3/2020                                                            N/A                      N/A            R, P, H
                   And Allowing Additional Discovery
                   (03078)
                   R. 789, SEALED Senkowski's Declaration
                   in support of ClearOne's Reply in support of
X1133   6/3/2020   Motion for Order Holding Shure in                        N/A                      N/A           R, P, H, A
                   Contempt and Allowing Additional
                   Discovery with attached exhibits
                   R. 792, SEALED Medema's Declaration in
                   support of ClearOne's Reply in support of
X1134   6/3/2020   Motion for Order Holding Shure in                        N/A                      N/A           R, P, H, A
                   Contempt and Allowing Additional
                   Discovery with attached exhibits
                   Weinstein Deposition, Exhibit 17,
X1135   6/4/2020                                                  CLRONEDE-00009503            CLRONEDE-00009510   R, P, H, A
                   "Declaration of Steve Athaide"
                   Weinstein Deposition, Exhibit 16,
X1136   6/5/2020                                                  DIVERSIFIED000009            DIVERSIFIED000017   R, P, H, A
                   "Declaration of John Scruggs"
                   DiFalco Deposition, Exhibit 29, "


X1137   6/8/2020                                                      SHURE946015                SHURE946016           R




                                                             Page 106 of 183
                Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 226 of 555 PageID #: 57077
                                                Defendant ClearOne, Inc.'s Trial Exhibit List
                                                     C.A. No. 19-1343 (RGA) (CJB)
                Hatch Deposition, Exhibit 11,
                "Supplemental Declaration of Paul Hatch in
X1138 6/8/2020                                                               N/A                     N/A          R, H
                Support of Shure Motion for Preliminary
                Injunction "
                Exhibit 59 to Joint Claim Construction
                Brief, Spreadsheet containing Warehouse
X1139 6/12/2020 location, Sold-to party/country, ship-to               SHURE780795                   N/A         R, P, H
                Party/Country, PH6 - Model, Gross Sales,
                Bill Qty at D.I. 248
                   Exhibit 57 to Joint Claim Construction
X1140 6/12/2020                                                              N/A                     N/A         R, P, H
                   Brief, Deposition of Paul Hatch at D.I. 248
                [DKT 232] ClearOne, Inc's Answer to
                Shure's Second Amended Complaint (D.I.
X1141 6/15/2020                                                              N/A                     N/A         R, P, H
                64), Affirmative Defenses, and
                counterclaims against Shure


X1142 6/17/2020                                                      TEXADIA 004008             TEXADIA 004008    R, P


X1143 6/24/2020 Joint Claim Construction Brief at D.I. 238                   N/A                     N/A         R, P, H
                Schanz Deposition, Exhibit 8, "Shure
X1144 7/1/2020                                                               N/A                     N/A          R, P
                Pricing Supplement"
                Exhibit 10 to Declaration of Christina Von
                Der Ahe Rayburn in Support of ClearOne
X1145 7/7/2020 Inc.'s Opposition to Shure's Motion for a                     N/A                     N/A          R, H
                Preliminary Injunction, Deposition of
                Elizabeth Cho at D.I. 303-1
                Vander Veen Deposition, Exhibit 6, "First
X1146 7/8/2020 Supplemental Expert Report of Thomas D.                       N/A                     N/A          R, H
                Vander Veen"




                                                              Page 107 of 183
                Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 227 of 555 PageID #: 57078
                                              Defendant ClearOne, Inc.'s Trial Exhibit List
                                                   C.A. No. 19-1343 (RGA) (CJB)
                   Maselbas Deposition, Exhibit F, "Shure
X1147   7/9/2020   slide deck entitled,                         SHUREDDEL00129538             SHUREDDEL00129544     R

                Exhibit 15 to Declaration of Christina von
                der Ahe Rayburn in Support of ClearOne's
X1148 7/10/2020 Opposition to Shure's Motion for a                         N/A                       N/A          R, P, H
                Preliminary Injunction, Deposition of Derek
                Graham at D.I. 303-1

X1149 7/16/2020                                                 SHUREDDEL00129837             SHUREDDEL00129839

                Shure Incorporated's Supplemental
X1150 7/20/2020 Response to ClearOne, Inc.'s Third Set of                  N/A                       N/A           R, P
                Interrogatories (Nos. 17-18)
                R. 295, ClearOne's Amended Answer to
                Shure's Second Amended Complaint (D.I.
                64), Affirmative Defenses, and
X1151 7/27/2020                                                            N/A                       N/A           R, P
                Counterclaims Against Shure, filed in
                Shure Incorporated, et al. v. ClearOne,
                Inc. , Case No. 1:19-cv-01343 (D. Del.)
                Mickel Deposition, Exhibit 30,
X1152   8/5/2020                                                  AUDIOBIZ_000820              AUDIOBIZ_000821     R, P


                Plaintiffs' Supplemental Objections and
                Responses to Defendant ClearOne's Fourth
X1153 8/18/2020 Set of Interrogatories (No. 13), served in                 N/A                       N/A           R, P
                Shure Incorporated, et al. v. ClearOne,
                Inc. , Case No. 1:19-cv-01343 (D. Del.)




                                                            Page 108 of 183
                Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 228 of 555 PageID #: 57079
                                               Defendant ClearOne, Inc.'s Trial Exhibit List
                                                    C.A. No. 19-1343 (RGA) (CJB)

                Valley Deposition, Exhibit 54, "Plaintiffs
                Shure Incorporated and Shure Acquisition
X1154 8/18/2020 Holdings, Inc.'s Supplemental Objections                    N/A                   N/A        R, P
                and Responses to Defendant ClearOne, Inc's
                Fourth Set of Interrogatories (No. 13)"
                Plaintiffs Shure Incorporated and Shure
                Acquisition Holdings, Inc.'s Objections and
X1155 8/18/2020 Supplemental Responses to Defendant                         N/A                   N/A        R, P
                ClearOne, Inc.'s Fourth Set of
                Interrogatories (No. 13)
                Shure Incorporated's First Supplemental
X1156 8/20/2020 Responses to ClearOne, Inc's Interrogatory                  N/A                   N/A        R, P
                No. 9
                Shure's Responses to ClearOne, Inc.'s
X1157 8/21/2020 Second Set of Requests for Admission                        N/A                   N/A        R, P
                (Nos. 5-11)
                   Shure Incorporated's Response to ClearOne,
X1158 8/21/2020                                                             N/A                   N/A        R, P
                   Inc.'s Interrogatories (Nos. 19-20)
                   Shure Incorporated's Second Supplemental
X1159 8/24/2020    Response to ClearOne, Inc.'s Interrogatory               N/A                   N/A        R, P
                   No. 9
                   Capture taken via Page Vault of video
X1160 8/25/2020    posted on Shure's YouTube channel titled,                N/A                   N/A         R
                   "Shure MXA Series - Get the Download"
                   Extracted .MP4 file for video posted on
X1161 8/25/2020    Shure's YouTube channel titled, "Shure                   N/A                   N/A         R
                   MXA Series - Get the Download"
                   Shure Spreadsheet with sales information
                   for MXA910 and P300-IMX spanning from
X1162 8/28/2020                                                       SHURE891681              SHURE891681
                   July 2016 to July 2020, excerpted to include
                   sales data for United States only

                                                             Page 109 of 183
                Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 229 of 555 PageID #: 57080
                                               Defendant ClearOne, Inc.'s Trial Exhibit List
                                                    C.A. No. 19-1343 (RGA) (CJB)
                Excel spreadsheet containing sales and
X1163 8/28/2020 marketing expense data from 2013-Q1                CLRONE-00871578              CLRONE-00871578    R, H
                through 2020-Q2
                CLEARONE BEAMFORMER MIC
X1164 8/28/2020                                                    CLRONE-00871577                                 R, H
                ARRAY SALES THROUGH 2019‐08
                R. 912 filed in Shure Incorporated v.
                ClearOne, Inc ., Case No. 17-cv-03078
                (N.D. Ill.), Memorandum Opinion and
X1165 9/1/2020                                                              N/A                       N/A          R, P
                Order re ClearOne’s Expedited Motion for
                Contempt and Allowing Additional
                Discovery, dated September 1, 2020
                Memorandum of Opinion and Order
X1166 9/1/2020 (Contempt Order) in Shure Inc. v.                            N/A                       N/A          R, P
                ClearOne, Inc. (Case No. 17-cv-03078)
                Ramsayer Deposition, Exhibit 13, "
X1167 9/2/2020                                                   SHUREDDEL00139061             SHUREDDEL00139062   R, P

                   Valley Deposition, Exhibit 52; Tunnell
                   Deposition, Exhibit 22, "


X1168   9/2/2020                                                    PROTECH002168                PROTECH002170     R, P




                   Weinstein Deposition, Exhibit 19, "


X1169   9/2/2020                                                    PROTECH000001                PROTECH000002     R, P




                                                             Page 110 of 183
               Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 230 of 555 PageID #: 57081
                                               Defendant ClearOne, Inc.'s Trial Exhibit List
                                                    C.A. No. 19-1343 (RGA) (CJB)
                   Plaintiffs' Supplemental Objections and
                   Responses to Defendant ClearOne's
X1170   9/2/2020   Interrogatories (Nos. 16-18), served in                  N/A                     N/A            R, P
                   Shure Incorporated, et al. v. ClearOne,
                   Inc ., Case No. 1:19-cv-01343 (D. Del.)
                   Valley Deposition, Exhibit 53,
                   "Commercial Integrator article entitled,
X1171   9/2/2020   "Court Holds Shure in Contempt of                        N/A                     N/A          R, P, H, A
                   Preliminary Injunction in ClearOne Patent
                   case""
                   Plaintiffs Shure Incorporated and Shure
                   Acquisition Holdings, Inc.'s Objections and
X1172   9/2/2020   Supplemental Responses to Defendant                      N/A                     N/A            R, P
                   ClearOne, Inc.'s Interrogatories (Nos. 16-
                   18)
                   ClearOne press release titled, "Court Holds
X1173   9/2/2020   Shure in Contempt of Preliminary                         N/A                     N/A          R, P, H, A
                   Injunction Order"
                   Mickel Deposition, Exhibit 31,
X1174   9/3/2020                                                   AUDIOBIZ_000328             AUDIOBIZ_000328       R

                   Capture taken via Page Vault of Shure blog
                   article titled, "Q&A in Response to
                   MXA910-A Contempt Decision", accessed
X1175   9/4/2020                                                            N/A                     N/A            R, P
                   at https://www.shure.com/en-
                   US/meta/legal/q-a-in-response-to-mxa910-a-
                   contempt-decision
                   Shure Incorporated's Third Supplemental
X1176   9/9/2020   Response to ClearOne, Inc.'s Interrogatory               N/A                     N/A            R, P
                   No. 9




                                                             Page 111 of 183
                 Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 231 of 555 PageID #: 57082
                                               Defendant ClearOne, Inc.'s Trial Exhibit List
                                                    C.A. No. 19-1343 (RGA) (CJB)
                R. 929-11, [Sealed] Exhibit 351 to
                ClearOne's Reply to Its Motion for
                Summary Judgment Or, In the Alternative,
                Partial Summary Judgment, Of
                Infringement of United States Patent Nos.
X1177 9/11/2020 9,635,186 and 9,813,806 and Opposition to                   N/A                     N/A         R, P, H
                Shure's Cross Motion for Summary
                Judgment, Supporting Declaration of Zee
                Hakimoglu filed in Shure Incorporated v.
                ClearOne, Inc., Case No. 1:17-cv-03078
                (N.D. Ill.)
                Exhibit 62 to Declaration of Christina Von
                Der Ahe Rayburn in Support of ClearOne
                Inc.'s Sur-Reply to Shure's Motion for a
X1178 9/11/2020 Preliminary Injunction, Declaration of Joel                 N/A                     N/A         R, P, H
                Delman in support of ClearOne's Sur-Reply
                to Shure's Motion for Preliminary
                Injunction D.I. 341-1
X1179 9/15/2020                                                       SHURE956462               SHURE956465       R
                Shure's Supplemental Responses to
X1180 9/25/2020 ClearOne, Inc.'s Interrogatory Nos. 3, 6, 7,                N/A                     N/A          R, P
                and 14


X1181 10/2/2020                                                     TEXADIA_000958             TEXADIA_000961     R
                               ”
                   Shure's Responses to ClearOne, Inc.'s Third
X1182 10/5/2020                                                             N/A                     N/A          R, P
                   Set of Requests for Admission (Nos. 12-21)
                Shure Incorporated's Response to ClearOne,
X1183 10/5/2020 Inc.'s Fifth Set of Interrogatories (Nos. 21-               N/A                     N/A          R, P
                25)


                                                             Page 112 of 183
                 Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 232 of 555 PageID #: 57083
                                                Defendant ClearOne, Inc.'s Trial Exhibit List
                                                     C.A. No. 19-1343 (RGA) (CJB)

                    Shure's Responses to ClearOne, Inc.'s
X1184 10/9/2020                                                              N/A                   N/A         R, P
                    Seventh Set of Interrogatories (Nos. 33-42)
                    Schyvinck Deposition, Exhibit 12, "
X1185 10/18/2020                                                       SHURE620398              SHURE620398     R


                 Schanz Deposition, Exhibit 1, "Shure's
X1186 10/26/2020 Objections to ClearOne's Notice of 30(b)(6)                 N/A                   N/A         R, P
                 Video Deposition of Shure Incorporated"
                 Shure Incorporated's First Supplemental
X1187 10/30/2020 Responses to ClearOne, Inc.'s Seventh Set                   N/A                   N/A         R, P
                 of Interrogatories
                 Shure Incorporated's Second Supplemental
X1188 11/6/2020 Responses to ClearOne, Inc.'s Seventh Set                    N/A                   N/A         R, P
                 of Interrogatories
                 Schyvinck Deposition, Exhibit 13, "

X1189 11/8/2020                                                        SHURE620399              SHURE620399    R, P



                 Plaintiffs' Final Supplemental Identification
                 of Defendant's Accused Products, served in
X1190 11/11/2020                                                             N/A                   N/A         R, P
                 Shure Incorporated, et al. v. ClearOne,
                 Inc ., Case No. 1:19-cv-01343 (D. Del.)
                 Rogina Deposition, Exhibit 1, "ClearOne
                 Subpoena to Produce Documents,
X1191 11/12/2020                                                             N/A                   N/A        R, P, H
                 Information, or Objects to Presentation
                 Products, Inc., c/o Joseph Rogina"




                                                              Page 113 of 183
                 Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 233 of 555 PageID #: 57084
                                                Defendant ClearOne, Inc.'s Trial Exhibit List
                                                     C.A. No. 19-1343 (RGA) (CJB)
                 Manning Deposition, Exhibit 1, "ClearOne
                 Subpoena to Produce Documents,
X1192 11/12/2020                                                             N/A                       N/A          R, P, H
                 Information, or Objects to Kontek Systems,
                 Inc."
                 Subpoena to Produce Documents to Audio
X1193 11/12/2020                                                             N/A                       N/A          R, P, H
                 Visual Innovations
                   ClearOne Subpoena to Produce Documents
X1194 11/12/2020                                                             N/A                       N/A          R, P, H
                   to Audio Visual Innovations, Inc.

                 Excel spreadsheet titled, "Cases with Case
X1195 11/13/2020 Feed referencing FUC1 As of 2020-11-13           SHUREDDEL00140687             SHUREDDEL00140687   R, P, H
                 13:55:52 Eastern Standard Time/EST"

                 Schanz Deposition, Exhibit 17a; Schanz
X1196 11/13/2020 Deposition, Exhibit 17b, "Excel Sheet,                      N/A                       N/A          R, P, H
                 "Cases with Case Feed referencing FUC1""
                   Maselbas Deposition, Exhibit B, "Excel
                   spreadsheet with filename, "Sales Detail,
X1197 11/16/2020                                                  SHUREDDEL00140691             SHUREDDEL00140691     R
                   Shure Incorporated, MXA910 & P300-
                   IMX, Jun 2016 - Oct 2020""
                   Maselbas Deposition, Exhibit K, "Excel
X1198 11/16/2020   spreadsheet with filename, "MXA310             SHUREDDEL00140689             SHUREDDEL00140689     R
                   MXA910 P300 11-16-2020""
                   Schanz Deposition, Exhibit 3, "Shure
X1199 11/21/2020                                                             N/A                       N/A           R, P
                   Product Page, "RPM90X""
                   Miller Deposition, Exhibit 11, "Patent
X1200 11/30/2020   Application Information Retrieval,                        N/A                       N/A           R, P
                   "29/700,875""
                   Miller Deposition, Exhibit 8, "Miller's
X1201 12/1/2020                                                              N/A                       N/A            R
                   30(B)(6) Deposition Notes"




                                                               Page 114 of 183
                Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 234 of 555 PageID #: 57085
                                                Defendant ClearOne, Inc.'s Trial Exhibit List
                                                     C.A. No. 19-1343 (RGA) (CJB)
                Letter from Lauren Mastro to Michael
X1202 12/2/2020 Acquah re Deposition Subpoena for Case                       N/A                       N/A          R, P, H
                Number 1:17-CV-03078
                Letter from Lauren Mastro to Michael
                Acquah re Audio Visual Innovations, Inc.’s
X1203 12/2/2020                                                              N/A                       N/A          R, P, H
                Responses and Objections to ClearOne’s
                Subpoena
                Email chain from Tanvi Patel to Christina
                Rayburn and shure_ClearOnelit@nge.com,
X1204 12/8/2020                                                              N/A                       N/A          R, P, H
                cc ClearOne[INT/EXT] and Vladimir
                Arezina re Guerra and SHURE944866
                 Super-Sparkly Safety Stuff, LLC v. Skyline
X1205 12/11/2020 USA, Inc., No. 2020-1490 (Fed. Cir. Dec.          N/A                                 N/A          R, P, H
                 11, 2020)
                 Excel spreadsheet with filename, "Attorney-
                 Client Communication, Sales Detail, Shure
X1206 12/30/2020                                             SHUREDDEL00141450                  SHUREDDEL00141450     R
                 Incorporated, MXA910 & P300-IMX, Jun
                 2016 - Nov 2020"
                 Shure's Responses to ClearOne, Inc.'s
X1207 1/8/2021                                                     N/A                                 N/A           R, P
                 Eighth Set of Interrogatories (Nos. 43-45)
                   Shure’s Third Supplemental Responses to
                   ClearOne’s Seventh Set of Interrogatories
X1208   1/8/2021   (Second Supplemental Response to                          N/A                       N/A            R
                   Interrogatory No. 37), Shure Incorporated
                   v. ClearOne, Inc. , 1:17-cv-03078 (N.D. Ill.)
                R. 19, Plaintiff-Appellant's Corrected
                Opening Brief, filed in Shure Incorporated
X1209 1/11/2021                                                              N/A                       N/A           R, P
                v. ClearOne, Inc., Case No. 2021-1024
                (Court of Appeals, Federal Circuit)




                                                              Page 115 of 183
              Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 235 of 555 PageID #: 57086
                                              Defendant ClearOne, Inc.'s Trial Exhibit List
                                                   C.A. No. 19-1343 (RGA) (CJB)


X1210 1/12/2021                                                      SHURE964960               SHURE964961      R, P, H

                  Plaintiff-Appellant’s (Shure’s) Corrected
                  Opening Brief appealing this Court’s order
X1211 1/19/2021   finding Shure in contempt, Shure                         N/A                     N/A          R, P, H
                  Incorporated v. ClearOne, Inc ., No. 21-
                  1024
                  Email chain from Michael K. Acquah to
                  Brian Murray, cc Steven Jedlinski, Greg
                  Koger, Karen Younkins, Christina V.
X1212 1/20/2021                                                   CLRONE-00882266             CLRONE-00882275   R, P, H
                  Rayburn re Shure V. ClearOne: One
                  Diversified's Responses to ClearOne's
                  Subpoenas
                  R. 967, ClearOne's [Sealed] Supplemental
                  Brief Regarding Contempt Pursuant to ECF
X1213 1/25/2021   No. 912, filed in Shure Incorporated v.                  N/A                     N/A          R, P, H
                  ClearOne, Inc. , Case No. 1:17-cv-03078
                  (N.D. Ill.)
                  Capture taken via Page Vault of video
                  posted on Shure's YouTube channel titled,
X1214 1/25/2021                                                            N/A                     N/A            R
                  "Microflex Advance: Audio
                  Demonstration"
                  Extracted .MP4 file for video posted on
X1215 1/25/2021   Shure's channel titled, "Microflex Advance:              N/A                     N/A            R
                  Audio Demonstration"
                  Rowe Opening Report, Exhibit 1.0,
X1216 1/27/2021                                                            N/A                     N/A            H
                  Summary of ClearOne's lost profits
                  Rowe Opening Report, Exhibit 2.0,
X1217 1/27/2021                                                            N/A                     N/A            H
                  Summary of Shure's Unjust Enrichment
                  Rowe Opening Expert Report, Exhibit 2.1,
X1218 1/27/2021   Summary of Shure's Gross Profits from                    N/A                     N/A            H
                  Sales of the MXA910-A

                                                            Page 116 of 183
                Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 236 of 555 PageID #: 57087
                                              Defendant ClearOne, Inc.'s Trial Exhibit List
                                                   C.A. No. 19-1343 (RGA) (CJB)
                Rowe Opening Expert Report, Exhibit 2.2,
X1219 1/27/2021 Summary of Shure's US Sales of MXA910                      N/A                N/A    H
                Variants
                Rowe Opening Expert Report, Exhibit 2.3,
X1220 1/27/2021 Summary of Shure's Selling Costs for US                    N/A                N/A    H
                Sales of MXA910 Products
                Rowe Opening Expert Report, Exhibit 3.0,
X1221 1/27/2021 Summary of Shure's US Sales of MXA910-                     N/A                N/A    H
                A Products to ClearOne Customers
                Rowe Opening Expert Report Exhibit 3.1,
X1222 1/27/2021 Shure's US Sales of MXA910-A Products,                     N/A                N/A    H
                by Customer, 9 pages
                Rowe Opening Expert Report Exhibit 4.0,
                Summary of ClearOne's US Sales of BMA
X1223 1/27/2021                                                            N/A                N/A    H
                Products to Overlapping Customers, 2
                pages
                Rowe Opening Expert Report Exhibit 4.1,
X1224 1/27/2021 Chart of ClearOne's US Sales of BMA                        N/A                N/A    H
                Products, by Customer
                   Rowe Opening Expert Report, Exhibit 4.2,
X1225 1/27/2021                                                            N/A                N/A    H
                   ClearOne's US Sales of BMA Products
                Rowe Opening Expert Report, Exhibit 5.0,
X1226 1/27/2021 Calculation of ClearOne Incremental Profits                N/A                N/A    H
                per BMA CT Unit
                Rowe Opening Expert Report, Exhibit 5.1,
X1227 1/27/2021 Summary of ClearOne's US Sales of BMA                      N/A                N/A    H
                Products During the Damages Period
                Rowe Opening Expert Report, Exhibit 5.2,
X1228 1/27/2021 Calculation of Sales and Marketing                         N/A                N/A    H
                Expenses as a % of Revenue

                                                            Page 117 of 183
               Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 237 of 555 PageID #: 57088
                                               Defendant ClearOne, Inc.'s Trial Exhibit List
                                                    C.A. No. 19-1343 (RGA) (CJB)


X1229 2/19/2021                                                       SHURE964963              SHURE964963    R, P, H


X1230 2/19/2021                                                       SHURE964962              SHURE964962    R, P, H




X1231 2/22/2021                                                       SHURE964964              SHURE964964    R, P, H


                   PageVault Capture, USPTO Patents
X1232 2/22/2021                                                             N/A                   N/A        R, P, H, A
                   Dashboard

X1233 2/25/2021                                                       SHURE965231              SHURE965233    R, P, H




X1234   3/1/2021                                                      SHURE965241              SHURE965241    R, P, H




X1235   3/5/2021                                                      SHURE965258              SHURE965259    R, P, H


                   R. 1022 filed in Shure Incorporated v.
                   ClearOne, Inc., Case No. 1:17-cv-03078
                   (N.D. Ill.), [Sealed] Second Supplemental
X1236   3/5/2021   Declaration of Kevin Everest in Support of               N/A                   N/A        R, P, H, A
                   Shure’s Response to ClearOne’s
                   Supplemental Brief on Contempt Pursuant
                   to ECF No. 912

                                                             Page 118 of 183
                Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 238 of 555 PageID #: 57089
                                               Defendant ClearOne, Inc.'s Trial Exhibit List
                                                    C.A. No. 19-1343 (RGA) (CJB)
                R. 1014, Shure Incorporated v. ClearOne,
                Inc., Case No. 1:17-cv-03078 (N.D. Ill.),
X1237 3/8/2021 Shure's Unredacted Response to ClearOne's                    N/A                N/A    R, P
                Supplemental Brief on Contempt Pursuant
                to ECF No. 912
                R.I. 1043 ClearOne's Reply ISO
X1238 3/29/2021                                                             N/A                N/A   R, P, H
                Supplemental Brief re Contempt
                R. 1043 filed in Shure Incorporated v.
                ClearOne, Inc., Case No. 1:17-cv-03078
X1239 3/29/2021 (N.D. Ill.), ClearOne’s Unredacted Reply in                 N/A                N/A   R, P, H
                Support of its Supplemental Brief on
                Contempt Pursuant to ECF No. 912
                   Rowe Rebuttal Expert Report, Exhibit 1.0,
X1240   4/7/2021   Summary of Adjustments to Dr. Vander                     N/A                N/A     H
                   Veen's Estimates of ClearOne's Profits
                   Rowe Rebuttal Expert Report, Exhibit 2.0,
                   Summary of Adjustments to Dr. Vander
X1241   4/7/2021                                                            N/A                N/A     H
                   Veen's Estimates of ClearOne's Profits, By
                   Product
                   Rowe Rebuttal Expert Report, Exhibit 2.2,
                   Calculation of ClearOne's Incremental Sales
X1242   4/7/2021                                                            N/A                N/A     H
                   and Marketing Expenses, As A % of
                   Revenue
                   Rowe Rebuttal Expert Report, Exhibit 3.0,
                   Adjustment to Dr. Vander Veen's Estimates
X1243   4/7/2021                                                            N/A                N/A     H
                   of ClearOne's Profits (Alleged Patent
                   Infringement) For Article of Manufacture
                R. 36, Plaintiff-Appellant's Reply Brief,
                filed in Shure Incorporated v. ClearOne,
X1244 4/12/2021                                                             N/A                N/A    R, P
                Inc ., Case No. 21-1024 (Court of Appeals
                Federal Circuit)

                                                             Page 119 of 183
                  Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 239 of 555 PageID #: 57090
                                             Defendant ClearOne, Inc.'s Trial Exhibit List
                                                  C.A. No. 19-1343 (RGA) (CJB)

X1245    15-Jun                                                     SHURE000875                 SHURE000957

                PageVault Capture, "ClearOne News
                Release Details: TMC Names the ClearOne
X1246 7/20/2021                                                           N/A                       N/A          R, H, A
                BMA 360 a 2021 Communications
                Solutions Product of the Year Award"

                R. 63, Opinion, filed in Shure Incorporated
X1247 7/20/2021 v. ClearOne, Inc. , Case No. 2021-1024                    N/A                       N/A           R, P
                (Court of Appeals, Federal Circuit)
                PageVault Capture, "McNichols Perforated
X1248 8/11/2021                                                           N/A                       N/A          R, H, A
                Metal"
                PageVault Capture, "ClearOne Press
                Release: Aura Xceed BMA Wins
X1249 8/16/2021                                                           N/A                       N/A          R, H, A
                Prestigious TWICE VIP High-Res Audio
                Award"
                Ramsayer Deposition, Exhibit 4, "



X1250   9/12/2019                                                   SHURE941473                 SHURE941480        R




X1251                                                           SHUREDDEL0014150
                    Shure MXA910, MXA910-60CM,
X1252               MXA910W-A, MXA910W-US Ceiling              SHUREDDEL00052016             SHUREDDEL00052077
                    Array Microphone
X1253               2009 Frost & Sullivan Report                    SHURE743607




                                                           Page 120 of 183
                Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 240 of 555 PageID #: 57091
                                                 Defendant ClearOne, Inc.'s Trial Exhibit List
                                                      C.A. No. 19-1343 (RGA) (CJB)


X1254   1/2/1997                                                        SHURE292938               SHURE292971       R, H, A
                                 ."



X1255 11/5/2019                                                        EPA_AV000061               EPA_AV000065     R, P, H, A



                   Excel spreadsheet

X1256 12/29/2020                                                     CLRONE-00048650             CLRONE-00048650    R, H, P


                D.I. 303-2, Ex. 55 ClearOne Form 10-K FY
X1257                                                                         N/A                     N/A            R, H
                2019
                Exhibit F to the Responsive Expert Report
X1258                                                                         N/A                     N/A           R, H, P
                of Paul Waadevig
X1259           U.S. Patent No. 9,635,186                                     N/A                     N/A           R, P, H
X1260           U.S. Patent No. 9,813,806                                     N/A                     N/A           R, P, H
                Wiggins Deposition, Exhibit 8, "Shure
      03/XX/201
X1261           Slide Deck,                                             SHURE064904               SHURE064982
          4
                                    "
                Excel spreadsheet with filename, "
X1262 1/11/2013                                                         SHURE864430               SHURE864430          R

                   Presentation slide deck titled,
X1263 10/10/2011                                                        SHURE407551               SHURE407561          R
                   Excel spreadsheet with filename,
X1264 10/7/2019                                                         SHURE904614               SHURE904614        R, P




                                                               Page 121 of 183
                Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 241 of 555 PageID #: 57092
                                            Defendant ClearOne, Inc.'s Trial Exhibit List
                                                 C.A. No. 19-1343 (RGA) (CJB)




X1265 10/9/2019                                                SHUREDDEL080669              SHUREDDEL080671     R, P




                Channel Bulletin Letter from James Schanz
                to 'Channel Partner' titled, "ClearOne's
X1266 11/1/2019                                            SHUREDDEL00042290                SHUREDDEL00042293   R, P
                False and Misleading Statements Regarding
                Impact of Recent Court Ruling in the U.S."

                Channel Bulletin Letter from James Schanz
                to 'Channel Partner' titled, "ClearOne's
X1267 11/1/2019                                                    SHURE959784                 SHURE959787      R, P
                False and Misleading Statements Regarding
                Impact of Recent Court Ruling in the U.S."

X1268 11/13/2019                                              SHUREDDEL00025848             SHUREDDEL00025848   R, P


X1269 11/13/2019                                              SHUREDDEL00025847             SHUREDDEL00025847   R, P




X1270 11/13/2019                                              SHUREDDEL00025831             SHUREDDEL00025831   R, P



X1271 11/18/2019                                                   SHURE940741                 SHURE940742      R, P


X1272 11/18/2019                                                   SHURE939780                 SHURE939781      R, P




                                                          Page 122 of 183
               Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 242 of 555 PageID #: 57093
                                               Defendant ClearOne, Inc.'s Trial Exhibit List
                                                    C.A. No. 19-1343 (RGA) (CJB)


X1273 11/18/2019                                                      SHURE939771                 SHURE939771      R, P


                   Internal document titled,
X1274 11/2/2004                                                       SHURE623294                 SHURE623298       R
                                                         '"
                Shure MXA910 ceiling array microphone
X1275 11/2/2020                                                   VANDERBILT_001387            VANDERBILT_001445
                user guide, Version 14.3 (2020-K)
                Shure MXA910 ceiling array microphone
X1276 11/2/2020                                                       SHURE965120                 SHURE965178
                user guide, Version 14.3 (2020-K)
                Lantz Deposition, Exhibit 8; Cho
                Deposition, Exhibit 15, "



      11/5/2014,
X1277 1/27/2015,                                                      SHURE064329                 SHURE064333
      1/30/2015




X1278 11/6/2019                                                       SHURE957893                 SHURE957895      R, P


                   Shure MXA910 ceiling array microphone
X1279 11/6/2019                                                     PROTECH002983                PROTECH003041
                   user guide, Version 9 (2019-K)


X1280 11/8/2019                                                  SHUREDDEL00025794             SHUREDDEL00025795   R, P



                                                              Page 123 of 183
                Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 243 of 555 PageID #: 57094
                                            Defendant ClearOne, Inc.'s Trial Exhibit List
                                                 C.A. No. 19-1343 (RGA) (CJB)


X1281 11/8/2019                                               SHUREDDEL00025791             SHUREDDEL00025791   R, P


X1282 12/10/2019                                              SHUREDDEL00046629             SHUREDDEL00046631   R, P

X1283 12/10/2019                                              SHUREDDEL00043237             SHUREDDEL00043239   R, P

X1284 12/11/2019                                              SHUREDDEL00046637             SHUREDDEL0004669    R, P


X1285 12/11/2019                                              SHUREDDEL00043268             SHUREDDEL00043272   R, P




X1286 12/11/2019                                              SHUREDDEL00043257             SHUREDDEL00043259   R, P




X1287 12/12/2014                                              CLRONEDE-00031434             CLRONEDE-00031434   R, H




                 Klegon Deposition, Exhibit 22; Schanz
                 Deposition, Exhibit 18, "PageVault
      12/6/2019;
X1288            Capture, "New MXA910 Ceiling Array                SHURE783069                 SHURE783075
      11/5/2019
                 Microphone Variant Available for Pre-
                 Order""




                                                          Page 124 of 183
                Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 244 of 555 PageID #: 57095
                                                 Defendant ClearOne, Inc.'s Trial Exhibit List
                                                      C.A. No. 19-1343 (RGA) (CJB)

                   Internal document titled,
X1289 2/11/2004                                                         SHURE623285                 SHURE623290          R


X1290 2/20/2020                                                    SHUREDDEL00047359             SHUREDDEL00047360     R, P


X1291 2/21/2019                                                     SHUREDDEL078456              SHUREDDEL078457       R, P




X1292 2/22/2019                                                     SHUREDDEL078462              SHUREDDEL078464       R, P


                   Shure presentation slide deck titled,
X1293   2/6/2012                                                        SHURE272000                 SHURE272010        R, P


                  Video of Roger Quinney installing
X1294   2/6/2019                                                       Schonfeld003076             Schonfeld003076   R, P, H, A
                  MXA910-A
                  Video of Roger Quinney installing
X1295    2/6/2019                                                      Schonfeld003075             Schonfeld003075   R, P, H, A
                  MXA910-A
                  Video of Dino Martinez installing MXA910-
X1296    2/6/2019                                                      Schonfeld003074             Schonfeld003074   R, P, H, A
                  A
                  Video of Dino Martinez installing MXA910-
X1297    2/6/2019                                                      Schonfeld003073             Schonfeld003073   R, P, H, A
                  A
                  ClearOne-DeBusschere Deposition, Exhibit
                  1, "Capture extracted via Page Vault of
         2/6/2020
                  comment thread responsive to post titled,
X1298    (Capture                                                      Schonfeld003067             Schonfeld003072   R, P, H, A
                  "ClearOne Patents" from Reddit user,
           Date)
                  "theotherdanlynch" on CommercialAV
                  subreddit thread"
                  ClearOne Sales and Marketing Expenses
X1299   2013-2020                                                    CLRONE-00871578                                   R, H
                  (Confidential)

                                                               Page 125 of 183
                Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 245 of 555 PageID #: 57096
                                             Defendant ClearOne, Inc.'s Trial Exhibit List
                                                  C.A. No. 19-1343 (RGA) (CJB)

X1300   3/1/2020                                               SHUREDDEL00047576             SHUREDDEL00047576     R, P

X1301 3/12/2012                                                     SHURE025172                 SHURE025190
                Copy of Sound & Communications
X1302 3/19/2012                                                     SHURE778649                 SHURE778750       R, H, A
                magazine edition, Volume 58, No. 3
                Paper 95, Decision Denying Petitioner's
                Request for Rehearing of the Final Written
X1303 3/25/2019 Decision (Paper 93), Shure Incorporated v.                N/A                       N/A            R, P
                ClearOne, Inc., Case No. IPR2017-01785
                (PTAB)
                R. 1046-2 Ex. B to Declaration of
                Christopher Bradley in Support of
                ClearOne's Reply In Support of
                Supplemental Brief RE Contempt "Copy of
X1304 3/26/2021                                                           N/A                       N/A          R, P, H, A
                Investigative Report prepared by
                Christopher Bradley, entered in Shure
                Incorporated v. ClearOne Inc ., Case No.
                1:17-CV-03078 (N.D. Ill.)"
                R. 1046-3 Ex. C to Declaration of
                Christopher Bradley in Support of
                ClearOne's Reply In Support of
                Supplemental Brief RE Contempt "Copy of
X1305 3/26/2021                                                           N/A                       N/A          R, P, H, A
                Investigative Report prepared by
                Christopher Bradley, entered in Shure
                Incorporated v. ClearOne Inc ., Case No.
                1:17-CV-03078 (N.D. Ill.)"




                                                           Page 126 of 183
              Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 246 of 555 PageID #: 57097
                                            Defendant ClearOne, Inc.'s Trial Exhibit List
                                                 C.A. No. 19-1343 (RGA) (CJB)
                  R. 1046-4 Ex. D to Declaration of
                  Christopher Bradley in Support of
                  ClearOne's Reply In Support of
                  Supplemental Brief RE Contempt "Copy of
X1306 3/26/2021                                                          N/A                N/A    R, P, H, A
                  Investigative Report prepared by
                  Christopher Bradley, entered in Shure
                  Incorporated v. ClearOne Inc ., Case No.
                  1:17-CV-03078 (N.D. Ill.)"
                  R. 1046-5 Ex. E to Declaration of
                  Christopher Bradley in Support of
                  ClearOne's Reply In Support of
                  Supplemental Brief RE Contempt "Copy of
X1307 3/26/2021                                                          N/A                N/A    R, P, H, A
                  Investigative Report prepared by
                  Christopher Bradley, entered in Shure
                  Incorporated v. ClearOne Inc ., Case No.
                  1:17-CV-03078 (N.D. Ill.)"
                  R. 1046-6 Ex. F to Declaration of
                  Christopher Bradley in Support of
                  ClearOne's Reply In Support of
                  Supplemental Brief RE Contempt "Copy of
X1308 3/26/2021                                                          N/A                N/A    R, P, H, A
                  Investigative Report prepared by
                  Christopher Bradley, entered in Shure
                  Incorporated v. ClearOne Inc ., Case No.
                  1:17-CV-03078 (N.D. Ill.)"
                  R. 1046-7 Ex. G to Declaration of
                  Christopher Bradley in Support of
                  ClearOne's Reply In Support of
                  Supplemental Brief RE Contempt "Copy of
X1309 3/26/2021                                                          N/A                N/A    R, P, H, A
                  Investigative Report prepared by
                  Christopher Bradley, entered in Shure
                  Incorporated v. ClearOne Inc ., Case No.
                  1:17-CV-03078 (N.D. Ill.)"


                                                          Page 127 of 183
              Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 247 of 555 PageID #: 57098
                                            Defendant ClearOne, Inc.'s Trial Exhibit List
                                                 C.A. No. 19-1343 (RGA) (CJB)
                  R. 1046-8 Ex. H to Declaration of
                  Christopher Bradley in Support of
                  ClearOne's Reply In Support of
                  Supplemental Brief RE Contempt "Copy of
X1310 3/26/2021                                                          N/A                N/A    R, P, H, A
                  Investigative Report prepared by
                  Christopher Bradley, entered in Shure
                  Incorporated v. ClearOne Inc ., Case No.
                  1:17-CV-03078 (N.D. Ill.)"
                  R. 1046-9 Ex. I to Declaration of
                  Christopher Bradley in Support of
                  ClearOne's Reply In Support of
                  Supplemental Brief RE Contempt "Copy of
X1311 3/26/2021                                                          N/A                N/A    R, P, H, A
                  Investigative Report prepared by
                  Christopher Bradley, entered in Shure
                  Incorporated v. ClearOne Inc ., Case No.
                  1:17-CV-03078 (N.D. Ill.)"
                  R. 1046-10 Ex. J to Declaration of
                  Christopher Bradley in Support of
                  ClearOne's Reply In Support of
                  Supplemental Brief RE Contempt "Copy of
X1312 3/26/2021                                                          N/A                N/A    R, P, H, A
                  Investigative Report prepared by
                  Christopher Bradley, entered in Shure
                  Incorporated v. ClearOne Inc ., Case No.
                  1:17-CV-03078 (N.D. Ill.)"
                  R. 1046-11 Ex. K to Declaration of
                  Christopher Bradley in Support of
                  ClearOne's Reply In Support of
                  Supplemental Brief RE Contempt "Copy of
X1313 3/26/2021                                                          N/A                N/A    R, P, H, A
                  Investigative Report prepared by
                  Christopher Bradley, entered in Shure
                  Incorporated v. ClearOne Inc ., Case No.
                  1:17-CV-03078 (N.D. Ill.)"


                                                          Page 128 of 183
              Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 248 of 555 PageID #: 57099
                                            Defendant ClearOne, Inc.'s Trial Exhibit List
                                                 C.A. No. 19-1343 (RGA) (CJB)
                  R. 1046-12 Ex. L to Declaration of
                  Christopher Bradley in Support of
                  ClearOne's Reply In Support of
                  Supplemental Brief RE Contempt "Copy of
X1314 3/26/2021                                                          N/A                N/A    R, P, H, A
                  Investigative Report prepared by
                  Christopher Bradley, entered in Shure
                  Incorporated v. ClearOne Inc ., Case No.
                  1:17-CV-03078 (N.D. Ill.)"
                  R. 1046-13 Ex. M to Declaration of
                  Christopher Bradley in Support of
                  ClearOne's Reply In Support of
                  Supplemental Brief RE Contempt "Copy of
X1315 3/26/2021                                                          N/A                N/A    R, P, H, A
                  Investigative Report prepared by
                  Christopher Bradley, entered in Shure
                  Incorporated v. ClearOne Inc ., Case No.
                  1:17-CV-03078 (N.D. Ill.)"
                  R. 1046-14 Ex. N to Declaration of
                  Christopher Bradley in Support of
                  ClearOne's Reply In Support of
                  Supplemental Brief RE Contempt "Copy of
X1316 3/26/2021                                                          N/A                N/A    R, P, H, A
                  Investigative Report prepared by
                  Christopher Bradley, entered in Shure
                  Incorporated v. ClearOne Inc ., Case No.
                  1:17-CV-03078 (N.D. Ill.)"
                  R. 1046-15 Ex. O to Declaration of
                  Christopher Bradley in Support of
                  ClearOne's Reply In Support of
                  Supplemental Brief RE Contempt "Copy of
X1317 3/26/2021                                                          N/A                N/A    R, P, H, A
                  Investigative Report prepared by
                  Christopher Bradley, entered in Shure
                  Incorporated v. ClearOne Inc ., Case No.
                  1:17-CV-03078 (N.D. Ill.)"


                                                          Page 129 of 183
                Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 249 of 555 PageID #: 57100
                                             Defendant ClearOne, Inc.'s Trial Exhibit List
                                                  C.A. No. 19-1343 (RGA) (CJB)
                 R. 1046-16 Ex. P to Declaration of
                 Christopher Bradley in Support of
                 ClearOne's Reply In Support of
                 Supplemental Brief RE Contempt "Copy of
X1318 3/26/2021                                                           N/A                   N/A        R, P, H, A
                 Investigative Report prepared by
                 Christopher Bradley, entered in Shure
                 Incorporated v. ClearOne Inc ., Case No.
                 1:17-CV-03078 (N.D. Ill.)"
                 R. 1046-1 Ex. A to Declaration of
                 Christopher Bradley in Support of
                 ClearOne's Reply In Support of
      3/26/2021- Supplemental Brief RE Contempt "Copy of
X1319                                                                     N/A                   N/A        R, P, H, A
      3/29/2021 Investigative Report prepared by
                 Christopher Bradley, entered in Shure
                 Incorporated v. ClearOne Inc ., Case No.
                 1:17-CV-03078 (N.D. Ill.)"
                R. 1046, Declaration of Christopher Bradley
                in Support of ClearOne's Reply In Support
X1320 3/29/2021 of Supplemental Brief RE Contempt,                        N/A                   N/A        R, P, H, A
                entered in Shure Incorporated v. ClearOne
                Inc., Case No. 1:17-CV-03078 (N.D. Ill.)


X1321   3/3/2020                                                    SHURE940903              SHURE940904     R, P

                R. 47, Judgment, filed in Shure
                Incorporated v. ClearOne, Inc. , Case No.
X1322 3/6/2020                                                            N/A                   N/A          R, P
                2019-1755 (Court of Appeals Federal
                Circuit)
                Klegon Deposition, Exhibit 1, "Shure Slide
X1323 3/XX/2014 Deck Entitled,                                      SHURE000597              SHURE000675




                                                           Page 130 of 183
                 Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 250 of 555 PageID #: 57101
                                               Defendant ClearOne, Inc.'s Trial Exhibit List
                                                    C.A. No. 19-1343 (RGA) (CJB)

X1324 4/12/2020                                                  SHUREDDEL00044959             SHUREDDEL00044961    R, P
X1325 4/15/2019 DCP Master Excel spreadsheet                     SHUREDDEL00036996             SHUREDDEL00036996     R


X1326 4/23/2020                                                       SHURE948490                 SHURE948494       R, P



X1327 4/26/2017                                                       SHURE339712                 SHURE339712        R

                    Shure MXA910 ceiling array microphone
X1328 4/30/2020                                                       SHURE965057                 SHURE965057
                    user guide, Version 13 (2020-D)
X1329    4/5/2020                                                     SHURE948147                 SHURE948147       R, P


X1330    4/6/2018                                                     SHURE725687                 SHURE725691        R




X1331    4/8/2020                                                     SHURE948200                 SHURE948202        R


X1332    4/9/2018                                                     SHURE722985                 SHURE722988        R
                Schyvinck Deposition Exhibit 8, Copy of
X1333 5/20/2017 article in Crain's Chicago Business titled,                 N/A                       N/A          R, H, A
                "A microphone industry leader's next act"
X1334 5/20/2019                                                  SHUREDDEL00036157             SHUREDDEL00036161     R


X1335 5/29/2019                                                    SHUREDDEL079320             SHUREDDEL079321       R




                                                              Page 131 of 183
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 251 of 555 PageID #: 57102
               Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 252 of 555 PageID #: 57103
                                              Defendant ClearOne, Inc.'s Trial Exhibit List
                                                   C.A. No. 19-1343 (RGA) (CJB)




X1343 7/19/2019                                                  SHUREDDEL122542              SHUREDDEL122544     R, P




X1344   7/2/2019                                                     SHURE920788                 SHURE920789      R, P
                   Abraham Deposition, Exhibit 4, "
        7/3/2013
X1345      and                                                       SHURE278155                 SHURE278155
        7/8/2013



X1346 8/12/2019                                                 SHUREDDEL00040091             SHUREDDEL00040092   R, P


                Deposition of Cho, Exhibit 7, "Exhibit 43 to
                Declaration of Christina Von Der Ahe
                Rayburn in Support of ClearOne Inc.'s
      8/13/2014 Opposition to Shure's Motion for a
X1347    and    Preliminary Injunction,                      SHUREDDEL00052442                SHUREDDEL00052442   R, P
      8/14/2014




                                                            Page 133 of 183
                 Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 253 of 555 PageID #: 57104
                                                  Defendant ClearOne, Inc.'s Trial Exhibit List
                                                       C.A. No. 19-1343 (RGA) (CJB)
                      Berger Deposition, Exhibit 5, "
        8/13/2019 -
X1348                                                                    SHURE939526                 SHURE939529      R, P
         8/20/2019




X1349 8/15/2019                                                     SHUREDDEL00005102             SHUREDDEL00005104   R, P




X1350 8/20/2019                                                     SHUREDDEL00040282             SHUREDDEL00040284   R, P



X1351 8/20/2019                                                     SHUREDDEL00040277             SHUREDDEL00040278   R, P



X1352 8/20/2019                                                          SHURE957419                 SHURE957421      R, P


X1353 8/26/2019                                                        TEXADIA_002076              TEXADIA_002079     R, P


X1354 8/26/2019                                                        SPINITAR_001166             SPINITAR_001169    R, P


X1355 8/26/2019                                                        PROTECH002153                PROTECH002156     R, P




                                                                Page 134 of 183
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 254 of 555 PageID #: 57105
                 Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 255 of 555 PageID #: 57106
                                              Defendant ClearOne, Inc.'s Trial Exhibit List
                                                   C.A. No. 19-1343 (RGA) (CJB)




X1366 8/27/2019                                                     EPAAV_000048                EPAAV_000053      R, P, H, A




                     ClearOne Beamforming Microphone Array
X1367 8/29/2020                                                 CLRONEDE-00031440             CLRONEDE-00031449
                     Presentation Slide Deck
                     Berger Deposition, Exhibit 6, "
        8/6/2019 -
X1368                                                                SHURE939486                SHURE939489         R, P
        8/16/2019




X1369   8/9/2017                                                     SHURE116909                SHURE116910         R, P


                Schyvinck Deposition, Exhibit 10, "Shure
X1370 8/XX/2017 Slide Deck,                                          SHURE629136                SHURE629166




X1371 9/11/2019                                                  SHUREDDEL072715              SHUREDDEL072721         R



                     Retail Sales Agreement
X1372 9/13/2018                                                      SHURE791446                SHURE791447           R




                                                            Page 136 of 183
               Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 256 of 555 PageID #: 57107
                                                 Defendant ClearOne, Inc.'s Trial Exhibit List
                                                      C.A. No. 19-1343 (RGA) (CJB)




X1373 9/14/2018                                                     SHUREDDEL077123              SHUREDDEL077123     R, P




X1374 9/14/2018                                                         SHURE791445                 SHURE791445      R, P




X1375 9/16/2019                                                         SHURE957590                 SHURE957592      R, P

X1376 9/19/2019                                                         SHURE957599                 SHURE957602      R, P


X1377 9/22/2019                                                      AUDIOBIZ_001019              AUDIOBIZ_001019    R, P


X1378 9/24/2020                                                    SHUREDDEL00139678             SHUREDDEL00139687   R, P

                   Internal memorandum titled,
X1379 9/24/2020                                                    SHUREDDEL00133666             SHUREDDEL00133668


X1380 9/24/2020                                                    SHUREDDEL00133171             SHUREDDEL00133177   R, P



X1381   9/4/2018                                                    SHUREDDEL082017              SHUREDDEL082022     R, P



                                                               Page 137 of 183
                 Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 257 of 555 PageID #: 57108
                                                 Defendant ClearOne, Inc.'s Trial Exhibit List
                                                      C.A. No. 19-1343 (RGA) (CJB)


X1382   9/4/2019                                                        SHURE960402                 SHURE960408      R, P


X1383   9/5/2019                                                    SHUREDDEL080168              SHUREDDEL080172     R, P


X1384   9/5/2019                                                   SHUREDDEL00040436             SHUREDDEL00040440   R, P

                   Shure presentation slide deck titled,
X1385 April 2019                                                   SHUREDDEL00037469             SHUREDDEL00037491

                   Shure presentation slide deck titled,
X1386 April 2020                                                   SHUREDDEL00045335             SHUREDDEL00045365

                   Shure market research and analysis slide
        August     deck titled,
X1387                                                                   SHURE362478                 SHURE362519
         2014

                   Shure market research and analysis slide
        August
X1388              deck titled,                                         SHURE025283                 SHURE025371
         2014
                                               "
                   Shure presentation slide deck titled,
        August
X1389                                                              SHUREDDEL00031089             SHUREDDEL00031109
         2018
                   Shure presentation slide deck titled,
        August
X1390                                                              SHUREDDEL00031057             SHUREDDEL00031075
         2018




                                                               Page 138 of 183
                 Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 258 of 555 PageID #: 57109
                                               Defendant ClearOne, Inc.'s Trial Exhibit List
                                                    C.A. No. 19-1343 (RGA) (CJB)

                Horton Deposition, Exhibit 6, "Capture
                extracted via Page Vault of comment thread
       Capture
                stemming from post from reddit user
X1391   Date:                                                               N/A                   N/A        R, P, H, A
                'DrAcula_MD' titled, "Anyone else dealing
      1/29/2020
                with the aftermath of this Shure/ClearOne
                lawsuit?", on CommercialAV subreddit"

                Horton Deposition, Exhibit 7, "Capture
                extracted via Page Vault of specific portions
       Capture
                of common thread responsive to reddit user
X1392   Date:                                                               N/A                   N/A        R, P, H, A
                'DrAcula_MD' titled, "Anyone else dealing
      5/11/2020
                with the aftermath of this Shure/ClearOne
                lawsuit?", on CommercialAV subreddit"
                Shure-Horton Deposition, Exhibit 1,
                "Capture extracted via Page Vault of
       Capture
                comment thread stemming from post from
X1393   Date:                                                               N/A                   N/A        R, P, H, A
                reddit user 'mistakenotmy' titled, "Auto
      5/26/2020
                Tracking Camera Recommendations" on
                CommercialAV subreddit"
                Shure-Horton Deposition, Exhibit 2,
                "Capture extracted via Page Vault of
       Capture specific portions of comment thread
X1394   Date:   responsive to post from reddit user                         N/A                   N/A        R, P, H, A
      5/26/2020 'mistakenotmy' titled, "Auto Tracking
                Camera Recommendations" on
                CommercialAV subreddit "
                Cerra Deposition, Exhibit 28, "Patel Exhibit
X1395 Dec. 2006 24 -                                                        N/A                   N/A

        December Shure presentation slide deck titled,
X1396                                                                 SHURE271575              SHURE271602
          2006


                                                             Page 139 of 183
                  Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 259 of 555 PageID #: 57110
                                                  Defendant ClearOne, Inc.'s Trial Exhibit List
                                                       C.A. No. 19-1343 (RGA) (CJB)
                    Shure presentation slide deck titled,
      December
X1397                                                                    SHURE000485                 SHURE000507       R
        2013

                    Attachment to email chain from
        December
X1398                                                               CLRONEDE-00031435             CLRONEDE-00031439   R, H
          2014


                    Shure presentation slide deck titled,
        February
X1399                                                                    SHURE707391                 SHURE707411
          2018
                    Shure presentation slide deck titled,
        January
X1400                                                                    SHURE708400                 SHURE708430
         2018
                    Shure presentation slide deck titled,
        January
X1401                                                               SHUREDDEL00033748             SHUREDDEL00033784
         2019
                    Shure presentation slide deck titled,
        January
X1402                                                               SHUREDDEL00033545             SHUREDDEL00033581
         2019
                    Shure presentation slide deck titled,
X1403   July 2013                                                        SHURE000508                 SHURE000526

                    Shure presentation slide deck titled,
X1404   July 2017                                                        SHURE353022                 SHURE353041
                    Shure presentation slide deck titled,
X1405   July 2018                                                    SHUREDDEL076682              SHUREDDEL076702

                    Shure presentation slide deck titled,
X1406   July 2018                                                   SHUREDDEL00030469             SHUREDDEL00030489
                                          "


                                                                Page 140 of 183
                Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 260 of 555 PageID #: 57111
                                                  Defendant ClearOne, Inc.'s Trial Exhibit List
                                                       C.A. No. 19-1343 (RGA) (CJB)
                    Shure presentation slide deck titled,
X1407   July 2018                                                   SHUREDDEL00030321             SHUREDDEL00030342

                    Shure presentation slide deck titled,
X1408   July 2018                                                   SHUREDDEL00030297             SHUREDDEL00030318

                    Shure presentation slide deck titled,
X1409   July 2020                                                   SHUREDDEL00130332             SHUREDDEL00130360
                                     "
                Shure market research and analysis slide
X1410 June 2013 deck titled,                                             SHURE025043                 SHURE025110

                    Abraham Deposition, Exhibit 3, "
X1411 June 2013                                                          SHURE000527                 SHURE000596


                    Shure presentation slide deck titled,
X1412 June 2014                                                          SHURE000821                 SHURE000874      R

                    Shure presentation slide deck titled,
X1413 June 2014                                                          SHURE000730                 SHURE000783      R

                    Shure market research and analysis slide
                    deck titled,
X1414 June 2014                                                          SHURE000676                 SHURE000729


                Shure market research and analysis slide
X1415 June 2015 deck titled,                                             SHURE000958                 SHURE000106

                    Shure presentation slide deck titled,
X1416 June 2020                                                     SHUREDDEL00129077             SHUREDDEL00129106




                                                                Page 141 of 183
                  Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 261 of 555 PageID #: 57112
                                                  Defendant ClearOne, Inc.'s Trial Exhibit List
                                                       C.A. No. 19-1343 (RGA) (CJB)
                    Shure presentation slide deck titled,
X1417 March 2016                                                         SHURE235846                 SHURE235854

                    Shure presentation slide deck titled,
X1418 March 2019                                                    SHUREDDEL00036400             SHUREDDEL00036427

                    Shure presentation slide deck titled,
X1419 March 2020                                                    SHUREDDEL00049648             SHUREDDEL00049669

                    Shure presentation slide deck titled,
X1420 March 2020                                                    SHUREDDEL00044552             SHUREDDEL00044573

                    Shure presentation slide deck titled,
X1421 May 2019                                                      SHUREDDEL00038058             SHUREDDEL00038082

        October
X1422                                                                    SHURE001695                 SHURE001721
         2014
                    Shure presentation slide deck titled,
      September
X1423                                                               SHUREDDEL00031590             SHUREDDEL00031613
        2018
                    Collection of invoices from Levin
                    Professional Systems d/b/a Washington
X1424                                                                    WPSIL_000106               WPSIL_000180      R, H, A
                    Professional Systems to

                    Weinstein Deposition, Exhibit 12, "Scoring
X1425                                                                 WEINSTEIN000683              WEINSTEIN000686     R, H
                    sheet by Jim Kelly"
                    Weinstein Deposition, Exhibit 11, "Scoring
X1426                                                                 WEINSTEIN000679              WEINSTEIN000682     R, H
                    sheet by Ira Weinstein "
                    Vander Veen Deposition, Exhibit 3,
                    "Capture taken through Page Vault of
X1427                                                                 WEINSTEIN000630              WEINSTEIN000634
                    webpage re various Parle beamforming
                    microphone models and specifications"


                                                                Page 142 of 183
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 262 of 555 PageID #: 57113
                 Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 263 of 555 PageID #: 57114
                                               Defendant ClearOne, Inc.'s Trial Exhibit List
                                                    C.A. No. 19-1343 (RGA) (CJB)
                   Weinstein Deposition, Exhibit 3, "Excel
                   spreadsheet containing Shure MXA910 and
X1436                                                      SHUREDDEL00050695                   SHUREDDEL00050695
                   MXA910W sales data spanning from June
                   2016 through April 2020"
                   Maselbas Deposition, Exhibit I, "Shure
                   presentation slide deck entitled,
X1437                                                      SHUREDDEL00044148                   SHUREDDEL00044188


                   Schanz Deposition, Exhibit 5, "Attachment
                   to email from
X1438                                                            SHUREDDEL00034332             SHUREDDEL00034332     R, P


                   Schanz Deposition, Exhibit 2,
X1439                                                            SHUREDDEL00033191             SHUREDDEL00033204       R

                   Shure MXA910 ceiling array microphone
X1440                                                            SHUREDDEL00027405             SHUREDDEL00027465
                   user guide, Version 11 (2020-B)
X1441              Draft Declaration of Jim Scalise of Avidex         SHURE965266                 SHURE965269      R, P, H, A
X1442              Declaration of Marques Manning of Kontek           SHURE964965                 SHURE964968      R, P, H, A
                Smith Deposition, Exhibit 23, "Installation
                Instructions for Shure's FyreWrap Fire
X1443                                                                 SHURE947521                 SHURE947522        R, P
                Protective Wrap System and Array
                microphone (MXA910)"
                Q&A in Response to Recent U.S. Court
X1444                                                                 SHURE940594                 SHURE940598        R, P
                Ruling on Shure MXA910
                Excel spreadsheet titled "Sales & Expense
X1445 8/28/2020 Summary, Shure Incorporated, MXA910 &                 SHURE891679                 SHURE891679
                P300, Apr 2013 - Jul 2020"
                Klegon Deposition, Exhibit 18; Klegon
X1446                                                                 SHURE871748                 SHURE871748        R, P
                Deposition, Exhibit 18a, "Illustration "


                                                             Page 144 of 183
        Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 264 of 555 PageID #: 57115
                                       Defendant ClearOne, Inc.'s Trial Exhibit List
                                            C.A. No. 19-1343 (RGA) (CJB)
          Klegon Deposition, Exhibit 17, "Illustration
X1447                                                         SHURE871747              SHURE871747    R, P
          "
          Miller Deposition, Exhibit 18; Klegon
X1448     Deposition, Exhibit 16, "Undated                    SHURE871746              SHURE871746    R, P
          Illustration"
          Miller Deposition, Exhibit 17; Klegon
X1449     Deposition, Exhibit 15, "Undated                    SHURE871745              SHURE871745    R, P
          Illustration"
          Klegon Deposition, Exhibit 13; Schanz
          Deposition, Exhibit 25; Moore Deposition,
X1450     Exhibit 6; DiFalco Deposition, Exhibit 13,          SHURE869326              SHURE869326    R, P
          "Schematic design titled, "MXA910 (All
          Variants) Flush to bottom of the grid""
          Abraham Deposition, Exhibit 15, "Shure
X1451     Ceiling Array MXA910W-US schematic                  SHURE863917              SHURE863917
          drawing"
          R. 786, SEALED Exhibit 3 to Rayburn
          Declaration in support of ClearOne Reply in
          support of Motion for Contempt and
X1452                                                         SHURE863911              SHURE863912   R, P, H
          Additional Discovery, Spreadsheet entitled
          BOM Compare: MXA910W vs MXA910W-
          A vs MXA910W-US
          R. 786, SEALED Exhibit 2 to Rayburn
          Declaration in support of ClearOne Reply in
          support of Motion for Contempt and
X1453                                                         SHURE863910              SHURE863910   R, P, H
          Additional Discovery, Image of Schematics
          with notes, "widest dimension of frame
          below T-bar"
          Wiggins Deposition, Exhibit 11, "Shure
X1454     internal slide deck re                              SHURE824158              SHURE824160




                                                     Page 145 of 183
        Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 265 of 555 PageID #: 57116
                                     Defendant ClearOne, Inc.'s Trial Exhibit List
                                          C.A. No. 19-1343 (RGA) (CJB)
          Wiggins Deposition, Exhibit 5,
          "Attachment to email from
X1455                                                       SHURE784160              SHURE784160   R, P



          Shure MXA910 ceiling array microphone
X1456                                                       SHURE782976              SHURE783034
          user guide, Version 9 (2019-K)
          Abraham Deposition, Exhibit 50, "Shure
X1457                                                       SHURE782922              SHURE782922   R, P
          MXA910W-A Contact Sheet"
          Abraham Deposition, Exhibit 49,
          "Schematic drawing prepared by Shure
X1458                                                       SHURE782920              SHURE782920
          numbered 90-27235, revised version
          number 4"
          Shure MXA910 ceiling array microphone
X1459                                                       SHURE780962              SHURE781019
          user guide, Version 7 (2019-H)
          Shure MXA910 ceiling array microphone
X1460                                                       SHURE780876              SHURE780933
          user guide, Version 7 (2019-H)
          Shure MXA910 ceiling microphone array
X1461                                                       SHURE780109              SHURE780167
          user guide, Version 5 (2019-F)
          Shure MXA910 ceiling array microphone
X1462                                                       SHURE779416              SHURE779474
          user guide, Version 5 (2019-F)
          Schanz Deposition, Exhibit 18, "Shure
X1463     MXA910 Ceiling Array Microphone                   SHURE771790              SHURE771791
          Competitive Comparison"
          .MP4 file with filename, "MXA Ceiling
X1464                                                       SHURE759832              SHURE759832
          Array Product Overview FINAL"
          Maselbas Deposition, Exhibit G, "Excel
X1465     spreadsheet with filename, "Market Size           SHURE730084              SHURE730084
          Model for Corporate AV rev30""
          Excel spreadsheet at filename, "FY2010
X1466     Sales Incentive Balance Summary - for             SHURE630286              SHURE630286   R, P
          Sales Manager Input"

                                                    Page 146 of 183
        Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 266 of 555 PageID #: 57117
                                      Defendant ClearOne, Inc.'s Trial Exhibit List
                                           C.A. No. 19-1343 (RGA) (CJB)
          Excel spreadsheet with filename,
X1467                                                        SHURE630207              SHURE630207

          Schyvinck Deposition, Exhibit 3, "Shure
X1468                                                        SHURE626468              SHURE626513
          infoComm16 Show Book"
          Presentation slide deck at filename, "
X1469                                                        SHURE601356              SHURE601412
          Schanz Deposition, Exhibit 9, "Untitled and
X1470                                                        SHURE598972              SHURE599004
          undated Shure internal slide deck"
          Excel spreadsheet with filename, "Use Case
X1471                                                        SHURE533944              SHURE533944   R
          Background Info"
          Shure presentation slide deck titled, "
X1472                                                        SHURE419803              SHURE419863   R
                      "
          Abraham Deposition, Exhibit 12; Lantz
X1473     Deposition, Exhibit 12, "Document entitled,        SHURE362825              SHURE362913   R
          "Ceiling Tile Form Factor Speakers""
          Excel spreadsheet titled, "Enterprise
X1474                                                        SHURE339763              SHURE339763   R
          Connect Leads"
          Klegon Deposition, Exhibit 4, "Document
X1475     with tracked changes re MXA910 Ceiling             SHURE251451              SHURE251454   R
          Array Microphone"
          Maselbas Deposition, Exhibit 2, "Thumb
          Drive - Excel Spreadsheets,                        SHURE120706,
                                                             SHURE771188,
                                                             SHURE771189,
                                                             SHURE401060,
X1476                                                                                               R
                                                             SHURE697289,
                                                             SHURE706624,
                                                             SHURE625249,
                                                             SHURE731965
                 "


                                                    Page 147 of 183
        Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 267 of 555 PageID #: 57118
                                      Defendant ClearOne, Inc.'s Trial Exhibit List
                                           C.A. No. 19-1343 (RGA) (CJB)
          Abraham Deposition, Exhibit 2, "Shure
X1477     slide deck entitled, "                             SHURE053156               SHURE053242          R
                 "
          Schanz Deposition, Exhibit 24,
X1478                                                        SHURE021013               SHURE021020          R

          Abraham Deposition, Exhibit 56, "Shure
          top-view schematic diagram of the outer
X1479                                                       SHURE0000035              SHURE0000035        R, P
          dimensions of the MXA910-A, 60-
          centimeter version"
          Roy Deposition, Exhibit 44, "Photos of
X1480                                                      SH-CSTRS 00594             SH-CSTRS 00595    R, P, H, A
          Shure MXA910 not flush with ceiling"
          R. 711-2, Exhibit J to Graham Declaration
          in support of ClearOne's Motion for an
X1481     Order Holding Shure in Contempt and               Schonfeld003080           Schonfeld003080    R, P, H
          Allowing Additional Discovery, Undated
          Photo of Shure Product's Corners
          R. 711-1, Exhibit I to Graham Declaration
          in support of ClearOne's Motion for an
X1482     Order Holding Shure in Contempt and               Schonfeld003078           Schonfeld003078    R, P, H
          Allowing Additional Discovery, Undated
          Photo of Shure Product's Corners
          R. 711-1, Exhibit H to Graham Declaration
          in support of ClearOne's Motion for an
X1483     Order Holding Shure in Contempt and               Schonfeld003077           Schonfeld003077    R, P, H
          Allowing Additional Discovery, Undated
          Photo of Shure Product's Corners
          Grand View Research report titled, “U.S.
X1484                                                       Schonfeld003043           Schonfeld003057    R, A, H
          Ceiling Tile Grid: Market Analysis, 2020”




                                                    Page 148 of 183
        Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 268 of 555 PageID #: 57119
                                       Defendant ClearOne, Inc.'s Trial Exhibit List
                                            C.A. No. 19-1343 (RGA) (CJB)
          Tunnell Deposition, Exhibit 7, "Email from
          Dean Hinton to Tim Valley, cc Shane
X1485     Tunnell re Shen Milsom and Wilke with             PROTECH000438              PROTECH000439   R, P, H, A
          attachment re image001.png (Attachment
          not included)"
          Prosecution history of United States Patent
X1486                                                               N/A                     N/A            R
          Application No. 14701376
          Prosecution history of United States Patent
X1487                                                               N/A                     N/A            R
          Application No. 15403765
          Prosecution history of United States Patent
X1488                                                               N/A                     N/A            R
          Application No. 15631310
          Prosecution history of United States Patent
X1489                                                               N/A                     N/A            R
          Application No. 15833404
          U.S. Patent Application Publication No.
X1490                                                               N/A                     N/A            R
          20160323668 (re Appl. No. 14701376)
          U.S. Patent Application Publication No.
X1491                                                               N/A                     N/A            R
          20180338205 (re Appl. No. 15833404)
X1492     U.S. Patent No. 9,565,493 (Abraham et al.)                N/A                     N/A
          Prosecution history of U.S. Patent No.
X1493                                                               N/A                     N/A         R, P, H
          9,635,186
          Prosecution history of U.S. Patent No.
X1494                                                               N/A                     N/A         R, P, H
          9,813,806
          Prosecution history for Provisional U.S.
X1495                                                               N/A                     N/A         R, P, H
          Application No. 61/495,961
          Prosecution history for Provisional U.S.
X1496                                                               N/A                     N/A         R, P, H
          Application No. 61/495,968
          Prosecution history for Provisional U.S.
X1497                                                               N/A                     N/A         R, P, H
          Application No. 61/495,971
          Prosecution history for Provisional U.S.
X1498                                                               N/A                     N/A         R, P, H
          Application No. 61/828,524
          Prosecution history for Provisional U.S.
X1499                                                               N/A                     N/A         R, P, H
          Application No. 61/771,751

                                                     Page 149 of 183
        Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 269 of 555 PageID #: 57120
                                      Defendant ClearOne, Inc.'s Trial Exhibit List
                                           C.A. No. 19-1343 (RGA) (CJB)
          Prosecution history for U.S. Patent No.
X1500                                                              N/A                N/A    R, P, H
          9,264,553
          Prosecution history for U.S. Design Patent
X1501                                                              N/A                N/A
          No. D865,723
          Prosecution history for U.S. Patent No.
X1502                                                              N/A                N/A      R
          9,565,493
          File history for United States Application
X1503                                                              N/A                N/A    R, P, H
          No. 15/488,492
          File history for United States Application
X1504                                                              N/A                N/A    R, P, H
          No. 15/488,492
          Capture taken via Page Vault of AVI
X1505                                                              N/A                N/A    R, A, H
          Systems' home webpage
          Capture taken via Page Vault of
          Bloomberg's company profile for Shure
X1506     Incorporated, accessed at                                N/A                N/A    R, A, H
          https://www.bloomberg.com/profile/compa
          ny/97057Z:US
          Capture taken Page Vault of ClearOne
          webpage for reference product,
          Beamforming Microphone Array 2,
X1507                                                              N/A                N/A
          accessed at
          https://www.ClearOne.com/beamforming-
          microphone-array-2
          Capture taken Page Vault of ClearOne
          webpage for reference product,
X1508     Beamforming Microphone Array, accessed                   N/A                N/A
          at https://www.ClearOne.com/beamforming-
          microphone-array




                                                    Page 150 of 183
        Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 270 of 555 PageID #: 57121
                                      Defendant ClearOne, Inc.'s Trial Exhibit List
                                           C.A. No. 19-1343 (RGA) (CJB)
          Capture taken via Page Vault of Company-
          Histories.com company profile for Shure
X1509     Incorporated, accessed at https://company-               N/A                N/A    R, H, A
          histories.com/Shure-Inc-Company-
          History.html
          Shure MXA910 ceiling array microphone
X1510                                                              N/A                N/A
          user guide, Version 14.3 (2020-K)
          Capture taken via Page Vault of Pro Tech
X1511     Marketing webpage, "Our Team", accessed                  N/A                N/A    R, H, A
          at https://protechm.com/our_team/
          Capture taken via Page Vault of Room
X1512     Ready "About" webpage, accessed at                       N/A                N/A    R, H, A
          https://roomready.com/about/
          Capture taken via Page Vault of Shure
          webpage titled, "Shure History", accessed at
X1513                                                              N/A                N/A
          https://www.shure.com/en-US/about-
          us/history
          Capture taken via Page Vault of Shure
          webpage titled, "Dealer Locator", accessed
X1514                                                              N/A                N/A      R
          at https://www.shure.com/en-
          US/dealer_locator
          Capture taken via Page Vault of Shure
          webpage titled, "Microflex Advance™
X1515     Array Microphones", accessed at                          N/A                N/A
          https://www.shure.com/en-US/conferencing-
          meetings/solutions/microflex_advance




                                                    Page 151 of 183
        Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 271 of 555 PageID #: 57122
                                      Defendant ClearOne, Inc.'s Trial Exhibit List
                                           C.A. No. 19-1343 (RGA) (CJB)
          Capture taken via Page Vault of Shure
          webpage titled, "Shure Sales
          Representatives List", accessed at
X1516                                                              N/A                N/A      R
          https://www.shure.com/en-
          US/meta/dealer_locator/shure-sales-
          representatives
          Exhibit 7.0 to Opening Expert Report of W.
          Christopher Bakewell, Shure MXA910
X1517     Sales Table, submitted in Shure                          N/A                N/A    R, P, H
          Incorporated v. ClearOne, Inc ., Case No.
          1:17-cv-03078 (N.D. Ill.)
          Rowe Rebuttal Expert Report, Exhibit 3.1,
          Summary of Bill Of Materials For
X1518                                                              N/A                N/A    R, H, A
          ClearOne's BMA CT, BMA CTH, and
          BMA 360
          Attachment C to Rowe Rebuttal Expert
X1519     Report - Excel spreadsheet with filename                 N/A                N/A    R, H, A
          labeled, "BMA CT cost reconciliation"
          Attachment D to Rowe Rebuttal Expert
X1520     Report - Excel spreadsheet with filename                 N/A                N/A    R, H, A
          labeled, "BMA 360 cost reconciliation"
          Berger Deposition, Exhibit 1, "Copy of
X1521                                                              N/A                N/A      R
          LinkedIn Profile Page for Cassie Berger"
          Maselbas Deposition, Exhibit A, "Excel
X1522     spreadsheet with Shure MXA910 and Shure                  N/A                N/A
          MXA910W sales data"
          Miller Deposition, Exhibit 15, "Shure
X1523     MXA910A Ceiling Array Microphone User                    N/A                N/A
          Guide"
          Smith Deposition, Exhibit 2, "Shure's Press
          Release, "ClearOne's False and Misleading
X1524                                                              N/A                N/A     R, P
          Statements re Impact of Recent Court
          Ruling in the U.S.""

                                                    Page 152 of 183
        Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 272 of 555 PageID #: 57123
                                      Defendant ClearOne, Inc.'s Trial Exhibit List
                                           C.A. No. 19-1343 (RGA) (CJB)
          Smith Deposition, Exhibit 3, "Shure
X1525                                                              N/A                N/A
          Illustration re Installation of MXA910"
          Morrow Deposition, Exhibit 3, "Document
X1526     entitled,                                                N/A                N/A     R, H, A
                     "
          Schanz Deposition, Exhibit 16a, "
X1527                                                              N/A                N/A     R, P, H
          Schanz Deposition, Exhibit 16b, "CSV File
X1528                                                              N/A                N/A     R, P, H
          containing messages"
          Schanz Deposition, Exhibit 27, "Klegon
X1529     Exhibit 4, "Shure MXA910 Ceiling Array                   N/A                N/A
          Microphone User Guide""
          Rogina Deposition, Exhibit 5, "Excel
X1530     Spreadsheet - MXA910 Sales for August                    N/A                N/A
          2019 to October 2020"
          Rogina Deposition, Exhibit 6, "Shure Sales
X1531     Analysis Summary Spreadsheet (.XLS File) -               N/A                N/A     R, H, A
          Date Range: January 2020 to June 2021"
          Rogina Deposition, Exhibit 7, "Original
          image file version of            project
X1532     manager and unspecified individual from                  N/A                N/A    R, P, H, A
                    being involved in ceiling tile
          installation"
          Manning Deposition, Exhibit 5, "Excel
          spreadsheet containing export of all of
X1533                                                              N/A                N/A    R, P, H, A
          Kontek System's projects that utilized some
          variant of the Shure MXA910 "
          Manning Deposition, Exhibit 7, "Original
          image file version of Exhibit 6 (Photo of
X1534                                                              N/A                N/A    R, P, H, A
          installation of a Shure MXA910 variant at
                              "


                                                    Page 153 of 183
        Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 273 of 555 PageID #: 57124
                                       Defendant ClearOne, Inc.'s Trial Exhibit List
                                            C.A. No. 19-1343 (RGA) (CJB)
          Manning Deposition, Exhibit 7A, "Zoomed
          in version of Exhibit 7 (Original image file
X1535     version of photograph of installation of a                 N/A               N/A   R, P, H, A
          Shure MXA910 variant at

          Abraham Deposition, Exhibit 54,
X1536     "Photocopy of prototype developed of                       N/A               N/A     R, P
          MXA910-A"
          Abraham Deposition, Exhibit 55,
X1537     "Photocopy of different iteration of                       N/A               N/A     R, P
          prototype developed of MXA910-A"
          Manning Deposition, Exhibit 8, "Zoomed-
          in copy of Exhibit 7 (original image file
X1538                                                                N/A               N/A   R, P, H, A
          version of photo of installation of Shure
          MXA910 variant at
          Ramsayer Deposition, Exhibit 1, "Copy of
X1539                                                                N/A               N/A       R
          Ramsayer LinkedIn Profile Page"
          Ramsayer Deposition, Exhibit 1, "Scott
X1540                                                                N/A               N/A       R
          Ramsayer, CTS, CCDA LinkedIn Profile"
          ClearOne-DeBusschere Deposition, Exhibit
          32, "Copy of webpage on JANDS.com
X1541                                                                N/A               N/A   R, P, H, A
          showing Shure A910-25MM Ceiling array
          adapter for MXA910"
X1542     Paul Waadevig CV                                           N/A               N/A       R
          35 USCA 103, "Conditions for
X1543                                                                N/A               N/A     R, P
          patentability; non-obvious subject matter"
          Exhibit A to Declaration of Joel Delman in
          support of ClearOne's Opposition to Shure's
X1544                                                                N/A               N/A    R, H, A
          Motion for Preliminary Injunction, Joel
          Delman references considered at D.I. 302-2



                                                       Page 154 of 183
        Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 274 of 555 PageID #: 57125
                                      Defendant ClearOne, Inc.'s Trial Exhibit List
                                           C.A. No. 19-1343 (RGA) (CJB)

          Exhibit I to Hudson Declaration ISO
          ClearOne's Opposition to Shure's Motion
X1545     for Preliminary Injunction, Pro Acoustics                N/A                N/A    R, H, A
          Product Page, "Tannoy 110TB-P Compact
          Tile Bridge Subwoofer" at D.I. 302-2
          Exhibit 01 to Delman Expert Report, Joel
X1546                                                              N/A                N/A    R, H, A
          Delman CV
          Exhibit 02 to Delman Expert Report, List of
X1547                                                              N/A                N/A    R, H, A
          Patents with Joel Delman as inventor
          Exhibit 03 to Delman Expert Report, Joel
X1548     Delman | Expert Witness Testimony, Prior                 N/A                N/A    R, H, A
          Four Years
          Exhibit 04 to Delman Expert Report, Joel
X1549                                                              N/A                N/A    R, H, A
          Delman's Expert Witness Experience
          Exhibit 05 to Delman Expert Report, Joel
X1550                                                              N/A                N/A    R, H, A
          Delman's General Articles and Publications
          Exhibit 08 to Delman Expert Report, Joel
X1551                                                              N/A                N/A    R, H, A
          Delman References Considered
          Exhibit 09 to Delman Expert Report,
X1552                                                              N/A                N/A    R, H, A
          Photographs of the MXA910
          Exhibit 11 to Delman Expert Report,
X1553                                                              N/A                N/A    R, H, A
          Photographs of the Nailor 4330 CB
          Exhibit 13 to Delman Expert Report,
X1554                                                              N/A                N/A    R, H, A
          Kramer audioDESIGN C81 2-C820
          Exhibit 14 to Delman Expert Report, Pro
X1555     Acoustics Product Page, "Tannoy 110TB-P                  N/A                N/A    R, H, A
          Compact Tile Bridge Subwoofer"
          Exhibit 15 to Delman Expert Report,
X1556     Photographs of the Tannoy 110 TB                         N/A                N/A    R, H, A
          Subwoofer


                                                    Page 155 of 183
        Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 275 of 555 PageID #: 57126
                                      Defendant ClearOne, Inc.'s Trial Exhibit List
                                           C.A. No. 19-1343 (RGA) (CJB)
          Exhibit 7 to Declaration of Christina von
          der Ahe Rayburn in Support of ClearOne's
          Opposition to Shure's Motion for a
          Preliminary Injunction, Email from
X1557                                                              N/A                N/A      R, P
          Elizabeth Cho to Gregory Lantz, Robert
          Klegon, Bob Abraham, Melanie Koskamp,
          John Miller re olympus array mic id catchup
          at D.I. 303-1
          USPTO Manual for Patent Examining
X1558                                                              N/A                N/A    R, P, H, A
          Procedure
          Maselbas Deposition, Exhibit D, "Excel
X1559     spreadsheet including Shure MXA910 sales                 N/A                N/A        R
          data and P300-IMX sales data"
          Weinstein Deposition, Exhibit 10,
X1560     "ClearOne BMA CT Brochure and Product                    N/A                N/A
          Specification Document"
          Hatch Deposition, Exhibit 3B, "Document
          tilted, "Array Microphone System and
X1561                                                              N/A                N/A      R, P
          Method of Assembling the Same", Docket
          No. 025087-8035 (GLS 02-653)"
          Hatch Deposition, Exhibit 5, "Shure
X1562     MXA910, MXA910-60CM, MXA910W-A                           N/A                N/A
          User Guide"
          Hatch Deposition, Exhibit 7, "Video, in
          .mp4 file format, representing Shure's
          Technology Tutorial submitted in
X1563                                                              N/A                N/A      R, P
          association with Shure, Incorporated vs.
          ClearOne, Incorporated, Case No. 19-cv-
          1343"
          Hatch Deposition, Exhibit 10A, "Annotated
          Version of Declaration of Paul Hatch in
X1564                                                              N/A                N/A      R, P
          Support of Shure Motion for Preliminary
          Injunction (Hatch Ex. 10)"

                                                    Page 156 of 183
        Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 276 of 555 PageID #: 57127
                                    Defendant ClearOne, Inc.'s Trial Exhibit List
                                         C.A. No. 19-1343 (RGA) (CJB)
          Hatch Deposition, Exhibit 10B, "Second
          Annotated Version of Declaration of Paul
X1565                                                            N/A                N/A        R, P
          Hatch in Support of Shure Motion for
          Preliminary Injunction (Hatch Ex. 10)"
          Hatch Deposition, Exhibit 12, "IDSA
X1566     Article, "What Paul Hatch Thinks About                 N/A                N/A      R, P, H, A
          Contrast""
          Hatch Deposition, Exhibit 14, "Annotated
X1567     Shure MXA910 from Hatch Opening                        N/A                N/A
          Report"
          Hatch Deposition, Exhibit 15, "Annotated
X1568     ClearOne BMA360 from Hatch Opening                     N/A                N/A
          Report"
          Wiggins Deposition, Exhibit 8,
          "Spreadsheet comparing Shure MSA910 to
X1569                                                            N/A                N/A
          Sennheiser, Biamp Parle TCM-X,
          ClearOne, Clock Audio products"
          Yates Deposition, Exhibit 7, "Sennheiser
X1570     Product Specification, "TeamConnect                    N/A                N/A
          Ceiling 2 Ceiling microphone array""
          Bullard Deposition, Exhibit 4, "Bogen
X1571     Product Page, CSD2X2 Drop-in Ceiling                   N/A                N/A       R, A, H
          Speaker"
          Maselbas Deposition, Exhibit 1,
          "Spreadsheet containing Warehouse
X1572     location, Sold-to party/country, ship-to               N/A                N/A          R
          Party/Country, PH6 - Model, Gross Sales,
          Bill Qty"
          Maselbas Deposition, Exhibit 3,
X1573     "Spreadsheet entitled "MXA310                          N/A                N/A          R
          Summary""




                                                  Page 157 of 183
        Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 277 of 555 PageID #: 57128
                                     Defendant ClearOne, Inc.'s Trial Exhibit List
                                          C.A. No. 19-1343 (RGA) (CJB)
          Kessler Deposition, Exhibit 6, "Bogen
X1574     Product Page, CSD2X2 Drop-in Ceiling                     N/A               N/A     R, A, H
          Speaker"
          Roy Deposition, Exhibit 45, "Armstrong
X1575     Ceiling Products, "Prelude Concealed Tee                 N/A               N/A     R, A, H
          System""
          Roy Deposition, Exhibit 46, "Screen
          capture of video titled, "Ex. 62 -
X1576     SHURE784516_CONFIDENTIAL                                 N/A               N/A     R, A, H
          (MXA910-A Video File From Dr Roy" at
          timestamp 0:00:00"
          Roy Deposition, Exhibit 47, "Screen
          capture of video titled, "Ex. 62 -
X1577     SHURE784516_CONFIDENTIAL                                 N/A               N/A       R
          (MXA910-A Video File From Dr Roy" at
          timestamp 0:00:04"
          Roy Deposition, Exhibit 54, "USG Ceiling
X1578     Solutions Product Flyer, "USG Donn Brand                 N/A               N/A     R, A, H
          CE Acoustical Suspension System""

          Roy Deposition, Exhibit 55, "USG Ceiling
X1579     Solutions Product Flyer, "USG Donn Brand                 N/A               N/A     R, A, H
          DXW Acoustical Suspension System""
          Mickel Deposition, Exhibit 1, "Audiobiz
X1580                                                              N/A               N/A     R, A, H
          Territory Webpage"
          Klegon Deposition, Exhibit 5, "Excel
          spreadsheet containing Shure targets,
X1581                                                              N/A               N/A       R
          benchmarks, low and high SW price MLB,
          and sandbox"




                                                     Page 158 of 183
        Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 278 of 555 PageID #: 57129
                                         Defendant ClearOne, Inc.'s Trial Exhibit List
                                              C.A. No. 19-1343 (RGA) (CJB)
          Klegon Deposition, Exhibit 12, "Excel
          spreadsheet containing comparison of
X1582     acoustic, aesthetic, and electrical features of             N/A                N/A     R, P
          Shure, Sennheiser, Biamp Parle TCM-X,
          ClearOne, and Clock Audio products"
X1583     MXA910 Microphone Study Drawing                             N/A                N/A       R
          Exhibit 4 to 2020-11-23 Deposition of
X1584                                                                 N/A                N/A     R, P
          James Schanz
X1585     Actual physical device of BMA CT                            N/A                N/A
X1586     Actual physical device of BMA CTH                           N/A                N/A
X1587     Actual physical device of Nailor 4330 CB                    N/A                N/A    R, H, A
          Weinstein Deposition, Exhibit 8,
          "Commercial Integrator article entitled,
X1588     "ClearOne Seeks Contempt Order vs. Shure                    N/A                N/A   R, P, H, A
          for Marketing and Selling MXA910W-A
          Ceiling Array Mic""
          Rowe Rebuttal Expert Report, Exhibit 2.1,
          Summary of ClearOne's U.S. Sales of
X1589                                                                 N/A                N/A     R, H
          Accused Products During the Damages
          Period
          Actual physical device of Model of 15/16”
X1590                                                                 N/A                N/A    R, H, A
          grid
          Actual physical device of Krueger Ceiling
X1591                                                                 N/A                N/A    R, H, A
          Diffuser
X1592     Actual physical device of Nailor 4360                       N/A                N/A    R, H, A
X1593     Actual physical device of Speedie-Grille                    N/A                N/A    R, H, A
          Actual physical device of Tannoy 110 CB
X1594                                                                 N/A                N/A    R, H, A
          Subwoofer
          Actual physical device of Valcom Spot
X1595                                                                 N/A                N/A    R, H, A
          Soundmasking Speaker
          Actual physical device of Lowell LT2
X1596                                                                 N/A                N/A    R, H, A
          Loudspeaker


                                                       Page 159 of 183
        Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 279 of 555 PageID #: 57130
                                      Defendant ClearOne, Inc.'s Trial Exhibit List
                                           C.A. No. 19-1343 (RGA) (CJB)
          Actual physical device of A910-25MM
X1597                                                              N/A                N/A     R, P
          brackets
          Clingman Deposition, Exhibit 1, "Copy of
X1598                                                              N/A                N/A    R, A, H
          Dobbs Stanford, "About Us" page"
          Tunnell Deposition, Exhibit 14, "Screenshot
          of article on Shure website 'March 10,
X1599                                                              N/A                N/A     R, P
          2020: Customer Q&A on 553 Patent
          Decision for Shure MXA910'"
          R. 711-1, Exhibit A to Graham Declaration
          in support of ClearOne's Motion for an
X1600     Order Holding Shure in Contempt and                      N/A                N/A    R, P, H
          Allowing Additional Discovery, Undated
          Photo of Shure Product in Drop Ceiling

          R. 711-1, Exhibit B to Graham Declaration
          in support of ClearOne's Motion for an
X1601     Order Holding Shure in Contempt and                      N/A                N/A    R, P, H
          Allowing Additional Discovery, Undated
          Photo of Shure Product in Drop Ceiling

          R. 711-1, Exhibit C to Graham Declaration
          in support of ClearOne's Motion for an
X1602     Order Holding Shure in Contempt and                      N/A                N/A    R, P, H
          Allowing Additional Discovery, Undated
          Photo of Shure Product in Drop Ceiling

          R. 711-1, Exhibit D to Graham Declaration
          in support of ClearOne's Motion for an
X1603                                                              N/A                N/A    R, P, H
          Order Holding Shure in Contempt and
          Allowing Additional Discovery, Slip Sheet




                                                    Page 160 of 183
        Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 280 of 555 PageID #: 57131
                                      Defendant ClearOne, Inc.'s Trial Exhibit List
                                           C.A. No. 19-1343 (RGA) (CJB)

          R. 711-1, Exhibit E to Graham Declaration
          in support of ClearOne's Motion for an
X1604                                                              N/A                N/A    R, P, H
          Order Holding Shure in Contempt and
          Allowing Additional Discovery, Slip Sheet

          R. 711-1, Exhibit F to Graham Declaration
          in support of ClearOne's Motion for an
X1605                                                              N/A                N/A    R, P, H
          Order Holding Shure in Contempt and
          Allowing Additional Discovery, Slip Sheet

          R. 711-1, Exhibit G to Graham Declaration
          in support of ClearOne's Motion for an
X1606                                                              N/A                N/A    R, P, H
          Order Holding Shure in Contempt and
          Allowing Additional Discovery, Slip Sheet

          R. 711-2, Exhibit K to Graham Declaration
          in support of ClearOne's Motion for an
X1607     Order Holding Shure in Contempt and                      N/A                N/A    R, P, H
          Allowing Additional Discovery, Undated
          Photo of Shure Product's Corners

          R. 711-2, Exhibit L to Graham Declaration
          in support of ClearOne's Motion for an
X1608     Order Holding Shure in Contempt and                      N/A                N/A    R, P, H
          Allowing Additional Discovery, Undated
          Photo of Shure Product in Drop Ceiling
X1609     Actual physical device of MXA910                         N/A                N/A
          Cerra Deposition, Exhibit 26, "Patel Exhibit
X1610                                                              N/A                N/A     R, A
          20 - Photos of hanging microphones"




                                                    Page 161 of 183
               Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 281 of 555 PageID #: 57132
                                              Defendant ClearOne, Inc.'s Trial Exhibit List
                                                   C.A. No. 19-1343 (RGA) (CJB)
                   Manning Deposition, Exhibit 6, "Copy of
X1611              photo of installation of a Shure MXA910         KONTEK_000103              KONTEK_000103       R
                   variant at U

X1612                                                               EPAAV_000332              EPAAV_000332        R


                   Clingman Deposition, Exhibit 5,
X1613              "Sennheiser document titled, "Promotion          DOBBS00002391             DOBBS00002391
                   Announcement - TeamConnect Ceiling 2""


X1614   8/6/2019                                                    DOBBS00000061             DOBBS00000062

                   Shure-DeBusschere Deposition, Exhibit 6,
X1615              "Screenshot of nonflush-mount adapter             DEB-00002606              DEB-00002606   R, P, H, A
                   attached to microphone"
                   Shure-DeBusschere Deposition, Exhibit 3,
X1616                                                                DEB-00002605              DEB-00002605   R, P, H, A
                   "Photograph of mounting device"
                   Shure-DeBusschere Deposition, Exhibit 5,
X1617              "Close-up photograph of microphone                DEB-00002604              DEB-00002604   R, P, H, A
                   adapter"
                   Shure-DeBusschere Deposition, Exhibit 7,
X1618              "Screenshot of microphone nonflush-               DEB-00002603              DEB-00002603   R, P, H, A
                   mounted in ceiling grid"
                   Shure-DeBusschere Deposition, Exhibit 4,
                   "Additional image of CAD drawing of
X1619                                                                DEB-00002602              DEB-00002602   R, P, H, A
                   DeBusschere's original solution for
                   mounting MXA910-60CM"
                   Shure-DeBusschere Deposition, Exhibit 2,
X1620              "CAD drawing of DeBusschere's original            DEB-00002599              DEB-00002599   R, P, H, A
                   solution for mounting the MXA910-60CM"



                                                             Page 162 of 183
        Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 282 of 555 PageID #: 57133
                                    Defendant ClearOne, Inc.'s Trial Exhibit List
                                         C.A. No. 19-1343 (RGA) (CJB)
          ClearOne-DeBusschere Deposition, Exhibit
X1621     2B, "Photograph of microphone mounted            DEB-00002576             DEB-00002576   R, P, H, A
          non-flush in ceiling grid"
          ClearOne-DeBusschere Deposition, Exhibit
X1622     2, "Photograph of ceiling-mounted                DEB-00002574             DEB-00002574   R, P, H, A
          microphone"
          ClearOne-DeBusschere Deposition, Exhibit
X1623     27, "Close-up photograph of microphone           DEB-00002417             DEB-00002417   R, P, H, A
          adapter"
          ClearOne-DeBusschere Deposition, Exhibit
X1624     26, "Close-up photograph of adapter              DEB-00002416             DEB-00002416   R, P, H, A
          attached to MXA910-60CM"
          ClearOne-DeBusschere Deposition, Exhibit
X1625     25, "Close-up photograph of microphone           DEB-00002415             DEB-00002415   R, P, H, A
          adapter"
          ClearOne-DeBusschere Deposition, Exhibit
X1626     24, "Photograph of adapter attached to           DEB-00002414             DEB-00002414   R, P, H, A
          MXA910-60CM "
          ClearOne-DeBusschere Deposition, Exhibit
X1627     23, "Photograph of ceiling-mounted               DEB-00002413             DEB-00002413   R, P, H, A
          microphone"
          ClearOne-DeBusschere Deposition, Exhibit
X1628     21, "Close-up photograph of microphone           DEB-00002411             DEB-00002411   R, P, H, A
          adapter"
          ClearOne-DeBusschere Deposition, Exhibit
X1629     20, "Close-up photograph of adapter              DEB-00002410             DEB-00002410   R, P, H, A
          attached to MXA910-60CM"
          ClearOne-DeBusschere Deposition, Exhibit
X1630     19, "Close-up photograph of microphone           DEB-00002409             DEB-00002409   R, P, H, A
          adapter"
          ClearOne-DeBusschere Deposition, Exhibit
X1631     18, "Photograph of adapter attached to           DEB-00002408             DEB-00002408   R, P, H, A
          MXA910-60CM "

                                                  Page 163 of 183
               Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 283 of 555 PageID #: 57134
                                               Defendant ClearOne, Inc.'s Trial Exhibit List
                                                    C.A. No. 19-1343 (RGA) (CJB)
                   ClearOne-DeBusschere Deposition, Exhibit
X1632              17, "Photograph of ceiling-mounted                 DEB-00002407               DEB-00002407      R, P, H, A
                   microphone"
                   ClearOne-DeBusschere Deposition, Exhibit
X1633              8A, "Hand-drawn sketch of adapter                  DEB-00002235               DEB-00002235      R, P, H, A
                   solution"
                   ClearOne-DeBusschere Deposition, Exhibit
                   36, "Schematic Drawing of Avidex Custom
X1634                                                                 DEB-00001781               DEB-00001781      R, P, H, A
                   Adapter Plate Prepared by Danny
                   McLaughlin"
                   ClearOne-DeBusschere Deposition, Exhibit
X1635              11, "Schematic Diagram of MXA910 (All              DEB-00001134               DEB-00001134      R, P, H, A
                   Variants) Flush to bottom of the grid"
                   Roy Deposition, Exhibit 39, "Images of
X1636                                                                     CU-115                    CU-116         R, P, H, A
                   Shure Product Sitting Flush with Ceiling"
                   Roy Deposition, Exhibit 40, "Image of
X1637                                                                     CU-113                    CU-113         R, P, H, A
                   Shure Product Sitting Flush with Ceiling"
                   Excel spreadsheet recording ClearOne sale
X1638              and marketing expenses from 2013-Q1           CLRONEDE-00048651             CLRONEDE-00048651
                   through 2020-Q3

X1639   9/6/2019                                                 CLRONEDE-00038192             CLRONEDE-00038193     R, P


X1640                                                            CLRONEDE-00031450             CLRONEDE-00031450       R
                   Bullard Deposition, Exhibit 5, "Nailor
X1641                                                            CLRONEDE-00007756             CLRONEDE-00007756    R, A, H
                   Ceiling Diffusers"
X1642              Nailor Ceiling Diffusers                      CLRONEDE-00007748             CLRONEDE-00007987    R, A, H
X1643 10/14/2019                                                   CLRONE-00883179              CLRONE-00883179      R, P




                                                             Page 164 of 183
              Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 284 of 555 PageID #: 57135
                                             Defendant ClearOne, Inc.'s Trial Exhibit List
                                                  C.A. No. 19-1343 (RGA) (CJB)


X1644 9/23/2019                                                  CLRONE-00882703             CLRONE-00882703    R, P

                  Excel spreadsheet documenting ClearOne
                  revenue and profits from all products,
X1645             including Beamforming Mic Array and            CLRONE-00871577             CLRONE-00871577     R
                  DSP, worldwide from 2013-Q1 through
                  2019-Q2
                  Vander Veen Deposition, Exhibit 7,
X1646             "ClearOne COLLABORATE Versa Lite CT            CLRONE-00787723             CLRONE-00787727
                  Brochure Document"
                  Weinstein Deposition, Exhibit 2, "Excel
X1647             spreadsheet entitled, "BMA CT and Versa         CLRONE00756310             CLRONE00756310     R, H
                  Pro CT from inception through 2020-Q1""
                  File history for United States Application
X1648                                                            CLRONE-00634701             CLRONE-00634701    R, P
                  No. 15/488,492
                  Weinstein Deposition, Exhibit 5, "ClearOne
X1649             brochure/pamphlet document re                  CLRONE-00109808             CLRONE-00109810    R, H
                  COLLABORATE Pro 900"
X1650                                                              AVIDEX_001703             AVIDEX_001703     R, A, H

                  Schyvinck Deposition, Exhibit 1, "Chicago
                  Tribune Article by Lauren Zumbach, "From
X1651                                                                     N/A                     N/A            R
                  stage to conference room: Audio equipment-
                  maker Shure seeks new markets""

                  R. 711-1, Exhibit H to Graham Declaration
                  in support of ClearOne's Motion for an
X1652             Order Holding Shure in Contempt and                     N/A                     N/A          R, P, H
                  Allowing Additional Discovery, Undated
                  Photo of Shure Product's Corners


                                                           Page 165 of 183
              Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 285 of 555 PageID #: 57136
                                                Defendant ClearOne, Inc.'s Trial Exhibit List
                                                     C.A. No. 19-1343 (RGA) (CJB)
                  Tunnell Deposition, Exhibit 6, "Screenshot
                  of article on Shure website 'November 5,
X1653             2019 Q & A Update - New MXA910                             N/A                       N/A
                  Ceiling Array Microphone Variant available
                  for Pre-Order'"
                  Cerra Deposition, Exhibit 56, "
X1654                                                                  SHURE597721                 SHURE597757




X1655 9/12/2019                                                        SHURE942203                 SHURE942204      R, P




                  Image file attachment to email chain from


X1656 9/12/2019                                                        SHURE942205                 SHURE942205      R, P



                  Image file attachment to email chain from


X1657 9/12/2019                                                        SHURE942206                 SHURE942206      R, P


                                                   "

X1658 9/20/2019                                                        SHURE947111                 SHURE947113      R, P

                  Shure presentation slide deck titled,
X1659 9/13/2019                                                   SHUREDDEL00051175             SHUREDDEL00051178   R, P
                  "

                                                              Page 166 of 183
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 286 of 555 PageID #: 57137
                 Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 287 of 555 PageID #: 57138
                                              Defendant ClearOne, Inc.'s Trial Exhibit List
                                                   C.A. No. 19-1343 (RGA) (CJB)
                R. 176, [Sealed] Report and
                Recommendation Recommending that
                Plaintiffs' Motion for Limited Temporary
X1676 5/1/2020                                                             N/A                N/A      R, P
                Restraining Order (D.I. 153), be Denied,
                Shure Incorporated v. ClearOne, Inc ., Case
                No. 1:19-cv-01343 (D. Del.)
                R. 400, [Sealed] Report and
                Recommendation Recommending that
                Plaintiffs' Motion for Preliminary Injunction
X1677 1/20/2021                                                            N/A                N/A      R, P
                (D.I. 153) Be Denied, Shure Incorporated
                v. ClearOne, Inc ., Case No. 1:19-cv-01343
                (D. Del.)
                R. 410, Order Denying Plaintiffs' Motion
                for Limited Temporary Restraining Order
X1678 2/1/2021 (D.I. 153), Shure Incorporated v.                           N/A                N/A      R, P
                ClearOne, Inc. , Case No. 1:19-cv-01343
                (D. Del.)
                R. 414, Order Denying Plaintiffs' Motion
                for Preliminary Injunction (D.I. 153), Shure
X1679 2/8/2021                                                             N/A                N/A      R, P
                Incorporated v. ClearOne, Inc. , Case No.
                1:19-cv-01343 (D. Del.)
                ClearOne press release, "ClearOne Asserts
                that Shure’s Redesigned MXA910 Released
X1680 1/13/2020                                                            N/A                N/A     R, P, H
                in December 2019 Infringes ClearOne’s
                Beamforming Ceiling Tile Patent"

                ClearOne press release, "ClearOne Seeks
                Order Holding Shure in Contempt for
X1681 2/24/2020                                                            N/A                N/A     R, P, H
                Marketing and Selling the MXA910W-A in
                Violation of 2019 Preliminary Injunction"




                                                            Page 168 of 183
                Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 288 of 555 PageID #: 57139
                                              Defendant ClearOne, Inc.'s Trial Exhibit List
                                                   C.A. No. 19-1343 (RGA) (CJB)
                Bullard Deposition, Exhibit 7, copy of
                Commercial Integrator article, "ClearOne
X1682 2/25/2020 Seeks Contempt Order vs. Shure for                         N/A                      N/A           R, P. H, A
                Marketing and Selling MXA910W-A
                Ceiling Array Mic"




X1683 5/15/2017                                                      SHURE008610                SHURE008615         R, P




                                                      )

X1684 11/28/2016                                                     SHURE398190                SHURE398200         R, P
                   Internal document with filename,
X1685                                                                SHURE840712                SHURE840712         R, P
                   "




X1686 8/29/2019                                                 CLRONEDE-00002792             CLRONEDE-00002793    R, P, H




                                                            Page 169 of 183
                 Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 289 of 555 PageID #: 57140
                                              Defendant ClearOne, Inc.'s Trial Exhibit List
                                                   C.A. No. 19-1343 (RGA) (CJB)
                Excel Spreadsheet, "4th Qrt 2019 Pro Voice
X1687 12/19/2019                                           CLRONEDE-00006116                  CLRONEDE-00006116    R, P, H
                AV"
                Paper 91, Final Written Decision, Shure
X1688 1/24/2019 Incorporated v. ClearOne, Inc ., Case No.        N/A                                N/A             R, P
                IPR2017-01785 (PTAB)
                Declaration of Chris Laing, Shure
X1689 4/28/2020 Incorporated v. ClearOne, Inc. , Case No.    SKCCOMM-0002                      SKCCOMM-0003       R, P, H, A
                1:19-cv-01343 (D. Del.)
                R. 1, Complaint, Shure Incorporated v.
X1690 7/18/2019 ClearOne, Inc ., Case No. 1:19-cv-01343          N/A                                N/A             R, P
                (D. Del.)
                R. 20, Plaintiffs' Opposition to Defendant's
                Motion to Stay Litigation Pending Inter
X1691 9/20/2019 Partes Review of the Patent-In-Suit, Shure                 N/A                      N/A             R, P
                Incorporated v. ClearOne, Inc ., Case No.
                1:19-cv-01343 (D. Del.)
                R. 39, Plaintiffs' Opposition to Defendant's
                Motion to Stay Discovery Pending Decision
                on Defendant's Motion to Dismiss First
X1692 10/7/2019                                                            N/A                      N/A             R, P
                Amended Complaint, Shure Incorporated
                v. ClearOne, Inc ., Case No. 1:19-cv-01343
                (D. Del.)
                R. 54, Oral Order Denying Defendant's
                Motion to Stay Discovery Pending Decision
                on Defendant's Motion to Dismiss First
X1693 11/1/2019                                                            N/A                      N/A             R, P
                Amended Complaint (D.I. 26), Shure
                Incorporated v. ClearOne, Inc. , Case No.
                1:19-cv-01343 (D. Del.)




                                                            Page 170 of 183
                 Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 290 of 555 PageID #: 57141
                                               Defendant ClearOne, Inc.'s Trial Exhibit List
                                                    C.A. No. 19-1343 (RGA) (CJB)
                R. 154, [Sealed] Opening Brief in Support
                of Plaintiffs' Motion for Preliminary
                Injunction and Limited Temporary
X1694 4/14/2020                                                             N/A                N/A    R, P
                Restraining Order, Shure Incorporated v.
                ClearOne, Inc ., Case No. 1:19-cv-01343
                (D. Del.)
                R. 154-1, [Sealed] Exhibit D to Plaintiffs'
                Opening Brief in Support of Motion for
                Preliminary Injunction and Temporary
X1695 4/14/2020 Restraining Order, Declaration of Ira                       N/A                N/A    R, P
                Weinstein, Shure Incorporated v.
                ClearOne, Inc ., Case No. 1:19-cv-01343
                (D. Del.)
                R. 154-1, [Sealed] Exhibit E to Plaintiffs'
                Opening Brief in Support of Motion for
                Preliminary Injunction and Temporary
X1696 4/14/2020                                                             N/A                N/A    R, P
                Restraining Order, Declaration of James
                Schanz, Shure Incorporated v. ClearOne,
                Inc. , Case No. 1:19-cv-01343 (D. Del.)
                 R. 532-1, [Sealed] Exhibit A to Joint
                 Motion to Redact Portions of June 9, 2021,
                 Transcript of Summary Judgment Hearing,
X1697 8/6/2021 Transcript of June 9, 2021 Summary                           N/A                N/A    R, P
                 Judgment Hearing, Shure Incorporated v.
                 ClearOne, Inc. , Case No. 1:19-cv-01343
                 (D. Del.)
                 Transcript of Telephonic Case Management
                 Conference, Shure Incorporated v.
X1698 10/28/2019                                                            N/A                N/A    R, P
                 ClearOne, Inc. , Case No. 1:19-cv-01343
                 (D. Del.)




                                                              Page 171 of 183
                Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 291 of 555 PageID #: 57142
                                             Defendant ClearOne, Inc.'s Trial Exhibit List
                                                  C.A. No. 19-1343 (RGA) (CJB)
                Exhibit 03 to the Declaration of Michael P.
                Hudson in Support of ClearOne's
X1699    N/A    Responsive Claim Construction Brief,                      N/A                      N/A           R, P, H, A
                IPSCM Square Ceiling Tile IP Speaker
                Datasheet
                Exhibit 04 to the Declaration of Michael P.
                Hudson in Support of ClearOne's
X1700 5/19/2020 Responsive Claim Construction Brief,                      N/A                      N/A           R, P, H, A
                PageVault Capture of Extron webpage
                featuring FF 220T Speaker
                Exhibit 05 to the Declaration of Michael P.
                Hudson in Support of ClearOne's
                Responsive Claim Construction Brief,
X1701 8/3/2014                                                 CLRONEDE-00007645             CLRONEDE-00007646   R, P, H, A
                PageVault Capture of Wayback Machine
                webpage of Extron Electronics Flat Field
                Ceiling Speakers
                Exhibit 06 to the Declaration of Michael P.
                Hudson in Support of ClearOne's
                Responsive Claim Construction Brief,
X1702 5/19/2020                                                           N/A                      N/A           R, P, H, A
                PageVault Capture of Amazon product
                webpage for Lay-In Ceiling Mount Speaker
                (5W, 25/75V) sold by Quam
                Exhibit 07 to the Declaration of Michael P.
                Hudson in Support of ClearOne's
                Responsive Claim Construction Brief,
X1703 5/13/2020                                                CLRONEDE-00007672             CLRONEDE-00007675   R, P, H, A
                PageVault Capture of Amazon product
                webpage for Lay-In Ceiling Mount Speaker
                [5W, 25/75V] sold by Quam




                                                           Page 172 of 183
               Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 292 of 555 PageID #: 57143
                                           Defendant ClearOne, Inc.'s Trial Exhibit List
                                                C.A. No. 19-1343 (RGA) (CJB)
                  Exhibit 08 to the Declaration of Michael P.
                  Hudson in Support of ClearOne's
                  Responsive Claim Construction Brief,
X1704 5/19/2020                                                     N/A                          N/A           R, P, H, A
                  PageVault Capture of Valcom product
                  webpage for 2 x 2" Lay-In Spot
                  SoundMasking Speaker
                  Exhibit 09 to the Declaration of Michael P.
                  Hudson in Support of ClearOne's
X1705    N/A      Responsive Claim Construction Brief,        CLRONEDE-00008001            CLRONEDE-00008001   R, P, H, A
                  Valcom Info Sheet for Spot Soundmaking
                  Speaker with Noise Generator
                  Exhibit 11 to the Declaration of Michael P.
                  Hudson in Support of ClearOne's
                  Responsive Claim Construction Brief,
X1706 8/19/2013                                               CLRONEDE-00007637            CLRONEDE-00007639   R, P, H, A
                  PageVault Capture of Wayback Machine
                  webpage of AMK Speakers' Ceiling
                  Speakers Selection List
                  Exhibit 12 to the Declaration of Michael P.
                  Hudson in Support of ClearOne's
                  Responsive Claim Construction Brief,
X1707 5/19/2020   PageVault Capture of Amazon product               N/A                          N/A           R, P, H, A
                  webpage for Bogen Communications
                  CSD2x2 2'x2' Drop-In Ceiling Speaker with
                  Back Can (Pair) sold by Bogen
                  Exhibit 13 to the Declaration of Michael P.
                  Hudson in Support of ClearOne's
                  Responsive Claim Construction Brief,
X1708 5/14/2020                                               CLRONEDE-00007654            CLRONEDE-00007655   R, P, H, A
                  PageVault Capture of Wayback Machine
                  webpage of Bogen Communication's
                  CSD2x2/CSD2x2VR/CSD2x2L




                                                         Page 173 of 183
                 Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 293 of 555 PageID #: 57144
                                               Defendant ClearOne, Inc.'s Trial Exhibit List
                                                    C.A. No. 19-1343 (RGA) (CJB)
                Exhibit 14 to the Declaration of Michael P.
                Hudson in Support of ClearOne's
X1709    N/A    Responsive Claim Construction Brief,                        N/A                      N/A           R, P, H, A
                Armstrong ICeilings Sound Systems
                Product Guide
                Exhibit 15 to the Declaration of Michael P.
                Hudson in Support of ClearOne's
X1710 5/19/2020 Responsive Claim Construction Brief,                        N/A                      N/A           R, P, H, A
                PageVault Capture of Lowell's product page
                for LT2-810-72-BB Loudspeaker
                   Exhibit 16 to the Declaration of Michael P.
                   Hudson in Support of ClearOne's
                   Responsive Claim Construction Brief,
X1711     2010                                                   CLRONEDE-00007991             CLRONEDE-00007992   R, P, H, A
                   Lowell Info Sheet for Lay-in Tile Packaged
                   Speaker System for Model Series: LT-805,
                   LT-810, LT-830, LT2-810, LT2-830

                   Exhibit 17 to the Declaration of Michael P.
                   Hudson in Support of ClearOne's
                   Responsive Claim Construction Brief,
X1712     2013                                                              N/A                      N/A           R, P, H, A
                   Extron Product Guide for SF 228T Two-
                   Way Soundfield Ceiling Tile Speakers with
                   8" Woofer and 70/100 V Transformer
                Exhibit 18 to the Declaration of Michael P.
                Hudson in Support of ClearOne's
                Responsive Claim Construction Brief,
X1713 2/17/2015                                                  CLRONEDE-00007710             CLRONEDE-00007711   R, P, H, A
                PageVault Capture of Wayback Machine
                webpage of Extron Electronics' SF 228T
                Product Page




                                                             Page 174 of 183
                Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 294 of 555 PageID #: 57145
                                             Defendant ClearOne, Inc.'s Trial Exhibit List
                                                  C.A. No. 19-1343 (RGA) (CJB)
                Exhibit 25 to the Declaration of Michael P.
                Hudson in Support of ClearOne's
                Responsive Claim Construction Brief,
X1714 5/19/2020 PageVault Capture of Amazon product                       N/A                N/A     R, P, H, A
                webpage for Valcom V-9422 SPOT Sound
                Masking Speaker, 2-Feet x 2-Feet sold by
                Valcom
                Exhibit 26 to the Declaration of Michael P.
                Hudson in Support of ClearOne's
                Responsive Claim Construction Brief,
X1715    N/A                                                              N/A                N/A     R, P, H, A
                Valcom Technical Specification: SPOT
                Soundmasking Ceiling Speaker Model V-
                9422
                Exhibit 28 to the Declaration of Michael P.
                Hudson in Support of ClearOne's
X1716    N/A    Responsive Claim Construction Brief,                      N/A                N/A     R, P, H, A
                Valcom Brochure for Spot SoundMasking
                Speaker
                Exhibit 30 to the Declaration of Michael P.
                Hudson in Support of ClearOne's
X1717 5/19/2020 Responsive Claim Construction Brief,                      N/A                N/A     R, P, H, A
                PageVault Capture of Valcom product
                webpage for 2'x2' Lay-In Ceiling Speaker
                Exhibit 31 to the Declaration of Michael P.
                Hudson in Support of ClearOne's
X1718    N/A    Responsive Claim Construction Brief,                      N/A                N/A     R, P, H, A
                Valcom Specs Document for V-9062 Lay-in
                Ceiling Speaker
                Exhibit 32 to the Declaration of Michael P.
                Hudson in Support of ClearOne's
X1719    N/A    Responsive Claim Construction Brief,                      N/A                N/A     R, P, H, A
                AMK Speakers Specs Document for SQ
                602 2x2 Ceiling Lay in Speaker System

                                                           Page 175 of 183
                Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 295 of 555 PageID #: 57146
                                            Defendant ClearOne, Inc.'s Trial Exhibit List
                                                 C.A. No. 19-1343 (RGA) (CJB)
                   Exhibit 33 to the Declaration of Michael P.
                   Hudson in Support of ClearOne's
                   Responsive Claim Construction Brief,
X1720     N/A                                                        N/A                          N/A           R, P, H, A
                   PageVault Capture of Amazon product
                   webpage for Valcom V-9062 Ceiling
                   Speaker, White sold by Valcom
                   Exhibit 34 to the Declaration of Michael P.
                   Hudson in Support of ClearOne's
X1721     N/A      Responsive Claim Construction Brief,              N/A                          N/A           R, P, H, A
                   AMK Speakers Specs Document for SQ
                   802 2x2 Ceiling Lay in Speaker System
                   Exhibit 35 to the Declaration of Michael P.
                   Hudson in Support of ClearOne's
                   Responsive Claim Construction Brief,
X1722     N/A                                                        N/A                          N/A           R, P, H, A
                   AMK Speakers Specs Document for SQ
                   Series, 8" Coaxial Loudspeaker on 2'x2'
                   Grille
                   Exhibit 37 to the Declaration of Michael P.
                   Hudson in Support of ClearOne's
                   Responsive Claim Construction Brief,
X1723   4/2/2015                                               CLRONEDE-00007690            CLRONEDE-00007693   R, P, H, A
                   PageVault Capture of Wayback Machine
                   webpage of Bogen Communication's Self-
                   Amplified Paging Systems Product Page
                   Exhibit 39 to the Declaration of Michael P.
                   Hudson in Support of ClearOne's
                   Responsive Claim Construction Brief,
X1724    2014                                                  CLRONEDE-00007996            CLRONEDE-00007996   R, P, H, A
                   Bogen Communications Spec Document for
                   Self-Amplified Drop-In Ceiling Speaker
                   (Models ACD2x2, ACD2x2U)




                                                          Page 176 of 183
                 Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 296 of 555 PageID #: 57147
                                               Defendant ClearOne, Inc.'s Trial Exhibit List
                                                    C.A. No. 19-1343 (RGA) (CJB)

                   Exhibit 40 to the Declaration of Michael P.
                   Hudson in Support of ClearOne's
X1725      N/A                                                              N/A                N/A    R, P, H, A
                   Responsive Claim Construction Brief,
                   Image of Bogen Communication's CSD2x2
                 Exhibit 41 to the Declaration of Michael P.
                 Hudson in Support of ClearOne's
                 Responsive Claim Construction Brief,
X1726    2014                                                               N/A                N/A    R, P, H, A
                 Bogen Communications Specs Sheet
                 Comparing Drop-In Ceiling Speakers
                 (CSD1x2, CSD2x2, ACD2x2 Models)
                 Exhibit 42 to the Declaration of Michael P.
                 Hudson in Support of ClearOne's
                 Responsive Claim Construction Brief,
X1727    N/A                                                                N/A                N/A    R, P, H, A
                 Bogen Communications Specs Sheet for
                 Drop-In Ceiling Speakers CSD2x2 and
                 Variations
                 Exhibit 43 to the Declaration of Michael P.
                 Hudson in Support of ClearOne's
                 Responsive Claim Construction Brief,
X1728 10/24/2018 Declaration of Dr. Kenneth Roy, Ph.D. (D.I.                N/A                N/A    R, P, H, A
                 406), filed in Shure Incorporated v.
                 ClearOne, Inc., Case No. 17-cv-03078
                 (N.D. Ill.)




                                                             Page 177 of 183
                 Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 297 of 555 PageID #: 57148
                                               Defendant ClearOne, Inc.'s Trial Exhibit List
                                                    C.A. No. 19-1343 (RGA) (CJB)
                Exhibit 44 to the Declaration of Michael P.
                Hudson in Support of ClearOne's
                Responsive Claim Construction Brief,
                Exhibits 7 and 8 to the Decalaration of
                Tanvi Patel in Support of Shure's
X1729    N/A    Memorandum in Opposition to ClearOne's                      N/A                N/A    R, P, H, A
                Motion for Preliminary Injunction (D.I.
                412), filed in Shure Incorporated v.
                ClearOne, Inc., Case No. 17-cv-03078
                (N.D. Ill.), Armstrong ICeilings Sound
                Systems Product Guides
                Exhibit 45 to the Declaration of Michael P.
                Hudson in Support of ClearOne's
                Responsive Claim Construction Brief,
                PageVault Capture of Amazon product
X1730 5/19/2020                                                             N/A                N/A    R, P, H, A
                webpage for Lowell LT2-810-BB Speaker
                Package-8in Spkr, 2 x 2 Tile System, 15W,
                8 ohm sold by Lowell Manufacturing Racks
                Audio
                   Exhibit 46 to the Declaration of Michael P.
                   Hudson in Support of ClearOne's
                   Responsive Claim Construction Brief,
X1731     2010                                                              N/A                N/A    R, P, H, A
                   Lowell Spec Sheet for Lay-in Tile Packaged
                   Speaker System (Model Series LT-905, LT-
                   810, LT-830, LT2-810, LT2-830)
                   Exhibit 47 to the Declaration of Michael P.
                   Hudson in Support of ClearOne's
X1732     2015     Responsive Claim Construction Brief,                     N/A                N/A    R, P, H, A
                   Lowell Spec Sheet for LT2-810-72-BB 2x2
                   Speaker System for Tile Ceilings




                                                             Page 178 of 183
               Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 298 of 555 PageID #: 57149
                                          Defendant ClearOne, Inc.'s Trial Exhibit List
                                               C.A. No. 19-1343 (RGA) (CJB)
                Exhibit 48 to the Declaration of Michael P.
                Hudson in Support of ClearOne's
X1733 2/7/2012                                                    N/A                           N/A           R, P, H, A
                Responsive Claim Construction Brief, US
                Patent 8,109,360
                Exhibit 50 to the Declaration of Michael P.
                Hudson in Support of ClearOne's
X1734    N/A    Responsive Claim Construction Brief,              N/A                           N/A           R, P, H, A
                Extron Electronics User Guide for Extron
                SF 228T 2' x 2' Ceiling Speakers
                Exhibit 51 to the Declaration of Michael P.
                Hudson in Support of ClearOne's
X1735    N/A    Responsive Claim Construction Brief,              N/A                           N/A           R, P, H, A
                Extron Electronics Installation and Setup
                Guide for Extron SF 228T speaker
                Exhibit 52 to the Declaration of Michael P.
                Hudson in Support of ClearOne's
X1736 9/13/2005                                                   N/A                           N/A           R, P, H, A
                Responsive Claim Construction Brief,
                United States Patent 6,944,312 B2
                Exhibit 53 to the Declaration of Michael P.
                Hudson in Support of ClearOne's
                Responsive Claim Construction Brief,
X1737    N/A                                                      N/A                           N/A           R, P, H, A
                Close Up Photograph of Advanced Network
                Devices Ceiling Tile IP Speaker POE
                Connection Port and Labeling Detail
                Exhibit 56 to the Declaration of Michael P.
                Hudson in Support of ClearOne's
                Responsive Claim Construction Brief,
                PageVault capture of Amazon Product Page
X1738 5/13/2020                                             CLRONEDE-00007726             CLRONEDE-00007730   R, P, H, A
                for Speedi-Grille TB-Pra 10 24-Inch by 24-
                Inch White Drop Ceiling T-Bar Perforated
                Face Return Air Vent Grile with a 10-Inch
                Collar


                                                        Page 179 of 183
                 Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 299 of 555 PageID #: 57150
                                              Defendant ClearOne, Inc.'s Trial Exhibit List
                                                   C.A. No. 19-1343 (RGA) (CJB)

                Exhibit 58 to the Declaration of Michael P.
                Hudson in Support of ClearOne's
                Responsive Claim Construction Brief,
X1739 5/19/2020 PageVault capture of Home Depot Product                    N/A                      N/A           R, P, H, A
                Page for Speedi-Grille 24 in. x 24 in. Drop
                Ceiling T-Bar Perforated Face Return Air
                Vent Grille, White with 10 in. Collar
                   Exhibit 65 to the Declaration of Michael P.
                   Hudson in Support of ClearOne's
                   Responsive Claim Construction Brief,
X1740      N/A                                                       N/A                            N/A           R, P, H, A
                   "Acoustical Uses for Performated Metals:
                   Principles and Applications" by Theodore J.
                   Schultz, Ph.D.
                   Exhibit 67 to the Declaration of Michael P.
                   Hudson in Support of ClearOne's
X1741      N/A     Responsive Claim Construction Brief,        CLRONEDE-00007731              CLRONEDE-00007746   R, P, H, A
                   Valcom Presentation Titled, "Lay-In Ceiling
                   Speaker V-9022 Installation"
                   Exhibit 68 to the Declaration of Michael P.
                   Hudson in Support of ClearOne's
X1742      N/A                                                       N/A                            N/A           R, P, H, A
                   Responsive Claim Construction Brief,
                   Extron Electronics SM 3 Setup Guide
                   Exhibit 69 to the Declaration of Michael P.
                   Hudson in Support of ClearOne's
X1743      N/A     Responsive Claim Construction Brief,              N/A                            N/A           R, P, H, A
                   Marketing Sheet for Valcom Lay-In Ceiling
                   Speaker Model VC-9062
                   Exhibit 70 to the Declaration of Michael P.
                   Hudson in Support of ClearOne's
X1744      N/A     Responsive Claim Construction Brief,              N/A                            N/A           R, P, H, A
                   Technical Specification for Valcom 2' x 2
                   Lay-In Ceiling Speaker Model VC-9062

                                                            Page 180 of 183
                 Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 300 of 555 PageID #: 57151
                                              Defendant ClearOne, Inc.'s Trial Exhibit List
                                                   C.A. No. 19-1343 (RGA) (CJB)

                Exhibit B in Support of ClearOne's
                Responsive Claim Construction Brief,
X1745 4/16/2020                                                   CLRONE-00756310             CLRONE-00756310     R, P
                Excel Spreadsheet Titled, "BMA CT and
                Versa Pro CT Revenue Through 2020-Q1"
                 Exhibit C in Support of ClearOne's
X1746 4/28/2020 Responsive Claim Construction Brief,                       N/A                     N/A          R, P, H, A
                 Transcript of TRO Motion Hearing
                 Exhibit D in Support of ClearOne's
                 Responsive Claim Construction Brief,
X1747 10/24/2018 Declaration of Wilfrid LeBlanc in Support                 N/A                     N/A          R, P, H, A
                 of Shure's Memo in Opposition to
                 ClearOne's Motion for PI ('806 Patent)
                 Exhibit E in Support of ClearOne's
                 Responsive Claim Construction Brief,
X1748 10/24/2018 Declaration of David Cerra in Support of                  N/A                     N/A          R, P, H, A
                 Shure's Memo in Opposition to ClearOne's
                 Motion for PI ('806 Patent)
                 Exhibit F in Support of ClearOne's
                 Responsive Claim Construction Brief,
X1749 10/23/2018                                                           N/A                     N/A          R, P, H, A
                 REDACTED Declaration of Chad Wiggins
                 for the '806 Patent Preliminary Injunction
                   Exhibit I in Support of ClearOne's
X1750      N/A     Responsive Claim Construction Brief,             SHURE0000051               SHURE0000109
                   Shure MXA910 User Guide
                   Exhibit M in Support of ClearOne's
                   Responsive Claim Construction Brief,
X1751      N/A     Shure Audio Institute Technical                   SHURE267985               SHURE268349        R, P
                   Certification Handbook: Microflex
                   Advance




                                                            Page 181 of 183
                Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 301 of 555 PageID #: 57152
                                              Defendant ClearOne, Inc.'s Trial Exhibit List
                                                   C.A. No. 19-1343 (RGA) (CJB)
                   Exhibit N in Support of ClearOne's
                   Responsive Claim Construction Brief,
X1752     N/A                                                              N/A                       N/A           R, P
                   ClearOne COLLABORATE Live 1000
                   Brochure Document
                   Exhibit S in Support of ClearOne's
                   Responsive Claim Construction Brief,
X1753   6/8/2016                                                           N/A                       N/A          R, P, H
                   Amicus Brief for the United States re
                   Samsung v. Apple
                   Exhibit U in Support of ClearOne's
                   Responsive Claim Construction Brief,
X1754 2/28/2017                                                      SHURE612091                 SHURE612092       R, P


                 Exhibit X in Support of ClearOne's
                 Responsive Claim Construction Brief,
                 Extracted .MP4 file from Shure Systems
X1755 10/23/2019                                                           N/A                       N/A           R, P
                 YouTube channel titled, "Microflex
                 Advance Training: How to Prepare
                 MXA910 for Painting"
                 Exhibit Z in Support of ClearOne's
                 Responsive Claim Construction Brief,
X1756 12/2/2016                                                      SHURE249387                 SHURE249395       R, P


                   Exhibit Z-2 in Support of ClearOne's
                   Responsive Claim Construction Brief,
X1757     N/A                                                        SHURE382967                 SHURE382967       R, P
                   Excel Spreadsheet Titled, "Shure 2017 Q4
                   Dashboard"
                   Exhibit Z-14 in Support of ClearOne's
X1758   4/4/2014   Responsive Claim Construction Brief,         SHUREDDEL00000873             SHUREDDEL00000877




                                                            Page 182 of 183
                 Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 302 of 555 PageID #: 57153
                                              Defendant ClearOne, Inc.'s Trial Exhibit List
                                                   C.A. No. 19-1343 (RGA) (CJB)
                Exhibit F to Plaintiffs’ Opening Claim
                Construction Brief, Declaration of Paul
X1759 4/22/2020                                                            N/A                N/A     R, P, H
                Hatch in Support of Plaintiffs' Opening
                Claim Construction Brief
                Exhibit J to Plaintiffs’ Claim Construction
                Reply Brief, Declaration of Paul Hatch in
X1760 6/3/2020                                                             N/A                N/A     R, P, H
                Support of Plaintiffs' Rely Claim
                Construction Brief
                Exhibit L to Plaintiffs’ Claim Construction
X1761 5/20/2020 Reply Brief, PageVault Capture of Shure                    N/A                N/A      R, P
                Product Page for MXA910 with Intellimix




                                                            Page 183 of 183
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 303 of 555 PageID #: 57154




                      EXHIBIT 8
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 304 of 555 PageID #: 57155
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 305 of 555 PageID #: 57156




  Cassie Berger                                              X

  Jon Bullard                                                X

  Elizabeth Cho                             X

  Cliff Christensen                                          X

  Darrell Clingman                                           X

  Jason DiCampello                          X

  Joseph DiFalco                                             X

  Derek Graham                              X

  Zee Hakimoglu                             X

  Paul Hatch          X

  Michael Hudson                                             X

  Richard Kessler                                            X

  Robert Klegon                                              X

  Gregory Lantz                                              X

  Ashanti Long                              X

  Michael Maselbas                                           X

  Beth Mickel                                                X

  John Miller         X

  Matthew Morrow                                             X

  Narsi Narayanan                           X

  Patrick Oates                                              X

  William Payne                                              X

  James Schanz        X



                                        2
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 306 of 555 PageID #: 57157




  John Schnibbe                             X

  Kevin Smith                                                X

  Jason Staples                                              X

  Shane Tunnell                                              X

  Tim Valley                                                 X

  Thomas Vander Veen   X

  Ira Weinstein        X

  Ed Wolffe                                                  X

  Michael Wilson                                             X

  Glenn Yates                                                X




                                        3
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 307 of 555 PageID #: 57158




                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

   SHURE INCORPORATED, and                            )
   SHURE ACQUISITION HOLDINGS, INC.,                  )
                                                      )
                          Plaintiffs,                 )
                                                      )
                   v.                                 )
                                                      ) C.A. No. 19-1343 (RGA)
   CLEARONE, INC.,                                    )
                                                      )
                          Defendant.                  )
                                                      )
                                                      )
                                                      )
                                                      )

    DEFENDANT CLEARONE INC.’S REVISED OBJECTIONS TO PLAINTIFFS SHURE
   INCORPORATED AND SHURE ACQUISITION HOLDINGS, INC.’S TRIAL WITNESS
                                  LIST

          Defendant ClearOne, Inc. (“ClearOne”) submits its objections to Plaintiff Shure

  Incorporated and Shure Acquisition Holdings, Inc.’s (“Shure”) witness list exchanged on August

  27, 2021.

          ClearOne reserves the right to amend these objections, including to the extent it becomes

  aware of new facts relating to the availability of witnesses from whom Shure intends to play

  deposition testimony. ClearOne also reserves the right to amend these objections based upon any

  modifications, clarification, or new information as to what claims and defenses will be at issue at

  trial in this matter. ClearOne herein additionally includes objections to Shure’s deposition

  designations, to the extent Shure has designated deposition transcripts for witnesses that Shure did

  not identify on its Witness List that it intended to call by deposition.

     1.       ClearOne objects to Shure playing any deposition testimony of Derek Graham that was

              provided in his individual capacity or outside the scope of topics he was designated for

              pursuant to Federal Rule of Civil Procedure 30(b)(6) because ClearOne is making him




                                                   -1-
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 308 of 555 PageID #: 57159




           an available live witness at trial. See Fed. R. Civ. P 32. In addition, Shure did not

           identify on its Witness List that it intended to play his deposition testimony.

     2.    ClearOne objects to Shure playing any deposition testimony of Zee Hakimoglu,

           because Shure did not identify on its Witness List that it intended to play her deposition

           testimony. Ms. Hakimoglu will be an available witness at trial.

     3.    To the extent Shure’s allegations of false advertising against ClearOne are presented at

           trial either through Shure’s affirmative claims or defenses, ClearOne will make Jason

           Ambion available as live witnesses at trial, thus making Shure’s playing of his

           deposition testimony improper. See Fed. R. Civ. P. 32. In addition, Shure did not

           identify on its Witness List that it intended to play his deposition testimony.

     4.    Jason DiCampello resides and regularly transacts business within 100 miles of

           Wilmington, Delaware and is thus an available witness. ClearOne thus objects to the

           Shure’s playing of his deposition testimony. See Fed. R. Civ. P. 32. In addition, Shure

           did not identify on its Witness List that it intended to play his deposition testimony.

     5.    ClearOne objects to Shure’s designation of Ashanti Long as a “May Call” witness. Mr.

           Long will not be an available witness at trial. ClearOne further objects to Shure’s

           deposition designations for Mr. Long, because Shure did not identify Mr. Long on its

           Witness List as a witness for whom it would play deposition testimony.

     6.    ClearOne objects to Shure’s designation of Narsi Narayanan as a “May Call” witness.

           Mr. Narayanan will not be an available witness at trial. ClearOne further objects to

           Shure’s deposition designations for Mr. Narayanan, because Shure did not identify Mr.

           Narayanan on its Witness List as a witness for whom it would play deposition

           testimony.

     7.    ClearOne objects to Shure’s designation of John Schnibbe as a “May Call” witness.

           Mr. Schnibbe will not be an available witness at trial. ClearOne further objects to

           Shure’s deposition designations for Mr. Schnibbe, because Shure did not identify Mr.

           Schnibbe on its Witness List as a witness for whom it would play deposition testimony.

                                                -2-
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 309 of 555 PageID #: 57160




     8.    ClearOne objects to Shure playing any deposition testimony of any Shure witness who

           is available for trial. In particular, ClearOne understands that Shure currently intends

           to bring John Miller and James Schanz to trial. For that reason, Shure should not be

           able to play their depositions. Indeed, Shure did not mark on its Witness List that it

           would play their depositions. ClearOne objects to the playing of their depositions for

           this reason, as well.

     9.    ClearOne objects to Shure playing of any deposition testimony of Stephen Durham,

           who Shure did not identify on its Witness List. In addition, Shure has not shown that

           he is an unavailable witness for trial.

     10.   ClearOne objects to Shure playing any deposition testimony of Todd Peden, who Shure

           did not identify on its Witness List. In addition, Shure has not shown that he is an

           unavailable witness for trial.

     11.   ClearOne objects to Shure playing any deposition testimony of Edgar Thurmond, who

           Shure did not identify on its Witness List.

     12.   ClearOne objects to Shure playing any deposition testimony of Darrin Thurston, who

           Shure did not identify on its Witness List.

     13.   ClearOne objects to Shure playing of any deposition testimony of Robert Klegon, who

           Shure identified on its Witness List for that purpose, but for whom Shure has not

           submitted any deposition designations.

     14.   ClearOne objects to Shure playing any deposition testimony of Michael Maselbas, who

           Shure identified on its Witness List for that purpose, but for whom Shure has not

           submitted any deposition designations.

     15.   ClearOne objects to Shure playing any deposition testimony of Matthew Morrow, who

           Shure identified on its Witness List for that purpose, but for whom Shure has not

           submitted any deposition designations.

     16.   ClearOne objects to Shure playing any deposition testimony from Richard Kessler, to

           the extent Shure has not shown, or cannot show, that he is an unavailable witness.

                                                -3-
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 310 of 555 PageID #: 57161




     17.   ClearOne objects to Shure playing any deposition testimony from Michael Wilson, to

           the extent Shure has not shown, or cannot show, that he is an unavailable witness.




                                              -4-
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 311 of 555 PageID #: 57162




                          EXHIBIT 9
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 312 of 555 PageID #: 57163




                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

   SHURE INCORPORATED, and                            )
   SHURE ACQUISITION HOLDINGS, INC.,                  )
                                                      )
                          Plaintiffs,                 )
                                                      )
                  v.                                  )
                                                      ) C.A. No. 19-1343 (RGA)
   CLEARONE, INC.,                                    )
                                                      )
                          Defendant.                  )
                                                      )
                                                      )
                                                      )
                                                      )

                  DEFENDANT CLEARONE INC.’S TRIAL WITNESS LIST

         Defendant ClearOne, Inc. (“ClearOne”) submits this trial witness list pursuant to Local

  Rule 16.3(c)(7) and Federal Rule of Civil Procedure 26(a)(3)(A).

         ClearOne intends to call some, or all, of the following witnesses to testify at trial. An

  asterisk (*) is placed next to the names of those witnesses whom ClearOne may call only if the

  need arises. And a carrot (^) identifies that ClearOne presently intends to offer live testimony from

  the witness—the absence of a carrot indicates that ClearOne presently intends to offer testimony

  through deposition.

         ClearOne reserves the right to modify or supplement this list before or during trial.

  ClearOne further reserves the right to call rebuttal witnesses as necessary, including witnesses not

  disclosed below. ClearOne also reserves the right to amend this list—including the designation of

  whether ClearOne will call the witness live or by deposition—after Shure identifies which
  witnesses it intends to make available at trial. ClearOne also reserves its right to offer testimony

  from any witness listed on Shure’s exhibit list.




                                                     -1-
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 313 of 555 PageID #: 57164




     1.    Zee Hakimoglu^

     2.    Derek Graham^

     3.    Joel Delman^ (Expert Witness)

     4.    Julia Rowe^ (Expert Witness)

     5.    Paul Waadevig^ (Expert Witness)

     6.    Ashanti Long*

     7.    Jason DiCampello*

     8.    Jason Ambion*

     9.    John Schnibbe*

     10.   Durai Ramachandiran*

     11.   Randall Sanderson*

     12.   Shure Incorporated

     13.   Brian Donahoe*

     14.   Beth Mickel*

     15.   Chris Bencsik*

     16.   David Newman*
     17.   Michael Wilson*

     18.   Darrell Clingman

     19.   Jason Staples*

     20.   Cliff Christensen*

     21.   Glenn Yates*

     22.   Patrick Oates*

     23.   Marques Manning*

     24.   Daniel Coward

     25.   Shane Tunnell*

     26.   Ed Wolffe*

     27.   Christine Schyvinck

                                             -2-
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 314 of 555 PageID #: 57165




     28.   Matthew Abraham*

     29.   Cassie Berger

     30.   Doug Daube

     31.   Elizabeth Cho*

     32.   Gregory Lantz*

     33.   James Schanz

     34.   Joe DiFalco

     35.   John Miller*

     36.   Kevin Smith

     37.   Michael Moore

     38.   Robert Klegon

     39.   Scott Ramsayer

     40.   Tim Valley

     41.   Michael Maselbas*

     42.   Chad Wiggins*

     43.   Matthew Morrow*

     44.   Michael Tabor*

     45.   David Cerra*

     46.   Luis Guerra*

     47.   William Payne*

     48.   William Pak*

     49.   Jon Bullard*

     50.   Joseph Rogina

     51.   Joshua DeBusschere

     52.   Matthew Horton

     53.   Richard Kessler*

     54.   Kenneth Roy* (Live if Available)

                                              -3-
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 315 of 555 PageID #: 57166




                    EXHIBIT 10
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 316 of 555 PageID #: 57167




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

   SHURE INCORPORATED,                               )
                                                     )
                        and                          )     C.A. NO. 19-1343-RGA-CJB
                                                     )
   SHURE ACQUISITION HOLDINGS, INC.,                 )     JURY TRIAL DEMANDED
                                                     )
                        Plaintiffs,                  )
                                                     )
               v.                                    )
                                                     )
   CLEARONE, INC.,                                   )
                                                     )
                        Defendant.                   )

   PLAINTIFFS’ DEPOSITION DESIGNATIONS FOR MATHEW ABRAHAM (6/19/2020)

          Designation                   Counter-Designations              Objections

             7:2-14

            12:5-19                           12:20-13:9                       I

            13:10-16

           14:24-15:7                          15:8-17                         I

            15:18-19                           15:8-17                         I

            15:21-23                           15:8-17                         I

            16:12-25                           17:8-21                         I

            24:13-25                         21:15-22:14                       I

             25:3-5                            25:6-12                         I

           26:21-27:2                 25:6-12, 26:12-15, 26:18-20              I

            43:8-15

             45:4-8                           45:9-46:15                       I

           46:23-47:9                         45:9-46:15                       I
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 317 of 555 PageID #: 57168




           Designation         Counter-Designations             Objections

             47:11-18            47:23-25, 48:2-20                   I

             47:20-22            47:23-25, 48:2-20                   I

             48:21-25            47:23-25, 48:2-20                   I

                  49:2           47:23-25, 48:2-20                   I

            49:24-50:3                49:3-23                        I

             50:15-22

              50:24

             54:17-21

            100:14-19            58:15-59:3, 59:5-14              I, V, S

           100:21-101:1          58:15-59:3, 59:5-14              I, V, S

             101:3-7             58:15-59:3, 59:5-14              I, V, S

             101:9-15            58:15-59:3, 59:5-14              I, V, S


    Description                                           Objections

    FEDERAL RULES OF EVIDENCE 401/402 (IRRELEVANT)        401, 402
    FEDERAL RULE OF EVIDENCE 403 (UNDULY                  403
    PREJUDICIAL, CONFUSING, MISLEADING,
    DELAY, AND/OR WASTE OF TIME)
    FEDERAL RULE OF EVIDENCE 602 (LACK OF PERSONAL        602
    KNOWLEDGE OR COMPETENCY)
    LACKS FOUNDATION                                      F
    CALLS FOR SPECULATION                                 Spec
    DESIGNATION INCOMPLETE / INCOMPREHENSIBLE             I
    / INCOMPLETE QUESTION / ANSWER
    VAGUE AND AMBIGUOUS                                   V
    IMPROPER / INCOMPLETE HYPOTHETICAL                    Hyp
    COMPOUND                                              C
    ASSUMES FACTS NOT IN EVIDENCE                         AF
    FEDERAL RULE OF EVIDENCE 408 (COMPROMISE OFFERS       408
    AND NEGOTIATIONS)
    FEDERAL RULE OF EVIDENCE 501 (PRIVILEGE)              P


                                         2
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 318 of 555 PageID #: 57169




    FEDERAL RULE OF EVIDENCE 611(C) (LEADING)             611
    IMPROPER LAY OPINION / IMPROPER                       701
    EXPERT TESTIMONY BY NON-EXPERT
    IMPROPER TESTIMONY BY EXPERT WITNESS                  702/703
    FEDERAL RULE OF EVIDENCE 802 (HEARSAY)                H
    FEDERAL RULE OF EVIDENCE 611(B) (BEYOND SCOPE OF
                                                          BSD
    DESIGNATIONS
    NOT TESTIMONY – INCLUDES ATTORNEY OBJECTIONS          NT
    AND/OR DISCUSSIONS BETWEEN ATTORNEYS
    BEYOND SCOPE OF 30(b)(6) NOTICE / QUESTIONS           S
    ARGUMENTATIVE                                         Arg
    MISCHARACTERIZATION                                   M
    CALLS FOR LEGAL CONCLUSION                            LC
    NON-RESPONSIVE                                        NR
    NARRATIVE                                             N




                                        3
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 319 of 555 PageID #: 57170




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

   SHURE INCORPORATED,                               )
                                                     )
                        and                          )     C.A. NO. 19-1343-RGA-CJB
                                                     )
   SHURE ACQUISITION HOLDINGS, INC.,                 )     JURY TRIAL DEMANDED
                                                     )
                        Plaintiffs,                  )
                                                     )
               v.                                    )
                                                     )
   CLEARONE, INC.,                                   )
                                                     )
                        Defendant.                   )

     PLAINTIFFS’ DEPOSITION DESIGNATIONS FOR JASON AMBION (10/27/2020)

          Designation                   Counter-Designation                Objection

            9:16-18

          12:12-18:14

           20:2-21:15

          21:17-22:21

          22:25-25:21                                                         M

           26:1-28:22                        29:19-31:18                      V, I

           28:24-29:1                        29:19-31:18                     LC, I

            29:11-18                         29:19-31:18                       I

           35:19-36:6                   32:19-21; 32:23-33:23                  I

            36:14-17

            37:3-13                                                          V, LC

           37:15-38:6                 38:7-8; 38:10-14; 38:16-18               I

          38:19-39:15                          40:6-8                       V, NT, I
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 320 of 555 PageID #: 57171




          Designation           Counter-Designation           Objection

           39:17-40:5                   40:6-8                     I

            44:2-17

             45:5-8                    45:9-12                     I

            45:13-18                                              V

          45:20-46:24                                         V, M, Spec

            47:1-18                                            Spec, V

                              51:3-8; 52:23-53:16; 53:20-
          47:21-49:15                                              I
                                   54:1; 57:6-58:24

                              51:3-8; 52:23-53:16; 53:20-
            49:18-23                                               I
                                   54:1; 57:6-58:24

                              51:3-8; 52:23-53:16; 53:20-
           50:5-51:2                                               I
                                   54:1; 57:6-58:24

                              51:3-8; 52:23-53:16; 53:20-
            51:9-20                                            V, LC, I
                                   54:1; 57:6-58:24

                              51:3-8; 52:23-53:16; 53:20-
          51:23-52:12                                        V, LC, Arg, I
                                   54:1; 57:6-58:24

                              51:3-8; 52:23-53:16; 53:20-
            52:16-22                                               I
                                   54:1; 57:6-58:24

                              51:3-8; 52:23-53:16; 53:20-
            54:2-19                                                I
                                   54:1; 57:6-58:24

                              51:3-8; 52:23-53:16; 53:20-
          54:22-55:21                                              I
                                   54:1; 57:6-58:24

                              51:3-8; 52:23-53:16; 53:20-
           55:24-56:4                                            M, I
                                   54:1; 57:6-58:24

                              51:3-8; 52:23-53:16; 53:20-
           56:7-57:5                                               I
                                   54:1; 57:6-58:24

                              51:3-8; 52:23-53:16; 53:20-
           58:25-59:1                                         Spec, V, I
                                   54:1; 57:6-58:24




                                          2
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 321 of 555 PageID #: 57172




          Designation           Counter-Designation           Objection

                              51:3-8; 52:23-53:16; 53:20-
            59:4-13                                           Spec, V, I
                                   54:1; 57:6-58:24

                              51:3-8; 52:23-53:16; 53:20-
            59:16-21                                               I
                                   54:1; 57:6-58:24

            60:3-16                    60:17-20                    I

            62:14-22

           63:2-65:8

            68:6-19                  68:20-71:14                   I

          71:22-74:21

           75:1-76:6                   74:24-25                  V, I

           76:8-79:1             83:5-84:13; 85:3-16         C, V, Spec, I

           79:4-82:3             83:5-84:13; 85:3-16               I

           82:13-83:4            83:5-84:13; 85:3-16               I

           86:24-87:8

           87:13-88:4                                            Spec

            88:7-17                                              Spec

            89:3-14

           89:24-91:5                    91:6                      I

            97:21-22             97:7-20; 98:18-99:17              I

            98:1-17              97:7-20; 98:18-99:17              I

          99:18-100:2            97:7-20; 98:18-99:17              I

            100:6-8              97:7-20; 98:18-99:17              I

           100:11-20             97:7-20; 98:18-99:17              I

          101:19-102:6



                                          3
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 322 of 555 PageID #: 57173




          Designation           Counter-Designation           Objection

           102:16-24

          103:23-105:3

           106:17-20                 105:4-22                   M, I

          106:23-109:9         105:4-22; 109:21-112:3           M, I

          112:4-116:6

         116:11-119:17                                         Spec, M

         119:20-120:12                                       V, LC, Spec

          120:15-121:9                                       V, LC, Spec

          121:11-122:4                                       V, LC, Spec

          122:7-125:11                                           M

         125:14-126:10                                           V

         126:12-127:25

          128:13-131:3

          132:14-133:4

           134:18-24

           135:20-22

            136:4-22               136:23-137:11                  I

           137:12-14               136:23-137:11                  I

           138:12-14               138:15-139:2                   I

          139:6-140:15             140:16-141:9                   I

           141:10-21               140:16-141:9                   I

         143:15-144:17             142:17-143:14                  I

          145:17-148:4               148:5-15                     I



                                         4
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 323 of 555 PageID #: 57174




          Designation           Counter-Designation           Objection

         148:16-149:25                148:5-15                    I

            150:7-18                151:11-152:5                  I

         152:11-153:12

          153:15-154:4       155:3-6; 157:9-12; 158:3-13          I

          155:25-157:8           157:9-12; 158:3-13               I

           159:11-25

            160:8-19                160:20-162:6                  I

          162:7-163:7               160:20-162:6                  I

          168:17-170:2

         171:20-172:19                                           V

          172:21-173:6

         173:12-175:17

         175:23-178:21

           179:18-24

          180:2-186:1

           186:11-21

           187:12-20

            188:9-16         187:25-188:8; 188:17-189:9           I

          189:10-190:4                190:5-10                    I

          191:1-198:13                190:5-10                 F, M, I

         198:17-199:23              199:24-200:6                  I

          201:6-202:18                204:1-12                    I

            205:5-10                 205:15-21                    I



                                         5
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 324 of 555 PageID #: 57175




          Designation           Counter-Designation           Objection

         205:22-207:22        205:15-21; 207:23-208:16            I

         208:25-210:13        205:15-21; 207:23-208:16            I

            216:5-9

         216:13-217:25

            218:2-24               219:14-220:15               M, F, I

            219:5-13               219:14-220:15                  I

            221:6-11

         221:15-225:10

           225:22-25

          233:11-234:1

           234:12-22

         235:18-236:11

          237:8-239:2

          241:1-242:2

           243:20-25

            244:3-10                                          F, V, LC

          244:12-245:4

            246:3-9                                           F, V, LC

         246:12-247:18                                        F, V, LC

          247:20-248:3                                        F, V, LC

            248:6-16

           248:20-22

          249:1-250:4



                                         6
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 325 of 555 PageID #: 57176




           Designation          Counter-Designation             Objection

            250:11-17




    Description                                           Objections

    FEDERAL RULES OF EVIDENCE 401/402 (IRRELEVANT)        401, 402
    FEDERAL RULE OF EVIDENCE 403 (UNDULY                  403
    PREJUDICIAL, CONFUSING, MISLEADING,
    DELAY, AND/OR WASTE OF TIME)
    FEDERAL RULE OF EVIDENCE 602 (LACK OF PERSONAL        602
    KNOWLEDGE OR COMPETENCY)
    LACKS FOUNDATION                                      F
    CALLS FOR SPECULATION                                 Spec
    DESIGNATION INCOMPLETE / INCOMPREHENSIBLE             I
    / INCOMPLETE QUESTION / ANSWER
    VAGUE AND AMBIGUOUS                                   V
    IMPROPER / INCOMPLETE HYPOTHETICAL                    Hyp
    COMPOUND                                              C
    ASSUMES FACTS NOT IN EVIDENCE                         AF
    FEDERAL RULE OF EVIDENCE 408 (COMPROMISE OFFERS       408
    AND NEGOTIATIONS)
    FEDERAL RULE OF EVIDENCE 501 (PRIVILEGE)              P
    FEDERAL RULE OF EVIDENCE 611(C) (LEADING)             611
    IMPROPER LAY OPINION / IMPROPER                       701
    EXPERT TESTIMONY BY NON-EXPERT
    IMPROPER TESTIMONY BY EXPERT WITNESS                  702/703
    FEDERAL RULE OF EVIDENCE 802 (HEARSAY)                H
    FEDERAL RULE OF EVIDENCE 611(B) (BEYOND SCOPE OF
                                                          BSD
    DESIGNATIONS
    NOT TESTIMONY – INCLUDES ATTORNEY OBJECTIONS          NT
    AND/OR DISCUSSIONS BETWEEN ATTORNEYS
    BEYOND SCOPE OF 30(b)(6) NOTICE / QUESTIONS           S
    ARGUMENTATIVE                                         Arg
    MISCHARACTERIZATION                                   M
    CALLS FOR LEGAL CONCLUSION                            LC



                                        7
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 326 of 555 PageID #: 57177




    Description                                           Objections

    NON-RESPONSIVE                                        NR
    NARRATIVE                                             N




                                        8
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 327 of 555 PageID #: 57178




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

   SHURE INCORPORATED,                             )
                                                   )
                        and                        )    C.A. NO. 19-1343-RGA-CJB
                                                   )
   SHURE ACQUISITION HOLDINGS, INC.,               )    JURY TRIAL DEMANDED
                                                   )
                        Plaintiffs,                )
                                                   )
               v.                                  )
                                                   )
   CLEARONE, INC.,                                 )
                                                   )
                        Defendant.                 )

     PLAINTIFFS’ DEPOSITION DESIGNATIONS FOR CHRIS BENCSIK (5/28/2020)

          Designation                 Counter-Designation               Objection

           9:5-13:13

            14:7-25                          15:1-11                        I

           15:17-17:3                        15:1-11                   Spec, NT, I

          20:14-23:11                                                    C, NT

           32:13-33:1                         33:2-6                        I

            33:12-22

          34:23-36:24                                                 V, C, NT, LC

           39:2-40:9

          40:20-41:16

           48:2-50:9                                                    Spec, LC

          58:16-61:14                 61:15-62:9; 62:11-63:3                I

                                      61:15-62:9; 62:11-63:3;
           63:4-64:18                                                       I
                                        64:19-65:1; 65:4-7
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 328 of 555 PageID #: 57179




    Description                                           Objections

    FEDERAL RULES OF EVIDENCE 401/402 (IRRELEVANT)        401, 402
    FEDERAL RULE OF EVIDENCE 403 (UNDULY                  403
    PREJUDICIAL, CONFUSING, MISLEADING,
    DELAY, AND/OR WASTE OF TIME)
    FEDERAL RULE OF EVIDENCE 602 (LACK OF PERSONAL        602
    KNOWLEDGE OR COMPETENCY)
    LACKS FOUNDATION                                      F
    CALLS FOR SPECULATION                                 Spec
    DESIGNATION INCOMPLETE / INCOMPREHENSIBLE             I
    / INCOMPLETE QUESTION / ANSWER
    VAGUE AND AMBIGUOUS                                   V
    IMPROPER / INCOMPLETE HYPOTHETICAL                    Hyp
    COMPOUND                                              C
    ASSUMES FACTS NOT IN EVIDENCE                         AF
    FEDERAL RULE OF EVIDENCE 408 (COMPROMISE OFFERS       408
    AND NEGOTIATIONS)
    FEDERAL RULE OF EVIDENCE 501 (PRIVILEGE)              P
    FEDERAL RULE OF EVIDENCE 611(C) (LEADING)             611
    IMPROPER LAY OPINION / IMPROPER                       701
    EXPERT TESTIMONY BY NON-EXPERT
    IMPROPER TESTIMONY BY EXPERT WITNESS                  702/703
    FEDERAL RULE OF EVIDENCE 802 (HEARSAY)                H
    FEDERAL RULE OF EVIDENCE 611(B) (BEYOND SCOPE OF
                                                          BSD
    DESIGNATIONS
    NOT TESTIMONY – INCLUDES ATTORNEY OBJECTIONS          NT
    AND/OR DISCUSSIONS BETWEEN ATTORNEYS
    BEYOND SCOPE OF 30(b)(6) NOTICE / QUESTIONS           S
    ARGUMENTATIVE                                         Arg
    MISCHARACTERIZATION                                   M
    CALLS FOR LEGAL CONCLUSION                            LC
    NON-RESPONSIVE                                        NR
    NARRATIVE                                             N




                                        2
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 329 of 555 PageID #: 57180




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

   SHURE INCORPORATED,                                 )
                                                       )
                        and                            )    C.A. NO. 19-1343-RGA-CJB
                                                       )
   SHURE ACQUISITION HOLDINGS, INC.,                   )    JURY TRIAL DEMANDED
                                                       )
                        Plaintiffs,                    )
                                                       )
               v.                                      )
                                                       )
   CLEARONE, INC.,                                     )
                                                       )
                        Defendant.                     )

    PLAINTIFFS’ DEPOSITION DESIGNATIONS FOR CASSIE BERGER (11/11/2020)

          Designation                    Counter-Designation                Objection

            17:20-25

                                       29:11-30:2, 32:1-4, 32:7-11,
          18:22-28:24                 33:15-17, 34:2-8, 37:24-38:2,       402, 403, NT, I
                                            38:7-10, 38:12-16

                                      33:15-17, 34:2-8, 37:24-38:2,
                                        38:7-10, 38:12-16, 39:19-
            34:9-12                                                         402, 403, I
                                      40:1, 40:3-43:1, 43:22-25, 44:
                                                11-45:18

                                      33:15-17, 34:2-8, 37:24-38:2,
                                        38:7-10, 38:12-16, 39:19-
            34:15-17                                                        402, 403, I
                                      40:1, 40:3-43:1, 43:22-25, 44:
                                                11-45:18

                                      33:15-17, 34:2-8, 37:24-38:2,
                                        38:7-10, 38:12-16, 39:19-
           34:19-35:3                                                       402, 403, I
                                      40:1, 40:3-43:1, 43:22-25, 44:
                                                11-45:18

                                      33:15-17, 34:2-8, 37:24-38:2,
                                        38:7-10, 38:12-16, 39:19-
           35:7-36:9                                                        402, 403, I
                                      40:1, 40:3-43:1, 43:22-25, 44:
                                                11-45:18
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 330 of 555 PageID #: 57181




          Designation           Counter-Designation            Objection

                              53:8-21, 54:2-4, 54:13-14,
                              57:8-58:3, 58:7-22, 62:22-
           51:2-52:9                                        401, 402, 403, H
                             63:19, 63:21-64:10, 64:22-
                             65:11, 65:23-66:20, 67:9-23

                              62:22-63:19, 63:21-64:10,
                              64:22-65:11, 65:23-66:20,
            64:11-13           67:9-23, 69:2-16, 69:18-    401, 402, 403, I, H
                             70:21, 70:24-71:8, 72:5-19,
                             72:22-23, 74:6-10, 74:13-24

                              62:22-63:19, 63:21-64:10,
                              64:22-65:11, 65:23-66:20,
            65:12-14           67:9-23, 69:2-16, 69:18-    401, 402, 403, I, H
                             70:21, 70:24-71:8, 72:5-19,
                             72:22-23, 74:6-10, 74:13-24

                              62:22-63:19, 63:21-64:10,
                              64:22-65:11, 65:23-66:20,
           66:21-67:8          67:9-23, 69:2-16, 69:18-    401, 402, 403, I, H
                             70:21, 70:24-71:8, 72:5-19,
                             72:22-23, 74:6-10, 74:13-24

                              62:22-63:19, 63:21-64:10,
                              64:22-65:11, 65:23-66:20,
             68:4-8            67:9-23, 69:2-16, 69:18-    401, 402, 403, I, H
                             70:21, 70:24-71:8, 72:5-19,
                             72:22-23, 74:6-10, 74:13-24

                              62:22-63:19, 63:21-64:10,
                              64:22-65:11, 65:23-66:20,
            68:12-15           67:9-23, 69:2-16, 69:18-    401, 402, 403, I, H
                             70:21, 70:24-71:8, 72:5-19,
                             72:22-23, 74:6-10, 74:13-24

                              62:22-63:19, 63:21-64:10,
                              64:22-65:11, 65:23-66:20,
             68:18             67:9-23, 69:2-16, 69:18-    401, 402, 403, I, H
                             70:21, 70:24-71:8, 72:5-19,
                             72:22-23, 74:6-10, 74:13-24

                              62:22-63:19, 63:21-64:10,
           68:20-69:1         64:22-65:11, 65:23-66:20,    401, 402, 403, I, H
                               67:9-23, 69:2-16, 69:18-



                                         2
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 331 of 555 PageID #: 57182




          Designation           Counter-Designation             Objection
                             70:21, 70:24-71:8, 72:5-19,
                             72:22-23, 74:6-10, 74:13-24

                             229:15-230:1, 230:12-231:15,
           232:13-21          232:22-25, 234:25-235:19,      402, 403, H, I, LC
                                    235:22-236:18

                             229:15-230:1, 230:12-231:15,
            233:6-11          232:22-25, 234:25-235:19,      402, 403, H, I, NT
                                    235:22-236:18

                             229:15-230:1, 230:12-231:15,
           233:14-23          232:22-25, 234:25-235:19,        402, 403, H, I
                                    235:22-236:18

                             229:15-230:1, 230:12-231:15,
            234:1-11          232:22-25, 234:25-235:19,        402, 403, H, I
                                    235:22-236:18

                             229:15-230:1, 230:12-231:15,
           234:14-23          232:22-25, 234:25-235:19,        402, 403, H, I
                                    235:22-236:18

            270:2-9           267:6-20, 267:22, 269:7-12        402, 403, I

          270:12-271:4        267:6-20, 267:22, 269:7-12        402, 403, I

                             271:21-24, 279:1-5, 279:7-18,
                              279:21-281:3, 281:20-282:6,
           273:10-21                                            402, 403, I
                               282:9-17, 282:19-283:11,
                               283:14-284:14, 288:11-15

                             271:21-24, 279:1-5, 279:7-18,
                              279:21-281:3, 281:20-282:6,
          273:24-274:1                                          402, 403, I
                               282:9-17, 282:19-283:11,
                               283:14-284:14, 288:11-15

                             271:21-24, 279:1-5, 279:7-18,
                              279:21-281:3, 281:20-282:6,
           274:13-20                                            402, 403, I
                               282:9-17, 282:19-283:11,
                               283:14-284:14, 288:11-15

           275:13-21         271:21-24, 279:1-5, 279:7-18,      402, 403, I
                              279:21-281:3, 281:20-282:6,




                                          3
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 332 of 555 PageID #: 57183




          Designation           Counter-Designation           Objection
                              282:9-17, 282:19-283:11,
                              283:14-284:14, 288:11-15

                             271:21-24, 279:1-5, 279:7-18,
                              279:21-281:3, 281:20-282:6,
            276:9-24                                          402, 403, I
                               282:9-17, 282:19-283:11,
                               283:14-284:14, 288:11-15

                             271:21-24, 279:1-5, 279:7-18,
                              279:21-281:3, 281:20-282:6,
            277:1-19                                          402, 403, I
                               282:9-17, 282:19-283:11,
                               283:14-284:14, 288:11-15

                             271:21-24, 279:1-5, 279:7-18,
                              279:21-281:3, 281:20-282:6,
           277:21-22                                          402, 403, I
                               282:9-17, 282:19-283:11,
                               283:14-284:14, 288:11-15

                             271:21-24, 279:1-5, 279:7-18,
                              279:21-281:3, 281:20-282:6,
          277:24-278:7                                        402, 403, I
                               282:9-17, 282:19-283:11,
                               283:14-284:14, 288:11-15

                             271:21-24, 279:1-5, 279:7-18,
                              279:21-281:3, 281:20-282:6,
           278:10-11                                          402, 403, I
                               282:9-17, 282:19-283:11,
                               283:14-284:14, 288:11-15

                             271:21-24, 279:1-5, 279:7-18,
                              279:21-281:3, 281:20-282:6,
           278:13-24                                          402, 403, I
                               282:9-17, 282:19-283:11,
                               283:14-284:14, 288:11-15

                             271:21-24, 279:1-5, 279:7-18,
                              279:21-281:3, 281:20-282:6,
            281:4-9                                           402, 403, I
                               282:9-17, 282:19-283:11,
                               283:14-284:14, 288:11-15

                             271:21-24, 279:1-5, 279:7-18,
                              279:21-281:3, 281:20-282:6,
           281:12-19                                          402, 403, I
                               282:9-17, 282:19-283:11,
                               283:14-284:14, 288:11-15




                                          4
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 333 of 555 PageID #: 57184




    Description                                           Objections

    FEDERAL RULES OF EVIDENCE 401/402 (IRRELEVANT)        401, 402
    FEDERAL RULE OF EVIDENCE 403 (UNDULY                  403
    PREJUDICIAL, CONFUSING, MISLEADING,
    DELAY, AND/OR WASTE OF TIME)
    FEDERAL RULE OF EVIDENCE 602 (LACK OF PERSONAL        602
    KNOWLEDGE OR COMPETENCY)
    LACKS FOUNDATION                                      F
    CALLS FOR SPECULATION                                 Spec
    DESIGNATION INCOMPLETE / INCOMPREHENSIBLE             I
    / INCOMPLETE QUESTION / ANSWER
    VAGUE AND AMBIGUOUS                                   V
    IMPROPER / INCOMPLETE HYPOTHETICAL                    Hyp
    COMPOUND                                              C
    ASSUMES FACTS NOT IN EVIDENCE                         AF
    FEDERAL RULE OF EVIDENCE 408 (COMPROMISE OFFERS       408
    AND NEGOTIATIONS)
    FEDERAL RULE OF EVIDENCE 501 (PRIVILEGE)              P
    FEDERAL RULE OF EVIDENCE 611(C) (LEADING)             611
    IMPROPER LAY OPINION / IMPROPER                       701
    EXPERT TESTIMONY BY NON-EXPERT
    IMPROPER TESTIMONY BY EXPERT WITNESS                  702/703
    FEDERAL RULE OF EVIDENCE 802 (HEARSAY)                H
    FEDERAL RULE OF EVIDENCE 611(B) (BEYOND SCOPE OF
                                                          BSD
    DESIGNATIONS
    NOT TESTIMONY – INCLUDES ATTORNEY OBJECTIONS          NT
    AND/OR DISCUSSIONS BETWEEN ATTORNEYS
    BEYOND SCOPE OF 30(b)(6) NOTICE / QUESTIONS           S
    ARGUMENTATIVE                                         Arg
    MISCHARACTERIZATION                                   M
    CALLS FOR LEGAL CONCLUSION                            LC
    NON-RESPONSIVE                                        NR
    NARRATIVE                                             N




                                        5
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 334 of 555 PageID #: 57185




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

   SHURE INCORPORATED,                           )
                                                 )
                        and                      )    C.A. NO. 19-1343-RGA-CJB
                                                 )
   SHURE ACQUISITION HOLDINGS, INC.,             )    JURY TRIAL DEMANDED
                                                 )
                        Plaintiffs,              )
                                                 )
               v.                                )
                                                 )
   CLEARONE, INC.,                               )
                                                 )
                        Defendant.               )

   PLAINTIFFS’ DEPOSITION DESIGNATIONS FOR JONATHAN BULLARD (6/8/2020)

          Designation                 Counter-Designation              Objection

            7:20-24

           10:3-12:19

            18:10-22                        19:6-10                         I

          19:19-20:15

           29:23-32:2                       32:3-7                          I

          32:12-43:24

           51:6-52:2

            55:5-14

          55:22-57:15                                                V, Spec, Hyp

            58:14-25                       58:10-13                 V, Hyp, Spec, I

           59:6-62:7                                                   611; Spec

           63:19-66:7                                               V, I, 611, NT, S

            66:20-23                                             V, I, 611, S, Spec, Hyp
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 335 of 555 PageID #: 57186




    Description                                           Objections

    FEDERAL RULES OF EVIDENCE 401/402 (IRRELEVANT)        401, 402
    FEDERAL RULE OF EVIDENCE 403 (UNDULY                  403
    PREJUDICIAL, CONFUSING, MISLEADING,
    DELAY, AND/OR WASTE OF TIME)
    FEDERAL RULE OF EVIDENCE 602 (LACK OF PERSONAL        602
    KNOWLEDGE OR COMPETENCY)
    LACKS FOUNDATION                                      F
    CALLS FOR SPECULATION                                 Spec
    DESIGNATION INCOMPLETE / INCOMPREHENSIBLE             I
    / INCOMPLETE QUESTION / ANSWER
    VAGUE AND AMBIGUOUS                                   V
    IMPROPER / INCOMPLETE HYPOTHETICAL                    Hyp
    COMPOUND                                              C
    ASSUMES FACTS NOT IN EVIDENCE                         AF
    FEDERAL RULE OF EVIDENCE 408 (COMPROMISE OFFERS       408
    AND NEGOTIATIONS)
    FEDERAL RULE OF EVIDENCE 501 (PRIVILEGE)              P
    FEDERAL RULE OF EVIDENCE 611(C) (LEADING)             611
    IMPROPER LAY OPINION / IMPROPER                       701
    EXPERT TESTIMONY BY NON-EXPERT
    IMPROPER TESTIMONY BY EXPERT WITNESS                  702/703
    FEDERAL RULE OF EVIDENCE 802 (HEARSAY)                H
    FEDERAL RULE OF EVIDENCE 611(B) (BEYOND SCOPE OF
                                                          BSD
    DESIGNATIONS
    NOT TESTIMONY – INCLUDES ATTORNEY OBJECTIONS          NT
    AND/OR DISCUSSIONS BETWEEN ATTORNEYS
    BEYOND SCOPE OF 30(b)(6) NOTICE / QUESTIONS           S
    ARGUMENTATIVE                                         Arg
    MISCHARACTERIZATION                                   M
    CALLS FOR LEGAL CONCLUSION                            LC
    NON-RESPONSIVE                                        NR
    NARRATIVE                                             N




                                        2
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 336 of 555 PageID #: 57187




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

   SHURE INCORPORATED,                           )
                                                 )
                        and                      )     C.A. NO. 19-1343-RGA-CJB
                                                 )
   SHURE ACQUISITION HOLDINGS, INC.,             )     JURY TRIAL DEMANDED
                                                 )
                        Plaintiffs,              )
                                                 )
               v.                                )
                                                 )
   CLEARONE, INC.,                               )
                                                 )
                        Defendant.               )

      PLAINTIFFS’ DEPOSITION DESIGNATIONS FOR CLIFTON CHRISTENSEN
                                 (10/7/2020)

          Designation                 Counter-Designation               Objection

             5:8-13

           10:7-16:22                                                    401, 402

          17:12-19:17                                                    401, 402

           28:6-31:22                      27:8-28:5              401, 402, M, Spec, V, I

            32:11-12                                                   M, Spec, V

            32:14-15                                                   M, Spec, V

          32:17-34:23                                                    Spec, V

           35:4-41:6                                                 F, Spec, LC, 701

           42:5-43:15                     43:23-44:1                    F, Spec, I

           44:2-45:10                     43:23-44:1                   F, Spec, M, I

          45:13-58:25                       59:1-13                 F, Spec, M, NT, I

          59:14-60:25                       59:1-13                    Spec, NT, I

            61:7-13                                                       F, NT
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 337 of 555 PageID #: 57188




          Designation           Counter-Designation           Objection

           62:5-66:18               66:19-67:13                 NT, I

           67:18-71:6               66:19-67:13                   I

           72:22-77:8                                        401, 402, F

          77:19-80:21                                          F, Spec

             80:25

             81:2-9

            81:13-15

           81:17-82:3                                           M, V

          82:14-84:23                                    NT, F, Spec, LC, 701

            85:4-11                                              M

           85:15-87:1                                          Spec, F

           90:5-91:12

          92:16-95:19




                                        2
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 338 of 555 PageID #: 57189




    Description                                           Objections

    FEDERAL RULES OF EVIDENCE 401/402 (IRRELEVANT)        401, 402
    FEDERAL RULE OF EVIDENCE 403 (UNDULY                  403
    PREJUDICIAL, CONFUSING, MISLEADING,
    DELAY, AND/OR WASTE OF TIME)
    FEDERAL RULE OF EVIDENCE 602 (LACK OF PERSONAL        602
    KNOWLEDGE OR COMPETENCY)
    LACKS FOUNDATION                                      F
    CALLS FOR SPECULATION                                 Spec
    DESIGNATION INCOMPLETE / INCOMPREHENSIBLE             I
    / INCOMPLETE QUESTION / ANSWER
    VAGUE AND AMBIGUOUS                                   V
    IMPROPER / INCOMPLETE HYPOTHETICAL                    Hyp
    COMPOUND                                              C
    ASSUMES FACTS NOT IN EVIDENCE                         AF
    FEDERAL RULE OF EVIDENCE 408 (COMPROMISE OFFERS       408
    AND NEGOTIATIONS)
    FEDERAL RULE OF EVIDENCE 501 (PRIVILEGE)              P
    FEDERAL RULE OF EVIDENCE 611(C) (LEADING)             611
    IMPROPER LAY OPINION / IMPROPER                       701
    EXPERT TESTIMONY BY NON-EXPERT
    IMPROPER TESTIMONY BY EXPERT WITNESS                  702/703
    FEDERAL RULE OF EVIDENCE 802 (HEARSAY)                H
    FEDERAL RULE OF EVIDENCE 611(B) (BEYOND SCOPE OF
                                                          BSD
    DESIGNATIONS
    NOT TESTIMONY – INCLUDES ATTORNEY OBJECTIONS          NT
    AND/OR DISCUSSIONS BETWEEN ATTORNEYS
    BEYOND SCOPE OF 30(b)(6) NOTICE / QUESTIONS           S
    ARGUMENTATIVE                                         Arg
    MISCHARACTERIZATION                                   M
    CALLS FOR LEGAL CONCLUSION                            LC
    NON-RESPONSIVE                                        NR
    NARRATIVE                                             N




                                        3
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 339 of 555 PageID #: 57190




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

   SHURE INCORPORATED,                           )
                                                 )
                        and                      )   C.A. NO. 19-1343-RGA-CJB
                                                 )
   SHURE ACQUISITION HOLDINGS, INC.,             )   JURY TRIAL DEMANDED
                                                 )
                        Plaintiffs,              )
                                                 )
               v.                                )
                                                 )
   CLEARONE, INC.,                               )
                                                 )
                        Defendant.               )

       PLAINTIFFS’ DEPOSITION DESIGNATIONS FOR DARRELL CLINGMAN
                                (8/19/2020)

          Designation                 Counter-Designation            Objection

            15:2-16

            16:9-24

           17:3-18:4

           18:25-19:3

            20:5-13

            20:18-25

           23:21-24:2

           24:24-25:2

           25:15-27:1

            27:3-23

            28:1-13

          29:19-31:10

            31:15-25
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 340 of 555 PageID #: 57191




          Designation           Counter-Designation           Objection

           32:10-33:5

             33:7-8

          33:13-35:13

            35:18-20

            36:1-15

            36:20-22

            37:8-13

            37:18-24

            38:4-19

            39:8-17

            42:22-23

             43:3-9

            44:6-10

          44:19-45:21               45:25-46:10                   I

            46:11-14

            46:19-22

             47:2-6

            47:15-16

            47:21-22

             48:5-6

            48:12-14

             49:2-3

            49:8-12



                                        2
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 341 of 555 PageID #: 57192




          Designation           Counter-Designation           Objection

            49:18-20

           49:25-50:3

            50:11-12

            50:17-21

           51:4-52:3

           52:8-53:2

            53:7-11

            53:17-19

           53:25-54:5

           54:21-55:5

            55:14-15

          55:20-56:10

          56:24-57:13                57:14-22                     I

            57:23-24

            58:4-14

           58:21-59:1

            59:9-17

            60:13-16

            60:23-24

            61:11-13

           61:23-62:5

            63:10-14                62:12-63:9                    I

             63:19



                                        3
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 342 of 555 PageID #: 57193




          Designation           Counter-Designation           Objection

            63:21-22

             64:2-9

           64:23-65:3

            65:9-20

            66:18-20

           66:25-67:2

            67:13-22                62:12-63:9                    I

            68:13-14

            68:19-24

             69:1-5

            69:11-24

           70:12-71:3

            71:15-19

           71:23-72:3

             72:6-8

           72:13-73:5                 73:6-9                      I

            73:13-14

            73:19-25                  74:2-5                      I

             74:6-7

            74:12-16

            75:1-20

          75:25-77:13                77:14-18                     I

           77:19-78:9



                                        4
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 343 of 555 PageID #: 57194




          Designation           Counter-Designation           Objection

            78:14-21

            79:18-21

            81:24-25

             82:5-8

             84:2-6

           85:23-86:8

          86:22-87:21                87:22-24                      I

           87:25-88:3                87:22-24               Spec, Hyp, V, I

             88:5-6

            88:9-19                  88:20-25                Spec, Hyp, I

             89:1-9

            89:13-15

            90:6-20

             91:2-9                                           V, C, Spec

            91:14-16

             92:1-2

            92:13-15

          92:19-93:10

            93:15-20             93:12-14; 93:21-23                I

            93:24-25

             94:2-4

           94:16-95:9                95:10-19                 Spec, V, I

           96:19-97:4                                          Spec, V



                                         5
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 344 of 555 PageID #: 57195




          Designation           Counter-Designation           Objection

             97:14

           97:23-98:4

            98:12-15

            99:9-18

            99:23-24                                            Spec

            100:1-9

          104:3-105:1                105:2-14                     I

            106:2-18

           106:22-23

           107:13-15

         107:23-109:15

          109:20-110:9

           110:13-20




                                        6
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 345 of 555 PageID #: 57196




    Description                                           Objections

    FEDERAL RULES OF EVIDENCE 401/402 (IRRELEVANT)        401, 402
    FEDERAL RULE OF EVIDENCE 403 (UNDULY                  403
    PREJUDICIAL, CONFUSING, MISLEADING,
    DELAY, AND/OR WASTE OF TIME)
    FEDERAL RULE OF EVIDENCE 602 (LACK OF PERSONAL        602
    KNOWLEDGE OR COMPETENCY)
    LACKS FOUNDATION                                      F
    CALLS FOR SPECULATION                                 Spec
    DESIGNATION INCOMPLETE / INCOMPREHENSIBLE             I
    / INCOMPLETE QUESTION / ANSWER
    VAGUE AND AMBIGUOUS                                   V
    IMPROPER / INCOMPLETE HYPOTHETICAL                    Hyp
    COMPOUND                                              C
    ASSUMES FACTS NOT IN EVIDENCE                         AF
    FEDERAL RULE OF EVIDENCE 408 (COMPROMISE OFFERS       408
    AND NEGOTIATIONS)
    FEDERAL RULE OF EVIDENCE 501 (PRIVILEGE)              P
    FEDERAL RULE OF EVIDENCE 611(C) (LEADING)             611
    IMPROPER LAY OPINION / IMPROPER                       701
    EXPERT TESTIMONY BY NON-EXPERT
    IMPROPER TESTIMONY BY EXPERT WITNESS                  702/703
    FEDERAL RULE OF EVIDENCE 802 (HEARSAY)                H
    FEDERAL RULE OF EVIDENCE 611(B) (BEYOND SCOPE OF
                                                          BSD
    DESIGNATIONS
    NOT TESTIMONY – INCLUDES ATTORNEY OBJECTIONS          NT
    AND/OR DISCUSSIONS BETWEEN ATTORNEYS
    BEYOND SCOPE OF 30(b)(6) NOTICE / QUESTIONS           S
    ARGUMENTATIVE                                         Arg
    MISCHARACTERIZATION                                   M
    CALLS FOR LEGAL CONCLUSION                            LC
    NON-RESPONSIVE                                        NR
    NARRATIVE                                             N




                                        7
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 346 of 555 PageID #: 57197




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

   SHURE INCORPORATED,                                )
                                                      )
                        and                           )   C.A. NO. 19-1343-RGA-CJB
                                                      )
   SHURE ACQUISITION HOLDINGS, INC.,                  )   JURY TRIAL DEMANDED
                                                      )
                        Plaintiffs,                   )
                                                      )
               v.                                     )
                                                      )
   CLEARONE, INC.,                                    )
                                                      )
                        Defendant.                    )

          PLAINTIFFS’ SUPPLEMENTAL DEPOSITION DESIGNATIONS FOR
                        JASON DICAMPELLO (7/22/2020)

          Designation                    Counter-Designation               Objection

            7:23-8:1

           12:1-13:21

           14:13-15:3

            15:14-23

          17:22-18:19                                                           I

            19:1-12

                                      23:2-7; 23:10-24:4; 26:5-13;
          19:19-20:21                                                       NT; V, I
                                                26:16-20

                                      29:19-30:5; 49:16-19; 49:22-
           31:4-41:6                                                 NT; C; AF; V; Spec; H, I
                                                   23

           44:17-48:6                                                  NT; Spec; NR; V; H

          57:14-58:22                   59:21-62:4; 62:19-63:10             NT; 401, I

            62:13-18                    59:21-62:4; 62:19-63:10                 I
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 347 of 555 PageID #: 57198




          Designation           Counter-Designation               Objection

                               59:21-62:4; 62:19-63:10;
           63:16-64:8                                                  I
                                       69:1-3

                               59:21-62:4; 62:19-63:10;
           64:19-66:7                                        C; NR; Spec; V; H; I
                                       69:1-3

                               59:21-62:4; 62:19-63:10;
            68:1-24                                                V; Spec; I
                                       69:1-3

                               59:21-62:4; 62:19-63:10;
          75:19-77:24                                              NT; C; I
                                       69:1-3

                               59:21-62:4; 62:19-63:10;
          78:22-79:24                                                NT; I
                                       69:1-3

                               59:21-62:4; 62:19-63:10;
           80:8-86:22                                            V; AF; NT; I
                                       69:1-3

          87:14-90:17                                           V; NT; Spec; H

           93:12-96:9                                        NT; 602; F; V; 401; H

            102:9-23                                                  H; I

            103:1-6                                                   H; I

                             29:19-30:5; 49:16-19; 49:22-
          103:23-112:2                                      AF; Spec; 603; NT; H, I
                                          23

           122:10-13

            124:1-23                                                  NT

          125:5-127:7                                            NT; I; 401; H

          131:5-139:5                                        NT; V; 401; F; 602; H

            139:9-23                                        401; 603; V; F; NT; I; H

            140:1-19                                                Spec; H

         141:12-145:18                                                 H




                                          2
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 348 of 555 PageID #: 57199




    Description                                           Objections

    FEDERAL RULES OF EVIDENCE 401/402 (IRRELEVANT)        401, 402
    FEDERAL RULE OF EVIDENCE 403 (UNDULY                  403
    PREJUDICIAL, CONFUSING, MISLEADING,
    DELAY, AND/OR WASTE OF TIME)
    FEDERAL RULE OF EVIDENCE 602 (LACK OF PERSONAL        602
    KNOWLEDGE OR COMPETENCY)
    LACKS FOUNDATION                                      F
    CALLS FOR SPECULATION                                 Spec
    DESIGNATION INCOMPLETE / INCOMPREHENSIBLE             I
    / INCOMPLETE QUESTION / ANSWER
    VAGUE AND AMBIGUOUS                                   V
    IMPROPER / INCOMPLETE HYPOTHETICAL                    Hyp
    COMPOUND                                              C
    ASSUMES FACTS NOT IN EVIDENCE                         AF
    FEDERAL RULE OF EVIDENCE 408 (COMPROMISE OFFERS       408
    AND NEGOTIATIONS)
    FEDERAL RULE OF EVIDENCE 501 (PRIVILEGE)              P
    FEDERAL RULE OF EVIDENCE 611(C) (LEADING)             611
    IMPROPER LAY OPINION / IMPROPER                       701
    EXPERT TESTIMONY BY NON-EXPERT
    IMPROPER TESTIMONY BY EXPERT WITNESS                  702/703
    FEDERAL RULE OF EVIDENCE 802 (HEARSAY)                H
    FEDERAL RULE OF EVIDENCE 611(B) (BEYOND SCOPE OF
                                                          BSD
    DESIGNATIONS
    NOT TESTIMONY – INCLUDES ATTORNEY OBJECTIONS          NT
    AND/OR DISCUSSIONS BETWEEN ATTORNEYS
    BEYOND SCOPE OF 30(b)(6) NOTICE / QUESTIONS           S
    ARGUMENTATIVE                                         Arg
    MISCHARACTERIZATION                                   M
    CALLS FOR LEGAL CONCLUSION                            LC
    NON-RESPONSIVE                                        NR
    NARRATIVE                                             N




                                        3
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 349 of 555 PageID #: 57200




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

   SHURE INCORPORATED,                                )
                                                      )
                        and                           )     C.A. NO. 19-1343-RGA-CJB
                                                      )
   SHURE ACQUISITION HOLDINGS, INC.,                  )     JURY TRIAL DEMANDED
                                                      )
                        Plaintiffs,                   )
                                                      )
               v.                                     )
                                                      )
   CLEARONE, INC.,                                    )
                                                      )
                        Defendant.                    )

    PLAINTIFFS’ DEPOSITION DESIGNATIONS FOR JOSEPH DIFALCO (11/20/2020)

          Designation                    Counter-Designation                 Objection

             9:5-9

             17:4-8

           17:19-21:4                          21:19-22:2                       I, NT

                                         22:19-23:12, 23:15-19,
            22:3-18                   23:22-24, 24:3-13, 24:16-19,                I
                                                 25:2-5

                                      25:6-9, 25:12-18, 25:21-26:2,
                                       29:1-12, 30:3-7; 155:17-21,
                                                                      I, 401, 402, 403, H, 602,
           26:3-28:24                   156:3-18, 156:21-157:15,
                                                                             Spec, F, NT
                                        157:23-158:6, 158:13-22,
                                                159:6-13

                                                                      I, 401, 402, 403, H, 602,
           29:13-30:2                       29:1-12, 30:3-7
                                                                             Spec, F, NT

                                      25:6-9, 25:12-18, 25:21-26:2,
                                       31:21-32:11, 36:1-23, 38:6-
                                       39:15, 116:23-117:7, 118:1-    I, 401, 402, 403, Spec, H,
          33:20-35:24
                                        16, 119:14-120:3, 132:24-             602, F, NT
                                         133:10, 133:19-134:19;
                                      155:17-21, 156:3-18, 156:21-
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 350 of 555 PageID #: 57201




          Designation           Counter-Designation                 Objection
                                157:15, 157:23-158:6,
                                 158:13-22, 159:6-13

                             25:6-9, 25:12-18, 25:21-26:2,
                                                             I, 401, 402, 403, H, 602,
           36:24-38:5         31:21-32:11, 36:1-23, 38:6-
                                                                      Spec, F
                                         39:15

                             25:6-9, 25:12-18, 25:21-26:2,   I, 401, 402, 403, H, 602,
           39:16-41:6
                                 31:21-32:11, 41:7-10                 Spec, F

                                                             I, 401, 402, 403, H, 602,
           75:6-78:7             74:21-75:5, 78:8-12
                                                                    Spec, F, NT

                             78:16-19, 79:21-80:6, 81:17-
                              82:5, 86:16-87:22, 88:1-2,
                                                             I, 401, 402, 403, H, 602,
            84:5-12           88:10-21, 89:17-20, 89:24-
                                                                      Spec, F
                              91:18, 179:14-17, 179:21-
                                180:18, 180:21-181:8

                             78:16-19, 79:21-80:6, 81:17-
                              82:5, 86:16-87:22, 88:1-2,
                              88:10-21, 89:17-20, 89:24-
                              91:18, 179:14-17, 179:21-      I, 401, 402, 403, H, 602,
          84:21-85:14
                                180:18, 180:21-181:8,                 Spec, F
                             209:20-23, 210:4-17, 210:22-
                              213:10, 213:18-23, 214:15-
                                215:24, 216:16-217:24

                             78:16-19, 79:21-80:6, 81:17-
                              82:5, 86:16-87:22, 88:1-2,
                              88:10-21, 89:17-20, 89:24-
                                91:18, 94:3-6, 94:9-24,
                                                             I, 401, 402, 403, H, 602,
           91:19-94:2         179:14-17, 179:21-180:18,
                                                                      Spec, F
                               180:21-181:8, 209:20-23,
                               210:4-17, 210:22-213:10,
                              213:18-23, 214:15-215:24,
                                    216:16-217:24

                             78:16-19, 79:21-80:6, 81:17-
                              82:5, 86:16-87:22, 88:1-2,
                              88:10-21, 89:17-20, 89:24-     I, 401, 402, 403, H, 602,
            95:1-15             91:18, 94:3-6, 94:9-24,               Spec, F
                                95:16-96:4, 179:14-17,
                             179:21-180:18, 180:21-181:8,
                             209:20-23, 210:4-17, 210:22-


                                          2
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 351 of 555 PageID #: 57202




          Designation           Counter-Designation                 Objection
                              213:10, 213:18-23, 214:15-
                                215:24, 216:16-217:24

                             78:16-19, 79:21-80:6, 81:17-
                              82:5, 86:16-87:22, 88:1-2,
                              88:10-21, 89:17-20, 89:24-
                                91:18, 94:3-6, 94:9-24,
                                                             I, 401, 402, 403, H, 602,
           96:5-97:12           95:16-96:4, 179:14-17,
                                                                    Spec, F, NT
                             179:21-180:18, 180:21-181:8,
                             209:20-23, 210:4-17, 210:22-
                              213:10, 213:18-23, 214:15-
                                215:24, 216:16-217:24

                             78:16-19, 79:21-80:6, 81:17-
                              82:5, 86:16-87:22, 88:1-2,
                              88:10-21, 89:17-20, 89:24-
                              91:18, 179:14-17, 179:21-
                                                             I, 401, 402, 403, H, 602,
          202:2-209:1        180:18, 180:21-181:8, 201:7-
                                                                    Spec, F, NT
                                8, 201:11-17, 209:2-19,
                             209:20-23, 210:4-17, 210:22-
                              213:10, 213:18-23, 214:15-
                                215:24, 216:16-217:24

                               43:11-44:2, 44:5-6, 44:17-
                             46:13, 46:16-47:13, 49:1-17,
                              49:20-52:9, 53:5-13, 53:16-
                             23, 54:4-10, 54:12-19, 54:23-
                               55:4, 55:7-17, 55:22-57:5,
                                 57:21-58:23, 59:13-19,
                                                             I, 401, 402, 403, H, 602,
         243:18-253:23        59:24-60:5, 60:8-19, 60:23-
                                                             Spec, F, 701, LC, N, NT
                                61:7, 62:8-11, 62:14-18,
                              63:4-13; 63:16-24, 64:3-7,
                                67:2-8, 129:2-7, 129:12-
                                131:12, 227:6-9, 230:14-
                               233:5, 238:18-21, 239:20-
                                    242:2, 242:7-18




                                          3
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 352 of 555 PageID #: 57203




    Description                                           Objections

    FEDERAL RULES OF EVIDENCE 401/402 (IRRELEVANT)        401, 402
    FEDERAL RULE OF EVIDENCE 403 (UNDULY                  403
    PREJUDICIAL, CONFUSING, MISLEADING,
    DELAY, AND/OR WASTE OF TIME)
    FEDERAL RULE OF EVIDENCE 602 (LACK OF PERSONAL        602
    KNOWLEDGE OR COMPETENCY)
    LACKS FOUNDATION                                      F
    CALLS FOR SPECULATION                                 Spec
    DESIGNATION INCOMPLETE / INCOMPREHENSIBLE             I
    / INCOMPLETE QUESTION / ANSWER
    VAGUE AND AMBIGUOUS                                   V
    IMPROPER / INCOMPLETE HYPOTHETICAL                    Hyp
    COMPOUND                                              C
    ASSUMES FACTS NOT IN EVIDENCE                         AF
    FEDERAL RULE OF EVIDENCE 408 (COMPROMISE OFFERS       408
    AND NEGOTIATIONS)
    FEDERAL RULE OF EVIDENCE 501 (PRIVILEGE)              P
    FEDERAL RULE OF EVIDENCE 611(C) (LEADING)             611
    IMPROPER LAY OPINION / IMPROPER                       701
    EXPERT TESTIMONY BY NON-EXPERT
    IMPROPER TESTIMONY BY EXPERT WITNESS                  702/703
    FEDERAL RULE OF EVIDENCE 802 (HEARSAY)                H
    FEDERAL RULE OF EVIDENCE 611(B) (BEYOND SCOPE OF
                                                          BSD
    DESIGNATIONS
    NOT TESTIMONY – INCLUDES ATTORNEY OBJECTIONS          NT
    AND/OR DISCUSSIONS BETWEEN ATTORNEYS
    BEYOND SCOPE OF 30(b)(6) NOTICE / QUESTIONS           S
    ARGUMENTATIVE                                         Arg
    MISCHARACTERIZATION                                   M
    CALLS FOR LEGAL CONCLUSION                            LC
    NON-RESPONSIVE                                        NR
    NARRATIVE                                             N




                                        4
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 353 of 555 PageID #: 57204




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

   SHURE INCORPORATED,                              )
                                                    )
                        and                         )   C.A. NO. 19-1343-RGA-CJB
                                                    )
   SHURE ACQUISITION HOLDINGS, INC.,                )   JURY TRIAL DEMANDED
                                                    )
                        Plaintiffs,                 )
                                                    )
               v.                                   )
                                                    )
   CLEARONE, INC.,                                  )
                                                    )
                        Defendant.                  )

    PLAINTIFFS’ DEPOSITION DESIGNATIONS FOR STEPHEN DURHAM (12/8/2020)

          Designation                 Counter-Designation               Objection

            6:23-25

                                           17:22-23
          16:22-17:20                        18:3                            I
                                            18:6-8

                                           17:22-23
             18:4-5                          18:3                            I
                                            18:6-8

                                           18:20-25
                                          20:14-21:8
                                          21:15-22:15
                                           23:10-25
            18:9-19                                                          I
                                           113:12-16
                                           113:19-23
                                           114:14-19
                                            114:21

           19:1-20:13                     20:14-21:8                 401, 402, V, NT, I
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 354 of 555 PageID #: 57205




          Designation           Counter-Designation           Objection
                                    21:15-22:15
                                     23:10-25

                                      26:1-6
           24:5-25:25                                         401, 402, I
                                      26:8-18

                                      26:1-6
           26:19-27:2                 26:8-18                 401, 402, I
                                     27:3-28:7

           36:23-37:3

                                     39:10-12
           37:15-39:9                45:17-19                 401, 402, I
                                   182:25-183:2

            40:2-23

            41:13-17

                                    46:16-47:2
           47:3-48:21                                              I
                                    48:22-49:2

                                      50:3-8
            50:9-15                                                I
                                     50:17-25

          53:22-54:16

            60:18-20

          62:11-63:22                 64:3-8                       I

           64:17-65:9                65:11-20                   Hyp, I

           65:21-69:8                                             H

           126:14-22

                                    111:5-111:6
          127:18-130:6              111:8-112:4               Spec, H, I
                                     146:18-21



                                        2
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 355 of 555 PageID #: 57206




          Designation           Counter-Designation           Objection

                                    111:5-111:6
          131:14-135:4              111:8-112:4              Spec, M, H, I
                                     146:18-21

                                                            Spec, I, NT, H
         140:25-145:25               146:18-21


                                                           Spec, H, Hyp, V
         167:25-177:25


          180:4-182:23                                     Spec, Arg, NT, V




                                        3
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 356 of 555 PageID #: 57207




    Description                                           Objections

    FEDERAL RULES OF EVIDENCE 401/402 (IRRELEVANT)        401, 402
    FEDERAL RULE OF EVIDENCE 403 (UNDULY                  403
    PREJUDICIAL, CONFUSING, MISLEADING,
    DELAY, AND/OR WASTE OF TIME)
    FEDERAL RULE OF EVIDENCE 602 (LACK OF PERSONAL        602
    KNOWLEDGE OR COMPETENCY)
    LACKS FOUNDATION                                      F
    CALLS FOR SPECULATION                                 Spec
    DESIGNATION INCOMPLETE / INCOMPREHENSIBLE             I
    / INCOMPLETE QUESTION / ANSWER
    VAGUE AND AMBIGUOUS                                   V
    IMPROPER / INCOMPLETE HYPOTHETICAL                    Hyp
    COMPOUND                                              C
    ASSUMES FACTS NOT IN EVIDENCE                         AF
    FEDERAL RULE OF EVIDENCE 408 (COMPROMISE OFFERS       408
    AND NEGOTIATIONS)
    FEDERAL RULE OF EVIDENCE 501 (PRIVILEGE)              P
    FEDERAL RULE OF EVIDENCE 611(C) (LEADING)             611
    IMPROPER LAY OPINION / IMPROPER                       701
    EXPERT TESTIMONY BY NON-EXPERT
    IMPROPER TESTIMONY BY EXPERT WITNESS                  702/703
    FEDERAL RULE OF EVIDENCE 802 (HEARSAY)                H
    FEDERAL RULE OF EVIDENCE 611(B) (BEYOND SCOPE OF
                                                          BSD
    DESIGNATIONS
    NOT TESTIMONY – INCLUDES ATTORNEY OBJECTIONS          NT
    AND/OR DISCUSSIONS BETWEEN ATTORNEYS
    BEYOND SCOPE OF 30(b)(6) NOTICE / QUESTIONS           S
    ARGUMENTATIVE                                         Arg
    MISCHARACTERIZATION                                   M
    CALLS FOR LEGAL CONCLUSION                            LC
    NON-RESPONSIVE                                        NR
    NARRATIVE                                             N




                                        4
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 357 of 555 PageID #: 57208




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

   SHURE INCORPORATED,                            )
                                                  )
                        and                       )      C.A. NO. 19-1343-RGA-CJB
                                                  )
   SHURE ACQUISITION HOLDINGS, INC.,              )      JURY TRIAL DEMANDED
                                                  )
                        Plaintiffs,               )
                                                  )
               v.                                 )
                                                  )
   CLEARONE, INC.,                                )
                                                  )
                        Defendant.                )

     PLAINTIFFS’ DEPOSITION DESIGNATIONS FOR DEREK GRAHAM (7/10/2020)

          Designation                 Counter-Designation                Objection

             7:8-11

             8:5-16                         8:17-22                           I

          11:15-13:17                       13:18-21                   401, 402, NT, I

          15:17-16:15                     183:14-185:9                        I

            16:18-20

            22:10-19                   23:5-7, 23:13-24:15                    I

          24:16-26:10                  23:5-7, 23:13-24:15               I, 401, 402

             30:2-7                                                     401, 402, 403

           30:20-31:4                                                   401, 402, 403

            31:10-17                                                    401, 402, 403

           31:19-33:2                                                 401, 402, 403, NT

            33:10-17                                                    401, 402, 403

           34:1-36:3                      183:14-185:9               401, 402, 403, NT, I
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 358 of 555 PageID #: 57209




          Designation           Counter-Designation           Objection

            36:7-18

          36:20-42:16              183:14-185:9               401, 402, I

            43:5-11                                            401, 402

          46:20-48:22                                          401, 402

          49:10-51:19                                          401, 402

            52:4-19                                         401, 402, Spec

           52:22-53:3                                       401, 402, Spec

            53:5-11                                         401, 402, Spec

          53:14-54:14                                       401, 402, Spec

            55:5-14                                         401, 402, Spec

            67:5-19                                            401, 402

             68:2-3                                            401, 402

            68:8-10

           68:12-69:9                                             V

            69:12-15                                              V

            69:17-18                                           Spec, V

           69:21-70:9                                             V

            70:12-17                                           V, Spec

           70:20-71:1                                          V, Spec

             71:3-7                                          V, Spec, Hyp

            71:10-12                                         V, Spec, Hyp

            71:14-19                                        V, Spec, Hyp, I

             71:22                                           V, Spec, Hyp



                                        2
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 359 of 555 PageID #: 57210




          Designation           Counter-Designation            Objection

             72:2-4                                           V, Spec, Hyp

              72:6                                            V, Spec, Hyp

            73:1-12                                           V, Spec, 701

           73:15-74:2                                         V, Spec, 701

             74:5-6                                           V, Spec, 701

            74:8-10                                           V, Spec, 701

            74:12-13                                          V, Spec, 701

            74:15-18                                          V, Spec, 701

           74:20-75:4                                         V, Spec, 701

             75:7-9                                           V, Spec, 701

            78:12-15                                          V, Spec, 701

           78:18-79:4                                         V, Spec, 701

              79:7                                               V, Spec

            82:5-16             92:1-12, 92:22-93:17                I

             82:22              92:1-12, 92:22-93:17                I

            83:9-17             92:1-12, 92:22-93:17            V, Spec, I

           83:20-84:6           92:1-12, 92:22-93:17            V, Spec, I

            84:9-12             92:1-12, 92:22-93:17         V, Spec, 701, I

           84:15-85:1           92:1-12, 92:22-93:17       V, Spec, 701, NT, I

            85:4-14             92:1-12, 92:22-93:17         V, Spec, 701, I

            85:16-18            92:1-12, 92:22-93:17         V, Spec, 701, I

            85:20-22            92:1-12, 92:22-93:17   V, Spec, 701, AA, Arg, NR, I

            86:3-22             92:1-12, 92:22-93:17   V, Spec, 701, AA, Arg, NR, I



                                         3
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 360 of 555 PageID #: 57211




          Designation           Counter-Designation            Objection

             87:3-4             92:1-12, 92:22-93:17      V. Spec, 701, AA, I

           87:6-88:2            92:1-12, 92:22-93:17          V, AA, M, I

            88:4-10             92:1-12, 92:22-93:17      V, Spec, Hyp, 701, I

           88:14-89:3           92:1-12, 92:22-93:17      V, Spec, Hyp, 701, I

            89:6-10             92:1-12, 92:22-93:17    V, Spec, Hyp, 701, NT, I

           89:14-90:1           92:1-12, 92:22-93:17      V, Spec, Hyp, 701, I

            90:5-10             92:1-12, 92:22-93:17      V, Spec, Hyp, 701, I

           90:12-91:1           92:1-12, 92:22-93:17    V, Spec, Hyp, 701, M, I

            91:4-22             92:1-12, 92:22-93:17    V, Spec, Hyp, 701, M, I

           94:16-96:5           92:1-12, 92:22-93:17           401, 402, I

          96:11-102:16          92:1-12, 92:22-93:17    401, 402, V, Hyp, Spec, I

          102:19-103:1          92:1-12, 92:22-93:17       V, Hyp, Spec, M, I

          103:5-104:13          92:1-12, 92:22-93:17       V, Hyp, Spec, M, I

           104:16-20            92:1-12, 92:22-93:17       V, Hyp, Spec, M, I

            105:1-22            92:1-12, 92:22-93:17           V, Spec, I

          106:3-111:15          92:1-12, 92:22-93:17           V, Spec, I

         111:18-114:11          92:1-12, 92:22-93:17        V, Spec, Hyp, I

         114:15-120:19          92:1-12, 92:22-93:17       V, Spec, Hyp, M, I

            121:4-12            92:1-12, 92:22-93:17           V, Spec, I

          121:18-124:8          92:1-12, 92:22-93:17         V, NT, Spec, I

           124:16-22            92:1-12, 92:22-93:17            V, NT, I

            125:5-17            92:1-12, 92:22-93:17         V, NT, Spec, I

          126:3-128:2           92:1-12, 92:22-93:17    V, Spec, 401, 402, 403, I



                                         4
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 361 of 555 PageID #: 57212




          Designation           Counter-Designation                Objection

         128:13-130:10          92:1-12, 92:22-93:17                Spec, V, I

           131:19-22            92:1-12, 92:22-93:17        Spec, V, 401, 402, 403, I

          132:4-134:18          92:1-12, 92:22-93:17        V, Spec, 401, 402, 403, I

         134:21-135:13          92:1-12, 92:22-93:17       V, Spec, 401, 402, 403, M, I

          135:17-137:7          92:1-12, 92:22-93:17            V, Spec, M, NT, I

          137:12-139:1          92:1-12, 92:22-93:17             NR, V, Spec, I

         141:14-143:15          92:1-12, 92:22-93:17                V, Spec, I

            144:6-20            92:1-12, 92:22-93:17                V, Spec, I

          145:2-146:21          92:1-12, 92:22-93:17                V, Spec, I

          148:8-149:11          92:1-12, 92:22-93:17                    I

            150:1-14            92:1-12, 92:22-93:17                    I

            163:8-14           162:13-163:7, 163:15-18              V, Spec, I

         165:15-168:10                                             401, 402, V

         168:17-170:10                                          401, 402, V, Spec

         170:14-171:19                                          401, 402, V, Spec

                              173:3-5, 173:8-12, 173:14-
            172:1-8                                           401, 402, M, AA, V, I
                                        174:2

                              173:3-5, 173:8-12, 173:14-
           172:11-19                                              M, Spec, V, I
                                        174:2

                              173:3-5, 173:8-12, 173:14-
          172:22-173:1                                            M, Spec, V, I
                                        174:2

                              173:3-5, 173:8-12, 173:14-
            174:3-8                                                 Spec, V, I
                                        174:2

         180:19-181:13                                              401, 402




                                          5
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 362 of 555 PageID #: 57213




    Description                                           Objections

    FEDERAL RULES OF EVIDENCE 401/402 (IRRELEVANT)        401, 402
    FEDERAL RULE OF EVIDENCE 403 (UNDULY                  403
    PREJUDICIAL, CONFUSING, MISLEADING,
    DELAY, AND/OR WASTE OF TIME)
    FEDERAL RULE OF EVIDENCE 602 (LACK OF PERSONAL        602
    KNOWLEDGE OR COMPETENCY)
    LACKS FOUNDATION                                      F
    CALLS FOR SPECULATION                                 Spec
    DESIGNATION INCOMPLETE / INCOMPREHENSIBLE             I
    / INCOMPLETE QUESTION / ANSWER
    VAGUE AND AMBIGUOUS                                   V
    IMPROPER / INCOMPLETE HYPOTHETICAL                    Hyp
    COMPOUND                                              C
    ASSUMES FACTS NOT IN EVIDENCE                         AF
    FEDERAL RULE OF EVIDENCE 408 (COMPROMISE OFFERS       408
    AND NEGOTIATIONS)
    FEDERAL RULE OF EVIDENCE 501 (PRIVILEGE)              P
    FEDERAL RULE OF EVIDENCE 611(C) (LEADING)             611
    IMPROPER LAY OPINION / IMPROPER                       701
    EXPERT TESTIMONY BY NON-EXPERT
    IMPROPER TESTIMONY BY EXPERT WITNESS                  702/703
    FEDERAL RULE OF EVIDENCE 802 (HEARSAY)                H
    FEDERAL RULE OF EVIDENCE 611(B) (BEYOND SCOPE OF
                                                          BSD
    DESIGNATIONS
    NOT TESTIMONY – INCLUDES ATTORNEY OBJECTIONS          NT
    AND/OR DISCUSSIONS BETWEEN ATTORNEYS
    BEYOND SCOPE OF 30(b)(6) NOTICE / QUESTIONS           S
    ARGUMENTATIVE                                         Arg
    MISCHARACTERIZATION                                   M
    CALLS FOR LEGAL CONCLUSION                            LC
    NON-RESPONSIVE                                        NR
    NARRATIVE                                             N




                                        6
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 363 of 555 PageID #: 57214




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

   SHURE INCORPORATED,                            )
                                                  )
                        and                       )   C.A. NO. 19-1343-RGA-CJB
                                                  )
   SHURE ACQUISITION HOLDINGS, INC.,              )   JURY TRIAL DEMANDED
                                                  )
                        Plaintiffs,               )
                                                  )
               v.                                 )
                                                  )
   CLEARONE, INC.,                                )
                                                  )
                        Defendant.                )

    PLAINTIFFS’ DEPOSITION DESIGNATIONS FOR DEREK GRAHAM (11/19/2020)

          Designation                 Counter-Designation             Objection

            8:19-9:1

             10:1-9

            14:3-12                                                   401, 402, I

            22:18-20                    21:7-20, 22:2-17                   I

           22:22-23:1                   21:7-20, 22:2-17                   I

             23:3-8                     21:7-20, 22:2-17                   I

            66:10-15                                                  NT, S, V

            66:17-25                                                  NT, S, V

             67:2-4                                                   NT, S, V

            86:19-21                        86:7-12                      I, V

            86:23-24                        86:7-12                      I, V

            87:8-21                    86:7-12, 87:22-25                   I

            88:1-24                        87:22-25                      I, V
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 364 of 555 PageID #: 57215




          Designation           Counter-Designation               Objection

            89:14-18                                         M, V, Spec, 401, 402

          89:22-90:17                                      V, Spec, 401, 402, S, 403

           90:19-91:3                                      V, Spec, 401, 402, S, 403

            91:9-12                                      V, Spec, 401, 402, S, 403, NT

            91:14-17                                     V, Spec, 401, 402, S, 403, NT

            91:19-22                                       V, Spec, 401, 402, S, 403

          91:24-93:12          93:13-94:5, 94:18-95:9             V, NT, I, S

                               94:18-95:9; 95:20-96:9,
            96:21-23                                        AA, Spec, AF, I, V, S
                                      96:13-20

                               94:18-95:9; 95:20-96:9,
             97:1-7                                         AA, Spec, AF, I, V, S
                                      96:13-20

                               94:18-95:9; 95:20-96:9,
           97:11-99:1                                       AA, Spec, AF, I, V, S
                                      96:13-20

          100:11-103:5                                             V, NT, S

          103:8-104:4                                              V, NT, S

            104:6-25                                     V, 701, 401, 402, 403, S, LC

            105:2-16                                     V, 701, 401, 402, 403, S, LC

           105:20-25                                     V, 701, 401, 402, 403, S, LC

            106:3-11                                     V, 701, 401, 402, 403, S, LC

            106:14                                       V, 701, 401, 402, 403, S, LC

          106:22-107:3                                   V, 701, 401, 402, 403, S, LC

            107:6-9                                      V, 701, 401, 402, 403, S, LC

           107:11-18                                     V, 701, 401, 402, 403, S, LC

         108:10-109:14                                          401, 402, S, V

         109:21-113:14                                          401, 402, S, V


                                         2
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 365 of 555 PageID #: 57216




           Designation          Counter-Designation              Objection

           113:16-117:4                                401, 402, S, V, 403, 701, LC

                                                      401, 402, S, V, 403, 701, LC,
           117:7-118:7
                                                                   NT

            118:11-19                                  401, 402, S, V, 403, 701, LC

           120:4-121:10                                      401, 402, Spec

          123:23-124:11                                           401, 402

           132:1-133:25                                    401, 402, 403, 701




    Description                                            Objections

    FEDERAL RULES OF EVIDENCE 401/402 (IRRELEVANT)         401, 402
    FEDERAL RULE OF EVIDENCE 403 (UNDULY                   403
    PREJUDICIAL, CONFUSING, MISLEADING,
    DELAY, AND/OR WASTE OF TIME)
    FEDERAL RULE OF EVIDENCE 602 (LACK OF PERSONAL         602
    KNOWLEDGE OR COMPETENCY)
    LACKS FOUNDATION                                       F
    CALLS FOR SPECULATION                                  Spec
    DESIGNATION INCOMPLETE / INCOMPREHENSIBLE              I
    / INCOMPLETE QUESTION / ANSWER
    VAGUE AND AMBIGUOUS                                    V
    IMPROPER / INCOMPLETE HYPOTHETICAL                     Hyp
    COMPOUND                                               C
    ASSUMES FACTS NOT IN EVIDENCE                          AF
    FEDERAL RULE OF EVIDENCE 408 (COMPROMISE OFFERS        408
    AND NEGOTIATIONS)
    FEDERAL RULE OF EVIDENCE 501 (PRIVILEGE)               P
    FEDERAL RULE OF EVIDENCE 611(C) (LEADING)              611
    IMPROPER LAY OPINION / IMPROPER                        701
    EXPERT TESTIMONY BY NON-EXPERT
    IMPROPER TESTIMONY BY EXPERT WITNESS                   702/703
    FEDERAL RULE OF EVIDENCE 802 (HEARSAY)                 H
    FEDERAL RULE OF EVIDENCE 611(B) (BEYOND SCOPE OF
                                                           BSD
    DESIGNATIONS



                                        3
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 366 of 555 PageID #: 57217




    Description                                           Objections

    NOT TESTIMONY – INCLUDES ATTORNEY OBJECTIONS          NT
    AND/OR DISCUSSIONS BETWEEN ATTORNEYS
    BEYOND SCOPE OF 30(b)(6) NOTICE / QUESTIONS           S
    ARGUMENTATIVE                                         Arg
    MISCHARACTERIZATION                                   M
    CALLS FOR LEGAL CONCLUSION                            LC
    NON-RESPONSIVE                                        NR
    NARRATIVE                                             N




                                        4
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 367 of 555 PageID #: 57218




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

   SHURE INCORPORATED,                           )
                                                 )
                        and                      )      C.A. NO. 19-1343-RGA-CJB
                                                 )
   SHURE ACQUISITION HOLDINGS, INC.,             )      JURY TRIAL DEMANDED
                                                 )
                        Plaintiffs,              )
                                                 )
               v.                                )
                                                 )
   CLEARONE, INC.,                               )
                                                 )
                        Defendant.               )

    PLAINTIFFS’ DEPOSITION DESIGNATIONS FOR ZEE HAKIMOGLU (10/8/2020)

          Designation                 Counter-Designation               Objection

           7:19-8:13

            8:21-9:8                        8:18-20                         I

          10:17-11:14

           11:19-12:2

          12:21-13:20

            17:20-22                                                  Spec, F, V, M

            18:1-19                                                      Spec, V

           18:22-19:9                                                  Spec, V, AF

            19:13-25

          22:25-23:15                      23:16-19                      Spec, I

            23:20-23                       23:16-19                      Spec, I

            24:3-10                       24:11-25:18                       I

           28:5-30:12                                                      C
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 368 of 555 PageID #: 57219




          Designation           Counter-Designation           Objection

            30:15-24                                         V, Spec, Hyp

            31:3-14                                            V, Spec

            32:10-14                  32:15-22                     I

          32:23-33:16                 32:15-22              V, Spec, Hyp, I

            33:20-24                                         V, Spec, Hyp

             34:2-3

           40:12-42:2                                            C, V

            42:20-25

             43:2-4            43:5, 43:7-13, 43:16-19             I

            43:20-22

           44:7-46:6

            47:1-10                   46:7-25                      I

           48:7-49:5                  49:6-20                      I

          49:21-50:13                 49:6-20                      I

          50:19-51:13

           51:21-52:8

          58:13-61:19

          63:17-64:25

           65:7-69:11           69:12-15; 70:23-71:13              I

            69:16-21            69:12-15; 70:23-71:13              I

            70:18-22            69:12-15; 70:23-71:13              I

            71:14-18            69:12-15; 70:23-71:13              I

                               69:12-15; 70:23-71:13;
          71:24-72:19                                              I
                                     72:20-73:3


                                         2
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 369 of 555 PageID #: 57220




          Designation           Counter-Designation           Objection

            73:4-11             69:12-15; 70:23-71:13             I

                               69:12-15; 70:23-71:13;
            78:13-21                                              I
                                     78:22-80:1

            81:16-17                                              V

           81:19-82:5

            82:15-22                 82:23-83:3                   I

             83:4-5                  82:23-83:3                Spec, I

           83:11-84:9                82:23-83:3                   I

           84:12-86:8                                            AF

          86:13-91:18                                            LC

           92:8-95:13                                            LC

          95:19-97:18                                           V, LC

          97:21-101:1                                            LC

            102:4-16                                             Hyp

           102:19-23                                         Hyp, Spec, V

            103:1-7                                          Hyp, Spec, V

           103:10-12                                         Hyp, Spec, V

           103:15-17

            104:5-7

           104:13-19                104:20-105:2                  I

          105:8-106:6                                           LC, V

           108:19-22

            109:9-15                108:23-109:8                 V, I

           109:18-22


                                         3
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 370 of 555 PageID #: 57221




          Designation           Counter-Designation           Objection

            110:6-20                  110:1-5                    V, I

         113:19-114:13

          115:1-116:1

            118:1-18               118:19-119:23             Spec, Hyp, I

         131:22-132:15                                       Hyp, Spec, V

         132:23-133:20                                            V

            134:1-6

            135:4-24                                              V

           139:11-14                                         V, Spec, Hyp

          139:18-140:2                                     V, Spec, Hyp, 403

            140:5-11

           140:19-20                                       V, Spec, Hyp, 403

         140:24-141:13                                     V, Spec, Hyp, 403

          142:13-143:9                                     V, Spec, Hyp, 403

           143:17-24

            144:7-11

          145:1-147:3

           147:13-16

            148:6-16               148:17-150:3                    I

            150:4-8                148:17-150:3                    I

         150:22-152:13                                           Spec

         152:17-153:13

          153:18-155:2



                                        4
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 371 of 555 PageID #: 57222




          Designation           Counter-Designation           Objection

         155:11-156:25                                          Spec

            157:7-22                                            Spec

            159:9-25

            162:1-9

         162:21-163:14                                       AF, F, Spec

           163:22-25                                           V, 403

          164:3-166:6                                             V

           166:12-24                                            V, M

            167:3-14                                             M

           167:17-19

            168:5-15

         169:16-170:15

         174:17-176:10

          177:25-178:8               178:9-19                     I

           180:17-23                 178:9-19                     I

            181:5-10                                         V, Spec, LC

           181:14-15

            182:3-6                                        V, Spec, LC, 403

            182:9-20                                            M, V

           192:15-17

          192:23-193:6

          199:11-200:6

          211:24-212:8               211:13-23                    I



                                        5
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 372 of 555 PageID #: 57223




          Designation           Counter-Designation            Objection

          212:15-214:3

          214:14-215:9               214:8-13                    Spec, I

           217:13-22

            219:9-23

         220:15-222:11                                          AF, F, V

           222:16-21

            223:2-11                                               M

          223:15-224:1

          225:12-227:5               227:6-15                       I

          227:20-229:1

            229:4-15

           230:15-25

            231:3-21                                          Spec, Hyp, V

            232:1-5                                                M

          232:9-233:20                                      Spec, Hyp, V, M

          233:23-235:8

           235:14-22

            236:5-19

                              237:23-238:7; 238:12-25;
            237:5-22                                                I
                                     239:5-22

                              237:23-238:7; 238:12-25;
          239:23-240:1                                              I
                                     239:5-22

            240:9-19                                            LC, Hyp

                              237:23-238:7; 238:12-25;
          240:21-243:8                                   LC, Hyp; NT; Spec; M; I
                                     239:5-22


                                         6
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 373 of 555 PageID #: 57224




           Designation          Counter-Designation             Objection

           258:20-259:6

          259:21-260:22

             267:2-7                 267:8-11                        I

    Description                                           Objections

    FEDERAL RULES OF EVIDENCE 401/402 (IRRELEVANT)        401, 402
    FEDERAL RULE OF EVIDENCE 403 (UNDULY                  403
    PREJUDICIAL, CONFUSING, MISLEADING,
    DELAY, AND/OR WASTE OF TIME)
    FEDERAL RULE OF EVIDENCE 602 (LACK OF PERSONAL        602
    KNOWLEDGE OR COMPETENCY)
    LACKS FOUNDATION                                      F
    CALLS FOR SPECULATION                                 Spec
    DESIGNATION INCOMPLETE / INCOMPREHENSIBLE             I
    / INCOMPLETE QUESTION / ANSWER
    VAGUE AND AMBIGUOUS                                   V
    IMPROPER / INCOMPLETE HYPOTHETICAL                    Hyp
    COMPOUND                                              C
    ASSUMES FACTS NOT IN EVIDENCE                         AF
    FEDERAL RULE OF EVIDENCE 408 (COMPROMISE OFFERS       408
    AND NEGOTIATIONS)
    FEDERAL RULE OF EVIDENCE 501 (PRIVILEGE)              P
    FEDERAL RULE OF EVIDENCE 611(C) (LEADING)             611
    IMPROPER LAY OPINION / IMPROPER                       701
    EXPERT TESTIMONY BY NON-EXPERT
    IMPROPER TESTIMONY BY EXPERT WITNESS                  702/703
    FEDERAL RULE OF EVIDENCE 802 (HEARSAY)                H
    FEDERAL RULE OF EVIDENCE 611(B) (BEYOND SCOPE OF
                                                          BSD
    DESIGNATIONS
    NOT TESTIMONY – INCLUDES ATTORNEY OBJECTIONS          NT
    AND/OR DISCUSSIONS BETWEEN ATTORNEYS
    BEYOND SCOPE OF 30(b)(6) NOTICE / QUESTIONS           S
    ARGUMENTATIVE                                         Arg
    MISCHARACTERIZATION                                   M
    CALLS FOR LEGAL CONCLUSION                            LC
    NON-RESPONSIVE                                        NR
    NARRATIVE                                             N



                                        7
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 374 of 555 PageID #: 57225




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

   SHURE INCORPORATED,                           )
                                                 )
                        and                      )   C.A. NO. 19-1343-RGA-CJB
                                                 )
   SHURE ACQUISITION HOLDINGS, INC.,             )   JURY TRIAL DEMANDED
                                                 )
                        Plaintiffs,              )
                                                 )
               v.                                )
                                                 )
   CLEARONE, INC.,                               )
                                                 )
                        Defendant.               )

    PLAINTIFFS’ DEPOSITION DESIGNATIONS FOR ZEE HAKIMOGLU (11/19/2020)

          Designation                 Counter-Designation            Objection

             7:1-4

            7:20-8:2

            8:18-22                                                     V

            8:25-9:3                                                    V

             9:6-14                                                     V

           9:17-10:15

            11:10-15

            11:19-21

          12:17-13:15

          13:21-14:10

            14:14-20                                                    V

            14:23-25

            15:11-21
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 375 of 555 PageID #: 57226




          Designation           Counter-Designation           Objection

           16:10-18:8                                             S

           20:24-22:7

            22:16-18                                              V

           22:21-23:3                                             V

            23:6-15                                               V

           23:18-24:2                 24:3-20                      I

           25:22-26:6                 26:7-17                      I

            27:10-18

           30:2-32:1                                             Spec

            32:6-13

            33:5-25                                             AF, F

            34:3-14                                         Spec, V, 403, I

            34:17-20

           34:25-35:6

             36:2-4

           42:6-43:7

            43:12-22

           46:4-47:11                                            C, V

           47:24-48:8

            51:14-16

             52:23

             53:2-4

           53:25-54:8



                                        2
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 376 of 555 PageID #: 57227




          Designation           Counter-Designation           Objection

           54:18-55:5

            56:10-12

           56:15-59:3

           59:23-60:3

            61:10-15                                           F, Spec

           61:18-62:2                                          F, Spec

             62:5-9                                            F, Spec

            62:12-21

           62:23-64:7                                          F, Spec

           64:10-65:9                                          F, Spec

            65:13-14

           65:25-66:2                                          F, Spec

            66:6-16                                            F, Spec

           66:20-67:9

            67:19-25

           68:22-69:9                                            V

            69:12-19                                             V

           69:22-70:1                                           403

           70:4-71:6                                           V, 403

            71:9-18

            72:1-25

            73:5-15                                              V

          73:23-74:14                                           S, LC



                                        3
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 377 of 555 PageID #: 57228




          Designation           Counter-Designation           Objection

            74:20-23                                            S, LC

             75:1-9                                             S, LC

          75:12-76:14                                             V

          76:17-77:23                                           V, M

             78:2-5

            78:8-18                   78:6-7                       I

           79:23-80:4                                            S, V

            80:7-22                                           Spec, S, V

           80:25-81:7                                        M, V, S, Arg

            81:12-15

             82:5-7                                           V, S, Arg

            82:12-24

             83:3-6

          83:10-84:18                84:19-24                   LC, I

          84:25-86:15                84:19-24                 V, LC, S, I

          86:18-88:21                                             V

            89:1-13                                               V

          89:19-90:11                                         V, Arg, M

           90:19-91:1                                         V, Arg, M

            91:7-13

           91:23-92:1

          92:10-93:25                                             S

          94:15-95:15                                          Spec, F



                                        4
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 378 of 555 PageID #: 57229




           Designation          Counter-Designation             Objection

             95:18-24

            96:1-97:5

             97:9-18

             98:1-21                                              M, F

             99:4-17

             100:5-7

          100:17-101:12

           101:16-103:4

              103:6

            103:15-24                                            403, S

             104:2-13

           104:21-106:7


    Description                                           Objections

    FEDERAL RULES OF EVIDENCE 401/402 (IRRELEVANT)        401, 402
    FEDERAL RULE OF EVIDENCE 403 (UNDULY                  403
    PREJUDICIAL, CONFUSING, MISLEADING,
    DELAY, AND/OR WASTE OF TIME)
    FEDERAL RULE OF EVIDENCE 602 (LACK OF PERSONAL        602
    KNOWLEDGE OR COMPETENCY)
    LACKS FOUNDATION                                      F
    CALLS FOR SPECULATION                                 Spec
    DESIGNATION INCOMPLETE / INCOMPREHENSIBLE             I
    / INCOMPLETE QUESTION / ANSWER
    VAGUE AND AMBIGUOUS                                   V
    IMPROPER / INCOMPLETE HYPOTHETICAL                    Hyp
    COMPOUND                                              C
    ASSUMES FACTS NOT IN EVIDENCE                         AF
    FEDERAL RULE OF EVIDENCE 408 (COMPROMISE OFFERS       408
    AND NEGOTIATIONS)



                                        5
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 379 of 555 PageID #: 57230




    Description                                           Objections

    FEDERAL RULE OF EVIDENCE 501 (PRIVILEGE)              P
    FEDERAL RULE OF EVIDENCE 611(C) (LEADING)             611
    IMPROPER LAY OPINION / IMPROPER                       701
    EXPERT TESTIMONY BY NON-EXPERT
    IMPROPER TESTIMONY BY EXPERT WITNESS                  702/703
    FEDERAL RULE OF EVIDENCE 802 (HEARSAY)                H
    FEDERAL RULE OF EVIDENCE 611(B) (BEYOND SCOPE OF
                                                          BSD
    DESIGNATIONS
    NOT TESTIMONY – INCLUDES ATTORNEY OBJECTIONS          NT
    AND/OR DISCUSSIONS BETWEEN ATTORNEYS
    BEYOND SCOPE OF 30(b)(6) NOTICE / QUESTIONS           S
    ARGUMENTATIVE                                         Arg
    MISCHARACTERIZATION                                   M
    CALLS FOR LEGAL CONCLUSION                            LC
    NON-RESPONSIVE                                        NR
    NARRATIVE                                             N




                                        6
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 380 of 555 PageID #: 57231




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

   SHURE INCORPORATED,                           )
                                                 )
                        and                      )     C.A. NO. 19-1343-RGA-CJB
                                                 )
   SHURE ACQUISITION HOLDINGS, INC.,             )     JURY TRIAL DEMANDED
                                                 )
                        Plaintiffs,              )
                                                 )
               v.                                )
                                                 )
   CLEARONE, INC.,                               )
                                                 )
                        Defendant.               )

    PLAINTIFFS’ DEPOSITION DESIGNATIONS FOR ZEE HAKIMOGLU (12/17/2020)

          Designation                 Counter-Designation              Objection

            8:1-9:18

           9:24-10:1                                                      M

            10:4-10

             11:5-6                                                       V

             11:8-9

            11:12-16

           14:14-15:4

            15:12-16

          15:19-16:22                     16:23-18:2                    C, M, I

             21:1-6

           21:15-22:8

            34:5-24                                                      AF, F
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 381 of 555 PageID #: 57232




    Description                                           Objections

    FEDERAL RULES OF EVIDENCE 401/402 (IRRELEVANT)        401, 402
    FEDERAL RULE OF EVIDENCE 403 (UNDULY                  403
    PREJUDICIAL, CONFUSING, MISLEADING,
    DELAY, AND/OR WASTE OF TIME)
    FEDERAL RULE OF EVIDENCE 602 (LACK OF PERSONAL        602
    KNOWLEDGE OR COMPETENCY)
    LACKS FOUNDATION                                      F
    CALLS FOR SPECULATION                                 Spec
    DESIGNATION INCOMPLETE / INCOMPREHENSIBLE             I
    / INCOMPLETE QUESTION / ANSWER
    VAGUE AND AMBIGUOUS                                   V
    IMPROPER / INCOMPLETE HYPOTHETICAL                    Hyp
    COMPOUND                                              C
    ASSUMES FACTS NOT IN EVIDENCE                         AF
    FEDERAL RULE OF EVIDENCE 408 (COMPROMISE OFFERS       408
    AND NEGOTIATIONS)
    FEDERAL RULE OF EVIDENCE 501 (PRIVILEGE)              P
    FEDERAL RULE OF EVIDENCE 611(C) (LEADING)             611
    IMPROPER LAY OPINION / IMPROPER                       701
    EXPERT TESTIMONY BY NON-EXPERT
    IMPROPER TESTIMONY BY EXPERT WITNESS                  702/703
    FEDERAL RULE OF EVIDENCE 802 (HEARSAY)                H
    FEDERAL RULE OF EVIDENCE 611(B) (BEYOND SCOPE OF
                                                          BSD
    DESIGNATIONS
    NOT TESTIMONY – INCLUDES ATTORNEY OBJECTIONS          NT
    AND/OR DISCUSSIONS BETWEEN ATTORNEYS
    BEYOND SCOPE OF 30(b)(6) NOTICE / QUESTIONS           S
    ARGUMENTATIVE                                         Arg
    MISCHARACTERIZATION                                   M
    CALLS FOR LEGAL CONCLUSION                            LC
    NON-RESPONSIVE                                        NR
    NARRATIVE                                             N




                                        2
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 382 of 555 PageID #: 57233




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

   SHURE INCORPORATED,                                 )
                                                       )
                         and                           )    C.A. NO. 19-1343-RGA-CJB
                                                       )
   SHURE ACQUISITION HOLDINGS, INC.,                   )    JURY TRIAL DEMANDED
                                                       )
                         Plaintiffs,                   )
                                                       )
               v.                                      )
                                                       )
   CLEARONE, INC.,                                     )
                                                       )
                         Defendant.                    )

   PLAINTIFFS’ DEPOSITION DESIGNATIONS FOR MICHAEL P. HUDSON (5/28/2020)

          Designation                     Counter-Designation               Objection

             5:9-14

           44:16-45:1                            58:1-21                  401, 402, V, I

             45:3-4                              58:1-21                  401, 402, V, I

           45:6-47:12                            58:1-21                  401, 402, V, I

            47:14-19                             58:1-21                  401, 402, V, I

                                       51:23-25, 55:8-16, 56:9-21,
          50:16-51:22                                                     401, 402, V, I
                                                 58:1-21

                                       51:23-25, 55:8-16, 56:9-21,
           52:1-53:10                                                     401, 402, V, I
                                                 58:1-21

                                       54:25-55:2, 55:8-16, 56:9-21,
            54:8-24                                                            V, I
                                                 58:1-21

            60:15-18                                                           F, V

          207:3-208:10                        208:11-209:21              F, V, 401, 402, I

         209:22-210:20                        208:11-209:21              F, V, 401, 402, I

          212:19-213:4                        211:10-212:18                   F, V, I
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 383 of 555 PageID #: 57234




           Designation          Counter-Designation             Objection




    Description                                           Objections

    FEDERAL RULES OF EVIDENCE 401/402 (IRRELEVANT)        401, 402
    FEDERAL RULE OF EVIDENCE 403 (UNDULY                  403
    PREJUDICIAL, CONFUSING, MISLEADING,
    DELAY, AND/OR WASTE OF TIME)
    FEDERAL RULE OF EVIDENCE 602 (LACK OF PERSONAL        602
    KNOWLEDGE OR COMPETENCY)
    LACKS FOUNDATION                                      F
    CALLS FOR SPECULATION                                 Spec
    DESIGNATION INCOMPLETE / INCOMPREHENSIBLE             I
    / INCOMPLETE QUESTION / ANSWER
    VAGUE AND AMBIGUOUS                                   V
    IMPROPER / INCOMPLETE HYPOTHETICAL                    Hyp
    COMPOUND                                              C
    ASSUMES FACTS NOT IN EVIDENCE                         AF
    FEDERAL RULE OF EVIDENCE 408 (COMPROMISE OFFERS       408
    AND NEGOTIATIONS)
    FEDERAL RULE OF EVIDENCE 501 (PRIVILEGE)              P
    FEDERAL RULE OF EVIDENCE 611(C) (LEADING)             611
    IMPROPER LAY OPINION / IMPROPER                       701
    EXPERT TESTIMONY BY NON-EXPERT
    IMPROPER TESTIMONY BY EXPERT WITNESS                  702/703
    FEDERAL RULE OF EVIDENCE 802 (HEARSAY)                H
    FEDERAL RULE OF EVIDENCE 611(B) (BEYOND SCOPE OF
                                                          BSD
    DESIGNATIONS
    NOT TESTIMONY – INCLUDES ATTORNEY OBJECTIONS          NT
    AND/OR DISCUSSIONS BETWEEN ATTORNEYS
    BEYOND SCOPE OF 30(b)(6) NOTICE / QUESTIONS           S
    ARGUMENTATIVE                                         Arg
    MISCHARACTERIZATION                                   M
    CALLS FOR LEGAL CONCLUSION                            LC
    NON-RESPONSIVE                                        NR
    NARRATIVE                                             N




                                        2
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 384 of 555 PageID #: 57235




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

   SHURE INCORPORATED,                               )
                                                     )
                        and                          )   C.A. NO. 19-1343-RGA-CJB
                                                     )
   SHURE ACQUISITION HOLDINGS, INC.,                 )   JURY TRIAL DEMANDED
                                                     )
                        Plaintiffs,                  )
                                                     )
               v.                                    )
                                                     )
   CLEARONE, INC.,                                   )
                                                     )
                        Defendant.                   )

   PLAINTIFFS’ DEPOSITION DESIGNATIONS FOR RICHARD A. KESSLER (6/5/2020)

          Designation                   Counter-Designation              Objection

             6:9-12

            8:17-9:6

          10:18-12:16

           54:6-58:5                     59:3-13; 59:17-60:5                  I

           63:3-64:11                                                         V

            66:1-11                            65:9-22                  M, V, Spec, I

            67:2-10                      67:11-15; 67:17-20              F, AF, M, I

                                      67:11-15; 67:17-20; 72:15-
          67:22-72:14                                                 Spec, Hyp, F, V, I
                                            73:1; 73:3-4)
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 385 of 555 PageID #: 57236




    Description                                           Objections

    FEDERAL RULES OF EVIDENCE 401/402 (IRRELEVANT)        401, 402
    FEDERAL RULE OF EVIDENCE 403 (UNDULY                  403
    PREJUDICIAL, CONFUSING, MISLEADING,
    DELAY, AND/OR WASTE OF TIME)
    FEDERAL RULE OF EVIDENCE 602 (LACK OF PERSONAL        602
    KNOWLEDGE OR COMPETENCY)
    LACKS FOUNDATION                                      F
    CALLS FOR SPECULATION                                 Spec
    DESIGNATION INCOMPLETE / INCOMPREHENSIBLE             I
    / INCOMPLETE QUESTION / ANSWER
    VAGUE AND AMBIGUOUS                                   V
    IMPROPER / INCOMPLETE HYPOTHETICAL                    Hyp
    COMPOUND                                              C
    ASSUMES FACTS NOT IN EVIDENCE                         AF
    FEDERAL RULE OF EVIDENCE 408 (COMPROMISE OFFERS       408
    AND NEGOTIATIONS)
    FEDERAL RULE OF EVIDENCE 501 (PRIVILEGE)              P
    FEDERAL RULE OF EVIDENCE 611(C) (LEADING)             611
    IMPROPER LAY OPINION / IMPROPER                       701
    EXPERT TESTIMONY BY NON-EXPERT
    IMPROPER TESTIMONY BY EXPERT WITNESS                  702/703
    FEDERAL RULE OF EVIDENCE 802 (HEARSAY)                H
    FEDERAL RULE OF EVIDENCE 611(B) (BEYOND SCOPE OF
                                                          BSD
    DESIGNATIONS
    NOT TESTIMONY – INCLUDES ATTORNEY OBJECTIONS          NT
    AND/OR DISCUSSIONS BETWEEN ATTORNEYS
    BEYOND SCOPE OF 30(b)(6) NOTICE / QUESTIONS           S
    ARGUMENTATIVE                                         Arg
    MISCHARACTERIZATION                                   M
    CALLS FOR LEGAL CONCLUSION                            LC
    NON-RESPONSIVE                                        NR
    NARRATIVE                                             N




                                        2
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 386 of 555 PageID #: 57237




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

   SHURE INCORPORATED,                               )
                                                     )
                        and                          )    C.A. NO. 19-1343-RGA-CJB
                                                     )
   SHURE ACQUISITION HOLDINGS, INC.,                 )    JURY TRIAL DEMANDED
                                                     )
                        Plaintiffs,                  )
                                                     )
               v.                                    )
                                                     )
   CLEARONE, INC.,                                   )
                                                     )
                        Defendant.                   )

    PLAINTIFFS’ DEPOSITION DESIGNATIONS FOR GREGORY LANTZ (6/23/2020)

          Designation                   Counter-Designation               Objection

           6:23-7:10                                                          H

           12:20-13:2                                                         H

           14:4-16:1                                                          H

           66:1-68:22                 65:20-25, 68:23-25, 69:7-20      H, NT, I, 701, F
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 387 of 555 PageID #: 57238




    Description                                           Objections

    FEDERAL RULES OF EVIDENCE 401/402 (IRRELEVANT)        401, 402
    FEDERAL RULE OF EVIDENCE 403 (UNDULY                  403
    PREJUDICIAL, CONFUSING, MISLEADING,
    DELAY, AND/OR WASTE OF TIME)
    FEDERAL RULE OF EVIDENCE 602 (LACK OF PERSONAL        602
    KNOWLEDGE OR COMPETENCY)
    LACKS FOUNDATION                                      F
    CALLS FOR SPECULATION                                 Spec
    DESIGNATION INCOMPLETE / INCOMPREHENSIBLE             I
    / INCOMPLETE QUESTION / ANSWER
    VAGUE AND AMBIGUOUS                                   V
    IMPROPER / INCOMPLETE HYPOTHETICAL                    Hyp
    COMPOUND                                              C
    ASSUMES FACTS NOT IN EVIDENCE                         AF
    FEDERAL RULE OF EVIDENCE 408 (COMPROMISE OFFERS       408
    AND NEGOTIATIONS)
    FEDERAL RULE OF EVIDENCE 501 (PRIVILEGE)              P
    FEDERAL RULE OF EVIDENCE 611(C) (LEADING)             611
    IMPROPER LAY OPINION / IMPROPER                       701
    EXPERT TESTIMONY BY NON-EXPERT
    IMPROPER TESTIMONY BY EXPERT WITNESS                  702/703
    FEDERAL RULE OF EVIDENCE 802 (HEARSAY)                H
    FEDERAL RULE OF EVIDENCE 611(B) (BEYOND SCOPE OF
                                                          BSD
    DESIGNATIONS
    NOT TESTIMONY – INCLUDES ATTORNEY OBJECTIONS          NT
    AND/OR DISCUSSIONS BETWEEN ATTORNEYS
    BEYOND SCOPE OF 30(b)(6) NOTICE / QUESTIONS           S
    ARGUMENTATIVE                                         Arg
    MISCHARACTERIZATION                                   M
    CALLS FOR LEGAL CONCLUSION                            LC
    NON-RESPONSIVE                                        NR
    NARRATIVE                                             N




                                        2
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 388 of 555 PageID #: 57239




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

   SHURE INCORPORATED,                           )
                                                 )
                        and                      )   C.A. NO. 19-1343-RGA-CJB
                                                 )
   SHURE ACQUISITION HOLDINGS, INC.,             )   JURY TRIAL DEMANDED
                                                 )
                        Plaintiffs,              )
                                                 )
               v.                                )
                                                 )
   CLEARONE, INC.,                               )
                                                 )
                        Defendant.               )

     PLAINTIFFS’ DEPOSITION DESIGNATIONS FOR ASHANTI LONG (7/16/2020)

          Designation                 Counter-Designation            Objection

             9:7-12

             10:7-8                                                   F; 401

          10:16-11:15                                                 V; 401

             11:20                                                    V; 401

             12:1-7

           12:23-13:2

            13:10-13

          14:22-15:14

          16:23-17:15

          17:24-18:13

            19:5-10                                                  Spec; 603

           19:15-20:5

            20:8-23
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 389 of 555 PageID #: 57240




          Designation           Counter-Designation           Objection

            21:12-14                                             F

            22:19-24                                             V

            26:1-14                                            NR; F

           27:21-28:4

          29:11-30:22               32:16-33:3                 V; H; I

           31:10-32:5                                          H; NR

             33:4-5                 32:16-33:3                    I

             33:8-9                 32:16-33:3                    I

            33:11-12                32:16-33:3                    I

            33:17-21                32:16-33:3                    I

            34:9-20                 32:16-33:3                  V; I

            34:23-24                32:16-33:3                  V; I

           36:21-37:1                                         F; AF; NT

            37:8-14                                           F; AF; NT

           37:25-38:4                                           F; V

             40:1-3                                             F; V

            40:5-13                                             F; V

            40:15-20                                            F; AF

            41:7-23                                              F

            42:7-11                                            C; NR

            42:20-22

            43:11-12                                           V; 401

            43:14-20                                           V; 401



                                        2
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 390 of 555 PageID #: 57241




          Designation           Counter-Designation           Objection

            43:23-24                                           V; 401

             44:2-3                                            V; 401

            44:6-13                                            V; 401

            44:16-22                                           V; 401

           44:25-45:6                                            401

            45:8-13                                         401; Spec; 602

            45:15-17                                          Spec; 602

            45:19-20                                             NR

          45:22-46:10

            46:21-23

             47:5-7

            47:9-11                                              LC

            47:15-16                                             LC

             47:18

            47:20-22                 47:23-48:3                   I

            48:7-16                  47:23-48:3                   I

            48:18-25                 47:23-48:3                   I

             49:2-8           47:23-48:3; 49:9; 49:12-16          I

           49:18-50:5                47:23-48:3                   I

           50:9-52:23              68:8-10; 68:13            Spec; 602; I

            53:1-11                68:8-10; 68:13            Spec; 602; I

            53:13-22               68:8-10; 68:13            Spec; 602; I

           53:25-54:6              68:8-10; 68:13            Spec; 602; I



                                          3
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 391 of 555 PageID #: 57242




          Designation           Counter-Designation           Objection

            54:8-12                68:8-10; 68:13                  I

           54:15-55:1              68:8-10; 68:13                  I

           55:5-56:2               68:8-10; 68:13                  I

             56:4-8                68:8-10; 68:13                  I

           56:10-57:3              68:8-10; 68:13                  I

            57:5-15                68:8-10; 68:13                 P; I

           57:22-58:4              68:8-10; 68:13              P; NT; I

            59:3-18                68:8-10; 68:13                  I

            59:20-25               68:8-10; 68:13                  I

           61:3-62:23              68:8-10; 68:13                  I

           63:1-64:25              68:8-10; 68:13             603; NT; I

           65:5-66:10              68:8-10; 68:13              NR; V; I

             66:12                 68:8-10; 68:13                V; I

            66:14-15               68:8-10; 68:13             V; Spec; I

           66:17-67:6              68:8-10; 68:13                V; I

            67:9-12                68:8-10; 68:13           Spec; 602; F; I

             67:15                 68:8-10; 68:13           Spec; 602; F; I

            67:17-20               68:8-10; 68:13          C; Spec; 602; F; I

           67:23-68:2              68:8-10; 68:13          C; Spec; 602; F; I

             68:4-7                68:8-10; 68:13           C; Spec; 602; I

            68:15-21

             68:24

             69:2-5



                                         4
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 392 of 555 PageID #: 57243




          Designation           Counter-Designation             Objection

             70:5-7

              70:9

            70:11-12                                          Spec; 602; V; F

            70:15-20                                          Spec; 602; V; F

            70:23-25                                          Spec; 602; V; F

             71:2-4                                         Spec; 602; V; F; 701

             71:6-9                                         Spec; 602; V; F; 701

            71:20-21                   72:6-10                       I

           71:25-72:5                  72:6-10                       I

          72:22-73:25                  72:6-10                       I

             74:3-7                    72:6-10                       I

            74:9-12               72:6-10; 74:13-20                  I

            74:21-25              72:6-10; 74:13-20                  I

                              72:6-10; 74:13-20; 75:22-
            75:3-21          76:7; 78:15-17; 78:19-79:12;            I
                                      79:17-80:1

                              72:6-10; 74:13-20; 75:22-
            76:13-19         76:7; 78:15-17; 78:19-79:12;           V; I
                                      79:17-80:1

                              72:6-10; 74:13-20; 75:22-
           76:22-77:6        76:7; 78:15-17; 78:19-79:12;           V; I
                                      79:17-80:1

                              72:6-10; 74:13-20; 75:22-
            77:8-11          76:7; 78:15-17; 78:19-79:12;        AF; V; I
                                      79:17-80:1

                              72:6-10; 74:13-20; 75:22-
            77:14-17         76:7; 78:15-17; 78:19-79:12;        AF; V; I
                                      79:17-80:1



                                          5
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 393 of 555 PageID #: 57244




          Designation           Counter-Designation            Objection

                              72:6-10; 74:13-20; 75:22-
            77:19-20         76:7; 78:15-17; 78:19-79:12;           I
                                      79:17-80:1

                              72:6-10; 74:13-20; 75:22-
             77:23           76:7; 78:15-17; 78:19-79:12;           I
                                      79:17-80:1

                              72:6-10; 74:13-20; 75:22-
           77:25-78:9        76:7; 78:15-17; 78:19-79:12;           I
                                      79:17-80:1

                              72:6-10; 74:13-20; 75:22-
           80:13-81:4        76:7; 78:15-17; 78:19-79:12;           I
                                      79:17-80:1

                              72:6-10; 74:13-20; 75:22-
            81:16-22         76:7; 78:15-17; 78:19-79:12;           I
                                      79:17-80:1

             83:3-6                                                 F

          83:10-84:18                                           F; NT; H

            84:20-21                                              F; H

            85:5-23                                         F; 602; Spec; V; H

             86:1-3                                         F; 602; Spec; V; H

             86:5-8                                         F; 602; Spec; V; H

            86:15-19                                        F; 602; Spec; V; H

            86:21-22                                        F; P; LC; 701; 602

             87:3-4                                         F; P; LC; 701; 602

              87:6                                          F; P; LC; 701; 602

              87:8                                          F; P; LC; 701; 602

            87:10-12                                        F; V; Spec; 602; H

           87:15-88:1                                       F; V; Spec; 602; H



                                          6
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 394 of 555 PageID #: 57245




          Designation           Counter-Designation            Objection

             88:3-5                                         F; Spec; 602; H

             88:8-9                                         F; Spec; 602; H

            88:11-12                                        F; Spec; 602; V

             88:14                                          F; Spec; 602; V

            88:16-17                                     F; Spec; 602; V; AF; H

            88:20-25                                    F; Spec; 602; NR; AF; H

             89:2-3                                                F

              89:5                                                 F

            89:15-16                                               F

            89:18-19                                               F

          89:23-90:11                                     F; I; V; Spec; 602; H

            90:14-15                                       F; V; Spec; 602; H

           90:17-91:5                                       F; V; Spec; 602

            91:21-22                                       F; V; Spec; 602; H

             91:25                                         F; V; Spec; 602; H

             92:2-3                                         F; H; Spec; 602

              92:5                                          F; H; Spec; 602

             92:7-9                                         F; V; Spec; 602

             92:11                                        F; V; Spec; 602; NR

           92:14-93:6                                   F; V; Spec; 602; Arg; NR

            93:9-20                                       F; V; Spec; 602; NR

            93:22-25                                               F

             94:3-4                                                F



                                        7
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 395 of 555 PageID #: 57246




          Designation           Counter-Designation           Objection

            94:8-11                                           I; V; Spec

          94:14-95:10                                        NR; V; Spec

                              72:6-10; 74:13-20; 75:22-
          95:18-96:12        76:7; 78:15-17; 78:19-79:12;       M; I
                                      79:17-80:1

                              72:6-10; 74:13-20; 75:22-
            96:15-16         76:7; 78:15-17; 78:19-79:12;         I
                                      79:17-80:1

                              72:6-10; 74:13-20; 75:22-
            96:18-20         76:7; 78:15-17; 78:19-79:12;         I
                                      79:17-80:1

                              72:6-10; 74:13-20; 75:22-
          96:22-97:14        76:7; 78:15-17; 78:19-79:12;         I
                                      79:17-80:1

           98:8-100:6                                       602; Spec; Arg

           100:10-21                                        602; Spec; Arg

           100:23-24                                        602; Spec; Arg

            101:1-3

             101:6

            101:8-23

          105:3-106:15                107:15-25                   I

           106:18-22                  107:15-25                   I

          106:24-107:1                107:15-25              602; Spec; I

            107:4-14                  107:15-25              602; Spec; I

         108:14-109:12                                            V

           109:17-18

         109:20-111:18                                        602; Spec



                                          8
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 396 of 555 PageID #: 57247




          Designation           Counter-Designation           Objection

          112:5-113:18                                       602; Spec; V

            113:20                                           602; Spec; V

         113:22-114:11                                       602; Spec; V

           114:15-21                                       602: Spec; V; NT

            114:24                                                V

           115:11-22                                         F; 602; Spec

            115:25                                           F; 602; Spec

            116:2-3                                          F; 602; Spec

             116:6                                           F; 602; Spec

            116:8-9                                          F; 602; Spec

            116:11                                           F; 602; Spec

           116:13-14                                        F; 602; Spec; I

          125:10-126:1                                         F; C; V

            126:9-10                                          F; V; 401

           126:12-13                                          F; V; 401

           126:15-25                                         F; 602; Spec

            127:2-5                                          F; 602; Spec

            127:7-13                                              F

           127:15-17                                              F

           128:11-16                                             F; I

          128:22-129:3                                           F; H

            129:7-19                                             F; H

         129:21-130:10                                           F; H



                                        9
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 397 of 555 PageID #: 57248




          Designation           Counter-Designation           Objection

           130:14-15                                             F; H

           130:17-24                                        F; H; 602; Spec

            131:2-3                                          F; 602; Spec

          131:13-132:3                                           F; H

            132:7-25                                        F; 602; Spec; H

           133:19-21                                         V; Spec; 602

          133:24-134:7                                       V; Spec; 602

           134:16-18                                         V; Spec; 602

          134:21-135:4                                       V; Spec; 602

            135:9-13                                             F; H

           135:17-22           136:9-11; 136:14-137:6           F; H; I

            137:7-9                                         F; H; 602; Spec

           137:11-13                                        F; H; 602; Spec

           138:11-14                                             F; V

            138:16                                               F; V

          141:23-142:1

         143:22-144:15                                            H

         145:19-146:16

           146:19-20

         146:23-147:13                                            V

           147:16-17                                              V

          147:24-148:3                                           I; V

            148:5-6                                           Spec; 602



                                        10
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 398 of 555 PageID #: 57249




          Designation           Counter-Designation            Objection

            148:8-15                                           Spec; 602

           148:17-19                                           Spec; 602

            152:5-12

         152:20-154:15

           155:11-18

          155:22-156:9

         156:18-157:14

           157:22-25

            158:2-6                                                V

            158:9-12                                               V

         158:14-159:13                                         V; Arg; M

           159:16-17                                           V; Arg; M

           159:19-20                                              V; I

          159:23-160:5                                            V; I

         160:17-161:22                                    H; Spec; 602; V; 401

          161:24-162:2                                     Spec; 602; V; 401

            162:4-9                                        Spec; 602; V; 401

         162:11-164:19                                     Spec; 602; V; 401

          164:25-165:7                                         I; V; Arg

            165:9-12                                            V; Arg

           165:14-24                                       V; Arg; 602; Spec

            166:1-13                                       V; Arg; 602; Spec

          167:3-168:1



                                        11
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 399 of 555 PageID #: 57250




    Description                                           Objections

    FEDERAL RULES OF EVIDENCE 401/402 (IRRELEVANT)        401, 402
    FEDERAL RULE OF EVIDENCE 403 (UNDULY                  403
    PREJUDICIAL, CONFUSING, MISLEADING,
    DELAY, AND/OR WASTE OF TIME)
    FEDERAL RULE OF EVIDENCE 602 (LACK OF PERSONAL        602
    KNOWLEDGE OR COMPETENCY)
    LACKS FOUNDATION                                      F
    CALLS FOR SPECULATION                                 Spec
    DESIGNATION INCOMPLETE / INCOMPREHENSIBLE             I
    / INCOMPLETE QUESTION / ANSWER
    VAGUE AND AMBIGUOUS                                   V
    IMPROPER / INCOMPLETE HYPOTHETICAL                    Hyp
    COMPOUND                                              C
    ASSUMES FACTS NOT IN EVIDENCE                         AF
    FEDERAL RULE OF EVIDENCE 408 (COMPROMISE OFFERS       408
    AND NEGOTIATIONS)
    FEDERAL RULE OF EVIDENCE 501 (PRIVILEGE)              P
    FEDERAL RULE OF EVIDENCE 611(C) (LEADING)             611
    IMPROPER LAY OPINION / IMPROPER                       701
    EXPERT TESTIMONY BY NON-EXPERT
    IMPROPER TESTIMONY BY EXPERT WITNESS                  702/703
    FEDERAL RULE OF EVIDENCE 802 (HEARSAY)                H
    FEDERAL RULE OF EVIDENCE 611(B) (BEYOND SCOPE OF
                                                          BSD
    DESIGNATIONS
    NOT TESTIMONY – INCLUDES ATTORNEY OBJECTIONS          NT
    AND/OR DISCUSSIONS BETWEEN ATTORNEYS
    BEYOND SCOPE OF 30(b)(6) NOTICE / QUESTIONS           S
    ARGUMENTATIVE                                         Arg
    MISCHARACTERIZATION                                   M
    CALLS FOR LEGAL CONCLUSION                            LC
    NON-RESPONSIVE                                        NR
    NARRATIVE                                             N




                                        12
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 400 of 555 PageID #: 57251




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

   SHURE INCORPORATED,                               )
                                                     )
                        and                          )     C.A. NO. 19-1343-RGA-CJB
                                                     )
   SHURE ACQUISITION HOLDINGS, INC.,                 )     JURY TRIAL DEMANDED
                                                     )
                        Plaintiffs,                  )
                                                     )
               v.                                    )
                                                     )
   CLEARONE, INC.,                                   )
                                                     )
                        Defendant.                   )

      PLAINTIFFS’ DEPOSITION DESIGNATIONS FOR BETH MICKEL (9/23/2020)

          Designation                   Counter-Designation                 Objection

            10:11-12

                                      59:11-16; 59:20-22; 60:12-
          11:12-14:19                                                           I
                                                61:11

          15:17-18:11                                                   NT; V; N; H; 701

          18:20-19:10

          19:22-21:16                                              H; N; NR; V; 701; 602; Spec

           22:2-24:6                                                   H; Spec; 602; V; NT

          24:22-28:21                                                    H; NT; V; Spec

                                                                    LC; 701; Spec; 602; V; NR;
           29:13-34:3                     34:5-8; 34:10-11
                                                                              NT; I

                                                                    H; LC; Spec; 602; NT; NR;
           35:1-42:3
                                                                             701; AF

            42:7-14                                                     NT; Spec; 602; LC

          42:22-45:20                        137:7-138:2               LC; Spec; 602; NT; I

           46:10-48:6                                                Spec; 602; LC; NT; 701
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 401 of 555 PageID #: 57252




          Designation           Counter-Designation              Objection

           48:13-51:5                                      Spec; 602; LC; 701; NT

                              59:11-16; 59:20-22; 60:12-
          58:10-59:10                                                I
                                        61:11

          115:4-116:3                137:7-138:2                    I; H

          118:9-120:18                                             Spec

         138:18-139:22                                             V; H

         160:11-162:21                                         NT; 602; Spec




                                          2
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 402 of 555 PageID #: 57253




    Description                                           Objections

    FEDERAL RULES OF EVIDENCE 401/402 (IRRELEVANT)        401, 402
    FEDERAL RULE OF EVIDENCE 403 (UNDULY                  403
    PREJUDICIAL, CONFUSING, MISLEADING,
    DELAY, AND/OR WASTE OF TIME)
    FEDERAL RULE OF EVIDENCE 602 (LACK OF PERSONAL        602
    KNOWLEDGE OR COMPETENCY)
    LACKS FOUNDATION                                      F
    CALLS FOR SPECULATION                                 Spec
    DESIGNATION INCOMPLETE / INCOMPREHENSIBLE             I
    / INCOMPLETE QUESTION / ANSWER
    VAGUE AND AMBIGUOUS                                   V
    IMPROPER / INCOMPLETE HYPOTHETICAL                    Hyp
    COMPOUND                                              C
    ASSUMES FACTS NOT IN EVIDENCE                         AF
    FEDERAL RULE OF EVIDENCE 408 (COMPROMISE OFFERS       408
    AND NEGOTIATIONS)
    FEDERAL RULE OF EVIDENCE 501 (PRIVILEGE)              P
    FEDERAL RULE OF EVIDENCE 611(C) (LEADING)             611
    IMPROPER LAY OPINION / IMPROPER                       701
    EXPERT TESTIMONY BY NON-EXPERT
    IMPROPER TESTIMONY BY EXPERT WITNESS                  702/703
    FEDERAL RULE OF EVIDENCE 802 (HEARSAY)                H
    FEDERAL RULE OF EVIDENCE 611(B) (BEYOND SCOPE OF
                                                          BSD
    DESIGNATIONS
    NOT TESTIMONY – INCLUDES ATTORNEY OBJECTIONS          NT
    AND/OR DISCUSSIONS BETWEEN ATTORNEYS
    BEYOND SCOPE OF 30(b)(6) NOTICE / QUESTIONS           S
    ARGUMENTATIVE                                         Arg
    MISCHARACTERIZATION                                   M
    CALLS FOR LEGAL CONCLUSION                            LC
    NON-RESPONSIVE                                        NR
    NARRATIVE                                             N




                                        3
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 403 of 555 PageID #: 57254




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

   SHURE INCORPORATED,                             )
                                                   )
                        and                        )     C.A. NO. 19-1343-RGA-CJB
                                                   )
   SHURE ACQUISITION HOLDINGS, INC.,               )     JURY TRIAL DEMANDED
                                                   )
                        Plaintiffs,                )
                                                   )
               v.                                  )
                                                   )
   CLEARONE, INC.,                                 )
                                                   )
                        Defendant.                 )

      PLAINTIFFS’ DEPOSITION DESIGNATIONS FOR JOHN MILLER (7/10/2020)

          Designation                 Counter-Designation                Objection

             5:8-13

          13:13-14:23                                                    401, 402

           15:8-19:21                                                    401, 402

           20:9-27:10                       34:13-36:4                    NR, N, I

          28:18-29:20                 35:22-36:4, 58:23-59:14          701, N, NR, I
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 404 of 555 PageID #: 57255




    Description                                           Objections

    FEDERAL RULES OF EVIDENCE 401/402 (IRRELEVANT)        401, 402
    FEDERAL RULE OF EVIDENCE 403 (UNDULY                  403
    PREJUDICIAL, CONFUSING, MISLEADING,
    DELAY, AND/OR WASTE OF TIME)
    FEDERAL RULE OF EVIDENCE 602 (LACK OF PERSONAL        602
    KNOWLEDGE OR COMPETENCY)
    LACKS FOUNDATION                                      F
    CALLS FOR SPECULATION                                 Spec
    DESIGNATION INCOMPLETE / INCOMPREHENSIBLE             I
    / INCOMPLETE QUESTION / ANSWER
    VAGUE AND AMBIGUOUS                                   V
    IMPROPER / INCOMPLETE HYPOTHETICAL                    Hyp
    COMPOUND                                              C
    ASSUMES FACTS NOT IN EVIDENCE                         AF
    FEDERAL RULE OF EVIDENCE 408 (COMPROMISE OFFERS       408
    AND NEGOTIATIONS)
    FEDERAL RULE OF EVIDENCE 501 (PRIVILEGE)              P
    FEDERAL RULE OF EVIDENCE 611(C) (LEADING)             611
    IMPROPER LAY OPINION / IMPROPER                       701
    EXPERT TESTIMONY BY NON-EXPERT
    IMPROPER TESTIMONY BY EXPERT WITNESS                  702/703
    FEDERAL RULE OF EVIDENCE 802 (HEARSAY)                H
    FEDERAL RULE OF EVIDENCE 611(B) (BEYOND SCOPE OF
                                                          BSD
    DESIGNATIONS
    NOT TESTIMONY – INCLUDES ATTORNEY OBJECTIONS          NT
    AND/OR DISCUSSIONS BETWEEN ATTORNEYS
    BEYOND SCOPE OF 30(b)(6) NOTICE / QUESTIONS           S
    ARGUMENTATIVE                                         Arg
    MISCHARACTERIZATION                                   M
    CALLS FOR LEGAL CONCLUSION                            LC
    NON-RESPONSIVE                                        NR
    NARRATIVE                                             N




                                        2
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 405 of 555 PageID #: 57256




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

   SHURE INCORPORATED,                               )
                                                     )
                        and                          )    C.A. NO. 19-1343-RGA-CJB
                                                     )
   SHURE ACQUISITION HOLDINGS, INC.,                 )    JURY TRIAL DEMANDED
                                                     )
                        Plaintiffs,                  )
                                                     )
               v.                                    )
                                                     )
   CLEARONE, INC.,                                   )
                                                     )
                        Defendant.                   )

      PLAINTIFFS’ DEPOSITION DESIGNATIONS FOR JOHN MILLER (12/1/2020)

          Designation                   Counter-Designation               Objection

            6:24-7:3

           19:11-20:3

            20:13-19

                                      31:12-19, 32:14-16; 117:8-
            30:10-25                                                     401, 402, F, I
                                          19, 117:21-118:16

            33:9-13                          32:14-33:2                  401, 402, F, I
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 406 of 555 PageID #: 57257




    Description                                           Objections

    FEDERAL RULES OF EVIDENCE 401/402 (IRRELEVANT)        401, 402
    FEDERAL RULE OF EVIDENCE 403 (UNDULY                  403
    PREJUDICIAL, CONFUSING, MISLEADING,
    DELAY, AND/OR WASTE OF TIME)
    FEDERAL RULE OF EVIDENCE 602 (LACK OF PERSONAL        602
    KNOWLEDGE OR COMPETENCY)
    LACKS FOUNDATION                                      F
    CALLS FOR SPECULATION                                 Spec
    DESIGNATION INCOMPLETE / INCOMPREHENSIBLE             I
    / INCOMPLETE QUESTION / ANSWER
    VAGUE AND AMBIGUOUS                                   V
    IMPROPER / INCOMPLETE HYPOTHETICAL                    Hyp
    COMPOUND                                              C
    ASSUMES FACTS NOT IN EVIDENCE                         AF
    FEDERAL RULE OF EVIDENCE 408 (COMPROMISE OFFERS       408
    AND NEGOTIATIONS)
    FEDERAL RULE OF EVIDENCE 501 (PRIVILEGE)              P
    FEDERAL RULE OF EVIDENCE 611(C) (LEADING)             611
    IMPROPER LAY OPINION / IMPROPER                       701
    EXPERT TESTIMONY BY NON-EXPERT
    IMPROPER TESTIMONY BY EXPERT WITNESS                  702/703
    FEDERAL RULE OF EVIDENCE 802 (HEARSAY)                H
    FEDERAL RULE OF EVIDENCE 611(B) (BEYOND SCOPE OF
                                                          BSD
    DESIGNATIONS
    NOT TESTIMONY – INCLUDES ATTORNEY OBJECTIONS          NT
    AND/OR DISCUSSIONS BETWEEN ATTORNEYS
    BEYOND SCOPE OF 30(b)(6) NOTICE / QUESTIONS           S
    ARGUMENTATIVE                                         Arg
    MISCHARACTERIZATION                                   M
    CALLS FOR LEGAL CONCLUSION                            LC
    NON-RESPONSIVE                                        NR
    NARRATIVE                                             N




                                        2
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 407 of 555 PageID #: 57258




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

   SHURE INCORPORATED,                           )
                                                 )
                        and                      )    C.A. NO. 19-1343-RGA-CJB
                                                 )
   SHURE ACQUISITION HOLDINGS, INC.,             )    JURY TRIAL DEMANDED
                                                 )
                        Plaintiffs,              )
                                                 )
               v.                                )
                                                 )
   CLEARONE, INC.,                               )
                                                 )
                        Defendant.               )

   PLAINTIFFS’ DEPOSITION DESIGNATIONS FOR NARSI NARAYANAN (11/23/2020)

          Designation                 Counter-Designation             Objection

           10:9-11:12                                             N, S, 401, 402 403

            12:19-25                                                      S

             13:2-9                        13:10-12                      S, I

            13:24-25                                                      S

             14:2-5                                                       S

            15:17-21                                                      S

            15:24-25                                                      S

            16:2-13                                                      S, V

            16:20-22                                                  S, C, V, C

             16:25                                                    S, C, V, C

             17:2-3                         17:4-9                   S, C, V, C, I

            17:12-25                                                    S, LC

             18:2-6                                                     S, LC
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 408 of 555 PageID #: 57259




          Designation           Counter-Designation           Objection

            18:13-25                                             S, LC

            19:2-12                                          S, LC, V, M

            19:16-19                                         S, LC, V, M

            20:7-17                                          S, LC, V, M

            23:14-16                   23:17                      S, I

            23:18-23                   23:17                      S, I

            24:6-16                                                S

            24:23-24                                            S, V, M

             25:3-9                                                S

            25:17-19                   25:20                      S, I

            25:21-25                   25:20                      S, I

             26:2-4                                              S, V

            26:7-21                   27:4-10                     S, I

            27:22-25                  26:4-10                     S, I

             28:2-4                   28:5-11                     S, I

            28:17-19                                             S, V

            28:22-24                                             S, V

            39:5-13                                          S, F, Spec, V

            40:4-13                                              S, V

            41:6-12                 40:24-41:12                   S, I

            42:6-12                                                S

            42:16-25                                        S, 401/402, 403

             43:5-9                 43:23-44:16            S, 401/402, 403, I



                                        2
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 409 of 555 PageID #: 57260




          Designation           Counter-Designation           Objection

            44:17-18             43:23-44:16, 44:19               S, I

            44:20-25                                         S, F, Spec, V

              45:2                                           S, F, Spec, V

            45:5-24                                          S, F, Spec, V

             46:4-7                47:5-6, 10-19            S, F, Spec, V, I

            47:21-22               47:5-6, 10-19            S, F, Spec, V, I

             48:2-5                47:5-6, 10-19            S, F, Spec, V, I

            48:10-18                   48:9                 S, F, Spec, V, I

            48:22-25                                         S, F, Spec, V

             49:2-4                                          S, F, Spec, V

             50:2-3                                          S, F, Spec, V

            50:6-11                                          S, F, Spec, V

            50:14-25                                         S, F, Spec, V

            51:2-10                                                S

            52:3-11                                           S, F, Spec

            52:20-25                                          S, F, Spec

             53:2-3                                           S, F, Spec

            55:21-25                                               S

            56:2-16                                          S, F, Spec, V

            56:19-25                                         S, F, Spec, V

             57:2-4                                          S, F, Spec, V

            57:9-17                                        S, F, Spec, V, M

            57:20-25                                       S, F, Spec, V, M



                                         3
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 410 of 555 PageID #: 57261




          Designation           Counter-Designation            Objection

             58:2-7                                         S, F, Spec, V, M

            58:10-25                                               S

             59:2-6                                               S, V

            59:10-23                                              S, V

             60:2-9                                            S, F, Spec

            60:12-16                                           S, F, Spec,

            60:18-23                                               S

             61:4-7                                          S, V, F, Spec

            61:15-25                                         S, V, F, Spec

            62:2-10                                        S, V, F, Spec, LC

            62:13-25                                         S, V, F, Spec

             63:2-3                   63:4-22                     S, I

            63:23-25                  63:4-22              S, V, F, Spec, M, I

            64:5-13                   63:4-22              S, V, F, Spec, M, I

            64:17-25                                        S, V, F, Spec, M

              65:2                                          S, V, F, Spec, M

            65:6-25                                         S, V, F, Spec, M

            66:2-16                                            S, F, Spec

            66:21-25                                           S, F, Spec

            67:2-11                                                S

            67:14-25                                               S

            68:2-16                                            S, F, Spec

            68:19-25                                           S, F, Spec



                                        4
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 411 of 555 PageID #: 57262




          Designation           Counter-Designation           Objection

             69:2-3                                           S, F, Spec

            69:6-25                                           S, F, Spec

             70:2-4                                          S, F, Spec, V

            70:7-25                                          S, F, Spec, V

            71:2-10                                          S, F, Spec, V

            71:24-25                                              S

            72:2-25                                               S

            73:2-21                                          S, F, Spec, V

             73:25                                           S, F, Spec, V

            74:2-25                                          S, F, Spec, V

            75:2-13                                          S, F, Spec, V

            75:16-25                                         S, F, Spec, V

            76:2-20                                          S, F, Spec, V

            77:5-13                                         S, F, Spec, LC

            77:17-25                                              S

            78:2-17                                               S

            78:20-25                                              S

            79:2-25                                          S, F, Spec, V

             80:2-3                                          S, F, Spec, V

            80:7-20                                        S, F, Spec, V, LC

            80:24-25                                       S, F, Spec, V, LC

              81:2                                         S, F, Spec, V, LC

            82:9-16                                          S, F, Spec, V



                                        5
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 412 of 555 PageID #: 57263




          Designation           Counter-Designation           Objection

            82:19-22                                       S, F, Spec, V, LC

            83:8-21                                        S, F, Spec, V, LC

            84:19-25                                              S

            85:2-25                                               S

             86:2-8                                               S

            86:14-15                                          S, F, Spec

            86:18-25                                          S, F, Spec

             87:2-5                                          S, F, Spec, V

            87:9-25                                          S, F, Spec, V

            88:2-16                                          S, F, Spec, V

            88:21-25                                         S, F, Spec, V

            89:2-25                                          S, F, Spec, V

              90:2                                                S

            90:6-25                                     NT, 401, 402, 403, M, N

             91:2-9                                     NT, 401, 402, 403, M, N




                                        6
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 413 of 555 PageID #: 57264




    Description                                           Objections

    FEDERAL RULES OF EVIDENCE 401/402 (IRRELEVANT)        401, 402
    FEDERAL RULE OF EVIDENCE 403 (UNDULY                  403
    PREJUDICIAL, CONFUSING, MISLEADING,
    DELAY, AND/OR WASTE OF TIME)
    FEDERAL RULE OF EVIDENCE 602 (LACK OF PERSONAL        602
    KNOWLEDGE OR COMPETENCY)
    LACKS FOUNDATION                                      F
    CALLS FOR SPECULATION                                 Spec
    DESIGNATION INCOMPLETE / INCOMPREHENSIBLE             I
    / INCOMPLETE QUESTION / ANSWER
    VAGUE AND AMBIGUOUS                                   V
    IMPROPER / INCOMPLETE HYPOTHETICAL                    Hyp
    COMPOUND                                              C
    ASSUMES FACTS NOT IN EVIDENCE                         AF
    FEDERAL RULE OF EVIDENCE 408 (COMPROMISE OFFERS       408
    AND NEGOTIATIONS)
    FEDERAL RULE OF EVIDENCE 501 (PRIVILEGE)              P
    FEDERAL RULE OF EVIDENCE 611(C) (LEADING)             611
    IMPROPER LAY OPINION / IMPROPER                       701
    EXPERT TESTIMONY BY NON-EXPERT
    IMPROPER TESTIMONY BY EXPERT WITNESS                  702/703
    FEDERAL RULE OF EVIDENCE 802 (HEARSAY)                H
    FEDERAL RULE OF EVIDENCE 611(B) (BEYOND SCOPE OF
                                                          BSD
    DESIGNATIONS
    NOT TESTIMONY – INCLUDES ATTORNEY OBJECTIONS          NT
    AND/OR DISCUSSIONS BETWEEN ATTORNEYS
    BEYOND SCOPE OF 30(b)(6) NOTICE / QUESTIONS           S
    ARGUMENTATIVE                                         Arg
    MISCHARACTERIZATION                                   M
    CALLS FOR LEGAL CONCLUSION                            LC
    NON-RESPONSIVE                                        NR
    NARRATIVE                                             N




                                        7
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 414 of 555 PageID #: 57265




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

   SHURE INCORPORATED,                             )
                                                   )
                        and                        )    C.A. NO. 19-1343-RGA-CJB
                                                   )
   SHURE ACQUISITION HOLDINGS, INC.,               )    JURY TRIAL DEMANDED
                                                   )
                        Plaintiffs,                )
                                                   )
               v.                                  )
                                                   )
   CLEARONE, INC.,                                 )
                                                   )
                        Defendant.                 )

     PLAINTIFFS’ DEPOSITION DESIGNATIONS FOR PATRICK OATES (5/13/2020)

          Designation                 Counter-Designation               Objection

                                      55:4-57:25; 60:21-61:3;
           6:14-8:16                                                        I
                                            61:18-62:5

                                      55:4-57:25; 60:21-61:3;
            8:18-9:9                                                      NT; I
                                            61:18-62:5

                                      55:4-57:25; 60:21-61:3;
           9:23-11:8                                                        I
                                            61:18-62:5

            13:5-13

            13:15-16

           14:4-16:24                                                  H; 602; Spec

           17:7-18:9                                                   H; 602; Spec

           18:14-19:9                                                       V

           19:14-22:4                                                       H

           22:6-24:14                                                H; Spec; 602; NT

           24:24-25:8                                                       H

           25:14-27:1                                                   H; NT; N
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 415 of 555 PageID #: 57266




          Designation           Counter-Designation              Objection

           27:6-31:12                                     602; Spec; H; AF; 701; NT

           31:17-34:3                                          602; Spec; 701

             38:3-8                   38:9-13                         I

          38:18-42:18                 38:9-13            AF; NT; H; 602; Spec; V; I

          42:22-46:23                 38:9-13            602; Spec; V; 701; LC; NT; I

                                                          701; LC; H; V; NT; Spec;
           47:1-49:17
                                                                  602; NR

                               65:25-66:6; 66:19-67:9;
           63:2-65:17                                                 I
                                 67:11-68:6; 68:9-13

                               65:25-66:6; 66:19-67:9;
          68:14-69:19                                                H; I
                                 67:11-68:6; 68:9-13

           70:1-74:16                                             V; H; NT

           80:7-81:10                                             H; F; AF

           85:7-86:15

                                                         H; F; AF; Spec; 602; V; NR;
           87:9-91:16
                                                                     701

           92:13-93:5                                                 H

          93:22-95:25                                           H; Spec; 602

           96:22-97:4                                             H; V; NR

          97:22-98:21                                                 H

          99:18-100:13                                          H; 602; Spec

           100:17-18                                                  H

          100:22-105:1                                             H; NT




                                         2
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 416 of 555 PageID #: 57267




    Description                                           Objections

    FEDERAL RULES OF EVIDENCE 401/402 (IRRELEVANT)        401, 402
    FEDERAL RULE OF EVIDENCE 403 (UNDULY                  403
    PREJUDICIAL, CONFUSING, MISLEADING,
    DELAY, AND/OR WASTE OF TIME)
    FEDERAL RULE OF EVIDENCE 602 (LACK OF PERSONAL        602
    KNOWLEDGE OR COMPETENCY)
    LACKS FOUNDATION                                      F
    CALLS FOR SPECULATION                                 Spec
    DESIGNATION INCOMPLETE / INCOMPREHENSIBLE             I
    / INCOMPLETE QUESTION / ANSWER
    VAGUE AND AMBIGUOUS                                   V
    IMPROPER / INCOMPLETE HYPOTHETICAL                    Hyp
    COMPOUND                                              C
    ASSUMES FACTS NOT IN EVIDENCE                         AF
    FEDERAL RULE OF EVIDENCE 408 (COMPROMISE OFFERS       408
    AND NEGOTIATIONS)
    FEDERAL RULE OF EVIDENCE 501 (PRIVILEGE)              P
    FEDERAL RULE OF EVIDENCE 611(C) (LEADING)             611
    IMPROPER LAY OPINION / IMPROPER                       701
    EXPERT TESTIMONY BY NON-EXPERT
    IMPROPER TESTIMONY BY EXPERT WITNESS                  702/703
    FEDERAL RULE OF EVIDENCE 802 (HEARSAY)                H
    FEDERAL RULE OF EVIDENCE 611(B) (BEYOND SCOPE OF
                                                          BSD
    DESIGNATIONS
    NOT TESTIMONY – INCLUDES ATTORNEY OBJECTIONS          NT
    AND/OR DISCUSSIONS BETWEEN ATTORNEYS
    BEYOND SCOPE OF 30(b)(6) NOTICE / QUESTIONS           S
    ARGUMENTATIVE                                         Arg
    MISCHARACTERIZATION                                   M
    CALLS FOR LEGAL CONCLUSION                            LC
    NON-RESPONSIVE                                        NR
    NARRATIVE                                             N




                                        3
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 417 of 555 PageID #: 57268




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

   SHURE INCORPORATED,                                )
                                                      )
                        and                           )   C.A. NO. 19-1343-RGA-CJB
                                                      )
   SHURE ACQUISITION HOLDINGS, INC.,                  )   JURY TRIAL DEMANDED
                                                      )
                        Plaintiffs,                   )
                                                      )
               v.                                     )
                                                      )
   CLEARONE, INC.,                                    )
                                                      )
                        Defendant.                    )

       PLAINTIFFS’ DEPOSITION DESIGNATIONS FOR BILL PAYNE (5/7/2020)

          Designation                    Counter-Designation                Objection

             5:6-9

                                      11:11-18, 11:20-12:6, 13:12-
             9:7-10                                                              I
                                                  14:3

           16:18-18:7                           16:3-10               401, 402, 403, Spec, I

                                        23:20-24:3, 24:19-25:3,
          18:21-22:13                                                401, 402, 403, Spec, V, I
                                       26:17-25, 27:8-18, 28:5-22

                                        23:20-24:3, 24:19-25:3,
          22:16-23:19                                                401, 402, 403, Spec, V, I
                                       26:17-25, 27:8-18, 28:5-22

                                        23:20-24:3, 24:19-25:3,
           25:4-26:6                                                 401, 402, 403, Spec, V, I
                                       26:17-25, 27:8-18, 28:5-22

             27:1-7                         27:8-18, 28:5-22            401, 402, 403, V, I

                                        28:23-29:11, 29:19-20,
            29:14-16                                                     401, 402, 403, I
                                              30:10-17

                                        28:23-29:11, 29:19-20,
           30:18-31:2                                                   V, 401, 402, 403, I
                                              30:10-17

          31:21-33:22                 33:23-34:10, 34:17-22, 35:16       401, 402, 403, I
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 418 of 555 PageID #: 57269




          Designation           Counter-Designation             Objection

                             38:14-40:1, 40:8-13, 40:16-
                              41:1, 42:12-19, 44:17-22,
            35:20-24         46:10-18, 57:4-58:11, 59:18-    401, 402, 403, I
                              60:1, 60:4-17, 92:21-93:7,
                                       93:17-24

                              38:14-40:1, 40:8-13, 40:16-
                               41:1, 42:12-19, 43:16-17,
                                43:19, 43:23-44:5, 44:7,
            36:3-13                                          401, 402, 403, I
                               44:17-22, 46:10-18, 57:4-
                              58:11, 59:18-60:1, 60:4-17,
                                 92:21-93:7, 93:17-24

                              38:14-40:1, 40:8-13, 40:16-
                               41:1, 42:12-19, 43:16-17,
                                43:19, 43:23-44:5, 44:7,
         36:24-37:38:13                                      401, 402, 403, I
                               44:17-22, 46:10-18, 57:4-
                              58:11, 59:18-60:1, 60:4-17,
                                 92:21-93:7, 93:17-24

                              38:14-40:1, 40:8-13, 40:16-
                               41:1, 42:12-19, 43:16-17,
                                43:19, 43:23-44:5, 44:7,
            41:2-20                                         401, 402, 403, H, I
                               44:17-22, 46:10-18, 57:4-
                              58:11, 59:18-60:1, 60:4-17,
                                 92:21-93:7, 93:17-24

                              38:14-40:1, 40:8-13, 40:16-
                               41:1, 42:12-19, 43:16-17,
                                43:19, 43:23-44:5, 44:7,
          41:25-42:11                                        401, 402, 403, I
                               44:17-22, 46:10-18, 57:4-
                              58:11, 59:18-60:1, 60:4-17,
                                 92:21-93:7, 93:17-24

                              38:14-40:1, 40:8-13, 40:16-
                               41:1, 42:12-19, 43:16-17,
                                43:19, 43:23-44:5, 44:7,
            43:1-15                                          401, 402, 403, I
                               44:17-22, 46:10-18, 57:4-
                              58:11, 59:18-60:1, 60:4-17,
                                 92:21-93:7, 93:17-24

                              38:14-40:1, 40:8-13, 40:16-
            44:8-16            41:1, 42:12-19, 43:16-17,     401, 402, 403, I
                                43:19, 43:23-44:5, 44:7,
                               44:17-22, 46:10-18, 57:4-


                                          2
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 419 of 555 PageID #: 57270




          Designation           Counter-Designation                 Objection
                              58:11, 59:18-60:1, 60:4-17,
                                 92:21-93:7, 93:17-24

                              38:14-40:1, 40:8-13, 40:16-
                               41:1, 42:12-19, 43:16-17,
                                43:19, 43:23-44:5, 44:7,
           44:23-46:7                                            401, 402, 403, I
                               44:17-22, 46:10-18, 57:4-
                              58:11, 59:18-60:1, 60:4-17,
                                 92:21-93:7, 93:17-24

                              38:14-40:1, 40:8-13, 40:16-
                               41:1, 42:12-19, 43:16-17,
                                43:19, 43:23-44:5, 44:7,
          47:15-50:24                                        Spec, 401, 402, 403, H, I
                               44:17-22, 46:10-18, 57:4-
                              58:11, 59:18-60:1, 60:4-17,
                                 92:21-93:7, 93:17-24

                              38:14-40:1, 40:8-13, 40:16-
                               41:1, 42:12-19, 43:16-17,
                                43:19, 43:23-44:5, 44:7,    AF, Spec, 401, 402, 403, M,
           56:9-57:3
                               44:17-22, 46:10-18, 57:4-               H, I
                              58:11, 59:18-60:1, 60:4-17,
                                 92:21-93:7, 93:17-24

                              38:14-40:1, 40:8-13, 40:16-
                               41:1, 42:12-19, 43:16-17,
                                43:19, 43:23-44:5, 44:7,
          58:12-59:17          44:17-22, 46:10-18, 57:4-     Spec, 401, 402, 403, H, I
                              58:11, 59:18-60:1, 60:4-17,
                               61:14-62:12, 92:21-93:7,
                                       93:17-24

                              38:14-40:1, 40:8-13, 40:16-
                               41:1, 42:12-19, 43:16-17,
                                43:19, 43:23-44:5, 44:7,
          60:18-61:13          44:17-22, 46:10-18, 57:4-        401, 402, 403, H, I
                              58:11, 59:18-60:1, 60:4-17,
                               61:14-62:12, 92:21-93:7,
                                       93:17-24

                              38:14-40:1, 40:8-13, 40:16-
                               41:1, 42:12-19, 43:16-17,
           64:1-66:8            43:19, 43:23-44:5, 44:7,      401, 402, 403, H, NT, I
                               44:17-22, 46:10-18, 57:4-
                              58:11, 59:18-60:1, 60:4-17,


                                          3
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 420 of 555 PageID #: 57271




          Designation           Counter-Designation                  Objection
                               61:14-62:12, 92:21-93:7,
                                      93:17-24

                              38:14-40:1, 40:8-13, 40:16-
                               41:1, 42:12-19, 43:16-17,
                                43:19, 43:23-44:5, 44:7,
           66:22-68:9          44:17-22, 46:10-18, 57:4-         401, 402, 403, H, I
                              58:11, 59:18-60:1, 60:4-17,
                               61:14-62:12, 92:21-93:7,
                                       93:17-24

                              38:14-40:1, 40:8-13, 40:16-
                               41:1, 42:12-19, 43:16-17,
                                43:19, 43:23-44:5, 44:7,
                                                            401, 402, 403, H, Spec, V, S,
           68:16-69:3          44:17-22, 46:10-18, 57:4-
                                                                          I
                              58:11, 59:18-60:1, 60:4-17,
                               61:14-62:12, 92:21-93:7,
                                       93:17-24

           69:11-70:2                 71:25-72:3                 401, 402, 403, H, I

          70:20-71:24                 71:25-72:3                 401, 402, 403, H, I

          72:14-73:19                                       S, NT, M, 401, 402, 403, V

          75:13-80:19                                       V, 401, 402, 403, Hyp, Spec

                                                            S, 401, 402, 403, Hyp, 602,
            81:3-20                    81:21-23
                                                                      Spec, I

                                                              S, V, 401, 402, 403, 602,
            82:3-18
                                                                        Spec

                                  87:11-14, 92:6-20         S, Spec, 401, 402, 403, 602,
          84:15-85:21
                                                                      V, H, I

                                  87:11-14, 92:6-20         S, Spec, 401, 402, 403, 602,
            86:8-21
                                                                      V, H, I

                                  87:11-14, 92:6-20         S, Spec, 401, 402, 403, 602,
           86:23-87:2
                                                                      V, H, I

                                                            S, Spec, 401, 402, 403, 602,
            87:4-10               87:11-14, 92:6-20
                                                                      V, H, I


                                          4
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 421 of 555 PageID #: 57272




           Designation          Counter-Designation             Objection

             93:8-16             87:11-14, 92:6-20          401, 402, 403, I


    Description                                           Objections

    FEDERAL RULES OF EVIDENCE 401/402 (IRRELEVANT)        401, 402
    FEDERAL RULE OF EVIDENCE 403 (UNDULY                  403
    PREJUDICIAL, CONFUSING, MISLEADING,
    DELAY, AND/OR WASTE OF TIME)
    FEDERAL RULE OF EVIDENCE 602 (LACK OF PERSONAL        602
    KNOWLEDGE OR COMPETENCY)
    LACKS FOUNDATION                                      F
    CALLS FOR SPECULATION                                 Spec
    DESIGNATION INCOMPLETE / INCOMPREHENSIBLE             I
    / INCOMPLETE QUESTION / ANSWER
    VAGUE AND AMBIGUOUS                                   V
    IMPROPER / INCOMPLETE HYPOTHETICAL                    Hyp
    COMPOUND                                              C
    ASSUMES FACTS NOT IN EVIDENCE                         AF
    FEDERAL RULE OF EVIDENCE 408 (COMPROMISE OFFERS       408
    AND NEGOTIATIONS)
    FEDERAL RULE OF EVIDENCE 501 (PRIVILEGE)              P
    FEDERAL RULE OF EVIDENCE 611(C) (LEADING)             611
    IMPROPER LAY OPINION / IMPROPER                       701
    EXPERT TESTIMONY BY NON-EXPERT
    IMPROPER TESTIMONY BY EXPERT WITNESS                  702/703
    FEDERAL RULE OF EVIDENCE 802 (HEARSAY)                H
    FEDERAL RULE OF EVIDENCE 611(B) (BEYOND SCOPE OF
                                                          BSD
    DESIGNATIONS
    NOT TESTIMONY – INCLUDES ATTORNEY OBJECTIONS          NT
    AND/OR DISCUSSIONS BETWEEN ATTORNEYS
    BEYOND SCOPE OF 30(b)(6) NOTICE / QUESTIONS           S
    ARGUMENTATIVE                                         Arg
    MISCHARACTERIZATION                                   M
    CALLS FOR LEGAL CONCLUSION                            LC
    NON-RESPONSIVE                                        NR
    NARRATIVE                                             N




                                        5
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 422 of 555 PageID #: 57273




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

   SHURE INCORPORATED,                           )
                                                 )
                        and                      )      C.A. NO. 19-1343-RGA-CJB
                                                 )
   SHURE ACQUISITION HOLDINGS, INC.,             )      JURY TRIAL DEMANDED
                                                 )
                        Plaintiffs,              )
                                                 )
               v.                                )
                                                 )
   CLEARONE, INC.,                               )
                                                 )
                        Defendant.               )

      PLAINTIFFS’ DEPOSITION DESIGNATIONS FOR TODD PEDEN (12/7/2020)

          Designation                 Counter-Designation               Objection

           11:24-12:7

            24:13-25

            25:2-25

            26:2-25

            27:2-11                        27:10-12                         I

            28:9-25

            29:2-10

            29:23-25

            30:2-25

            31:2-16                       31:24-32:10                       I

            32:11-25                      31:24-32:10                       I

            33:2-25
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 423 of 555 PageID #: 57274




          Designation           Counter-Designation           Objection

            34:2-25

                                     94:14-19
                                      120:3-5
                                     133:12-20
            35:2-25                                               I
                                   134:14-135:11
                                     136:7-10
                                   136:19-137:2

                                     94:14-19
                                      120:3-5
                                     133:12-20
            36:2-12                                               I
                                   134:14-135:11
                                     136:7-10
                                   136:19-137:2

                                     55:9-56:6
                                      62:8-11
            36:20-25                62:24-63:5                    I
                                     71:21-24
                                      72:4-14

                                     55:9-56:6
             37:2-3                   62:8-11                     I
                                    62:24-63:5

            37:7-24                                           401, 402

            38:4-13

            38:15-24                                          401, 402

            39:6-10                                           401, 402

            39:24-25

            40:2-22                                           401, 402



                                        2
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 424 of 555 PageID #: 57275




          Designation           Counter-Designation            Objection

            41:4-25                   49:2-9                        I

                                    47:25-48:8
            42:2-25                                           401, 402, I
                                    48:18-49:9

                                    47:25-48:8
            43:2-25                                           401, 402, I
                                    48:18-49:9

                                    47:25-48:8
            44:2-25                                           401, 402, I
                                    48:18-49:9

                                    47:25-48:8
            45:2-25                                                 I
                                    48:18-49:9

                                    47:25-48:8
             46:2-3                                                 I
                                    48:18-49:9

                                     50:6-52:8
            49:10-25                 71:21-24                       I
                                      72:4-14

                                     50:6-52:8
             50:2-5                  71:21-24                       I
                                      72:4-14

            58:20-25                58:20-59:2                I, 401, 402

            59:2-16                 58:20-59:2          I, 401, 402, F, Spec, 701

           122:20-23

           123:24-25

            124:2-16

            125:25                   55:9-56:6                      I

            126:2-9                  55:9-56:6                      I

           128:18-25                 55:9-56:6                      I




                                        3
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 425 of 555 PageID #: 57276




           Designation          Counter-Designation             Objection

             129:2-18
    Description                                           Objections
    FEDERAL RULES OF EVIDENCE 401/402 (IRRELEVANT)        401, 402
    FEDERAL RULE OF EVIDENCE 403 (UNDULY                  403
    PREJUDICIAL, CONFUSING, MISLEADING,
    DELAY, AND/OR WASTE OF TIME)
    FEDERAL RULE OF EVIDENCE 602 (LACK OF PERSONAL        602
    KNOWLEDGE OR COMPETENCY)
    LACKS FOUNDATION                                      F
    CALLS FOR SPECULATION                                 Spec
    DESIGNATION INCOMPLETE / INCOMPREHENSIBLE             I
    / INCOMPLETE QUESTION / ANSWER
    VAGUE AND AMBIGUOUS                                   V
    IMPROPER / INCOMPLETE HYPOTHETICAL                    Hyp
    COMPOUND                                              C
    ASSUMES FACTS NOT IN EVIDENCE                         AF
    FEDERAL RULE OF EVIDENCE 408 (COMPROMISE OFFERS       408
    AND NEGOTIATIONS)
    FEDERAL RULE OF EVIDENCE 501 (PRIVILEGE)              P
    FEDERAL RULE OF EVIDENCE 611(C) (LEADING)             611
    IMPROPER LAY OPINION / IMPROPER                       701
    EXPERT TESTIMONY BY NON-EXPERT
    IMPROPER TESTIMONY BY EXPERT WITNESS                  702/703
    FEDERAL RULE OF EVIDENCE 802 (HEARSAY)                H
    FEDERAL RULE OF EVIDENCE 611(B) (BEYOND SCOPE OF
                                                          BSD
    DESIGNATIONS
    NOT TESTIMONY – INCLUDES ATTORNEY OBJECTIONS          NT
    AND/OR DISCUSSIONS BETWEEN ATTORNEYS
    BEYOND SCOPE OF 30(b)(6) NOTICE / QUESTIONS           S
    ARGUMENTATIVE                                         Arg
    MISCHARACTERIZATION                                   M
    CALLS FOR LEGAL CONCLUSION                            LC
    NON-RESPONSIVE                                        NR
    NARRATIVE                                             N




                                        4
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 426 of 555 PageID #: 57277




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

   SHURE INCORPORATED,                               )
                                                     )
                        and                          )    C.A. NO. 19-1343-RGA-CJB
                                                     )
   SHURE ACQUISITION HOLDINGS, INC.,                 )    JURY TRIAL DEMANDED
                                                     )
                        Plaintiffs,                  )
                                                     )
               v.                                    )
                                                     )
   CLEARONE, INC.,                                   )
                                                     )
                        Defendant.                   )

     PLAINTIFFS’ DEPOSITION DESIGNATIONS FOR JAMES SCHANZ (6/22/2020)

          Designation                   Counter-Designation                  Objection

             7:8-10

           8:23-9:16                           15:1-10                            I

                                                                    401, 402, 403, V, Spec, Hyp,
            13:18-20
                                                                                  I

                                                                    401, 402, 403, V, Spec, Hyp,
           13:22-14:9
                                                                                  I

                                                                    401, 402, 403, V, Spec, Hyp,
            14:12-20
                                                                                  I

                                      15:11-15, 15:18-21, 16:4-9,   401, 402, 403, Spec, F, 602,
           15:22-16:3
                                               16:13-14                        701, I

            16:15-21                       16:4-9, 16:13-14         401, 402, 403, Spec, F, 602, I

                                                                    401, 402, 403, Spec, F, 602,
          18:13-20:20                          18:8-12
                                                                              N, H, I

             21:3-6

                                                                      401, 402, 403, F, 602, H,
            22:11-23                           21:13-20
                                                                              Spec, I
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 427 of 555 PageID #: 57278




          Designation           Counter-Designation                Objection

                                                            401, 402, 403, F, 602, H,
           22:25-23:7
                                                                    Spec, I

                                                            401, 402, 403, F, 602, H,
            23:15-23           23:24-24:10; 102:18-22
                                                                    Spec, I

                                                          401, 402, 403, F, 602, Spec,
          31:19-32:17           29:13-18, 29:24-31:18
                                                                    V, H, I

            33:6-19               32:18-24, 33:2-5        401, 402, 403, F, 602, V, H, I

            34:15-17              33:20-23, 34:3-6        401, 402, 403, F, 602, V, H, I

            35:4-15             34:24-35:3, 35:16-19      401, 402, 403, F, 602, V, H, I

           35:20-37:2                                     401, 402, 403, F, 602, V, H, I

              37:5                                        401, 402, 403, F, 602, V, H, I

                                                           401, 402, 403, F, Hyp, 602,
          37:18-38:20            38:21-39:5, 39:8-10
                                                                     V, H, I

           40:5-42:16                                                  H, I

          42:19-43:17                                                  H, I

          43:19-44:14                 44:15-18                         H, I

           44:19-46:3                                                  H, I

            46:5-20                                                     I

                                                          401, 403, F, Spec, Hyp, 602,
          46:22-51:10
                                                                       H, I

                                                          401, 403, F, Spec, Hyp, 602,
           51:13-52:3
                                                                       H, I

                                                          401, 403, F, Spec, Hyp, 602,
           52:5-53:9          60:4-6, 60:9-13, 72:12-20
                                                                H, I, V, 701, NT

                                                          401, 403, F, Spec, Hyp, 602,
          53:12-54:12
                                                                    H, 701, I




                                         2
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 428 of 555 PageID #: 57279




          Designation           Counter-Designation                   Objection

                                                            401, 403, F, Spec, Hyp, 602,
             54:14            60:4-6, 60:9-13, 72:12-20
                                                                    H, 701, V, I

                                                            401, 403, F, Spec, Hyp, 602,
           54:18-55:2         60:4-6, 60:9-13, 72:12-20
                                                                    H, 701, V, I

                                                             401, 402, 403, F, Spec, 602,
            58:1-22
                                                                      701, H, I

                                                             401, 402, 403, F, Spec, 602,
           58:25-60:3              60:4-6, 60:9-13
                                                                      701, H, I

            62:3-24           60:4-6, 60:9-13, 72:12-20      401, 402, 403, F, 602, H, I

            63:19-22                                           401, 402, 403, F, 602, I

           63:24-64:6                                          401, 402, 403, F, 602, I

           64:10-65:6                                          401, 402, 403, F, 602, I

                              65:7-9, 65:12-66:2, 66:5-6,
           66:7-67:10                                        401, 402, 403, F, 602, H, I
                                 72:12-20; 102:18-22

                              65:7-9, 65:12-66:2, 66:5-6,
                                                             401, 402, 403, F, 602, Spec,
          67:12-69:17         69:18-22, 70:7-15, 72:6-11,
                                                                       H, I, NT
                                       102:18-22

                                                             401, 402, 403, F, 602, Spec,
          72:21-73:15                  69:8-17
                                                                         H, I

                               60:4-6, 60:9-13, 69:8-17,
                                                             401, 402, 403, F, 602, 701,
          73:18-77:17         72:12-20, 77:18-78:3, 78:7-
                                                                     Spec, H, I
                                    13, 102:18-22

                                                             401, 402, 403, F, 602, 701,
           78:14-79:1                 79:2-80:8
                                                                    LC, H, I, P

                                                             401, 402, 403, F, 602, 701,
            80:9-20                   79:2-80:8
                                                                    LC, H, I, P

                                                             401, 402, 403, F, 602, 701,
           80:23-82:7              79:2-80:8, 85:4-7
                                                                    LC, H, I, P

                                                            401, 402, 403, F, 602, Spec, I,
           82:10-83:6                   85:4-7
                                                                          H



                                          3
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 429 of 555 PageID #: 57280




          Designation           Counter-Designation                  Objection

                                                           401, 402, 403, F, 602, Spec, I,
           83:9-84:5              84:6-85:3, 85:4-7
                                                                         H

            85:18-21              85:22-86:4, 86:7-8        401, 402, 403, H, I, F, Spec

           86:9-88:19             85:22-86:4, 86:7-8        401, 402, 403, H, I, F, Spec

           89:3-90:23                                        401, 402, 403, F, Spec, H

                              60:4-6, 60:9-13, 72:12-20,
           95:1-98:22                                       401, 402, 403, F, Spec, H, I
                                      102:18-22

           98:25-99:4                 102:18-22             401, 402, 403, F, Spec, H, I

                              60:4-6, 60:9-13, 72:12-20,
            99:6-11                                         401, 402, 403, F, Spec, H, I
                                      102:18-22

            99:14-23                  102:18-22             401, 402, 403, F, Spec, H, I

          99:25-100:7                 102:18-22             401, 402, 403, F, Spec, H, I

            100:9-14                   100:6-7                            I

           100:16-22                                                      I

         100:25-101:10                                                    I

           101:12-13                                                      I

                                                           401, 402, 403, F, Spec, H, N,
         103:13-105:24        110:16-23, 110:24-111:15
                                                                       S, I

                              105:25, 110:16-23, 110:24-   401, 402, 403, F, Spec, H, N,
            106:1-17
                                        111:15                         S, I

                                                           401, 402, 403, F, Spec, H, N,
          106:25-107:6
                                                                       S, I

          107:12-108:4        110:16-23, 110:24-111:15                  S, I

                               108:16-109:14, 110:6-9,
          109:15-110:5                                                  S, I
                              110:12-23, 110:24-111:15




                                          4
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 430 of 555 PageID #: 57281




    Description                                           Objections

    FEDERAL RULES OF EVIDENCE 401/402 (IRRELEVANT)        401, 402
    FEDERAL RULE OF EVIDENCE 403 (UNDULY                  403
    PREJUDICIAL, CONFUSING, MISLEADING,
    DELAY, AND/OR WASTE OF TIME)
    FEDERAL RULE OF EVIDENCE 602 (LACK OF PERSONAL        602
    KNOWLEDGE OR COMPETENCY)
    LACKS FOUNDATION                                      F
    CALLS FOR SPECULATION                                 Spec
    DESIGNATION INCOMPLETE / INCOMPREHENSIBLE             I
    / INCOMPLETE QUESTION / ANSWER
    VAGUE AND AMBIGUOUS                                   V
    IMPROPER / INCOMPLETE HYPOTHETICAL                    Hyp
    COMPOUND                                              C
    ASSUMES FACTS NOT IN EVIDENCE                         AF
    FEDERAL RULE OF EVIDENCE 408 (COMPROMISE OFFERS       408
    AND NEGOTIATIONS)
    FEDERAL RULE OF EVIDENCE 501 (PRIVILEGE)              P
    FEDERAL RULE OF EVIDENCE 611(C) (LEADING)             611
    IMPROPER LAY OPINION / IMPROPER                       701
    EXPERT TESTIMONY BY NON-EXPERT
    IMPROPER TESTIMONY BY EXPERT WITNESS                  702/703
    FEDERAL RULE OF EVIDENCE 802 (HEARSAY)                H
    FEDERAL RULE OF EVIDENCE 611(B) (BEYOND SCOPE OF
                                                          BSD
    DESIGNATIONS
    NOT TESTIMONY – INCLUDES ATTORNEY OBJECTIONS          NT
    AND/OR DISCUSSIONS BETWEEN ATTORNEYS
    BEYOND SCOPE OF 30(b)(6) NOTICE / QUESTIONS           S
    ARGUMENTATIVE                                         Arg
    MISCHARACTERIZATION                                   M
    CALLS FOR LEGAL CONCLUSION                            LC
    NON-RESPONSIVE                                        NR
    NARRATIVE                                             N




                                        5
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 431 of 555 PageID #: 57282




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

   SHURE INCORPORATED,                                )
                                                      )
                        and                           )    C.A. NO. 19-1343-RGA-CJB
                                                      )
   SHURE ACQUISITION HOLDINGS, INC.,                  )    JURY TRIAL DEMANDED
                                                      )
                        Plaintiffs,                   )
                                                      )
               v.                                     )
                                                      )
   CLEARONE, INC.,                                    )
                                                      )
                        Defendant.                    )

     PLAINTIFFS’ DEPOSITION DESIGNATIONS FOR JAMES SCHANZ (11/23/2020)

          Designation                    Counter-Designation                   Objection

             9:7-10

           10:3-16:2                                                        401, 402, 403, H

          16:11-17:17                                                         401, 402, 403

           18:24-19:4                      19:5-15, 20:10-14                     V, I, H

           20:23-21:4                           21:5-17                              I

                                                                      401, 402, 403, H, 602, F, S, I,
          21:18-23:14                     21:5-17, 23:16-24:13
                                                                                   NT

            25:6-13

                                      27:3-11, 27:13, 27:20-28:2,
           25:24-27:2                 28:5-7, 28:9-18, 28:21-30:1,         401, 402, 403, H, I
                                             30:4-13, 30:17

                                                                       401, 402, 403, 602, F, H, I,
          41:11-43:13                           43:14-24
                                                                                  NT

          43:25-44:21                  43:14-24, 54:7-24; 55:2-24,     401, 402, 403, 602, F, H, I
                                      55:2-14, 55:17-56:25, 57:3-9,
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 432 of 555 PageID #: 57283




          Designation           Counter-Designation                     Objection
                                57:25-59:10, 59:13-14,
                                   61:10-14, 61:17

                               47:9-24, 48:3-9, 54:7-24;
                                55:2-24, 55:2-14, 55:17-
           45:16-47:8                                         401, 402, 403, 602, F, H, NT
                              56:25, 57:3-9, 57:25-59:10,
                               59:13-14, 61:10-14, 61:17

                             51:10-13, 51:24-52:2, 57:25-
                                                              401, 402, 403, 602, F, H, V, I,
           48:19-51:9         59:10, 59:13-14, 61:10-14,
                                                                           NT
                                        61:17

                              53:11-16, 53:21-24; 54:1-5,
                                                               401, 402, 403, 602, F, H, I,
           52:3-53:10           57:25-59:10, 59:13-14,
                                                                          NT
                                   61:10-14, 61:17

                                57:25-59:10, 59:13-14,
            59:16-17                                                       V, I
                                   61:10-14, 61:17

                                57:25-59:10, 59:13-14,
          59:21-60:12                                          401, 402, 403, 602, F, H, I
                                   61:10-14, 61:17

                             61:10-14, 61:17, 62:18-63:1;
                              63:4-20; 64:11-65:5, 68:5-
                             69:2, 69:5, 73:9-74:1, 74:4-
           60:17-61:9                                         401, 402, 403, 602, F, H, V, I
                              12, 74:14-18, 75:22-76:7,
                              76:19-25, 77:2-10, 77:13-
                              78:8, 78:12-78:24, 79:2-3

           61:19-62:1               62:2-14, 62:16             401, 402, 403, 602, F, H, I

                             62:18-63:1; 63:4-20; 64:11-
            65:6-24          65:5, 65:25-66:1, 67:3, 68:5-     401, 402, 403, 602, F, H, I
                                      69:2, 69:5

                              43:14-24, 53:21-24; 54:1-5,
                               54:7-24; 55:2-24, 55:2-14,
                              55:17-56:25, 57:3-9, 57:25-
           69:7-70:14                                          401, 402, 403, 602, F, H, I
                                 59:10, 61:10-14, 61:17,
                             62:21-63:1, 63:4-63:20, 64:3-
                             9, 64:11-65:5, 68:5-69:2, 69:5

            71:8-23               71:24-72:7, 72:9-17          401, 402, 403, 602, F, H, I

           72:22-73:8        73:9-74:1, 74:4-12, 74:14-18      401, 402, 403, 602, F, H, I



                                           2
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 433 of 555 PageID #: 57284




          Designation           Counter-Designation                   Objection

                             75:22-76:7, 76:19-25, 77:2-
          74:24-75:20        10, 77:13-78:8, 78:12-78:24,    401, 402, 403, 602, F, H, I
                                        79:2-3

                               77:24-78:8, 78:12-78:24,
           79:5-80:4                                         401, 402, 403, 602, F, H, I
                                       79:2-3

                             82:15-22, 82:25-83:3, 83:14-
             80:6-9          16, 83:18-24, 84:1-3, 84:18-                  I
                                     23, 85:2-14

                             80:13, 82:15-22, 82:25-83:3,
            80:11-12         83:14-16, 83:18-24, 84:1-3,                   I
                                  84:18-23, 85:2-14

                             82:15-22, 82:25-83:3, 83:14-
            80:14-16         16, 83:18-24, 84:1-3, 84:18-                  I
                                     23, 85:2-14

                             82:15-22, 82:25-83:3, 83:14-
            80:19-20         16, 83:18-24, 84:1-3, 84:18-                  I
                                     23, 85:2-14

                             82:15-22, 82:25-83:3, 83:14-
            80:22-24         16, 83:18-24, 84:1-3, 84:18-                  I
                                     23, 85:2-14

                               85:16-19, 85:22-86:17,       401, 402, 403, 602, F, H, V, I,
            87:3-15
                                     86:19-87:1                          NT

            89:21-23

            90:6-10                                                       H

           91:4-95:5                                                      H

           95:7-96:19                                                     H

           96:21-97:6                                                     H

            97:8-19                                                      V, I

                               99:11-100:6, 100:18-20,
          97:21-99:10                                        401, 402, 403, 602, F, H, I
                                100:25-12, 102:12-15




                                          3
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 434 of 555 PageID #: 57285




          Designation           Counter-Designation                  Objection

                               99:11-100:6, 100:18-20,
           101:13-19         100:25-12, 102:12-15, 104:3-    401, 402, 403, 602, F, H, I
                                          10

            102:1-4                                                      I, V

            102:6-15                                                     I, V

           109:17-19                   109:21                401, 402, 403, 602, F, H, I

          109:25-110:5                 109:21                401, 402, 403, 602, F, H, I

            110:7-13                                          401, 402, 403, 602, F, H

           110:15-16                                          401, 402, 403, 602, F, H

           110:18-19                                          401, 402, 403, 602, F, H

           110:21-24                                        401, 402, 403, 602, F, H, I, V

            111:4-5                                           401, 402, 403, 602, F, H

            111:7-9                                           401, 402, 403, 602, F, H

           111:11-12                                          401, 402, 403, 602, F, H

           111:14-15                                          401, 402, 403, 602, F, H

           113:22-24

            122:3-18            121:11-17, 121:19-23                      I

          123:7-124:6               122:19-123:6                          I

          124:23-125:7                                                    H

           125:20-24                                                      H

            130:4-10             132:5-7, 132:10-12             401, 402, 403, NT, I

          130:16-131:4           132:5-7, 132:10-12              401, 402, 403, H, I

            131:6-12             132:5-7, 132:10-12            401, 402, 403, F, 602, I

                              131:20-23, 132:25-132:2,
           131:14-18                                           401, 402, 403, F, 602, I
                                 132:5-7, 132:10-12


                                          4
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 435 of 555 PageID #: 57286




          Designation           Counter-Designation                  Objection

          133:12-134:1                 134:2-3                            I

           134:12-20                                         401, 402, 403, H, V, I, NT

                               143:22-144:23, 144:25-
         147:22-150:20         146:16, 146:19-147:11,       401, 402, 403, H, 602, F, N, I
                              147:14-20, 150:21-151:11

           151:12-16                                              401, 402, 403, F

          151:19-152:7                                            401, 402, 403, F

          152:9-153:23       154:7-10, 154:19-22, 155:6-9        401, 402, 403, H, I

                             155:10-21, 155:23-25, 157:1-
            156:2-25                                             401, 402, 403, H, I
                                4, 157:6-14, 157:16-20

           157:22-24         157:1-4, 157:6-14, 157:16-20        401, 402, 403, H, I

            158:1-7          157:1-4, 157:6-14, 157:16-20        401, 402, 403, H, I

         158:15-159:12                158:9-14                   401, 402, 403, H, I

          163:13-164:7                                             401, 402, 403

            164:9-13                                             401, 402, 403, I, V

          164:15-165:5                165:6-10                    401, 402, 403, I

                             165:6-10, 165:19-20, 165:22-
           165:11-18                                              401, 402, 403, I
                                        166:12

                              166:21-167:9, 167:11-20,
          169:21-172:1                                        401, 402, 403, H, V, I, N
                                   168:16-169:20

                              166:21-167:9, 167:11-20,
          172:3-173:5                                         401, 402, 403, H, V, I, N
                                   168:16-169:20

                               177:10-13, 177:25-178:4,
                             189:2-10, 189:13-19, 189:22-
            177:4-9                                              401, 402, 403, H, I
                              190:1, 190:3-13, 190:16-22,
                                       190:24-14




                                          5
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 436 of 555 PageID #: 57287




          Designation           Counter-Designation                  Objection

                             189:2-10, 189:13-19, 189:22-
                                                            401, 402, 403, 602, F, 701, N,
          178:5-180:16        190:1, 190:3-13, 190:16-22,
                                                                        H, I
                                       190:24-14

                             189:2-10, 189:13-19, 189:22-
                                                            401, 402, 403, 602, F, 701, N,
         180:20-181:10        190:1, 190:3-13, 190:16-22,
                                                                        H, I
                                       190:24-14

                             189:2-10, 189:13-19, 189:22-
                                                            401, 402, 403, 602, F, 701, N,
           181:12-16          190:1, 190:3-13, 190:16-22,
                                                                        H, I
                                       190:24-14

                             189:2-10, 189:13-19, 189:22-
                                                            401, 402, 403, 602, F, 701, N,
         181:19-182:14        190:1, 190:3-13, 190:16-22,
                                                                        H, I
                                       190:24-14

                                                            401, 402, 403, 602, F, 701, N,
            183:1-3
                                                                          H

                                                            401, 402, 403, 602, F, 701, N,
           183:17-20              183:4-13, 183:15
                                                                        H, I

                              166:21-167:9, 167:11-20,      401, 402, 403, 602, F, 701, N,
          183:22-184:7
                                   168:16-169:20                        H, I

                              166:21-167:9, 167:11-20,
                                                            401, 402, 403, 602, F, 701, N,
           184:10-14          168:16-169:20, 187:1-15,
                                                                        H, I
                                     187:18-24

                              166:21-167:9, 167:11-20,
                                                            401, 402, 403, 602, F, 701, N,
         184:17-185:18        168:16-169:20, 187:1-15,
                                                                        H, I
                                     187:18-24

                              166:21-167:9, 167:11-20,
                                                            401, 402, 403, 602, F, 701, N,
         185:20-186:10        168:16-169:20, 187:1-15,
                                                                        H, I
                                     187:18-24

                              166:21-167:9, 167:11-20,
                                                            401, 402, 403, 602, F, 701, N,
            188:1-6           168:16-169:20, 187:1-15,
                                                                        H, I
                                     187:18-24

                              166:21-167:9, 167:11-20,
                                                            401, 402, 403, 602, F, 701, N,
            188:9-20          168:16-169:20, 187:1-15,
                                                                        H, I
                                     187:18-24



                                          6
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 437 of 555 PageID #: 57288




          Designation           Counter-Designation                  Objection

                              166:21-167:9, 167:11-20,
                                                            401, 402, 403, 602, F, 701, N,
          188:22-189:1        168:16-169:20, 187:1-15,
                                                                        H, I
                                     187:18-24

                             189:2-10, 189:13-19, 189:22-
                                                            401, 402, 403, 602, F, 701, H,
           191:15-21          190:1, 190:3-13, 190:16-22,
                                                                      NR, I, NT
                                       190:24-14

                             189:2-10, 189:13-19, 189:22-
                                                            401, 402, 403, 602, F, 701, H,
          191:23-192:3        190:1, 190:3-13, 190:16-22,
                                                                      NR, I, NT
                                       190:24-14

            192:5-10                                        401, 402, 403, 602, F, 701, H

          192:13-193:6                                      401, 402, 403, 602, F, 701, H

            193:8-10                                        401, 402, 403, 602, F, 701, H

           193:13-20                                        401, 402, 403, 602, F, 701, H

                             247:25-248:3, 248:5-249:11,     401, 402, 403, F, H, Spec,
         246:24-247:22
                                      250:8-13                         602, I

                             247:25-248:3, 248:5-249:11,    401, 402, 403, Spec, 602, F,
          249:12-250:7
                                      250:8-13                          H, I

                             247:25-248:3, 248:5-249:11,    401, 402, 403, Spec, 602, F,
           250:16-20
                                      250:8-13                          H, I

                             247:25-248:3, 248:5-249:11,    401, 402, 403, Spec, 602, F,
          250:23-251:4
                                      250:8-13                          H, I

          251:6-252:7                                                    NT

                                                            401, 402, 403, F, 602, Spec,
           255:17-19
                                                                         H

                                                            401, 402, 403, F, 602, Spec,
          255:22-256:5
                                                                         H

                                                            401, 402, 403, F, 602, Spec,
            256:7-8
                                                                         H

                                                            401, 402, 403, F, 602, Spec,
           256:12-18
                                                                         H



                                          7
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 438 of 555 PageID #: 57289




    Description                                           Objections

    FEDERAL RULES OF EVIDENCE 401/402 (IRRELEVANT)        401, 402
    FEDERAL RULE OF EVIDENCE 403 (UNDULY                  403
    PREJUDICIAL, CONFUSING, MISLEADING,
    DELAY, AND/OR WASTE OF TIME)
    FEDERAL RULE OF EVIDENCE 602 (LACK OF PERSONAL        602
    KNOWLEDGE OR COMPETENCY)
    LACKS FOUNDATION                                      F
    CALLS FOR SPECULATION                                 Spec
    DESIGNATION INCOMPLETE / INCOMPREHENSIBLE             I
    / INCOMPLETE QUESTION / ANSWER
    VAGUE AND AMBIGUOUS                                   V
    IMPROPER / INCOMPLETE HYPOTHETICAL                    Hyp
    COMPOUND                                              C
    ASSUMES FACTS NOT IN EVIDENCE                         AF
    FEDERAL RULE OF EVIDENCE 408 (COMPROMISE OFFERS       408
    AND NEGOTIATIONS)
    FEDERAL RULE OF EVIDENCE 501 (PRIVILEGE)              P
    FEDERAL RULE OF EVIDENCE 611(C) (LEADING)             611
    IMPROPER LAY OPINION / IMPROPER                       701
    EXPERT TESTIMONY BY NON-EXPERT
    IMPROPER TESTIMONY BY EXPERT WITNESS                  702/703
    FEDERAL RULE OF EVIDENCE 802 (HEARSAY)                H
    FEDERAL RULE OF EVIDENCE 611(B) (BEYOND SCOPE OF
                                                          BSD
    DESIGNATIONS
    NOT TESTIMONY – INCLUDES ATTORNEY OBJECTIONS          NT
    AND/OR DISCUSSIONS BETWEEN ATTORNEYS
    BEYOND SCOPE OF 30(b)(6) NOTICE / QUESTIONS           S
    ARGUMENTATIVE                                         Arg
    MISCHARACTERIZATION                                   M
    CALLS FOR LEGAL CONCLUSION                            LC
    NON-RESPONSIVE                                        NR
    NARRATIVE                                             N




                                        8
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 439 of 555 PageID #: 57290




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

   SHURE INCORPORATED,                           )
                                                 )
                        and                      )      C.A. NO. 19-1343-RGA-CJB
                                                 )
   SHURE ACQUISITION HOLDINGS, INC.,             )      JURY TRIAL DEMANDED
                                                 )
                        Plaintiffs,              )
                                                 )
               v.                                )
                                                 )
   CLEARONE, INC.,                               )
                                                 )
                        Defendant.               )

     PLAINTIFFS’ DEPOSITION DESIGNATIONS FOR JOHN SCHNIBBE (7/24/2020)

          Designation                 Counter-Designation               Objection

            7:15-8:2                                                  401, 402, 403

            8:5-9:25                                                 401, 402, 403, V

          11:21-12:11

          13:25-14:20                      13:21-24                      F, AF, I

            16:20-22                                                        V

           16:25-17:5

          17:25-19:23                     19:24-20:12                       I

           20:13-21:4                     19:24-20:12                      V, I

           21:7-22:13                                                       V

            22:20-23                                                     Spec, F

             23:1-5                                                     V, Spec, F

           23:9-24:6                                                        F

            24:8-19
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 440 of 555 PageID #: 57291




          Designation           Counter-Designation           Objection

                                   111:23-112:7
          25:15-26:22                                             I
                                     119:10-16

          26:24-27:12

            27:16-18

            28:16-19                                        AF, Spec, F, V

          28:23-30:17                                       AF, Spec, F, V

            31:13-21

            34:1-10

             35:5-9                                             Spec

            35:12-22                                         Spec, NT, I

            36:2-18                                             Spec

            37:14-17

            38:13-14                                              V

           38:17-39:4

           41:25-42:1

            42:12-19

           43:11-44:4

            44:6-12                                               V

            44:15-17

          44:20-45:16                45:17-23                     I

             46:5-8                   46:9-18                     I

          46:25-48:25                 46:9-18                    V, I

            49:3-23




                                        2
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 441 of 555 PageID #: 57292




          Designation           Counter-Designation           Objection

          50:22-52:23               52:24-53:6                    I

            53:7-14                 52:24-53:6                    I

          53:20-54:15                                             H

           54:23-55:9                                             H

             56:1-9

            56:12-20

            57:12-18                                              H

          58:22-59:24                                         Spec, F, H

             60:1-2                                               H

             60:5-7

            60:11-22                                          Spec, F, V

             61:1-3

            61:5-15                                               H

            61:21-24

             62:4-5                                           V, Spec, F

            62:9-16

           62:19-63:6

            69:7-24

            70:9-24                 70:25-71:3                    I

             71:4-5                 70:25-71:3                   V, I

            71:8-20

           71:25-72:8

           73:2-74:4



                                        3
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 442 of 555 PageID #: 57293




          Designation           Counter-Designation           Objection

            74:10-13                                            V, Hyp

            74:16-20                                              V

           74:23-75:1                                             V

           75:4-76:17

                                     76:22-24
            76:20-21                                               I
                                      77:2-3

                                     76:22-24
           77:4-78:2                                               I
                                      77:2-3

            78:6-12                                               V

            78:15-17                                              V

             78:20

            78:23-25                 78:21-22                    V, I

            79:3-12                                               V

            79:15-17                                              V

          79:20-80:20

           81:1-83:21

           83:24-84:9

           84:12-86:5

                                     88:20-22
           86:8-88:17                                    V, Hyp, NT, I, M, Arg
                                      89:1-2

                                     88:20-22
             89:3-5                                            V, Arg, I
                                      89:1-2

           89:8-90:20                  90:21                     NT, I

             90:25                                                 I



                                        4
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 443 of 555 PageID #: 57294




          Designation           Counter-Designation           Objection

             91:7-9

             91:11

           92:14-93:5

          94:13-101:10                                           Hyp

          102:25-103:5                                         401, 402

                                     105:11-13
          103:9-105:10                                             I
                                     105:20-22

           105:24-25               105:25-106:6               I, 401, 402

            106:7-9

           106:12-22                  107:1-6                      I

           107:15-17

          108:4-109:9                                          401, 402

         109:16-110:25

                                   111:23-112:7
            114:5-12                                               I
                                     119:10-16

            121:9-11

          121:20-123:6                                            F

           123:11-13                                              F

           123:16-21                                           F, I, NT

            124:1-15                                             F, V

           124:19-22




                                        5
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 444 of 555 PageID #: 57295




    Description                                           Objections

    FEDERAL RULES OF EVIDENCE 401/402 (IRRELEVANT)        401, 402
    FEDERAL RULE OF EVIDENCE 403 (UNDULY                  403
    PREJUDICIAL, CONFUSING, MISLEADING,
    DELAY, AND/OR WASTE OF TIME)
    FEDERAL RULE OF EVIDENCE 602 (LACK OF PERSONAL        602
    KNOWLEDGE OR COMPETENCY)
    LACKS FOUNDATION                                      F
    CALLS FOR SPECULATION                                 Spec
    DESIGNATION INCOMPLETE / INCOMPREHENSIBLE             I
    / INCOMPLETE QUESTION / ANSWER
    VAGUE AND AMBIGUOUS                                   V
    IMPROPER / INCOMPLETE HYPOTHETICAL                    Hyp
    COMPOUND                                              C
    ASSUMES FACTS NOT IN EVIDENCE                         AF
    FEDERAL RULE OF EVIDENCE 408 (COMPROMISE OFFERS       408
    AND NEGOTIATIONS)
    FEDERAL RULE OF EVIDENCE 501 (PRIVILEGE)              P
    FEDERAL RULE OF EVIDENCE 611(C) (LEADING)             611
    IMPROPER LAY OPINION / IMPROPER                       701
    EXPERT TESTIMONY BY NON-EXPERT
    IMPROPER TESTIMONY BY EXPERT WITNESS                  702/703
    FEDERAL RULE OF EVIDENCE 802 (HEARSAY)                H
    FEDERAL RULE OF EVIDENCE 611(B) (BEYOND SCOPE OF
                                                          BSD
    DESIGNATIONS
    NOT TESTIMONY – INCLUDES ATTORNEY OBJECTIONS          NT
    AND/OR DISCUSSIONS BETWEEN ATTORNEYS
    BEYOND SCOPE OF 30(b)(6) NOTICE / QUESTIONS           S
    ARGUMENTATIVE                                         Arg
    MISCHARACTERIZATION                                   M
    CALLS FOR LEGAL CONCLUSION                            LC



                                        6
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 445 of 555 PageID #: 57296




    NON-RESPONSIVE                                        NR
    NARRATIVE                                             N




                                        7
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 446 of 555 PageID #: 57297




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

   SHURE INCORPORATED,                                )
                                                      )
                        and                           )    C.A. NO. 19-1343-RGA-CJB
                                                      )
   SHURE ACQUISITION HOLDINGS, INC.,                  )    JURY TRIAL DEMANDED
                                                      )
                        Plaintiffs,                   )
                                                      )
               v.                                     )
                                                      )
   CLEARONE, INC.,                                    )
                                                      )
                        Defendant.                    )

      PLAINTIFFS’ DEPOSITION DESIGNATIONS FOR KEVIN SMITH (12/2/2020)

          Designation                    Counter-Designation                  Objection

            10:19-22

           12:10-14:1                  14:12-15, 16:24-17:1, 17:4                I, NT

                                      14:12-15, 14:21-15:4, 16:24-
            14:16-20                                                               I
                                               17:1, 17:4

                                      14:12-15, 14:21-15:4, 16:24-    401, 402, 403, 602, F, H, I,
           15:5-16:17
                                          17:1, 17:4, 24:8-14                    NT

                                       14:12-15, 16:24-17:1, 17:4,
                                       17:6-11, 18:14-16, 19:4-20,
                                       20:3-23:4, 23:7, 27:17-28:4,
                                        56:1-6, 56:17-57:13, 58:8-
                                         59:6, 116:2-5, 116:8-9,
                                                                      401, 402, 403, H, 602, Spec,
           38:7-42:24                   116:13-18, 155:25-156:2,
                                                                                F, I, NT
                                         156:11-157:17, 157:22-
                                       159:15, 160:3-6, 160:14-23,
                                       161:2-162:7, 162:12-163:8,
                                      163:14-20; 165:8-10, 165:13-
                                                    25

                                        156:11-157:17, 157:22-
           43:13-45:9                 159:15, 160:3-6, 160:14-23,                I, NT
                                      161:2-162:7, 162:12-163:8,
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 447 of 555 PageID #: 57298




          Designation           Counter-Designation                  Objection
                             163:14-20; 165:8-10, 165:13-
                                          25

                             17:6-11, 18:14-16, 19:4-20,
                             20:3-23:4, 23:7, 27:17-28:4,
                                                              401, 402, 403, H, 602, F,
          48:16-53:13         47:22-48:6, 56:1-6, 56:17-
                                                                Spec, 701, LC, I, NT
                               57:13, 58:8-59:6, 63:12-
                               64:19, 116:2-5, 116:8-9

                              17:6-11, 18:14-16, 19:4-20,
                                20:3-23:4, 23:7, 47:1-8,
                             80:25-81:6; 85:3-8, 85:11-18,
                                                              401, 402, 403, H, 602, F,
           81:7-85:2         85:21-24, 87:3-22, 215:10-13,
                                                                    Spec, I, NT
                              215:25-217:2, Luis Guerra
                               12/4/2020 Deposition at
                               37:15-38:12, 54:19-55:9.

                              17:6-11, 18:14-16, 19:4-20,
                              20:3-23:4, 23:7, 27:17-28:4,   401, 402, 403, H, N, 602, F,
           88:14-93:1
                               47:22-48:6, 56:1-6, 56:17-       Spec, 701, LC, I, NT
                             57:13, 58:8-59:6, 63:12-64:19

                              17:6-11, 18:14-16, 19:4-20,
                               20:3-23:4, 23:7, 85:11-18,
                              85:21-24, 87:3-22, 166:1-4,    401, 402, 403, F, 602, H, I,
          94:23-107:15
                             166:12-168:21, 169:3-170:2,                NT
                             176:20-23, 177:6-12, 177:15-
                                         179:9

                                17:6-11, 18:14-16, 19:4-
                              2020:3-23:4, 23:7, 116:2-5,
                             116:8-9, 116:13-22, 116:25-7,
                               118:22-25, 172:25-173:5,
          117:9-118:21         174:4-13; Joseph DiFalco         401, 402, 403, I, NT
                               11/20/2020 Deposition at
                              129:2-7, 129:11-17, 129:19-
                             130:9, 130:11-131:12, 227:6-
                                     9, 230:6-233:5

                               196:8-10, 197:8-198:25,
          123:23-126:6                                           Spec, F, 602, I, NT
                                      199:3-5

                               196:8-10, 197:8-198:25,
         127:13-128:17                                           Spec, F, 602, I, NT
                                      199:3-5



                                          2
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 448 of 555 PageID #: 57299




          Designation           Counter-Designation                    Objection

                                166:1-4, 166:12-168:21,
                              169:3-170:2, 172:25-173:5,
                              174:4-13, 176:20-23, 177:6-
                               12, 177:15-179:9, 206:23-
                                 207:19, 208:4-209:16,        401, 402, 403, Spec, F, 602,
          170:3-172:24
                             209:20-210:5, 210:10-211:10,                 H, I
                                212:2-4, 212:8-213:13,
                               236:21-24, 237:6-238:13,
                              239:3-240:5, 240:9-242:15,
                                     242:23-243:3

                             179:10-13, 180:3-19, 182:18-
                                183:7, 183:20-184:25,        401, 402, 403, Spec, F, 602, I,
          185:1-186:14
                               186:16-187:9, 187:19-21,                   NT
                              187:23-188:14, 188:18-20

                                                              401, 402, 403, Spec, F, 602,
         201:20-203:23              203:24-204:13
                                                                          H, I

                                203:24-204:13, 206:23-
                                 207:19, 208:4-209:16,
                             209:20-210:5, 210:10-211:10,
                                212:2-4, 212:8-213:13,
                               236:21-24, 237:6-238:13,       401, 402, 403, Spec, F, 602,
         204:17-206:22
                              239:3-240:5, 240:9-242:15,                  H, I
                                     242:23-243:3
                               I SHOULD COUNTER
                                  WITH N TRUST

                              57:7-8, 59:11-60:3, 60:5-7,
                             60:10, 60:13-61:23, 85:11-18,
                             85:21-24, 87:3-22, 196:8-10,
                                197:8-198:25, 199:3-5,
                             206:23-207:19, 208:4-209:16,     401, 402, 403, Spec, F, 602,
          232:7-236:2
                             209:20-210:5, 210:10-211:10,                 H, I
                                212:2-4, 212:8-213:13,
                               236:21-24, 237:6-238:13,
                              239:3-240:5, 240:9-242:15,
                                     242:23-243:3

                             14:12-15, 16:24-17:1, 17:4,
                             17:6-11, 18:14-16, 19:4-20,      401, 402, 403, Spec, F, 602,
          251:16-262:2
                             20:3-23:4, 23:7, 27:17-28:4,       H, 611, 701, N, I, LC, S
                              56:1-6, 56:17-57:13, 58:8-


                                          3
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 449 of 555 PageID #: 57300




          Designation           Counter-Designation                 Objection
                              59:6, 63:12-64:19, 116:2-5,
                             116:8-9, 116:13-18, 156:11-
                                157:17, 157:22-159:15,
                              160:3-6, 160:14-23, 161:2-
                             162:7, 162:12-163:8, 163:14-
                               20; 165:8-10, 165:13-25

                              14:12-15, 16:24-17:1, 17:4,
                              17:6-11, 18:14-16, 19:4-20,
                             20:3-23:4, 23:7, 27:17-28:4,
                               56:1-6, 56:17-57:13, 58:8-
                              59:6, 63:12-64:19, 116:2-5,   401, 402, 403, Spec, F, 602,
          263:1-280:6
                             116:8-9, 116:13-18, 156:11-       H, 701, S, I, LC, NT
                                157:17, 157:22-159:15,
                              160:3-6, 160:14-23, 161:2-
                             162:7, 162:12-163:8, 163:14-
                                20; 165:8-10, 165:13-25




                                          4
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 450 of 555 PageID #: 57301




    Description                                           Objections

    FEDERAL RULES OF EVIDENCE 401/402 (IRRELEVANT)        401, 402
    FEDERAL RULE OF EVIDENCE 403 (UNDULY                  403
    PREJUDICIAL, CONFUSING, MISLEADING,
    DELAY, AND/OR WASTE OF TIME)
    FEDERAL RULE OF EVIDENCE 602 (LACK OF PERSONAL        602
    KNOWLEDGE OR COMPETENCY)
    LACKS FOUNDATION                                      F
    CALLS FOR SPECULATION                                 Spec
    DESIGNATION INCOMPLETE / INCOMPREHENSIBLE             I
    / INCOMPLETE QUESTION / ANSWER
    VAGUE AND AMBIGUOUS                                   V
    IMPROPER / INCOMPLETE HYPOTHETICAL                    Hyp
    COMPOUND                                              C
    ASSUMES FACTS NOT IN EVIDENCE                         AF
    FEDERAL RULE OF EVIDENCE 408 (COMPROMISE OFFERS       408
    AND NEGOTIATIONS)
    FEDERAL RULE OF EVIDENCE 501 (PRIVILEGE)              P
    FEDERAL RULE OF EVIDENCE 611(C) (LEADING)             611
    IMPROPER LAY OPINION / IMPROPER                       701
    EXPERT TESTIMONY BY NON-EXPERT
    IMPROPER TESTIMONY BY EXPERT WITNESS                  702/703
    FEDERAL RULE OF EVIDENCE 802 (HEARSAY)                H
    FEDERAL RULE OF EVIDENCE 611(B) (BEYOND SCOPE OF
                                                          BSD
    DESIGNATIONS
    NOT TESTIMONY – INCLUDES ATTORNEY OBJECTIONS          NT
    AND/OR DISCUSSIONS BETWEEN ATTORNEYS
    BEYOND SCOPE OF 30(b)(6) NOTICE / QUESTIONS           S
    ARGUMENTATIVE                                         Arg
    MISCHARACTERIZATION                                   M
    CALLS FOR LEGAL CONCLUSION                            LC
    NON-RESPONSIVE                                        NR
    NARRATIVE                                             N




                                        5
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 451 of 555 PageID #: 57302




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

   SHURE INCORPORATED,                            )
                                                  )
                        and                       )   C.A. NO. 19-1343-RGA-CJB
                                                  )
   SHURE ACQUISITION HOLDINGS, INC.,              )   JURY TRIAL DEMANDED
                                                  )
                        Plaintiffs,               )
                                                  )
               v.                                 )
                                                  )
   CLEARONE, INC.,                                )
                                                  )
                        Defendant.                )

     PLAINTIFFS’ DEPOSITION DESIGNATIONS FOR JASON STAPLES (6/10/2020)

          Designation                 Counter-Designation              Objection

             9:5-18

          11:14-14:23

           25:3-26:18                   26:19-25; 27:1-9                 NT, I

           27:10-28:4                   26:19-25; 27:1-9                 NT, I

           29:4-36:16

           39:12-40:6                                                    AF, F

          40:17-42:24                                             611; NT; V, S, Spec

           43:1-45:10                                               NT; V; Spec, S

            45:12-24                                                Spec, S, V; NT

           46:2-52:22                                          Spec, S; V; F, AF; NT; Hyp
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 452 of 555 PageID #: 57303




    Description                                           Objections

    FEDERAL RULES OF EVIDENCE 401/402 (IRRELEVANT)        401, 402
    FEDERAL RULE OF EVIDENCE 403 (UNDULY                  403
    PREJUDICIAL, CONFUSING, MISLEADING,
    DELAY, AND/OR WASTE OF TIME)
    FEDERAL RULE OF EVIDENCE 602 (LACK OF PERSONAL        602
    KNOWLEDGE OR COMPETENCY)
    LACKS FOUNDATION                                      F
    CALLS FOR SPECULATION                                 Spec
    DESIGNATION INCOMPLETE / INCOMPREHENSIBLE             I
    / INCOMPLETE QUESTION / ANSWER
    VAGUE AND AMBIGUOUS                                   V
    IMPROPER / INCOMPLETE HYPOTHETICAL                    Hyp
    COMPOUND                                              C
    ASSUMES FACTS NOT IN EVIDENCE                         AF
    FEDERAL RULE OF EVIDENCE 408 (COMPROMISE OFFERS       408
    AND NEGOTIATIONS)
    FEDERAL RULE OF EVIDENCE 501 (PRIVILEGE)              P
    FEDERAL RULE OF EVIDENCE 611(C) (LEADING)             611
    IMPROPER LAY OPINION / IMPROPER                       701
    EXPERT TESTIMONY BY NON-EXPERT
    IMPROPER TESTIMONY BY EXPERT WITNESS                  702/703
    FEDERAL RULE OF EVIDENCE 802 (HEARSAY)                H
    FEDERAL RULE OF EVIDENCE 611(B) (BEYOND SCOPE OF
                                                          BSD
    DESIGNATIONS
    NOT TESTIMONY – INCLUDES ATTORNEY OBJECTIONS          NT
    AND/OR DISCUSSIONS BETWEEN ATTORNEYS
    BEYOND SCOPE OF 30(b)(6) NOTICE / QUESTIONS           S
    ARGUMENTATIVE                                         Arg
    MISCHARACTERIZATION                                   M
    CALLS FOR LEGAL CONCLUSION                            LC
    NON-RESPONSIVE                                        NR
    NARRATIVE                                             N




                                        2
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 453 of 555 PageID #: 57304




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

   SHURE INCORPORATED,                                 )
                                                       )
                        and                            )    C.A. NO. 19-1343-RGA-CJB
                                                       )
   SHURE ACQUISITION HOLDINGS, INC.,                   )    JURY TRIAL DEMANDED
                                                       )
                        Plaintiffs,                    )
                                                       )
               v.                                      )
                                                       )
   CLEARONE, INC.,                                     )
                                                       )
                        Defendant.                     )

      PLAINTIFFS’ DEPOSITION DESIGNATIONS FOR EDGAR THURMOND, JR.
                                 (12/8/2020)

          Designation                    Counter-Designation                    Objection

             8:4-9                    34:12-21, 35:2-38:14, 38:17                    I

                                       18:14-15, 18:18-19, 19:2-9,
           11:1-18:13                 19:12-20, 19:24-20:2, 20:5-8,    V, NT, Spec, 401, 402, 403, I
                                       34:12-21, 35:2-38:14, 38:17

          30:16-34:11                 34:12-21, 35:2-38:14, 38:17           I, NT, F, V, C, 602

                                      34:12-21, 35:2-38:14, 38:17,
           38:18-39:5                 47:2-8, 47:11, 51:4-20, 51:23,                 I
                                           102:20-103:5, 103:9

                                      34:12-21, 35:2-38:14, 38:17,
                                      47:2-8, 47:11, 51:4-20, 51:23,   I, Spec, NT, V, AF, M, 401,
           40:16-47:1
                                      102:20-103:5, 103:9, 130:5-7,              402, 403
                                                130:10-21

                                      47:2-8, 47:11, 51:4-20, 51:23,
           47:12-51:3                 102:20-103:5, 103:9, 130:5-7, I, Spec, NT, M, 401, 402, 403
                                                130:10-21

                                      47:2-8, 47:11, 51:4-20, 51:23,
            52:4-21                                                      I, NT, V, 401, 402, 403
                                           130:5-7, 130:10-21
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 454 of 555 PageID #: 57305




           Designation          Counter-Designation                     Objection

                             19:2-9, 19:12-20, 19:24-20:2,     I, Spec, Hyp, V, NT, 401,
           53:13-57:11
                                        20:5-8                          402, 403

                             67:17-68:9, 68:12, 68:18-22,    I, NT, Spec, V, 401, 402, 403,
           65:20-67:16
                                69:1, 69:4-6, 69:9-22                     701

                             67:17-68:9, 68:12, 68:18-22,
             68:13-17                                               I, 401, 402, 403
                                69:1, 69:4-6, 69:9-22

                               74:21-75:11, 75:23-76:8,
                             76:14-24, 77:7-78:12, 78:22-
                             80:1, 80:13-81:15, 84:13-23,
                                                             I, NT, LC, V, Spec, 401, 402,
           104:19-107:8      85:2-21, 87:19-21, 107:9-21,
                                                                         403
                             108:1-4, 108:7-21, 109:1-17,
                               109:20-110:4, 110:7-11,
                             112:4-12, 130:5-7, 130:10-21

                               74:21-75:11, 75:23-76:8,
                             76:14-24, 77:7-78:12, 78:22-
                             80:1, 80:13-81:15, 84:13-23,
                                                              I, NT, F, V, Spec, 401, 402,
           110:22-112:3      85:2-21, 87:19-21, 107:9-21,
                                                                          403
                             108:1-4, 108:7-21, 109:1-17,
                               109:20-110:4, 110:7-11,
                             112:4-12, 130:5-7, 130:10-21


    Description                                                  Objections

    FEDERAL RULES OF EVIDENCE 401/402 (IRRELEVANT)                401, 402
    FEDERAL RULE OF EVIDENCE 403 (UNDULY                          403
    PREJUDICIAL, CONFUSING, MISLEADING,
    DELAY, AND/OR WASTE OF TIME)
    FEDERAL RULE OF EVIDENCE 602 (LACK OF PERSONAL                602
    KNOWLEDGE OR COMPETENCY)
    LACKS FOUNDATION                                              F
    CALLS FOR SPECULATION                                         Spec
    DESIGNATION INCOMPLETE / INCOMPREHENSIBLE                     I
    / INCOMPLETE QUESTION / ANSWER
    VAGUE AND AMBIGUOUS                                           V
    IMPROPER / INCOMPLETE HYPOTHETICAL                            Hyp
    COMPOUND                                                      C
    ASSUMES FACTS NOT IN EVIDENCE                                 AF



                                          2
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 455 of 555 PageID #: 57306




    FEDERAL RULE OF EVIDENCE 408 (COMPROMISE OFFERS       408
    AND NEGOTIATIONS)
    FEDERAL RULE OF EVIDENCE 501 (PRIVILEGE)              P
    FEDERAL RULE OF EVIDENCE 611(C) (LEADING)             611
    IMPROPER LAY OPINION / IMPROPER                       701
    EXPERT TESTIMONY BY NON-EXPERT
    IMPROPER TESTIMONY BY EXPERT WITNESS                  702/703
    FEDERAL RULE OF EVIDENCE 802 (HEARSAY)                H
    FEDERAL RULE OF EVIDENCE 611(B) (BEYOND SCOPE OF
                                                          BSD
    DESIGNATIONS
    NOT TESTIMONY – INCLUDES ATTORNEY OBJECTIONS          NT
    AND/OR DISCUSSIONS BETWEEN ATTORNEYS
    BEYOND SCOPE OF 30(b)(6) NOTICE / QUESTIONS           S
    ARGUMENTATIVE                                         Arg
    MISCHARACTERIZATION                                   M
    CALLS FOR LEGAL CONCLUSION                            LC
    NON-RESPONSIVE                                        NR
    NARRATIVE                                             N




                                        3
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 456 of 555 PageID #: 57307




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

   SHURE INCORPORATED,                              )
                                                    )
                        and                         )   C.A. NO. 19-1343-RGA-CJB
                                                    )
   SHURE ACQUISITION HOLDINGS, INC.,                )   JURY TRIAL DEMANDED
                                                    )
                        Plaintiffs,                 )
                                                    )
               v.                                   )
                                                    )
   CLEARONE, INC.,                                  )
                                                    )
                        Defendant.                  )

   PLAINTIFFS’ DEPOSITION DESIGNATIONS FOR DARRIN THURSTON (12/9/2020)

          Designation                 Counter-Designation                Objection

           5:23-6:11                                                      403, NT

           7:22-10:24                    119:18-120:9                         I

            11:7-17                       11:18-12:1                          I

            12:5-15                        12:16-22                           I

           12:23-13:5                      12:16-22                           I

           14:15-15:5

            17:21-24

              18:2

            18:5-15                          18:4                        I, 401, 402

             18:18                                                       I, 401, 402

                                                                 401, 402, 403, 701, F, Spec,
            19:8-11
                                                                              V

                                                                 401, 402, 403, 701, F, Spec,
             19:15
                                                                              V
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 457 of 555 PageID #: 57308




          Designation           Counter-Designation            Objection

            19:21-24               119:18-120:9               401, 402, V, I

              20:2                 119:18-120:9               401, 402, V, I

             20:4-5                119:18-120:9               401, 402, V, I

              20:7                 119:18-120:9               401, 402, V, I

            22:10-13               117:23-118:12      401, 402, Spec, V, 602, 701, I

             22:17                 117:23-118:12             401, 402, 602, I

            22:19-24               117:23-118:12             401, 402, 602, I

          26:16-27:17                                           401, 402

             27:20                                              401, 402

            28:9-13                                             401, 402

             28:15                                              401, 402

            28:17-19                                       401, 402, 611, 701

             28:22                                         401, 402, 611, 701

            30:12-14                                        V, 401, 402, 403

           30:16-31:1                                       V, 401, 402, 403

            38:2-12                119:18-120:9                Spec, V, I

            38:14-15               119:18-120:9            V, 401, 402, 403, I

             38:17                 119:18-120:9            V, 401, 402, 403, I

           88:7-89:22                                         611, Spec, C

            110:24                                                  I

           111:11-16                                            401, 402

          111:22-112:3                                          401, 402

           112:15-24                                           V, 401, 402



                                        2
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 458 of 555 PageID #: 57309




           Designation          Counter-Designation             Objection

             113:6-12                                           V, 401, 402


    Description                                           Objections

    FEDERAL RULES OF EVIDENCE 401/402 (IRRELEVANT)        401, 402
    FEDERAL RULE OF EVIDENCE 403 (UNDULY                  403
    PREJUDICIAL, CONFUSING, MISLEADING,
    DELAY, AND/OR WASTE OF TIME)
    FEDERAL RULE OF EVIDENCE 602 (LACK OF PERSONAL        602
    KNOWLEDGE OR COMPETENCY)
    LACKS FOUNDATION                                      F
    CALLS FOR SPECULATION                                 Spec
    DESIGNATION INCOMPLETE / INCOMPREHENSIBLE             I
    / INCOMPLETE QUESTION / ANSWER
    VAGUE AND AMBIGUOUS                                   V
    IMPROPER / INCOMPLETE HYPOTHETICAL                    Hyp
    COMPOUND                                              C
    ASSUMES FACTS NOT IN EVIDENCE                         AF
    FEDERAL RULE OF EVIDENCE 408 (COMPROMISE OFFERS       408
    AND NEGOTIATIONS)
    FEDERAL RULE OF EVIDENCE 501 (PRIVILEGE)              P
    FEDERAL RULE OF EVIDENCE 611(C) (LEADING)             611
    IMPROPER LAY OPINION / IMPROPER                       701
    EXPERT TESTIMONY BY NON-EXPERT
    IMPROPER TESTIMONY BY EXPERT WITNESS                  702/703
    FEDERAL RULE OF EVIDENCE 802 (HEARSAY)                H
    FEDERAL RULE OF EVIDENCE 611(B) (BEYOND SCOPE OF
                                                          BSD
    DESIGNATIONS
    NOT TESTIMONY – INCLUDES ATTORNEY OBJECTIONS          NT
    AND/OR DISCUSSIONS BETWEEN ATTORNEYS
    BEYOND SCOPE OF 30(b)(6) NOTICE / QUESTIONS           S
    ARGUMENTATIVE                                         Arg
    MISCHARACTERIZATION                                   M
    CALLS FOR LEGAL CONCLUSION                            LC
    NON-RESPONSIVE                                        NR
    NARRATIVE                                             N




                                        3
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 459 of 555 PageID #: 57310




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

   SHURE INCORPORATED,                               )
                                                     )
                        and                          )    C.A. NO. 19-1343-RGA-CJB
                                                     )
   SHURE ACQUISITION HOLDINGS, INC.,                 )    JURY TRIAL DEMANDED
                                                     )
                        Plaintiffs,                  )
                                                     )
               v.                                    )
                                                     )
   CLEARONE, INC.,                                   )
                                                     )
                        Defendant.                   )

    PLAINTIFFS’ DEPOSITION DESIGNATIONS FOR SHANE TUNNELL (11/10/2020)

          Designation                   Counter-Designation                  Objection

                                      60:22-61:7; 67:15-22; 70:5-
            9:12-17                                                              I
                                      12; 70:22-71:22; 72:14-74:9

                                      60:22-61:7; 67:15-22; 70:5-
           10:20-11:5                                                            I
                                      12; 70:22-71:22; 72:14-74:9

                                      60:22-61:7; 67:15-22; 70:5-
          11:12-14:12                                                            I
                                      12; 70:22-71:22; 72:14-74:9

                                      60:22-61:7; 67:15-22; 70:5-
            14:23-24                                                             I
                                      12; 70:22-71:22; 72:14-74:9

                                      60:22-61:7; 67:15-22; 70:5-
           15:4-18:20                                                            I
                                      12; 70:22-71:22; 72:14-74:9

          18:24-20:11                                                F; 701; H; Spec; 602; V; N

                                                                    701; H; Spec; 602; V; N; NR;
           20:20-24:7
                                                                               F; AF

           24:10-25:3                                                F; AF; V; Hyp; Spec; 701

           25:12-26:2                                                    V; Spec; 701; Hyp

            26:4-19                                                      V; Spec; 701; Hyp
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 460 of 555 PageID #: 57311




          Designation           Counter-Designation            Objection

          26:21-27:15                                      V; Spec; 701; Hyp

          27:17-28:25               91:21-92:1            V; Spec; 701; Hyp; I

          29:11-30:23                                     V; Spec; 602; H; 701

           31:1-32:16                                    V; Spec; 602; 701; LC

            33:3-18

            33:20-22

          34:12-35:21                                    H; 701; 602; Spec; LC

           35:23-36:1                                    701; 602; Spec; LC; H

                                                       701; 602; Spec; LC; H; NR;
           36:3-38:4
                                                                 801; V

           38:6-39:7                                       801; V; 602; Spec

            39:9-14                                        801; V; 602; Spec

            39:16-21                                       801; 602; Spec; V

           39:23-40:4               91:21-92:1            801; 602; Spec; V; I

             40:6-7                 91:21-92:1                    V; I

          40:10-41:11               91:21-92:1             H; V; Spec; 602; I

          41:13-42:19               91:21-92:1          H; Spec; 602; LC; 701; I

          42:21-43:14               91:21-92:1          H; Spec; 602; LC; 701; I

           43:16-44:9               91:21-92:1          Spec; 602; LC; 701; H; I

                                                       Spec; 602; LC; 701; H; NT;
           44:11-51:3               91:21-92:1
                                                               N; V; AF; I

           51:21-54:5                                   H; Spec; 602; 701; V; LC

            54:7-22                                      Spec; 602; V; NR; 701

           55:8-56:16                                    H; Spec; 602; 701; LC



                                        2
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 461 of 555 PageID #: 57312




           Designation          Counter-Designation             Objection

            56:18-57:3                                  Spec; 602; 701; LC; NT

            57:6-58:16                                 H; Spec; 602; 701; LC; NT

             58:18-22                                     Spec; 602; 701; LC

              58:24                                       Spec; 602; 701; LC


    Description                                           Objections

    FEDERAL RULES OF EVIDENCE 401/402 (IRRELEVANT)        401, 402
    FEDERAL RULE OF EVIDENCE 403 (UNDULY                  403
    PREJUDICIAL, CONFUSING, MISLEADING,
    DELAY, AND/OR WASTE OF TIME)
    FEDERAL RULE OF EVIDENCE 602 (LACK OF PERSONAL        602
    KNOWLEDGE OR COMPETENCY)
    LACKS FOUNDATION                                      F
    CALLS FOR SPECULATION                                 Spec
    DESIGNATION INCOMPLETE / INCOMPREHENSIBLE             I
    / INCOMPLETE QUESTION / ANSWER
    VAGUE AND AMBIGUOUS                                   V
    IMPROPER / INCOMPLETE HYPOTHETICAL                    Hyp
    COMPOUND                                              C
    ASSUMES FACTS NOT IN EVIDENCE                         AF
    FEDERAL RULE OF EVIDENCE 408 (COMPROMISE OFFERS       408
    AND NEGOTIATIONS)
    FEDERAL RULE OF EVIDENCE 501 (PRIVILEGE)              P
    FEDERAL RULE OF EVIDENCE 611(C) (LEADING)             611
    IMPROPER LAY OPINION / IMPROPER                       701
    EXPERT TESTIMONY BY NON-EXPERT
    IMPROPER TESTIMONY BY EXPERT WITNESS                  702/703
    FEDERAL RULE OF EVIDENCE 802 (HEARSAY)                H
    FEDERAL RULE OF EVIDENCE 611(B) (BEYOND SCOPE OF
                                                          BSD
    DESIGNATIONS
    NOT TESTIMONY – INCLUDES ATTORNEY OBJECTIONS          NT
    AND/OR DISCUSSIONS BETWEEN ATTORNEYS
    BEYOND SCOPE OF 30(b)(6) NOTICE / QUESTIONS           S
    ARGUMENTATIVE                                         Arg
    MISCHARACTERIZATION                                   M
    CALLS FOR LEGAL CONCLUSION                            LC



                                        3
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 462 of 555 PageID #: 57313




    NON-RESPONSIVE                                        NR
    NARRATIVE                                             N




                                        4
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 463 of 555 PageID #: 57314




                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

   SHURE INCORPORATED,                                  )
                                                        )
                          and                           )   C.A. NO. 19-1343-RGA-CJB
                                                        )
   SHURE ACQUISITION HOLDINGS, INC.,                    )   JURY TRIAL DEMANDED
                                                        )
                          Plaintiffs,                   )
                                                        )
                  v.                                    )
                                                        )
   CLEARONE, INC.,                                      )
                                                        )
                          Defendant.                    )

   PLAINTIFFS’ DEPOSITION DESIGNATIONS FOR TIMOTHY VALLEY (11/17/2020)

           Designation                     Counter-Designation                    Objection

              6:8-13

                                         113:21-114:10; 114:16-25;
                                         115:3-7; 115:9-16; 117:4-
           265:1-266:24                                                       611, Spec, NT, I
                                        118:22, 118:24-119:6, 119:8-
                                           11, 119:13-21, 121:2-6

                                         113:21-114:10; 114:16-25;
                                         115:3-7; 115:9-16; 117:4-     I, F, Spec, 401, 402, 403, 611,
           267:1-269:11
                                        118:22, 118:24-119:6, 119:8-            M, C, L, LC
                                           11, 119:13-21, 121:2-6


    Description                                                             Objections

    FEDERAL RULES OF EVIDENCE 401/402 (IRRELEVANT)                          401, 402
    FEDERAL RULE OF EVIDENCE 403 (UNDULY                                    403
    PREJUDICIAL, CONFUSING, MISLEADING,
    DELAY, AND/OR WASTE OF TIME)
    FEDERAL RULE OF EVIDENCE 602 (LACK OF PERSONAL                          602
    KNOWLEDGE OR COMPETENCY)
    LACKS FOUNDATION                                                        F
    CALLS FOR SPECULATION                                                   Spec
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 464 of 555 PageID #: 57315




    DESIGNATION INCOMPLETE / INCOMPREHENSIBLE             I
    / INCOMPLETE QUESTION / ANSWER
    VAGUE AND AMBIGUOUS                                   V
    IMPROPER / INCOMPLETE HYPOTHETICAL                    Hyp
    COMPOUND                                              C
    ASSUMES FACTS NOT IN EVIDENCE                         AF
    FEDERAL RULE OF EVIDENCE 408 (COMPROMISE OFFERS       408
    AND NEGOTIATIONS)
    FEDERAL RULE OF EVIDENCE 501 (PRIVILEGE)              P
    FEDERAL RULE OF EVIDENCE 611(C) (LEADING)             611
    IMPROPER LAY OPINION / IMPROPER                       701
    EXPERT TESTIMONY BY NON-EXPERT
    IMPROPER TESTIMONY BY EXPERT WITNESS                  702/703
    FEDERAL RULE OF EVIDENCE 802 (HEARSAY)                H
    FEDERAL RULE OF EVIDENCE 611(B) (BEYOND SCOPE OF
                                                          BSD
    DESIGNATIONS
    NOT TESTIMONY – INCLUDES ATTORNEY OBJECTIONS          NT
    AND/OR DISCUSSIONS BETWEEN ATTORNEYS
    BEYOND SCOPE OF 30(b)(6) NOTICE / QUESTIONS           S
    ARGUMENTATIVE                                         Arg
    MISCHARACTERIZATION                                   M
    CALLS FOR LEGAL CONCLUSION                            LC
    NON-RESPONSIVE                                        NR
    NARRATIVE                                             N




                                        2
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 465 of 555 PageID #: 57316




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

   SHURE INCORPORATED,                                )
                                                      )
                        and                           )    C.A. NO. 19-1343-RGA-CJB
                                                      )
   SHURE ACQUISITION HOLDINGS, INC.,                  )    JURY TRIAL DEMANDED
                                                      )
                        Plaintiffs,                   )
                                                      )
               v.                                     )
                                                      )
   CLEARONE, INC.,                                    )
                                                      )
                        Defendant.                    )

    PLAINTIFFS’ DEPOSITION DESIGNATIONS FOR MICHAEL WILSON (6/23/2020)

          Designation                    Counter-Designation                  Objection

           7:17-10:4                                                            V, NT

          10:14-12:22                                                    S, 401, 402, 403, NT

            14:3-17                        14:18-20, 15:4-10             S, V, F, Hyp, Spec, I

             15:2-3                        14:18-20, 15:4-10                     S, I, F

                                       30:9-19, 31:14-15, 31:17,       S, F, 602, Spec, 401, 402,
          15:16-16:11
                                          31:19-21, 32:3-10                    403, V, I

                                       30:9-19, 31:14-15, 31:17,
           17:18-18:6                                                    S, V, 401, 402, 403, I
                                          31:19-21, 32:3-10

          18:13-21:14                      21:22-22:2, 22:4-6           S, 401, 402, 403, I, NT

                                      72:19-73:16, 73:21-22, 74:4-
                                                                       V, NT, N, C, M, 401, 402,
           22:8-27:12                   10, 82:14-17, 83:1-85:1,
                                                                               403, H, I
                                                 85:3-5

                                         40:19-41:11, 41:14-16,
                                       41:18-22, 53:1-4, 82:14-17,    S, NT, V, 401, 402, 403, LC,
          43:14-52:22                   83:1-85:1, 85:3-5; 85:12-         F, Spec, 602, M, H, I
                                        87:2, 87:3-7, 87:11-88:15,
                                      88:21-89:1, 89:4-19, 90:9-11,
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 466 of 555 PageID #: 57317




          Designation           Counter-Designation                 Objection
                                90:14-91:10, 91:12-13,
                                      92:16-94:7

                                40:19-41:11, 41:14-16,
                             41:18-22, 61:19-20, 62:2-11,
                              63:4-9, 63:11-64:3, 64:6-7,
                             82:14-17, 83:1-85:1, 85:3-5,
          53:15-58:19                                        NT, 401, 402, 403, S, V, I
                              85:12-87:2, 87:3-7, 87:11-
                              88:15, 88:21-89:1, 89:4-19,
                             90:9-11, 90:14-91:10, 91:12-
                                    13, 92:16-94:7

                                40:19-41:11, 41:14-16,
                                41:18-22, 72:19-73:16,
                             73:21-22, 74:4-10, 82:14-17,
                               83:1-85:1, 85:3-5, 85:12-
          64:13-72:17                                          NT, 401, 402, 403, I
                              87:2, 87:3-7, 87:11-88:15,
                             88:21-89:1, 89:4-19, 90:9-11,
                                90:14-91:10, 91:12-13,
                                      92:16-94:7

                             35:6-36:21, 37:1-9, 37:12-19,
                                40:19-41:11, 41:14-16,
            74:19-22         41:18-22, 74:11-13, 76:15-18,        401, 402, 403, I
                              82:14-17, 83:1-85:1, 85:3-5,
                                85:12-87:2, 92:16-94:7

                             35:6-36:21, 37:1-9, 37:12-19,
                                40:19-41:11, 41:14-16,
                             41:18-22, 74:11-13, 76:15-18,
           77:1-79:11                                             401, 402, 403, I
                             80:13-20, 81:1-2, 81:11-82:8,
                              82:14-17, 83:1-85:1, 85:3-5,
                                85:12-87:2, 92:16-94:7

                             35:6-36:21, 37:1-9, 37:12-19,
                                40:19-41:11, 41:14-16,
                              41:18-22, 80:13-20, 81:1-2,
                              81:11-82:8, 82:14-17, 83:1-
            80:2-12                                               401, 402, 403, I
                               85:1, 85:3-5, 85:12-87:2,
                               87:11-88:15, 88:21-89:1,
                               89:4-19, 90:9-11, 90:14-
                              91:10, 91:12-13, 92:16-94:7

            80:21-22         35:6-36:21, 37:1-9, 37:12-19,        401, 402, 403, I
                                40:19-41:11, 41:14-16,


                                          2
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 467 of 555 PageID #: 57318




           Designation          Counter-Designation                Objection
                              41:18-22, 80:13-20, 81:1-2,
                              81:11-82:8, 82:14-17, 83:1-
                               85:1, 85:3-5, 85:12-87:2,
                                      92:16-94:7

                             35:6-36:21, 37:1-9, 37:12-19,
                             80:13-20, 81:1-2, 81:11-82:8,
              81:3-9                                          401, 402, 403, I
                              82:14-17, 83:1-85:1, 85:3-5,
                                      85:12-87:2
    Description                                              Objections

    FEDERAL RULES OF EVIDENCE 401/402 (IRRELEVANT)           401, 402
    FEDERAL RULE OF EVIDENCE 403 (UNDULY                     403
    PREJUDICIAL, CONFUSING, MISLEADING,
    DELAY, AND/OR WASTE OF TIME)
    FEDERAL RULE OF EVIDENCE 602 (LACK OF PERSONAL           602
    KNOWLEDGE OR COMPETENCY)
    LACKS FOUNDATION                                         F
    CALLS FOR SPECULATION                                    Spec
    DESIGNATION INCOMPLETE / INCOMPREHENSIBLE                I
    / INCOMPLETE QUESTION / ANSWER
    VAGUE AND AMBIGUOUS                                      V
    IMPROPER / INCOMPLETE HYPOTHETICAL                       Hyp
    COMPOUND                                                 C
    ASSUMES FACTS NOT IN EVIDENCE                            AF
    FEDERAL RULE OF EVIDENCE 408 (COMPROMISE OFFERS          408
    AND NEGOTIATIONS)
    FEDERAL RULE OF EVIDENCE 501 (PRIVILEGE)                 P
    FEDERAL RULE OF EVIDENCE 611(C) (LEADING)                611
    IMPROPER LAY OPINION / IMPROPER                          701
    EXPERT TESTIMONY BY NON-EXPERT
    IMPROPER TESTIMONY BY EXPERT WITNESS                     702/703
    FEDERAL RULE OF EVIDENCE 802 (HEARSAY)                   H
    FEDERAL RULE OF EVIDENCE 611(B) (BEYOND SCOPE OF
                                                             BSD
    DESIGNATIONS
    NOT TESTIMONY – INCLUDES ATTORNEY OBJECTIONS             NT
    AND/OR DISCUSSIONS BETWEEN ATTORNEYS
    BEYOND SCOPE OF 30(b)(6) NOTICE / QUESTIONS              S
    ARGUMENTATIVE                                            Arg
    MISCHARACTERIZATION                                      M
    CALLS FOR LEGAL CONCLUSION                               LC



                                          3
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 468 of 555 PageID #: 57319




    NON-RESPONSIVE                                        NR
    NARRATIVE                                             N




                                        4
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 469 of 555 PageID #: 57320




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

   SHURE INCORPORATED,                           )
                                                 )
                        and                      )     C.A. NO. 19-1343-RGA-CJB
                                                 )
   SHURE ACQUISITION HOLDINGS, INC.,             )     JURY TRIAL DEMANDED
                                                 )
                        Plaintiffs,              )
                                                 )
               v.                                )
                                                 )
   CLEARONE, INC.,                               )
                                                 )
                        Defendant.               )

       PLAINTIFFS’ DEPOSITION DESIGNATIONS FOR ED WOLFFE (8/14/2020)

          Designation                 Counter-Designation              Objection

            7:11-20

            8:1-9:8

           9:14-11:25                       9:9-13                         I

           12:11-13:6

          13:18-14:18                     14:23-15:9                   Spec, V, I

            14:20-22

            15:10-17                                                    V, Spec

          15:19-16:17                                                    C, V

           16:19-17:5                       17:8-18                        I

            18:12-14

          20:23-21:19

            22:11-18                   22:19-22; 23:5-10                   I

            23:19-23                                                    Spec, V
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 470 of 555 PageID #: 57321




          Designation           Counter-Designation           Objection

           23:25-24:4                                          Spec, V

           24:6-25:10                                          Spec, V

          25:17-26:18                                           NT; V

          26:21-27:18

            28:11-14                                               V

           28:23-30:2                                            Spec

            30:4-16                                              Spec

          30:18-33:23               33:24-34:3                   V, I

           34:17-36:3

            36:7-19

           37:20-38:3                 38:4-13                      I

            38:14-21                  38:4-13                      I

           39:17-40:1                                              V

             40:4-7

           40:11-41:7                                        Spec, V, S, F

            41:9-12                                            F, AF, S

            41:14-19

           43:21-44:7                                         S, Spec, V

            44:18-21                  45:2-6                F, S, Spec, V, I

             45:7-9

            46:2-12                                             V, NT

           46:24-47:8                 47:9-13                      I

            48:8-21                                           Spec, C, V



                                        2
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 471 of 555 PageID #: 57322




          Designation           Counter-Designation           Objection

           67:23-68:6

          68:13-71:12

           71:18-73:5               73:18-74:9                     I

           75:20-76:5

           76:20-77:3                                        Spec, LC, V

            77:7-11

          77:20-78:22

            79:9-16                                      LC, Spec, V, M, AF, F

           83:5-84:16

           85:8-86:3                  86:4-19                      I

           86:20-87:2                 86:4-19                      I

           87:7-89:2

             89:6-8

             90:1-6                 90:7-91:21                     I

          91:22-92:18               90:7-91:21                     I

            93:9-21                                               V

           94:14-95:5                 95:6-25                      I

            96:1-16                   95:6-25                    M, I




                                        3
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 472 of 555 PageID #: 57323




    Description                                           Objections

    FEDERAL RULES OF EVIDENCE 401/402 (IRRELEVANT)        401, 402
    FEDERAL RULE OF EVIDENCE 403 (UNDULY                  403
    PREJUDICIAL, CONFUSING, MISLEADING,
    DELAY, AND/OR WASTE OF TIME)
    FEDERAL RULE OF EVIDENCE 602 (LACK OF PERSONAL        602
    KNOWLEDGE OR COMPETENCY)
    LACKS FOUNDATION                                      F
    CALLS FOR SPECULATION                                 Spec
    DESIGNATION INCOMPLETE / INCOMPREHENSIBLE             I
    / INCOMPLETE QUESTION / ANSWER
    VAGUE AND AMBIGUOUS                                   V
    IMPROPER / INCOMPLETE HYPOTHETICAL                    Hyp
    COMPOUND                                              C
    ASSUMES FACTS NOT IN EVIDENCE                         AF
    FEDERAL RULE OF EVIDENCE 408 (COMPROMISE OFFERS       408
    AND NEGOTIATIONS)
    FEDERAL RULE OF EVIDENCE 501 (PRIVILEGE)              P
    FEDERAL RULE OF EVIDENCE 611(C) (LEADING)             611
    IMPROPER LAY OPINION / IMPROPER                       701
    EXPERT TESTIMONY BY NON-EXPERT
    IMPROPER TESTIMONY BY EXPERT WITNESS                  702/703
    FEDERAL RULE OF EVIDENCE 802 (HEARSAY)                H
    FEDERAL RULE OF EVIDENCE 611(B) (BEYOND SCOPE OF
                                                          BSD
    DESIGNATIONS
    NOT TESTIMONY – INCLUDES ATTORNEY OBJECTIONS          NT
    AND/OR DISCUSSIONS BETWEEN ATTORNEYS
    BEYOND SCOPE OF 30(b)(6) NOTICE / QUESTIONS           S
    ARGUMENTATIVE                                         Arg
    MISCHARACTERIZATION                                   M
    CALLS FOR LEGAL CONCLUSION                            LC
    NON-RESPONSIVE                                        NR
    NARRATIVE                                             N




                                        4
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 473 of 555 PageID #: 57324




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

   SHURE INCORPORATED,                               )
                                                     )
                        and                          )     C.A. NO. 19-1343-RGA-CJB
                                                     )
   SHURE ACQUISITION HOLDINGS, INC.,                 )     JURY TRIAL DEMANDED
                                                     )
                        Plaintiffs,                  )
                                                     )
               v.                                    )
                                                     )
   CLEARONE, INC.,                                   )
                                                     )
                        Defendant.                   )

      PLAINTIFFS’ DEPOSITION DESIGNATIONS FOR GLENN YATES (5/15/2020)

          Designation                   Counter-Designation                 Objection

                                      48:23-51:8; 52:12-21; 54:4-
            6:4-11:6                                                   H; 602; Spec; 701; I
                                        18; 83:24-84:5; 85:6-8

           12:2-19:9                          83:24-84:5                 H; N; NT; AF; I

                                                                     H; AF; NT; C; 602; Spec;
           20:1-25:1                          83:24-84:5
                                                                            701; LC; I

                                                                     H; NT; AF; LC; 701; 602;
           27:16-35:4
                                                                             Spec; V

            35:8-14                                                   701; 602; Spec; LC; AF

                                                                    701; 602; Spec; NR; V; 403;
          36:20-39:25
                                                                               H; NT

           63:6-64:3                                                         401; 403

           64:7-67:3                                                           NT

          70:20-71:24                                                           H

           73:3-74:9                                                  701; 602; Spec; H; NT

          74:16-77:15                                                      H; Spec; 602
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 474 of 555 PageID #: 57325




          Designation           Counter-Designation           Objection

            80:13-22

            83:6-22

            84:10-18                83:24-84:5                    I




                                        2
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 475 of 555 PageID #: 57326




    Description                                           Objections

    FEDERAL RULES OF EVIDENCE 401/402 (IRRELEVANT)        401, 402
    FEDERAL RULE OF EVIDENCE 403 (UNDULY                  403
    PREJUDICIAL, CONFUSING, MISLEADING,
    DELAY, AND/OR WASTE OF TIME)
    FEDERAL RULE OF EVIDENCE 602 (LACK OF PERSONAL        602
    KNOWLEDGE OR COMPETENCY)
    LACKS FOUNDATION                                      F
    CALLS FOR SPECULATION                                 Spec
    DESIGNATION INCOMPLETE / INCOMPREHENSIBLE             I
    / INCOMPLETE QUESTION / ANSWER
    VAGUE AND AMBIGUOUS                                   V
    IMPROPER / INCOMPLETE HYPOTHETICAL                    Hyp
    COMPOUND                                              C
    ASSUMES FACTS NOT IN EVIDENCE                         AF
    FEDERAL RULE OF EVIDENCE 408 (COMPROMISE OFFERS       408
    AND NEGOTIATIONS)
    FEDERAL RULE OF EVIDENCE 501 (PRIVILEGE)              P
    FEDERAL RULE OF EVIDENCE 611(C) (LEADING)             611
    IMPROPER LAY OPINION / IMPROPER                       701
    EXPERT TESTIMONY BY NON-EXPERT
    IMPROPER TESTIMONY BY EXPERT WITNESS                  702/703
    FEDERAL RULE OF EVIDENCE 802 (HEARSAY)                H
    FEDERAL RULE OF EVIDENCE 611(B) (BEYOND SCOPE OF
                                                          BSD
    DESIGNATIONS
    NOT TESTIMONY – INCLUDES ATTORNEY OBJECTIONS          NT
    AND/OR DISCUSSIONS BETWEEN ATTORNEYS
    BEYOND SCOPE OF 30(b)(6) NOTICE / QUESTIONS           S
    ARGUMENTATIVE                                         Arg
    MISCHARACTERIZATION                                   M
    CALLS FOR LEGAL CONCLUSION                            LC
    NON-RESPONSIVE                                        NR
    NARRATIVE                                             N




                                        3
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 476 of 555 PageID #: 57327




                    EXHIBIT 11
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 477 of 555 PageID #: 57328




            Defendant’s Deposition
            Designations, Plaintiff’s
            Objections, and Counter
                 Designations
                            Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 478 of 555 PageID #: 57329
    Transcript Date                Deponent         ClearOne's Affirmative Designation           Shure's Objections        Shure's Counter‐Designations   ClearOne's Objections
June 19, 2020         Abraham Mathew DE 20200619   6:22 ‐ 6:23
June 19, 2020         Abraham Mathew DE 20200619   7:2 ‐ 7:5
June 19, 2020         Abraham Mathew DE 20200619   12:5 ‐ 12:17
June 19, 2020         Abraham Mathew DE 20200619   12:18 ‐ 12:19
June 19, 2020         Abraham Mathew DE 20200619   13:10 ‐ 13:16
June 19, 2020         Abraham Mathew DE 20200619   13:22 ‐ 14:11
June 19, 2020         Abraham_Mathew_DE_20200619   14:24 ‐ 15:17
June 19, 2020         Abraham Mathew DE 20200619   17:8 ‐ 17:21
June 19, 2020         Abraham_Mathew_DE_20200619   17:1 ‐ 17:4                           R
June 19, 2020         Abraham Mathew DE 20200619   17:25 ‐ 18:12                         R
June 19, 2020         Abraham_Mathew_DE_20200619   18:23 ‐ 19:2                          R
June 19, 2020         Abraham Mathew DE 20200619   19:8 ‐ 20:1                           R
June 19, 2020         Abraham_Mathew_DE_20200619   21:15 ‐ 21:24                         v                            20:22‐25; 21:25‐22:23
June 19, 2020         Abraham Mathew DE 20200619   27:4 ‐ 27:13                          R
June 19, 2020         Abraham_Mathew_DE_20200619   27:22 ‐ 27:25                         R
June 19, 2020         Abraham Mathew DE 20200619   28:13 ‐ 28:16                         R
June 19, 2020         Abraham_Mathew_DE_20200619   32:9 ‐ 33:6                           R, Sp
June 19, 2020         Abraham Mathew DE 20200619   34:11 ‐ 35:1                          R
June 19, 2020         Abraham_Mathew_DE_20200619   35:24 ‐ 36:9                          R
June 19, 2020         Abraham Mathew DE 20200619   38:14 ‐ 39:1                          R
June 19, 2020         Abraham_Mathew_DE_20200619   40:19 ‐ 41:4                          R
June 19, 2020         Abraham Mathew DE 20200619   41:10 ‐ 42:17                         R
June 19 2020          Abraham_Mathew_DE_20200619   51:2 ‐ 51:17                          R
June 19, 2020         Abraham Mathew DE 20200619   55:1 ‐ 55:9                           R
June 19, 2020         Abraham Mathew DE 20200619   55:13 ‐ 55:18                         R
June 19, 2020         Abraham Mathew DE 20200619   57:20 ‐ 58:17                         R
June 19, 2020         Abraham Mathew DE 20200619   59:21 ‐ 59:23                         R
June 19, 2020         Abraham Mathew DE 20200619   60:10 ‐ 60:24                         R
June 19, 2020         Abraham Mathew DE 20200619   63:25 ‐ 64:9                          R
June 19, 2020         Abraham Mathew DE 20200619   64:12 ‐ 64:20                         R
June 19, 2020         Abraham Mathew DE 20200619   66:7 ‐ 66:14                          R
June 19, 2020         Abraham_Mathew_DE_20200619   66:15 ‐ 67:5                          R
June 19, 2020         Abraham Mathew DE 20200619   67:13 ‐ 67:17                         R
June 19, 2020         Abraham_Mathew_DE_20200619   68:9 ‐ 68:14                          R
June 19, 2020         Abraham Mathew DE 20200619   69:1 ‐ 69:12                          R
June 19, 2020         Abraham_Mathew_DE_20200619   75:19 ‐ 76:4                          R
June 19, 2020         Abraham Mathew DE 20200619   76:10 ‐ 76:16                         R
June 19, 2020         Abraham_Mathew_DE_20200619   86:23 ‐ 87:12                         R
January, 4, 2019      Abraham Mathew IL 20190104   5:4 ‐ 5:12
January, 4, 2019      Abraham_Mathew_IL_20190104   6:14 ‐ 6:23
January, 4, 2019      Abraham Mathew IL 20190104   7:2 ‐ 8:5
January, 4, 2019      Abraham_Mathew_IL_20190104   8:10 ‐ 8:25
January, 4, 2019      Abraham Mathew IL 20190104   9:2 ‐ 9:5
January, 4, 2019      Abraham_Mathew_IL_20190104   9:6 ‐ 9:17
January, 4, 2019      Abraham Mathew IL 20190104   11:8 ‐ 12:16
January, 4, 2019      Abraham_Mathew_IL_20190104   12:17 ‐ 12:23
January, 4, 2019      Abraham Mathew IL 20190104   12:24 ‐ 14:4
January 4 2019        Abraham_Mathew_IL_20190104   14:5 ‐ 15:18
January, 4, 2019      Abraham Mathew IL 20190104   15:20 ‐ 16:5
January, 4, 2019      Abraham Mathew IL 20190104   16:6 ‐ 16:20
January, 4, 2019      Abraham Mathew IL 20190104   16:22 ‐ 16:22
January, 4, 2019      Abraham Mathew IL 20190104   16:24 ‐ 18:4
January, 4, 2019      Abraham Mathew IL 20190104   18:6 ‐ 18:18
January, 4, 2019      Abraham Mathew IL 20190104   19:7 ‐ 19:18                          R
January, 4, 2019      Abraham Mathew IL 20190104   20:3 ‐ 20:23                          R
                                                                                             3
                         Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 479 of 555 PageID #: 57330
January, 4, 2019   Abraham Mathew IL 20190104   23:2 ‐ 23:25     R
January 4 2019     Abraham_Mathew_IL_20190104   25:12 ‐ 26:5     R
January, 4, 2019   Abraham Mathew IL 20190104   28:22 ‐ 29:3     R
January, 4, 2019   Abraham Mathew IL 20190104   29:10 ‐ 29:19    R
January, 4, 2019   Abraham Mathew IL 20190104   29:21 ‐ 29:25    R
January, 4, 2019   Abraham Mathew IL 20190104   30:14 ‐ 31:2     R
January, 4, 2019   Abraham Mathew IL 20190104   34:14 ‐ 35:3     R
January, 4, 2019   Abraham Mathew IL 20190104   36:7 ‐ 36:20     R
January, 4, 2019   Abraham Mathew IL 20190104   36:21 ‐ 36:23    R
January, 4, 2019   Abraham Mathew IL 20190104   37:2 ‐ 37:12     R
January, 4, 2019   Abraham_Mathew_IL_20190104   39:23 ‐ 40:21    R
January, 4, 2019   Abraham Mathew IL 20190104   41:23 ‐ 42:5     R
January, 4, 2019   Abraham_Mathew_IL_20190104   43:7 ‐ 44:4      R
January, 4, 2019   Abraham Mathew IL 20190104   44:7 ‐ 44:14     R
January, 4, 2019   Abraham_Mathew_IL_20190104   44:20 ‐ 45:13    R
January, 4, 2019   Abraham Mathew IL 20190104   45:14 ‐ 45:25    R
January, 4, 2019   Abraham_Mathew_IL_20190104   46:5 ‐ 46:10     R
January, 4, 2019   Abraham Mathew IL 20190104   46:20 ‐ 47:18    R
January, 4, 2019   Abraham_Mathew_IL_20190104   52:3 ‐ 52:10     R
January, 4, 2019   Abraham Mathew IL 20190104   52:13 ‐ 53:2     R
January, 4, 2019   Abraham_Mathew_IL_20190104   53:22 ‐ 54:19    R
January, 4, 2019   Abraham Mathew IL 20190104   62:21 ‐ 64:5     R
January, 4, 2019   Abraham_Mathew_IL_20190104   64:6 ‐ 64:20     R
January, 4, 2019   Abraham Mathew IL 20190104   65:18 ‐ 65:20    R
January, 4, 2019   Abraham_Mathew_IL_20190104   67:5 ‐ 67:8      R
January, 4, 2019   Abraham Mathew IL 20190104   67:9 ‐ 67:21     R
January 4 2019     Abraham_Mathew_IL_20190104   67:25 ‐ 68:20    R
January, 4, 2019   Abraham Mathew IL 20190104   68:22 ‐ 68:24    R
January, 4, 2019   Abraham Mathew IL 20190104   69:3 ‐ 69:12     R
January, 4, 2019   Abraham Mathew IL 20190104   69:13 ‐ 70:13    R
January, 4, 2019   Abraham Mathew IL 20190104   70:14 ‐ 71:9     R
January, 4, 2019   Abraham Mathew IL 20190104   73:5 ‐ 73:23     R
January, 4, 2019   Abraham Mathew IL 20190104   74:7 ‐ 74:13     R
January, 4, 2019   Abraham Mathew IL 20190104   76:3 ‐ 76:13     R
January, 4, 2019   Abraham Mathew IL 20190104   76:23 ‐ 77:5     R
January, 4, 2019   Abraham_Mathew_IL_20190104   77:7 ‐ 77:10     R
January, 4, 2019   Abraham Mathew IL 20190104   77:23 ‐ 78:3     R
January, 4, 2019   Abraham_Mathew_IL_20190104   82:6 ‐ 83:2      R
January, 4, 2019   Abraham Mathew IL 20190104   83:9 ‐ 83:15     R
January, 4, 2019   Abraham_Mathew_IL_20190104   83:21 ‐ 84:6     R
January, 4, 2019   Abraham Mathew IL 20190104   85:8 ‐ 85:18     R
January, 4, 2019   Abraham_Mathew_IL_20190104   85:19 ‐ 85:23    R
January, 4, 2019   Abraham Mathew IL 20190104   85:25 ‐ 86:9     R
January, 4, 2019   Abraham_Mathew_IL_20190104   86:24 ‐ 87:17    R
January, 4, 2019   Abraham Mathew IL 20190104   87:18 ‐ 87:20    R
January, 4, 2019   Abraham_Mathew_IL_20190104   87:23 ‐ 88:13    R
January, 4, 2019   Abraham Mathew IL 20190104   88:14 ‐ 89:10    R
January, 4, 2019   Abraham_Mathew_IL_20190104   89:16 ‐ 90:13    R
January, 4, 2019   Abraham Mathew IL 20190104   90:16 ‐ 91:5     R
January, 4, 2019   Abraham_Mathew_IL_20190104   91:10 ‐ 95:14    R
January, 4, 2019   Abraham Mathew IL 20190104   96:4 ‐ 98:4      R
January 4 2019     Abraham_Mathew_IL_20190104   98:5 ‐ 98:15     R
January, 4, 2019   Abraham Mathew IL 20190104   100:11 ‐ 101:9   R
January, 4, 2019   Abraham Mathew IL 20190104   102:25 ‐ 103:5   R
January, 4, 2019   Abraham Mathew IL 20190104   103:8 ‐ 103:25   R
January, 4, 2019   Abraham Mathew IL 20190104   104:3 ‐ 104:9    R

                                                                     4
                         Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 480 of 555 PageID #: 57331
January, 4, 2019   Abraham Mathew IL 20190104   105:24 ‐ 106:9    R
January 4 2019     Abraham_Mathew_IL_20190104   106:11 ‐ 106:25   R
January, 4, 2019   Abraham Mathew IL 20190104   109:8 ‐ 109:22    R
January, 4, 2019   Abraham Mathew IL 20190104   109:25 ‐ 110:4    R
January, 4, 2019   Abraham Mathew IL 20190104   111:11 ‐ 111:23   R
January, 4, 2019   Abraham Mathew IL 20190104   114:24 ‐ 115:14   R
January, 4, 2019   Abraham Mathew IL 20190104   115:17 ‐ 115:21   R
January, 4, 2019   Abraham Mathew IL 20190104   116:4 ‐ 117:9     R
January, 4, 2019   Abraham Mathew IL 20190104   117:18 ‐ 117:25   R
January, 4, 2019   Abraham Mathew IL 20190104   122:13 ‐ 122:22   R
January, 4, 2019   Abraham_Mathew_IL_20190104   122:24 ‐ 123:3    R
January, 4, 2019   Abraham Mathew IL 20190104   124:2 ‐ 124:4     R
January, 4, 2019   Abraham_Mathew_IL_20190104   128:20 ‐ 129:4    R
January, 4, 2019   Abraham Mathew IL 20190104   129:5 ‐ 129:7     R
January, 4, 2019   Abraham_Mathew_IL_20190104   129:9 ‐ 129:22    R
January, 4, 2019   Abraham Mathew IL 20190104   130:22 ‐ 130:24   R, P, V, L
January, 4, 2019   Abraham_Mathew_IL_20190104   130:10 ‐ 130:20   R, P
January, 4, 2019   Abraham Mathew IL 20190104   131:2 ‐ 131:9     R, P, V, L
January, 4, 2019   Abraham_Mathew_IL_20190104   131:13 ‐ 131:17   R, P, V, L
January, 4, 2019   Abraham Mathew IL 20190104   131:20 ‐ 132:2    R, P
January, 4, 2019   Abraham_Mathew_IL_20190104   132:5 ‐ 132:5     R, P
January, 4, 2019   Abraham Mathew IL 20190104   132:12 ‐ 132:15   R, P
January, 4, 2019   Abraham_Mathew_IL_20190104   132:19 ‐ 133:2    R, P
January, 4, 2019   Abraham Mathew IL 20190104   133:3 ‐ 133:22    R
January, 4, 2019   Abraham_Mathew_IL_20190104   133:25 ‐ 134:5    R
January, 4, 2019   Abraham Mathew IL 20190104   134:7 ‐ 134:11    R
January 4 2019     Abraham_Mathew_IL_20190104   136:6 ‐ 136:9     R P
January, 4, 2019   Abraham Mathew IL 20190104   136:20 ‐ 137:10   R, P
January, 4, 2019   Abraham Mathew IL 20190104   137:17 ‐ 137:18   R, P
January, 4, 2019   Abraham Mathew IL 20190104   138:14 ‐ 138:15   R, P
January, 4, 2019   Abraham Mathew IL 20190104   138:20 ‐ 139:7    R, P
January, 4, 2019   Abraham Mathew IL 20190104   139:9 ‐ 139:14    R, P
January, 4, 2019   Abraham Mathew IL 20190104   140:3 ‐ 140:7     R, P
January, 4, 2019   Abraham Mathew IL 20190104   144:18 ‐ 146:5    R
January, 4, 2019   Abraham Mathew IL 20190104   146:10 ‐ 146:15   R
January, 4, 2019   Abraham_Mathew_IL_20190104   146:19 ‐ 147:8    R
January, 4, 2019   Abraham Mathew IL 20190104   147:9 ‐ 147:15    R
January, 4, 2019   Abraham_Mathew_IL_20190104   147:19 ‐ 147:22   R
January, 4, 2019   Abraham Mathew IL 20190104   149:5 ‐ 150:3     R, P
January, 4, 2019   Abraham_Mathew_IL_20190104   150:5 ‐ 150:15    R, P
January, 4, 2019   Abraham Mathew IL 20190104   150:16 ‐ 153:13   R, P
January, 4, 2019   Abraham_Mathew_IL_20190104   153:18 ‐ 153:22   R, P
January, 4, 2019   Abraham Mathew IL 20190104   153:25 ‐ 155:2    R, P
January, 4, 2019   Abraham_Mathew_IL_20190104   155:4 ‐ 155:15    R, P
January, 4, 2019   Abraham Mathew IL 20190104   155:23 ‐ 156:6    R, P
January, 4, 2019   Abraham_Mathew_IL_20190104   156:10 ‐ 156:10   R, P
January, 4, 2019   Abraham Mathew IL 20190104   157:13 ‐ 158:7    R
January, 4, 2019   Abraham_Mathew_IL_20190104   158:8 ‐ 159:7     R
January, 4, 2019   Abraham Mathew IL 20190104   159:11 ‐ 160:6    R
January, 4, 2019   Abraham_Mathew_IL_20190104   160:10 ‐ 160:22   R
January, 4, 2019   Abraham Mathew IL 20190104   162:8 ‐ 162:21    R
January 4 2019     Abraham_Mathew_IL_20190104   165:19 ‐ 165:25   R
January, 4, 2019   Abraham Mathew IL 20190104   166:2 ‐ 167:3     R
January, 4, 2019   Abraham Mathew IL 20190104   167:4 ‐ 168:5     R
January, 4, 2019   Abraham Mathew IL 20190104   168:7 ‐ 168:12    R
January, 4, 2019   Abraham Mathew IL 20190104   169:2 ‐ 169:11    R

                                                                    5
                         Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 481 of 555 PageID #: 57332
January, 4, 2019   Abraham Mathew IL 20190104   169:24 ‐ 170:12   R
January 4 2019     Abraham_Mathew_IL_20190104   170:15 ‐ 171:24   R
January, 4, 2019   Abraham Mathew IL 20190104   171:25 ‐ 172:6    R
January, 4, 2019   Abraham Mathew IL 20190104   172:11 ‐ 172:14   R
January, 4, 2019   Abraham Mathew IL 20190104   175:11 ‐ 176:4    R
January, 4, 2019   Abraham Mathew IL 20190104   176:5 ‐ 176:14    R
January, 4, 2019   Abraham Mathew IL 20190104   180:21 ‐ 181:9
January, 4, 2019   Abraham Mathew IL 20190104   181:10 ‐ 181:13
January, 4, 2019   Abraham Mathew IL 20190104   181:22 ‐ 182:19
January, 4, 2019   Abraham Mathew IL 20190104   182:20 ‐ 185:5
January, 4, 2019   Abraham_Mathew_IL_20190104   185:7 ‐ 186:6                        186:7‐14
January, 4, 2019   Abraham Mathew IL 20190104   188:21 ‐ 188:25
January, 4, 2019   Abraham_Mathew_IL_20190104   189:8 ‐ 191:6     R
January, 4, 2019   Abraham Mathew IL 20190104   192:10 ‐ 192:20   R
January, 4, 2019   Abraham_Mathew_IL_20190104   192:21 ‐ 192:25   R
January, 4, 2019   Abraham Mathew IL 20190104   194:13 ‐ 195:7    R
January, 4, 2019   Abraham_Mathew_IL_20190104   196:2 ‐ 196:17    R
January, 4, 2019   Abraham Mathew IL 20190104   200:14 ‐ 200:16
January, 4, 2019   Abraham_Mathew_IL_20190104   200:19 ‐ 200:19
January, 9, 2020   Abraham Mathew IL 20200109   6:10 ‐ 6:12
January, 9, 2020   Abraham_Mathew_IL_20200109   7:12 ‐ 8:9
January, 9, 2020   Abraham Mathew IL 20200109   9:10 ‐ 9:25
January, 9, 2020   Abraham_Mathew_IL_20200109   10:1 ‐ 10:4
January, 9, 2020   Abraham Mathew IL 20200109   10:6 ‐ 12:4
January, 9, 2020   Abraham_Mathew_IL_20200109   12:13 ‐ 13:12     S
January, 9, 2020   Abraham Mathew IL 20200109   13:22 ‐ 14:12     L, AF, H
January 9 2020     Abraham_Mathew_IL_20200109   14:16 ‐ 14:23     S M V
January, 9, 2020   Abraham Mathew IL 20200109   15:2 ‐ 16:4
January, 9, 2020   Abraham Mathew IL 20200109   16:8 ‐ 16:18      S, V
January, 9, 2020   Abraham Mathew IL 20200109   16:19 ‐ 16:20     S
January, 9, 2020   Abraham Mathew IL 20200109   16:23 ‐ 16:24
January, 9, 2020   Abraham Mathew IL 20200109   17:2 ‐ 17:6
January, 9, 2020   Abraham Mathew IL 20200109   17:21 ‐ 17:24     M
January, 9, 2020   Abraham Mathew IL 20200109   18:2 ‐ 18:12      M, AA
January, 9, 2020   Abraham Mathew IL 20200109   18:15 ‐ 19:9
January, 9, 2020   Abraham_Mathew_IL_20200109   19:17 ‐ 20:4      S, M, V
January, 9, 2020   Abraham Mathew IL 20200109   19:13 ‐ 19:15
January, 9, 2020   Abraham_Mathew_IL_20200109   21:4 ‐ 22:5       S, R, V
January, 9, 2020   Abraham Mathew IL 20200109   22:6 ‐ 22:10      S, R, V
January, 9, 2020   Abraham_Mathew_IL_20200109   22:11 ‐ 22:20     S, R, V
January, 9, 2020   Abraham Mathew IL 20200109   22:23 ‐ 23:13     S
January, 9, 2020   Abraham_Mathew_IL_20200109   25:22 ‐ 26:5      S, V
January, 9, 2020   Abraham Mathew IL 20200109   25:13 ‐ 25:20     S, V
January, 9, 2020   Abraham_Mathew_IL_20200109   27:17 ‐ 28:4
January, 9, 2020   Abraham Mathew IL 20200109   28:14 ‐ 29:12     V
January, 9, 2020   Abraham_Mathew_IL_20200109   28:5 ‐ 28:12      V
January, 9, 2020   Abraham Mathew IL 20200109   28:14 ‐ 29:12                        30:9‐15
January, 9, 2020   Abraham_Mathew_IL_20200109   29:21 ‐ 29:24                        30:9‐15
January, 9, 2020   Abraham Mathew IL 20200109   30:16 ‐ 33:5
January, 9, 2020   Abraham_Mathew_IL_20200109   30:4 ‐ 30:7                          30:9‐15
January, 9, 2020   Abraham Mathew IL 20200109   33:13 ‐ 33:16
January 9 2020     Abraham_Mathew_IL_20200109   33:19 ‐ 34:7
January, 9, 2020   Abraham Mathew IL 20200109   47:23 ‐ 48:11     Sp                 48:12‐15
January, 9, 2020   Abraham Mathew IL 20200109   48:16 ‐ 49:1
January, 9, 2020   Abraham Mathew IL 20200109   50:23 ‐ 51:8
January, 9, 2020   Abraham Mathew IL 20200109   51:9 ‐ 51:22

                                                                      6
                          Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 482 of 555 PageID #: 57333
January, 9, 2020    Abraham Mathew IL 20200109   53:5 ‐ 53:7
January 9 2020      Abraham_Mathew_IL_20200109   53:10 ‐ 53:16
January, 9, 2020    Abraham Mathew IL 20200109   54:19 ‐ 54:22
January, 9, 2020    Abraham Mathew IL 20200109   54:14 ‐ 54:16
January, 9, 2020    Abraham Mathew IL 20200109   57:4 ‐ 57:13
January, 9, 2020    Abraham Mathew IL 20200109   57:14 ‐ 57:18
January, 9, 2020    Abraham Mathew IL 20200109   57:21 ‐ 57:22
January, 9, 2020    Abraham Mathew IL 20200109   57:23 ‐ 58:14
January, 9, 2020    Abraham Mathew IL 20200109   58:15 ‐ 58:25
January, 9, 2020    Abraham Mathew IL 20200109   59:1 ‐ 59:2
January, 9, 2020    Abraham_Mathew_IL_20200109   59:5 ‐ 59:7
January, 9, 2020    Abraham Mathew IL 20200109   67:19 ‐ 67:24
January, 9, 2020    Abraham_Mathew_IL_20200109   71:2 ‐ 71:7
January, 9, 2020    Abraham Mathew IL 20200109   71:10 ‐ 71:16
January, 9, 2020    Abraham_Mathew_IL_20200109   71:19 ‐ 72:3
January, 9, 2020    Abraham Mathew IL 20200109   72:6 ‐ 72:13
May 28, 2020        Bencsik_Chris_DE_20200528    6:1 ‐ 6:11
May 28, 2020        Bencsik Chris DE 20200528    9:5 ‐ 11:2
May 28, 2020        Bencsik_Chris_DE_20200528    14:22 ‐ 15:11
May 28, 2020        Bencsik Chris DE 20200528    44:20 ‐ 45:1                         44:20‐45:15
May 28, 2020        Bencsik_Chris_DE_20200528    45:16 ‐ 45:22                        45:16 ‐ 47:19
May 28, 2020        Bencsik Chris DE 20200528    47:20 ‐ 48:1
May 28, 2020        Bencsik_Chris_DE_20200528    49:22 ‐ 50:9
May 28, 2020        Bencsik Chris DE 20200528    58:25 ‐ 59:8
May 28, 2020        Bencsik_Chris_DE_20200528    59:17 ‐ 60:14                        59:17 ‐ 62:16
May 28, 2020        Bencsik Chris DE 20200528    62:18 ‐ 62:25
May 28 2020         Bencsik_Chris_DE_20200528    66:4 ‐ 67:17
May 28, 2020        Bencsik Chris DE 20200528    69:20 ‐ 70:5
May 28, 2020        Bencsik Chris DE 20200528    71:3 ‐ 71:17
May 28, 2020        Bencsik Chris DE 20200528    71:18 ‐ 72:8
May 28, 2020        Bencsik Chris DE 20200528    72:10 ‐ 73:2
May 28, 2020        Bencsik Chris DE 20200528    73:3 ‐ 73:17
May 28, 2020        Bencsik Chris DE 20200528    74:5 ‐ 74:21
May 28, 2020        Bencsik Chris DE 20200528    74:22 ‐ 75:13
May 28, 2020        Bencsik Chris DE 20200528    75:14 ‐ 76:20
May 28, 2020        Bencsik_Chris_DE_20200528    77:2 ‐ 77:17
November 11, 2020   Berger Cassie DE 20201111    8:1 ‐ 8:4
November 11, 2020   Berger_Cassie_DE_20201111    8:5 ‐ 8:12
November 11, 2020   Berger Cassie DE 20201111    8:18 ‐ 9:6
November 11, 2020   Berger_Cassie_DE_20201111    10:11 ‐ 10:11
November 11, 2020   Berger Cassie DE 20201111    22:19 ‐ 23:1
November 11, 2020   Berger_Cassie_DE_20201111    23:2 ‐ 23:20
November 11, 2020   Berger Cassie DE 20201111    24:19 ‐ 25:22
November 11, 2020   Berger_Cassie_DE_20201111    25:23 ‐ 26:16
November 11, 2020   Berger Cassie DE 20201111    26:17 ‐ 28:5
November 11, 2020   Berger_Cassie_DE_20201111    28:6 ‐ 28:8
November 11, 2020   Berger Cassie DE 20201111    28:10 ‐ 28:10
November 11, 2020   Berger_Cassie_DE_20201111    28:12 ‐ 28:20
November 11, 2020   Berger Cassie DE 20201111    29:11 ‐ 29:23
November 11, 2020   Berger_Cassie_DE_20201111    31:8 ‐ 31:18
November 11, 2020   Berger Cassie DE 20201111    34:5 ‐ 34:8
November 11 2020    Berger_Cassie_DE_20201111    34:19 ‐ 35:3
November 11, 2020   Berger Cassie DE 20201111    35:7 ‐ 36:9
November 11, 2020   Berger Cassie DE 20201111    36:13 ‐ 38:2
November 11, 2020   Berger Cassie DE 20201111    38:4 ‐ 38:10    V
November 11, 2020   Berger Cassie DE 20201111    38:12 ‐ 38:20   V, M

                                                                  7
                           Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 483 of 555 PageID #: 57334
November 11, 2020   Berger Cassie DE 20201111   38:23 ‐ 39:2      V, M
November 11 2020    Berger_Cassie_DE_20201111   44:19 ‐ 46:2      V
November 11, 2020   Berger Cassie DE 20201111   57:9 ‐ 58:3                            55:15‐56:14, 58:4‐22
November 11, 2020   Berger Cassie DE 20201111   62:22 ‐ 63:19
November 11, 2020   Berger Cassie DE 20201111   63:21 ‐ 64:4
November 11, 2020   Berger Cassie DE 20201111   64:5 ‐ 65:14
November 11, 2020   Berger Cassie DE 20201111   65:23 ‐ 65:25
November 11, 2020   Berger Cassie DE 20201111   66:1 ‐ 67:8
November 11, 2020   Berger Cassie DE 20201111   67:9 ‐ 67:19
November 11, 2020   Berger Cassie DE 20201111   68:4 ‐ 68:8       V, F
November 11, 2020   Berger_Cassie_DE_20201111   68:12 ‐ 68:15     V, F
November 11, 2020   Berger Cassie DE 20201111   68:18 ‐ 69:1      V, F
November 11, 2020   Berger_Cassie_DE_20201111   69:9 ‐ 69:16      Sp, V, AF
November 11, 2020   Berger Cassie DE 20201111   69:18 ‐ 70:21     Sp, V, AF
November 11, 2020   Berger_Cassie_DE_20201111   70:24 ‐ 72:1      Sp, V, AF
November 11, 2020   Berger Cassie DE 20201111   72:2 ‐ 72:19      Sp, V, AF
November 11, 2020   Berger_Cassie_DE_20201111   72:22 ‐ 72:23     Sp, V, AF
November 11, 2020   Berger Cassie DE 20201111   74:6 ‐ 74:10      AF
November 11, 2020   Berger_Cassie_DE_20201111   74:13 ‐ 74:24     AF
November 11, 2020   Berger Cassie DE 20201111   78:1 ‐ 78:2
November 11, 2020   Berger_Cassie_DE_20201111   78:16 ‐ 78:24
November 11, 2020   Berger Cassie DE 20201111   80:8 ‐ 81:17
November 11, 2020   Berger_Cassie_DE_20201111   81:19 ‐ 82:4                           82:8‐19
November 11, 2020   Berger Cassie DE 20201111   83:16 ‐ 84:4      R
November 11, 2020   Berger_Cassie_DE_20201111   85:20 ‐ 86:3      R
November 11, 2020   Berger Cassie DE 20201111   86:7 ‐ 86:16      R
November 11 2020    Berger_Cassie_DE_20201111   89:15 ‐ 89:19     R P                  89:10‐14
November 11, 2020   Berger Cassie DE 20201111   89:21 ‐ 90:14     R, P
November 11, 2020   Berger Cassie DE 20201111   90:17 ‐ 91:2      R, P
November 11, 2020   Berger Cassie DE 20201111   92:4 ‐ 92:9       R, P                 91:23‐92:3
November 11, 2020   Berger Cassie DE 20201111   92:10 ‐ 93:3      R, P
November 11, 2020   Berger Cassie DE 20201111   93:23 ‐ 94:10     R
November 11, 2020   Berger Cassie DE 20201111   94:11 ‐ 94:19     R
November 11, 2020   Berger Cassie DE 20201111   95:10 ‐ 95:12     R, M, V
November 11, 2020   Berger Cassie DE 20201111   95:14 ‐ 95:15     R, M, V
November 11, 2020   Berger_Cassie_DE_20201111   96:13 ‐ 96:17     R, P
November 11, 2020   Berger Cassie DE 20201111   96:18 ‐ 96:21     R, P
November 11, 2020   Berger_Cassie_DE_20201111   96:24 ‐ 97:12     R, P
November 11, 2020   Berger Cassie DE 20201111   97:14 ‐ 97:22     R, V, M
November 11, 2020   Berger_Cassie_DE_20201111   98:17 ‐ 99:8      R
November 11, 2020   Berger Cassie DE 20201111   99:23 ‐ 100:9     R, P
November 11, 2020   Berger_Cassie_DE_20201111   102:22 ‐ 103:15   R, P
November 11, 2020   Berger Cassie DE 20201111   103:18 ‐ 104:17   R, P, V
November 11, 2020   Berger_Cassie_DE_20201111   104:19 ‐ 104:20   R, P
November 11, 2020   Berger Cassie DE 20201111   109:1 ‐ 109:14    R, P                 109:15‐21, 109:24‐110:8
November 11, 2020   Berger_Cassie_DE_20201111   113:10 ‐ 113:17   R, H, V, Sp, F
November 11, 2020   Berger Cassie DE 20201111   113:20 ‐ 113:25   R, H, V, Sp, F
November 11, 2020   Berger_Cassie_DE_20201111   115:2 ‐ 115:5     R, V
November 11, 2020   Berger Cassie DE 20201111   115:7 ‐ 116:9     R, V
November 11, 2020   Berger_Cassie_DE_20201111   116:12 ‐ 117:4    R, V, AF, F
November 11, 2020   Berger Cassie DE 20201111   117:5 ‐ 117:9     R, V, AF, F
November 11 2020    Berger_Cassie_DE_20201111   125:14 ‐ 125:21   R. V Sp H F
November 11, 2020   Berger Cassie DE 20201111   125:23 ‐ 126:6    R, V, Sp, H, F
November 11, 2020   Berger Cassie DE 20201111   125:7 ‐ 125:13    R
November 11, 2020   Berger Cassie DE 20201111   134:1 ‐ 134:13    R
November 11, 2020   Berger Cassie DE 20201111   137:2 ‐ 137:4     R

                                                                    8
                           Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 484 of 555 PageID #: 57335
November 11, 2020   Berger Cassie DE 20201111   137:6 ‐ 137:17    R, AF, M
November 11 2020    Berger_Cassie_DE_20201111   137:19 ‐ 137:23   R
November 11, 2020   Berger Cassie DE 20201111   140:7 ‐ 140:13    R
November 11, 2020   Berger Cassie DE 20201111   141:17 ‐ 142:22   R
November 11, 2020   Berger Cassie DE 20201111   143:17 ‐ 143:22   R
November 11, 2020   Berger Cassie DE 20201111   144:4 ‐ 145:2     R
November 11, 2020   Berger_Cassie_DE_20201111   145:21 ‐ 146:4    R                    146:5‐18, 146:21‐147:1, 148:8‐17, 148:19‐
                                                                                       22, 148:24‐149:1, 149:3‐150:8, 150:12‐16

November 11, 2020   Berger_Cassie_DE_20201111   154:14 ‐ 155:9    R                    146:5‐18, 146:21‐147:1, 148:8‐17, 148:19‐
                                                                                       22, 148:24‐149:1, 149:3‐150:8, 150:12‐16

November 11, 2020   Berger_Cassie_DE_20201111   155:12 ‐ 155:16   R
November 11, 2020   Berger Cassie DE 20201111   164:1 ‐ 164:17    R                    164:25‐165:4, 165:6‐13
November 11, 2020   Berger_Cassie_DE_20201111   164:20 ‐ 164:23   R, F, Sp             164:25‐165:4, 165:6‐13
November 11, 2020   Berger Cassie DE 20201111   165:16 ‐ 165:20   R                    164:25‐165:4, 165:6‐13
November 11, 2020   Berger_Cassie_DE_20201111   165:23 ‐ 166:9    R
November 11, 2020   Berger Cassie DE 20201111   168:3 ‐ 169:5     R
November 11, 2020   Berger_Cassie_DE_20201111   173:7 ‐ 174:13    R                    177:2‐7, 10‐15
November 11, 2020   Berger Cassie DE 20201111   175:14 ‐ 176:9    R, P                 177:2‐7, 10‐15
November 11, 2020   Berger_Cassie_DE_20201111   177:21 ‐ 178:7    R, P                 177:2‐7, 10‐15
November 11, 2020   Berger Cassie DE 20201111   178:10 ‐ 178:18   R
November 11, 2020   Berger_Cassie_DE_20201111   180:14 ‐ 181:6    R
November 11, 2020   Berger Cassie DE 20201111   181:7 ‐ 182:5     R, P                 182:6‐12, 182:15‐184:10
November 11, 2020   Berger_Cassie_DE_20201111   185:21 ‐ 185:25   R, Sp, AF
November 11, 2020   Berger Cassie DE 20201111   186:3 ‐ 186:25    R
November 11 2020    Berger_Cassie_DE_20201111   187:14 ‐ 187:19   R
November 11, 2020   Berger Cassie DE 20201111   187:23 ‐ 188:3    R
November 11, 2020   Berger Cassie DE 20201111   188:5 ‐ 188:25    R
November 11, 2020   Berger Cassie DE 20201111   193:21 ‐ 194:4    R                    194:5‐22, 195:24‐196:4
November 11, 2020   Berger Cassie DE 20201111   196:5 ‐ 197:7     R
November 11, 2020   Berger Cassie DE 20201111   201:24 ‐ 203:5    R
November 11, 2020   Berger Cassie DE 20201111   203:6 ‐ 203:21    R, V, F
November 11, 2020   Berger Cassie DE 20201111   203:24 ‐ 205:15   R, V, F
November 11, 2020   Berger Cassie DE 20201111   207:17 ‐ 208:20   R
November 11, 2020   Berger_Cassie_DE_20201111   208:23 ‐ 209:1    R
November 11, 2020   Berger Cassie DE 20201111   210:24 ‐ 211:22   R
November 11, 2020   Berger_Cassie_DE_20201111   211:25 ‐ 212:3    R
November 11, 2020   Berger Cassie DE 20201111   217:23 ‐ 218:12   R
November 11, 2020   Berger_Cassie_DE_20201111   219:20 ‐ 219:25   R
November 11, 2020   Berger Cassie DE 20201111   225:13 ‐ 225:22   R
November 11, 2020   Berger_Cassie_DE_20201111   227:14 ‐ 227:17   R
November 11, 2020   Berger Cassie DE 20201111   228:8 ‐ 228:11    R
November 11, 2020   Berger_Cassie_DE_20201111   228:13 ‐ 228:14   R
November 11, 2020   Berger Cassie DE 20201111   229:15 ‐ 229:21   R
November 11, 2020   Berger_Cassie_DE_20201111   229:22 ‐ 230:1    R
November 11, 2020   Berger Cassie DE 20201111   230:12 ‐ 231:6    R
November 11, 2020   Berger_Cassie_DE_20201111   231:7 ‐ 231:15    R
November 11, 2020   Berger Cassie DE 20201111   232:13 ‐ 232:21   R
November 11, 2020   Berger_Cassie_DE_20201111   233:18 ‐ 233:23   R
November 11, 2020   Berger Cassie DE 20201111   234:1 ‐ 234:5     R
November 11 2020    Berger_Cassie_DE_20201111   234:25 ‐ 235:19   R
November 11, 2020   Berger Cassie DE 20201111   235:22 ‐ 236:18   R, V, M
November 11, 2020   Berger Cassie DE 20201111   238:2 ‐ 239:23    R
November 11, 2020   Berger Cassie DE 20201111   242:10 ‐ 242:22   R, P, Sp
November 11, 2020   Berger Cassie DE 20201111   242:23 ‐ 243:18   R, P, Sp

                                                                      9
                           Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 485 of 555 PageID #: 57336
November 11, 2020   Berger Cassie DE 20201111   243:19 ‐ 243:22   R, P, Sp
November 11 2020    Berger_Cassie_DE_20201111   243:25 ‐ 244:5    R P Sp
November 11, 2020   Berger Cassie DE 20201111   245:7 ‐ 249:4     R, P, Sp
November 11, 2020   Berger Cassie DE 20201111   249:6 ‐ 249:24    R, P, Sp
November 11, 2020   Berger Cassie DE 20201111   250:9 ‐ 251:24    R, P, Sp
November 11, 2020   Berger Cassie DE 20201111   252:2 ‐ 252:12    R, P, Sp, M
November 11, 2020   Berger Cassie DE 20201111   252:15 ‐ 252:21   R, P, Sp, M
November 11, 2020   Berger Cassie DE 20201111   255:15 ‐ 256:19   R, P
November 11, 2020   Berger Cassie DE 20201111   264:14 ‐ 264:21   Sp
November 11, 2020   Berger Cassie DE 20201111   267:6 ‐ 267:20    M, Sp
November 11, 2020   Berger_Cassie_DE_20201111   267:22 ‐ 267:22   M, Sp
November 11, 2020   Berger Cassie DE 20201111   268:14 ‐ 268:18   F, V
November 11, 2020   Berger_Cassie_DE_20201111   268:21 ‐ 269:16   F, V
November 11, 2020   Berger Cassie DE 20201111   270:2 ‐ 270:9     M, F, V
November 11, 2020   Berger_Cassie_DE_20201111   270:12 ‐ 270:24   M, F, V
November 11, 2020   Berger Cassie DE 20201111   271:21 ‐ 272:16
November 11, 2020   Berger_Cassie_DE_20201111   273:10 ‐ 273:21
November 11, 2020   Berger Cassie DE 20201111   273:24 ‐ 275:21
November 11, 2020   Berger_Cassie_DE_20201111   276:9 ‐ 276:24    V
November 11, 2020   Berger Cassie DE 20201111   277:1 ‐ 277:19    V, Sp
November 11, 2020   Berger_Cassie_DE_20201111   277:21 ‐ 278:7    V, Sp, F
November 11, 2020   Berger Cassie DE 20201111   278:10 ‐ 278:24   V, F
November 11, 2020   Berger_Cassie_DE_20201111   279:1 ‐ 279:5     V, F
November 11, 2020   Berger Cassie DE 20201111   279:7 ‐ 279:18    AF, V
November 11, 2020   Berger_Cassie_DE_20201111   279:24 ‐ 281:3    V, F
November 11, 2020   Berger Cassie DE 20201111   279:21 ‐ 279:22   V, F
November 11 2020    Berger_Cassie_DE_20201111   281:4 ‐ 281:9     V F
November 11, 2020   Berger Cassie DE 20201111   281:12 ‐ 282:6    V, F, Sp
November 11, 2020   Berger Cassie DE 20201111   282:9 ‐ 282:17    V, F, Sp
November 11, 2020   Berger Cassie DE 20201111   282:19 ‐ 283:11   V, F, Sp
November 11, 2020   Berger Cassie DE 20201111   283:14 ‐ 284:14   V, F, Sp
November 11, 2020   Berger Cassie DE 20201111   284:24 ‐ 285:25                        287:19‐288:23
November 11, 2020   Berger Cassie DE 20201111   286:3 ‐ 286:14                         287:19‐288:23
November 11, 2020   Berger Cassie DE 20201111   287:5 ‐ 287:8                          287:19‐288:23
November 11, 2020   Berger Cassie DE 20201111   288:25 ‐ 289:23   Sp, V
November 11, 2020   Berger_Cassie_DE_20201111   291:4 ‐ 291:9     M, V
November 11, 2020   Berger Cassie DE 20201111   291:12 ‐ 291:18   M, V
November 11, 2020   Berger_Cassie_DE_20201111   295:4 ‐ 296:14
November 11, 2020   Berger Cassie DE 20201111   297:5 ‐ 297:15
November 11, 2020   Berger_Cassie_DE_20201111   297:16 ‐ 298:4
June 8, 2020        Bullard Jon DE 20200608     7:19 ‐ 7:24
June 8, 2020        Bullard_Jon_DE_20200608     10:3 ‐ 12:19
June 8, 2020        Bullard Jon DE 20200608     15:6 ‐ 15:19      F, V
June 8, 2020        Bullard_Jon_DE_20200608     15:22 ‐ 15:22     F, V
June 8, 2020        Bullard Jon DE 20200608     15:23 ‐ 16:23     F, V
June 8, 2020        Bullard_Jon_DE_20200608     17:4 ‐ 18:6       F, V
June 8, 2020        Bullard Jon DE 20200608     18:10 ‐ 18:22                          18:18‐19:9
June 8, 2020        Bullard_Jon_DE_20200608     19:6 ‐ 19:10
June 8, 2020        Bullard Jon DE 20200608     19:14 ‐ 20:18     V, Sp
June 8, 2020        Bullard_Jon_DE_20200608     20:20 ‐ 20:21     V, Sp
June 8, 2020        Bullard Jon DE 20200608     21:25 ‐ 22:9                           21:25‐23:15
June 8 2020         Bullard_Jon_DE_20200608     24:13 ‐ 25:1      V Sp                 24:2‐25:1
June 8, 2020        Bullard Jon DE 20200608     25:8 ‐ 25:21
June 8, 2020        Bullard Jon DE 20200608     27:3 ‐ 27:21      V, Sp
June 8, 2020        Bullard Jon DE 20200608     27:24 ‐ 28:2
June 8, 2020        Bullard Jon DE 20200608     28:9 ‐ 29:19

                                                                   10
                           Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 486 of 555 PageID #: 57337
June 8, 2020        Bullard Jon DE 20200608   39:18 ‐ 40:5                             39:18 ‐ 40:9
June 8 2020         Bullard_Jon_DE_20200608   40:10 ‐ 40:20
June 8, 2020        Bullard Jon DE 20200608   40:21 ‐ 41:8                             40:21‐42:4
June 8, 2020        Bullard Jon DE 20200608   42:21 ‐ 43:12                            42:21‐43:24
June 8, 2020        Bullard Jon DE 20200608   43:25 ‐ 44:25
June 8, 2020        Bullard Jon DE 20200608   48:25 ‐ 50:12                            48:25‐51:10
June 8, 2020        Bullard Jon DE 20200608   51:11 ‐ 52:2
June 8, 2020        Bullard Jon DE 20200608   54:24 ‐ 55:14
June 8, 2020        Bullard Jon DE 20200608   55:5 ‐ 55:8
June 8, 2020        Bullard Jon DE 20200608   60:7 ‐ 60:11                             60:7‐22
June 8, 2020        Bullard_Jon_DE_20200608   60:14 ‐ 60:22                            60:7‐22
June 8, 2020        Bullard Jon DE 20200608   62:10 ‐ 62:16
December 22, 2017   Cerra_David_IL_20171222   13:23 ‐ 21:10
December 22, 2017   Cerra David IL 20171222   63:6 ‐ 63:11                             63:13‐17
December 22, 2017   Cerra_David_IL_20171222   244:9 ‐ 244:12      R
December 22, 2017   Cerra David IL 20171222   245:10 ‐ 246:10     R
December 22, 2017   Cerra_David_IL_20171222   246:14 ‐ 246:16     R, P
December 22, 2017   Cerra David IL 20171222   247:15 ‐ 247:21     R
October 30, 2018    Cerra_David_IL_20181030   4:2 ‐ 4:11
October 30, 2018    Cerra David IL 20181030   5:16 ‐ 5:19
October 30, 2018    Cerra_David_IL_20181030   18:25 ‐ 19:15
October 30, 2018    Cerra David IL 20181030   20:21 ‐ 21:14
October 30, 2018    Cerra_David_IL_20181030   57:9 ‐ 57:14        R
October 30, 2018    Cerra David IL 20181030   57:22 ‐ 60:10       R
October 30, 2018    Cerra_David_IL_20181030   62:24 ‐ 64:9        R
October 30, 2018    Cerra David IL 20181030   64:12 ‐ 64:21       R
October 30 2018     Cerra_David_IL_20181030   65:5 ‐ 65:9         R
October 30, 2018    Cerra David IL 20181030   65:11 ‐ 65:20       R
October 30, 2018    Cerra David IL 20181030   65:23 ‐ 67:4        R
October 30, 2018    Cerra David IL 20181030   67:6 ‐ 67:9         R
October 30, 2018    Cerra David IL 20181030   70:2 ‐ 70:21        R
October 30, 2018    Cerra David IL 20181030   70:24 ‐ 71:13       R
October 30, 2018    Cerra David IL 20181030   71:16 ‐ 71:20       R
October 30, 2018    Cerra David IL 20181030   72:3 ‐ 72:9         R
October 30, 2018    Cerra David IL 20181030   73:4 ‐ 73:12        R
October 30, 2018    Cerra_David_IL_20181030   73:24 ‐ 74:22       R
October 30, 2018    Cerra David IL 20181030   133:5 ‐ 133:20      R                    133:21‐23; 134:2‐3, 5‐6, 8‐12, 14‐18.
October 30, 2018    Cerra_David_IL_20181030   135:10 ‐ 135:13     F
October 30, 2018    Cerra David IL 20181030   162:17 ‐ 162:25     V, M
October 30, 2018    Cerra_David_IL_20181030   163:4 ‐ 163:17      V, M
October 30, 2018    Cerra David IL 20181030   164:3 ‐ 164:10
October 30, 2018    Cerra_David_IL_20181030   166:5 ‐ 166:12      R
October 30, 2018    Cerra David IL 20181030   166:15 ‐ 166:16     R
October 30, 2018    Cerra_David_IL_20181030   167:3 ‐ 167:6       R
October 30, 2018    Cerra David IL 20181030   167:9 ‐ 167:10      R
October 30, 2018    Cerra_David_IL_20181030   175:16 ‐ 176:22     V
February 1, 2019    Cerra David IL 20190201   8:9 ‐ 8:13
February 1, 2019    Cerra_David_IL_20190201   26:10 ‐ 27:10       V
February 1, 2019    Cerra David IL 20190201   27:25 ‐ 29:25       V, Sp
February 1, 2019    Cerra_David_IL_20190201   32:25 ‐ 33:14
February 1, 2019    Cerra David IL 20190201   39:16 ‐ 40:3        R
February 1 2019     Cerra_David_IL_20190201   55:4 ‐ 55:9         R
February 1, 2019    Cerra David IL 20190201   68:13 ‐ 68:25       R
February 1, 2019    Cerra David IL 20190201   71:4 ‐ 71:11        R
February 1, 2019    Cerra David IL 20190201   72:2 ‐ 72:12        R
February 1, 2019    Cerra David IL 20190201   72:15 ‐ 72:25       R

                                                                   11
                          Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 487 of 555 PageID #: 57338
February 1, 2019   Cerra David IL 20190201     73:2 ‐ 73:2       R
February 1 2019    Cerra_David_IL_20190201     73:5 ‐ 73:7       R
February 1, 2019   Cerra David IL 20190201     73:8 ‐ 73:13      R
February 1, 2019   Cerra David IL 20190201     73:17 ‐ 73:18     R
February 1, 2019   Cerra David IL 20190201     128:14 ‐ 128:25
February 1, 2019   Cerra David IL 20190201     129:2 ‐ 129:9     AA
February 1, 2019   Cerra David IL 20190201     129:11 ‐ 129:11   AA
February 1, 2019   Cerra David IL 20190201     131:25 ‐ 133:7    R, V
February 1, 2019   Cerra David IL 20190201     133:11 ‐ 133:12   R, V, S
February 1, 2019   Cerra David IL 20190201     133:13 ‐ 133:15   R, V, S
February 1, 2019   Cerra_David_IL_20190201     133:19 ‐ 134:17   R, S
February 1, 2019   Cerra David IL 20190201     134:21 ‐ 134:21   R, S
February 1, 2019   Cerra_David_IL_20190201     134:24 ‐ 135:7    R
February 1, 2019   Cerra David IL 20190201     136:6 ‐ 136:15    R
February 1, 2019   Cerra_David_IL_20190201     136:18 ‐ 136:18   R
February 1, 2019   Cerra David IL 20190201     145:19 ‐ 146:4
February 1, 2019   Cerra_David_IL_20190201     146:7 ‐ 146:15
February 1, 2019   Cerra David IL 20190201     173:25 ‐ 174:2    R
February 1, 2019   Cerra_David_IL_20190201     175:21 ‐ 176:6    R
July 7, 2020       Cho Elizabeth DE 20200707   6:23 ‐ 7:5
July 7, 2020       Cho_Elizabeth_DE_20200707   9:16 ‐ 9:21
July 7, 2020       Cho Elizabeth DE 20200707   12:20 ‐ 13:1
July 7, 2020       Cho_Elizabeth_DE_20200707   14:12 ‐ 14:18
July 7, 2020       Cho Elizabeth DE 20200707   14:20 ‐ 15:8
July 7, 2020       Cho_Elizabeth_DE_20200707   15:22 ‐ 15:24
July 7, 2020       Cho Elizabeth DE 20200707   16:12 ‐ 17:9
July 7 2020        Cho_Elizabeth_DE_20200707   17:21 ‐ 18:1
July 7, 2020       Cho Elizabeth DE 20200707   19:6 ‐ 19:23
July 7, 2020       Cho Elizabeth DE 20200707   20:14 ‐ 21:12
July 7, 2020       Cho Elizabeth DE 20200707   22:9 ‐ 23:8
July 7, 2020       Cho Elizabeth DE 20200707   23:9 ‐ 23:24
July 7, 2020       Cho Elizabeth DE 20200707   23:25 ‐ 24:16
July 7, 2020       Cho Elizabeth DE 20200707   26:5 ‐ 26:15                           25:12‐26:4
July 7, 2020       Cho Elizabeth DE 20200707   26:16 ‐ 27:11
July 7, 2020       Cho Elizabeth DE 20200707   27:23 ‐ 28:13
July 7, 2020       Cho_Elizabeth_DE_20200707   29:12 ‐ 30:13
July 7, 2020       Cho Elizabeth DE 20200707   30:17 ‐ 31:9
July 7, 2020       Cho_Elizabeth_DE_20200707   31:10 ‐ 32:1
July 7, 2020       Cho Elizabeth DE 20200707   32:5 ‐ 33:6
July 7, 2020       Cho_Elizabeth_DE_20200707   34:8 ‐ 34:25
July 7, 2020       Cho Elizabeth DE 20200707   35:1 ‐ 35:19
July 7, 2020       Cho_Elizabeth_DE_20200707   35:23 ‐ 36:19
July 7, 2020       Cho Elizabeth DE 20200707   36:20 ‐ 36:20
July 7, 2020       Cho_Elizabeth_DE_20200707   36:25 ‐ 37:12
July 7, 2020       Cho Elizabeth DE 20200707   37:23 ‐ 38:22
July 7, 2020       Cho_Elizabeth_DE_20200707   39:11 ‐ 40:1
July 7, 2020       Cho Elizabeth DE 20200707   40:22 ‐ 41:17
July 7, 2020       Cho_Elizabeth_DE_20200707   41:18 ‐ 42:5
July 7, 2020       Cho Elizabeth DE 20200707   42:13 ‐ 43:5                           43:19‐24
July 7, 2020       Cho_Elizabeth_DE_20200707   44:4 ‐ 44:9
July 7, 2020       Cho Elizabeth DE 20200707   44:15 ‐ 45:8
July 7 2020        Cho_Elizabeth_DE_20200707   45:13 ‐ 45:17
July 7, 2020       Cho Elizabeth DE 20200707   46:4 ‐ 46:19
July 7, 2020       Cho Elizabeth DE 20200707   46:25 ‐ 47:12
July 7, 2020       Cho Elizabeth DE 20200707   47:25 ‐ 48:22
July 7, 2020       Cho Elizabeth DE 20200707   48:23 ‐ 49:4

                                                                  12
                         Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 488 of 555 PageID #: 57339
July 7, 2020      Cho Elizabeth DE 20200707       49:7 ‐ 49:16
July 7 2020       Cho_Elizabeth_DE_20200707       49:23 ‐ 50:13   M
July 7, 2020      Cho Elizabeth DE 20200707       50:16 ‐ 50:18
July 7, 2020      Cho Elizabeth DE 20200707       51:1 ‐ 51:8                        51:9‐17
July 7, 2020      Cho Elizabeth DE 20200707       52:9 ‐ 52:15
July 7, 2020      Cho Elizabeth DE 20200707       52:16 ‐ 54:18
July 7, 2020      Cho Elizabeth DE 20200707       54:19 ‐ 56:17
July 7, 2020      Cho Elizabeth DE 20200707       57:2 ‐ 57:17
July 7, 2020      Cho Elizabeth DE 20200707       58:5 ‐ 58:15
July 7, 2020      Cho Elizabeth DE 20200707       58:19 ‐ 59:2
July 7, 2020      Cho_Elizabeth_DE_20200707       59:10 ‐ 59:17
July 7, 2020      Cho Elizabeth DE 20200707       62:23 ‐ 63:9
July 7, 2020      Cho_Elizabeth_DE_20200707       63:15 ‐ 63:23
October 7, 2020   Christensen Cliff DE 20201007   5:8 ‐ 5:10
October 7, 2020   Christensen_Cliff_DE_20201007   10:9 ‐ 10:13
October 7, 2020   Christensen Cliff DE 20201007   11:3 ‐ 12:2
October 7, 2020   Christensen_Cliff_DE_20201007   14:21 ‐ 14:24
October 7, 2020   Christensen Cliff DE 20201007   15:7 ‐ 15:18
October 7, 2020   Christensen_Cliff_DE_20201007   17:12 ‐ 17:16
October 7, 2020   Christensen Cliff DE 20201007   36:7 ‐ 36:13
October 7, 2020   Christensen_Cliff_DE_20201007   36:21 ‐ 37:1
October 7, 2020   Christensen Cliff DE 20201007   37:4 ‐ 37:14
October 7, 2020   Christensen_Cliff_DE_20201007   38:23 ‐ 39:10
October 7, 2020   Christensen Cliff DE 20201007   39:13 ‐ 39:16
October 7, 2020   Christensen_Cliff_DE_20201007   40:8 ‐ 40:18
October 7, 2020   Christensen Cliff DE 20201007   49:8 ‐ 49:24                       51:24‐52:19
October 7 2020    Christensen_Cliff_DE_20201007   50:23 ‐ 51:1                       51:24‐52:19
October 7, 2020   Christensen Cliff DE 20201007   51:8 ‐ 51:23                       51:24‐52:19
October 7, 2020   Christensen Cliff DE 20201007   56:1 ‐ 57:7
October 7, 2020   Christensen Cliff DE 20201007   66:19 ‐ 67:13                      69:21‐70:2
October 7, 2020   Christensen Cliff DE 20201007   68:25 ‐ 69:20
August 19, 2020   Clingman Darrell DE 20200819    15:9 ‐ 15:16
August 19, 2020   Clingman Darrell DE 20200819    15:25 ‐ 17:7
August 19, 2020   Clingman Darrell DE 20200819    17:18 ‐ 18:4
August 19, 2020   Clingman Darrell DE 20200819    18:9 ‐ 19:5
August 19, 2020   Clingman_Darrell_DE_20200819    19:17 ‐ 20:13
August 19, 2020   Clingman Darrell DE 20200819    25:7 ‐ 26:3
August 19, 2020   Clingman_Darrell_DE_20200819    26:4 ‐ 26:18
August 19, 2020   Clingman Darrell DE 20200819    31:7 ‐ 31:25
August 19, 2020   Clingman_Darrell_DE_20200819    32:10 ‐ 33:5
August 19, 2020   Clingman Darrell DE 20200819    34:12 ‐ 35:2
August 19, 2020   Clingman_Darrell_DE_20200819    35:15 ‐ 36:12
August 19, 2020   Clingman Darrell DE 20200819    36:17 ‐ 37:10
August 19, 2020   Clingman_Darrell_DE_20200819    37:18 ‐ 37:24
August 19, 2020   Clingman Darrell DE 20200819    42:25 ‐ 43:22
August 19, 2020   Clingman_Darrell_DE_20200819    44:19 ‐ 45:21
August 19, 2020   Clingman Darrell DE 20200819    45:25 ‐ 54:5
August 19, 2020   Clingman_Darrell_DE_20200819    54:21 ‐ 55:9
August 19, 2020   Clingman Darrell DE 20200819    56:24 ‐ 57:22
August 19, 2020   Clingman_Darrell_DE_20200819    58:1 ‐ 58:18
August 19, 2020   Clingman Darrell DE 20200819    61:2 ‐ 61:13
August 19 2020    Clingman_Darrell_DE_20200819    61:23 ‐ 62:3
August 19, 2020   Clingman Darrell DE 20200819    63:24 ‐ 64:11
August 19, 2020   Clingman Darrell DE 20200819    66:22 ‐ 67:9
August 19, 2020   Clingman Darrell DE 20200819    67:24 ‐ 68:1
August 19, 2020   Clingman Darrell DE 20200819    68:5 ‐ 68:22

                                                                  13
                           Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 489 of 555 PageID #: 57340
August 19, 2020     Clingman Darrell DE 20200819   69:11 ‐ 69:24
August 19 2020      Clingman_Darrell_DE_20200819   70:9 ‐ 70:15
August 19, 2020     Clingman Darrell DE 20200819   70:18 ‐ 70:25
August 19, 2020     Clingman Darrell DE 20200819   71:5 ‐ 71:14
August 19, 2020     Clingman Darrell DE 20200819   71:15 ‐ 72:3
August 19, 2020     Clingman Darrell DE 20200819   72:10 ‐ 72:21
August 19, 2020     Clingman Darrell DE 20200819   72:22 ‐ 73:5
August 19, 2020     Clingman Darrell DE 20200819   73:16 ‐ 74:1
August 19, 2020     Clingman Darrell DE 20200819   74:9 ‐ 74:25
August 19, 2020     Clingman Darrell DE 20200819   75:22 ‐ 76:11
August 19, 2020     Clingman_Darrell_DE_20200819   76:15 ‐ 77:10
August 19, 2020     Clingman Darrell DE 20200819   79:15 ‐ 79:21
August 19, 2020     Clingman_Darrell_DE_20200819   82:2 ‐ 82:8
August 19, 2020     Clingman Darrell DE 20200819   90:6 ‐ 90:20
August 19, 2020     Clingman_Darrell_DE_20200819   94:25 ‐ 95:5
August 19, 2020     Clingman Darrell DE 20200819   97:17 ‐ 98:4
August 19, 2020     Clingman_Darrell_DE_20200819   100:21 ‐ 101:6
August 19, 2020     Clingman Darrell DE 20200819   106:2 ‐ 106:13
August 19, 2020     Clingman_Darrell_DE_20200819   107:19 ‐ 108:6
January 22, 2021    Coward Daniel IL 20210122      7:8 ‐ 7:13
January 22, 2021    Coward_Daniel_IL_20210122      9:6 ‐ 11:5
January 22, 2021    Coward Daniel IL 20210122      11:9 ‐ 15:25
January 22, 2021    Coward_Daniel_IL_20210122      16:17 ‐ 17:13
January 22, 2021    Coward Daniel IL 20210122      17:14 ‐ 17:25
January 22, 2021    Coward_Daniel_IL_20210122      18:2 ‐ 18:17
January 22, 2021    Coward Daniel IL 20210122      18:18 ‐ 19:13
January 22 2021     Coward_Daniel_IL_20210122      19:22 ‐ 20:10
January 22, 2021    Coward Daniel IL 20210122      20:17 ‐ 21:11
January 22, 2021    Coward Daniel IL 20210122      22:22 ‐ 23:10
January 22, 2021    Coward Daniel IL 20210122      23:20 ‐ 24:2
January 22, 2021    Coward Daniel IL 20210122      25:5 ‐ 25:8
January 22, 2021    Coward Daniel IL 20210122      26:14 ‐ 28:13    H, Sp
January 22, 2021    Coward Daniel IL 20210122      28:17 ‐ 29:12    H, Sp
December 17, 2020   Daube Doug IL 20201217         4:25 ‐ 5:3
December 17, 2020   Daube Doug IL 20201217         8:24 ‐ 9:16
December 17, 2020   Daube_Doug_IL_20201217         11:25 ‐ 12:3
December 17, 2020   Daube Doug IL 20201217         12:4 ‐ 12:24
December 17, 2020   Daube_Doug_IL_20201217         14:14 ‐ 14:21
December 17, 2020   Daube Doug IL 20201217         15:5 ‐ 15:22
December 17, 2020   Daube_Doug_IL_20201217         16:17 ‐ 17:21                       18:14‐19:2
December 17, 2020   Daube Doug IL 20201217         19:14 ‐ 20:8                        18:14‐19:2
December 17, 2020   Daube_Doug_IL_20201217         20:9 ‐ 21:6
December 17, 2020   Daube Doug IL 20201217         21:14 ‐ 21:16
December 17, 2020   Daube_Doug_IL_20201217         21:25 ‐ 22:3
December 17, 2020   Daube Doug IL 20201217         22:4 ‐ 25:3
December 17, 2020   Daube_Doug_IL_20201217         27:13 ‐ 27:20
December 17, 2020   Daube Doug IL 20201217         27:21 ‐ 28:5
December 17, 2020   Daube_Doug_IL_20201217         28:6 ‐ 28:10
December 17, 2020   Daube Doug IL 20201217         34:6 ‐ 34:17
December 17, 2020   Daube_Doug_IL_20201217         37:1 ‐ 37:4
December 17, 2020   Daube Doug IL 20201217         38:1 ‐ 38:7
December 17 2020    Daube_Doug_IL_20201217         41:10 ‐ 41:14
December 17, 2020   Daube Doug IL 20201217         42:11 ‐ 42:17
December 17, 2020   Daube Doug IL 20201217         46:25 ‐ 47:2
December 17, 2020   Daube Doug IL 20201217         47:5 ‐ 47:7
December 17, 2020   Daube Doug IL 20201217         53:15 ‐ 53:18    M, V

                                                                     14
                           Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 490 of 555 PageID #: 57341
December 17, 2020   Daube Doug IL 20201217           53:20 ‐ 54:8
December 17 2020    Daube_Doug_IL_20201217           54:12 ‐ 55:9    S
December 17, 2020   Daube Doug IL 20201217           55:12 ‐ 56:25   S
December 17, 2020   Daube Doug IL 20201217           57:3 ‐ 58:2
December 17, 2020   Daube Doug IL 20201217           58:3 ‐ 58:6
December 17, 2020   Daube Doug IL 20201217           58:9 ‐ 58:11
December 17, 2020   Daube Doug IL 20201217           58:24 ‐ 59:6                      59:7‐60:9
December 17, 2020   Daube Doug IL 20201217           65:10 ‐ 65:18   AF, Sp, V
December 17, 2020   Daube Doug IL 20201217           65:21 ‐ 66:25   AF, Sp, V
December 17, 2020   Daube Doug IL 20201217           72:18 ‐ 73:2
December 17, 2020   Daube_Doug_IL_20201217           73:13 ‐ 73:23
April 14, 2020      DeBusschere Joshua IL 20200414   11:5 ‐ 11:6
April 14, 2020      DeBusschere_Joshua_IL_20200414   11:16 ‐ 11:21
April 14, 2020      DeBusschere Joshua IL 20200414   16:15 ‐ 16:20
April 14, 2020      DeBusschere_Joshua_IL_20200414   17:23 ‐ 18:14   R
April 14, 2020      DeBusschere Joshua IL 20200414   18:19 ‐ 19:4    R                 19:12‐22
April 14, 2020      DeBusschere_Joshua_IL_20200414   19:5 ‐ 19:11    R
April 14, 2020      DeBusschere Joshua IL 20200414   20:23 ‐ 21:9    R
April 14, 2020      DeBusschere_Joshua_IL_20200414   21:11 ‐ 21:15   R
April 14, 2020      DeBusschere Joshua IL 20200414   23:8 ‐ 23:23    R
April 14, 2020      DeBusschere_Joshua_IL_20200414   25:8 ‐ 26:1     R, P
April 14, 2020      DeBusschere Joshua IL 20200414   26:2 ‐ 26:6     R, P
April 14, 2020      DeBusschere_Joshua_IL_20200414   26:20 ‐ 26:22   R
April 14, 2020      DeBusschere Joshua IL 20200414   27:1 ‐ 27:3     R
April 14, 2020      DeBusschere_Joshua_IL_20200414   27:16 ‐ 28:12   R
April 14, 2020      DeBusschere Joshua IL 20200414   28:13 ‐ 28:18   R
April 14 2020       DeBusschere_Joshua_IL_20200414   28:19 ‐ 29:15   R P               29:16‐35:9; 193:11‐17
April 14, 2020      DeBusschere Joshua IL 20200414   35:10 ‐ 35:13   R
April 14, 2020      DeBusschere Joshua IL 20200414   36:21 ‐ 37:22   R
April 14, 2020      DeBusschere Joshua IL 20200414   38:18 ‐ 39:4    R
April 14, 2020      DeBusschere Joshua IL 20200414   39:5 ‐ 39:7     R
April 14, 2020      DeBusschere Joshua IL 20200414   39:20 ‐ 40:8    R
April 14, 2020      DeBusschere Joshua IL 20200414   40:9 ‐ 41:15    R
April 14, 2020      DeBusschere Joshua IL 20200414   45:17 ‐ 45:21   R, F
April 14, 2020      DeBusschere Joshua IL 20200414   45:24 ‐ 46:10   R, F
April 14, 2020      DeBusschere_Joshua_IL_20200414   49:3 ‐ 49:17    R
April 14, 2020      DeBusschere Joshua IL 20200414   50:2 ‐ 50:20    R, P              50:21‐51:2
April 14, 2020      DeBusschere_Joshua_IL_20200414   51:3 ‐ 52:5     R, P              50:21‐51:2
April 14, 2020      DeBusschere Joshua IL 20200414   52:12 ‐ 52:17   R, P              52:6‐11
April 14, 2020      DeBusschere_Joshua_IL_20200414   52:21 ‐ 53:2    R, P              52:6‐11
April 14, 2020      DeBusschere Joshua IL 20200414   53:9 ‐ 53:18    R, P
April 14, 2020      DeBusschere_Joshua_IL_20200414   54:8 ‐ 54:23    R, P
April 14, 2020      DeBusschere Joshua IL 20200414   56:2 ‐ 56:6     R, P
April 14, 2020      DeBusschere_Joshua_IL_20200414   59:22 ‐ 59:24   R, P
April 14, 2020      DeBusschere Joshua IL 20200414   66:9 ‐ 66:16    R, P
April 14, 2020      DeBusschere_Joshua_IL_20200414   67:6 ‐ 67:13    R, P
April 14, 2020      DeBusschere Joshua IL 20200414   67:14 ‐ 67:18   R, P
April 14, 2020      DeBusschere_Joshua_IL_20200414   67:20 ‐ 68:13   R, P
April 14, 2020      DeBusschere Joshua IL 20200414   68:23 ‐ 69:9    R, P
April 14, 2020      DeBusschere_Joshua_IL_20200414   69:20 ‐ 70:7    R, P
April 14, 2020      DeBusschere Joshua IL 20200414   72:13 ‐ 72:18   R, P, F
April 14 2020       DeBusschere_Joshua_IL_20200414   73:7 ‐ 73:11    R P F
April 14, 2020      DeBusschere Joshua IL 20200414   73:20 ‐ 74:14   R, P
April 14, 2020      DeBusschere Joshua IL 20200414   74:15 ‐ 74:24   R, P
April 14, 2020      DeBusschere Joshua IL 20200414   75:23 ‐ 76:6    R, P, F, Sp
April 14, 2020      DeBusschere Joshua IL 20200414   76:9 ‐ 76:23    R, P, F, Sp

                                                                         15
                        Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 491 of 555 PageID #: 57342
April 14, 2020   DeBusschere Joshua IL 20200414   81:5 ‐ 81:19      R, P
April 14 2020    DeBusschere_Joshua_IL_20200414   82:15 ‐ 82:22     R P
April 14, 2020   DeBusschere Joshua IL 20200414   83:19 ‐ 84:2      R, P
April 14, 2020   DeBusschere Joshua IL 20200414   84:6 ‐ 84:15      R, P
April 14, 2020   DeBusschere Joshua IL 20200414   89:6 ‐ 89:17
April 14, 2020   DeBusschere Joshua IL 20200414   90:9 ‐ 90:12      F, Sp, H
April 14, 2020   DeBusschere Joshua IL 20200414   90:17 ‐ 91:14     F, Sp, H
April 14, 2020   DeBusschere Joshua IL 20200414   92:10 ‐ 92:13     F, Sp, M        92:20‐93:4
April 14, 2020   DeBusschere Joshua IL 20200414   93:5 ‐ 93:10      F, Sp, M        92:20‐93:4
April 14, 2020   DeBusschere Joshua IL 20200414   93:14 ‐ 93:24     R, P
April 14, 2020   DeBusschere_Joshua_IL_20200414   94:14 ‐ 95:5      R, P, F
April 14, 2020   DeBusschere Joshua IL 20200414   95:8 ‐ 95:15      R, P, F
April 14, 2020   DeBusschere_Joshua_IL_20200414   95:22 ‐ 95:23     R, P, F
April 14, 2020   DeBusschere Joshua IL 20200414   96:14 ‐ 96:23     R, P
April 14, 2020   DeBusschere_Joshua_IL_20200414   96:24 ‐ 97:9      R, P
April 14, 2020   DeBusschere Joshua IL 20200414   99:9 ‐ 99:17      R, P
April 14, 2020   DeBusschere_Joshua_IL_20200414   100:1 ‐ 100:14    R, P            101:1‐15
April 14, 2020   DeBusschere Joshua IL 20200414   100:15 ‐ 100:24   R, P            101:1‐15
April 14, 2020   DeBusschere_Joshua_IL_20200414   101:16 ‐ 101:19   R, P, F, M      101:1‐15
April 14, 2020   DeBusschere Joshua IL 20200414   101:22 ‐ 102:12   R, P, F, M
April 14, 2020   DeBusschere_Joshua_IL_20200414   105:7 ‐ 105:18    R, P
April 14, 2020   DeBusschere Joshua IL 20200414   105:19 ‐ 106:7    R, P
April 14, 2020   DeBusschere_Joshua_IL_20200414   106:8 ‐ 106:12    R, P
April 14, 2020   DeBusschere Joshua IL 20200414   106:24 ‐ 107:10   R, P
April 14, 2020   DeBusschere_Joshua_IL_20200414   108:22 ‐ 108:23   R, P, F
April 14, 2020   DeBusschere Joshua IL 20200414   109:2 ‐ 109:6     R, P, F
April 14 2020    DeBusschere_Joshua_IL_20200414   112:17 ‐ 112:22   R P
April 14, 2020   DeBusschere Joshua IL 20200414   115:9 ‐ 115:16    R, P
April 14, 2020   DeBusschere Joshua IL 20200414   115:21 ‐ 116:10   R, P
April 14, 2020   DeBusschere Joshua IL 20200414   116:11 ‐ 117:3    R, P
April 14, 2020   DeBusschere Joshua IL 20200414   117:17 ‐ 118:7    R, P
April 14, 2020   DeBusschere Joshua IL 20200414   118:21 ‐ 119:8    R, P            119:9‐17
April 14, 2020   DeBusschere Joshua IL 20200414   121:5 ‐ 121:11    R, P
April 14, 2020   DeBusschere Joshua IL 20200414   121:24 ‐ 122:4    R, P
April 14, 2020   DeBusschere Joshua IL 20200414   123:17 ‐ 126:2    R, P
April 14, 2020   DeBusschere_Joshua_IL_20200414   126:4 ‐ 127:3     R, P
April 14, 2020   DeBusschere Joshua IL 20200414   127:4 ‐ 128:17    R, P
April 14, 2020   DeBusschere_Joshua_IL_20200414   129:6 ‐ 129:12    R, P
April 14, 2020   DeBusschere Joshua IL 20200414   135:11 ‐ 135:16   R, P
April 14, 2020   DeBusschere_Joshua_IL_20200414   136:11 ‐ 136:22   R, P
April 14, 2020   DeBusschere Joshua IL 20200414   137:4 ‐ 137:9     R, P
April 14, 2020   DeBusschere_Joshua_IL_20200414   137:10 ‐ 137:18   R, P
April 14, 2020   DeBusschere Joshua IL 20200414   140:14 ‐ 141:12   R, P
April 14, 2020   DeBusschere_Joshua_IL_20200414   142:10 ‐ 143:2    R, P
April 14, 2020   DeBusschere Joshua IL 20200414   144:17 ‐ 145:11   R, P
April 14, 2020   DeBusschere_Joshua_IL_20200414   145:15 ‐ 145:21   R, P
April 14, 2020   DeBusschere Joshua IL 20200414   146:15 ‐ 147:1    R, P
April 14, 2020   DeBusschere_Joshua_IL_20200414   147:2 ‐ 147:5     R, P
April 14, 2020   DeBusschere Joshua IL 20200414   149:11 ‐ 149:21   R, P
April 14, 2020   DeBusschere_Joshua_IL_20200414   149:22 ‐ 150:18   R, P
April 14, 2020   DeBusschere Joshua IL 20200414   150:19 ‐ 151:19   R, P
April 14 2020    DeBusschere_Joshua_IL_20200414   152:21 ‐ 153:2    R P
April 14, 2020   DeBusschere Joshua IL 20200414   154:6 ‐ 154:11    R, P
April 14, 2020   DeBusschere Joshua IL 20200414   154:12 ‐ 155:5    R, P
April 14, 2020   DeBusschere Joshua IL 20200414   155:8 ‐ 155:22    R, P
April 14, 2020   DeBusschere Joshua IL 20200414   156:2 ‐ 156:13    R, P

                                                                     16
                          Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 492 of 555 PageID #: 57343
April 14, 2020     DeBusschere Joshua IL 20200414   156:14 ‐ 157:1    R, P
April 14 2020      DeBusschere_Joshua_IL_20200414   157:2 ‐ 157:11    R P
April 14, 2020     DeBusschere Joshua IL 20200414   157:12 ‐ 157:23   R, P
April 14, 2020     DeBusschere Joshua IL 20200414   157:24 ‐ 158:14   R, P
April 14, 2020     DeBusschere Joshua IL 20200414   159:1 ‐ 159:11    R, P
April 14, 2020     DeBusschere Joshua IL 20200414   160:13 ‐ 160:22   R, P
April 14, 2020     DeBusschere Joshua IL 20200414   160:23 ‐ 161:7    R, P
April 14, 2020     DeBusschere Joshua IL 20200414   162:15 ‐ 162:18   R, P
April 14, 2020     DeBusschere Joshua IL 20200414   163:9 ‐ 164:3     R, P
April 14, 2020     DeBusschere Joshua IL 20200414   163:1 ‐ 163:7     R, P
April 14, 2020     DeBusschere_Joshua_IL_20200414   164:7 ‐ 164:11    R, P
April 14, 2020     DeBusschere Joshua IL 20200414   164:18 ‐ 165:6    R, P
April 14, 2020     DeBusschere_Joshua_IL_20200414   166:20 ‐ 168:13   R, P
April 14, 2020     DeBusschere Joshua IL 20200414   169:1 ‐ 169:12    R, P
April 14, 2020     DeBusschere_Joshua_IL_20200414   171:21 ‐ 172:5    R, P
April 14, 2020     DeBusschere Joshua IL 20200414   174:16 ‐ 175:8    R, P
April 14, 2020     DeBusschere_Joshua_IL_20200414   178:17 ‐ 179:10   R, P
April 14, 2020     DeBusschere Joshua IL 20200414   179:15 ‐ 179:16   R, P
April 14, 2020     DeBusschere_Joshua_IL_20200414   180:18 ‐ 180:23   R, P
April 14, 2020     DeBusschere Joshua IL 20200414   181:3 ‐ 181:13    R, P
April 14, 2020     DeBusschere_Joshua_IL_20200414   183:15 ‐ 183:23   R, P
April 14, 2020     DeBusschere Joshua IL 20200414   185:20 ‐ 186:12   R, P
April 14, 2020     DeBusschere_Joshua_IL_20200414   186:13 ‐ 186:21   R, P, Sp, F
April 14, 2020     DeBusschere Joshua IL 20200414   186:24 ‐ 187:4    R, P, Sp, F
April 14, 2020     DeBusschere_Joshua_IL_20200414   187:22 ‐ 188:3    R, P
April 14, 2020     DeBusschere Joshua IL 20200414   188:11 ‐ 188:21   R, P
April 14 2020      DeBusschere_Joshua_IL_20200414   188:22 ‐ 189:13   R P
April 14, 2020     DeBusschere Joshua IL 20200414   192:3 ‐ 193:5     R, P
April 14, 2020     DeBusschere Joshua IL 20200414   194:17 ‐ 194:20   R, P
April 14, 2020     DeBusschere Joshua IL 20200414   224:19 ‐ 225:10   R, P
April 14, 2020     DeBusschere Joshua IL 20200414   236:17 ‐ 239:6    R, P
April 14, 2020     DeBusschere Joshua IL 20200414   240:19 ‐ 240:24   R, P
April 14, 2020     DeBusschere Joshua IL 20200414   240:8 ‐ 240:10    R, P
April 14, 2020     DeBusschere Joshua IL 20200414   271:9 ‐ 271:13    R, P
April 14, 2020     DeBusschere Joshua IL 20200414   271:14 ‐ 272:1    R, P
April 14, 2020     DeBusschere_Joshua_IL_20200414   272:9 ‐ 273:7     R
April 14, 2020     DeBusschere Joshua IL 20200414   274:20 ‐ 275:23   F, M
April 14, 2020     DeBusschere_Joshua_IL_20200414   276:6 ‐ 276:8     F, M
April 14, 2020     DeBusschere Joshua IL 20200414   276:10 ‐ 276:14   F
April 14, 2020     DeBusschere_Joshua_IL_20200414   279:15 ‐ 279:19   R, P
April 14, 2020     DeBusschere Joshua IL 20200414   279:21 ‐ 280:7    R, P
April 14, 2020     DeBusschere_Joshua_IL_20200414   281:22 ‐ 282:2    R, P
April 14, 2020     DeBusschere Joshua IL 20200414   282:4 ‐ 282:8     R, P
April 14, 2020     DeBusschere_Joshua_IL_20200414   282:11 ‐ 282:12   R,P
April 14, 2020     DeBusschere Joshua IL 20200414   283:6 ‐ 284:11    F, Sp
October 28, 2020   DiFalco_Joe_IL_20201028          12:9 ‐ 13:1
October 28, 2020   DiFalco Joe IL 20201028          24:15 ‐ 25:4
October 28, 2020   DiFalco_Joe_IL_20201028          36:24 ‐ 37:11                     36:24‐37:13
October 28, 2020   DiFalco Joe IL 20201028          37:16 ‐ 39:6
October 28, 2020   DiFalco_Joe_IL_20201028          40:1 ‐ 40:8
October 28, 2020   DiFalco Joe IL 20201028          48:13 ‐ 48:24
October 28 2020    DiFalco_Joe_IL_20201028          49:17 ‐ 50:11
October 28, 2020   DiFalco Joe IL 20201028          50:14 ‐ 50:19     V, F
October 28, 2020   DiFalco Joe IL 20201028          50:22 ‐ 51:2      F, Sp
October 28, 2020   DiFalco Joe IL 20201028          55:24 ‐ 56:23
October 28, 2020   DiFalco Joe IL 20201028          78:22 ‐ 79:19     R, F

                                                                       17
                           Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 493 of 555 PageID #: 57344
October 28, 2020    DiFalco Joe IL 20201028      80:6 ‐ 80:15      R, F
October 28 2020     DiFalco_Joe_IL_20201028      80:19 ‐ 81:15     R F Sp
October 28, 2020    DiFalco Joe IL 20201028      97:9 ‐ 97:17      R, F, Sp
October 28, 2020    DiFalco Joe IL 20201028      105:24 ‐ 106:11   R, F, Sp
October 28, 2020    DiFalco Joe IL 20201028      107:24 ‐ 108:12   R, F, Sp
October 28, 2020    DiFalco Joe IL 20201028      109:6 ‐ 109:13    R
October 28, 2020    DiFalco Joe IL 20201028      111:2 ‐ 112:8     R, F, Sp
October 28, 2020    DiFalco Joe IL 20201028      114:6 ‐ 114:9     R
October 28, 2020    DiFalco Joe IL 20201028      115:24 ‐ 116:4
October 28, 2020    DiFalco Joe IL 20201028      116:12 ‐ 117:4    R
October 28, 2020    DiFalco_Joe_IL_20201028      118:13 ‐ 119:20   R
October 28, 2020    DiFalco Joe IL 20201028      119:23 ‐ 120:24   R, Sp
October 28, 2020    DiFalco_Joe_IL_20201028      121:2 ‐ 121:4
October 28, 2020    DiFalco Joe IL 20201028      122:11 ‐ 122:19
October 28, 2020    DiFalco_Joe_IL_20201028      122:23 ‐ 124:4
October 28, 2020    DiFalco Joe IL 20201028      125:13 ‐ 126:9
October 28, 2020    DiFalco_Joe_IL_20201028      126:22 ‐ 128:10
October 28, 2020    DiFalco Joe IL 20201028      151:17 ‐ 151:19
October 28, 2020    DiFalco_Joe_IL_20201028      152:2 ‐ 152:21
October 28, 2020    DiFalco Joe IL 20201028      152:23 ‐ 153:22   Sp
October 28, 2020    DiFalco_Joe_IL_20201028      154:2 ‐ 154:10
October 28, 2020    DiFalco Joe IL 20201028      154:12 ‐ 155:2                        154:12 ‐ 157:24
October 28, 2020    DiFalco_Joe_IL_20201028      158:5 ‐ 158:9     F, Sp
October 28, 2020    DiFalco Joe IL 20201028      158:12 ‐ 158:17
October 28, 2020    DiFalco_Joe_IL_20201028      158:24 ‐ 160:15   R
October 28, 2020    DiFalco Joe IL 20201028      160:16 ‐ 160:18
October 28 2020     DiFalco_Joe_IL_20201028      160:24 ‐ 163:1    R Sp M
October 28, 2020    DiFalco Joe IL 20201028      163:4 ‐ 163:10    R, Sp, M
October 28, 2020    DiFalco Joe IL 20201028      163:20 ‐ 164:1
October 28, 2020    DiFalco Joe IL 20201028      164:5 ‐ 165:18
October 28, 2020    DiFalco Joe IL 20201028      165:19 ‐ 166:9
October 28, 2020    DiFalco Joe IL 20201028      171:14 ‐ 171:18   R, P
October 28, 2020    DiFalco Joe IL 20201028      171:19 ‐ 171:21   R, P
October 28, 2020    DiFalco Joe IL 20201028      172:6 ‐ 172:14    R, P
October 28, 2020    DiFalco Joe IL 20201028      172:15 ‐ 175:8    R, P
October 28, 2020    DiFalco_Joe_IL_20201028      212:19 ‐ 213:8    R, Sp, F            212:19‐221:6
November 20, 2020   DiFalco Joseph DE 20201120   9:3 ‐ 9:9
November 20, 2020   DiFalco_Joseph_DE_20201120   17:19 ‐ 18:2
November 20, 2020   DiFalco Joseph DE 20201120   18:13 ‐ 18:22
November 20, 2020   DiFalco_Joseph_DE_20201120   18:5 ‐ 18:10
November 20, 2020   DiFalco Joseph DE 20201120   18:23 ‐ 19:4
November 20, 2020   DiFalco_Joseph_DE_20201120   19:5 ‐ 19:6
November 20, 2020   DiFalco Joseph DE 20201120   19:9 ‐ 19:12
November 20, 2020   DiFalco_Joseph_DE_20201120   19:15 ‐ 19:15
November 20, 2020   DiFalco Joseph DE 20201120   19:16 ‐ 20:17
November 20, 2020   DiFalco_Joseph_DE_20201120   20:18 ‐ 21:4
November 20, 2020   DiFalco Joseph DE 20201120   21:19 ‐ 22:9
November 20, 2020   DiFalco_Joseph_DE_20201120   24:4 ‐ 24:19
November 20, 2020   DiFalco Joseph DE 20201120   25:2 ‐ 25:5                           25:2 ‐ 28:2
November 20, 2020   DiFalco_Joseph_DE_20201120   28:3 ‐ 28:16                          28:3 ‐ 30:12
November 20, 2020   DiFalco Joseph DE 20201120   28:17 ‐ 28:24                         28:3 ‐ 30:12
November 20 2020    DiFalco_Joseph_DE_20201120   30:3 ‐ 30:7                           28:3 ‐ 30:12
November 20, 2020   DiFalco Joseph DE 20201120   34:4 ‐ 34:10                          33:20‐38:23
November 20, 2020   DiFalco Joseph DE 20201120   38:24 ‐ 39:11                         38:24 ‐ 39:15
November 20, 2020   DiFalco Joseph DE 20201120   39:16 ‐ 41:10
November 20, 2020   DiFalco Joseph DE 20201120   41:13 ‐ 41:16

                                                                    18
                           Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 494 of 555 PageID #: 57345
November 20, 2020   DiFalco Joseph DE 20201120   41:19 ‐ 42:2
November 20 2020    DiFalco_Joseph_DE_20201120   42:3 ‐ 42:10
November 20, 2020   DiFalco Joseph DE 20201120   42:11 ‐ 42:19
November 20, 2020   DiFalco Joseph DE 20201120   42:24 ‐ 43:2
November 20, 2020   DiFalco Joseph DE 20201120   43:3 ‐ 43:10
November 20, 2020   DiFalco Joseph DE 20201120   43:11 ‐ 44:2      R
November 20, 2020   DiFalco Joseph DE 20201120   44:5 ‐ 44:6       R
November 20, 2020   DiFalco Joseph DE 20201120   44:17 ‐ 45:9      R
November 20, 2020   DiFalco Joseph DE 20201120   45:10 ‐ 45:18     R
November 20, 2020   DiFalco Joseph DE 20201120   45:19 ‐ 45:22     R
November 20, 2020   DiFalco_Joseph_DE_20201120   45:23 ‐ 46:13     R
November 20, 2020   DiFalco Joseph DE 20201120   46:16 ‐ 46:17     R
November 20, 2020   DiFalco_Joseph_DE_20201120   49:1 ‐ 49:17      R
November 20, 2020   DiFalco Joseph DE 20201120   49:20 ‐ 49:23     R
November 20, 2020   DiFalco_Joseph_DE_20201120   49:24 ‐ 50:10     R
November 20, 2020   DiFalco Joseph DE 20201120   50:11 ‐ 50:22     R
November 20, 2020   DiFalco_Joseph_DE_20201120   50:23 ‐ 51:3      R
November 20, 2020   DiFalco Joseph DE 20201120   55:9 ‐ 55:17                          54:7‐55:21
November 20, 2020   DiFalco_Joseph_DE_20201120   55:22 ‐ 56:13
November 20, 2020   DiFalco Joseph DE 20201120   56:23 ‐ 57:5      R                   56:23 ‐ 57:20
November 20, 2020   DiFalco_Joseph_DE_20201120   57:21 ‐ 58:23     R
November 20, 2020   DiFalco Joseph DE 20201120   59:13 ‐ 60:5      R, F, M
November 20, 2020   DiFalco_Joseph_DE_20201120   60:8 ‐ 60:19      R, F, Sp
November 20, 2020   DiFalco Joseph DE 20201120   60:23 ‐ 61:7      R, F, Sp            60:23 ‐ 67:1
November 20, 2020   DiFalco_Joseph_DE_20201120   67:2 ‐ 67:13      R, F, Sp            67:2‐71:5
November 20, 2020   DiFalco Joseph DE 20201120   71:6 ‐ 71:13
November 20 2020    DiFalco_Joseph_DE_20201120   71:20 ‐ 71:23
November 20, 2020   DiFalco Joseph DE 20201120   71:24 ‐ 72:15                         71:24 ‐ 75:5
November 20, 2020   DiFalco Joseph DE 20201120   75:6 ‐ 75:19      V, Sp, F
November 20, 2020   DiFalco Joseph DE 20201120   75:24 ‐ 76:5
November 20, 2020   DiFalco Joseph DE 20201120   76:6 ‐ 76:20
November 20, 2020   DiFalco Joseph DE 20201120   76:21 ‐ 77:6
November 20, 2020   DiFalco Joseph DE 20201120   77:7 ‐ 77:19
November 20, 2020   DiFalco Joseph DE 20201120   77:22 ‐ 78:15
November 20, 2020   DiFalco Joseph DE 20201120   81:17 ‐ 82:6                          80:1‐85:14
November 20, 2020   DiFalco_Joseph_DE_20201120   87:6 ‐ 87:17                          87:6 ‐ 88:21
November 20, 2020   DiFalco Joseph DE 20201120   89:17 ‐ 89:20
November 20, 2020   DiFalco_Joseph_DE_20201120   89:24 ‐ 90:14
November 20, 2020   DiFalco Joseph DE 20201120   97:18 ‐ 98:2      R, P
November 20, 2020   DiFalco_Joseph_DE_20201120   99:20 ‐ 100:5     R, P
November 20, 2020   DiFalco Joseph DE 20201120   103:14 ‐ 103:20   R, P
November 20, 2020   DiFalco_Joseph_DE_20201120   103:21 ‐ 105:21   R, P
November 20, 2020   DiFalco Joseph DE 20201120   106:4 ‐ 106:11    R, P
November 20, 2020   DiFalco_Joseph_DE_20201120   106:12 ‐ 107:9    R, P
November 20, 2020   DiFalco Joseph DE 20201120   107:10 ‐ 108:3    R, P
November 20, 2020   DiFalco_Joseph_DE_20201120   111:19 ‐ 112:8    R, P
November 20, 2020   DiFalco Joseph DE 20201120   112:9 ‐ 112:14    R, P
November 20, 2020   DiFalco_Joseph_DE_20201120   113:17 ‐ 114:1    R, P
November 20, 2020   DiFalco Joseph DE 20201120   114:2 ‐ 115:3     R, P
November 20, 2020   DiFalco_Joseph_DE_20201120   115:4 ‐ 115:16    R, P
November 20, 2020   DiFalco Joseph DE 20201120   115:17 ‐ 116:3    R, P
November 20 2020    DiFalco_Joseph_DE_20201120   116:23 ‐ 117:12   R P
November 20, 2020   DiFalco Joseph DE 20201120   116:6 ‐ 116:8     R, P
November 20, 2020   DiFalco Joseph DE 20201120   117:13 ‐ 118:4    R, P
November 20, 2020   DiFalco Joseph DE 20201120   119:14 ‐ 120:3    R, P
November 20, 2020   DiFalco Joseph DE 20201120   120:4 ‐ 120:18    R, P

                                                                    19
                           Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 495 of 555 PageID #: 57346
November 20, 2020   DiFalco Joseph DE 20201120   120:23 ‐ 122:8    R, P
November 20 2020    DiFalco_Joseph_DE_20201120   124:22 ‐ 124:24   R P
November 20, 2020   DiFalco Joseph DE 20201120   125:1 ‐ 125:2     R, P
November 20, 2020   DiFalco Joseph DE 20201120   126:9 ‐ 126:14    R, P
November 20, 2020   DiFalco Joseph DE 20201120   126:15 ‐ 127:9    R, P
November 20, 2020   DiFalco Joseph DE 20201120   127:11 ‐ 127:19   R, P
November 20, 2020   DiFalco Joseph DE 20201120   127:20 ‐ 127:24   R, P
November 20, 2020   DiFalco Joseph DE 20201120   128:2 ‐ 128:13    R, P
November 20, 2020   DiFalco Joseph DE 20201120   128:14 ‐ 129:1    R, P
November 20, 2020   DiFalco Joseph DE 20201120   129:2 ‐ 129:7     R, P
November 20, 2020   DiFalco_Joseph_DE_20201120   129:11 ‐ 129:17   R, P
November 20, 2020   DiFalco Joseph DE 20201120   129:19 ‐ 130:9    R, P
November 20, 2020   DiFalco_Joseph_DE_20201120   130:11 ‐ 131:12   R, P
November 20, 2020   DiFalco Joseph DE 20201120   132:24 ‐ 133:6    R, P
November 20, 2020   DiFalco_Joseph_DE_20201120   133:7 ‐ 133:10    R, P
November 20, 2020   DiFalco Joseph DE 20201120   133:19 ‐ 134:10   R, P
November 20, 2020   DiFalco_Joseph_DE_20201120   134:11 ‐ 134:19   R, P
November 20, 2020   DiFalco Joseph DE 20201120   134:20 ‐ 135:5    R, P
November 20, 2020   DiFalco_Joseph_DE_20201120   135:6 ‐ 136:17    R, P
November 20, 2020   DiFalco Joseph DE 20201120   137:6 ‐ 137:9     R, P
November 20, 2020   DiFalco_Joseph_DE_20201120   138:4 ‐ 138:13    R, P
November 20, 2020   DiFalco Joseph DE 20201120   138:14 ‐ 140:1    R, P
November 20, 2020   DiFalco_Joseph_DE_20201120   140:2 ‐ 140:16    R, P
November 20, 2020   DiFalco Joseph DE 20201120   142:7 ‐ 142:10    R, P
November 20, 2020   DiFalco_Joseph_DE_20201120   143:6 ‐ 143:9     R, P
November 20, 2020   DiFalco Joseph DE 20201120   143:10 ‐ 144:3    R, P
November 20 2020    DiFalco_Joseph_DE_20201120   144:4 ‐ 144:9     R P
November 20, 2020   DiFalco Joseph DE 20201120   144:17 ‐ 144:19   R, P
November 20, 2020   DiFalco Joseph DE 20201120   144:10 ‐ 144:13   R, P
November 20, 2020   DiFalco Joseph DE 20201120   144:23 ‐ 145:22   R, P
November 20, 2020   DiFalco Joseph DE 20201120   145:23 ‐ 146:23   R, P                145:23 ‐ 148:18
November 20, 2020   DiFalco Joseph DE 20201120   148:19 ‐ 149:14   R, P
November 20, 2020   DiFalco Joseph DE 20201120   149:15 ‐ 149:24   R, P
November 20, 2020   DiFalco Joseph DE 20201120   150:1 ‐ 150:16    R, P
November 20, 2020   DiFalco Joseph DE 20201120   150:24 ‐ 151:6    R, P                150:24 ‐ 151:15
November 20, 2020   DiFalco_Joseph_DE_20201120   152:2 ‐ 153:15    R, P                152:2 ‐ 153:23
November 20, 2020   DiFalco Joseph DE 20201120   155:17 ‐ 155:21   R, P
November 20, 2020   DiFalco_Joseph_DE_20201120   156:4 ‐ 156:6     R, P
November 20, 2020   DiFalco Joseph DE 20201120   156:7 ‐ 156:18    R, P
November 20, 2020   DiFalco_Joseph_DE_20201120   157:1 ‐ 157:11    R, P                157:1 ‐ 157:22
November 20, 2020   DiFalco Joseph DE 20201120   157:12 ‐ 157:15   R, P
November 20, 2020   DiFalco_Joseph_DE_20201120   157:23 ‐ 158:6    R, P                157:23 ‐ 158:12
November 20, 2020   DiFalco Joseph DE 20201120   158:13 ‐ 158:22   R, P
November 20, 2020   DiFalco_Joseph_DE_20201120   159:6 ‐ 159:13    R, P
November 20, 2020   DiFalco Joseph DE 20201120   160:17 ‐ 161:2    R, P                160:17 ‐ 163:15
November 20, 2020   DiFalco_Joseph_DE_20201120   163:16 ‐ 163:19
November 20, 2020   DiFalco Joseph DE 20201120   164:6 ‐ 164:8
November 20, 2020   DiFalco_Joseph_DE_20201120   164:9 ‐ 164:24                        164:9 ‐ 166:6
November 20, 2020   DiFalco Joseph DE 20201120   166:20 ‐ 166:22
November 20, 2020   DiFalco_Joseph_DE_20201120   168:3 ‐ 168:6
November 20, 2020   DiFalco Joseph DE 20201120   168:20 ‐ 170:6
November 20 2020    DiFalco_Joseph_DE_20201120   170:8 ‐ 170:17
November 20, 2020   DiFalco Joseph DE 20201120   170:21 ‐ 171:6
November 20, 2020   DiFalco Joseph DE 20201120   171:7 ‐ 171:15
November 20, 2020   DiFalco Joseph DE 20201120   171:16 ‐ 172:8                        171:16 ‐ 173:22
November 20, 2020   DiFalco Joseph DE 20201120   173:23 ‐ 174:6

                                                                    20
                           Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 496 of 555 PageID #: 57347
November 20, 2020   DiFalco Joseph DE 20201120   174:24 ‐ 175:2
November 20 2020    DiFalco_Joseph_DE_20201120   174:17 ‐ 174:20
November 20, 2020   DiFalco Joseph DE 20201120   175:3 ‐ 176:4     F, Sp
November 20, 2020   DiFalco Joseph DE 20201120   176:7 ‐ 177:14                        176:7 ‐ 177:20
November 20, 2020   DiFalco Joseph DE 20201120   177:22 ‐ 178:6    R, P, Sp
November 20, 2020   DiFalco Joseph DE 20201120   178:7 ‐ 178:16
November 20, 2020   DiFalco Joseph DE 20201120   179:21 ‐ 179:24   R, P
November 20, 2020   DiFalco Joseph DE 20201120   179:14 ‐ 179:17   R, P
November 20, 2020   DiFalco Joseph DE 20201120   180:1 ‐ 180:18    R, P
November 20, 2020   DiFalco Joseph DE 20201120   180:21 ‐ 181:8    R, P
November 20, 2020   DiFalco_Joseph_DE_20201120   181:18 ‐ 181:21   R, P
November 20, 2020   DiFalco Joseph DE 20201120   181:9 ‐ 181:12    R, P
November 20, 2020   DiFalco_Joseph_DE_20201120   181:22 ‐ 182:8    R, P, Sp
November 20, 2020   DiFalco Joseph DE 20201120   182:15 ‐ 182:22   R, P, Sp
November 20, 2020   DiFalco_Joseph_DE_20201120   182:11 ‐ 182:11   R, P, Sp
November 20, 2020   DiFalco Joseph DE 20201120   184:19 ‐ 185:4                        184:19 ‐ 185:8
November 20, 2020   DiFalco_Joseph_DE_20201120   185:15 ‐ 186:7
November 20, 2020   DiFalco Joseph DE 20201120   185:9 ‐ 185:12
November 20, 2020   DiFalco_Joseph_DE_20201120   186:8 ‐ 186:14
November 20, 2020   DiFalco Joseph DE 20201120   186:16 ‐ 186:19
November 20, 2020   DiFalco_Joseph_DE_20201120   188:13 ‐ 188:23   R
November 20, 2020   DiFalco Joseph DE 20201120   188:24 ‐ 189:2
November 20, 2020   DiFalco_Joseph_DE_20201120   189:6 ‐ 189:8
November 20, 2020   DiFalco Joseph DE 20201120   189:9 ‐ 189:23                        189:9 ‐ 190:9
November 20, 2020   DiFalco_Joseph_DE_20201120   190:10 ‐ 190:14
November 20, 2020   DiFalco Joseph DE 20201120   190:15 ‐ 190:17                       190:15 ‐ 192:18
November 20 2020    DiFalco_Joseph_DE_20201120   192:20 ‐ 193:6
November 20, 2020   DiFalco Joseph DE 20201120   193:18 ‐ 194:8
November 20, 2020   DiFalco Joseph DE 20201120   194:10 ‐ 195:4                        194:10 ‐ 196:20
November 20, 2020   DiFalco Joseph DE 20201120   196:21 ‐ 197:5                        196:21 ‐ 200:8
November 20, 2020   DiFalco Joseph DE 20201120   197:6 ‐ 197:13
November 20, 2020   DiFalco Joseph DE 20201120   200:10 ‐ 200:18
November 20, 2020   DiFalco Joseph DE 20201120   200:22 ‐ 201:1
November 20, 2020   DiFalco Joseph DE 20201120   201:2 ‐ 201:8
November 20, 2020   DiFalco Joseph DE 20201120   201:11 ‐ 201:24
November 20, 2020   DiFalco_Joseph_DE_20201120   202:2 ‐ 202:5
November 20, 2020   DiFalco Joseph DE 20201120   202:11 ‐ 202:14
November 20, 2020   DiFalco_Joseph_DE_20201120   203:13 ‐ 203:19                       203:13 ‐ 206:16
November 20, 2020   DiFalco Joseph DE 20201120   206:17 ‐ 206:20
November 20, 2020   DiFalco_Joseph_DE_20201120   207:24 ‐ 209:19
November 20, 2020   DiFalco Joseph DE 20201120   207:2 ‐ 207:5
November 20, 2020   DiFalco_Joseph_DE_20201120   207:6 ‐ 207:23
November 20, 2020   DiFalco Joseph DE 20201120   209:20 ‐ 209:23
November 20, 2020   DiFalco_Joseph_DE_20201120   210:4 ‐ 210:14
November 20, 2020   DiFalco Joseph DE 20201120   210:15 ‐ 211:11
November 20, 2020   DiFalco_Joseph_DE_20201120   211:12 ‐ 212:2
November 20, 2020   DiFalco Joseph DE 20201120   212:3 ‐ 212:17
November 20, 2020   DiFalco_Joseph_DE_20201120   212:18 ‐ 212:23                       212:18 ‐ 213:6
November 20, 2020   DiFalco Joseph DE 20201120   213:7 ‐ 213:10
November 20, 2020   DiFalco_Joseph_DE_20201120   213:18 ‐ 213:23
November 20, 2020   DiFalco Joseph DE 20201120   214:15 ‐ 215:2                        214:15 ‐ 216:15
November 20 2020    DiFalco_Joseph_DE_20201120   216:16 ‐ 216:24                       216:16 ‐ 219:1
November 20, 2020   DiFalco Joseph DE 20201120   216:16 ‐ 216:24                       216:16 ‐ 219:1
November 20, 2020   DiFalco Joseph DE 20201120   219:14 ‐ 221:5                        219:14 ‐ 221:17
November 20, 2020   DiFalco Joseph DE 20201120   221:18 ‐ 222:8
November 20, 2020   DiFalco Joseph DE 20201120   222:10 ‐ 222:24

                                                                    21
                           Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 497 of 555 PageID #: 57348
November 20, 2020   DiFalco Joseph DE 20201120   223:2 ‐ 223:4     R, P, Sp
November 20 2020    DiFalco_Joseph_DE_20201120   223:8 ‐ 223:12    R P Sp
November 20, 2020   DiFalco Joseph DE 20201120   223:16 ‐ 224:5    R, P, Sp
November 20, 2020   DiFalco Joseph DE 20201120   224:8 ‐ 224:9     R, P, Sp            224:8 ‐ 224:17
November 20, 2020   DiFalco Joseph DE 20201120   224:18 ‐ 224:24   R, P, Sp
November 20, 2020   DiFalco Joseph DE 20201120   225:1 ‐ 225:4     R
November 20, 2020   DiFalco Joseph DE 20201120   225:16 ‐ 225:21   R
November 20, 2020   DiFalco Joseph DE 20201120   227:6 ‐ 227:9     R, P
November 20, 2020   DiFalco Joseph DE 20201120   230:6 ‐ 232:16    R, P
November 20, 2020   DiFalco Joseph DE 20201120   232:17 ‐ 233:5    R, P, F, Sp
November 20, 2020   DiFalco_Joseph_DE_20201120   233:6 ‐ 233:9     R, P
November 20, 2020   DiFalco Joseph DE 20201120   233:13 ‐ 233:14   R, P
November 20, 2020   DiFalco_Joseph_DE_20201120   233:15 ‐ 233:19   R, P
November 20, 2020   DiFalco Joseph DE 20201120   234:23 ‐ 235:10   R, P
November 20, 2020   DiFalco_Joseph_DE_20201120   234:2 ‐ 234:9     R, P
November 20, 2020   DiFalco Joseph DE 20201120   234:11 ‐ 234:22   R, P
November 20, 2020   DiFalco_Joseph_DE_20201120   237:16 ‐ 237:19   R, P
November 20, 2020   DiFalco Joseph DE 20201120   238:3 ‐ 238:17    R, P
November 20, 2020   DiFalco_Joseph_DE_20201120   238:18 ‐ 238:21   R, P
November 20, 2020   DiFalco Joseph DE 20201120   239:20 ‐ 240:7    R, P
November 20, 2020   DiFalco_Joseph_DE_20201120   240:8 ‐ 240:11    R, P
November 20, 2020   DiFalco Joseph DE 20201120   240:12 ‐ 240:15   R, P
November 20, 2020   DiFalco_Joseph_DE_20201120   241:22 ‐ 242:2    R, P
November 20, 2020   DiFalco Joseph DE 20201120   242:7 ‐ 242:19    R, P
November 20, 2020   DiFalco_Joseph_DE_20201120   243:18 ‐ 243:21   R, P
November 20, 2020   DiFalco Joseph DE 20201120   244:4 ‐ 244:12    R, P
November 20 2020    DiFalco_Joseph_DE_20201120   244:13 ‐ 248:22   R P
November 20, 2020   DiFalco Joseph DE 20201120   248:23 ‐ 249:1    R, P, Sp, L
November 20, 2020   DiFalco Joseph DE 20201120   249:7 ‐ 249:7     R, P
November 20, 2020   DiFalco Joseph DE 20201120   249:8 ‐ 250:2     R, P, Sp, L
November 20, 2020   DiFalco Joseph DE 20201120   250:6 ‐ 250:8     R, P, V, Sp
November 20, 2020   DiFalco Joseph DE 20201120   250:9 ‐ 250:12    R, P, V, Sp
November 20, 2020   DiFalco Joseph DE 20201120   250:15 ‐ 250:24   R, P, V, Sp, M
November 20, 2020   DiFalco Joseph DE 20201120   251:3 ‐ 253:5     R, P, V, Sp
November 20, 2020   DiFalco Joseph DE 20201120   253:9 ‐ 253:23    R, P, V, Sp
August 22, 2018     Donahoe_Brian_IL_20180822    6:23 ‐ 7:12       R
August 22, 2018     Donahoe Brian IL 20180822    8:5 ‐ 8:18
August 22, 2018     Donahoe_Brian_IL_20180822    9:9 ‐ 9:17
August 22, 2018     Donahoe Brian IL 20180822    9:18 ‐ 10:5
August 22, 2018     Donahoe_Brian_IL_20180822    46:22 ‐ 47:21     R
August 22, 2018     Donahoe Brian IL 20180822    49:16 ‐ 50:19     R
August 22, 2018     Donahoe_Brian_IL_20180822    50:22 ‐ 51:24     R
August 22, 2018     Donahoe Brian IL 20180822    52:3 ‐ 52:6       R
August 22, 2018     Donahoe_Brian_IL_20180822    52:14 ‐ 52:20     R
August 22, 2018     Donahoe Brian IL 20180822    56:7 ‐ 58:2       R
August 22, 2018     Donahoe_Brian_IL_20180822    58:5 ‐ 58:16      R
August 22, 2018     Donahoe Brian IL 20180822    58:17 ‐ 59:4      R
August 22, 2018     Donahoe_Brian_IL_20180822    59:10 ‐ 60:1      R
August 22, 2018     Donahoe Brian IL 20180822    60:8 ‐ 60:14      R
August 22, 2018     Donahoe_Brian_IL_20180822    63:24 ‐ 64:7      R
August 22, 2018     Donahoe Brian IL 20180822    67:22 ‐ 68:6      R, Sp
August 22 2018      Donahoe_Brian_IL_20180822    94:11 ‐ 94:21     R
August 22, 2018     Donahoe Brian IL 20180822    94:24 ‐ 96:13     R
August 22, 2018     Donahoe Brian IL 20180822    97:14 ‐ 99:23     R
August 22, 2018     Donahoe Brian IL 20180822    99:24 ‐ 100:23    R
August 22, 2018     Donahoe Brian IL 20180822    102:4 ‐ 103:9     R

                                                                    22
                          Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 498 of 555 PageID #: 57349
August 22, 2018    Donahoe Brian IL 20180822   103:12 ‐ 103:23   R
August 22 2018     Donahoe_Brian_IL_20180822   110:5 ‐ 111:3     R
August 22, 2018    Donahoe Brian IL 20180822   111:10 ‐ 112:8    R
August 22, 2018    Donahoe Brian IL 20180822   113:3 ‐ 115:2     R
August 22, 2018    Donahoe Brian IL 20180822   115:5 ‐ 115:6     R
August 22, 2018    Donahoe Brian IL 20180822   116:2 ‐ 117:1     R
August 22, 2018    Donahoe Brian IL 20180822   120:5 ‐ 122:7     R
August 22, 2018    Donahoe Brian IL 20180822   135:12 ‐ 136:4    R
August 22, 2018    Donahoe Brian IL 20180822   147:2 ‐ 147:5
August 22, 2018    Donahoe Brian IL 20180822   147:16 ‐ 149:8
August 22, 2018    Donahoe_Brian_IL_20180822   149:9 ‐ 149:20
August 22, 2018    Donahoe Brian IL 20180822   151:11 ‐ 152:13   R
August 22, 2018    Donahoe_Brian_IL_20180822   152:14 ‐ 152:24
August 22, 2018    Donahoe Brian IL 20180822   174:18 ‐ 175:16
August 22, 2018    Donahoe_Brian_IL_20180822   187:15 ‐ 188:9
August 22, 2018    Donahoe Brian IL 20180822   191:6 ‐ 191:19    R
August 22, 2018    Donahoe_Brian_IL_20180822   196:17 ‐ 199:1    R
August 22, 2018    Donahoe Brian IL 20180822   200:17 ‐ 201:12   R
August 22, 2018    Donahoe_Brian_IL_20180822   201:13 ‐ 203:11   R
August 22, 2018    Donahoe Brian IL 20180822   204:4 ‐ 205:1     R
August 22, 2018    Donahoe_Brian_IL_20180822   205:5 ‐ 205:17    R
August 22, 2018    Donahoe Brian IL 20180822   205:23 ‐ 206:19   R
December 4, 2020   Guerra_Luis_IL_20201204     8:18 ‐ 9:3
December 4, 2020   Guerra Luis IL 20201204     9:7 ‐ 9:24
December 4, 2020   Guerra_Luis_IL_20201204     10:1 ‐ 10:19
December 4, 2020   Guerra Luis IL 20201204     10:20 ‐ 11:2
December 4 2020    Guerra_Luis_IL_20201204     11:3 ‐ 11:24
December 4, 2020   Guerra Luis IL 20201204     12:10 ‐ 13:22
December 4, 2020   Guerra Luis IL 20201204     13:23 ‐ 14:16                          13:23 ‐ 16:22
December 4, 2020   Guerra Luis IL 20201204     17:12 ‐ 18:10
December 4, 2020   Guerra Luis IL 20201204     18:11 ‐ 18:14
December 4, 2020   Guerra Luis IL 20201204     18:15 ‐ 19:12
December 4, 2020   Guerra Luis IL 20201204     19:13 ‐ 20:9
December 4, 2020   Guerra Luis IL 20201204     20:10 ‐ 20:24     F, Sp
December 4, 2020   Guerra Luis IL 20201204     21:1 ‐ 21:22
December 4, 2020   Guerra_Luis_IL_20201204     21:23 ‐ 22:4                           21:23 ‐ 23:2
December 4, 2020   Guerra Luis IL 20201204     24:2 ‐ 26:12
December 4, 2020   Guerra_Luis_IL_20201204     26:18 ‐ 27:5
December 4, 2020   Guerra Luis IL 20201204     27:20 ‐ 28:6      F, Sp
December 4, 2020   Guerra_Luis_IL_20201204     28:10 ‐ 29:3      F, Sp
December 4, 2020   Guerra Luis IL 20201204     29:8 ‐ 29:13
December 4, 2020   Guerra_Luis_IL_20201204     29:14 ‐ 30:5
December 4, 2020   Guerra Luis IL 20201204     30:6 ‐ 30:23
December 4, 2020   Guerra_Luis_IL_20201204     30:24 ‐ 31:13                          30:24 ‐ 31:22
December 4, 2020   Guerra Luis IL 20201204     31:23 ‐ 32:7
December 4, 2020   Guerra_Luis_IL_20201204     32:9 ‐ 32:22
December 4, 2020   Guerra Luis IL 20201204     32:23 ‐ 33:10
December 4, 2020   Guerra_Luis_IL_20201204     33:19 ‐ 33:21
December 4, 2020   Guerra Luis IL 20201204     34:1 ‐ 34:16
December 4, 2020   Guerra_Luis_IL_20201204     35:2 ‐ 35:24
December 4, 2020   Guerra Luis IL 20201204     36:2 ‐ 36:5
December 4 2020    Guerra_Luis_IL_20201204     36:7 ‐ 37:10
December 4, 2020   Guerra Luis IL 20201204     37:15 ‐ 37:20
December 4, 2020   Guerra Luis IL 20201204     37:21 ‐ 38:12                          37:21 ‐ 38:20
December 4, 2020   Guerra Luis IL 20201204     38:21 ‐ 38:22
December 4, 2020   Guerra Luis IL 20201204     39:2 ‐ 40:4                            39:2 ‐ 41:4

                                                                  23
                          Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 499 of 555 PageID #: 57350
December 4, 2020   Guerra Luis IL 20201204             41:6 ‐ 42:8       M
December 4 2020    Guerra_Luis_IL_20201204             42:12 ‐ 42:15     V M
December 4, 2020   Guerra Luis IL 20201204             42:17 ‐ 42:19     V, M
December 4, 2020   Guerra Luis IL 20201204             42:23 ‐ 43:11     AF, M
December 4, 2020   Guerra Luis IL 20201204             43:14 ‐ 44:16     AF, M, AA
December 4, 2020   Guerra Luis IL 20201204             44:19 ‐ 45:1      AA
December 4, 2020   Guerra Luis IL 20201204             45:6 ‐ 45:23      AA, B, Sp
December 4, 2020   Guerra Luis IL 20201204             46:18 ‐ 46:19     AA, Sp
December 4, 2020   Guerra Luis IL 20201204             46:20 ‐ 46:23     AA, Sp
December 4, 2020   Guerra Luis IL 20201204             47:2 ‐ 47:8
December 4, 2020   Guerra_Luis_IL_20201204             47:17 ‐ 48:24
December 4, 2020   Guerra Luis IL 20201204             49:12 ‐ 49:17
December 4, 2020   Guerra_Luis_IL_20201204             50:7 ‐ 50:22
December 4, 2020   Guerra Luis IL 20201204             50:23 ‐ 51:17
December 4, 2020   Guerra_Luis_IL_20201204             51:18 ‐ 51:22     A, Sp, F
December 4, 2020   Guerra Luis IL 20201204             52:1 ‐ 52:9
December 4, 2020   Guerra_Luis_IL_20201204             52:11 ‐ 53:4
December 4, 2020   Guerra Luis IL 20201204             53:5 ‐ 53:13
December 4, 2020   Guerra_Luis_IL_20201204             53:14 ‐ 53:23     A, Sp, F
December 4, 2020   Guerra Luis IL 20201204             54:4 ‐ 55:9
December 4, 2020   Guerra_Luis_IL_20201204             55:13 ‐ 58:13     R, P
December 4, 2020   Guerra Luis IL 20201204             59:8 ‐ 62:4       R, P
December 4, 2020   Guerra_Luis_IL_20201204             62:5 ‐ 62:11      R, P
December 4, 2020   Guerra Luis IL 20201204             66:13 ‐ 67:1      R
December 4, 2020   Guerra_Luis_IL_20201204             67:4 ‐ 67:7       R, Sp
December 4, 2020   Guerra Luis IL 20201204             67:10 ‐ 67:10     R, Sp
December 4 2020    Guerra_Luis_IL_20201204             67:12 ‐ 68:5      R P
December 4, 2020   Guerra Luis IL 20201204             68:6 ‐ 69:10      R, P, AA
December 4, 2020   Guerra Luis IL 20201204             69:15 ‐ 69:23     R, P, AA
December 4, 2020   Guerra Luis IL 20201204             70:2 ‐ 70:6       R, P, Sp
December 4, 2020   Guerra Luis IL 20201204             70:7 ‐ 71:4       R, P
December 4, 2020   Guerra Luis IL 20201204             71:5 ‐ 71:17      R, P
December 4, 2020   Guerra Luis IL 20201204             71:24 ‐ 72:2      R, P
December 4, 2020   Guerra Luis IL 20201204             72:5 ‐ 72:16      R, P
December 4, 2020   Guerra Luis IL 20201204             75:21 ‐ 76:10
December 4, 2020   Guerra_Luis_IL_20201204             76:16 ‐ 76:20
December 4, 2020   Guerra Luis IL 20201204             76:22 ‐ 77:6
December 4, 2020   Guerra_Luis_IL_20201204             77:7 ‐ 77:19
December 4, 2020   Guerra Luis IL 20201204             77:21 ‐ 78:5
December 4, 2020   Guerra_Luis_IL_20201204             80:8 ‐ 80:11
December 4, 2020   Guerra Luis IL 20201204             80:21 ‐ 81:4
December 4, 2020   Guerra_Luis_IL_20201204             81:5 ‐ 81:13
December 4, 2020   Guerra Luis IL 20201204             81:17 ‐ 83:6                   81:17 ‐ 84:23
December 4, 2020   Guerra_Luis_IL_20201204_02 (2421)   63:22 ‐ 64:6                   62:12‐68:7
December 4, 2020   Guerra Luis IL 20201204 02 (2421)   71:6 ‐ 71:17                   68:23‐74:9
December 4, 2020   Guerra_Luis_IL_20201204_02 (2421)   95:7 ‐ 95:22      R
December 4, 2020   Guerra Luis IL 20201204 02 (2421)   118:3 ‐ 118:17    R
December 4, 2020   Guerra_Luis_IL_20201204_02 (2421)   126:19 ‐ 127:22   R, P
December 4, 2020   Guerra Luis IL 20201204 02 (2421)   128:2 ‐ 128:16    R
December 4, 2020   Guerra_Luis_IL_20201204_02 (2421)   139:4 ‐ 139:24    R
December 4, 2020   Guerra Luis IL 20201204 02 (2421)   142:24 ‐ 143:17   R
December 4 2020    Guerra_Luis_IL_20201204_02 (2421)   156:2 ‐ 156:8                  156:2 ‐ 157:19
December 4, 2020   Guerra Luis IL 20201204 02 (2421)   157:20 ‐ 157:24
December 4, 2020   Guerra Luis IL 20201204 02 (2421)   175:12 ‐ 176:14   R
December 4, 2020   Guerra Luis IL 20201204 02 (2421)   182:8 ‐ 183:9     R
December 4, 2020   Guerra Luis IL 20201204 02 (2421)   192:15 ‐ 193:5    R

                                                                          24
                      Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 500 of 555 PageID #: 57351
May 27, 2020   Horton Matthew IL 20200527    4:24 ‐ 5:4
May 27 2020    Horton_Matthew_IL_20200527    12:11 ‐ 12:25
May 27, 2020   Horton Matthew IL 20200527    13:22 ‐ 14:2
May 27, 2020   Horton Matthew IL 20200527    15:1 ‐ 15:3
May 27, 2020   Horton Matthew IL 20200527    16:5 ‐ 18:16
May 27, 2020   Horton Matthew IL 20200527    19:4 ‐ 19:10
May 27, 2020   Horton Matthew IL 20200527    20:20 ‐ 21:7
May 27, 2020   Horton Matthew IL 20200527    21:18 ‐ 23:20                        32:6‐8
May 27, 2020   Horton Matthew IL 20200527    21:11 ‐ 21:14
May 27, 2020   Horton Matthew IL 20200527    21:8 ‐ 21:10
May 27, 2020   Horton_Matthew_IL_20200527    21:15 ‐ 21:17
May 27, 2020   Horton Matthew IL 20200527    24:6 ‐ 25:2
May 27, 2020   Horton_Matthew_IL_20200527    25:11 ‐ 25:19
May 27, 2020   Horton Matthew IL 20200527    26:2 ‐ 26:12
May 27, 2020   Horton_Matthew_IL_20200527    26:2 ‐ 26:12
May 27, 2020   Horton Matthew IL 20200527    26:24 ‐ 27:10
May 27, 2020   Horton_Matthew_IL_20200527    26:17 ‐ 26:23
May 27, 2020   Horton Matthew IL 20200527    27:11 ‐ 27:22
May 27, 2020   Horton_Matthew_IL_20200527    28:5 ‐ 29:6
May 27, 2020   Horton Matthew IL 20200527    29:14 ‐ 29:24
May 27, 2020   Horton_Matthew_IL_20200527    30:12 ‐ 30:15
May 27, 2020   Horton Matthew IL 20200527    30:23 ‐ 31:4
May 27, 2020   Horton_Matthew_IL_20200527    31:5 ‐ 31:23                         32:6‐8
May 27, 2020   Horton Matthew IL 20200527    32:9 ‐ 32:11
May 27, 2020   Horton_Matthew_IL_20200527    32:20 ‐ 32:24
May 27, 2020   Horton Matthew IL 20200527    35:14 ‐ 36:14
May 27 2020    Horton_Matthew_IL_20200527    40:22 ‐ 41:13
May 27, 2020   Horton Matthew IL 20200527    47:20 ‐ 48:15
May 27, 2020   Horton Matthew IL 20200527    47:11 ‐ 47:19
May 27, 2020   Horton Matthew IL 20200527    50:13 ‐ 50:19
May 27, 2020   Horton Matthew IL 20200527    73:5 ‐ 74:1     Sp, H
May 27, 2020   Horton Matthew IL 20200527    74:5 ‐ 74:5     Sp, H
May 27, 2020   Horton Matthew IL 20200527    75:2 ‐ 75:6     Sp, H
June 5, 2020   Kessler Richard DE 20200605   6:9 ‐ 6:12
June 5, 2020   Kessler Richard DE 20200605   8:17 ‐ 12:16
June 5, 2020   Kessler_Richard_DE_20200605   13:20 ‐ 15:4                         13:20 ‐ 15:21
June 5, 2020   Kessler Richard DE 20200605   15:22 ‐ 17:5
June 5, 2020   Kessler_Richard_DE_20200605   17:13 ‐ 17:20
June 5, 2020   Kessler Richard DE 20200605   18:9 ‐ 18:15
June 5, 2020   Kessler_Richard_DE_20200605   20:19 ‐ 21:5    V, F
June 5, 2020   Kessler Richard DE 20200605   22:1 ‐ 22:11    V, F
June 5, 2020   Kessler_Richard_DE_20200605   22:18 ‐ 23:4
June 5, 2020   Kessler Richard DE 20200605   23:14 ‐ 23:19
June 5, 2020   Kessler_Richard_DE_20200605   23:22 ‐ 24:7    V, F
June 5, 2020   Kessler Richard DE 20200605   26:19 ‐ 27:10   V, Sp, F             26:11‐29:9
June 5, 2020   Kessler_Richard_DE_20200605   27:13 ‐ 27:16   V, Sp, F             26:11‐29:9
June 5, 2020   Kessler Richard DE 20200605   27:17 ‐ 28:7    V, Sp, F             26:11‐29:9
June 5, 2020   Kessler_Richard_DE_20200605   28:12 ‐ 28:14                        26:11‐29:9
June 5, 2020   Kessler Richard DE 20200605   31:16 ‐ 32:3                         31:16‐33:20
June 5, 2020   Kessler_Richard_DE_20200605   33:21 ‐ 35:3
June 5, 2020   Kessler Richard DE 20200605   35:4 ‐ 36:17    V
June 5 2020    Kessler_Richard_DE_20200605   37:6 ‐ 38:4     V
June 5, 2020   Kessler Richard DE 20200605   38:7 ‐ 38:21    F, V
June 5, 2020   Kessler Richard DE 20200605   39:2 ‐ 39:2
June 5, 2020   Kessler Richard DE 20200605   39:8 ‐ 40:5
June 5, 2020   Kessler Richard DE 20200605   40:6 ‐ 41:7     V

                                                              25
                           Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 501 of 555 PageID #: 57352
June 5, 2020        Kessler Richard DE 20200605   41:9 ‐ 41:17    V
June 5 2020         Kessler_Richard_DE_20200605   41:20 ‐ 42:7
June 5, 2020        Kessler Richard DE 20200605   42:8 ‐ 42:15
June 5, 2020        Kessler Richard DE 20200605   42:21 ‐ 43:6
June 5, 2020        Kessler Richard DE 20200605   43:7 ‐ 43:20
June 5, 2020        Kessler Richard DE 20200605   48:20 ‐ 49:11
June 5, 2020        Kessler Richard DE 20200605   49:12 ‐ 50:1
June 5, 2020        Kessler Richard DE 20200605   50:3 ‐ 50:10                         50:3‐51:15
June 5, 2020        Kessler Richard DE 20200605   51:16 ‐ 53:2
June 5, 2020        Kessler Richard DE 20200605   53:10 ‐ 53:17   F, Sp
June 5, 2020        Kessler_Richard_DE_20200605   53:19 ‐ 53:22
June 5, 2020        Kessler Richard DE 20200605   54:3 ‐ 54:16                         54:3‐56:2
June 5, 2020        Kessler_Richard_DE_20200605   56:3 ‐ 57:2                          56:3‐57:9
June 5, 2020        Kessler Richard DE 20200605   57:10 ‐ 58:5                         57:10‐58:19
June 5, 2020        Kessler_Richard_DE_20200605   59:17 ‐ 60:5
June 5, 2020        Kessler Richard DE 20200605   63:18 ‐ 64:8                         63:18‐64:11
June 5, 2020        Kessler_Richard_DE_20200605   67:11 ‐ 67:15
June 5, 2020        Kessler Richard DE 20200605   67:17 ‐ 67:20                        67:17‐68:3
June 5, 2020        Kessler_Richard_DE_20200605   70:8 ‐ 70:15                         70:8‐70:20
November 24, 2020   Klegon Rob DE 20201124        9:20 ‐ 9:25
November 24, 2020   Klegon_Rob_DE_20201124        14:1 ‐ 14:21
November 24, 2020   Klegon Rob DE 20201124        15:8 ‐ 15:17
November 24, 2020   Klegon_Rob_DE_20201124        16:12 ‐ 17:1
November 24, 2020   Klegon Rob DE 20201124        17:7 ‐ 17:22
November 24, 2020   Klegon_Rob_DE_20201124        18:5 ‐ 18:13
November 24, 2020   Klegon Rob DE 20201124        22:25 ‐ 23:16
November 24 2020    Klegon_Rob_DE_20201124        23:24 ‐ 24:3
November 24, 2020   Klegon Rob DE 20201124        24:5 ‐ 24:16
November 24, 2020   Klegon Rob DE 20201124        24:17 ‐ 25:1
November 24, 2020   Klegon Rob DE 20201124        25:2 ‐ 25:6
November 24, 2020   Klegon Rob DE 20201124        25:7 ‐ 25:24
November 24, 2020   Klegon Rob DE 20201124        26:14 ‐ 27:9
November 24, 2020   Klegon Rob DE 20201124        27:10 ‐ 27:25
November 24, 2020   Klegon Rob DE 20201124        28:1 ‐ 28:7
November 24, 2020   Klegon Rob DE 20201124        28:8 ‐ 29:1
November 24, 2020   Klegon_Rob_DE_20201124        29:5 ‐ 29:6
November 24, 2020   Klegon Rob DE 20201124        29:11 ‐ 29:14
November 24, 2020   Klegon_Rob_DE_20201124        29:17 ‐ 29:22
November 24, 2020   Klegon Rob DE 20201124        30:9 ‐ 31:3
November 24, 2020   Klegon_Rob_DE_20201124        31:4 ‐ 31:16
November 24, 2020   Klegon Rob DE 20201124        31:17 ‐ 32:4
November 24, 2020   Klegon_Rob_DE_20201124        33:2 ‐ 33:20
November 24, 2020   Klegon Rob DE 20201124        33:21 ‐ 34:2
November 24, 2020   Klegon_Rob_DE_20201124        34:3 ‐ 34:14
November 24, 2020   Klegon Rob DE 20201124        35:13 ‐ 35:20
November 24, 2020   Klegon_Rob_DE_20201124        37:14 ‐ 38:4
November 24, 2020   Klegon Rob DE 20201124        38:5 ‐ 38:6
November 24, 2020   Klegon_Rob_DE_20201124        38:19 ‐ 38:22
November 24, 2020   Klegon Rob DE 20201124        38:23 ‐ 39:5
November 24, 2020   Klegon_Rob_DE_20201124        39:6 ‐ 39:9
November 24, 2020   Klegon Rob DE 20201124        39:20 ‐ 40:8
November 24 2020    Klegon_Rob_DE_20201124        40:25 ‐ 41:2
November 24, 2020   Klegon Rob DE 20201124        41:7 ‐ 41:10
November 24, 2020   Klegon Rob DE 20201124        43:12 ‐ 43:16
November 24, 2020   Klegon Rob DE 20201124        43:18 ‐ 44:3
November 24, 2020   Klegon Rob DE 20201124        44:4 ‐ 45:16                         46:22‐24

                                                                   26
                           Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 502 of 555 PageID #: 57353
November 24, 2020   Klegon Rob DE 20201124    45:17 ‐ 46:2                             46:22‐24
November 24 2020    Klegon_Rob_DE_20201124    46:5 ‐ 46:8
November 24, 2020   Klegon Rob DE 20201124    46:10 ‐ 46:21
November 24, 2020   Klegon Rob DE 20201124    46:25 ‐ 47:2
November 24, 2020   Klegon Rob DE 20201124    47:3 ‐ 47:14
November 24, 2020   Klegon Rob DE 20201124    47:15 ‐ 47:20
November 24, 2020   Klegon Rob DE 20201124    48:10 ‐ 49:10
November 24, 2020   Klegon Rob DE 20201124    49:24 ‐ 50:9
November 24, 2020   Klegon Rob DE 20201124    50:10 ‐ 50:17
November 24, 2020   Klegon Rob DE 20201124    52:4 ‐ 52:8
November 24, 2020   Klegon_Rob_DE_20201124    52:19 ‐ 53:21
November 24, 2020   Klegon Rob DE 20201124    54:11 ‐ 54:15
November 24, 2020   Klegon_Rob_DE_20201124    56:17 ‐ 57:21
November 24, 2020   Klegon Rob DE 20201124    57:22 ‐ 58:4
November 24, 2020   Klegon_Rob_DE_20201124    59:4 ‐ 59:16
November 24, 2020   Klegon Rob DE 20201124    59:21 ‐ 60:9
November 24, 2020   Klegon_Rob_DE_20201124    60:10 ‐ 61:17
November 24, 2020   Klegon Rob DE 20201124    64:9 ‐ 64:17
November 24, 2020   Klegon_Rob_DE_20201124    65:8 ‐ 65:12
November 24, 2020   Klegon Rob DE 20201124    65:24 ‐ 66:9
November 24, 2020   Klegon_Rob_DE_20201124    66:10 ‐ 66:22
November 24, 2020   Klegon Rob DE 20201124    66:25 ‐ 67:12
November 24, 2020   Klegon_Rob_DE_20201124    67:13 ‐ 67:25
November 24, 2020   Klegon Rob DE 20201124    68:1 ‐ 68:11
November 24, 2020   Klegon_Rob_DE_20201124    68:18 ‐ 69:3
November 24, 2020   Klegon Rob DE 20201124    69:25 ‐ 70:3
November 24 2020    Klegon_Rob_DE_20201124    70:12 ‐ 70:19
November 24, 2020   Klegon Rob DE 20201124    70:20 ‐ 71:10                            71:11‐25, 72:2‐16
November 24, 2020   Klegon Rob DE 20201124    74:1 ‐ 74:4
November 24, 2020   Klegon Rob DE 20201124    75:10 ‐ 75:14
November 24, 2020   Klegon Rob DE 20201124    75:15 ‐ 76:2
November 24, 2020   Klegon Rob DE 20201124    76:10 ‐ 77:2
November 24, 2020   Klegon Rob DE 20201124    78:5 ‐ 78:9
November 24, 2020   Klegon Rob DE 20201124    78:16 ‐ 78:19
November 24, 2020   Klegon Rob DE 20201124    78:20 ‐ 79:21
November 24, 2020   Klegon_Rob_DE_20201124    79:22 ‐ 81:3
November 24, 2020   Klegon Rob DE 20201124    81:4 ‐ 81:14
November 24, 2020   Klegon_Rob_DE_20201124    81:15 ‐ 81:21
November 24, 2020   Klegon Rob DE 20201124    81:22 ‐ 82:4
November 24, 2020   Klegon_Rob_DE_20201124    82:5 ‐ 82:10
November 24, 2020   Klegon Rob DE 20201124    83:7 ‐ 83:21
November 24, 2020   Klegon_Rob_DE_20201124    83:22 ‐ 85:14       M
November 24, 2020   Klegon Rob DE 20201124    85:25 ‐ 86:12       M
November 24, 2020   Klegon_Rob_DE_20201124    85:15 ‐ 85:22
November 24, 2020   Klegon Rob DE 20201124    88:22 ‐ 88:24
November 24, 2020   Klegon_Rob_DE_20201124    89:3 ‐ 89:8
November 24, 2020   Klegon Rob DE 20201124    93:17 ‐ 94:5
November 24, 2020   Klegon_Rob_DE_20201124    94:10 ‐ 94:23
November 24, 2020   Klegon Rob DE 20201124    94:24 ‐ 96:12
November 24, 2020   Klegon_Rob_DE_20201124    97:20 ‐ 97:23
November 24, 2020   Klegon Rob DE 20201124    98:8 ‐ 98:15
November 24 2020    Klegon_Rob_DE_20201124    100:14 ‐ 100:22
November 24, 2020   Klegon Rob DE 20201124    101:14 ‐ 102:17
November 24, 2020   Klegon Rob DE 20201124    103:11 ‐ 103:25
November 24, 2020   Klegon Rob DE 20201124    104:11 ‐ 104:19
November 24, 2020   Klegon Rob DE 20201124    108:10 ‐ 108:13

                                                                   27
                           Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 503 of 555 PageID #: 57354
November 24, 2020   Klegon Rob DE 20201124      108:19 ‐ 109:4
November 24 2020    Klegon_Rob_DE_20201124      109:5 ‐ 109:19
November 24, 2020   Klegon Rob DE 20201124      116:23 ‐ 117:6
November 24, 2020   Klegon Rob DE 20201124      117:7 ‐ 117:20
November 24, 2020   Klegon Rob DE 20201124      117:21 ‐ 118:6
November 24, 2020   Klegon Rob DE 20201124      119:2 ‐ 119:6
November 24, 2020   Klegon Rob DE 20201124      124:16 ‐ 124:19
November 24, 2020   Klegon Rob DE 20201124      124:21 ‐ 125:3
November 24, 2020   Klegon Rob DE 20201124      125:4 ‐ 125:7
November 24, 2020   Klegon Rob DE 20201124      125:17 ‐ 125:22
November 24, 2020   Klegon_Rob_DE_20201124      127:10 ‐ 127:14
November 24, 2020   Klegon Rob DE 20201124      127:15 ‐ 128:1
November 24, 2020   Klegon_Rob_DE_20201124      129:2 ‐ 129:7
November 24, 2020   Klegon Rob DE 20201124      129:22 ‐ 130:3
November 24, 2020   Klegon_Rob_DE_20201124      130:17 ‐ 130:23
November 24, 2020   Klegon Rob DE 20201124      132:12 ‐ 133:4
November 24, 2020   Klegon_Rob_DE_20201124      133:5 ‐ 134:7
November 24, 2020   Klegon Rob DE 20201124      135:9 ‐ 136:8
November 24, 2020   Klegon_Rob_DE_20201124      136:9 ‐ 136:9
November 24, 2020   Klegon Rob DE 20201124      136:11 ‐ 136:13
November 24, 2020   Klegon_Rob_DE_20201124      138:16 ‐ 139:4
November 24, 2020   Klegon Rob DE 20201124      139:5 ‐ 139:20
November 24, 2020   Klegon_Rob_DE_20201124      140:14 ‐ 140:19
November 24, 2020   Klegon Rob DE 20201124      141:22 ‐ 142:8
November 24, 2020   Klegon_Rob_DE_20201124      142:17 ‐ 142:22
November 24, 2020   Klegon Rob DE 20201124      142:9 ‐ 142:11
November 24 2020    Klegon_Rob_DE_20201124      144:5 ‐ 144:15
November 24, 2020   Klegon Rob DE 20201124      144:16 ‐ 145:23
November 24, 2020   Klegon Rob DE 20201124      145:24 ‐ 146:12
November 24, 2020   Klegon Rob DE 20201124      146:13 ‐ 146:17
November 24, 2020   Klegon Rob DE 20201124      146:23 ‐ 147:12
November 24, 2020   Klegon Rob DE 20201124      148:10 ‐ 148:22
November 24, 2020   Klegon Rob DE 20201124      148:23 ‐ 149:15
November 24, 2020   Klegon Rob DE 20201124      149:16 ‐ 150:18
November 24, 2020   Klegon Rob DE 20201124      150:19 ‐ 151:18
November 24, 2020   Klegon_Rob_DE_20201124      151:19 ‐ 151:20
November 24, 2020   Klegon Rob DE 20201124      152:4 ‐ 152:8
November 24, 2020   Klegon_Rob_DE_20201124      156:5 ‐ 156:6
November 24, 2020   Klegon Rob DE 20201124      156:17 ‐ 156:22
November 24, 2020   Klegon_Rob_DE_20201124      158:10 ‐ 158:15
November 24, 2020   Klegon Rob DE 20201124      158:19 ‐ 159:2
November 24, 2020   Klegon_Rob_DE_20201124      159:6 ‐ 160:7
November 24, 2020   Klegon Rob DE 20201124      160:8 ‐ 161:15
November 24, 2020   Klegon_Rob_DE_20201124      161:16 ‐ 161:19
November 24, 2020   Klegon Rob DE 20201124      162:11 ‐ 162:21
November 24, 2020   Klegon_Rob_DE_20201124      163:8 ‐ 164:2
November 24, 2020   Klegon Rob DE 20201124      164:3 ‐ 164:3
November 24, 2020   Klegon_Rob_DE_20201124      164:22 ‐ 165:5
November 24, 2020   Klegon Rob DE 20201124      166:8 ‐ 167:2
November 24, 2020   Klegon_Rob_DE_20201124      167:5 ‐ 167:15
November 24, 2020   Klegon Rob DE 20201124      167:18 ‐ 168:1
November 24 2020    Klegon_Rob_DE_20201124      167:5 ‐ 167:10
November 24, 2020   Klegon Rob DE 20201124      168:4 ‐ 168:9
November 24, 2020   Klegon Rob DE 20201124      168:12 ‐ 168:22
December 14, 2018   Klegon Robert IL 20181214   7:16 ‐ 7:19
December 14, 2018   Klegon Robert IL 20181214   15:8 ‐ 15:12

                                                                   28
                           Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 504 of 555 PageID #: 57355
December 14, 2018   Klegon Robert IL 20181214   15:13 ‐ 15:25
December 14 2018    Klegon_Robert_IL_20181214   16:2 ‐ 16:13
December 14, 2018   Klegon Robert IL 20181214   16:21 ‐ 16:25
December 14, 2018   Klegon Robert IL 20181214   17:2 ‐ 17:3
December 14, 2018   Klegon Robert IL 20181214   20:2 ‐ 20:25
December 14, 2018   Klegon Robert IL 20181214   21:2 ‐ 21:25
December 14, 2018   Klegon Robert IL 20181214   22:2 ‐ 22:18
December 14, 2018   Klegon Robert IL 20181214   23:16 ‐ 23:25
December 14, 2018   Klegon Robert IL 20181214   24:2 ‐ 24:9
December 14, 2018   Klegon Robert IL 20181214   24:18 ‐ 24:25
December 14, 2018   Klegon_Robert_IL_20181214   25:2 ‐ 25:6                            25:7‐28:7
December 14, 2018   Klegon Robert IL 20181214   35:17 ‐ 35:25
December 14, 2018   Klegon_Robert_IL_20181214   36:2 ‐ 36:4
December 14, 2018   Klegon Robert IL 20181214   43:22 ‐ 43:24     F, V
December 14, 2018   Klegon_Robert_IL_20181214   44:3 ‐ 44:12      F, V
December 14, 2018   Klegon Robert IL 20181214   44:15 ‐ 44:18     F, V
December 14, 2018   Klegon_Robert_IL_20181214   45:2 ‐ 45:13      F, V, M
December 14, 2018   Klegon Robert IL 20181214   45:18 ‐ 45:23     F, V, M
December 14, 2018   Klegon_Robert_IL_20181214   46:8 ‐ 46:14
December 14, 2018   Klegon Robert IL 20181214   47:20 ‐ 47:24
December 14, 2018   Klegon_Robert_IL_20181214   48:12 ‐ 48:25     Sp
December 14, 2018   Klegon Robert IL 20181214   49:2 ‐ 49:7       Sp
December 14, 2018   Klegon_Robert_IL_20181214   49:23 ‐ 50:18     F, V, Sp
December 14, 2018   Klegon Robert IL 20181214   50:20 ‐ 52:9      F, V, Sp             52:10‐13, 18‐22, 24‐25; 53:5‐13.
December 14, 2018   Klegon_Robert_IL_20181214   55:6 ‐ 55:20
December 14, 2018   Klegon Robert IL 20181214   56:4 ‐ 56:19
December 14 2018    Klegon_Robert_IL_20181214   58:4 ‐ 58:10
December 14, 2018   Klegon Robert IL 20181214   60:14 ‐ 60:23
December 14, 2018   Klegon Robert IL 20181214   62:22 ‐ 63:14
December 14, 2018   Klegon Robert IL 20181214   63:15 ‐ 63:20
December 14, 2018   Klegon Robert IL 20181214   64:20 ‐ 65:4
December 14, 2018   Klegon Robert IL 20181214   65:5 ‐ 65:11
December 14, 2018   Klegon Robert IL 20181214   65:12 ‐ 65:25
December 14, 2018   Klegon Robert IL 20181214   66:2 ‐ 66:8
December 14, 2018   Klegon Robert IL 20181214   66:12 ‐ 66:15
December 14, 2018   Klegon_Robert_IL_20181214   72:25 ‐ 73:25     R                    74:5‐7
December 14, 2018   Klegon Robert IL 20181214   74:2 ‐ 74:4       R                    74:5‐7
December 14, 2018   Klegon_Robert_IL_20181214   74:8 ‐ 74:22      F, H, V, Sp, R       74:5‐7
December 14, 2018   Klegon Robert IL 20181214   75:3 ‐ 75:3       F, H, V, Sp, R       74:5‐7
December 14, 2018   Klegon_Robert_IL_20181214   75:6 ‐ 75:13      F, H, V, Sp, R
December 14, 2018   Klegon Robert IL 20181214   75:15 ‐ 75:19     F, H, V, Sp, R
December 14, 2018   Klegon_Robert_IL_20181214   75:23 ‐ 76:3      R
December 14, 2018   Klegon Robert IL 20181214   77:23 ‐ 78:4      R
December 14, 2018   Klegon_Robert_IL_20181214   78:8 ‐ 78:8
December 14, 2018   Klegon Robert IL 20181214   83:24 ‐ 83:25     R
December 14, 2018   Klegon_Robert_IL_20181214   84:2 ‐ 84:25      R
December 14, 2018   Klegon Robert IL 20181214   88:9 ‐ 88:22      R
December 14, 2018   Klegon_Robert_IL_20181214   89:16 ‐ 89:25     R
December 14, 2018   Klegon Robert IL 20181214   91:12 ‐ 91:25     R                    90:18‐25; 91:5‐10
December 14, 2018   Klegon_Robert_IL_20181214   92:2 ‐ 92:2       R
December 14, 2018   Klegon Robert IL 20181214   92:25 ‐ 93:16     F, AF, V, R
December 14 2018    Klegon_Robert_IL_20181214   93:20 ‐ 94:8      F AF V R
December 14, 2018   Klegon Robert IL 20181214   94:21 ‐ 95:2      R
December 14, 2018   Klegon Robert IL 20181214   95:6 ‐ 95:8       R
December 14, 2018   Klegon Robert IL 20181214   95:20 ‐ 96:5      R
December 14, 2018   Klegon Robert IL 20181214   96:6 ‐ 97:2       R

                                                                   29
                           Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 505 of 555 PageID #: 57356
December 14, 2018   Klegon Robert IL 20181214   97:24 ‐ 98:14     R
December 14 2018    Klegon_Robert_IL_20181214   98:23 ‐ 99:21     R
December 14, 2018   Klegon Robert IL 20181214   100:3 ‐ 100:14    R
December 14, 2018   Klegon Robert IL 20181214   104:10 ‐ 104:18   R
December 14, 2018   Klegon Robert IL 20181214   104:22 ‐ 105:21   R
December 14, 2018   Klegon Robert IL 20181214   106:2 ‐ 106:22    R
December 14, 2018   Klegon Robert IL 20181214   108:17 ‐ 109:2    R
December 14, 2018   Klegon Robert IL 20181214   109:12 ‐ 109:22   R, P
December 14, 2018   Klegon Robert IL 20181214   110:17 ‐ 110:22   R, P
December 14, 2018   Klegon Robert IL 20181214   111:9 ‐ 111:13    R, P
December 14, 2018   Klegon_Robert_IL_20181214   111:14 ‐ 112:5
December 14, 2018   Klegon Robert IL 20181214   113:12 ‐ 114:6
December 14, 2018   Klegon_Robert_IL_20181214   115:14 ‐ 116:22
December 14, 2018   Klegon Robert IL 20181214   118:3 ‐ 118:8
December 14, 2018   Klegon_Robert_IL_20181214   120:2 ‐ 121:2                              121:3, 7‐8, 10‐12
December 14, 2018   Klegon Robert IL 20181214   121:14 ‐ 121:19
December 14, 2018   Klegon_Robert_IL_20181214   122:12 ‐ 122:20
December 14, 2018   Klegon Robert IL 20181214   122:25 ‐ 123:4
December 14, 2018   Klegon_Robert_IL_20181214   124:12 ‐ 124:25
December 14, 2018   Klegon Robert IL 20181214   125:6 ‐ 125:22    Sp
December 14, 2018   Klegon_Robert_IL_20181214   125:23 ‐ 126:4    No ClearOne highlights
December 14, 2018   Klegon Robert IL 20181214   126:8 ‐ 126:15                             126:16‐20; 127:5‐6, 10‐18
December 14, 2018   Klegon_Robert_IL_20181214   128:15 ‐ 129:4
December 14, 2018   Klegon Robert IL 20181214   129:5 ‐ 129:11
December 14, 2018   Klegon_Robert_IL_20181214   129:23 ‐ 130:7
December 14, 2018   Klegon Robert IL 20181214   129:19 ‐ 129:21   M, AF, F                 130:17‐20
December 14 2018    Klegon_Robert_IL_20181214   129:12 ‐ 129:14   M AF F                   130:17‐20
December 14, 2018   Klegon Robert IL 20181214   133:16 ‐ 134:6                             134:7‐8; 13‐16; 135:11‐12, 16, 18‐20
December 14, 2018   Klegon Robert IL 20181214   134:18 ‐ 134:21   Sp, M, F, AF, V          134:7‐8; 13‐16; 135:11‐12, 16, 18‐20
December 14, 2018   Klegon Robert IL 20181214   135:3 ‐ 135:9     Sp, M, F, AF, V          134:7‐8; 13‐16; 135:11‐12, 16, 18‐20
December 14, 2018   Klegon Robert IL 20181214   136:24 ‐ 137:14
December 14, 2018   Klegon_Robert_IL_20181214   138:7 ‐ 138:21                             138:22‐25; 139:5‐11, 13‐16; 139:20‐140:3

December 14, 2018   Klegon Robert IL 20181214   142:5 ‐ 142:11
December 14, 2018   Klegon Robert IL 20181214   142:12 ‐ 143:10
December 14, 2018   Klegon_Robert_IL_20181214   143:16 ‐ 145:13
December 14, 2018   Klegon Robert IL 20181214   145:14 ‐ 146:18
December 14, 2018   Klegon_Robert_IL_20181214   146:22 ‐ 147:4
December 14, 2018   Klegon Robert IL 20181214   147:13 ‐ 147:18
December 14, 2018   Klegon_Robert_IL_20181214   147:25 ‐ 148:22
December 14, 2018   Klegon Robert IL 20181214   151:19 ‐ 151:20
December 14, 2018   Klegon_Robert_IL_20181214   151:23 ‐ 151:24
December 14, 2018   Klegon Robert IL 20181214   153:24 ‐ 154:7
December 14, 2018   Klegon_Robert_IL_20181214   154:8 ‐ 155:5
December 14, 2018   Klegon Robert IL 20181214   165:8 ‐ 165:19                             165:20‐166:24
December 14, 2018   Klegon_Robert_IL_20181214   169:16 ‐ 169:18
December 14, 2018   Klegon Robert IL 20181214   169:22 ‐ 170:5
December 14, 2018   Klegon_Robert_IL_20181214   170:18 ‐ 170:22
December 14, 2018   Klegon Robert IL 20181214   172:12 ‐ 172:17   F, Sp, AF                173:3‐5, 8
December 14, 2018   Klegon_Robert_IL_20181214   172:22 ‐ 172:25   F, Sp, AF                173:3‐5, 8
December 14, 2018   Klegon Robert IL 20181214   185:25 ‐ 186:12   R
December 14 2018    Klegon_Robert_IL_20181214   192:16 ‐ 192:25   R
December 14, 2018   Klegon Robert IL 20181214   194:2 ‐ 195:4     R
December 14, 2018   Klegon Robert IL 20181214   202:6 ‐ 202:19    R
December 14, 2018   Klegon Robert IL 20181214   203:6 ‐ 203:18    R
December 14, 2018   Klegon Robert IL 20181214   215:12 ‐ 215:23   R

                                                                   30
                           Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 506 of 555 PageID #: 57357
December 14, 2018   Klegon Robert IL 20181214   217:24 ‐ 218:17   R
December 14 2018    Klegon_Robert_IL_20181214   218:20 ‐ 218:21   R
December 14, 2018   Klegon Robert IL 20181214   235:14 ‐ 237:6    R
December 14, 2018   Klegon Robert IL 20181214   242:22 ‐ 243:2    R
December 14, 2018   Klegon Robert IL 20181214   244:5 ‐ 244:15
December 14, 2018   Klegon Robert IL 20181214   253:7 ‐ 254:3
November 17, 2020   Klegon Robert IL 20201117   10:17 ‐ 10:18
November 17, 2020   Klegon Robert IL 20201117   10:22 ‐ 10:25
November 17, 2020   Klegon Robert IL 20201117   16:10 ‐ 17:2
November 17, 2020   Klegon Robert IL 20201117   17:7 ‐ 17:9
November 17, 2020   Klegon_Robert_IL_20201117   26:7 ‐ 26:22
November 17, 2020   Klegon Robert IL 20201117   39:9 ‐ 40:16      V, R
November 17, 2020   Klegon_Robert_IL_20201117   41:22 ‐ 42:2      V, R
November 17, 2020   Klegon Robert IL 20201117   42:6 ‐ 42:20      V, R
November 17, 2020   Klegon_Robert_IL_20201117   42:21 ‐ 43:11     V, R
November 17, 2020   Klegon Robert IL 20201117   44:11 ‐ 44:14
November 17, 2020   Klegon_Robert_IL_20201117   70:12 ‐ 70:16     P, R
November 17, 2020   Klegon Robert IL 20201117   70:24 ‐ 71:3      P, R
November 17, 2020   Klegon_Robert_IL_20201117   78:22 ‐ 78:23     P, R
November 17, 2020   Klegon Robert IL 20201117   79:8 ‐ 79:11      P, R
November 17, 2020   Klegon_Robert_IL_20201117   79:15 ‐ 79:17     P, R
November 17, 2020   Klegon Robert IL 20201117   87:2 ‐ 87:3       P, R
November 17, 2020   Klegon_Robert_IL_20201117   87:10 ‐ 87:18     P, R
November 17, 2020   Klegon Robert IL 20201117   90:2 ‐ 90:4       P, R
November 17, 2020   Klegon_Robert_IL_20201117   90:11 ‐ 90:24     P, R
November 17, 2020   Klegon Robert IL 20201117   91:2 ‐ 91:3       P, R
November 17 2020    Klegon_Robert_IL_20201117   91:10 ‐ 91:16     P R
November 17, 2020   Klegon Robert IL 20201117   92:11 ‐ 92:14     P, R
November 17, 2020   Klegon Robert IL 20201117   92:25 ‐ 93:8      P, R
November 17, 2020   Klegon Robert IL 20201117   100:11 ‐ 101:9    P, R
November 17, 2020   Klegon Robert IL 20201117   102:25 ‐ 103:23   P, R
November 17, 2020   Klegon Robert IL 20201117   103:24 ‐ 104:4    P, R
November 17, 2020   Klegon Robert IL 20201117   104:5 ‐ 105:3     P, R
November 17, 2020   Klegon Robert IL 20201117   105:8 ‐ 106:2     P, R
November 17, 2020   Klegon Robert IL 20201117   106:8 ‐ 106:20    P, R
November 17, 2020   Klegon_Robert_IL_20201117   106:21 ‐ 106:25   P, R
November 17, 2020   Klegon Robert IL 20201117   110:20 ‐ 112:3    P, R
November 17, 2020   Klegon_Robert_IL_20201117   119:11 ‐ 120:8    P, R
November 17, 2020   Klegon Robert IL 20201117   122:4 ‐ 123:6     P, R
November 17, 2020   Klegon_Robert_IL_20201117   125:3 ‐ 125:23    P, R
November 17, 2020   Klegon Robert IL 20201117   126:2 ‐ 126:13    P, R
November 17, 2020   Klegon_Robert_IL_20201117   126:18 ‐ 126:23   P, R
November 17, 2020   Klegon Robert IL 20201117   127:4 ‐ 127:11    P, R
November 17, 2020   Klegon_Robert_IL_20201117   127:20 ‐ 128:2    P, R
November 17, 2020   Klegon Robert IL 20201117   128:12 ‐ 128:25   P, R
November 17, 2020   Klegon_Robert_IL_20201117   130:18 ‐ 131:8    P, R
November 17, 2020   Klegon Robert IL 20201117   131:10 ‐ 132:4    P, R
June 23 ,2020       Lantz_Gregory_DE_20200623   7:3 ‐ 7:10
June 23 ,2020       Lantz Gregory DE 20200623   12:20 ‐ 13:2
June 23 ,2020       Lantz_Gregory_DE_20200623   14:4 ‐ 14:13                           14:14‐16:4
June 23 ,2020       Lantz Gregory DE 20200623   16:5 ‐ 16:13                           14:14‐16:4
June 23 2020        Lantz_Gregory_DE_20200623   22:6 ‐ 22:15
June 23 ,2020       Lantz Gregory DE 20200623   24:20 ‐ 25:14
June 23 ,2020       Lantz Gregory DE 20200623   26:5 ‐ 26:12
June 23 ,2020       Lantz Gregory DE 20200623   27:19 ‐ 27:25
June 23 ,2020       Lantz Gregory DE 20200623   27:11 ‐ 27:17

                                                                   31
                           Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 507 of 555 PageID #: 57358
June 23 ,2020       Lantz Gregory DE 20200623     29:10 ‐ 29:22
June 23 2020        Lantz_Gregory_DE_20200623     30:5 ‐ 30:7
June 23 ,2020       Lantz Gregory DE 20200623     30:15 ‐ 31:3
June 23 ,2020       Lantz Gregory DE 20200623     31:4 ‐ 31:20
June 23 ,2020       Lantz Gregory DE 20200623     32:23 ‐ 33:11
June 23 ,2020       Lantz Gregory DE 20200623     32:14 ‐ 32:18
June 23 ,2020       Lantz Gregory DE 20200623     34:1 ‐ 35:6
June 23 ,2020       Lantz Gregory DE 20200623     36:5 ‐ 36:20
June 23 ,2020       Lantz Gregory DE 20200623     37:25 ‐ 38:3
June 23 ,2020       Lantz Gregory DE 20200623     38:11 ‐ 39:6
June 23 ,2020       Lantz_Gregory_DE_20200623     39:7 ‐ 39:19
June 23 ,2020       Lantz Gregory DE 20200623     40:23 ‐ 41:13
June 23 ,2020       Lantz_Gregory_DE_20200623     42:13 ‐ 43:11
June 23 ,2020       Lantz Gregory DE 20200623     42:11 ‐ 42:12
June 23 ,2020       Lantz_Gregory_DE_20200623     43:12 ‐ 43:24
June 23 ,2020       Lantz Gregory DE 20200623     43:25 ‐ 44:23
June 23 ,2020       Lantz_Gregory_DE_20200623     45:16 ‐ 47:1
June 23 ,2020       Lantz Gregory DE 20200623     47:19 ‐ 48:2
June 23 ,2020       Lantz_Gregory_DE_20200623     47:6 ‐ 47:14
June 23 ,2020       Lantz Gregory DE 20200623     48:12 ‐ 49:1
June 23 ,2020       Lantz_Gregory_DE_20200623     49:2 ‐ 49:22
June 23 ,2020       Lantz Gregory DE 20200623     51:8 ‐ 51:22
June 23 ,2020       Lantz_Gregory_DE_20200623     52:22 ‐ 54:13
June 23 ,2020       Lantz Gregory DE 20200623     52:2 ‐ 52:21
June 23 ,2020       Lantz_Gregory_DE_20200623     54:18 ‐ 54:25
June 23 ,2020       Lantz Gregory DE 20200623     56:25 ‐ 58:10
June 23 2020        Lantz_Gregory_DE_20200623     61:4 ‐ 61:14
June 23 ,2020       Lantz Gregory DE 20200623     61:18 ‐ 62:6
June 23 ,2020       Lantz Gregory DE 20200623     65:20 ‐ 65:23
June 23 ,2020       Lantz Gregory DE 20200623     65:1 ‐ 65:4
June 23 ,2020       Lantz Gregory DE 20200623     66:12 ‐ 66:17
June 23 ,2020       Lantz Gregory DE 20200623     66:3 ‐ 66:7
June 23 ,2020       Lantz Gregory DE 20200623     66:18 ‐ 66:25
June 23 ,2020       Lantz Gregory DE 20200623     71:22 ‐ 72:13
June 23 ,2020       Lantz Gregory DE 20200623     72:14 ‐ 72:22
June 23 ,2020       Lantz_Gregory_DE_20200623     73:2 ‐ 73:5
June 23 ,2020       Lantz Gregory DE 20200623     73:12 ‐ 73:19
June 23 ,2020       Lantz_Gregory_DE_20200623     74:3 ‐ 75:2
June 23 ,2020       Lantz Gregory DE 20200623     75:10 ‐ 75:16
June 23 ,2020       Lantz_Gregory_DE_20200623     75:7 ‐ 75:9
June 23 ,2020       Lantz Gregory DE 20200623     76:3 ‐ 76:15
June 23 ,2020       Lantz_Gregory_DE_20200623     81:20 ‐ 82:10
June 23 ,2020       Lantz Gregory DE 20200623     81:4 ‐ 81:8
December 29, 2020   Manning_Marques_IL_20201229   7:11 ‐ 7:20
December 29, 2020   Manning Marques IL 20201229   14:23 ‐ 15:1
December 29, 2020   Manning_Marques_IL_20201229   21:9 ‐ 21:11
December 29, 2020   Manning Marques IL 20201229   21:24 ‐ 22:9
December 29, 2020   Manning_Marques_IL_20201229   22:10 ‐ 22:21
December 29, 2020   Manning Marques IL 20201229   23:25 ‐ 24:5
December 29, 2020   Manning_Marques_IL_20201229   31:19 ‐ 31:21
December 29, 2020   Manning Marques IL 20201229   31:3 ‐ 31:5
December 29 2020    Manning_Marques_IL_20201229   32:21 ‐ 33:3
December 29, 2020   Manning Marques IL 20201229   34:23 ‐ 35:1
December 29, 2020   Manning Marques IL 20201229   35:18 ‐ 35:25
December 29, 2020   Manning Marques IL 20201229   35:2 ‐ 35:7
December 29, 2020   Manning Marques IL 20201229   36:8 ‐ 37:5

                                                                   32
                           Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 508 of 555 PageID #: 57359
December 29, 2020   Manning Marques IL 20201229    37:6 ‐ 38:1                         38:18‐21
December 29 2020    Manning_Marques_IL_20201229    38:7 ‐ 38:17                        38:18‐21
December 29, 2020   Manning Marques IL 20201229    42:20 ‐ 42:22
December 29, 2020   Manning Marques IL 20201229    42:24 ‐ 44:12
December 29, 2020   Manning Marques IL 20201229    44:13 ‐ 44:16                       44:17‐25; 46:15‐25
December 29, 2020   Manning Marques IL 20201229    45:1 ‐ 45:5                         44:17‐25; 46:15‐25
December 29, 2020   Manning Marques IL 20201229    45:16 ‐ 46:12                       44:17‐25; 46:15‐25
December 29, 2020   Manning Marques IL 20201229    47:1 ‐ 47:17
December 29, 2020   Manning Marques IL 20201229    48:3 ‐ 48:8
December 29, 2020   Manning Marques IL 20201229    49:9 ‐ 49:13
December 29, 2020   Manning_Marques_IL_20201229    49:14 ‐ 49:16
December 29, 2020   Manning Marques IL 20201229    50:14 ‐ 50:17
December 29, 2020   Manning_Marques_IL_20201229    50:18 ‐ 52:2
December 29, 2020   Manning Marques IL 20201229    52:3 ‐ 52:21
December 29, 2020   Manning_Marques_IL_20201229    53:7 ‐ 54:14
December 29, 2020   Manning Marques IL 20201229    54:18 ‐ 55:25   R
December 29, 2020   Manning_Marques_IL_20201229    56:1 ‐ 56:22
December 29, 2020   Manning Marques IL 20201229    60:1 ‐ 60:12    R, Sp
December 29, 2020   Manning_Marques_IL_20201229    60:20 ‐ 60:21   R, Sp
December 29, 2020   Manning Marques IL 20201229    62:23 ‐ 63:1
December 29, 2020   Manning_Marques_IL_20201229    70:24 ‐ 71:2    R, P
December 29, 2020   Manning Marques IL 20201229    71:3 ‐ 71:6
December 29, 2020   Manning_Marques_IL_20201229    71:7 ‐ 71:13
December 29, 2020   Manning Marques IL 20201229    78:2 ‐ 78:8     R, P
December 29, 2020   Manning_Marques_IL_20201229    79:14 ‐ 79:16                       79:17‐23
December 29, 2020   Manning Marques IL 20201229    79:24 ‐ 80:5
December 29 2020    Manning_Marques_IL_20201229    80:10 ‐ 81:4
December 29, 2020   Manning Marques IL 20201229    84:14 ‐ 85:10   R
December 29, 2020   Manning Marques IL 20201229    84:2 ‐ 84:3     R
December 29, 2020   Manning Marques IL 20201229    84:10 ‐ 84:13   R
December 29, 2020   Manning Marques IL 20201229    86:3 ‐ 86:24    R
December 29, 2020   Manning Marques IL 20201229    87:22 ‐ 88:10   R, Sp, P
December 29, 2020   Manning Marques IL 20201229    88:22 ‐ 89:18   R, Sp, P, H
December 29, 2020   Manning Marques IL 20201229    91:16 ‐ 92:7    R, AA, V
December 29, 2020   Manning Marques IL 20201229    92:8 ‐ 92:14    R, V
December 29, 2020   Manning_Marques_IL_20201229    93:14 ‐ 93:25   R, V, P
November 18, 2020   Maselbas Michael DE 20201118   6:5 ‐ 6:10
November 18, 2020   Maselbas_Michael_DE_20201118   6:16 ‐ 6:22
November 18, 2020   Maselbas Michael DE 20201118   6:25 ‐ 7:15
November 18, 2020   Maselbas_Michael_DE_20201118   9:8 ‐ 9:20
November 18, 2020   Maselbas Michael DE 20201118   10:17 ‐ 10:25
November 18, 2020   Maselbas_Michael_DE_20201118   11:10 ‐ 11:13
November 18, 2020   Maselbas Michael DE 20201118   11:16 ‐ 11:23
November 18, 2020   Maselbas_Michael_DE_20201118   14:3 ‐ 14:10
November 18, 2020   Maselbas Michael DE 20201118   15:2 ‐ 15:19
November 18, 2020   Maselbas_Michael_DE_20201118   15:22 ‐ 15:25
November 18, 2020   Maselbas Michael DE 20201118   17:2 ‐ 17:16
November 18, 2020   Maselbas_Michael_DE_20201118   19:14 ‐ 19:23
November 18, 2020   Maselbas Michael DE 20201118   56:25 ‐ 58:5
November 18, 2020   Maselbas_Michael_DE_20201118   61:11 ‐ 61:13
November 18, 2020   Maselbas Michael DE 20201118   61:16 ‐ 61:25
November 18 2020    Maselbas_Michael_DE_20201118   62:2 ‐ 62:6
November 18, 2020   Maselbas Michael DE 20201118   63:23 ‐ 64:19
May 30, 2019        Maselbas Michael IL 20190530   6:21 ‐ 6:24
May 30, 2019        Maselbas Michael IL 20190530   9:8 ‐ 9:13
May 30, 2019        Maselbas Michael IL 20190530   14:4 ‐ 14:8

                                                                    33
                           Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 509 of 555 PageID #: 57360
May 30, 2019        Maselbas Michael IL 20190530   15:6 ‐ 16:11
May 30 2019         Maselbas_Michael_IL_20190530   38:7 ‐ 39:4
May 30, 2019        Maselbas Michael IL 20190530   39:9 ‐ 39:19
May 30, 2019        Maselbas Michael IL 20190530   40:2 ‐ 40:23
May 30, 2019        Maselbas Michael IL 20190530   41:8 ‐ 41:11
May 30, 2019        Maselbas Michael IL 20190530   41:19 ‐ 41:25
May 30, 2019        Maselbas Michael IL 20190530   42:1 ‐ 42:2
May 30, 2019        Maselbas Michael IL 20190530   42:4 ‐ 42:5
May 30, 2019        Maselbas Michael IL 20190530   43:1 ‐ 43:13
May 30, 2019        Maselbas Michael IL 20190530   43:23 ‐ 44:13
May 30, 2019        Maselbas_Michael_IL_20190530   44:16 ‐ 44:17
May 30, 2019        Maselbas Michael IL 20190530   46:4 ‐ 46:22
May 30, 2019        Maselbas_Michael_IL_20190530   47:2 ‐ 49:25                        51:6‐21
May 30, 2019        Maselbas Michael IL 20190530   50:11 ‐ 50:25                       51:6‐21
May 30, 2019        Maselbas_Michael_IL_20190530   51:2 ‐ 51:5                         51:6‐21
May 30, 2019        Maselbas Michael IL 20190530   55:4 ‐ 55:7       F, V
May 30, 2019        Maselbas_Michael_IL_20190530   55:10 ‐ 56:17     F, V              56:18‐57:9
May 30, 2019        Maselbas Michael IL 20190530   57:10 ‐ 57:21
May 30, 2019        Maselbas_Michael_IL_20190530   58:8 ‐ 60:12
May 30, 2019        Maselbas Michael IL 20190530   60:19 ‐ 61:4
May 30, 2019        Maselbas_Michael_IL_20190530   61:25 ‐ 63:20
May 30, 2019        Maselbas Michael IL 20190530   71:3 ‐ 71:7       F, V
May 30, 2019        Maselbas_Michael_IL_20190530   71:9 ‐ 71:16      F, V
May 30, 2019        Maselbas Michael IL 20190530   71:22 ‐ 71:24     F, V
May 30, 2019        Maselbas_Michael_IL_20190530   72:1 ‐ 72:7       F, V
May 30, 2019        Maselbas Michael IL 20190530   73:3 ‐ 73:9       V
May 30 2019         Maselbas_Michael_IL_20190530   73:19 ‐ 73:20     FV
May 30, 2019        Maselbas Michael IL 20190530   73:23 ‐ 74:3      F,V
May 30, 2019        Maselbas Michael IL 20190530   74:13 ‐ 74:19
May 30, 2019        Maselbas Michael IL 20190530   75:11 ‐ 75:12     F
May 30, 2019        Maselbas Michael IL 20190530   75:14 ‐ 75:17     F
May 30, 2019        Maselbas Michael IL 20190530   75:19 ‐ 75:21     F
May 30, 2019        Maselbas Michael IL 20190530   75:25 ‐ 76:13
May 30, 2019        Maselbas Michael IL 20190530   76:17 ‐ 77:12
May 30, 2019        Maselbas Michael IL 20190530   103:16 ‐ 105:1
May 30, 2019        Maselbas_Michael_IL_20190530   105:10 ‐ 105:23
May 30, 2019        Maselbas Michael IL 20190530   112:24 ‐ 113:8    F, R, AF, S
May 30, 2019        Maselbas_Michael_IL_20190530   113:10 ‐ 113:14   F, R, AF, S
May 30, 2019        Maselbas Michael IL 20190530   113:18 ‐ 114:1    F, R, AF, S
May 30, 2019        Maselbas_Michael_IL_20190530   114:4 ‐ 114:9     F, R, AF, S
May 30, 2019        Maselbas Michael IL 20190530   114:13 ‐ 114:18   F, R, AF, S
May 30, 2019        Maselbas_Michael_IL_20190530   114:21 ‐ 114:23   F, R, AF, S
May 30, 2019        Maselbas Michael IL 20190530   124:5 ‐ 124:7
May 30, 2019        Maselbas_Michael_IL_20190530   124:10 ‐ 124:14
May 30, 2019        Maselbas Michael IL 20190530   124:19 ‐ 124:21
May 30, 2019        Maselbas_Michael_IL_20190530   124:24 ‐ 125:2
May 30, 2019        Maselbas Michael IL 20190530   125:17 ‐ 126:2
May 30, 2019        Maselbas_Michael_IL_20190530   135:24 ‐ 138:3    S, F, V           135:19, 22‐23
May 30, 2019        Maselbas Michael IL 20190530   159:24 ‐ 160:7
May 30, 2019        Maselbas_Michael_IL_20190530   160:14 ‐ 161:2
May 30, 2019        Maselbas Michael IL 20190530   162:22 ‐ 162:24
November 18 2020    Maselbas_Michael_IL_20201118   5:3 ‐ 5:15
November 18, 2020   Maselbas Michael IL 20201118   5:20 ‐ 5:22
November 18, 2020   Maselbas Michael IL 20201118   5:24 ‐ 6:1
November 18, 2020   Maselbas Michael IL 20201118   6:3 ‐ 7:3
November 18, 2020   Maselbas Michael IL 20201118   12:2 ‐ 12:3

                                                                         34
                            Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 510 of 555 PageID #: 57361
November 18, 2020    Maselbas Michael IL 20201118   12:22 ‐ 13:9
November 18 2020     Maselbas_Michael_IL_20201118   13:16 ‐ 13:18
November 18, 2020    Maselbas Michael IL 20201118   13:20 ‐ 13:20
November 18, 2020    Maselbas Michael IL 20201118   13:22 ‐ 13:24
November 18, 2020    Maselbas Michael IL 20201118   14:1 ‐ 14:19
November 18, 2020    Maselbas Michael IL 20201118   17:23 ‐ 18:9
November 18, 2020    Maselbas Michael IL 20201118   18:20 ‐ 19:3
November 18, 2020    Maselbas Michael IL 20201118   19:20 ‐ 20:8
November 18, 2020    Maselbas Michael IL 20201118   20:12 ‐ 21:9
November 18, 2020    Maselbas Michael IL 20201118   21:12 ‐ 21:16
November 18, 2020    Maselbas_Michael_IL_20201118   25:22 ‐ 26:1
November 18, 2020    Maselbas Michael IL 20201118   26:4 ‐ 26:20
November 18, 2020    Maselbas_Michael_IL_20201118   27:10 ‐ 27:16
November 18, 2020    Maselbas Michael IL 20201118   28:14 ‐ 29:4
November 18, 2020    Maselbas_Michael_IL_20201118   29:8 ‐ 29:11
November 18, 2020    Maselbas Michael IL 20201118   40:2 ‐ 40:4
November 18, 2020    Maselbas_Michael_IL_20201118   40:22 ‐ 41:3
November 18, 2020    Maselbas Michael IL 20201118   43:14 ‐ 44:19
November 18, 2020    Maselbas_Michael_IL_20201118   44:23 ‐ 45:6
November 18, 2020    Maselbas Michael IL 20201118   45:9 ‐ 45:10
September 23, 2020   Mickel_Beth_DE_20200923        9:2 ‐ 9:14
September 23, 2020   Mickel Beth DE 20200923        11:12 ‐ 14:11                         14:12‐19
September 23, 2020   Mickel_Beth_DE_20200923        15:17 ‐ 16:2
September 23, 2020   Mickel Beth DE 20200923        16:3 ‐ 17:2                           17:3‐18:11
September 23, 2020   Mickel_Beth_DE_20200923        58:10 ‐ 59:22     R
September 23, 2020   Mickel Beth DE 20200923        60:8 ‐ 60:11      R
September 23 2020    Mickel_Beth_DE_20200923        62:14 ‐ 63:3
September 23, 2020   Mickel Beth DE 20200923        63:20 ‐ 66:1      V, Sp, R
September 23, 2020   Mickel Beth DE 20200923        66:7 ‐ 66:18      V, Sp
September 23, 2020   Mickel Beth DE 20200923        68:2 ‐ 68:18      V, Sp, AA, R
September 23, 2020   Mickel Beth DE 20200923        71:16 ‐ 72:10     R
September 23, 2020   Mickel Beth DE 20200923        73:15 ‐ 74:7      R, P, V, Sp         74:8‐75:10, 76:9‐77:3
September 23, 2020   Mickel Beth DE 20200923        77:4 ‐ 77:19      Sp, V, P, R
September 23, 2020   Mickel Beth DE 20200923        77:22 ‐ 78:14     R
September 23, 2020   Mickel Beth DE 20200923        79:4 ‐ 80:9       R, C
September 23, 2020   Mickel_Beth_DE_20200923        83:18 ‐ 84:6      M, R                84:7‐10
September 23, 2020   Mickel Beth DE 20200923        88:18 ‐ 89:11     F, R, P
September 23, 2020   Mickel_Beth_DE_20200923        89:12 ‐ 90:11     Sp
September 23, 2020   Mickel Beth DE 20200923        95:15 ‐ 96:1      R                   98:12‐19
September 23, 2020   Mickel_Beth_DE_20200923        101:2 ‐ 101:12    R
September 23, 2020   Mickel Beth DE 20200923        103:2 ‐ 103:11    V, C, R
September 23, 2020   Mickel_Beth_DE_20200923        108:10 ‐ 108:20   F
September 23, 2020   Mickel Beth DE 20200923        108:21 ‐ 109:16   V, C, Sp, R, P
September 23, 2020   Mickel_Beth_DE_20200923        110:1 ‐ 110:6     V, R, P, Sp
September 23, 2020   Mickel Beth DE 20200923        110:8 ‐ 110:9     V, R, P, Sp
September 23, 2020   Mickel_Beth_DE_20200923        110:13 ‐ 111:6    V, R, P, Sp, F      112:13‐19
September 23, 2020   Mickel Beth DE 20200923        112:20 ‐ 114:7    R, P, V, Sp,
September 23, 2020   Mickel_Beth_DE_20200923        116:3 ‐ 116:11    R, P, V, C          115:18‐116:2
September 23, 2020   Mickel Beth DE 20200923        116:17 ‐ 116:21   R, P, V, Sp
September 23, 2020   Mickel_Beth_DE_20200923        116:22 ‐ 117:7
September 23, 2020   Mickel Beth DE 20200923        118:6 ‐ 120:18    R, P, V, F, C, Sp
September 23 2020    Mickel_Beth_DE_20200923        120:21 ‐ 121:14   R F Sp
September 23, 2020   Mickel Beth DE 20200923        124:15 ‐ 125:9    R, P, F, Sp
September 23, 2020   Mickel Beth DE 20200923        125:10 ‐ 126:3    R, P, F, Sp, C
September 23, 2020   Mickel Beth DE 20200923        126:4 ‐ 126:16    R, P, V, Sp
September 23, 2020   Mickel Beth DE 20200923        127:4 ‐ 127:15    R, P, V, Sp

                                                                       35
                            Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 511 of 555 PageID #: 57362
September 23, 2020   Mickel Beth DE 20200923   127:18 ‐ 128:3      F, R, P
September 23 2020    Mickel_Beth_DE_20200923   129:8 ‐ 130:7       R P
September 23, 2020   Mickel Beth DE 20200923   130:10 ‐ 131:2      R, P
September 23, 2020   Mickel Beth DE 20200923   132:21 ‐ 133:5      C, V, R, P              133:6‐12
September 23, 2020   Mickel Beth DE 20200923   134:17 ‐ 135:9      F, R, P, Sp, V
September 23, 2020   Mickel Beth DE 20200923   135:10 ‐ 136:10     F, R, P, Sp, V
September 23, 2020   Mickel Beth DE 20200923   136:11 ‐ 138:2      F, R, P, Sp, V          138:8‐12
September 23, 2020   Mickel Beth DE 20200923   138:15 ‐ 138:22     F, R
September 23, 2020   Mickel Beth DE 20200923   140:7 ‐ 140:12      F, R, P, M, AF, Sp, C
September 23, 2020   Mickel Beth DE 20200923   140:13 ‐ 143:11     F, R, P, M, AF, Sp, C
September 23, 2020   Mickel_Beth_DE_20200923   143:21 ‐ 144:13     F, R, P
September 23, 2020   Mickel Beth DE 20200923   147:2 ‐ 149:2       F, Sp, R, P             149:3‐9
September 23, 2020   Mickel_Beth_DE_20200923   149:22 ‐ 150:8      R, P                    150:9‐20, 151:9‐12
September 23, 2020   Mickel Beth DE 20200923   152:16 ‐ 153:1
September 23, 2020   Mickel_Beth_DE_20200923   154:5 ‐ 154:12      F, R, P
September 23, 2020   Mickel Beth DE 20200923   156:5 ‐ 156:13      F, R, P                 156:14‐157:5
July 10, 2020        Miller_John_DE_20200710   5:3 ‐ 5:13
July 10, 2020        Miller John DE 20200710   14:10 ‐ 14:17                               14:18‐23
July 10, 2020        Miller_John_DE_20200710   18:24 ‐ 19:12
July 10, 2020        Miller John DE 20200710   20:14 ‐ 20:19
July 10, 2020        Miller_John_DE_20200710   32:10 ‐ 32:21
July 10, 2020        Miller John DE 20200710   33:4 ‐ 33:13        F, V, Sp, M
July 10, 2020        Miller_John_DE_20200710   34:13 ‐ 35:21       F, V, Sp, M, L
July 10, 2020        Miller John DE 20200710   35:22 ‐ 36:4        F, V, Sp, M, L
July 10, 2020        Miller_John_DE_20200710   36:7 ‐ 37:12
July 10, 2020        Miller John DE 20200710   38:8 ‐ 39:10                                39:11‐44:21
July 10 2020         Miller_John_DE_20200710   49:6 ‐ 49:17
July 10, 2020        Miller John DE 20200710   50:4 ‐ 50:12
July 10, 2020        Miller John DE 20200710   53:24 ‐ 54:19
July 10, 2020        Miller John DE 20200710   54:20 ‐ 55:8        V
July 10, 2020        Miller John DE 20200710   58:23 ‐ 59:14       L, V, F, M, Sp
December 1, 2020     Miller John DE 20201201   6:24 ‐ 7:3                                  7:4‐15
December 1, 2020     Miller John DE 20201201   12:8 ‐ 12:15                                12:16‐19
December 1, 2020     Miller John DE 20201201   12:20 ‐ 12:24
December 1, 2020     Miller John DE 20201201   13:2 ‐ 13:17
December 1, 2020     Miller_John_DE_20201201   13:18 ‐ 14:23
December 1, 2020     Miller John DE 20201201   15:7 ‐ 15:15
December 1, 2020     Miller_John_DE_20201201   16:9 ‐ 16:19
December 1, 2020     Miller John DE 20201201   17:5 ‐ 17:12
December 1, 2020     Miller_John_DE_20201201   17:17 ‐ 18:9
December 1, 2020     Miller John DE 20201201   18:10 ‐ 18:21
December 1, 2020     Miller_John_DE_20201201   19:11 ‐ 20:3        F, S, M, L
December 1, 2020     Miller John DE 20201201   30:10 ‐ 31:19       F, S, M, V, L
December 1, 2020     Miller_John_DE_20201201   32:14 ‐ 33:18       AF, F, M, V
December 1, 2020     Miller John DE 20201201   33:23 ‐ 34:18       AA, AF, F, V, L, S
December 1, 2020     Miller_John_DE_20201201   35:19 ‐ 36:2                                36:3‐5
December 1, 2020     Miller John DE 20201201   36:6 ‐ 36:9
December 1, 2020     Miller_John_DE_20201201   45:19 ‐ 46:2        AF, F, V, Sp, S, M, L   43:3‐45:18
December 1, 2020     Miller John DE 20201201   49:9 ‐ 49:12        V, Sp, L
December 1, 2020     Miller_John_DE_20201201   49:21 ‐ 50:3        AF, F, V, Sp, M, L      50:4‐22
December 1, 2020     Miller John DE 20201201   51:15 ‐ 52:1        F, V, Sp, M, L
December 1 2020      Miller_John_DE_20201201   55:3 ‐ 55:15
December 1, 2020     Miller John DE 20201201   56:10 ‐ 57:1
December 1, 2020     Miller John DE 20201201   57:3 ‐ 57:6
December 1, 2020     Miller John DE 20201201   57:9 ‐ 57:19        M, L, S
December 1, 2020     Miller John DE 20201201   67:25 ‐ 68:4

                                                                    36
                           Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 512 of 555 PageID #: 57363
December 1, 2020    Miller John DE 20201201     68:8 ‐ 69:1       AF, F, V, Sp, M, L         69:2‐4
December 1 2020     Miller_John_DE_20201201     70:7 ‐ 70:15      F V Sp S M L
December 1, 2020    Miller John DE 20201201     70:21 ‐ 71:3      F, V, Sp, S, M, L          71:4‐5
December 1, 2020    Miller John DE 20201201     71:6 ‐ 71:9       F, V, Sp, S, M, L          71:10‐11
December 1, 2020    Miller John DE 20201201     71:12 ‐ 71:19     F, V, Sp, S, M, L          71:20‐21
December 1, 2020    Miller John DE 20201201     71:22 ‐ 71:25     F, V, Sp, S, M, L          72:2‐74:7
December 1, 2020    Miller John DE 20201201     74:9 ‐ 75:2       V, S, M, L,
December 1, 2020    Miller John DE 20201201     75:3 ‐ 75:22
December 1, 2020    Miller John DE 20201201     76:7 ‐ 76:8       F, V, L                    76:9‐10
December 1, 2020    Miller John DE 20201201     76:11 ‐ 76:25     F, V, Sp, S, M, L
December 1, 2020    Miller_John_DE_20201201     77:8 ‐ 77:20      F, V, S, M,
December 1, 2020    Miller John DE 20201201     77:21 ‐ 77:21     F, V, S                    77:22‐23
December 1, 2020    Miller_John_DE_20201201     77:24 ‐ 78:10     AF, F, R, V, Sp, S, M, L   78:11‐12
December 1, 2020    Miller John DE 20201201     78:13 ‐ 78:17     AF, F, R, V, Sp, S, M, L   78:18‐19
December 1, 2020    Miller_John_DE_20201201     78:20 ‐ 78:21     AF, F, R, V, Sp, S, M, L                           78:23:00
December 1, 2020    Miller John DE 20201201     80:19 ‐ 80:24     V, M, S                    80:13‐18; 80:25‐81:1
December 1, 2020    Miller_John_DE_20201201     81:2 ‐ 81:10      V, M, S                                            81:11:00
December 1, 2020    Miller John DE 20201201     81:12 ‐ 81:20     AF, V, S                                           81:21:00
December 1, 2020    Miller_John_DE_20201201     81:22 ‐ 82:3      V, S                       82:4‐5
December 1, 2020    Miller John DE 20201201     82:6 ‐ 82:12      V, S                       82:13‐14
December 1, 2020    Miller_John_DE_20201201     82:15 ‐ 82:15
December 1, 2020    Miller John DE 20201201     82:20 ‐ 83:1
December 1, 2020    Miller_John_DE_20201201     85:21 ‐ 93:18     AF, R, V, Sp, M
December 1, 2020    Miller John DE 20201201     85:12 ‐ 85:20
December 1, 2020    Miller_John_DE_20201201     94:2 ‐ 94:21
December 1, 2020    Miller John DE 20201201     94:22 ‐ 95:6      F, V, Sp, S                95:7‐8
December 1 2020     Miller_John_DE_20201201     95:9 ‐ 96:13      V Sp S
December 1, 2020    Miller John DE 20201201     97:25 ‐ 102:12    V, Sp, S, M, L
December 1, 2020    Miller John DE 20201201     97:7 ‐ 97:16
December 1, 2020    Miller John DE 20201201     97:17 ‐ 97:20
December 1, 2020    Miller John DE 20201201     103:3 ‐ 103:7
December 1, 2020    Miller John DE 20201201     104:11 ‐ 105:7    F, V, Sp, S, M,            105:8‐10
December 1, 2020    Miller John DE 20201201     105:25 ‐ 107:6    M, V
December 1, 2020    Miller John DE 20201201     107:14 ‐ 107:21
December 1, 2020    Miller John DE 20201201     107:22 ‐ 108:9
December 1, 2020    Miller_John_DE_20201201     108:15 ‐ 109:2    F, S
December 1, 2020    Miller John DE 20201201     110:22 ‐ 111:18   F, AF, V, S
December 1, 2020    Miller_John_DE_20201201     112:14 ‐ 113:3    F, V, Sp
December 1, 2020    Miller John DE 20201201     113:5 ‐ 113:18    F, V, Sp
December 1, 2020    Miller_John_DE_20201201     114:16 ‐ 115:5
December 1, 2020    Miller John DE 20201201     115:18 ‐ 115:23   V, M, S
December 1, 2020    Miller_John_DE_20201201     117:8 ‐ 117:19    F, V, Sp, M                                       117:20:00
December 1, 2020    Miller John DE 20201201     117:21 ‐ 118:16   F, V, Sp, M
December 1, 2020    Miller_John_DE_20201201     119:11 ‐ 119:20
December 1, 2020    Miller John DE 20201201     121:21 ‐ 122:15
December 1, 2020    Miller_John_DE_20201201     121:13 ‐ 121:20   Sp, V
December 1, 2020    Miller John DE 20201201     122:16 ‐ 123:1    Sp, V
December 1, 2020    Miller_John_DE_20201201     123:23 ‐ 123:24
December 1, 2020    Miller John DE 20201201     124:2 ‐ 124:21    F, V, Sp
December 1, 2020    Miller_John_DE_20201201     124:22 ‐ 124:24
December 1, 2020    Miller John DE 20201201     126:19 ‐ 127:11
December 1 2020     Miller_John_DE_20201201     128:9 ‐ 128:25    F V Sp
December 10, 2020   Moore Michael IL 20201210   9:19 ‐ 9:24
December 10, 2020   Moore Michael IL 20201210   13:1 ‐ 13:11
December 10, 2020   Moore Michael IL 20201210   13:12 ‐ 13:19
December 10, 2020   Moore Michael IL 20201210   13:20 ‐ 14:20

                                                                   37
                           Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 513 of 555 PageID #: 57364
December 10, 2020   Moore Michael IL 20201210   15:24 ‐ 16:13
December 10 2020    Moore_Michael_IL_20201210   16:17 ‐ 17:4
December 10, 2020   Moore Michael IL 20201210   18:14 ‐ 19:14
December 10, 2020   Moore Michael IL 20201210   20:13 ‐ 20:23
December 10, 2020   Moore Michael IL 20201210   20:24 ‐ 21:10
December 10, 2020   Moore Michael IL 20201210   22:5 ‐ 22:11
December 10, 2020   Moore Michael IL 20201210   22:14 ‐ 23:8                           23:9‐19
December 10, 2020   Moore Michael IL 20201210   24:13 ‐ 28:10
December 10, 2020   Moore Michael IL 20201210   28:12 ‐ 28:12
December 10, 2020   Moore Michael IL 20201210   28:15 ‐ 32:6
December 10, 2020   Moore_Michael_IL_20201210   32:10 ‐ 32:14
December 10, 2020   Moore Michael IL 20201210   32:16 ‐ 35:16
December 10, 2020   Moore_Michael_IL_20201210   35:20 ‐ 36:17
December 10, 2020   Moore Michael IL 20201210   36:22 ‐ 37:2
December 10, 2020   Moore_Michael_IL_20201210   37:10 ‐ 37:14
December 10, 2020   Moore Michael IL 20201210   37:15 ‐ 37:17
December 10, 2020   Moore_Michael_IL_20201210   38:2 ‐ 38:2
December 10, 2020   Moore Michael IL 20201210   38:20 ‐ 40:12
December 10, 2020   Moore_Michael_IL_20201210   40:16 ‐ 41:22     Sp
December 10, 2020   Moore Michael IL 20201210   40:2 ‐ 40:6
December 10, 2020   Moore_Michael_IL_20201210   41:23 ‐ 42:3
December 10, 2020   Moore Michael IL 20201210   42:17 ‐ 42:23
December 10, 2020   Moore_Michael_IL_20201210   42:24 ‐ 43:21
December 10, 2020   Moore Michael IL 20201210   43:22 ‐ 44:5
December 10, 2020   Moore_Michael_IL_20201210   44:19 ‐ 45:12
December 10, 2020   Moore Michael IL 20201210   46:11 ‐ 46:19
December 10 2020    Moore_Michael_IL_20201210   46:20 ‐ 46:24
December 10, 2020   Moore Michael IL 20201210   47:7 ‐ 47:14
December 10, 2020   Moore Michael IL 20201210   47:22 ‐ 48:1
December 10, 2020   Moore Michael IL 20201210   48:8 ‐ 49:22      R, P
December 10, 2020   Moore Michael IL 20201210   50:23 ‐ 51:11     R, P
December 10, 2020   Moore Michael IL 20201210   53:1 ‐ 54:4
December 10, 2020   Moore Michael IL 20201210   54:6 ‐ 54:18
December 10, 2020   Moore Michael IL 20201210   54:21 ‐ 55:1
December 10, 2020   Moore Michael IL 20201210   55:4 ‐ 55:21
December 10, 2020   Moore_Michael_IL_20201210   56:1 ‐ 56:7
December 10, 2020   Moore Michael IL 20201210   56:13 ‐ 56:13
December 10, 2020   Moore_Michael_IL_20201210   56:19 ‐ 57:18
December 10, 2020   Moore Michael IL 20201210   57:19 ‐ 58:19
December 10, 2020   Moore_Michael_IL_20201210   58:20 ‐ 58:24
December 10, 2020   Moore Michael IL 20201210   60:16 ‐ 60:18
December 10, 2020   Moore_Michael_IL_20201210   61:11 ‐ 61:23     R
December 10, 2020   Moore Michael IL 20201210   61:24 ‐ 62:9      R
December 10, 2020   Moore_Michael_IL_20201210   62:10 ‐ 63:5      R, P
December 10, 2020   Moore Michael IL 20201210   63:8 ‐ 63:10      R, P
December 10, 2020   Moore_Michael_IL_20201210   64:4 ‐ 64:19      R, P
December 10, 2020   Moore Michael IL 20201210   64:20 ‐ 65:19     R, P
December 10, 2020   Moore_Michael_IL_20201210   65:22 ‐ 66:7      R, P
December 10, 2020   Moore Michael IL 20201210   66:10 ‐ 67:23     R, P
December 10, 2020   Moore_Michael_IL_20201210   68:11 ‐ 69:9      R, P
December 10, 2020   Moore Michael IL 20201210   71:16 ‐ 72:3      R
December 10 2020    Moore_Michael_IL_20201210   72:23 ‐ 73:9      R
December 10, 2020   Moore Michael IL 20201210   76:2 ‐ 76:12      R
December 10, 2020   Moore Michael IL 20201210   78:4 ‐ 78:17      R
December 10, 2020   Moore Michael IL 20201210   78:18 ‐ 78:23     R
December 10, 2020   Moore Michael IL 20201210   79:8 ‐ 79:11      R

                                                                   38
                          Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 514 of 555 PageID #: 57365
December 10, 2020   Moore Michael IL 20201210    79:16 ‐ 79:20     R
December 10 2020    Moore_Michael_IL_20201210    80:20 ‐ 81:6      R
December 10, 2020   Moore Michael IL 20201210    81:7 ‐ 81:19      R
December 10, 2020   Moore Michael IL 20201210    81:20 ‐ 82:15     R
December 10, 2020   Moore Michael IL 20201210    83:9 ‐ 85:4       R
December 10, 2020   Moore Michael IL 20201210    85:7 ‐ 85:18      R
December 10, 2020   Moore Michael IL 20201210    85:19 ‐ 86:5
December 10, 2020   Moore Michael IL 20201210    95:3 ‐ 95:9       R
December 10, 2020   Moore Michael IL 20201210    95:16 ‐ 95:22     R
December 10, 2020   Moore Michael IL 20201210    95:23 ‐ 96:11     R
December 10, 2020   Moore_Michael_IL_20201210    96:21 ‐ 97:9      R
December 10, 2020   Moore Michael IL 20201210    97:12 ‐ 97:14     R
December 10, 2020   Moore_Michael_IL_20201210    97:16 ‐ 97:24     R
December 10, 2020   Moore Michael IL 20201210    99:16 ‐ 100:3     R
December 10, 2020   Moore_Michael_IL_20201210    100:4 ‐ 100:14    R
December 10, 2020   Moore Michael IL 20201210    100:15 ‐ 100:23   R
December 10, 2020   Moore_Michael_IL_20201210    101:2 ‐ 101:14    R
December 10, 2020   Moore Michael IL 20201210    102:14 ‐ 102:17   R
December 10, 2020   Moore_Michael_IL_20201210    102:20 ‐ 102:21   R
December 10, 2020   Moore Michael IL 20201210    109:16 ‐ 110:4    R
December 10, 2020   Moore_Michael_IL_20201210    110:5 ‐ 110:24    R
December 10, 2020   Moore Michael IL 20201210    111:1 ‐ 111:8     R
December 10, 2020   Moore_Michael_IL_20201210    114:13 ‐ 115:11
December 10, 2020   Moore Michael IL 20201210    117:11 ‐ 118:2    R
December 10, 2020   Moore_Michael_IL_20201210    118:3 ‐ 119:5     R
December 10, 2020   Moore Michael IL 20201210    119:6 ‐ 119:9     EL
December 10 2020    Moore_Michael_IL_20201210    119:24 ‐ 120:22   R
December 10, 2020   Moore Michael IL 20201210    121:2 ‐ 121:6     R
December 10, 2020   Moore Michael IL 20201210    123:1 ‐ 123:12    R
December 10, 2020   Moore Michael IL 20201210    123:13 ‐ 124:13   R
December 10, 2020   Moore Michael IL 20201210    124:14 ‐ 125:10   R, P
December 10, 2020   Moore Michael IL 20201210    125:17 ‐ 125:19   R, P
December 10, 2020   Moore Michael IL 20201210    125:23 ‐ 126:3    R, P
December 10, 2020   Moore Michael IL 20201210    125:11 ‐ 125:16   R, P
July 9, 2020        Morrow Matthew DE 20200709   5:4 ‐ 5:10
July 9, 2020        Morrow_Matthew_DE_20200709   10:2 ‐ 10:7
July 9, 2020        Morrow Matthew DE 20200709   10:17 ‐ 10:22
July 9, 2020        Morrow_Matthew_DE_20200709   11:6 ‐ 11:9
July 9, 2020        Morrow Matthew DE 20200709   11:14 ‐ 11:25
July 9, 2020        Morrow_Matthew_DE_20200709   12:5 ‐ 12:18
July 9, 2020        Morrow Matthew DE 20200709   13:9 ‐ 13:23
July 9, 2020        Morrow_Matthew_DE_20200709   16:17 ‐ 16:20     R, Sp              14:1‐19, 22:24
July 9, 2020        Morrow Matthew DE 20200709   16:23 ‐ 17:1
July 9, 2020        Morrow_Matthew_DE_20200709   17:3 ‐ 17:11
July 9, 2020        Morrow Matthew DE 20200709   17:21 ‐ 18:13     R                  18:14‐15, 18‐20
July 9, 2020        Morrow_Matthew_DE_20200709   20:17 ‐ 21:4      R
July 9, 2020        Morrow Matthew DE 20200709   21:8 ‐ 21:12      M, R, Sp           21:5
July 9, 2020        Morrow_Matthew_DE_20200709   21:19 ‐ 21:24
July 9, 2020        Morrow Matthew DE 20200709   27:4 ‐ 27:21      Sp, R              15:2‐11, 14
July 9, 2020        Morrow_Matthew_DE_20200709   28:18 ‐ 29:2
July 9, 2020        Morrow Matthew DE 20200709   29:12 ‐ 29:17
July 9 2020         Morrow_Matthew_DE_20200709   30:9 ‐ 30:16
July 9, 2020        Morrow Matthew DE 20200709   30:25 ‐ 31:16
July 9, 2020        Morrow Matthew DE 20200709   31:21 ‐ 31:23
July 9, 2020        Morrow Matthew DE 20200709   31:25 ‐ 32:5
July 9, 2020        Morrow Matthew DE 20200709   33:24 ‐ 34:7

                                                                    39
                           Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 515 of 555 PageID #: 57366
July 9, 2020         Morrow Matthew DE 20200709   36:24 ‐ 37:8
July 9 2020          Morrow_Matthew_DE_20200709   38:16 ‐ 38:20   Sp
July 9, 2020         Morrow Matthew DE 20200709   38:23 ‐ 39:2    Sp
July 9, 2020         Morrow Matthew DE 20200709   39:16 ‐ 39:20   Sp
July 9, 2020         Morrow Matthew DE 20200709   39:23 ‐ 40:2    Sp
July 9, 2020         Morrow Matthew DE 20200709   40:6 ‐ 40:12
July 9, 2020         Morrow Matthew DE 20200709   43:20 ‐ 43:23
July 9, 2020         Morrow Matthew DE 20200709   45:1 ‐ 45:18
July 9, 2020         Morrow Matthew DE 20200709   49:10 ‐ 50:2                         50:3‐10
July 9, 2020         Morrow Matthew DE 20200709   52:5 ‐ 53:3                          53:4‐13, 24‐25, 54:10‐21
July 9, 2020         Morrow_Matthew_DE_20200709   53:17 ‐ 53:23                        53:4‐13, 24‐25, 54:10‐21
July 9, 2020         Morrow Matthew DE 20200709   53:14 ‐ 53:16                        53:4‐13, 24‐25, 54:10‐21
July 9, 2020         Morrow_Matthew_DE_20200709   54:1 ‐ 54:4                          53:4‐13, 24‐25, 54:10‐21
July 9, 2020         Morrow Matthew DE 20200709   54:7 ‐ 54:8                          53:4‐13, 24‐25, 54:10‐21
September 27, 2018   Newman_David_IL_20180927     7:2 ‐ 7:6
September 27, 2018   Newman David IL 20180927     13:12 ‐ 14:11
September 27, 2018   Newman_David_IL_20180927     19:10 ‐ 19:21
September 27, 2018   Newman David IL 20180927     19:25 ‐ 20:12
September 27, 2018   Newman_David_IL_20180927     24:2 ‐ 25:1
September 27, 2018   Newman David IL 20180927     50:17 ‐ 51:1    R, P
September 27, 2018   Newman_David_IL_20180927     51:2 ‐ 51:8     R, P
September 27, 2018   Newman David IL 20180927     52:17 ‐ 53:17   R, P, Sp, F
September 27, 2018   Newman_David_IL_20180927     53:18 ‐ 54:16   R, P, Sp, F
September 27, 2018   Newman David IL 20180927     55:4 ‐ 55:9     R, P, Sp, F
May 13, 2020         Oates_Patrick_DE_20200513    3:18 ‐ 3:19
May 13, 2020         Oates Patrick DE 20200513    5:1 ‐ 5:12
May 13 2020          Oates_Patrick_DE_20200513    6:16 ‐ 9:2
May 13, 2020         Oates Patrick DE 20200513    9:4 ‐ 10:9
May 13, 2020         Oates Patrick DE 20200513    13:5 ‐ 13:11
May 13, 2020         Oates Patrick DE 20200513    17:23 ‐ 18:4
May 13, 2020         Oates Patrick DE 20200513    18:5 ‐ 19:9
May 13, 2020         Oates Patrick DE 20200513    19:14 ‐ 20:4
May 13, 2020         Oates Patrick DE 20200513    25:17 ‐ 25:25                        25:17‐26:19
May 13, 2020         Oates Patrick DE 20200513    26:20 ‐ 26:25                        26:20‐27:1
May 13, 2020         Oates Patrick DE 20200513    27:11 ‐ 29:17
May 13, 2020         Oates_Patrick_DE_20200513    27:6 ‐ 27:10
May 13, 2020         Oates Patrick DE 20200513    29:19 ‐ 31:1                         29:19‐31:12
May 13, 2020         Oates_Patrick_DE_20200513    31:20 ‐ 32:1                         31:20‐32:12
May 13, 2020         Oates Patrick DE 20200513    32:13 ‐ 32:21                        32:13‐33:15
May 13, 2020         Oates_Patrick_DE_20200513    33:16 ‐ 34:3
May 13, 2020         Oates Patrick DE 20200513    34:13 ‐ 34:25
May 13, 2020         Oates_Patrick_DE_20200513    35:21 ‐ 35:23                        35:17‐35:23
May 13, 2020         Oates Patrick DE 20200513    35:25 ‐ 37:8                         35:25‐37:13
May 13, 2020         Oates_Patrick_DE_20200513    42:22 ‐ 43:22                        42:22‐44:20
May 13, 2020         Oates Patrick DE 20200513    65:18 ‐ 66:6    V, F
May 13, 2020         Oates_Patrick_DE_20200513    66:19 ‐ 67:9    V, F
May 13, 2020         Oates Patrick DE 20200513    67:11 ‐ 68:6
May 13, 2020         Oates_Patrick_DE_20200513    68:9 ‐ 68:13
May 13, 2020         Oates Patrick DE 20200513    69:3 ‐ 69:19
May 13, 2020         Oates_Patrick_DE_20200513    81:9 ‐ 81:24
May 13, 2020         Oates Patrick DE 20200513    87:3 ‐ 87:13                         87:3‐91:16
May 13 2020          Oates_Patrick_DE_20200513    90:9 ‐ 90:11                         87:3‐91:16
May 13, 2020         Oates Patrick DE 20200513    90:14 ‐ 90:15                        87:3‐91:16
May 13, 2020         Oates Patrick DE 20200513    95:15 ‐ 95:25
May 13, 2020         Oates Patrick DE 20200513    98:22 ‐ 99:11
May 13, 2020         Oates Patrick DE 20200513    99:18 ‐ 100:3

                                                                   40
                           Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 516 of 555 PageID #: 57367
May 13, 2020        Oates Patrick DE 20200513         100:22 ‐ 101:17
May 13 2020         Oates_Patrick_DE_20200513         103:11 ‐ 103:12                       103:11‐105:18
May 13, 2020        Oates Patrick DE 20200513         103:18 ‐ 105:1                        103:11‐105:18
May 13, 2020        Oates Patrick DE 20200513         105:2 ‐ 105:18                        103:11‐105:18
May 13, 2020        Oates Patrick DE 20200513         108:16 ‐ 109:23                       108:16‐110:20
May 13, 2020        Oates Patrick DE 20200513         110:21 ‐ 111:7                        110:21‐111:16
May 13, 2020        Oates Patrick DE 20200513         111:17 ‐ 112:6                        111:17‐112:13
May 13, 2020        Oates Patrick DE 20200513         115:19 ‐ 116:4
November 10, 2020   Pak William IL 20201110           13:21 ‐ 13:25
November 10, 2020   Pak William IL 20201110           14:2 ‐ 14:3
November 10, 2020   Pak_William_IL_20201110           16:11 ‐ 16:19
November 10, 2020   Pak William IL 20201110           21:17 ‐ 21:23
November 10, 2020   Pak_William_IL_20201110           30:12 ‐ 30:20                         30:12 ‐ 32:19
November 10, 2020   Pak William IL 20201110           32:20 ‐ 32:25                         32:20 ‐ 35:14
November 10, 2020   Pak_William_IL_20201110           41:11 ‐ 41:13                         41:11 ‐ 44:5
November 10, 2020   Pak William IL 20201110           98:5 ‐ 98:8                           98:5 ‐ 99:11
November 10, 2020   Pak_William_IL_20201110           172:21 ‐ 172:25
November 10, 2020   Pak William IL 20201110           173:2 ‐ 173:4                         173:2 ‐ 179:17
May 7, 2020         Payne_Bill_DE_20200507            5:6 ‐ 5:9
May 7, 2020         Payne Bill DE 20200507            8:20 ‐ 9:10
May 7, 2020         Payne_Bill_DE_20200507            10:14 ‐ 10:17
May 7, 2020         Payne Bill DE 20200507            15:6 ‐ 17:13                          15:6‐17:19
May 7, 2020         Payne_Bill_DE_20200507            17:20 ‐ 20:13
May 7, 2020         Payne Bill DE 20200507            33:4 ‐ 33:25
May 7, 2020         Payne_Bill_DE_20200507            35:11 ‐ 35:19
May 7, 2020         Payne Bill DE 20200507            36:3 ‐ 36:24
May 7 2020          Payne_Bill_DE_20200507            43:20 ‐ 44:5
May 7, 2020         Payne Bill DE 20200507            44:7 ‐ 45:9                           44:7‐49:1
May 7, 2020         Payne Bill DE 20200507            46:19 ‐ 44:21
May 7, 2020         Payne Bill DE 20200507            46:24 ‐ 47:10
May 7, 2020         Payne Bill DE 20200507            47:20 ‐ 49:1
May 7, 2020         Payne Bill DE 20200507            51:17 ‐ 52:11
May 7, 2020         Payne Bill DE 20200507            56:9 ‐ 57:3                           56:9‐58:23
May 7, 2020         Payne Bill DE 20200507            58:24 ‐ 60:1
May 7, 2020         Payne Bill DE 20200507            60:4 ‐ 62:12
May 7, 2020         Payne_Bill_DE_20200507            76:7 ‐ 76:24                          76:7‐77:4
May 7, 2020         Payne Bill DE 20200507            77:22 ‐ 78:4                          77:5‐78:4
May 7, 2020         Payne_Bill_DE_20200507            82:22 ‐ 82:23
February 25, 2019   Ramachandiran Durai IL 20190225   13:2 ‐ 13:12      R, P                14:5‐10
February 25, 2019   Ramachandiran_Durai_IL_20190225   13:13 ‐ 14:4      R, P                15:7‐13
February 25, 2019   Ramachandiran Durai IL 20190225   14:20 ‐ 15:6      R, P
February 25, 2019   Ramachandiran_Durai_IL_20190225   15:18 ‐ 16:1      R, P                16:2‐21
February 25, 2019   Ramachandiran Durai IL 20190225   88:25 ‐ 89:12     R, P, F, Sp         88:10‐18
February 25, 2019   Ramachandiran_Durai_IL_20190225   89:18 ‐ 90:6      R, P, C, V, M, AF
February 25, 2019   Ramachandiran Durai IL 20190225   90:8 ‐ 90:12      R, P, C, V, M, AF
February 25, 2019   Ramachandiran_Durai_IL_20190225   120:10 ‐ 121:10   R
February 25, 2019   Ramachandiran Durai IL 20190225   126:16 ‐ 127:8    R, C, V             127:14‐128:1
February 25, 2019   Ramachandiran_Durai_IL_20190225   127:10 ‐ 127:10   R, C, V             127:14‐128:1
February 25, 2019   Ramachandiran Durai IL 20190225   135:4 ‐ 135:25    R, C, V
February 25, 2019   Ramachandiran_Durai_IL_20190225   136:12 ‐ 136:25
February 25, 2019   Ramachandiran Durai IL 20190225   137:14 ‐ 137:17   R, P                140:7‐9
February 25, 2019   Ramachandiran_Durai_IL_20190225   142:12 ‐ 142:15   R, P                142:20‐25, 145:6‐146:2, 147:12‐18, 148:1‐
                                                                                            24 149:13‐24
February 25, 2019   Ramachandiran_Durai_IL_20190225   142:16 ‐ 142:19   R, P                142:20‐25, 145:6‐146:2, 147:12‐18, 148:1‐
                                                                                            24 149:13‐24


                                                                         41
                           Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 517 of 555 PageID #: 57368
February 25, 2019   Ramachandiran_Durai_IL_20190225   143:1 ‐ 143:11    R, P             142:20‐25, 145:6‐146:2, 147:12‐18, 148:1‐
                                                                                         24 149:13‐24
February 25, 2019   Ramachandiran_Durai_IL_20190225   144:8 ‐ 144:19    R, P             142:20‐25, 145:6‐146:2, 147:12‐18, 148:1‐
                                                                                         24 149:13‐24
February 25, 2019   Ramachandiran_Durai_IL_20190225   147:2 ‐ 147:6     R, P             142:20‐25, 145:6‐146:2, 147:12‐18, 148:1‐
                                                                                         24 149:13‐24
February 25, 2019   Ramachandiran_Durai_IL_20190225   147:9 ‐ 147:10    R, P             142:20‐25, 145:6‐146:2, 147:12‐18, 148:1‐
                                                                                         24 149:13‐24
February 25, 2019   Ramachandiran_Durai_IL_20190225   150:2 ‐ 150:13    R, P             142:20‐25, 145:6‐146:2, 147:12‐18, 148:1‐
                                                                                         24 149:13‐24
February 25, 2019   Ramachandiran_Durai_IL_20190225   179:18 ‐ 179:20   R, P, F, Sp      178:6‐179:5, 179:22‐180:3
February 25, 2019   Ramachandiran Durai IL 20190225   180:4 ‐ 180:9     R, P, F, Sp      178:6‐179:5, 179:22‐180:3
February 25, 2019   Ramachandiran_Durai_IL_20190225   181:24 ‐ 181:25   R, F
February 25, 2019   Ramachandiran Durai IL 20190225   181:20 ‐ 181:22   R, F
February 25, 2019   Ramachandiran_Durai_IL_20190225   188:2 ‐ 188:4     R, P, Sp         188:5‐6
February 25, 2019   Ramachandiran Durai IL 20190225   188:7 ‐ 188:9     R, P, Sp         188:5‐6
February 25, 2019   Ramachandiran_Durai_IL_20190225   188:16 ‐ 188:20   R, P, Sp, L, H   188:21‐22, 189:5‐6
February 25, 2019   Ramachandiran Durai IL 20190225   188:23 ‐ 189:4    R, P, Sp, L, H   188:21‐22, 189:5‐6
February 25, 2019   Ramachandiran_Durai_IL_20190225   189:13 ‐ 189:23   R, P, Sp, L, H   188:21‐22, 189:5‐6
December 9, 2020    Ramsayer Scott IL 20201209        13:21 ‐ 14:3
December 9, 2020    Ramsayer_Scott_IL_20201209        14:14 ‐ 14:19
December 9, 2020    Ramsayer Scott IL 20201209        14:20 ‐ 15:6
December 9, 2020    Ramsayer_Scott_IL_20201209        15:12 ‐ 16:10
December 9, 2020    Ramsayer Scott IL 20201209        17:3 ‐ 17:13      V
December 9, 2020    Ramsayer_Scott_IL_20201209        17:19 ‐ 18:3      Sp
December 9, 2020    Ramsayer Scott IL 20201209        19:1 ‐ 19:13
December 9 2020     Ramsayer_Scott_IL_20201209        20:15 ‐ 21:4      R                21:5‐22:22
December 9, 2020    Ramsayer Scott IL 20201209        23:6 ‐ 23:19      R, V             23:20‐23
December 9, 2020    Ramsayer Scott IL 20201209        24:3 ‐ 24:14      R
December 9, 2020    Ramsayer Scott IL 20201209        24:19 ‐ 25:3      R
December 9, 2020    Ramsayer Scott IL 20201209        24:15 ‐ 24:18     R
December 9, 2020    Ramsayer Scott IL 20201209        25:5 ‐ 25:16      R, P
December 9, 2020    Ramsayer Scott IL 20201209        25:17 ‐ 25:17     R, P
December 9, 2020    Ramsayer Scott IL 20201209        25:19 ‐ 25:19     R, P
December 9, 2020    Ramsayer Scott IL 20201209        27:20 ‐ 28:9      R, P
December 9, 2020    Ramsayer_Scott_IL_20201209        28:10 ‐ 28:19     R, P, V
December 9, 2020    Ramsayer Scott IL 20201209        28:22 ‐ 29:8      R, P, V          29:9‐17
December 9, 2020    Ramsayer_Scott_IL_20201209        29:18 ‐ 30:8      R                29:9‐17
December 9, 2020    Ramsayer Scott IL 20201209        30:12 ‐ 30:18     R
December 9, 2020    Ramsayer_Scott_IL_20201209        30:19 ‐ 31:14     R
December 9, 2020    Ramsayer Scott IL 20201209        31:22 ‐ 32:2      R
December 9, 2020    Ramsayer_Scott_IL_20201209        31:15 ‐ 31:21     R, P, Sp, S
December 9, 2020    Ramsayer Scott IL 20201209        32:3 ‐ 32:9       R, P, Sp, S
December 9, 2020    Ramsayer_Scott_IL_20201209        33:9 ‐ 33:18      R, P
December 9, 2020    Ramsayer Scott IL 20201209        33:24 ‐ 34:2      R, P
December 9, 2020    Ramsayer_Scott_IL_20201209        33:19 ‐ 33:23     R, P, M
December 9, 2020    Ramsayer Scott IL 20201209        34:5 ‐ 34:14      R, P, M
December 9, 2020    Ramsayer_Scott_IL_20201209        34:17 ‐ 34:22     R, P, M
December 9, 2020    Ramsayer Scott IL 20201209        34:23 ‐ 36:16     R, P, M
December 9, 2020    Ramsayer_Scott_IL_20201209        36:17 ‐ 37:4      R, P
December 9, 2020    Ramsayer Scott IL 20201209        37:21 ‐ 37:25     R, P
December 9 2020     Ramsayer_Scott_IL_20201209        37:5 ‐ 37:20      R P
December 9, 2020    Ramsayer Scott IL 20201209        38:22 ‐ 38:24     R, P
December 9, 2020    Ramsayer Scott IL 20201209        38:1 ‐ 38:19      R, P
December 9, 2020    Ramsayer Scott IL 20201209        47:23 ‐ 48:5
December 9, 2020    Ramsayer Scott IL 20201209        47:18 ‐ 47:20

                                                                         42
                          Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 518 of 555 PageID #: 57369
December 9, 2020   Ramsayer Scott IL 20201209   48:6 ‐ 48:22
December 9 2020    Ramsayer_Scott_IL_20201209   49:6 ‐ 51:5
December 9, 2020   Ramsayer Scott IL 20201209   51:6 ‐ 51:25
December 9, 2020   Ramsayer Scott IL 20201209   53:2 ‐ 53:19
December 9, 2020   Ramsayer Scott IL 20201209   54:24 ‐ 55:15    P
December 9, 2020   Ramsayer Scott IL 20201209   56:2 ‐ 56:15
December 9, 2020   Ramsayer Scott IL 20201209   58:4 ‐ 58:7
December 9, 2020   Ramsayer Scott IL 20201209   58:10 ‐ 58:24    P
December 9, 2020   Ramsayer Scott IL 20201209   59:13 ‐ 59:17
December 9, 2020   Ramsayer Scott IL 20201209   60:6 ‐ 61:5
December 9, 2020   Ramsayer_Scott_IL_20201209   61:6 ‐ 62:17     Sp, V
December 9, 2020   Ramsayer Scott IL 20201209   62:18 ‐ 62:20    V
December 9, 2020   Ramsayer_Scott_IL_20201209   62:22 ‐ 62:25    V
December 9, 2020   Ramsayer Scott IL 20201209   63:3 ‐ 63:19
December 9, 2020   Ramsayer_Scott_IL_20201209   63:20 ‐ 64:15
December 9, 2020   Ramsayer Scott IL 20201209   65:22 ‐ 66:16
December 9, 2020   Ramsayer_Scott_IL_20201209   65:1 ‐ 65:17
December 9, 2020   Ramsayer Scott IL 20201209   66:17 ‐ 66:25
December 9, 2020   Ramsayer_Scott_IL_20201209   67:13 ‐ 68:17
December 9, 2020   Ramsayer Scott IL 20201209   67:7 ‐ 67:12
December 9, 2020   Ramsayer_Scott_IL_20201209   68:18 ‐ 70:10
December 9, 2020   Ramsayer Scott IL 20201209   70:11 ‐ 71:16
December 9, 2020   Ramsayer_Scott_IL_20201209   72:8 ‐ 73:3
December 9, 2020   Ramsayer Scott IL 20201209   72:2 ‐ 72:7      R, P
December 9, 2020   Ramsayer_Scott_IL_20201209   73:4 ‐ 73:14     R, P
December 9, 2020   Ramsayer Scott IL 20201209   73:17 ‐ 73:17    R, P
December 9 2020    Ramsayer_Scott_IL_20201209   75:11 ‐ 75:25    R
December 9, 2020   Ramsayer Scott IL 20201209   76:23 ‐ 77:21    R, P
December 9, 2020   Ramsayer Scott IL 20201209   76:21 ‐ 76:22    R, P, M
December 9, 2020   Ramsayer Scott IL 20201209   77:24 ‐ 78:9     R, P, M
December 9, 2020   Ramsayer Scott IL 20201209   78:23 ‐ 79:16    R, P
December 9, 2020   Ramsayer Scott IL 20201209   78:14 ‐ 78:22    R, P
December 9, 2020   Ramsayer Scott IL 20201209   79:17 ‐ 80:12    R, P
December 9, 2020   Ramsayer Scott IL 20201209   80:13 ‐ 81:4     R
December 9, 2020   Ramsayer Scott IL 20201209   81:5 ‐ 82:19     M, Sp, R
December 9, 2020   Ramsayer_Scott_IL_20201209   82:20 ‐ 83:9
December 9, 2020   Ramsayer Scott IL 20201209   83:20 ‐ 84:8
December 9, 2020   Ramsayer_Scott_IL_20201209   84:10 ‐ 84:24    R
December 9, 2020   Ramsayer Scott IL 20201209   85:2 ‐ 85:5      R
December 9, 2020   Ramsayer_Scott_IL_20201209   85:6 ‐ 86:6      R, P
December 9, 2020   Ramsayer Scott IL 20201209   86:7 ‐ 87:1      R, P
December 9, 2020   Ramsayer_Scott_IL_20201209   87:18 ‐ 88:4     R, P
December 9, 2020   Ramsayer Scott IL 20201209   88:5 ‐ 88:11     R, P
December 9, 2020   Ramsayer_Scott_IL_20201209   88:12 ‐ 89:1     R, P
December 9, 2020   Ramsayer Scott IL 20201209   89:2 ‐ 89:21     R, P
December 9, 2020   Ramsayer_Scott_IL_20201209   89:22 ‐ 90:12    R, P
December 9, 2020   Ramsayer Scott IL 20201209   90:13 ‐ 91:18    R, P
December 9, 2020   Ramsayer_Scott_IL_20201209   91:23 ‐ 92:13    R, P
December 9, 2020   Ramsayer Scott IL 20201209   93:25 ‐ 94:6     R, P
December 9, 2020   Ramsayer_Scott_IL_20201209   94:7 ‐ 94:21     R, P
December 9, 2020   Ramsayer Scott IL 20201209   94:22 ‐ 95:1     R, P, L
December 9 2020    Ramsayer_Scott_IL_20201209   95:2 ‐ 95:19     R P L
December 9, 2020   Ramsayer Scott IL 20201209   95:23 ‐ 96:2     R, P, L
December 9, 2020   Ramsayer Scott IL 20201209   96:10 ‐ 97:4     R, P
December 9, 2020   Ramsayer Scott IL 20201209   99:4 ‐ 99:23     R, V
December 9, 2020   Ramsayer Scott IL 20201209   99:24 ‐ 101:10   R, V

                                                                     43
                          Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 519 of 555 PageID #: 57370
December 9, 2020   Ramsayer Scott IL 20201209   101:19 ‐ 102:14   R, V
December 9 2020    Ramsayer_Scott_IL_20201209   105:16 ‐ 106:9    R
December 9, 2020   Ramsayer Scott IL 20201209   106:10 ‐ 107:25   R
December 9, 2020   Ramsayer Scott IL 20201209   108:1 ‐ 108:7     R
December 9, 2020   Ramsayer Scott IL 20201209   108:22 ‐ 110:4    R
December 9, 2020   Ramsayer Scott IL 20201209   110:22 ‐ 111:19   R
December 9, 2020   Ramsayer Scott IL 20201209   112:21 ‐ 113:13   R
December 9, 2020   Ramsayer Scott IL 20201209   112:9 ‐ 112:20    R
December 9, 2020   Ramsayer Scott IL 20201209   113:14 ‐ 114:14   R
December 9, 2020   Ramsayer Scott IL 20201209   114:17 ‐ 114:23   R
December 9, 2020   Ramsayer_Scott_IL_20201209   114:24 ‐ 115:4    R
December 9, 2020   Ramsayer Scott IL 20201209   115:18 ‐ 115:23   R, M
December 9, 2020   Ramsayer_Scott_IL_20201209   116:12 ‐ 116:22   R, M
December 9, 2020   Ramsayer Scott IL 20201209   116:1 ‐ 116:10    R
December 9, 2020   Ramsayer_Scott_IL_20201209   116:23 ‐ 117:14   R
December 9, 2020   Ramsayer Scott IL 20201209   117:17 ‐ 118:3    R
January 4, 2021    Rogina_Joseph_IL_20210104    6:9 ‐ 6:16
January 4, 2021    Rogina Joseph IL 20210104    18:25 ‐ 19:25
January 4, 2021    Rogina_Joseph_IL_20210104    20:2 ‐ 20:16
January 4, 2021    Rogina Joseph IL 20210104    20:23 ‐ 21:19
January 4, 2021    Rogina_Joseph_IL_20210104    21:20 ‐ 21:25
January 4, 2021    Rogina Joseph IL 20210104    22:2 ‐ 22:4
January 4, 2021    Rogina_Joseph_IL_20210104    22:12 ‐ 22:22
January 4, 2021    Rogina Joseph IL 20210104    24:9 ‐ 24:16
January 4, 2021    Rogina_Joseph_IL_20210104    24:17 ‐ 25:22
January 4, 2021    Rogina Joseph IL 20210104    25:23 ‐ 26:21
January 4 2021     Rogina_Joseph_IL_20210104    32:8 ‐ 33:19      R P
January 4, 2021    Rogina Joseph IL 20210104    36:12 ‐ 36:23     R, P
January 4, 2021    Rogina Joseph IL 20210104    37:12 ‐ 37:17     R, P, M, Sp
January 4, 2021    Rogina Joseph IL 20210104    37:20 ‐ 40:16     R, P, M, Sp, V
January 4, 2021    Rogina Joseph IL 20210104    40:17 ‐ 40:25     R, P, M, Sp, V
January 4, 2021    Rogina Joseph IL 20210104    41:2 ‐ 41:12      R, P, M, Sp, V
January 4, 2021    Rogina Joseph IL 20210104    41:14 ‐ 42:9      V
January 4, 2021    Rogina Joseph IL 20210104    42:11 ‐ 44:5
January 4, 2021    Rogina Joseph IL 20210104    44:6 ‐ 45:4
January 4, 2021    Rogina_Joseph_IL_20210104    45:6 ‐ 46:8       R
January 4, 2021    Rogina Joseph IL 20210104    49:19 ‐ 52:18     R, P, Sp
January 4, 2021    Rogina_Joseph_IL_20210104    54:25 ‐ 54:25
January 4, 2021    Rogina Joseph IL 20210104    54:6 ‐ 54:8
January 4, 2021    Rogina_Joseph_IL_20210104    55:2 ‐ 55:5
January 4, 2021    Rogina Joseph IL 20210104    55:6 ‐ 55:18
January 4, 2021    Rogina_Joseph_IL_20210104    55:24 ‐ 56:13
January 4, 2021    Rogina Joseph IL 20210104    56:24 ‐ 56:25
January 4, 2021    Rogina_Joseph_IL_20210104    56:14 ‐ 56:23
January 4, 2021    Rogina Joseph IL 20210104    57:2 ‐ 57:4
January 4, 2021    Rogina_Joseph_IL_20210104    57:12 ‐ 57:17
January 4, 2021    Rogina Joseph IL 20210104    57:5 ‐ 57:11
January 4, 2021    Rogina_Joseph_IL_20210104    57:18 ‐ 57:25
January 4, 2021    Rogina Joseph IL 20210104    58:2 ‐ 58:4
January 4, 2021    Rogina_Joseph_IL_20210104    58:6 ‐ 58:24
January 4, 2021    Rogina Joseph IL 20210104    60:11 ‐ 60:22     R
January 4 2021     Rogina_Joseph_IL_20210104    60:23 ‐ 63:4      R
January 4, 2021    Rogina Joseph IL 20210104    72:9 ‐ 73:4
January 4, 2021    Rogina Joseph IL 20210104    73:16 ‐ 74:16     R
January 4, 2021    Rogina Joseph IL 20210104    81:24 ‐ 81:25     R
January 4, 2021    Rogina Joseph IL 20210104    82:2 ‐ 82:14      R

                                                                   44
                          Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 520 of 555 PageID #: 57371
January 4, 2021    Rogina Joseph IL 20210104   82:19 ‐ 82:25     R
January 4 2021     Rogina_Joseph_IL_20210104   83:2 ‐ 83:20      R
January 4, 2021    Rogina Joseph IL 20210104   83:21 ‐ 84:7      R
October 31, 2018   Roy Kenneth IL 20181031     5:15 ‐ 5:20
October 31, 2018   Roy Kenneth IL 20181031     40:4 ‐ 40:6       R, V, AF
October 31, 2018   Roy Kenneth IL 20181031     40:9 ‐ 40:14      R, V, AF
October 31, 2018   Roy Kenneth IL 20181031     40:16 ‐ 40:19     R, V, AF
October 31, 2018   Roy Kenneth IL 20181031     40:22 ‐ 41:8      R, V, AF
October 31, 2018   Roy Kenneth IL 20181031     41:11 ‐ 41:15     R, V, AF
October 31, 2018   Roy Kenneth IL 20181031     85:4 ‐ 86:25      R, P, AF
October 31, 2018   Roy_Kenneth_IL_20181031     87:12 ‐ 89:5      R, P, AF
October 31, 2018   Roy Kenneth IL 20181031     169:15 ‐ 170:7    R, P, AF
October 31, 2018   Roy_Kenneth_IL_20181031     170:16 ‐ 170:21   R, P, AF
October 31, 2018   Roy Kenneth IL 20181031     170:24 ‐ 171:22   R, P, AF
November 8, 2019   Roy_Kenneth_IL_20191108     7:8 ‐ 7:12
November 8, 2019   Roy Kenneth IL 20191108     103:3 ‐ 103:8
November 8, 2019   Roy_Kenneth_IL_20191108     136:9 ‐ 136:19    V, R, P, AF
November 8, 2019   Roy Kenneth IL 20191108     158:19 ‐ 158:21   V, R, P, AF
November 8, 2019   Roy_Kenneth_IL_20191108     176:17 ‐ 177:24   R, P, AF
November 8, 2019   Roy Kenneth IL 20191108     181:4 ‐ 182:2     R, P, AF
November 8, 2019   Roy_Kenneth_IL_20191108     183:3 ‐ 183:20    R, P, AF
November 8, 2019   Roy Kenneth IL 20191108     201:14 ‐ 202:5    R, P, H
December 6, 2019   Roy_Kenneth_IL_20191206     140:18 ‐ 141:3    P, R                 140:10‐17, 141:4‐10
December 6, 2019   Roy Kenneth IL 20191206     143:3 ‐ 144:7     P, R                 144:8‐11
December 6, 2019   Roy_Kenneth_IL_20191206     144:12 ‐ 144:17   P, R
December 6, 2019   Roy Kenneth IL 20191206     145:4 ‐ 148:2     P, R
December 6 2019    Roy_Kenneth_IL_20191206     149:19 ‐ 149:25   P R
December 6, 2019   Roy Kenneth IL 20191206     153:12 ‐ 153:17   P
December 6, 2019   Roy Kenneth IL 20191206     153:22 ‐ 154:24   P, R, H, Sp
December 6, 2019   Roy Kenneth IL 20191206     162:19 ‐ 162:25
March 11, 2020     Roy Kenneth IL 20200311     5:13 ‐ 5:18
March 11, 2020     Roy Kenneth IL 20200311     5:25 ‐ 7:3
March 11, 2020     Roy Kenneth IL 20200311     7:5 ‐ 10:15       R, P                 10:16‐11:18
March 11, 2020     Roy Kenneth IL 20200311     11:19 ‐ 12:14     R
March 11, 2020     Roy Kenneth IL 20200311     12:20 ‐ 13:17
March 11, 2020     Roy_Kenneth_IL_20200311     15:18 ‐ 15:21                          14:12‐15:17
March 11, 2020     Roy Kenneth IL 20200311     16:5 ‐ 17:7       V, C                 17:8‐20
March 11, 2020     Roy_Kenneth_IL_20200311     17:21 ‐ 18:2                           17:8‐20
March 11, 2020     Roy Kenneth IL 20200311     18:3 ‐ 19:4
March 11, 2020     Roy_Kenneth_IL_20200311     19:5 ‐ 19:21
March 11, 2020     Roy Kenneth IL 20200311     19:22 ‐ 21:3
March 11, 2020     Roy_Kenneth_IL_20200311     21:4 ‐ 22:3
March 11, 2020     Roy Kenneth IL 20200311     22:4 ‐ 23:11
March 11, 2020     Roy_Kenneth_IL_20200311     23:21 ‐ 24:8
March 11, 2020     Roy Kenneth IL 20200311     26:13 ‐ 26:22                          26:4‐12
March 11, 2020     Roy_Kenneth_IL_20200311     29:8 ‐ 30:6
March 11, 2020     Roy Kenneth IL 20200311     30:8 ‐ 31:4
March 11, 2020     Roy_Kenneth_IL_20200311     32:9 ‐ 32:25
March 11, 2020     Roy Kenneth IL 20200311     33:1 ‐ 33:17
March 11, 2020     Roy_Kenneth_IL_20200311     33:18 ‐ 34:12     Sp
March 11, 2020     Roy Kenneth IL 20200311     34:13 ‐ 34:22                          34:23‐25
March 11 2020      Roy_Kenneth_IL_20200311     35:1 ‐ 36:2
March 11, 2020     Roy Kenneth IL 20200311     36:4 ‐ 36:6
March 11, 2020     Roy Kenneth IL 20200311     36:18 ‐ 38:1
March 11, 2020     Roy Kenneth IL 20200311     38:2 ‐ 39:22
March 11, 2020     Roy Kenneth IL 20200311     39:23 ‐ 40:25

                                                                  45
                         Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 521 of 555 PageID #: 57372
March 11, 2020    Roy Kenneth IL 20200311          41:1 ‐ 41:15
March 11 2020     Roy_Kenneth_IL_20200311          41:23 ‐ 42:15                     42:16‐43:23
March 11, 2020    Roy Kenneth IL 20200311          43:24 ‐ 46:1                      42:16‐43:23
March 11, 2020    Roy Kenneth IL 20200311          46:15 ‐ 47:3
March 11, 2020    Roy Kenneth IL 20200311          47:9 ‐ 47:19
March 11, 2020    Roy Kenneth IL 20200311          48:1 ‐ 49:21
March 11, 2020    Roy Kenneth IL 20200311          50:8 ‐ 51:18
March 11, 2020    Roy Kenneth IL 20200311          51:25 ‐ 52:9
March 11, 2020    Roy Kenneth IL 20200311          52:21 ‐ 53:8
March 11, 2020    Roy Kenneth IL 20200311          56:1 ‐ 56:14
March 11, 2020    Roy_Kenneth_IL_20200311          58:8 ‐ 59:11
March 11, 2020    Roy Kenneth IL 20200311          59:12 ‐ 59:14
March 11, 2020    Roy_Kenneth_IL_20200311          59:15 ‐ 60:3
March 11, 2020    Roy Kenneth IL 20200311          70:20 ‐ 71:18     R, P
March 11, 2020    Roy_Kenneth_IL_20200311          74:11 ‐ 74:25     R, P            75:1‐7
March 11, 2020    Roy Kenneth IL 20200311          75:8 ‐ 75:17                      75:1‐7
March 11, 2020    Roy_Kenneth_IL_20200311          76:11 ‐ 77:13
March 11, 2020    Roy Kenneth IL 20200311          76:4 ‐ 76:10
March 11, 2020    Roy_Kenneth_IL_20200311          77:15 ‐ 78:3
March 11, 2020    Roy Kenneth IL 20200311          78:4 ‐ 78:5
March 11, 2020    Roy_Kenneth_IL_20200311          78:10 ‐ 78:17
March 11, 2020    Roy Kenneth IL 20200311          85:1 ‐ 85:5
March 11, 2020    Roy_Kenneth_IL_20200311          104:23 ‐ 105:12                   105:13‐107:4
March 11, 2020    Roy Kenneth IL 20200311          107:5 ‐ 109:2                     105:13‐107:4
March 11, 2020    Roy_Kenneth_IL_20200311          109:3 ‐ 110:6     Sp
March 11, 2020    Roy Kenneth IL 20200311          110:8 ‐ 110:21    Sp
March 11 2020     Roy_Kenneth_IL_20200311          110:22 ‐ 111:6
March 11, 2020    Roy Kenneth IL 20200311          111:7 ‐ 111:10
March 11, 2020    Roy Kenneth IL 20200311          111:11 ‐ 112:6
March 11, 2020    Roy Kenneth IL 20200311          112:7 ‐ 112:19
March 11, 2020    Roy Kenneth IL 20200311          112:24 ‐ 113:22
March 11, 2020    Roy Kenneth IL 20200311          115:6 ‐ 115:10                    114:17‐5
March 11, 2020    Roy Kenneth IL 20200311          115:25 ‐ 116:9    M, SP
March 11, 2020    Roy Kenneth IL 20200311          116:12 ‐ 116:22   M, SP
March 11, 2020    Roy Kenneth IL 20200311          116:25 ‐ 118:24
March 11, 2020    Roy_Kenneth_IL_20200311          118:25 ‐ 119:14
March 11, 2020    Roy Kenneth IL 20200311          119:15 ‐ 121:16
March 11, 2020    Roy_Kenneth_IL_20200311          121:24 ‐ 122:1
March 11, 2020    Roy Kenneth IL 20200311          122:9 ‐ 122:19
March 11, 2020    Roy_Kenneth_IL_20200311          123:1 ‐ 123:15
March 11, 2020    Roy Kenneth IL 20200311          124:1 ‐ 125:8
March 11, 2020    Roy_Kenneth_IL_20200311          125:9 ‐ 126:2
March 11, 2020    Roy Kenneth IL 20200311          126:10 ‐ 127:14
March 11, 2020    Roy_Kenneth_IL_20200311          126:3 ‐ 126:9
March 11, 2020    Roy Kenneth IL 20200311          127:15 ‐ 128:13
March 11, 2020    Roy_Kenneth_IL_20200311          129:12 ‐ 130:1
March 11, 2020    Roy Kenneth IL 20200311          130:10 ‐ 131:22
March 11, 2020    Roy_Kenneth_IL_20200311          135:17 ‐ 136:9
March 11, 2020    Roy Kenneth IL 20200311          136:10 ‐ 136:17
January 9, 2019   Sanderson, Randall_IL_20190109   5:6 ‐ 5:8
January 9, 2019   Sanderson, Randall_IL_20190109   15:2 ‐ 15:4                       15:4‐16; 16:16‐20:4; 20:13‐22:6; 22:8‐10;
                                                                                     22:12‐23:1; 23:4‐24:15, 24:19‐24; 26:5‐
                                                                                     27:1; 27:14‐20
January 9, 2019   Sanderson, Randall_IL_20190109   24:25 ‐ 25:16                     15:4‐16; 16:16‐20:4; 20:13‐22:6; 22:8‐10;
                                                                                     22:12‐23:1; 23:4‐24:15, 24:19‐24; 26:5‐
                                                                                     27:1; 27:14‐20

                                                                      46
                           Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 522 of 555 PageID #: 57373
January 9, 2019     Sanderson, Randall IL 20190109   30:19 ‐ 30:23
January 9 2019      Sanderson Randall_IL_20190109    31:3 ‐ 31:21
January 9, 2019     Sanderson, Randall IL 20190109   32:13 ‐ 32:16
January 9, 2019     Sanderson, Randall IL 20190109   40:20 ‐ 41:1
January 9, 2019     Sanderson, Randall_IL_20190109   41:3 ‐ 41:3                       47:18‐22; 51:14‐53:7; 53:7‐57:9; 57:12‐
                                                                                       13 15‐17.
January 9, 2019     Sanderson, Randall_IL_20190109   41:5 ‐ 41:16                      47:18‐22; 51:14‐53:7; 53:7‐57:9; 57:12‐
                                                                                       13 15‐17.
January 9, 2019     Sanderson, Randall_IL_20190109   45:16 ‐ 45:20                     47:18‐22; 51:14‐53:7; 53:7‐57:9; 57:12‐
                                                                                       13 15‐17.
January 9, 2019     Sanderson, Randall_IL_20190109   76:1 ‐ 76:21                      77:25‐82:5; 83:1‐88:16
January 9, 2019     Sanderson, Randall IL 20190109   114:9 ‐ 114:17                    114:18‐115:3
January 9, 2019     Sanderson, Randall_IL_20190109   115:4 ‐ 115:25                    114:18‐115:3
January 9, 2019     Sanderson, Randall IL 20190109   126:8 ‐ 127:20
January 9, 2019     Sanderson, Randall_IL_20190109   131:23 ‐ 133:9
January 9, 2019     Sanderson, Randall IL 20190109   144:3 ‐ 144:22
January 9, 2019     Sanderson, Randall_IL_20190109   145:14 ‐ 146:10
January 9, 2019     Sanderson, Randall_IL_20190109   152:12 ‐ 154:13                   151:19‐152:5; 152:78, 10‐11; 154:14‐16,
                                                                                       20‐21
January 9, 2019     Sanderson, Randall IL 20190109   155:22 ‐ 156:3
January 9, 2019     Sanderson, Randall_IL_20190109   156:4 ‐ 158:8
January 9, 2019     Sanderson, Randall_IL_20190109   176:6 ‐ 176:22                    15:4‐16; 16:16‐20:4; 20:13‐22:6; 22:8‐10;
                                                                                       22:12‐23:1; 23:4‐24:15, 24:19‐24; 26:5‐
                                                                                       27:1; 27:14‐20; 47:18‐22; 51:14‐53:7;
                                                                                       53:7‐57:9; 57:12‐13, 15‐17; 77:25‐82:5;
                                                                                       83:1‐88:16; 176:23‐177:4; 177:24‐178:1.

January 9, 2019     Sanderson, Randall_IL_20190109   177:5 ‐ 177:23                    15:4‐16; 16:16‐20:4; 20:13‐22:6; 22:8‐10;
                                                                                       22:12‐23:1; 23:4‐24:15, 24:19‐24; 26:5‐
                                                                                       27:1; 27:14‐20; 47:18‐22; 51:14‐53:7;
                                                                                       53:7‐57:9; 57:12‐13, 15‐17; 77:25‐82:5;
                                                                                       83:1‐88:16; 176:23‐177:4; 177:24‐178:1.

January 9, 2019     Sanderson, Randall_IL_20190109   178:12 ‐ 179:14                   47:18‐22; 51:14‐53:7; 53:7‐57:9; 57:12‐
                                                                                       13, 15‐17; 77:25‐82:5; 83:1‐88:16; 176:23
                                                                                       177:4; 177:24‐178:1
October 26, 2017    Sanderson Randall IL 20171026    4:4 ‐ 4:8
October 26, 2017    Sanderson_Randall_IL_20171026    4:14 ‐ 4:15
October 26, 2017    Sanderson Randall IL 20171026    4:18 ‐ 4:19
October 26, 2017    Sanderson_Randall_IL_20171026    11:14 ‐ 11:18
October 26, 2017    Sanderson Randall IL 20171026    12:3 ‐ 12:9
October 26, 2017    Sanderson_Randall_IL_20171026    13:5 ‐ 13:23
October 26, 2017    Sanderson Randall IL 20171026    14:11 ‐ 14:12
October 26, 2017    Sanderson_Randall_IL_20171026    14:14 ‐ 15:6                      15:7‐25
October 26, 2017    Sanderson Randall IL 20171026    16:1 ‐ 16:23                      16:24‐17:5; 17:11; 17:13‐19; 18:4‐7
October 26, 2017    Sanderson_Randall_IL_20171026    19:8 ‐ 19:16
October 26, 2017    Sanderson Randall IL 20171026    20:16 ‐ 20:20
October 26, 2017    Sanderson_Randall_IL_20171026    21:4 ‐ 21:20                      24:22‐25; 25:6‐21
October 26, 2017    Sanderson Randall IL 20171026    22:7 ‐ 22:8                       24:22‐25; 25:6‐21
October 26, 2017    Sanderson_Randall_IL_20171026    22:21 ‐ 22:24                     24:22‐25; 25:6‐21
October 26, 2017    Sanderson Randall IL 20171026    23:6 ‐ 23:16                      24:22‐25; 25:6‐21
October 26 2017     Sanderson_Randall_IL_20171026    23:24 ‐ 24:11                     24:22‐25; 25:6‐21
October 26, 2017    Sanderson Randall IL 20171026    39:10 ‐ 40:5                      40:6‐17, 19‐20; 40:22‐41:4
October 26, 2017    Sanderson Randall IL 20171026    41:5 ‐ 41:6                       40:6‐17, 19‐20; 40:22‐41:4
October 26, 2017    Sanderson Randall IL 20171026    41:8 ‐ 41:15                      40:6‐17, 19‐20; 40:22‐41:4
November 23, 2020   Schanz James DE 20201123         9:7 ‐ 9:9

                                                                       47
                           Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 523 of 555 PageID #: 57374
November 23, 2020   Schanz James DE 20201123   16:3 ‐ 16:8
November 23 2020    Schanz_James_DE_20201123   18:24 ‐ 19:15
November 23, 2020   Schanz James DE 20201123   20:10 ‐ 20:19
November 23, 2020   Schanz James DE 20201123   20:20 ‐ 21:17
November 23, 2020   Schanz James DE 20201123   22:1 ‐ 22:3        S
November 23, 2020   Schanz James DE 20201123   22:5 ‐ 22:12       S
November 23, 2020   Schanz James DE 20201123   22:22 ‐ 23:14      S
November 23, 2020   Schanz James DE 20201123   22:14 ‐ 22:16      S
November 23, 2020   Schanz James DE 20201123   23:16 ‐ 24:13      S
November 23, 2020   Schanz James DE 20201123   25:4 ‐ 25:13                            26:12‐23
November 23, 2020   Schanz_James_DE_20201123   25:14 ‐ 26:1                            26:12‐23
November 23, 2020   Schanz James DE 20201123   27:3 ‐ 27:11       S                    26:12‐23
November 23, 2020   Schanz_James_DE_20201123   27:13 ‐ 27:13      S                    26:12‐23
November 23, 2020   Schanz James DE 20201123   27:20 ‐ 28:7       S, V                 26:12‐23
November 23, 2020   Schanz_James_DE_20201123   28:9 ‐ 28:18       S, V, F              26:12‐23
November 23, 2020   Schanz James DE 20201123   28:21 ‐ 28:25      S, V, F
November 23, 2020   Schanz_James_DE_20201123   29:2 ‐ 30:1        S, V, F
November 23, 2020   Schanz James DE 20201123   30:4 ‐ 30:13       S, V, F
November 23, 2020   Schanz_James_DE_20201123   30:17 ‐ 31:6       V, F
November 23, 2020   Schanz James DE 20201123   31:8 ‐ 31:16       V, F
November 23, 2020   Schanz_James_DE_20201123   31:18 ‐ 31:24      V, F
November 23, 2020   Schanz James DE 20201123   32:1 ‐ 32:10       V, F
November 23, 2020   Schanz_James_DE_20201123   32:13 ‐ 34:13      V, S                 36:10‐13.
November 23, 2020   Schanz James DE 20201123   32:5 ‐ 32:10       V
November 23, 2020   Schanz_James_DE_20201123   34:16 ‐ 35:18      V, S
November 23, 2020   Schanz James DE 20201123   35:21 ‐ 35:21      S
November 23 2020    Schanz_James_DE_20201123   35:16 ‐ 35:18      S
November 23, 2020   Schanz James DE 20201123   35:23 ‐ 36:1       S, V
November 23, 2020   Schanz James DE 20201123   36:3 ‐ 36:8        S, V
November 23, 2020   Schanz James DE 20201123   36:14 ‐ 36:21      S
November 23, 2020   Schanz James DE 20201123   36:23 ‐ 36:24      S
November 23, 2020   Schanz James DE 20201123   37:13 ‐ 37:14      S
November 23, 2020   Schanz James DE 20201123   37:17 ‐ 37:22
November 23, 2020   Schanz James DE 20201123   37:1 ‐ 37:12
November 23, 2020   Schanz James DE 20201123   37:24 ‐ 38:8
November 23, 2020   Schanz_James_DE_20201123   39:20 ‐ 40:4                            40:13‐15, 18‐24
November 23, 2020   Schanz James DE 20201123   41:1 ‐ 41:3        S, V, Sp             40:13‐15, 18‐24
November 23, 2020   Schanz_James_DE_20201123   41:6 ‐ 41:9        S, V, Sp             40:13‐15, 18‐24
November 23, 2020   Schanz_James_DE_20201123   41:11 ‐ 41:17                           41:18‐21, 41:24‐43:24, 45:7‐21, 46:4,
                                                                                       46:6‐47:8
November 23, 2020   Schanz_James_DE_20201123   43:25 ‐ 44:21                           41:18‐21, 41:24‐43:24, 45:7‐21, 46:4,
                                                                                       46:6‐47:8
November 23, 2020   Schanz_James_DE_20201123   44:22 ‐ 45:1                            41:18‐21, 41:24‐43:24, 45:7‐21, 46:4,
                                                                                       46:6‐47:8
November 23, 2020   Schanz James DE 20201123   45:22 ‐ 46:3                            45:7‐21, 46:4, 46:6‐47:8
November 23, 2020   Schanz_James_DE_20201123   45:4 ‐ 45:5                             45:7‐21, 46:4, 46:6‐47:8
November 23, 2020   Schanz James DE 20201123   47:9 ‐ 47:16                            45:7‐21, 46:4, 46:6‐47:8
November 23, 2020   Schanz_James_DE_20201123   48:20 ‐ 49:3       S                    45:7‐21, 46:4, 46:6‐47:8
November 23, 2020   Schanz James DE 20201123   49:5 ‐ 50:1        S                    45:7‐21, 46:4, 46:6‐47:8
November 23, 2020   Schanz_James_DE_20201123   51:18 ‐ 51:22      S                    45:7‐21, 46:4, 46:6‐47:8
November 23, 2020   Schanz James DE 20201123   51:24 ‐ 52:1       S
November 23 2020    Schanz_James_DE_20201123   51:2 ‐ 51:13       S
November 23, 2020   Schanz James DE 20201123   51:15 ‐ 51:16      S
November 23, 2020   Schanz James DE 20201123   52:3 ‐ 52:18
November 23, 2020   Schanz James DE 20201123   52:19 ‐ 52:19      S
November 23, 2020   Schanz James DE 20201123   52:22 ‐ 53:12      S

                                                                      48
                           Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 524 of 555 PageID #: 57375
November 23, 2020   Schanz James DE 20201123   53:21 ‐ 53:24      S
November 23 2020    Schanz_James_DE_20201123   54:1 ‐ 54:5        S
November 23, 2020   Schanz James DE 20201123   54:7 ‐ 54:24       S
November 23, 2020   Schanz James DE 20201123   55:2 ‐ 55:14       S
November 23, 2020   Schanz James DE 20201123   55:17 ‐ 56:2       S
November 23, 2020   Schanz James DE 20201123   56:4 ‐ 56:14                            56:15‐20
November 23, 2020   Schanz James DE 20201123   56:21 ‐ 56:25      S
November 23, 2020   Schanz James DE 20201123   57:3 ‐ 57:9        S
November 23, 2020   Schanz James DE 20201123   57:25 ‐ 59:10      S
November 23, 2020   Schanz James DE 20201123   59:13 ‐ 59:17      S
November 23, 2020   Schanz_James_DE_20201123   59:21 ‐ 60:16      S
November 23, 2020   Schanz James DE 20201123   60:17 ‐ 61:9
November 23, 2020   Schanz_James_DE_20201123   61:10 ‐ 61:14      S
November 23, 2020   Schanz James DE 20201123   61:17 ‐ 61:17      S
November 23, 2020   Schanz_James_DE_20201123   61:19 ‐ 62:14      S
November 23, 2020   Schanz James DE 20201123   62:16 ‐ 62:16      S
November 23, 2020   Schanz_James_DE_20201123   62:18 ‐ 63:1       S
November 23, 2020   Schanz James DE 20201123   63:4 ‐ 63:20       S
November 23, 2020   Schanz_James_DE_20201123   64:3 ‐ 64:9        S
November 23, 2020   Schanz James DE 20201123   64:11 ‐ 64:19      S
November 23, 2020   Schanz_James_DE_20201123   64:21 ‐ 66:1       S, V
November 23, 2020   Schanz James DE 20201123   66:3 ‐ 66:3        S
November 23, 2020   Schanz_James_DE_20201123   68:5 ‐ 69:2        S
November 23, 2020   Schanz James DE 20201123   69:5 ‐ 69:5        S
November 23, 2020   Schanz_James_DE_20201123   69:7 ‐ 70:14
November 23, 2020   Schanz James DE 20201123   71:8 ‐ 72:3
November 23 2020    Schanz_James_DE_20201123   72:4 ‐ 72:7        S
November 23, 2020   Schanz James DE 20201123   72:9 ‐ 72:17       S
November 23, 2020   Schanz James DE 20201123   72:19 ‐ 72:21      S
November 23, 2020   Schanz James DE 20201123   72:22 ‐ 74:1       S
November 23, 2020   Schanz James DE 20201123   74:4 ‐ 74:5        S
November 23, 2020   Schanz James DE 20201123   74:7 ‐ 74:12       S
November 23, 2020   Schanz James DE 20201123   74:14 ‐ 74:23      S
November 23, 2020   Schanz James DE 20201123   74:24 ‐ 75:14      S
November 23, 2020   Schanz James DE 20201123   75:16 ‐ 76:7       S
November 23, 2020   Schanz_James_DE_20201123   76:19 ‐ 76:25      S
November 23, 2020   Schanz James DE 20201123   77:2 ‐ 77:10       S, V
November 23, 2020   Schanz_James_DE_20201123   77:13 ‐ 77:14      S, V
November 23, 2020   Schanz James DE 20201123   77:16 ‐ 78:8       S, V
November 23, 2020   Schanz_James_DE_20201123   78:12 ‐ 78:24      S, V
November 23, 2020   Schanz James DE 20201123   83:14 ‐ 83:16      S, V
November 23, 2020   Schanz_James_DE_20201123   83:18 ‐ 83:24      S, V
November 23, 2020   Schanz James DE 20201123   84:1 ‐ 84:3        S, V
November 23, 2020   Schanz_James_DE_20201123   84:18 ‐ 84:23      S, V
November 23, 2020   Schanz James DE 20201123   85:2 ‐ 85:14       S, V
November 23, 2020   Schanz_James_DE_20201123   87:16 ‐ 87:21
November 23, 2020   Schanz James DE 20201123   87:24 ‐ 88:9
November 23, 2020   Schanz_James_DE_20201123   89:4 ‐ 89:9
November 23, 2020   Schanz James DE 20201123   89:12 ‐ 89:15
November 23, 2020   Schanz_James_DE_20201123   89:17 ‐ 89:23
November 23, 2020   Schanz James DE 20201123   89:24 ‐ 90:10
November 23 2020    Schanz_James_DE_20201123   91:4 ‐ 93:24
November 23, 2020   Schanz James DE 20201123   94:3 ‐ 95:2
November 23, 2020   Schanz James DE 20201123   95:3 ‐ 95:5        V, F, AF
November 23, 2020   Schanz James DE 20201123   95:7 ‐ 96:6        V, F, AF
November 23, 2020   Schanz James DE 20201123   96:8 ‐ 96:17       V, F, AF

                                                                      49
                           Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 525 of 555 PageID #: 57376
November 23, 2020   Schanz James DE 20201123   96:18 ‐ 96:19      V, F, AF
November 23 2020    Schanz_James_DE_20201123   96:21 ‐ 97:6       V F AF
November 23, 2020   Schanz James DE 20201123   121:15 ‐ 121:17    V
November 23, 2020   Schanz James DE 20201123   121:19 ‐ 121:23    V
November 23, 2020   Schanz James DE 20201123   121:11 ‐ 121:14
November 23, 2020   Schanz James DE 20201123   121:25 ‐ 122:8
November 23, 2020   Schanz James DE 20201123   122:9 ‐ 123:18
November 23, 2020   Schanz James DE 20201123   123:19 ‐ 124:6
November 23, 2020   Schanz James DE 20201123   124:17 ‐ 125:3
November 23, 2020   Schanz James DE 20201123   125:4 ‐ 125:7
November 23, 2020   Schanz_James_DE_20201123   125:8 ‐ 125:24
November 23, 2020   Schanz James DE 20201123   126:9 ‐ 126:19
November 23, 2020   Schanz_James_DE_20201123   126:20 ‐ 126:22    S
November 23, 2020   Schanz James DE 20201123   126:24 ‐ 127:10    S
November 23, 2020   Schanz_James_DE_20201123   127:12 ‐ 128:5     S
November 23, 2020   Schanz James DE 20201123   128:7 ‐ 129:9      S
November 23, 2020   Schanz_James_DE_20201123   129:10 ‐ 129:23    V
November 23, 2020   Schanz James DE 20201123   129:24 ‐ 130:6     S
November 23, 2020   Schanz_James_DE_20201123   130:8 ‐ 130:10     S
November 23, 2020   Schanz James DE 20201123   130:16 ‐ 131:4     S
November 23, 2020   Schanz_James_DE_20201123   131:6 ‐ 131:12     S
November 23, 2020   Schanz James DE 20201123   131:14 ‐ 131:23    S
November 23, 2020   Schanz_James_DE_20201123   131:25 ‐ 132:7     S
November 23, 2020   Schanz James DE 20201123   132:10 ‐ 132:12    S
November 23, 2020   Schanz_James_DE_20201123   133:9 ‐ 134:3
November 23, 2020   Schanz James DE 20201123   134:4 ‐ 135:15
November 23 2020    Schanz_James_DE_20201123   135:16 ‐ 136:19    F
November 23, 2020   Schanz James DE 20201123   136:25 ‐ 137:4     F, V
November 23, 2020   Schanz James DE 20201123   137:6 ‐ 137:8      V
November 23, 2020   Schanz James DE 20201123   142:16 ‐ 143:5     F
November 23, 2020   Schanz James DE 20201123   143:8 ‐ 143:11     F
November 23, 2020   Schanz James DE 20201123   143:18 ‐ 143:20
November 23, 2020   Schanz James DE 20201123   143:22 ‐ 144:23    S
November 23, 2020   Schanz James DE 20201123   144:25 ‐ 146:16    S
November 23, 2020   Schanz James DE 20201123   146:19 ‐ 147:11    S, F
November 23, 2020   Schanz_James_DE_20201123   147:14 ‐ 147:20    S, F
November 23, 2020   Schanz James DE 20201123   149:22 ‐ 151:16
November 23, 2020   Schanz_James_DE_20201123   151:19 ‐ 154:13    S
November 23, 2020   Schanz James DE 20201123   154:15 ‐ 155:1     S
November 23, 2020   Schanz_James_DE_20201123   155:3 ‐ 155:21     S
November 23, 2020   Schanz James DE 20201123   155:23 ‐ 156:12    S
November 23, 2020   Schanz_James_DE_20201123   157:16 ‐ 157:24    S
November 23, 2020   Schanz James DE 20201123   157:12 ‐ 157:14    S
November 23, 2020   Schanz_James_DE_20201123   158:1 ‐ 158:7
November 23, 2020   Schanz James DE 20201123   158:9 ‐ 159:16
November 23, 2020   Schanz_James_DE_20201123   160:12 ‐ 160:22                         160:23‐161:8
November 23, 2020   Schanz James DE 20201123   161:24 ‐ 162:11
November 23, 2020   Schanz_James_DE_20201123   162:23 ‐ 163:12
November 23, 2020   Schanz James DE 20201123   163:13 ‐ 164:7     S
November 23, 2020   Schanz_James_DE_20201123   164:9 ‐ 164:22     S
November 23, 2020   Schanz James DE 20201123   164:23 ‐ 165:20    S
November 23 2020    Schanz_James_DE_20201123   165:22 ‐ 166:12    S V
November 23, 2020   Schanz James DE 20201123   166:13 ‐ 167:2     V
November 23, 2020   Schanz James DE 20201123   167:3 ‐ 167:9      V
November 23, 2020   Schanz James DE 20201123   167:11 ‐ 167:15    V
November 23, 2020   Schanz James DE 20201123   167:17 ‐ 167:19    V

                                                                      50
                           Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 526 of 555 PageID #: 57377
November 23, 2020   Schanz James DE 20201123   168:9 ‐ 168:24     V, S, R
November 23 2020    Schanz_James_DE_20201123   169:2 ‐ 169:20
November 23, 2020   Schanz James DE 20201123   169:21 ‐ 171:5
November 23, 2020   Schanz James DE 20201123   172:3 ‐ 172:8      S, R, F
November 23, 2020   Schanz_James_DE_20201123   173:6 ‐ 174:10                          174:11‐22, 174:25‐175:18, 174:21‐176:4

November 23, 2020   Schanz_James_DE_20201123   176:5 ‐ 176:10                          174:11‐22, 174:25‐175:18, 174:21‐176:4

November 23, 2020   Schanz James DE 20201123   177:4 ‐ 177:13
November 23, 2020   Schanz James DE 20201123   177:22 ‐ 178:7
November 23, 2020   Schanz_James_DE_20201123   178:8 ‐ 178:23                          178:24‐180:16, 180:20‐181:10
November 23, 2020   Schanz James DE 20201123   182:15 ‐ 183:3                          178:24‐180:16, 180:20‐181:10
November 23, 2020   Schanz_James_DE_20201123   183:4 ‐ 183:13     S                    178:24‐180:16, 180:20‐181:10
November 23, 2020   Schanz James DE 20201123   183:15 ‐ 183:15    S
November 23, 2020   Schanz_James_DE_20201123   183:17 ‐ 183:20    S
November 23, 2020   Schanz James DE 20201123   183:22 ‐ 184:14    S, F
November 23, 2020   Schanz_James_DE_20201123   184:17 ‐ 185:21    S, F
November 23, 2020   Schanz James DE 20201123   185:25 ‐ 186:25
November 23, 2020   Schanz_James_DE_20201123   187:1 ‐ 187:15     S, V, F
November 23, 2020   Schanz James DE 20201123   187:18 ‐ 188:6     S, V, F
November 23, 2020   Schanz_James_DE_20201123   188:9 ‐ 189:1      S, V, F
November 23, 2020   Schanz James DE 20201123   189:2 ‐ 189:10     S, V, F
November 23, 2020   Schanz_James_DE_20201123   189:13 ‐ 189:19    S, V, F
November 23, 2020   Schanz James DE 20201123   189:22 ‐ 190:1     S, V, F
November 23, 2020   Schanz_James_DE_20201123   190:3 ‐ 190:13     S
November 23, 2020   Schanz James DE 20201123   190:16 ‐ 190:22    S, V
November 23, 2020   Schanz_James_DE_20201123   191:2 ‐ 191:14     S, V                 191:15‐21, 191:23‐192:3, 192:13‐193:6,
                                                                                       193:8‐10; 193:13‐20
November 23, 2020   Schanz James DE 20201123   193:21 ‐ 194:22
November 23, 2020   Schanz James DE 20201123   196:8 ‐ 196:17     R, P, F
November 23, 2020   Schanz James DE 20201123   196:21 ‐ 197:19    R, P
November 23, 2020   Schanz James DE 20201123   197:21 ‐ 201:10    R, P, AF, V
November 23, 2020   Schanz James DE 20201123   201:16 ‐ 201:19    R, P
November 23, 2020   Schanz James DE 20201123   201:20 ‐ 201:25    R, P
November 23, 2020   Schanz James DE 20201123   202:20 ‐ 202:24    R, P
November 23, 2020   Schanz_James_DE_20201123   203:6 ‐ 203:20     R, P
November 23, 2020   Schanz James DE 20201123   204:22 ‐ 205:9     R, P
November 23, 2020   Schanz_James_DE_20201123   205:13 ‐ 206:15    R, P
November 23, 2020   Schanz James DE 20201123   206:18 ‐ 208:4     R, P, Sp
November 23, 2020   Schanz_James_DE_20201123   209:23 ‐ 210:4     R, P
November 23, 2020   Schanz James DE 20201123   210:20 ‐ 211:15    R, P
November 23, 2020   Schanz_James_DE_20201123   211:17 ‐ 211:18    R, P
November 23, 2020   Schanz James DE 20201123   211:24 ‐ 212:2     R, P
November 23, 2020   Schanz_James_DE_20201123   212:9 ‐ 212:16     R, P
November 23, 2020   Schanz James DE 20201123   213:2 ‐ 213:15     R, P
November 23, 2020   Schanz_James_DE_20201123   213:20 ‐ 214:16    R, P
November 23, 2020   Schanz James DE 20201123   214:17 ‐ 215:13    R, P
November 23, 2020   Schanz_James_DE_20201123   215:14 ‐ 216:4     R, P, F, S
November 23, 2020   Schanz James DE 20201123   216:7 ‐ 216:22     R, P, F, S
November 23, 2020   Schanz_James_DE_20201123   216:24 ‐ 216:24    R, P, S
November 23, 2020   Schanz James DE 20201123   217:1 ‐ 217:3      R, P, S
November 23 2020    Schanz_James_DE_20201123   217:6 ‐ 217:6      R P S
November 23, 2020   Schanz James DE 20201123   217:8 ‐ 217:24     R, P, F, S
November 23, 2020   Schanz James DE 20201123   218:2 ‐ 218:4      R, P, F, S, P
November 23, 2020   Schanz James DE 20201123   220:2 ‐ 220:19
November 23, 2020   Schanz James DE 20201123   220:20 ‐ 221:8     F, S

                                                                   51
                           Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 527 of 555 PageID #: 57378
November 23, 2020   Schanz James DE 20201123   221:11 ‐ 221:14    F, S
November 23 2020    Schanz_James_DE_20201123   221:15 ‐ 222:15
November 23, 2020   Schanz James DE 20201123   222:16 ‐ 223:1     S
November 23, 2020   Schanz James DE 20201123   223:4 ‐ 224:10     S
November 23, 2020   Schanz James DE 20201123   226:3 ‐ 226:5
November 23, 2020   Schanz James DE 20201123   226:14 ‐ 227:1
November 23, 2020   Schanz James DE 20201123   227:5 ‐ 227:15
November 23, 2020   Schanz James DE 20201123   228:4 ‐ 228:18
November 23, 2020   Schanz James DE 20201123   229:15 ‐ 229:16
November 23, 2020   Schanz James DE 20201123   229:25 ‐ 230:17
November 23, 2020   Schanz_James_DE_20201123   232:24 ‐ 233:1
November 23, 2020   Schanz James DE 20201123   233:24 ‐ 234:8     S
November 23, 2020   Schanz_James_DE_20201123   234:12 ‐ 234:13    S
November 23, 2020   Schanz James DE 20201123   234:15 ‐ 234:16    S
November 23, 2020   Schanz_James_DE_20201123   234:21 ‐ 235:15    S
November 23, 2020   Schanz James DE 20201123   235:16 ‐ 235:25    F, S
November 23, 2020   Schanz_James_DE_20201123   236:4 ‐ 236:11     F, S
November 23, 2020   Schanz James DE 20201123   237:5 ‐ 237:22     S
November 23, 2020   Schanz_James_DE_20201123   238:2 ‐ 238:4      S
November 23, 2020   Schanz James DE 20201123   239:12 ‐ 240:6
November 23, 2020   Schanz_James_DE_20201123   240:7 ‐ 240:24     S
November 23, 2020   Schanz James DE 20201123   241:2 ‐ 242:1      S
November 23, 2020   Schanz_James_DE_20201123   247:13 ‐ 248:3     V
November 23, 2020   Schanz James DE 20201123   248:5 ‐ 249:11     V
November 23, 2020   Schanz_James_DE_20201123   250:1 ‐ 250:13     F, V
November 23, 2020   Schanz James DE 20201123   251:6 ‐ 251:18     V
November 23 2020    Schanz_James_DE_20201123   251:20 ‐ 252:7     V
November 23, 2020   Schanz James DE 20201123   252:8 ‐ 252:16     V
November 23, 2020   Schanz James DE 20201123   255:17 ‐ 255:19    S, V
November 23, 2020   Schanz James DE 20201123   255:22 ‐ 256:8     S, V, F
November 23, 2020   Schanz James DE 20201123   256:12 ‐ 256:18
November 23, 2020   Schanz James DE 20201123   257:12 ‐ 258:13
November 23, 2020   Schanz James DE 20201123   258:14 ‐ 258:21
November 23, 2020   Schanz James DE 20201123   259:2 ‐ 259:5      F, S
November 23, 2020   Schanz James DE 20201123   259:8 ‐ 259:16     F, S
November 23, 2020   Schanz_James_DE_20201123   259:18 ‐ 259:21    S
November 23, 2020   Schanz James DE 20201123   259:23 ‐ 260:4     S
April 16, 2019      Schanz_James_IL_20190416   9:9 ‐ 9:11
April 16, 2019      Schanz James IL 20190416   12:12 ‐ 12:17
April 16, 2019      Schanz_James_IL_20190416   12:23 ‐ 13:1
April 16, 2019      Schanz James IL 20190416   12:5 ‐ 12:6
April 16, 2019      Schanz_James_IL_20190416   25:14 ‐ 26:4
April 16, 2019      Schanz James IL 20190416   26:18 ‐ 26:24
April 16, 2019      Schanz_James_IL_20190416   28:5 ‐ 28:6
April 16, 2019      Schanz James IL 20190416   28:21 ‐ 28:24
April 16, 2019      Schanz_James_IL_20190416   29:17 ‐ 30:13
April 16, 2019      Schanz James IL 20190416   30:23 ‐ 31:11
April 16, 2019      Schanz_James_IL_20190416   33:4 ‐ 33:8        V, Sp                33:11‐13
April 16, 2019      Schanz James IL 20190416   33:15 ‐ 33:21      V, Sp                33:11‐13
April 16, 2019      Schanz_James_IL_20190416   33:24 ‐ 34:1       V, Sp                33:11‐13
April 16, 2019      Schanz James IL 20190416   36:18 ‐ 36:22
April 16 2019       Schanz_James_IL_20190416   37:5 ‐ 37:7
April 16, 2019      Schanz James IL 20190416   38:4 ‐ 38:12                            38:13‐22
April 16, 2019      Schanz James IL 20190416   38:23 ‐ 41:3                            38:13‐22
April 16, 2019      Schanz James IL 20190416   44:17 ‐ 45:2       Sp, V                48:7‐13, 15‐16
April 16, 2019      Schanz James IL 20190416   45:5 ‐ 46:8        Sp, V                48:7‐13, 15‐16

                                                                      52
                        Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 528 of 555 PageID #: 57379
April 16, 2019   Schanz James IL 20190416   46:11 ‐ 47:3       Sp, V                48:7‐13, 15‐16
April 16 2019    Schanz_James_IL_20190416   84:1 ‐ 84:10       V
April 16, 2019   Schanz James IL 20190416   85:9 ‐ 86:5        V
April 16, 2019   Schanz James IL 20190416   93:9 ‐ 95:13
April 16, 2019   Schanz James IL 20190416   100:18 ‐ 101:3     V                    100:7‐17, 101:4‐7
April 16, 2019   Schanz James IL 20190416   101:8 ‐ 102:4      V, Sp                100:7‐17, 101:4‐7
April 16, 2019   Schanz James IL 20190416   102:8 ‐ 103:4      V
April 16, 2019   Schanz James IL 20190416   108:24 ‐ 109:7     F, V
April 16, 2019   Schanz James IL 20190416   111:19 ‐ 111:21    R
April 16, 2019   Schanz James IL 20190416   115:6 ‐ 118:9      R, V
April 16, 2019   Schanz_James_IL_20190416   139:6 ‐ 139:23     R, V, P, AF          139:24
April 16, 2019   Schanz James IL 20190416   142:16 ‐ 142:18    R, F, P              142:19
April 16, 2019   Schanz_James_IL_20190416   143:1 ‐ 144:2      V, Sp
April 16, 2019   Schanz James IL 20190416   147:4 ‐ 149:1      F, R, Sp
April 16, 2019   Schanz_James_IL_20190416   214:7 ‐ 214:24                          213:12‐214:7, 215:1‐24
April 16, 2019   Schanz James IL 20190416   220:12 ‐ 220:17                         219:15‐220:5, 220:7‐11, 218:18‐21
April 16, 2019   Schanz_James_IL_20190416   220:6 ‐ 220:6                           219:15‐220:5, 220:7‐11, 218:18‐21
April 16, 2019   Schanz James IL 20190416   222:22 ‐ 223:19    V                    221:12‐222:21
April 16, 2019   Schanz_James_IL_20190416   224:5 ‐ 224:14                          221:12‐222:21
April 16, 2019   Schanz James IL 20190416   225:11 ‐ 225:18    R
April 16, 2019   Schanz_James_IL_20190416   227:13 ‐ 227:16    F
April 16, 2019   Schanz James IL 20190416   227:18 ‐ 228:2
April 16, 2019   Schanz_James_IL_20190416   228:15 ‐ 228:20
April 16, 2019   Schanz James IL 20190416   228:21 ‐ 229:16    V, Sp
April 16, 2019   Schanz_James_IL_20190416   230:7 ‐ 230:18     Sp
April 16, 2019   Schanz James IL 20190416   230:19 ‐ 231:9     V                    231:10‐18
April 16 2019    Schanz_James_IL_20190416   239:18 ‐ 239:24    R
April 16, 2019   Schanz James IL 20190416   240:1 ‐ 240:4      R
April 16, 2019   Schanz James IL 20190416   240:8 ‐ 241:5      R
April 16, 2019   Schanz James IL 20190416   242:15 ‐ 242:24    R, V, Sp             242:6‐9, 242:12‐14
April 16, 2019   Schanz James IL 20190416   243:1 ‐ 243:16     R, V, Sp
April 16, 2019   Schanz James IL 20190416   243:19 ‐ 244:16    R, F, S
April 16, 2019   Schanz James IL 20190416   244:19 ‐ 245:2     R, S
April 16, 2019   Schanz James IL 20190416   245:5 ‐ 245:10     R, S, Sp
April 16, 2019   Schanz James IL 20190416   245:13 ‐ 245:19    R, S
April 16, 2019   Schanz_James_IL_20190416   245:22 ‐ 246:4     R, S
April 16, 2019   Schanz James IL 20190416   246:6 ‐ 246:6      R, S
April 16, 2019   Schanz_James_IL_20190416   246:7 ‐ 246:16     R, S
April 16, 2019   Schanz James IL 20190416   246:17 ‐ 247:10    R, S
April 16, 2019   Schanz_James_IL_20190416   250:10 ‐ 250:13    Sp
April 16, 2019   Schanz James IL 20190416   250:15 ‐ 250:21
April 16, 2019   Schanz_James_IL_20190416   256:13 ‐ 256:15    R, Sp
April 16, 2019   Schanz James IL 20190416   257:23 ‐ 258:19    R, S
April 16, 2019   Schanz_James_IL_20190416   258:21 ‐ 258:24    R, S
April 16, 2019   Schanz James IL 20190416   259:2 ‐ 259:24     R, S
April 16, 2019   Schanz_James_IL_20190416   260:2 ‐ 260:3      R, S
April 16, 2019   Schanz James IL 20190416   260:23 ‐ 261:2     R, S, Sp
April 16, 2019   Schanz_James_IL_20190416   261:5 ‐ 261:20     R, Sp
April 16, 2019   Schanz James IL 20190416   263:21 ‐ 263:24    R
April 16, 2019   Schanz_James_IL_20190416   264:4 ‐ 264:16     R
April 16, 2019   Schanz James IL 20190416   265:1 ‐ 265:7      R
April 16 2019    Schanz_James_IL_20190416   265:9 ‐ 265:13     R Sp
April 16, 2019   Schanz James IL 20190416   266:6 ‐ 266:24     R, Sp
April 16, 2019   Schanz James IL 20190416   268:1 ‐ 268:6      V
April 16, 2019   Schanz James IL 20190416   268:7 ‐ 268:23     V
April 16, 2019   Schanz James IL 20190416   269:3 ‐ 270:2      V

                                                                53
                           Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 529 of 555 PageID #: 57380
April 16, 2019      Schanz James IL 20190416          275:10 ‐ 275:19   V, F
April 16 2019       Schanz_James_IL_20190416          275:21 ‐ 275:24   V F
April 16, 2019      Schanz James IL 20190416          276:2 ‐ 276:6     V, F
April 16, 2019      Schanz James IL 20190416          276:18 ‐ 277:13   V, F
April 16, 2019      Schanz James IL 20190416          277:14 ‐ 277:24
April 16, 2019      Schanz James IL 20190416          278:17 ‐ 279:19   R, V, F
April 16, 2019      Schanz James IL 20190416          287:6 ‐ 289:5     R, V
April 16, 2019      Schanz James IL 20190416          289:16 ‐ 290:21   R, V
November 13, 2020   Schanz James IL 20201113          7:6 ‐ 7:20
November 13, 2020   Schanz James IL 20201113          11:14 ‐ 11:19
November 13, 2020   Schanz_James_IL_20201113          53:20 ‐ 55:16     V, Sp          51:16‐19, 51:23‐53:13
November 13, 2020   Schanz James IL 20201113          69:7 ‐ 70:9       R, F, Sp       68:1‐23
November 13, 2020   Schanz_James_IL_20201113          133:14 ‐ 133:16   V, Sp, S, R
November 13, 2020   Schanz James IL 20201113          133:20 ‐ 134:2    V, Sp, S, R
November 13, 2020   Schanz_James_IL_20201113          134:15 ‐ 137:5    V, Sp, S, R
November 13, 2020   Schanz James IL 20201113          137:20 ‐ 138:4    V, Sp, R
November 13, 2020   Schanz_James_IL_20201113          140:1 ‐ 140:12    S, V, R
November 13, 2020   Schanz James IL 20201113          140:16 ‐ 140:21   Sp, V, R
November 13, 2020   Schanz_James_IL_20201113          140:24 ‐ 141:2    V, Sp, R
November 13, 2020   Schanz James IL 20201113          141:8 ‐ 141:21    V, Sp, R
November 13, 2020   Schanz_James_IL_20201113          141:24 ‐ 142:2    V, Sp, R
November 13, 2020   Schanz James IL 20201113          144:16 ‐ 145:15   V, Sp, R
November 13, 2020   Schanz_James_IL_20201113          147:1 ‐ 147:7     V, R
November 13, 2020   Schanz_James_IL_20201113          175:9 ‐ 175:12    V              173:5‐10, 173:13‐174:5, 174:9‐22, 175:1‐
                                                                                       8
November 13, 2020   Schanz_James_IL_20201113          175:14 ‐ 176:14   V              173:5‐10, 173:13‐174:5, 174:9‐22, 175:1‐
                                                                                       8
July 24, 2020       Schnibbe John DE 20200724         6:10‐13
July 24, 2020       Schnibbe John DE 20200724         8:12‐9:25
July 24, 2020       Schnibbe John DE 20200724         20:13‐21:4                       19:24‐23:11
July 24, 2020       Schnibbe John DE 20200724         21:7‐22:13                       23:3‐5, 9‐11
July 24, 2020       Schnibbe John DE 20200724         23:12‐24:6                       23:3‐5, 9‐11
July 24, 2020       Schnibbe John DE 20200724         24:8‐24:8                        24:9‐19
July 24, 2020       Schnibbe John DE 20200724         25:15‐26:12                      26:13‐18
July 24, 2020       Schnibbe John DE 20200724         29:15‐30:10                      28:16‐30:17
July 24, 2020       Schnibbe_John_DE_20200724         77:9‐78:2                        77:9‐80:18
July 24, 2020       Schnibbe John DE 20200724         78:21‐ 78:25                     78:11‐12, 15
July 24, 2020       Schnibbe_John_DE_20200724         79:3‐79:12                       78:11‐12, 15
July 24, 2020       Schnibbe John DE 20200724         80:19‐84:9
July 24, 2020       Schnibbe_John_DE_20200724         85:5‐85:20                       85:5‐89:8
July 24, 2020       Schnibbe John DE 20200724         86:3‐86:5
July 24, 2020       Schnibbe_John_DE_20200724         86:8‐86:10
July 24, 2020       Schnibbe John DE 20200724         87:10‐88:15
July 24, 2020       Schnibbe_John_DE_20200724         89:12‐90:21                      89:2‐91:11
July 24, 2020       Schnibbe John DE 20200724         95:17‐95:20                      94:13‐101:10
July 24, 2020       Schnibbe_John_DE_20200724         97:1‐97:4                        96:20‐25
July 24, 2020       Schnibbe John DE 20200724         98:16‐96:18                      98:5‐9
July 24, 2020       Schnibbe_John_DE_20200724         99:24‐100:1                      99:16‐23
July 24, 2020       Schnibbe John DE 20200724         101:8‐101:10                     101:3‐7
July 24, 2020       Schnibbe_John_DE_20200724         109:17‐110:25
April 19, 2019      Schyvinck Christine IL 20190419   10:3 ‐ 10:5
April 19 2019       Schyvinck_Christine_IL_20190419   12:17 ‐ 12:19
April 19, 2019      Schyvinck Christine IL 20190419   16:7 ‐ 16:8
April 19, 2019      Schyvinck Christine IL 20190419   17:12 ‐ 18:6
April 19, 2019      Schyvinck Christine IL 20190419   18:9 ‐ 18:14
April 19, 2019      Schyvinck Christine IL 20190419   18:16 ‐ 18:20

                                                                         54
                        Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 530 of 555 PageID #: 57381
April 19, 2019   Schyvinck Christine IL 20190419   18:21 ‐ 19:1    R, P
April 19 2019    Schyvinck_Christine_IL_20190419   19:4 ‐ 19:4     R P
April 19, 2019   Schyvinck Christine IL 20190419   19:6 ‐ 19:15    R, P
April 19, 2019   Schyvinck Christine IL 20190419   19:18 ‐ 19:23   R, P, B, Sp
April 19, 2019   Schyvinck Christine IL 20190419   20:1 ‐ 20:8     R, P, B, Sp
April 19, 2019   Schyvinck Christine IL 20190419   20:12 ‐ 20:21   R, P, B, Sp
April 19, 2019   Schyvinck Christine IL 20190419   21:1 ‐ 21:1     R, P, B, Sp
April 19, 2019   Schyvinck Christine IL 20190419   21:3 ‐ 21:11
April 19, 2019   Schyvinck Christine IL 20190419   21:13 ‐ 21:21
April 19, 2019   Schyvinck Christine IL 20190419   21:23 ‐ 23:3    R, P, M, AA
April 19, 2019   Schyvinck_Christine_IL_20190419   23:5 ‐ 23:14
April 19, 2019   Schyvinck Christine IL 20190419   25:3 ‐ 25:10    R, P
April 19, 2019   Schyvinck_Christine_IL_20190419   29:3 ‐ 29:21    R, P
April 19, 2019   Schyvinck Christine IL 20190419   29:24 ‐ 30:6
April 19, 2019   Schyvinck_Christine_IL_20190419   30:8 ‐ 30:13    R, P, C, F
April 19, 2019   Schyvinck Christine IL 20190419   30:16 ‐ 31:7    R, P, Sp
April 19, 2019   Schyvinck_Christine_IL_20190419   31:10 ‐ 31:18   R, P, Sp, B, M
April 19, 2019   Schyvinck Christine IL 20190419   31:21 ‐ 32:8    R, P, V, Sp, H, F
April 19, 2019   Schyvinck_Christine_IL_20190419   32:11 ‐ 32:13
April 19, 2019   Schyvinck Christine IL 20190419   32:15 ‐ 33:5    R, P, Sp
April 19, 2019   Schyvinck_Christine_IL_20190419   33:7 ‐ 33:24
April 19, 2019   Schyvinck Christine IL 20190419   38:20 ‐ 39:8    R, P
April 19, 2019   Schyvinck_Christine_IL_20190419   39:10 ‐ 39:13   R, P
April 19, 2019   Schyvinck Christine IL 20190419   39:15 ‐ 39:24   R, P
April 19, 2019   Schyvinck_Christine_IL_20190419   40:2 ‐ 40:6     R, P
April 19, 2019   Schyvinck Christine IL 20190419   40:9 ‐ 40:14    R, P
April 19 2019    Schyvinck_Christine_IL_20190419   40:16 ‐ 41:10                       40:16 ‐ 41:12
April 19, 2019   Schyvinck Christine IL 20190419   41:14 ‐ 41:17
April 19, 2019   Schyvinck Christine IL 20190419   42:24 ‐ 43:6
April 19, 2019   Schyvinck Christine IL 20190419   44:12 ‐ 44:15
April 19, 2019   Schyvinck Christine IL 20190419   44:19 ‐ 45:2
April 19, 2019   Schyvinck Christine IL 20190419   45:3 ‐ 45:8
April 19, 2019   Schyvinck Christine IL 20190419   45:10 ‐ 45:17
April 19, 2019   Schyvinck Christine IL 20190419   48:4 ‐ 48:7     R, P
April 19, 2019   Schyvinck Christine IL 20190419   49:11 ‐ 49:18   R, P
April 19, 2019   Schyvinck_Christine_IL_20190419   51:1 ‐ 51:16    R, P
April 19, 2019   Schyvinck Christine IL 20190419   51:19 ‐ 51:21   R, P
April 19, 2019   Schyvinck_Christine_IL_20190419   53:17 ‐ 53:21   R, P
April 19, 2019   Schyvinck Christine IL 20190419   53:23 ‐ 54:10   R, P
April 19, 2019   Schyvinck_Christine_IL_20190419   54:13 ‐ 54:20   R, P
April 19, 2019   Schyvinck Christine IL 20190419   54:23 ‐ 55:10   R, P
April 19, 2019   Schyvinck_Christine_IL_20190419   55:12 ‐ 56:2    R, P
April 19, 2019   Schyvinck Christine IL 20190419   71:7 ‐ 71:13
April 19, 2019   Schyvinck_Christine_IL_20190419   73:12 ‐ 73:21
April 19, 2019   Schyvinck Christine IL 20190419   80:1 ‐ 80:18
April 19, 2019   Schyvinck_Christine_IL_20190419   86:20 ‐ 86:22   R, P, F, V
April 19, 2019   Schyvinck Christine IL 20190419   86:24 ‐ 87:15
April 19, 2019   Schyvinck_Christine_IL_20190419   87:22 ‐ 88:18   R, P
April 19, 2019   Schyvinck Christine IL 20190419   89:10 ‐ 89:14   R, P
April 19, 2019   Schyvinck_Christine_IL_20190419   89:17 ‐ 90:3    R, P
April 19, 2019   Schyvinck Christine IL 20190419   90:5 ‐ 90:8     R, P
April 19 2019    Schyvinck_Christine_IL_20190419   90:10 ‐ 90:17   R P M
April 19, 2019   Schyvinck Christine IL 20190419   90:20 ‐ 90:24   R, P, M
April 19, 2019   Schyvinck Christine IL 20190419   91:3 ‐ 91:9     R, P, Sp
April 19, 2019   Schyvinck Christine IL 20190419   91:11 ‐ 91:16   R, P
April 19, 2019   Schyvinck Christine IL 20190419   91:19 ‐ 91:20   R, P

                                                                    55
                          Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 531 of 555 PageID #: 57382
April 19, 2019     Schyvinck Christine IL 20190419   91:22 ‐ 91:23     R, P
April 19 2019      Schyvinck_Christine_IL_20190419   92:1 ‐ 92:2       R P
April 19, 2019     Schyvinck Christine IL 20190419   92:4 ‐ 92:8       R, P
April 19, 2019     Schyvinck Christine IL 20190419   92:24 ‐ 93:9      R, P
April 19, 2019     Schyvinck Christine IL 20190419   93:11 ‐ 93:11     R, P
April 19, 2019     Schyvinck Christine IL 20190419   93:13 ‐ 94:16     R, P
April 19, 2019     Schyvinck Christine IL 20190419   96:21 ‐ 97:7      R, P
April 19, 2019     Schyvinck Christine IL 20190419   97:8 ‐ 97:11      R, P
April 19, 2019     Schyvinck Christine IL 20190419   97:13 ‐ 97:15     R, P
April 19, 2019     Schyvinck Christine IL 20190419   97:19 ‐ 97:21     R, P
April 19, 2019     Schyvinck_Christine_IL_20190419   99:22 ‐ 100:7     R, P
April 19, 2019     Schyvinck Christine IL 20190419   100:8 ‐ 100:10    R, P
April 19, 2019     Schyvinck_Christine_IL_20190419   100:12 ‐ 101:23   R, P
April 19, 2019     Schyvinck Christine IL 20190419   102:1 ‐ 102:5     R, P
April 19, 2019     Schyvinck_Christine_IL_20190419   102:10 ‐ 102:14   R, P
April 19, 2019     Schyvinck Christine IL 20190419   102:18 ‐ 102:22   R, P
April 19, 2019     Schyvinck_Christine_IL_20190419   102:24 ‐ 103:4    R, P
April 19, 2019     Schyvinck Christine IL 20190419   114:12 ‐ 114:21
April 19, 2019     Schyvinck_Christine_IL_20190419   114:24 ‐ 115:6
April 19, 2019     Schyvinck Christine IL 20190419   115:18 ‐ 116:7
April 19, 2019     Schyvinck_Christine_IL_20190419   116:9 ‐ 117:1     M
April 19, 2019     Schyvinck Christine IL 20190419   117:3 ‐ 117:4
April 19, 2019     Schyvinck_Christine_IL_20190419   117:6 ‐ 117:8
April 19, 2019     Schyvinck Christine IL 20190419   117:11 ‐ 118:11                  117:11 ‐ 120:3
April 19, 2019     Schyvinck_Christine_IL_20190419   120:4 ‐ 120:8
April 19, 2019     Schyvinck Christine IL 20190419   120:11 ‐ 121:5    F, AF, M
April 19 2019      Schyvinck_Christine_IL_20190419   121:7 ‐ 121:10
April 19, 2019     Schyvinck Christine IL 20190419   121:12 ‐ 121:20
April 19, 2019     Schyvinck Christine IL 20190419   121:22 ‐ 121:22
April 19, 2019     Schyvinck Christine IL 20190419   121:24 ‐ 122:2    R, P, Sp
April 19, 2019     Schyvinck Christine IL 20190419   122:4 ‐ 122:19    R, P, Sp
April 19, 2019     Schyvinck Christine IL 20190419   122:20 ‐ 122:22   R, P, Sp
April 19, 2019     Schyvinck Christine IL 20190419   123:1 ‐ 123:7     R, P, Sp
April 19, 2019     Schyvinck Christine IL 20190419   123:8 ‐ 123:13    R, P, Sp
April 19, 2019     Schyvinck Christine IL 20190419   123:14 ‐ 124:5    R, P, Sp
April 19, 2019     Schyvinck_Christine_IL_20190419   124:7 ‐ 124:10    R, P, Sp
April 19, 2019     Schyvinck Christine IL 20190419   124:13 ‐ 124:21   R, P, Sp
April 19, 2019     Schyvinck_Christine_IL_20190419   124:24 ‐ 125:8    R, P, Sp
April 19, 2019     Schyvinck Christine IL 20190419   126:24 ‐ 127:13   R, P, Sp
April 19, 2019     Schyvinck_Christine_IL_20190419   127:14 ‐ 127:16   R, P, Sp
April 19, 2019     Schyvinck Christine IL 20190419   127:18 ‐ 128:9    R, P, Sp
April 19, 2019     Schyvinck_Christine_IL_20190419   128:11 ‐ 128:18   R, P, Sp
April 19, 2019     Schyvinck Christine IL 20190419   129:2 ‐ 129:4     R, P, Sp
April 19, 2019     Schyvinck_Christine_IL_20190419   129:6 ‐ 129:24    R, P, Sp
April 19, 2019     Schyvinck Christine IL 20190419   152:10 ‐ 152:17   R, P, Sp       152:10 ‐ 152:22
April 19, 2019     Schyvinck_Christine_IL_20190419   157:13 ‐ 157:19   R, P
April 19, 2019     Schyvinck Christine IL 20190419   158:7 ‐ 158:8     R, P
December 2, 2020   Smith_Kevin_DE_20201202           9:16 ‐ 9:18
December 2, 2020   Smith Kevin DE 20201202           12:10 ‐ 13:9
December 2, 2020   Smith_Kevin_DE_20201202           13:10 ‐ 13:13
December 2, 2020   Smith Kevin DE 20201202           13:25 ‐ 14:1                     13:14‐14:1
December 2 2020    Smith_Kevin_DE_20201202           14:12 ‐ 14:20                    14:12‐16:21
December 2, 2020   Smith Kevin DE 20201202           15:2 ‐ 15:7                      14:12‐16:21
December 2, 2020   Smith Kevin DE 20201202           16:22 ‐ 17:1
December 2, 2020   Smith Kevin DE 20201202           17:4 ‐ 17:4
December 2, 2020   Smith Kevin DE 20201202           20:20 ‐ 23:4

                                                                        56
                          Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 532 of 555 PageID #: 57383
December 2, 2020   Smith Kevin DE 20201202   20:3 ‐ 20:9                              20:3 ‐ 20:19
December 2 2020    Smith_Kevin_DE_20201202   23:7 ‐ 23:12
December 2, 2020   Smith Kevin DE 20201202   27:17 ‐ 28:4
December 2, 2020   Smith Kevin DE 20201202   28:5 ‐ 28:12
December 2, 2020   Smith Kevin DE 20201202   29:2 ‐ 29:3
December 2, 2020   Smith Kevin DE 20201202   29:21 ‐ 29:23       F
December 2, 2020   Smith Kevin DE 20201202   30:1 ‐ 30:2         F
December 2, 2020   Smith Kevin DE 20201202   31:7 ‐ 32:7
December 2, 2020   Smith Kevin DE 20201202   32:9 ‐ 33:11
December 2, 2020   Smith Kevin DE 20201202   33:12 ‐ 36:13
December 2, 2020   Smith_Kevin_DE_20201202   40:13 ‐ 40:16                            38:7‐41:2
December 2, 2020   Smith Kevin DE 20201202   41:3 ‐ 41:7
December 2, 2020   Smith_Kevin_DE_20201202   42:7 ‐ 42:24                             41:16‐42:24
December 2, 2020   Smith Kevin DE 20201202   43:13 ‐ 44:1
December 2, 2020   Smith_Kevin_DE_20201202   44:2 ‐ 44:19
December 2, 2020   Smith Kevin DE 20201202   48:3 ‐ 48:6
December 2, 2020   Smith_Kevin_DE_20201202   49:1 ‐ 49:5                              49:1 ‐ 50:14
December 2, 2020   Smith Kevin DE 20201202   50:15 ‐ 51:1        F
December 2, 2020   Smith_Kevin_DE_20201202   51:4 ‐ 51:20
December 2, 2020   Smith Kevin DE 20201202   51:22 ‐ 51:24       F
December 2, 2020   Smith_Kevin_DE_20201202   52:2 ‐ 52:8         F
December 2, 2020   Smith Kevin DE 20201202   56:1 ‐ 56:6                              56:1 ‐ 56:19
December 2, 2020   Smith_Kevin_DE_20201202   56:20 ‐ 57:13                            56:20 ‐ 58:7
December 2, 2020   Smith Kevin DE 20201202   58:8 ‐ 59:6
December 2, 2020   Smith_Kevin_DE_20201202   63:2 ‐ 64:21        F, M
December 2, 2020   Smith Kevin DE 20201202   64:25 ‐ 65:14
December 2 2020    Smith_Kevin_DE_20201202   69:18 ‐ 73:7        R P B AA
December 2, 2020   Smith Kevin DE 20201202   73:12 ‐ 73:25       R, P, B, AA
December 2, 2020   Smith Kevin DE 20201202   82:8 ‐ 82:19
December 2, 2020   Smith Kevin DE 20201202   82:22 ‐ 83:13                            82:22 ‐ 84:17
December 2, 2020   Smith Kevin DE 20201202   84:18 ‐ 85:13
December 2, 2020   Smith Kevin DE 20201202   85:14 ‐ 85:18       F, Sp
December 2, 2020   Smith Kevin DE 20201202   85:21 ‐ 85:24       F, Sp
December 2, 2020   Smith Kevin DE 20201202   87:10 ‐ 87:15                            86:15‐87:22
December 2, 2020   Smith Kevin DE 20201202   97:19 ‐ 97:24                            97:3‐98:3
December 2, 2020   Smith_Kevin_DE_20201202   98:4 ‐ 98:14
December 2, 2020   Smith Kevin DE 20201202   101:5 ‐ 101:20
December 2, 2020   Smith_Kevin_DE_20201202   102:6 ‐ 102:19
December 2, 2020   Smith Kevin DE 20201202   103:7 ‐ 104:9
December 2, 2020   Smith_Kevin_DE_20201202   104:22 ‐ 104:25     F
December 2, 2020   Smith Kevin DE 20201202   105:2 ‐ 105:9       F                    105:2 ‐ 107:7
December 2, 2020   Smith_Kevin_DE_20201202   107:8 ‐ 107:15
December 2, 2020   Smith Kevin DE 20201202   110:23 ‐ 111:13
December 2, 2020   Smith_Kevin_DE_20201202   111:17 ‐ 112:3                           111:17 ‐ 112:11
December 2, 2020   Smith Kevin DE 20201202   112:12 ‐ 113:1                           112:12 ‐ 113:13
December 2, 2020   Smith_Kevin_DE_20201202   113:14 ‐ 114:15
December 2, 2020   Smith Kevin DE 20201202   116:19 ‐ 116:22
December 2, 2020   Smith_Kevin_DE_20201202   116:25 ‐ 117:13     F, V
December 2, 2020   Smith Kevin DE 20201202   117:16 ‐ 117:18     F, V
December 2, 2020   Smith_Kevin_DE_20201202   117:20 ‐ 118:3                           117:20 ‐ 118:25
December 2, 2020   Smith Kevin DE 20201202   124:20 ‐ 125:1                           124:4 ‐ 125:13
December 2 2020    Smith_Kevin_DE_20201202   125:14 ‐ 125:17                          125:14 ‐ 126:6
December 2, 2020   Smith Kevin DE 20201202   127:13 ‐ 127:17     F, Sp
December 2, 2020   Smith Kevin DE 20201202   127:19 ‐ 128:1      F, Sp
December 2, 2020   Smith Kevin DE 20201202   128:20 ‐ 128:22
December 2, 2020   Smith Kevin DE 20201202   129:4 ‐ 129:9

                                                                     57
                          Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 533 of 555 PageID #: 57384
December 2, 2020   Smith Kevin DE 20201202   129:13 ‐ 130:24     F, V
December 2 2020    Smith_Kevin_DE_20201202   131:2 ‐ 131:14      F V
December 2, 2020   Smith Kevin DE 20201202   132:14 ‐ 133:8
December 2, 2020   Smith Kevin DE 20201202   133:11 ‐ 133:15
December 2, 2020   Smith Kevin DE 20201202   133:23 ‐ 134:20     R, P
December 2, 2020   Smith Kevin DE 20201202   134:23 ‐ 135:5      R, P
December 2, 2020   Smith Kevin DE 20201202   135:6 ‐ 135:9
December 2, 2020   Smith Kevin DE 20201202   136:5 ‐ 136:8
December 2, 2020   Smith Kevin DE 20201202   136:11 ‐ 136:16                          136:11 ‐ 136:19
December 2, 2020   Smith Kevin DE 20201202   136:20 ‐ 137:24     F, Sp
December 2, 2020   Smith_Kevin_DE_20201202   138:2 ‐ 138:4
December 2, 2020   Smith Kevin DE 20201202   139:8 ‐ 139:11
December 2, 2020   Smith_Kevin_DE_20201202   139:19 ‐ 139:23
December 2, 2020   Smith Kevin DE 20201202   139:24 ‐ 141:1
December 2, 2020   Smith_Kevin_DE_20201202   141:5 ‐ 141:16      F, Sp
December 2, 2020   Smith Kevin DE 20201202   141:19 ‐ 144:17     F, Sp
December 2, 2020   Smith_Kevin_DE_20201202   144:22 ‐ 145:11
December 2, 2020   Smith Kevin DE 20201202   145:12 ‐ 145:23
December 2, 2020   Smith_Kevin_DE_20201202   145:24 ‐ 146:2
December 2, 2020   Smith Kevin DE 20201202   147:21 ‐ 148:11
December 2, 2020   Smith_Kevin_DE_20201202   148:12 ‐ 148:25     F, Sp, R, P
December 2, 2020   Smith Kevin DE 20201202   149:3 ‐ 150:2       F, Sp, R, P
December 2, 2020   Smith_Kevin_DE_20201202   150:6 ‐ 151:5       F, Sp, R, P
December 2, 2020   Smith Kevin DE 20201202   151:6 ‐ 151:15      F, Sp, R, P
December 2, 2020   Smith_Kevin_DE_20201202   152:1 ‐ 152:17      F, Sp, R, P
December 2, 2020   Smith Kevin DE 20201202   153:11 ‐ 153:14     R, P
December 2 2020    Smith_Kevin_DE_20201202   153:25 ‐ 154:5
December 2, 2020   Smith Kevin DE 20201202   154:6 ‐ 154:25
December 2, 2020   Smith Kevin DE 20201202   155:1 ‐ 155:24
December 2, 2020   Smith Kevin DE 20201202   155:25 ‐ 156:3
December 2, 2020   Smith Kevin DE 20201202   156:11 ‐ 156:14
December 2, 2020   Smith Kevin DE 20201202   158:17 ‐ 158:25
December 2, 2020   Smith Kevin DE 20201202   160:3 ‐ 160:6
December 2, 2020   Smith Kevin DE 20201202   160:14 ‐ 160:16
December 2, 2020   Smith Kevin DE 20201202   161:19 ‐ 162:7                           161:7‐162:7
December 2, 2020   Smith_Kevin_DE_20201202   162:12 ‐ 163:1
December 2, 2020   Smith Kevin DE 20201202   166:1 ‐ 166:4
December 2, 2020   Smith_Kevin_DE_20201202   166:12 ‐ 166:14
December 2, 2020   Smith Kevin DE 20201202   166:15 ‐ 167:16
December 2, 2020   Smith_Kevin_DE_20201202   167:17 ‐ 168:17
December 2, 2020   Smith Kevin DE 20201202   168:18 ‐ 168:21
December 2, 2020   Smith_Kevin_DE_20201202   169:3 ‐ 169:12
December 2, 2020   Smith Kevin DE 20201202   169:24 ‐ 170:2
December 2, 2020   Smith_Kevin_DE_20201202   170:3 ‐ 170:6
December 2, 2020   Smith Kevin DE 20201202   170:18 ‐ 170:25
December 2, 2020   Smith_Kevin_DE_20201202   171:4 ‐ 171:8
December 2, 2020   Smith Kevin DE 20201202   171:9 ‐ 171:17
December 2, 2020   Smith_Kevin_DE_20201202   174:17 ‐ 174:20
December 2, 2020   Smith Kevin DE 20201202   175:11 ‐ 175:17
December 2, 2020   Smith_Kevin_DE_20201202   176:20 ‐ 176:23
December 2, 2020   Smith Kevin DE 20201202   177:5 ‐ 177:12
December 2 2020    Smith_Kevin_DE_20201202   177:15 ‐ 178:9
December 2, 2020   Smith Kevin DE 20201202   178:10 ‐ 179:9
December 2, 2020   Smith Kevin DE 20201202   179:10 ‐ 179:13
December 2, 2020   Smith Kevin DE 20201202   180:2 ‐ 180:23
December 2, 2020   Smith Kevin DE 20201202   181:1 ‐ 181:7       R, F, Sp

                                                                  58
                          Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 534 of 555 PageID #: 57385
December 2, 2020   Smith Kevin DE 20201202   181:9 ‐ 181:25      R, F, Sp
December 2 2020    Smith_Kevin_DE_20201202   182:14 ‐ 185:11     R F Sp
December 2, 2020   Smith Kevin DE 20201202   185:15 ‐ 186:1      F, Sp
December 2, 2020   Smith Kevin DE 20201202   187:2 ‐ 187:9
December 2, 2020   Smith Kevin DE 20201202   187:19 ‐ 187:21
December 2, 2020   Smith Kevin DE 20201202   187:23 ‐ 188:14
December 2, 2020   Smith Kevin DE 20201202   188:18 ‐ 188:20
December 2, 2020   Smith Kevin DE 20201202   192:4 ‐ 192:7
December 2, 2020   Smith Kevin DE 20201202   192:15 ‐ 192:17
December 2, 2020   Smith Kevin DE 20201202   195:9 ‐ 195:19                           195:9 ‐ 195:24
December 2, 2020   Smith_Kevin_DE_20201202   196:8 ‐ 196:10
December 2, 2020   Smith Kevin DE 20201202   197:8 ‐ 197:11
December 2, 2020   Smith_Kevin_DE_20201202   197:12 ‐ 197:16
December 2, 2020   Smith Kevin DE 20201202   197:17 ‐ 198:16
December 2, 2020   Smith_Kevin_DE_20201202   198:17 ‐ 198:25
December 2, 2020   Smith Kevin DE 20201202   199:3 ‐ 199:22
December 2, 2020   Smith_Kevin_DE_20201202   200:2 ‐ 200:5
December 2, 2020   Smith Kevin DE 20201202   200:14 ‐ 200:23
December 2, 2020   Smith_Kevin_DE_20201202   201:21 ‐ 201:24
December 2, 2020   Smith Kevin DE 20201202   202:6 ‐ 202:9
December 2, 2020   Smith_Kevin_DE_20201202   202:16 ‐ 204:6
December 2, 2020   Smith Kevin DE 20201202   204:17 ‐ 205:24
December 2, 2020   Smith_Kevin_DE_20201202   205:25 ‐ 207:21
December 2, 2020   Smith Kevin DE 20201202   207:24 ‐ 209:16     Sp, M                207:24 ‐ 210:21
December 2, 2020   Smith_Kevin_DE_20201202   209:20 ‐ 210:1
December 2, 2020   Smith Kevin DE 20201202   210:22 ‐ 210:25
December 2 2020    Smith_Kevin_DE_20201202   211:4 ‐ 211:10
December 2, 2020   Smith Kevin DE 20201202   212:2 ‐ 212:4
December 2, 2020   Smith Kevin DE 20201202   212:8 ‐ 213:7                            212:8 ‐ 213:20
December 2, 2020   Smith Kevin DE 20201202   217:5 ‐ 217:8
December 2, 2020   Smith Kevin DE 20201202   217:20 ‐ 218:2
December 2, 2020   Smith Kevin DE 20201202   218:3 ‐ 218:6
December 2, 2020   Smith Kevin DE 20201202   218:7 ‐ 218:10
December 2, 2020   Smith Kevin DE 20201202   218:20 ‐ 218:24
December 2, 2020   Smith Kevin DE 20201202   218:25 ‐ 219:14
December 2, 2020   Smith_Kevin_DE_20201202   219:15 ‐ 219:18
December 2, 2020   Smith Kevin DE 20201202   220:1 ‐ 220:8
December 2, 2020   Smith_Kevin_DE_20201202   220:9 ‐ 221:2
December 2, 2020   Smith Kevin DE 20201202   221:12 ‐ 221:21
December 2, 2020   Smith_Kevin_DE_20201202   221:22 ‐ 221:23
December 2, 2020   Smith Kevin DE 20201202   222:1 ‐ 222:9
December 2, 2020   Smith_Kevin_DE_20201202   222:11 ‐ 222:14
December 2, 2020   Smith Kevin DE 20201202   222:20 ‐ 223:1
December 2, 2020   Smith_Kevin_DE_20201202   223:2 ‐ 223:7
December 2, 2020   Smith Kevin DE 20201202   223:11 ‐ 224:4
December 2, 2020   Smith_Kevin_DE_20201202   224:5 ‐ 224:19
December 2, 2020   Smith Kevin DE 20201202   224:23 ‐ 225:9
December 2, 2020   Smith_Kevin_DE_20201202   225:23 ‐ 226:1
December 2, 2020   Smith Kevin DE 20201202   226:9 ‐ 226:17                           226:9 ‐ 227:9
December 2, 2020   Smith_Kevin_DE_20201202   227:13 ‐ 227:22
December 2, 2020   Smith Kevin DE 20201202   228:3 ‐ 228:8
December 2 2020    Smith_Kevin_DE_20201202   228:9 ‐ 228:12
December 2, 2020   Smith Kevin DE 20201202   228:18 ‐ 228:21
December 2, 2020   Smith Kevin DE 20201202   228:25 ‐ 229:12     F, AF, M
December 2, 2020   Smith Kevin DE 20201202   229:15 ‐ 229:23     F, AF, M
December 2, 2020   Smith Kevin DE 20201202   230:11 ‐ 231:8      R

                                                                  59
                          Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 535 of 555 PageID #: 57386
December 2, 2020   Smith Kevin DE 20201202   236:21 ‐ 236:24
December 2 2020    Smith_Kevin_DE_20201202   237:2 ‐ 237:14
December 2, 2020   Smith Kevin DE 20201202   237:15 ‐ 238:13
December 2, 2020   Smith Kevin DE 20201202   239:3 ‐ 239:25
December 2, 2020   Smith Kevin DE 20201202   240:1 ‐ 240:5
December 2, 2020   Smith Kevin DE 20201202   240:9 ‐ 240:23
December 2, 2020   Smith Kevin DE 20201202   240:24 ‐ 242:16
December 2, 2020   Smith Kevin DE 20201202   242:21 ‐ 243:3
December 2, 2020   Smith Kevin DE 20201202   243:5 ‐ 243:8
December 2, 2020   Smith Kevin DE 20201202   243:16 ‐ 243:23
December 2, 2020   Smith_Kevin_DE_20201202   245:23 ‐ 246:2
December 2, 2020   Smith Kevin DE 20201202   248:2 ‐ 248:17
December 2, 2020   Smith_Kevin_DE_20201202   248:18 ‐ 248:23
December 2, 2020   Smith Kevin DE 20201202   249:2 ‐ 249:8
December 2, 2020   Smith_Kevin_DE_20201202   249:12 ‐ 249:14     Sp
December 2, 2020   Smith Kevin DE 20201202   251:18 ‐ 251:20
December 2, 2020   Smith_Kevin_DE_20201202   253:3 ‐ 253:10
December 2, 2020   Smith Kevin DE 20201202   263:4 ‐ 263:12
December 2, 2020   Smith_Kevin_DE_20201202   263:18 ‐ 264:8
December 2, 2020   Smith Kevin DE 20201202   264:9 ‐ 264:13
December 2, 2020   Smith_Kevin_DE_20201202   264:24 ‐ 265:7
December 2, 2020   Smith Kevin DE 20201202   265:9 ‐ 266:15
December 2, 2020   Smith_Kevin_DE_20201202   266:18 ‐ 266:19
December 2, 2020   Smith Kevin DE 20201202   268:16 ‐ 269:1
December 2, 2020   Smith_Kevin_DE_20201202   269:4 ‐ 270:1
December 2, 2020   Smith Kevin DE 20201202   270:7 ‐ 270:8
December 2 2020    Smith_Kevin_DE_20201202   270:11 ‐ 270:14
December 2, 2020   Smith Kevin DE 20201202   270:18 ‐ 271:4      Sp, V
December 2, 2020   Smith Kevin DE 20201202   271:7 ‐ 271:13      Sp, V
December 2, 2020   Smith Kevin DE 20201202   271:16 ‐ 272:2
December 2, 2020   Smith Kevin DE 20201202   272:4 ‐ 272:20      Sp, V
December 2, 2020   Smith Kevin DE 20201202   272:23 ‐ 273:4
December 2, 2020   Smith Kevin DE 20201202   273:7 ‐ 273:8
December 2, 2020   Smith Kevin DE 20201202   273:11 ‐ 273:14
December 2, 2020   Smith Kevin DE 20201202   273:17 ‐ 273:24     Sp, V
December 2, 2020   Smith_Kevin_DE_20201202   274:2 ‐ 274:10      Sp, F
December 2, 2020   Smith Kevin DE 20201202   274:13 ‐ 274:17     M
December 2, 2020   Smith_Kevin_DE_20201202   274:20 ‐ 274:22
December 2, 2020   Smith Kevin DE 20201202   277:15 ‐ 277:19     M
December 2, 2020   Smith_Kevin_DE_20201202   278:3 ‐ 278:15      V, F
December 2, 2020   Smith Kevin DE 20201202   278:18 ‐ 279:6      V, F
December 2, 2020   Smith_Kevin_DE_20201202   279:9 ‐ 280:6
August 18, 2020    Smith Kevin IL 20200818   17:7 ‐ 20:12
August 18, 2020    Smith_Kevin_IL_20200818   20:17 ‐ 24:2
August 18, 2020    Smith Kevin IL 20200818   24:3 ‐ 26:7
August 18, 2020    Smith_Kevin_IL_20200818   26:10 ‐ 31:8
August 18, 2020    Smith Kevin IL 20200818   61:19 ‐ 62:2                             60:21‐62:2
August 18, 2020    Smith_Kevin_IL_20200818   64:22 ‐ 65:5        R, P                 64:22 ‐ 65:12
August 18, 2020    Smith Kevin IL 20200818   65:13 ‐ 65:24       R, P
August 18, 2020    Smith_Kevin_IL_20200818   68:21 ‐ 69:8        R, P
August 18, 2020    Smith Kevin IL 20200818   77:22 ‐ 79:2
August 18 2020     Smith_Kevin_IL_20200818   205:12 ‐ 206:5      R
August 18, 2020    Smith Kevin IL 20200818   244:21 ‐ 245:21     R
August 18, 2020    Smith Kevin IL 20200818   249:22 ‐ 250:18     R
August 18, 2020    Smith Kevin IL 20200818   264:1 ‐ 264:25      R
August 18, 2020    Smith Kevin IL 20200818   286:20 ‐ 287:6      R

                                                                  60
                          Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 536 of 555 PageID #: 57387
August 18, 2020    Smith Kevin IL 20200818     293:6 ‐ 293:15    R
August 18 2020     Smith_Kevin_IL_20200818     296:3 ‐ 296:13    R
August 18, 2020    Smith Kevin IL 20200818     309:24 ‐ 310:18
August 18, 2020    Smith Kevin IL 20200818     310:19 ‐ 311:2
August 18, 2020    Smith Kevin IL 20200818     311:3 ‐ 312:2
June 10, 2020      Staples Jason DE 20200610   6:24 ‐ 7:5
June 10, 2020      Staples Jason DE 20200610   9:5 ‐ 10:1
June 10, 2020      Staples Jason DE 20200610   11:14 ‐ 14:23
June 10, 2020      Staples Jason DE 20200610   17:3 ‐ 17:11
June 10, 2020      Staples Jason DE 20200610   17:14 ‐ 17:15     R, V                 15:18‐17:15
June 10, 2020      Staples_Jason_DE_20200610   18:10 ‐ 18:23     R, V
June 10, 2020      Staples Jason DE 20200610   18:25 ‐ 18:25     R, V
June 10, 2020      Staples_Jason_DE_20200610   19:18 ‐ 20:2      R, V                 19:1‐20:2
June 10, 2020      Staples Jason DE 20200610   20:5 ‐ 20:13      R, V
June 10, 2020      Staples_Jason_DE_20200610   22:7 ‐ 22:24      R, V, Sp             20:14‐24:17
June 10, 2020      Staples Jason DE 20200610   23:2 ‐ 23:10      R, V, Sp
June 10, 2020      Staples_Jason_DE_20200610   23:13 ‐ 23:16     R, V, Sp
June 10, 2020      Staples Jason DE 20200610   23:20 ‐ 24:17
June 10, 2020      Staples_Jason_DE_20200610   25:15 ‐ 26:3                           25:3‐26:18
June 10, 2020      Staples Jason DE 20200610   26:6 ‐ 26:8       R, V, Sp
June 10, 2020      Staples_Jason_DE_20200610   26:19 ‐ 27:25
June 10, 2020      Staples Jason DE 20200610   28:2 ‐ 28:4       R, V
June 10, 2020      Staples_Jason_DE_20200610   28:8 ‐ 28:24
June 10, 2020      Staples Jason DE 20200610   33:18 ‐ 33:22                          29:4‐36:16
June 10, 2020      Staples_Jason_DE_20200610   34:1 ‐ 34:3
June 10, 2020      Staples Jason DE 20200610   35:14 ‐ 35:25
June 10 2020       Staples_Jason_DE_20200610   37:3 ‐ 37:12                           37:3‐38:1
June 10, 2020      Staples Jason DE 20200610   46:22 ‐ 46:24                          46:8‐24
October 23, 2020   Tabor Michael IL 20201023   10:13 ‐ 10:19
October 23, 2020   Tabor Michael IL 20201023   11:10 ‐ 11:18
October 23, 2020   Tabor Michael IL 20201023   13:12 ‐ 14:4
October 23, 2020   Tabor Michael IL 20201023   16:12 ‐ 17:12
October 23, 2020   Tabor Michael IL 20201023   18:15 ‐ 19:4
October 23, 2020   Tabor Michael IL 20201023   21:4 ‐ 21:10
October 23, 2020   Tabor_Michael_IL_20201023   21:14 ‐ 21:24     C, V                 22:20‐23:1; 23:7‐9; 24:10‐25:1; 25:4‐10.

October 23, 2020   Tabor_Michael_IL_20201023   22:3 ‐ 22:19      C, V                 22:20‐23:1; 23:7‐9; 24:10‐25:1; 25:4‐10.

October 23, 2020   Tabor Michael IL 20201023   25:12 ‐ 25:24
October 23, 2020   Tabor_Michael_IL_20201023   27:6 ‐ 27:9
October 23, 2020   Tabor Michael IL 20201023   27:17 ‐ 28:9      V, C                 28:10‐29:12
October 23, 2020   Tabor_Michael_IL_20201023   27:10 ‐ 27:16     V, C
October 23, 2020   Tabor Michael IL 20201023   36:14 ‐ 36:18
October 23, 2020   Tabor_Michael_IL_20201023   36:22 ‐ 37:11
October 23, 2020   Tabor_Michael_IL_20201023   38:13 ‐ 38:23     V                    38:6‐21; 38:24‐39:1, 39:4; 39:6‐40:1, 40:3
                                                                                      5
October 23, 2020   Tabor_Michael_IL_20201023   40:16 ‐ 40:19     V, H                 38:6‐21; 38:24‐39:1, 39:4; 39:6‐40:1, 40:3
                                                                                      5
October 23, 2020   Tabor_Michael_IL_20201023   40:22 ‐ 41:6      V, H                 38:6‐21; 38:24‐39:1, 39:4; 39:6‐40:1, 40:3
                                                                                      5
October 23, 2020   Tabor Michael IL 20201023   45:22 ‐ 46:2      R
October 23 2020    Tabor_Michael_IL_20201023   46:7 ‐ 47:5       R
October 23, 2020   Tabor Michael IL 20201023   54:21 ‐ 55:15     R                    43:15‐24
October 23, 2020   Tabor Michael IL 20201023   55:16 ‐ 56:18     R
October 23, 2020   Tabor Michael IL 20201023   60:3 ‐ 60:18      R
October 23, 2020   Tabor Michael IL 20201023   61:17 ‐ 61:23     R

                                                                  61
                          Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 537 of 555 PageID #: 57388
October 23, 2020   Tabor Michael IL 20201023   62:3 ‐ 63:1       R
October 23 2020    Tabor_Michael_IL_20201023   65:24 ‐ 66:12     R
October 23, 2020   Tabor Michael IL 20201023   73:4 ‐ 73:14      R
October 23, 2020   Tabor Michael IL 20201023   73:24 ‐ 74:1      R, Sp                43:15‐24
October 23, 2020   Tabor Michael IL 20201023   74:4 ‐ 74:10      R, Sp                43:15‐24
October 23, 2020   Tabor Michael IL 20201023   74:12 ‐ 75:11     R, V, AF, M          43:15‐24
October 23, 2020   Tabor Michael IL 20201023   75:18 ‐ 77:2      R, Sp
October 23, 2020   Tabor Michael IL 20201023   77:11 ‐ 77:13     R, V
October 23, 2020   Tabor Michael IL 20201023   78:4 ‐ 78:10      R, V
October 23, 2020   Tabor Michael IL 20201023   78:11 ‐ 78:23     R, V
October 23, 2020   Tabor_Michael_IL_20201023   79:9 ‐ 79:11      R, F
October 23, 2020   Tabor Michael IL 20201023   79:12 ‐ 79:20     R, F
October 23, 2020   Tabor_Michael_IL_20201023   83:4 ‐ 84:5       R, V
October 23, 2020   Tabor Michael IL 20201023   84:9 ‐ 85:22      R
October 23, 2020   Tabor_Michael_IL_20201023   86:1 ‐ 86:15      R
October 23, 2020   Tabor Michael IL 20201023   86:17 ‐ 87:3      R
October 23, 2020   Tabor_Michael_IL_20201023   99:21 ‐ 100:19    R
October 23, 2020   Tabor Michael IL 20201023   105:2 ‐ 105:6     R
October 23, 2020   Tabor_Michael_IL_20201023   105:9 ‐ 105:15    R
October 23, 2020   Tabor Michael IL 20201023   106:10 ‐ 106:16   R
October 23, 2020   Tabor_Michael_IL_20201023   114:11 ‐ 114:17   R, F, Sp, V
October 23, 2020   Tabor Michael IL 20201023   114:19 ‐ 115:3    R
October 23, 2020   Tabor_Michael_IL_20201023   118:20 ‐ 119:7    R
October 23, 2020   Tabor Michael IL 20201023   119:17 ‐ 119:24   R
October 23, 2020   Tabor_Michael_IL_20201023   120:4 ‐ 120:13    R
October 23, 2020   Tabor Michael IL 20201023   121:24 ‐ 122:17   R
October 23 2020    Tabor_Michael_IL_20201023   124:10 ‐ 124:12   R
October 23, 2020   Tabor Michael IL 20201023   124:15 ‐ 124:22   R
October 23, 2020   Tabor Michael IL 20201023   125:10 ‐ 125:22   R
October 23, 2020   Tabor Michael IL 20201023   126:2 ‐ 126:4     R
October 23, 2020   Tabor Michael IL 20201023   128:2 ‐ 128:12    R
October 23, 2020   Tabor Michael IL 20201023   130:4 ‐ 132:5     R, Sp, AF, AA
October 23, 2020   Tabor Michael IL 20201023   132:9 ‐ 132:16    R, Sp, AF, AA
October 23, 2020   Tabor Michael IL 20201023   135:2 ‐ 135:6     R, H, AF, Sp
October 23, 2020   Tabor Michael IL 20201023   135:10 ‐ 135:24   R, H, AF, Sp
October 23, 2020   Tabor_Michael_IL_20201023   136:2 ‐ 136:13    R
October 23, 2020   Tabor Michael IL 20201023   137:11 ‐ 138:7    R
October 23, 2020   Tabor_Michael_IL_20201023   141:5 ‐ 141:19    R
October 23, 2020   Tabor Michael IL 20201023   144:6 ‐ 144:11    R
October 23, 2020   Tabor_Michael_IL_20201023   145:2 ‐ 145:24    R
October 23, 2020   Tabor Michael IL 20201023   146:14 ‐ 147:20   R
October 23, 2020   Tabor_Michael_IL_20201023   150:13 ‐ 150:17   R
October 23, 2020   Tabor Michael IL 20201023   150:20 ‐ 151:2    R
October 23, 2020   Tabor_Michael_IL_20201023   151:3 ‐ 151:8     R
October 23, 2020   Tabor Michael IL 20201023   151:12 ‐ 151:22   R
October 23, 2020   Tabor_Michael_IL_20201023   151:24 ‐ 152:3    R
October 23, 2020   Tabor Michael IL 20201023   156:2 ‐ 156:7     R
October 23, 2020   Tabor_Michael_IL_20201023   156:11 ‐ 156:24   R
October 23, 2020   Tabor Michael IL 20201023   158:2 ‐ 159:3     R
October 23, 2020   Tabor_Michael_IL_20201023   163:8 ‐ 163:11    R, M, V
October 23, 2020   Tabor Michael IL 20201023   163:14 ‐ 164:1    R, V
October 23 2020    Tabor_Michael_IL_20201023   164:3 ‐ 164:12    R V
October 23, 2020   Tabor Michael IL 20201023   166:5 ‐ 166:9     R
October 23, 2020   Tabor Michael IL 20201023   166:14 ‐ 166:19   R
October 23, 2020   Tabor Michael IL 20201023   171:19 ‐ 172:6    R
October 23, 2020   Tabor Michael IL 20201023   172:7 ‐ 172:14    R                    172:15‐173:11

                                                                  62
                          Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 538 of 555 PageID #: 57389
October 23, 2020   Tabor Michael IL 20201023   175:17 ‐ 175:21   R
October 23 2020    Tabor_Michael_IL_20201023   175:22 ‐ 176:1    R
October 23, 2020   Tabor Michael IL 20201023   176:9 ‐ 176:21    R
October 23, 2020   Tabor Michael IL 20201023   177:2 ‐ 177:10    R
October 23, 2020   Tabor Michael IL 20201023   178:4 ‐ 178:7     R
October 23, 2020   Tabor Michael IL 20201023   178:12 ‐ 179:4    R
October 23, 2020   Tabor Michael IL 20201023   179:7 ‐ 179:14    R
October 23, 2020   Tabor Michael IL 20201023   180:24 ‐ 181:5    R
October 23, 2020   Tabor Michael IL 20201023   181:7 ‐ 181:22    R
October 23, 2020   Tabor Michael IL 20201023   183:16 ‐ 183:17   R
October 23, 2020   Tabor_Michael_IL_20201023   183:23 ‐ 183:24   R
October 23, 2020   Tabor Michael IL 20201023   184:2 ‐ 184:5     R
October 23, 2020   Tabor_Michael_IL_20201023   184:7 ‐ 184:18    R
October 23, 2020   Tabor Michael IL 20201023   188:1 ‐ 188:6     R
October 23, 2020   Tabor_Michael_IL_20201023   188:10 ‐ 188:22   R
October 23, 2020   Tabor Michael IL 20201023   188:23 ‐ 189:10   R, Sp
October 23, 2020   Tabor_Michael_IL_20201023   189:13 ‐ 189:15   R, Sp
October 23, 2020   Tabor_Michael_IL_20201023   192:7 ‐ 192:10    R, Sp, H, V             192:20‐193:2; 193:5‐9; 193:19‐194:2;
                                                                                         194:4‐5.
October 23, 2020   Tabor_Michael_IL_20201023   192:13 ‐ 192:18   R, Sp, H, V             192:20‐193:2; 193:5‐9; 193:19‐194:2;
                                                                                         194:4‐5.
October 23, 2020   Tabor Michael IL 20201023   194:6 ‐ 194:10    R, V
October 23, 2020   Tabor_Michael_IL_20201023   194:13 ‐ 194:17   R, V
October 23, 2020   Tabor Michael IL 20201023   196:22 ‐ 197:2    R, V
October 23, 2020   Tabor_Michael_IL_20201023   198:19 ‐ 199:10   R, V
October 23, 2020   Tabor Michael IL 20201023   201:5 ‐ 201:20    R, AA
October 23 2020    Tabor_Michael_IL_20201023   202:1 ‐ 203:9     R AA
October 23, 2020   Tabor Michael IL 20201023   203:10 ‐ 203:15   R, P
October 23, 2020   Tabor Michael IL 20201023   204:1 ‐ 204:9     R, P
October 23, 2020   Tabor Michael IL 20201023   205:8 ‐ 205:11    R, P
October 23, 2020   Tabor Michael IL 20201023   206:16 ‐ 207:3    R
October 23, 2020   Tabor Michael IL 20201023   207:4 ‐ 207:8     R, P
October 23, 2020   Tabor Michael IL 20201023   207:11 ‐ 207:15   R, P
October 23, 2020   Tabor Michael IL 20201023   211:2 ‐ 211:15    R, P
October 23, 2020   Tabor Michael IL 20201023   211:18 ‐ 212:10   R, P
October 23, 2020   Tabor_Michael_IL_20201023   212:14 ‐ 212:20   R, P
October 23, 2020   Tabor Michael IL 20201023   212:23 ‐ 212:23   R, P
October 23, 2020   Tabor_Michael_IL_20201023   213:2 ‐ 213:4     R, P
October 23, 2020   Tabor Michael IL 20201023   213:5 ‐ 213:9     R, P, V, H
October 23, 2020   Tabor_Michael_IL_20201023   213:12 ‐ 213:14   R, P, V, H
October 23, 2020   Tabor Michael IL 20201023   214:10 ‐ 214:12   R, P, V, H
October 23, 2020   Tabor_Michael_IL_20201023   214:15 ‐ 214:15   R, P, V, H
October 23, 2020   Tabor Michael IL 20201023   214:17 ‐ 214:20   R, P, V, H
October 23, 2020   Tabor_Michael_IL_20201023   214:23 ‐ 215:2    R, P, V, H
October 23, 2020   Tabor Michael IL 20201023   215:4 ‐ 215:17    R, P, V, H, M
October 23, 2020   Tabor_Michael_IL_20201023   215:20 ‐ 216:1    R, P, V, H, M
October 23, 2020   Tabor Michael IL 20201023   216:3 ‐ 216:7     R, P, V, H, AF, SP
October 23, 2020   Tabor_Michael_IL_20201023   216:11 ‐ 216:23   R, P, V, H, AF, SP, M
October 23, 2020   Tabor Michael IL 20201023   216:24 ‐ 217:6    R, P, V, M
October 23, 2020   Tabor_Michael_IL_20201023   217:9 ‐ 217:13    R, P, V, M
October 23, 2020   Tabor Michael IL 20201023   217:14 ‐ 217:18   R, P, AF
October 23 2020    Tabor_Michael_IL_20201023   217:21 ‐ 218:10   R P
October 23, 2020   Tabor Michael IL 20201023   218:15 ‐ 219:2    R, P
October 23, 2020   Tabor Michael IL 20201023   219:3 ‐ 219:12    R, P
October 23, 2020   Tabor Michael IL 20201023   219:13 ‐ 219:17   R, P
October 23, 2020   Tabor Michael IL 20201023   219:19 ‐ 220:7    R, P

                                                                  63
                           Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 539 of 555 PageID #: 57390
October 23, 2020    Tabor Michael IL 20201023   229:2 ‐ 229:12    R, P
November 10 2020    Tunnell_Shane_DE_20201110   9:12 ‐ 9:14
November 10, 2020   Tunnell Shane DE 20201110   10:20 ‐ 11:5
November 10, 2020   Tunnell Shane DE 20201110   11:12 ‐ 14:12
November 10, 2020   Tunnell Shane DE 20201110   15:9 ‐ 18:1
November 10, 2020   Tunnell Shane DE 20201110   18:2 ‐ 18:20
November 10, 2020   Tunnell Shane DE 20201110   21:14 ‐ 24:2                           26:16‐19, 26:21‐27:15, 27:17
November 10, 2020   Tunnell Shane DE 20201110   27:18 ‐ 28:25
November 10, 2020   Tunnell Shane DE 20201110   33:3 ‐ 33:18
November 10, 2020   Tunnell Shane DE 20201110   33:20 ‐ 33:22
November 10, 2020   Tunnell_Shane_DE_20201110   34:5 ‐ 34:25                           34:5‐36:3
November 10, 2020   Tunnell Shane DE 20201110   36:4 ‐ 36:14                           34:5‐36:3
November 10, 2020   Tunnell_Shane_DE_20201110   38:14 ‐ 39:2                           38:14‐39:11
November 10, 2020   Tunnell Shane DE 20201110   51:13 ‐ 52:5
November 10, 2020   Tunnell_Shane_DE_20201110   57:4 ‐ 57:13
November 10, 2020   Tunnell Shane DE 20201110   67:23 ‐ 70:18
November 10, 2020   Tunnell_Shane_DE_20201110   70:22 ‐ 73:5
November 10, 2020   Tunnell Shane DE 20201110   74:4 ‐ 74:9
November 10, 2020   Tunnell_Shane_DE_20201110   74:10 ‐ 75:6
November 10, 2020   Tunnell Shane DE 20201110   82:8 ‐ 83:10
November 10, 2020   Tunnell_Shane_DE_20201110   88:1 ‐ 88:14
November 10, 2020   Tunnell Shane DE 20201110   88:19 ‐ 89:22
November 10, 2020   Tunnell_Shane_DE_20201110   89:23 ‐ 90:20     R, Sp, V
November 10, 2020   Tunnell Shane DE 20201110   90:23 ‐ 91:12     R, Sp, V
November 10, 2020   Tunnell_Shane_DE_20201110   91:15 ‐ 91:15     R, Sp, V
November 10, 2020   Tunnell Shane DE 20201110   91:21 ‐ 92:1
November 10 2020    Tunnell_Shane_DE_20201110   91:16 ‐ 91:20
November 10, 2020   Tunnell Shane DE 20201110   93:15 ‐ 94:6
November 10, 2020   Tunnell Shane DE 20201110   94:25 ‐ 95:5
November 10, 2020   Tunnell Shane DE 20201110   94:17 ‐ 94:24
November 10, 2020   Tunnell Shane DE 20201110   96:9 ‐ 96:19
November 10, 2020   Tunnell Shane DE 20201110   96:20 ‐ 97:1
November 10, 2020   Tunnell Shane DE 20201110   97:21 ‐ 97:25
November 10, 2020   Tunnell Shane DE 20201110   97:2 ‐ 97:20      R, Sp, V
November 10, 2020   Tunnell Shane DE 20201110   98:3 ‐ 100:8
November 10, 2020   Tunnell_Shane_DE_20201110   100:9 ‐ 101:18
November 10, 2020   Tunnell Shane DE 20201110   101:22 ‐ 102:12
November 10, 2020   Tunnell_Shane_DE_20201110   102:13 ‐ 104:18   R, Sp, V
November 10, 2020   Tunnell Shane DE 20201110   104:21 ‐ 105:9
November 10, 2020   Tunnell_Shane_DE_20201110   109:14 ‐ 110:10   R, Sp, V
November 10, 2020   Tunnell Shane DE 20201110   110:13 ‐ 110:16
November 10, 2020   Tunnell_Shane_DE_20201110   110:17 ‐ 111:13
November 10, 2020   Tunnell Shane DE 20201110   111:16 ‐ 113:13
November 10, 2020   Tunnell_Shane_DE_20201110   113:16 ‐ 113:16   R, Sp, V
November 10, 2020   Tunnell Shane DE 20201110   113:23 ‐ 114:8
November 10, 2020   Tunnell_Shane_DE_20201110   117:13 ‐ 117:18
November 10, 2020   Tunnell Shane DE 20201110   117:24 ‐ 118:8
November 10, 2020   Tunnell_Shane_DE_20201110   118:9 ‐ 118:22
November 10, 2020   Tunnell Shane DE 20201110   119:10 ‐ 119:22
November 10, 2020   Tunnell_Shane_DE_20201110   119:23 ‐ 120:18
November 10, 2020   Tunnell Shane DE 20201110   120:21 ‐ 121:14
November 10 2020    Tunnell_Shane_DE_20201110   121:15 ‐ 122:14
November 10, 2020   Tunnell Shane DE 20201110   123:17 ‐ 123:25
November 10, 2020   Tunnell Shane DE 20201110   124:1 ‐ 126:22    Sp, V
November 10, 2020   Tunnell Shane DE 20201110   126:25 ‐ 127:1    Sp, V
November 10, 2020   Tunnell Shane DE 20201110   127:3 ‐ 127:5     Sp, V

                                                                   64
                           Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 540 of 555 PageID #: 57391
November 10, 2020   Tunnell Shane DE 20201110   127:7 ‐ 127:14    Sp, V
November 10 2020    Tunnell_Shane_DE_20201110   127:17 ‐ 128:4    Sp V
November 10, 2020   Tunnell Shane DE 20201110   128:7 ‐ 128:20    Sp, V
November 10, 2020   Tunnell Shane DE 20201110   128:23 ‐ 130:11
November 10, 2020   Tunnell Shane DE 20201110   130:16 ‐ 131:1
November 10, 2020   Tunnell Shane DE 20201110   131:2 ‐ 131:10                         131:2‐24
November 10, 2020   Tunnell Shane DE 20201110   131:25 ‐ 133:8
November 10, 2020   Tunnell Shane DE 20201110   133:25 ‐ 137:17
November 10, 2020   Tunnell Shane DE 20201110   138:17 ‐ 139:9
November 10, 2020   Tunnell Shane DE 20201110   139:10 ‐ 139:20
November 10, 2020   Tunnell_Shane_DE_20201110   139:21 ‐ 141:4
November 10, 2020   Tunnell Shane DE 20201110   141:5 ‐ 144:8
November 10, 2020   Tunnell_Shane_DE_20201110   147:5 ‐ 147:12
November 10, 2020   Tunnell Shane DE 20201110   147:13 ‐ 148:10
November 10, 2020   Tunnell_Shane_DE_20201110   148:17 ‐ 149:1
November 10, 2020   Tunnell Shane DE 20201110   149:2 ‐ 149:12
November 10, 2020   Tunnell_Shane_DE_20201110   150:25 ‐ 151:14
November 10, 2020   Tunnell Shane DE 20201110   151:15 ‐ 152:6    Sp, V
November 10, 2020   Tunnell_Shane_DE_20201110   152:9 ‐ 152:11
November 10, 2020   Tunnell Shane DE 20201110   154:8 ‐ 154:13    Sp, V
November 10, 2020   Tunnell_Shane_DE_20201110   154:16 ‐ 154:21   Sp, V
November 10, 2020   Tunnell Shane DE 20201110   154:23 ‐ 155:2    Sp, V
November 10, 2020   Tunnell_Shane_DE_20201110   155:5 ‐ 155:14    Sp, V
November 10, 2020   Tunnell Shane DE 20201110   155:17 ‐ 156:22
November 10, 2020   Tunnell_Shane_DE_20201110   156:23 ‐ 158:19   Sp, V
November 10, 2020   Tunnell Shane DE 20201110   158:22 ‐ 159:20   Sp, V
November 10 2020    Tunnell_Shane_DE_20201110   159:23 ‐ 159:25   Sp V
November 10, 2020   Tunnell Shane DE 20201110   160:5 ‐ 160:20
November 10, 2020   Tunnell Shane DE 20201110   160:21 ‐ 161:8
November 10, 2020   Tunnell Shane DE 20201110   161:9 ‐ 163:11
November 10, 2020   Tunnell Shane DE 20201110   164:22 ‐ 165:20   R, V, AF
November 10, 2020   Tunnell Shane DE 20201110   165:23 ‐ 166:3    R, V, AF
November 10, 2020   Tunnell Shane DE 20201110   166:5 ‐ 166:24
November 10, 2020   Tunnell Shane DE 20201110   167:2 ‐ 167:12
November 10, 2020   Tunnell Shane DE 20201110   170:10 ‐ 170:19
November 10, 2020   Tunnell_Shane_DE_20201110   173:17 ‐ 175:2
November 10, 2020   Tunnell Shane DE 20201110   175:3 ‐ 177:1                          175:3 ‐ 177:13
November 17, 2020   Valley_Tim_DE_20201117      6:10 ‐ 6:13
November 17, 2020   Valley Tim DE 20201117      11:8 ‐ 11:12
November 17, 2020   Valley_Tim_DE_20201117      11:13 ‐ 11:24
November 17, 2020   Valley Tim DE 20201117      11:25 ‐ 12:6
November 17, 2020   Valley_Tim_DE_20201117      13:6 ‐ 13:13      V
November 17, 2020   Valley Tim DE 20201117      13:15 ‐ 13:23     V
November 17, 2020   Valley_Tim_DE_20201117      13:25 ‐ 14:5      V
November 17, 2020   Valley Tim DE 20201117      14:22 ‐ 14:24     V
November 17, 2020   Valley_Tim_DE_20201117      15:2 ‐ 15:10      V
November 17, 2020   Valley Tim DE 20201117      15:12 ‐ 16:13     V
November 17, 2020   Valley_Tim_DE_20201117      18:8 ‐ 19:12      R, P
November 17, 2020   Valley Tim DE 20201117      19:13 ‐ 19:16     R, P
November 17, 2020   Valley_Tim_DE_20201117      20:20 ‐ 21:11
November 17, 2020   Valley Tim DE 20201117      23:13 ‐ 25:6
November 17 2020    Valley_Tim_DE_20201117      25:11 ‐ 25:14
November 17, 2020   Valley Tim DE 20201117      26:15 ‐ 27:15
November 17, 2020   Valley Tim DE 20201117      28:18 ‐ 29:12     Sp
November 17, 2020   Valley Tim DE 20201117      29:14 ‐ 30:14     Sp
November 17, 2020   Valley Tim DE 20201117      31:5 ‐ 32:24

                                                                   65
                           Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 541 of 555 PageID #: 57392
November 17, 2020   Valley Tim DE 20201117    33:24 ‐ 34:5        AA
November 17 2020    Valley_Tim_DE_20201117    34:8 ‐ 34:12        Sp
November 17, 2020   Valley Tim DE 20201117    34:14 ‐ 34:14       Sp
November 17, 2020   Valley Tim DE 20201117    34:21 ‐ 37:8
November 17, 2020   Valley Tim DE 20201117    37:9 ‐ 37:13
November 17, 2020   Valley Tim DE 20201117    38:16 ‐ 39:9
November 17, 2020   Valley Tim DE 20201117    39:22 ‐ 40:5
November 17, 2020   Valley Tim DE 20201117    40:6 ‐ 41:22
November 17, 2020   Valley Tim DE 20201117    42:5 ‐ 42:12        V
November 17, 2020   Valley Tim DE 20201117    42:15 ‐ 42:17       V
November 17, 2020   Valley_Tim_DE_20201117    43:11 ‐ 44:10
November 17, 2020   Valley Tim DE 20201117    44:18 ‐ 45:25
November 17, 2020   Valley_Tim_DE_20201117    46:3 ‐ 46:5
November 17, 2020   Valley Tim DE 20201117    46:11 ‐ 47:3
November 17, 2020   Valley_Tim_DE_20201117    47:12 ‐ 47:20       F
November 17, 2020   Valley Tim DE 20201117    47:23 ‐ 48:5        F, V
November 17, 2020   Valley_Tim_DE_20201117    48:8 ‐ 48:15        V
November 17, 2020   Valley Tim DE 20201117    49:8 ‐ 49:16
November 17, 2020   Valley_Tim_DE_20201117    49:17 ‐ 50:2
November 17, 2020   Valley Tim DE 20201117    50:3 ‐ 50:21                             50:22‐51:5
November 17, 2020   Valley_Tim_DE_20201117    51:18 ‐ 52:4
November 17, 2020   Valley Tim DE 20201117    52:5 ‐ 53:5
November 17, 2020   Valley_Tim_DE_20201117    53:11 ‐ 54:2        V
November 17, 2020   Valley Tim DE 20201117    54:4 ‐ 54:9         V
November 17, 2020   Valley_Tim_DE_20201117    55:12 ‐ 55:21
November 17, 2020   Valley Tim DE 20201117    55:22 ‐ 56:9
November 17 2020    Valley_Tim_DE_20201117    56:11 ‐ 56:25
November 17, 2020   Valley Tim DE 20201117    57:2 ‐ 57:13        F, V
November 17, 2020   Valley Tim DE 20201117    57:15 ‐ 57:19       F, V
November 17, 2020   Valley Tim DE 20201117    57:21 ‐ 58:2
November 17, 2020   Valley Tim DE 20201117    58:10 ‐ 58:13       F
November 17, 2020   Valley Tim DE 20201117    58:15 ‐ 58:18       F
November 17, 2020   Valley Tim DE 20201117    60:20 ‐ 62:12
November 17, 2020   Valley Tim DE 20201117    63:12 ‐ 63:14       F, V
November 17, 2020   Valley Tim DE 20201117    63:16 ‐ 64:13       F, V
November 17, 2020   Valley_Tim_DE_20201117    64:15 ‐ 64:19       F, V
November 17, 2020   Valley Tim DE 20201117    64:22 ‐ 65:5        F,V
November 17, 2020   Valley_Tim_DE_20201117    65:8 ‐ 65:8
November 17, 2020   Valley Tim DE 20201117    66:11 ‐ 66:25
November 17, 2020   Valley_Tim_DE_20201117    67:15 ‐ 67:22
November 17, 2020   Valley Tim DE 20201117    68:8 ‐ 69:4
November 17, 2020   Valley_Tim_DE_20201117    70:7 ‐ 70:22
November 17, 2020   Valley Tim DE 20201117    70:23 ‐ 72:21       R, P
November 17, 2020   Valley_Tim_DE_20201117    72:22 ‐ 74:21       R, P
November 17, 2020   Valley Tim DE 20201117    74:22 ‐ 74:23       R, P, V
November 17, 2020   Valley_Tim_DE_20201117    74:25 ‐ 75:23       R, P, V
November 17, 2020   Valley Tim DE 20201117    77:18 ‐ 77:20       R, P
November 17, 2020   Valley_Tim_DE_20201117    78:4 ‐ 78:15
November 17, 2020   Valley Tim DE 20201117    80:3 ‐ 80:16
November 17, 2020   Valley_Tim_DE_20201117    80:17 ‐ 81:24
November 17, 2020   Valley Tim DE 20201117    82:2 ‐ 82:11
November 17 2020    Valley_Tim_DE_20201117    83:8 ‐ 84:3
November 17, 2020   Valley Tim DE 20201117    84:25 ‐ 85:14
November 17, 2020   Valley Tim DE 20201117    86:3 ‐ 86:10
November 17, 2020   Valley Tim DE 20201117    86:11 ‐ 86:23       V
November 17, 2020   Valley Tim DE 20201117    86:25 ‐ 87:7        V

                                                                      66
                           Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 542 of 555 PageID #: 57393
November 17, 2020   Valley Tim DE 20201117    87:18 ‐ 87:20
November 17 2020    Valley_Tim_DE_20201117    87:21 ‐ 88:10
November 17, 2020   Valley Tim DE 20201117    88:22 ‐ 89:3
November 17, 2020   Valley Tim DE 20201117    89:4 ‐ 90:15
November 17, 2020   Valley Tim DE 20201117    92:18 ‐ 93:14
November 17, 2020   Valley Tim DE 20201117    93:15 ‐ 93:20
November 17, 2020   Valley Tim DE 20201117    94:21 ‐ 94:23       V
November 17, 2020   Valley Tim DE 20201117    95:5 ‐ 95:13        F
November 17, 2020   Valley Tim DE 20201117    95:15 ‐ 95:24       F
November 17, 2020   Valley Tim DE 20201117    96:7 ‐ 96:12        AA
November 17, 2020   Valley_Tim_DE_20201117    96:15 ‐ 96:18       AA
November 17, 2020   Valley Tim DE 20201117    96:20 ‐ 96:22       AA
November 17, 2020   Valley_Tim_DE_20201117    96:24 ‐ 96:24       AA
November 17, 2020   Valley Tim DE 20201117    97:12 ‐ 97:25
November 17, 2020   Valley_Tim_DE_20201117    98:2 ‐ 98:18                             98:19‐100‐4
November 17, 2020   Valley Tim DE 20201117    100:5 ‐ 100:8       F, V
November 17, 2020   Valley_Tim_DE_20201117    100:11 ‐ 100:19     F, V
November 17, 2020   Valley Tim DE 20201117    101:4 ‐ 101:12
November 17, 2020   Valley_Tim_DE_20201117    101:13 ‐ 101:16
November 17, 2020   Valley Tim DE 20201117    101:20 ‐ 101:24
November 17, 2020   Valley_Tim_DE_20201117    102:15 ‐ 102:18
November 17, 2020   Valley Tim DE 20201117    103:13 ‐ 104:15
November 17, 2020   Valley_Tim_DE_20201117    104:18 ‐ 104:19     V
November 17, 2020   Valley Tim DE 20201117    104:21 ‐ 105:2      V
November 17, 2020   Valley_Tim_DE_20201117    105:5 ‐ 105:9       F, V, Sp
November 17, 2020   Valley Tim DE 20201117    105:12 ‐ 106:7      F, V, Sp
November 17 2020    Valley_Tim_DE_20201117    106:8 ‐ 106:14
November 17, 2020   Valley Tim DE 20201117    107:10 ‐ 107:24
November 17, 2020   Valley Tim DE 20201117    107:25 ‐ 108:3
November 17, 2020   Valley Tim DE 20201117    108:5 ‐ 108:7
November 17, 2020   Valley Tim DE 20201117    108:8 ‐ 109:11                           109:12‐15
November 17, 2020   Valley Tim DE 20201117    110:16 ‐ 110:22
November 17, 2020   Valley Tim DE 20201117    112:11 ‐ 112:22
November 17, 2020   Valley Tim DE 20201117    114:3 ‐ 114:10
November 17, 2020   Valley Tim DE 20201117    114:16 ‐ 114:25
November 17, 2020   Valley_Tim_DE_20201117    115:3 ‐ 115:7
November 17, 2020   Valley Tim DE 20201117    115:9 ‐ 115:16
November 17, 2020   Valley_Tim_DE_20201117    117:4 ‐ 118:22      F
November 17, 2020   Valley Tim DE 20201117    118:24 ‐ 119:6      F
November 17, 2020   Valley_Tim_DE_20201117    119:8 ‐ 119:11      F
November 17, 2020   Valley Tim DE 20201117    119:13 ‐ 119:21     F
November 17, 2020   Valley_Tim_DE_20201117    121:2 ‐ 121:6       R, P
November 17, 2020   Valley Tim DE 20201117    121:18 ‐ 123:7      R, P
November 17, 2020   Valley_Tim_DE_20201117    123:17 ‐ 124:4      R, P, Sp
November 17, 2020   Valley Tim DE 20201117    124:6 ‐ 124:16      R, P, Sp
November 17, 2020   Valley_Tim_DE_20201117    126:7 ‐ 126:16
November 17, 2020   Valley Tim DE 20201117    126:25 ‐ 127:6
November 17, 2020   Valley_Tim_DE_20201117    127:11 ‐ 127:24
November 17, 2020   Valley Tim DE 20201117    128:2 ‐ 128:8
November 17, 2020   Valley_Tim_DE_20201117    128:11 ‐ 128:17
November 17, 2020   Valley Tim DE 20201117    128:20 ‐ 128:22
November 17 2020    Valley_Tim_DE_20201117    128:23 ‐ 129:2
November 17, 2020   Valley Tim DE 20201117    132:19 ‐ 133:11     V, C
November 17, 2020   Valley Tim DE 20201117    133:14 ‐ 133:19     V, C
November 17, 2020   Valley Tim DE 20201117    133:21 ‐ 133:22     V
November 17, 2020   Valley Tim DE 20201117    134:20 ‐ 135:2      F

                                                                   67
                           Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 543 of 555 PageID #: 57394
November 17, 2020   Valley Tim DE 20201117    135:4 ‐ 135:9       F, L, H
November 17 2020    Valley_Tim_DE_20201117    135:12 ‐ 135:15     F L H
November 17, 2020   Valley Tim DE 20201117    136:5 ‐ 136:13      F
November 17, 2020   Valley Tim DE 20201117    136:16 ‐ 136:17     F
November 17, 2020   Valley Tim DE 20201117    136:18 ‐ 137:6      F, L
November 17, 2020   Valley Tim DE 20201117    138:14 ‐ 138:16     R, F, M
November 17, 2020   Valley Tim DE 20201117    138:25 ‐ 139:3      R, F, M, L
November 17, 2020   Valley Tim DE 20201117    139:6 ‐ 139:10      F, L, M, V
November 17, 2020   Valley Tim DE 20201117    139:13 ‐ 139:22     F, L, M, V
November 17, 2020   Valley Tim DE 20201117    139:24 ‐ 141:8      F, V, L
November 17, 2020   Valley_Tim_DE_20201117    141:10 ‐ 141:20
November 17, 2020   Valley Tim DE 20201117    141:22 ‐ 141:24
November 17, 2020   Valley_Tim_DE_20201117    148:24 ‐ 149:23     AA
November 17, 2020   Valley Tim DE 20201117    150:4 ‐ 150:10
November 17, 2020   Valley_Tim_DE_20201117    151:12 ‐ 152:7
November 17, 2020   Valley Tim DE 20201117    152:16 ‐ 152:25
November 17, 2020   Valley_Tim_DE_20201117    153:2 ‐ 154:11                           154:12‐15.
November 17, 2020   Valley Tim DE 20201117    154:25 ‐ 155:15
November 17, 2020   Valley_Tim_DE_20201117    155:16 ‐ 157:4
November 17, 2020   Valley Tim DE 20201117    157:7 ‐ 157:20      Sp, V
November 17, 2020   Valley_Tim_DE_20201117    159:10 ‐ 159:20     F, R, V
November 17, 2020   Valley Tim DE 20201117    161:13 ‐ 161:18     Sp                   161:21‐24
November 17, 2020   Valley_Tim_DE_20201117    161:25 ‐ 162:17     Sp                   161:21‐24
November 17, 2020   Valley Tim DE 20201117    165:9 ‐ 165:13
November 17, 2020   Valley_Tim_DE_20201117    165:14 ‐ 166:24
November 17, 2020   Valley Tim DE 20201117    167:15 ‐ 168:14     F, AA                168:15‐18
November 17 2020    Valley_Tim_DE_20201117    169:12 ‐ 170:9                           168:15‐18
November 17, 2020   Valley Tim DE 20201117    170:20 ‐ 171:7
November 17, 2020   Valley Tim DE 20201117    172:18 ‐ 173:4
November 17, 2020   Valley Tim DE 20201117    173:6 ‐ 173:20
November 17, 2020   Valley Tim DE 20201117    176:17 ‐ 177:10
November 17, 2020   Valley Tim DE 20201117    178:3 ‐ 179:4
November 17, 2020   Valley Tim DE 20201117    179:20 ‐ 180:7
November 17, 2020   Valley Tim DE 20201117    181:8 ‐ 181:15
November 17, 2020   Valley Tim DE 20201117    182:10 ‐ 183:18
November 17, 2020   Valley_Tim_DE_20201117    185:9 ‐ 186:8
November 17, 2020   Valley Tim DE 20201117    186:20 ‐ 187:7
November 17, 2020   Valley_Tim_DE_20201117    187:24 ‐ 189:4
November 17, 2020   Valley Tim DE 20201117    190:2 ‐ 190:19
November 17, 2020   Valley_Tim_DE_20201117    191:9 ‐ 191:16
November 17, 2020   Valley Tim DE 20201117    191:24 ‐ 193:24     R, P
November 17, 2020   Valley_Tim_DE_20201117    196:14 ‐ 196:19
November 17, 2020   Valley Tim DE 20201117    196:21 ‐ 197:9
November 17, 2020   Valley_Tim_DE_20201117    197:11 ‐ 198:25     V
November 17, 2020   Valley Tim DE 20201117    199:2 ‐ 199:9
November 17, 2020   Valley_Tim_DE_20201117    199:11 ‐ 199:22
November 17, 2020   Valley Tim DE 20201117    200:9 ‐ 200:18      V, R, P
November 17, 2020   Valley_Tim_DE_20201117    200:20 ‐ 200:23
November 17, 2020   Valley Tim DE 20201117    204:20 ‐ 204:22     V, P, R
November 17, 2020   Valley_Tim_DE_20201117    204:25 ‐ 205:4
November 17, 2020   Valley Tim DE 20201117    206:3 ‐ 206:25      P, R, V, AA
November 17 2020    Valley_Tim_DE_20201117    207:2 ‐ 207:7       P R V
November 17, 2020   Valley Tim DE 20201117    207:9 ‐ 207:18      P, R, V
November 17, 2020   Valley Tim DE 20201117    208:6 ‐ 209:10      P, R, V
November 17, 2020   Valley Tim DE 20201117    209:22 ‐ 210:19
November 17, 2020   Valley Tim DE 20201117    211:18 ‐ 212:17

                                                                   68
                           Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 544 of 555 PageID #: 57395
November 17, 2020   Valley Tim DE 20201117     212:18 ‐ 212:19
November 17 2020    Valley_Tim_DE_20201117     212:22 ‐ 212:24
November 17, 2020   Valley Tim DE 20201117     214:13 ‐ 215:16    AA, V
November 17, 2020   Valley Tim DE 20201117     215:17 ‐ 215:19
November 17, 2020   Valley Tim DE 20201117     215:21 ‐ 215:25
November 17, 2020   Valley Tim DE 20201117     216:3 ‐ 216:20     F, V, Sp
November 17, 2020   Valley Tim DE 20201117     216:21 ‐ 217:18    F, V
November 17, 2020   Valley Tim DE 20201117     217:21 ‐ 218:2
November 17, 2020   Valley Tim DE 20201117     218:5 ‐ 218:7
November 17, 2020   Valley Tim DE 20201117     219:3 ‐ 219:22     F, V
November 17, 2020   Valley_Tim_DE_20201117     219:25 ‐ 220:13
November 17, 2020   Valley Tim DE 20201117     220:16 ‐ 220:20    V
November 17, 2020   Valley_Tim_DE_20201117     220:23 ‐ 221:13    AF, F, AA
November 17, 2020   Valley Tim DE 20201117     221:15 ‐ 221:20    AA
November 17, 2020   Valley_Tim_DE_20201117     221:22 ‐ 225:4     AA
November 17, 2020   Valley Tim DE 20201117     225:7 ‐ 225:20
November 17, 2020   Valley_Tim_DE_20201117     225:23 ‐ 226:25    V, M
November 17, 2020   Valley Tim DE 20201117     228:2 ‐ 228:15     R, P
November 17, 2020   Valley_Tim_DE_20201117     229:3 ‐ 229:11
November 17, 2020   Valley Tim DE 20201117     229:13 ‐ 231:4
November 17, 2020   Valley_Tim_DE_20201117     231:6 ‐ 231:15
November 17, 2020   Valley Tim DE 20201117     231:17 ‐ 231:21
November 17, 2020   Valley_Tim_DE_20201117     231:23 ‐ 232:7     Sp, AF
November 17, 2020   Valley Tim DE 20201117     232:9 ‐ 233:3      V
November 17, 2020   Valley_Tim_DE_20201117     233:5 ‐ 233:8
November 17, 2020   Valley Tim DE 20201117     233:22 ‐ 234:24    F, V
November 17 2020    Valley_Tim_DE_20201117     235:15 ‐ 235:23
November 17, 2020   Valley Tim DE 20201117     235:24 ‐ 236:20
November 17, 2020   Valley Tim DE 20201117     238:2 ‐ 239:17     F
November 17, 2020   Valley Tim DE 20201117     240:6 ‐ 240:10     V, F
November 17, 2020   Valley Tim DE 20201117     242:9 ‐ 242:14     V, F
November 17, 2020   Valley Tim DE 20201117     244:2 ‐ 244:6
November 17, 2020   Valley Tim DE 20201117     244:7 ‐ 245:16
November 17, 2020   Valley Tim DE 20201117     246:17 ‐ 248:7     F, AA
November 17, 2020   Valley Tim DE 20201117     248:10 ‐ 248:15
November 17, 2020   Valley_Tim_DE_20201117     249:9 ‐ 250:6
November 17, 2020   Valley Tim DE 20201117     250:8 ‐ 250:13
November 17, 2020   Valley_Tim_DE_20201117     250:16 ‐ 251:2
November 17, 2020   Valley Tim DE 20201117     253:11 ‐ 256:20    V
November 17, 2020   Valley_Tim_DE_20201117     258:20 ‐ 258:22
November 17, 2020   Valley Tim DE 20201117     259:2 ‐ 259:9
November 17, 2020   Valley_Tim_DE_20201117     260:17 ‐ 262:19    F, V
November 17, 2020   Valley Tim DE 20201117     262:22 ‐ 262:25
June 24, 2020       Wiggins_Chad_DE_20200624   8:25 ‐ 9:4
June 24, 2020       Wiggins Chad DE 20200624   9:11 ‐ 10:5                             10:6‐16
June 24, 2020       Wiggins_Chad_DE_20200624   21:2 ‐ 21:8
June 24, 2020       Wiggins Chad DE 20200624   23:6 ‐ 23:13
June 24, 2020       Wiggins_Chad_DE_20200624   23:16 ‐ 23:20
June 24, 2020       Wiggins Chad DE 20200624   58:11 ‐ 61:8
June 24, 2020       Wiggins_Chad_DE_20200624   61:9 ‐ 61:20
June 24, 2020       Wiggins Chad DE 20200624   61:23 ‐ 62:9       V, M
June 24 2020        Wiggins_Chad_DE_20200624   76:19 ‐ 76:23
June 24, 2020       Wiggins Chad DE 20200624   76:24 ‐ 77:3       AF
June 24, 2020       Wiggins Chad DE 20200624   90:19 ‐ 90:24
June 24, 2020       Wiggins Chad DE 20200624   90:25 ‐ 91:23                           91:24‐92:5
June 24, 2020       Wiggins Chad DE 20200624   98:22 ‐ 100:10

                                                                   69
                           Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 545 of 555 PageID #: 57396
June 24, 2020       Wiggins Chad DE 20200624   100:13 ‐ 100:24
June 24 2020        Wiggins_Chad_DE_20200624   107:20 ‐ 107:24
June 24, 2020       Wiggins Chad DE 20200624   107:6 ‐ 107:8
June 24, 2020       Wiggins Chad DE 20200624   107:11 ‐ 107:19
December 19, 2017   Wiggins Chad IL 20171219   12:7 ‐ 12:25
December 19, 2017   Wiggins Chad IL 20171219   15:18 ‐ 15:21
December 19, 2017   Wiggins Chad IL 20171219   16:16 ‐ 17:2
December 19, 2017   Wiggins Chad IL 20171219   36:23 ‐ 36:25
December 19, 2017   Wiggins Chad IL 20171219   37:2 ‐ 37:12
December 19, 2017   Wiggins Chad IL 20171219   38:4 ‐ 38:8
December 19, 2017   Wiggins_Chad_IL_20171219   39:25 ‐ 39:25
December 19, 2017   Wiggins Chad IL 20171219   40:2 ‐ 40:8
December 19, 2017   Wiggins_Chad_IL_20171219   42:19 ‐ 42:22
December 19, 2017   Wiggins Chad IL 20171219   43:13 ‐ 43:16
December 19, 2017   Wiggins_Chad_IL_20171219   45:18 ‐ 45:24
December 19, 2017   Wiggins Chad IL 20171219   46:24 ‐ 46:25
December 19, 2017   Wiggins_Chad_IL_20171219   47:2 ‐ 47:17
December 19, 2017   Wiggins Chad IL 20171219   47:23 ‐ 47:25
December 19, 2017   Wiggins_Chad_IL_20171219   48:2 ‐ 48:14
December 19, 2017   Wiggins Chad IL 20171219   50:5 ‐ 50:14
December 19, 2017   Wiggins_Chad_IL_20171219   57:19 ‐ 58:6       R
December 19, 2017   Wiggins Chad IL 20171219   60:20 ‐ 60:25      R
December 19, 2017   Wiggins_Chad_IL_20171219   61:2 ‐ 61:23       R                    61:24‐62:5
December 19, 2017   Wiggins Chad IL 20171219   62:6 ‐ 62:9        R
December 19, 2017   Wiggins_Chad_IL_20171219   62:12 ‐ 62:25      R
December 19, 2017   Wiggins Chad IL 20171219   63:15 ‐ 63:18      R
December 19 2017    Wiggins_Chad_IL_20171219   65:3 ‐ 65:6        R
December 19, 2017   Wiggins Chad IL 20171219   65:7 ‐ 65:9        R, H, V
December 19, 2017   Wiggins Chad IL 20171219   65:14 ‐ 65:25      R, H, V
December 19, 2017   Wiggins Chad IL 20171219   66:12 ‐ 66:15
December 19, 2017   Wiggins Chad IL 20171219   66:17 ‐ 66:25
December 19, 2017   Wiggins Chad IL 20171219   67:2 ‐ 67:6
December 19, 2017   Wiggins Chad IL 20171219   68:9 ‐ 68:17
December 19, 2017   Wiggins Chad IL 20171219   68:24 ‐ 68:25
December 19, 2017   Wiggins Chad IL 20171219   69:5 ‐ 69:25
December 19, 2017   Wiggins_Chad_IL_20171219   69:2 ‐ 69:3
December 19, 2017   Wiggins Chad IL 20171219   70:2 ‐ 70:11
December 19, 2017   Wiggins_Chad_IL_20171219   70:14 ‐ 70:25
December 19, 2017   Wiggins Chad IL 20171219   71:2 ‐ 71:7
December 19, 2017   Wiggins_Chad_IL_20171219   71:9 ‐ 71:25
December 19, 2017   Wiggins Chad IL 20171219   72:2 ‐ 72:3
December 19, 2017   Wiggins_Chad_IL_20171219   72:21 ‐ 72:24
December 19, 2017   Wiggins Chad IL 20171219   84:6 ‐ 84:21
December 19, 2017   Wiggins_Chad_IL_20171219   85:7 ‐ 85:25
December 19, 2017   Wiggins Chad IL 20171219   86:2 ‐ 86:20
December 19, 2017   Wiggins_Chad_IL_20171219   86:21 ‐ 86:24
December 19, 2017   Wiggins Chad IL 20171219   87:2 ‐ 87:20
December 19, 2017   Wiggins_Chad_IL_20171219   87:22 ‐ 87:25
December 19, 2017   Wiggins Chad IL 20171219   88:12 ‐ 88:23
December 19, 2017   Wiggins_Chad_IL_20171219   89:11 ‐ 89:25      R
December 19, 2017   Wiggins Chad IL 20171219   90:2 ‐ 90:4        R
December 19 2017    Wiggins_Chad_IL_20171219   90:23 ‐ 90:25      R
December 19, 2017   Wiggins Chad IL 20171219   91:2 ‐ 91:7        R
December 19, 2017   Wiggins Chad IL 20171219   91:11 ‐ 91:17      R
December 19, 2017   Wiggins Chad IL 20171219   92:12 ‐ 92:15      R
December 19, 2017   Wiggins Chad IL 20171219   92:21 ‐ 92:25      R

                                                                   70
                           Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 546 of 555 PageID #: 57397
December 19, 2017   Wiggins Chad IL 20171219   93:2 ‐ 93:17       R
December 19 2017    Wiggins_Chad_IL_20171219   93:24 ‐ 93:25      R
December 19, 2017   Wiggins Chad IL 20171219   94:2 ‐ 94:16       R
December 19, 2017   Wiggins Chad IL 20171219   94:20 ‐ 94:20      R
December 19, 2017   Wiggins Chad IL 20171219   95:2 ‐ 95:21       R
December 19, 2017   Wiggins Chad IL 20171219   95:24 ‐ 95:25      R
December 19, 2017   Wiggins Chad IL 20171219   96:2 ‐ 96:12       R
December 19, 2017   Wiggins Chad IL 20171219   96:15 ‐ 96:17      R
December 19, 2017   Wiggins Chad IL 20171219   96:25 ‐ 96:25      R
December 19, 2017   Wiggins Chad IL 20171219   97:2 ‐ 97:9        R
December 19, 2017   Wiggins_Chad_IL_20171219   97:11 ‐ 97:13      R
December 19, 2017   Wiggins Chad IL 20171219   97:15 ‐ 97:17      R
December 19, 2017   Wiggins_Chad_IL_20171219   98:11 ‐ 98:17      R
December 19, 2017   Wiggins Chad IL 20171219   98:20 ‐ 98:25      R
December 19, 2017   Wiggins_Chad_IL_20171219   99:2 ‐ 99:25       R
December 19, 2017   Wiggins Chad IL 20171219   100:4 ‐ 100:14     R
December 19, 2017   Wiggins_Chad_IL_20171219   100:17 ‐ 100:19    R
December 19, 2017   Wiggins Chad IL 20171219   101:13 ‐ 101:15    R
December 19, 2017   Wiggins_Chad_IL_20171219   101:18 ‐ 101:18    R
December 19, 2017   Wiggins Chad IL 20171219   105:5 ‐ 105:15     R
December 19, 2017   Wiggins_Chad_IL_20171219   110:18 ‐ 110:25    R
December 19, 2017   Wiggins Chad IL 20171219   111:7 ‐ 111:12     R
December 19, 2017   Wiggins_Chad_IL_20171219   111:2 ‐ 111:4      R
December 19, 2017   Wiggins Chad IL 20171219   118:4 ‐ 118:4      R
December 19, 2017   Wiggins_Chad_IL_20171219   118:9 ‐ 118:13     R
December 19, 2017   Wiggins Chad IL 20171219   118:16 ‐ 118:23    R
December 19 2017    Wiggins_Chad_IL_20171219   121:22 ‐ 121:25    Sp
December 19, 2017   Wiggins Chad IL 20171219   122:5 ‐ 122:23     Sp
December 19, 2017   Wiggins Chad IL 20171219   123:2 ‐ 123:7      Sp
December 19, 2017   Wiggins Chad IL 20171219   123:9 ‐ 123:9      Sp
December 19, 2017   Wiggins Chad IL 20171219   123:12 ‐ 123:14    Sp
December 19, 2017   Wiggins Chad IL 20171219   123:17 ‐ 123:17    Sp                   123:18‐124:6
December 19, 2017   Wiggins Chad IL 20171219   124:7 ‐ 124:13     Sp, V
December 19, 2017   Wiggins Chad IL 20171219   125:10 ‐ 126:5     R
December 19, 2017   Wiggins Chad IL 20171219   126:7 ‐ 126:11     R
December 19, 2017   Wiggins_Chad_IL_20171219   126:15 ‐ 126:25    R
December 19, 2017   Wiggins Chad IL 20171219   127:7 ‐ 127:12     R
December 19, 2017   Wiggins_Chad_IL_20171219   134:20 ‐ 134:21    R
December 19, 2017   Wiggins Chad IL 20171219   135:2 ‐ 135:4      R, F
December 19, 2017   Wiggins_Chad_IL_20171219   137:2 ‐ 137:3      R
December 19, 2017   Wiggins Chad IL 20171219   140:13 ‐ 140:25    R
December 19, 2017   Wiggins_Chad_IL_20171219   141:5 ‐ 141:14     R
December 19, 2017   Wiggins Chad IL 20171219   143:14 ‐ 143:25    R
December 19, 2017   Wiggins_Chad_IL_20171219   144:2 ‐ 144:9      R
December 19, 2017   Wiggins Chad IL 20171219   144:12 ‐ 144:25    R
December 19, 2017   Wiggins_Chad_IL_20171219   145:2 ‐ 145:11     R
December 19, 2017   Wiggins Chad IL 20171219   146:24 ‐ 146:25    R, H, Sp
December 19, 2017   Wiggins_Chad_IL_20171219   146:15 ‐ 146:20    R, H, Sp
December 19, 2017   Wiggins Chad IL 20171219   147:2 ‐ 147:7      R, H, Sp
December 19, 2017   Wiggins_Chad_IL_20171219   147:10 ‐ 147:13    R
December 19, 2017   Wiggins Chad IL 20171219   148:7 ‐ 148:13     R
December 19 2017    Wiggins_Chad_IL_20171219   149:6 ‐ 149:14     R
December 19, 2017   Wiggins Chad IL 20171219   151:22 ‐ 151:25    R
December 19, 2017   Wiggins Chad IL 20171219   152:5 ‐ 152:9      R
December 19, 2017   Wiggins Chad IL 20171219   152:2 ‐ 152:2      R
December 19, 2017   Wiggins Chad IL 20171219   153:23 ‐ 153:25    R

                                                                   71
                           Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 547 of 555 PageID #: 57398
December 19, 2017   Wiggins Chad IL 20171219   153:19 ‐ 153:20    R
December 19 2017    Wiggins_Chad_IL_20171219   154:3 ‐ 154:5      R
December 19, 2017   Wiggins Chad IL 20171219   155:2 ‐ 155:8      R
December 19, 2017   Wiggins Chad IL 20171219   155:14 ‐ 155:25    R
December 19, 2017   Wiggins Chad IL 20171219   156:17 ‐ 156:20    R
December 19, 2017   Wiggins Chad IL 20171219   156:10 ‐ 156:15    R
December 19, 2017   Wiggins Chad IL 20171219   156:25 ‐ 156:25    R
December 19, 2017   Wiggins Chad IL 20171219   157:2 ‐ 157:6      R
December 19, 2017   Wiggins Chad IL 20171219   157:13 ‐ 157:25    R
December 19, 2017   Wiggins Chad IL 20171219   158:2 ‐ 158:14     R
December 19, 2017   Wiggins_Chad_IL_20171219   158:17 ‐ 158:20    R
December 19, 2017   Wiggins Chad IL 20171219   160:16 ‐ 160:22    R
December 19, 2017   Wiggins_Chad_IL_20171219   160:25 ‐ 161:8     R
December 19, 2017   Wiggins Chad IL 20171219   162:17 ‐ 162:25    R
December 19, 2017   Wiggins_Chad_IL_20171219   163:2 ‐ 163:5      R
December 19, 2017   Wiggins Chad IL 20171219   163:8 ‐ 163:14     R
December 19, 2017   Wiggins_Chad_IL_20171219   165:14 ‐ 165:18    R
December 19, 2017   Wiggins Chad IL 20171219   166:18 ‐ 166:25    R
December 19, 2017   Wiggins_Chad_IL_20171219   167:2 ‐ 167:10     R
December 19, 2017   Wiggins Chad IL 20171219   169:9 ‐ 169:19     R
December 19, 2017   Wiggins_Chad_IL_20171219   170:2 ‐ 170:6      R
December 19, 2017   Wiggins Chad IL 20171219   170:9 ‐ 170:10     R
December 19, 2017   Wiggins_Chad_IL_20171219   170:12 ‐ 170:14    R
December 19, 2017   Wiggins Chad IL 20171219   173:11 ‐ 173:13    R
December 19, 2017   Wiggins_Chad_IL_20171219   173:3 ‐ 173:8      R
December 19, 2017   Wiggins Chad IL 20171219   173:17 ‐ 173:24    R
December 19 2017    Wiggins_Chad_IL_20171219   179:23 ‐ 179:25    R
December 19, 2017   Wiggins Chad IL 20171219   180:2 ‐ 180:2      R
December 19, 2017   Wiggins Chad IL 20171219   181:20 ‐ 181:25    R
December 19, 2017   Wiggins Chad IL 20171219   182:2 ‐ 182:14     R
December 19, 2017   Wiggins Chad IL 20171219   199:7 ‐ 199:14     R
December 19, 2017   Wiggins Chad IL 20171219   201:7 ‐ 201:10     R
December 19, 2017   Wiggins Chad IL 20171219   208:15 ‐ 208:25    R
December 19, 2017   Wiggins Chad IL 20171219   209:2 ‐ 209:6      R
December 19, 2017   Wiggins Chad IL 20171219   209:11 ‐ 209:25    R
December 19, 2017   Wiggins_Chad_IL_20171219   210:2 ‐ 210:11     R
December 19, 2017   Wiggins Chad IL 20171219   210:19 ‐ 210:25    R
December 19, 2017   Wiggins_Chad_IL_20171219   212:12 ‐ 212:13    R
December 19, 2017   Wiggins Chad IL 20171219   213:13 ‐ 213:19    R
December 19, 2017   Wiggins_Chad_IL_20171219   214:5 ‐ 214:11     R
December 19, 2017   Wiggins Chad IL 20171219   215:7 ‐ 215:19     V, Sp, R             215:2‐6
December 19, 2017   Wiggins_Chad_IL_20171219   216:3 ‐ 216:13     R
December 19, 2017   Wiggins Chad IL 20171219   217:20 ‐ 217:25    R
December 19, 2017   Wiggins_Chad_IL_20171219   218:2 ‐ 218:7      R
December 19, 2017   Wiggins Chad IL 20171219   219:6 ‐ 219:19     R
December 19, 2017   Wiggins_Chad_IL_20171219   220:9 ‐ 220:14     R
December 19, 2017   Wiggins Chad IL 20171219   220:16 ‐ 220:19    R
December 19, 2017   Wiggins_Chad_IL_20171219   221:11 ‐ 221:12    R
December 19, 2017   Wiggins Chad IL 20171219   221:22 ‐ 221:25    R, AA                221:14‐18
December 19, 2017   Wiggins_Chad_IL_20171219   222:2 ‐ 222:4      R
December 19, 2017   Wiggins Chad IL 20171219   235:21 ‐ 235:22
December 19 2017    Wiggins_Chad_IL_20171219   236:5 ‐ 236:9      Sp
December 19, 2017   Wiggins Chad IL 20171219   240:4 ‐ 240:8                           240:9‐14, 18‐21
December 19, 2017   Wiggins Chad IL 20171219   240:22 ‐ 240:25                         240:9‐14, 18‐21
December 19, 2017   Wiggins Chad IL 20171219   241:3 ‐ 241:9
December 19, 2017   Wiggins Chad IL 20171219   241:2 ‐ 241:2

                                                                   72
                           Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 548 of 555 PageID #: 57399
December 19, 2017   Wiggins Chad IL 20171219   241:21 ‐ 241:23
December 19 2017    Wiggins_Chad_IL_20171219   241:14 ‐ 241:19
December 19, 2017   Wiggins Chad IL 20171219   241:10 ‐ 241:11
December 19, 2017   Wiggins Chad IL 20171219   275:11 ‐ 275:25                         273:23‐275:4
December 19, 2017   Wiggins Chad IL 20171219   275:5 ‐ 275:7                           273:23‐275:4
December 19, 2017   Wiggins Chad IL 20171219   276:2 ‐ 276:25
December 19, 2017   Wiggins Chad IL 20171219   277:2 ‐ 277:19
December 19, 2017   Wiggins Chad IL 20171219   279:15 ‐ 279:25
December 19, 2017   Wiggins Chad IL 20171219   280:2 ‐ 280:3
December 19, 2017   Wiggins Chad IL 20171219   280:7 ‐ 280:7
December 19, 2017   Wiggins_Chad_IL_20171219   280:18 ‐ 280:22
December 19, 2017   Wiggins Chad IL 20171219   281:3 ‐ 281:7      Sp, H
December 19, 2017   Wiggins_Chad_IL_20171219   281:10 ‐ 281:11    Sp, H
December 19, 2017   Wiggins Chad IL 20171219   282:6 ‐ 282:14     V, Sp, R
December 19, 2017   Wiggins_Chad_IL_20171219   282:18 ‐ 282:25                         283:5‐17
December 19, 2017   Wiggins Chad IL 20171219   283:18 ‐ 283:19                         283:5‐17
December 19, 2017   Wiggins_Chad_IL_20171219   283:2 ‐ 283:4                           283:5‐17
December 19, 2017   Wiggins Chad IL 20171219   285:23 ‐ 285:25
December 19, 2017   Wiggins_Chad_IL_20171219   286:2 ‐ 286:4
December 19, 2017   Wiggins Chad IL 20171219   289:24 ‐ 289:25
December 19, 2017   Wiggins_Chad_IL_20171219   290:2 ‐ 290:4
December 19, 2017   Wiggins Chad IL 20171219   291:6 ‐ 291:11
December 19, 2017   Wiggins_Chad_IL_20171219   291:17 ‐ 291:22
December 19, 2017   Wiggins Chad IL 20171219   293:21 ‐ 293:25    R
December 19, 2017   Wiggins_Chad_IL_20171219   294:2 ‐ 294:3      R
December 19, 2017   Wiggins Chad IL 20171219   294:6 ‐ 294:25     R
December 19 2017    Wiggins_Chad_IL_20171219   295:2 ‐ 295:25     R
December 19, 2017   Wiggins Chad IL 20171219   296:2 ‐ 296:25     R
December 19, 2017   Wiggins Chad IL 20171219   297:2 ‐ 297:9      R
November 1, 2018    Wiggins Chad IL 20181101   8:25 ‐ 8:25
November 1, 2018    Wiggins Chad IL 20181101   9:2 ‐ 9:24
November 1, 2018    Wiggins Chad IL 20181101   47:22 ‐ 47:25      R
November 1, 2018    Wiggins Chad IL 20181101   48:2 ‐ 48:25       R
November 1, 2018    Wiggins Chad IL 20181101   49:2 ‐ 49:3        R
November 1, 2018    Wiggins Chad IL 20181101   70:10 ‐ 70:20      Sp                   70:25‐71:2; 71:19‐72:12
November 1, 2018    Wiggins_Chad_IL_20181101   71:3 ‐ 71:4        Sp, AA               70:25‐71:2; 71:19‐72:12
November 1, 2018    Wiggins Chad IL 20181101   71:7 ‐ 71:9                             70:25‐71:2; 71:19‐72:12
November 1, 2018    Wiggins_Chad_IL_20181101   71:12 ‐ 71:17                           70:25‐71:2; 71:19‐72:12
November 1, 2018    Wiggins Chad IL 20181101   72:13 ‐ 72:14      V
November 1, 2018    Wiggins_Chad_IL_20181101   72:16 ‐ 72:25      V
November 1, 2018    Wiggins Chad IL 20181101   73:14 ‐ 73:17                           73:18‐25
November 1, 2018    Wiggins_Chad_IL_20181101   93:21 ‐ 93:25
November 1, 2018    Wiggins Chad IL 20181101   94:2 ‐ 94:4
November 1, 2018    Wiggins_Chad_IL_20181101   94:11 ‐ 94:15
November 1, 2018    Wiggins Chad IL 20181101   95:21 ‐ 95:24      M, V
November 1, 2018    Wiggins_Chad_IL_20181101   95:14 ‐ 95:17      M, V
November 1, 2018    Wiggins Chad IL 20181101   96:3 ‐ 96:6        V
November 1, 2018    Wiggins_Chad_IL_20181101   96:8 ‐ 96:13       V
November 1, 2018    Wiggins Chad IL 20181101   96:15 ‐ 96:18      M, V
November 1, 2018    Wiggins_Chad_IL_20181101   96:21 ‐ 96:25      M, V                 97:22‐98:3
November 1, 2018    Wiggins Chad IL 20181101   97:2 ‐ 97:3        M, V                 97:22‐98:3
November 1 2018     Wiggins_Chad_IL_20181101   101:24 ‐ 101:25
November 1, 2018    Wiggins Chad IL 20181101   102:5 ‐ 102:7
November 1, 2018    Wiggins Chad IL 20181101   102:2 ‐ 102:2
November 1, 2018    Wiggins Chad IL 20181101   102:9 ‐ 102:11
November 1, 2018    Wiggins Chad IL 20181101   102:13 ‐ 102:14

                                                                   73
                          Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 549 of 555 PageID #: 57400
November 1, 2018   Wiggins Chad IL 20181101   111:14 ‐ 111:23                         97:22‐98:3
November 1 2018    Wiggins_Chad_IL_20181101   118:22 ‐ 118:25    V
November 1, 2018   Wiggins Chad IL 20181101   118:19 ‐ 118:20    V, Sp
November 1, 2018   Wiggins Chad IL 20181101   118:13 ‐ 118:16    V, Sp
November 1, 2018   Wiggins Chad IL 20181101   119:9 ‐ 119:12     V
November 1, 2018   Wiggins Chad IL 20181101   119:2 ‐ 119:3      V
November 1, 2018   Wiggins Chad IL 20181101   119:5 ‐ 119:7      V
November 1, 2018   Wiggins Chad IL 20181101   119:18 ‐ 119:20    V                    119:21‐23
November 1, 2018   Wiggins Chad IL 20181101   119:13 ‐ 119:14    V
November 1, 2018   Wiggins Chad IL 20181101   119:25 ‐ 119:25    V
November 1, 2018   Wiggins_Chad_IL_20181101   120:2 ‐ 120:18     V                    120:19‐22
November 1, 2018   Wiggins Chad IL 20181101   122:8 ‐ 122:13
November 1, 2018   Wiggins_Chad_IL_20181101   122:17 ‐ 122:25
November 1, 2018   Wiggins Chad IL 20181101   123:2 ‐ 123:4
November 1, 2018   Wiggins_Chad_IL_20181101   124:14 ‐ 124:25    Sp
November 1, 2018   Wiggins Chad IL 20181101   125:2 ‐ 125:12     Sp
November 1, 2018   Wiggins_Chad_IL_20181101   125:16 ‐ 125:22    Sp, M
November 1, 2018   Wiggins Chad IL 20181101   153:2 ‐ 153:8                           153:9‐14
November 1, 2018   Wiggins_Chad_IL_20181101   159:19 ‐ 159:24    V                    160:5‐6, 9‐11
November 1, 2018   Wiggins Chad IL 20181101   160:2 ‐ 160:3      V                    160:5‐6, 9‐11
November 1, 2018   Wiggins_Chad_IL_20181101   168:15 ‐ 168:16    R
November 1, 2018   Wiggins Chad IL 20181101   168:19 ‐ 168:19    R
November 1, 2018   Wiggins_Chad_IL_20181101   171:18 ‐ 171:25    R, V
November 1, 2018   Wiggins Chad IL 20181101   172:2 ‐ 172:11     R, V
November 1, 2018   Wiggins_Chad_IL_20181101   172:12 ‐ 172:19    R, V
November 1, 2018   Wiggins Chad IL 20181101   191:17 ‐ 191:23
November 1 2018    Wiggins_Chad_IL_20181101   192:14 ‐ 192:25
November 1, 2018   Wiggins Chad IL 20181101   193:2 ‐ 193:10
November 1, 2018   Wiggins Chad IL 20181101   203:23 ‐ 203:25    Sp                   203:22
November 1, 2018   Wiggins Chad IL 20181101   203:14 ‐ 203:19    Sp
November 1, 2018   Wiggins Chad IL 20181101   204:2 ‐ 204:4
November 1, 2018   Wiggins Chad IL 20181101   211:16 ‐ 211:17
November 1, 2018   Wiggins Chad IL 20181101   212:11 ‐ 212:17
November 1, 2018   Wiggins Chad IL 20181101   217:14 ‐ 217:25
November 1, 2018   Wiggins Chad IL 20181101   218:2 ‐ 218:17     Sp, V
April 23, 2019     Wiggins_Chad_IL_20190423   8:23 ‐ 9:1
April 23, 2019     Wiggins Chad IL 20190423   12:19 ‐ 13:2
April 23, 2019     Wiggins_Chad_IL_20190423   25:15 ‐ 25:18
April 23, 2019     Wiggins Chad IL 20190423   35:18 ‐ 36:5
April 23, 2019     Wiggins_Chad_IL_20190423   37:14 ‐ 37:21
April 23, 2019     Wiggins Chad IL 20190423   50:13 ‐ 50:21      R, P
April 23, 2019     Wiggins_Chad_IL_20190423   134:23 ‐ 135:3
April 23, 2019     Wiggins Chad IL 20190423   138:12 ‐ 138:13
April 23, 2019     Wiggins_Chad_IL_20190423   138:15 ‐ 138:17
April 23, 2019     Wiggins Chad IL 20190423   149:23 ‐ 150:16
April 23, 2019     Wiggins_Chad_IL_20190423   150:18 ‐ 150:20
April 23, 2019     Wiggins Chad IL 20190423   150:22 ‐ 151:7
April 23, 2019     Wiggins_Chad_IL_20190423   163:7 ‐ 163:15
April 23, 2019     Wiggins Chad IL 20190423   192:13 ‐ 192:18
April 23, 2019     Wiggins_Chad_IL_20190423   198:12 ‐ 198:17    V                    198:17‐22
April 23, 2019     Wiggins Chad IL 20190423   200:7 ‐ 200:13
April 23 2019      Wiggins_Chad_IL_20190423   210:11 ‐ 211:11
April 23, 2019     Wiggins Chad IL 20190423   215:14 ‐ 215:22    AA, V
April 23, 2019     Wiggins Chad IL 20190423   216:5 ‐ 216:11     AA, V
April 23, 2019     Wiggins Chad IL 20190423   227:14 ‐ 228:3     V                    228:5‐12
April 23, 2019     Wiggins Chad IL 20190423   227:11 ‐ 227:12    V                    228:5‐12

                                                                  74
                          Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 550 of 555 PageID #: 57401
April 23, 2019     Wiggins Chad IL 20190423     255:14 ‐ 256:4
April 23 2019      Wiggins_Chad_IL_20190423     255:5 ‐ 255:8     R
April 23, 2019     Wiggins Chad IL 20190423     256:9 ‐ 256:12    R
November 6, 2020   Wiggins Chad IL 20201106     8:4 ‐ 8:7
November 6, 2020   Wiggins Chad IL 20201106     11:5 ‐ 11:16
November 6, 2020   Wiggins Chad IL 20201106     24:15 ‐ 24:16
November 6, 2020   Wiggins Chad IL 20201106     25:10 ‐ 26:2
November 6, 2020   Wiggins Chad IL 20201106     54:6 ‐ 54:15                          54:16‐20
November 6, 2020   Wiggins Chad IL 20201106     54:21 ‐ 55:14     R, P                54:16‐20
November 6, 2020   Wiggins Chad IL 20201106     59:5 ‐ 59:13      R, Sp, P
November 6, 2020   Wiggins_Chad_IL_20201106     64:9 ‐ 64:15      R
November 6, 2020   Wiggins Chad IL 20201106     70:1 ‐ 70:12      R, P
November 6, 2020   Wiggins_Chad_IL_20201106     70:15 ‐ 70:18     R, P
November 6, 2020   Wiggins Chad IL 20201106     70:22 ‐ 71:22     R, P
November 6, 2020   Wiggins_Chad_IL_20201106     72:16 ‐ 72:19     R, P
November 6, 2020   Wiggins Chad IL 20201106     72:23 ‐ 73:8      R, P
November 6, 2020   Wiggins_Chad_IL_20201106     73:9 ‐ 74:5       R, P
November 6, 2020   Wiggins Chad IL 20201106     74:8 ‐ 75:20      R, P
November 6, 2020   Wiggins_Chad_IL_20201106     75:23 ‐ 77:5      R, P
November 6, 2020   Wiggins Chad IL 20201106     79:10 ‐ 79:24     R, P
November 6, 2020   Wiggins_Chad_IL_20201106     89:14 ‐ 89:15     R, P
November 6, 2020   Wiggins Chad IL 20201106     91:6 ‐ 92:10      R, P
November 6, 2020   Wiggins_Chad_IL_20201106     93:1 ‐ 93:6       R, P
November 6, 2020   Wiggins Chad IL 20201106     93:19 ‐ 94:1      R, P
November 6, 2020   Wiggins_Chad_IL_20201106     94:14 ‐ 95:2      R, P
November 6, 2020   Wiggins Chad IL 20201106     99:11 ‐ 99:16     R, P
November 6 2020    Wiggins_Chad_IL_20201106     108:2 ‐ 108:15    R P
November 6, 2020   Wiggins Chad IL 20201106     111:23 ‐ 112:9    R, P
November 6, 2020   Wiggins Chad IL 20201106     113:1 ‐ 114:3     V
November 6, 2020   Wiggins Chad IL 20201106     114:15 ‐ 115:7    V
November 6, 2020   Wiggins Chad IL 20201106     117:10 ‐ 117:15   V
November 6, 2020   Wiggins Chad IL 20201106     117:22 ‐ 117:23   V
November 6, 2020   Wiggins Chad IL 20201106     118:22 ‐ 118:24
November 6, 2020   Wiggins Chad IL 20201106     119:6 ‐ 119:21    M, AA, V            120:3‐16
November 6, 2020   Wiggins Chad IL 20201106     119:24 ‐ 120:2    M, AA, V            120:3‐16
November 6, 2020   Wiggins_Chad_IL_20201106     133:1 ‐ 133:7
November 6, 2020   Wiggins Chad IL 20201106     134:16 ‐ 135:1    R, P
November 6, 2020   Wiggins_Chad_IL_20201106     143:9 ‐ 144:5     R, P
June 23, 2020      Wilson Michael DE 20200623   5:2 ‐ 5:8
June 23, 2020      Wilson_Michael_DE_20200623   7:12 ‐ 8:15
June 23, 2020      Wilson Michael DE 20200623   8:17 ‐ 10:8
June 23, 2020      Wilson_Michael_DE_20200623   10:11 ‐ 11:7
June 23, 2020      Wilson Michael DE 20200623   11:9 ‐ 13:6
June 23, 2020      Wilson_Michael_DE_20200623   22:8 ‐ 22:14                          22:8‐27:12
June 23, 2020      Wilson Michael DE 20200623   26:2 ‐ 26:8
June 23, 2020      Wilson_Michael_DE_20200623   36:19 ‐ 36:21                         35:2‐37:19
June 23, 2020      Wilson Michael DE 20200623   37:12 ‐ 37:19
June 23, 2020      Wilson_Michael_DE_20200623   37:1 ‐ 37:10
June 23, 2020      Wilson Michael DE 20200623   63:4 ‐ 63:9       V, Sp               61:19‐64:9
June 23, 2020      Wilson_Michael_DE_20200623   63:11 ‐ 64:3      V, Sp
June 23, 2020      Wilson Michael DE 20200623   64:6 ‐ 64:9       V, Sp
June 23 2020       Wilson_Michael_DE_20200623   73:21 ‐ 73:22                         72:11‐74:10
June 23, 2020      Wilson Michael DE 20200623   74:4 ‐ 74:10
June 23, 2020      Wilson Michael DE 20200623   75:4 ‐ 75:10
June 23, 2020      Wilson Michael DE 20200623   80:2 ‐ 80:22
June 23, 2020      Wilson Michael DE 20200623   81:3 ‐ 81:9                           81:3‐82:5

                                                                   75
                         Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 551 of 555 PageID #: 57402
June 23, 2020     Wilson Michael DE 20200623   83:1 ‐ 85:1
June 23 2020      Wilson_Michael_DE_20200623   85:3 ‐ 85:5
June 23, 2020     Wilson Michael DE 20200623   85:12 ‐ 86:11                         85:12‐87:2
June 23, 2020     Wilson Michael DE 20200623   87:15 ‐ 89:1      R, V, Sp
June 23, 2020     Wilson Michael DE 20200623   89:4 ‐ 89:7
June 23, 2020     Wilson Michael DE 20200623   90:7 ‐ 90:11      R, V, Sp
June 23, 2020     Wilson Michael DE 20200623   90:14 ‐ 90:18                         90:14‐91:13
August 14, 2020   Wolffe Ed DE 20200814        5:1 ‐ 5:11
August 14, 2020   Wolffe Ed DE 20200814        7:11 ‐ 7:25
August 14, 2020   Wolffe Ed DE 20200814        8:1 ‐ 10:18
August 14, 2020   Wolffe_Ed_DE_20200814        10:19 ‐ 13:6
August 14, 2020   Wolffe Ed DE 20200814        16:14 ‐ 16:17
August 14, 2020   Wolffe_Ed_DE_20200814        16:19 ‐ 17:5
August 14, 2020   Wolffe Ed DE 20200814        17:6 ‐ 17:23
August 14, 2020   Wolffe_Ed_DE_20200814        23:19 ‐ 23:22
August 14, 2020   Wolffe Ed DE 20200814        23:24 ‐ 24:4
August 14, 2020   Wolffe_Ed_DE_20200814        24:6 ‐ 24:19
August 14, 2020   Wolffe Ed DE 20200814        67:9 ‐ 67:25                          68:7‐71:12
August 14, 2020   Wolffe_Ed_DE_20200814        70:4 ‐ 70:12
August 14, 2020   Wolffe Ed DE 20200814        77:17 ‐ 77:24                         77:17‐78:6
August 14, 2020   Wolffe_Ed_DE_20200814        78:7 ‐ 78:11                          78:23‐79:16
August 14, 2020   Wolffe Ed DE 20200814        78:12 ‐ 78:22                         78:23‐79:16
August 14, 2020   Wolffe_Ed_DE_20200814        98:14 ‐ 99:10
August 14, 2020   Wolffe Ed DE 20200814        100:4 ‐ 102:11
August 14, 2020   Wolffe_Ed_DE_20200814        102:16 ‐ 103:20
May 15, 2020      Yates Glenn DE 20200515      6:7 ‐ 8:11
May 15 2020       Yates_Glenn_DE_20200515      9:5 ‐ 10:1
May 15, 2020      Yates Glenn DE 20200515      10:7 ‐ 11:6
May 15, 2020      Yates Glenn DE 20200515      11:22 ‐ 12:12                         11:22 ‐ 12:25
May 15, 2020      Yates Glenn DE 20200515      13:1 ‐ 14:25
May 15, 2020      Yates Glenn DE 20200515      15:2 ‐ 15:6                           15:2 ‐ 15:25
May 15, 2020      Yates Glenn DE 20200515      24:5 ‐ 24:9
May 15, 2020      Yates Glenn DE 20200515      24:11 ‐ 24:19
May 15, 2020      Yates Glenn DE 20200515      25:7 ‐ 25:12
May 15, 2020      Yates Glenn DE 20200515      30:7 ‐ 30:21                          30:7 ‐ 30:25
May 15, 2020      Yates_Glenn_DE_20200515      31:1 ‐ 31:4
May 15, 2020      Yates Glenn DE 20200515      31:6 ‐ 31:8
May 15, 2020      Yates_Glenn_DE_20200515      35:15 ‐ 36:9                          35:15 ‐ 36:19
May 15, 2020      Yates Glenn DE 20200515      37:1 ‐ 37:24                          37:1 ‐ 39:25
May 15, 2020      Yates_Glenn_DE_20200515      48:9 ‐ 50:22
May 15, 2020      Yates Glenn DE 20200515      56:8 ‐ 56:22      F, L
May 15, 2020      Yates_Glenn_DE_20200515      56:24 ‐ 57:1      F, L
May 15, 2020      Yates Glenn DE 20200515      57:20 ‐ 58:10     F, L
May 15, 2020      Yates_Glenn_DE_20200515      58:12 ‐ 58:12     F, L
May 15, 2020      Yates Glenn DE 20200515      60:15 ‐ 61:10     F, L
May 15, 2020      Yates_Glenn_DE_20200515      61:13 ‐ 61:13     F, L
May 15, 2020      Yates Glenn DE 20200515      64:7 ‐ 64:20
May 15, 2020      Yates_Glenn_DE_20200515      65:24 ‐ 67:3
May 15, 2020      Yates Glenn DE 20200515      72:19 ‐ 73:5      F, L
May 15, 2020      Yates_Glenn_DE_20200515      73:11 ‐ 73:17     F, L
May 15, 2020      Yates Glenn DE 20200515      73:7 ‐ 73:8       F, L
May 15 2020       Yates_Glenn_DE_20200515      76:8 ‐ 77:1
May 15, 2020      Yates Glenn DE 20200515      81:4 ‐ 81:16
May 15, 2020      Yates Glenn DE 20200515      82:18 ‐ 83:20
May 15, 2020      Yates Glenn DE 20200515      83:24 ‐ 84:5
May 15, 2020      Yates Glenn DE 20200515      84:10 ‐ 84:18

                                                                  76
                      Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 552 of 555 PageID #: 57403
May 15, 2020   Yates Glenn DE 20200515   87:11 ‐ 87:22
May 15 2020    Yates_Glenn_DE_20200515   90:8 ‐ 90:20                             90:8 ‐ 90:23
May 15, 2020   Yates Glenn DE 20200515   91:24 ‐ 92:6
May 15, 2020   Yates Glenn DE 20200515   92:7 ‐ 93:20
May 15, 2020   Yates Glenn DE 20200515   93:21 ‐ 94:11
May 15, 2020   Yates Glenn DE 20200515   94:18 ‐ 95:4




                                                              77
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 553 of 555 PageID #: 57404




                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

   SHURE INCORPORATED,
                                                  )
                 and                              )
   SHURE ACQUISITION                              )       C.A. No.: 19-1343-RGA-CJB
   HOLDINGS, INC.,                                )
                                                  )
                 Plaintiffs,                      )
                                                  )
        v.                                        )
                                                  )
   CLEARONE, INC.                                 )
                                                  )
                 Defendant.                       )



     PLAINTIFFS’ OBJECTIONS TO DEFENDANT’S DEPOSITION DESIGNATIONS

        Pursuant to the Court’s Amended Scheduling Order (D.I. 73), Plaintiffs Shure Incorporated

 and Shure Acquisition Holdings, Inc. (“Shure”) hereby provide their objections to the deposition

 designations served by Defendant ClearOne, Inc. on August 27, 2021, and revised on September 1,

 2021, September 15, 2021, and September 16, 2021.

        In Shure’s objections, the following abbreviations are used:

                30(b)(6) = outside the scope of Fed. R. Civ. P. 30(b)(6) corporate testimony

                A = authenticity (Fed. R. Evid. 901-903)

                AF = assumes facts not in evidence

                B = best evidence (Fed. R. Evid. 1001-1008)

                E = expert opinion (Fed. R. Evid. 701-03)

                H = hearsay (Fed. R. Evid. 801-05)

                IH = incomplete hypothetical

                LC = calls for legal conclusion or opinion



                                                      1
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 554 of 555 PageID #: 57405




             LF = lacks foundation

             ME = mistakes evidence or witness’s testimony

             P = prejudice (Fed. R. Evid. 403)

             R = relevance (Fed. R. Evid. 401-02)

             SP = calls for speculation

             O = other (e.g., embedded objections to discovery requests)

             V = vague and ambiguous, compound, asked and answered, or lacks a question




                                                  2
Case 1:19-cv-01343-RGA Document 683 Filed 11/19/21 Page 555 of 555 PageID #: 57406




                                 CERTIFICATE OF SERVICE

          The undersigned counsel hereby certifies that true and correct copies of the foregoing

  document were caused to be served on October 19, 2021 on the following counsel in the manner

  indicated:

                                           BY EMAIL:

                                      Michael J. Flynn
                         MORRIS, NICHOLS, ARSHT & TUNNELL LLP
                                  1201 North Market Street
                                   Wilmington, DE 19899
                                      (302) 658-9200
                                 mflynn@morrisnichols.com

                                       Douglas J. Dixon
                                     Christina V. Rayburn
                                  HUESTON HENNIGAN LLP
                               620 Newport Center Drive, Ste. 1300
                                   Newport Beach, CA 92660

                                        Sourabh Mishra
                                       Michael Acquah
                                       Christine Woodin
                                  HUESTON HENNIGAN LLP
                                   523 West 6th St., Suite 400
                                Los Angeles, California CA 90014

                                   Attorneys for ClearOne, Inc.



  Dated: October 19, 2021                                   /s/ Alexandra M. Joyce
                                                            Alexandra M. Joyce (#6423)




  ME1 37849831v.1
